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                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

         SYLVESTER OWINO; JONATHAN                   No. 21-55221
         GOMEZ, on behalf of themselves, and
         all others similarly situated,                D.C. No.
                                                    3:17-cv-01112-
                          Plaintiffs-Appellees,        JLS-NLS

          v.
                                                     ORDER AND
         CORECIVIC, INC., a Maryland                  AMENDED
         corporation,                                  OPINION

                          Defendant-Appellant.

                Appeal from the United States District Court
                   for the Southern District of California
               Janis L. Sammartino, District Judge, Presiding

                 Argued and Submitted February 18, 2022
                        San Francisco, California

                           Filed June 3, 2022
                       Amended December 20, 2022
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             Before: M. Margaret McKeown and William A. Fletcher,
              Circuit Judges, and Richard D. Bennett, * District Judge.

                                      Order;
                           Opinion by Judge McKeown;
                            Dissent by Judge VanDyke


                                   SUMMARY **


                Class Certification / Victims of Trafficking and
                            Violence Protection Act

             The panel filed (1) an order denying a petition for panel
         rehearing and, on behalf of the court, a petition for rehearing
         en banc; and (2) an opinion (a) amending and superceding
         the panel’s original opinion and (b) affirming the district
         court’s order certifying three classes in an action brought
         under the Victims of Trafficking and Violence Protection
         Act of 2000 by individuals who were incarcerated in private
         immigration detention facilities owned and operated by
         CoreCivic, Inc., a for-profit corporation.
             U.S. Immigration and Customs Enforcement contracts
         with CoreCivic to incarcerate detained immigrants in 24
         facilities across 11 states. Plaintiffs, detained solely due to
         their immigration status and neither charged with, nor

         The Honorable Richard D. Bennett, United States District Judge for the
         *

         District of Maryland, sitting by designation.

          This summary constitutes no part of the opinion of the court. It has
         **

         been prepared by court staff for the convenience of the reader.
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         convicted of, any crime, alleged that the overseers of their
         private detention facilities forced them to perform labor
         against their will and without adequate compensation in
         violation of the Victims of Trafficking and Violence
         Protection Act of 2000, the California Trafficking Victims
         Protection Act (“California TVPA”), various provisions of
         the California Labor Code, and other state laws.
             The panel held that the district court properly exercised
         its discretion in certifying a California Labor Law Class, a
         California Forced Labor Class, and a National Forced Labor
         Class.
             The panel held that, as to the California Forced Labor
         Class, plaintiffs submitted sufficient proof of a classwide
         policy of forced labor to establish commonality. Plaintiffs
         established predominance because the claims of the class
         members all depended on common questions of law and
         fact. The panel agreed with the district court that narrowing
         the California Forced Labor Class based on the California
         TVPA’s statute of limitations was not required at the class
         certification stage.
             For the same reasons as above, the panel held that, as to
         the National Forced Labor Class, the district court did not
         abuse its discretion in concluding that plaintiffs presented
         significant proof of a classwide policy of forced labor and
         that common questions predominated over individual
         ones. The panel held that under Moser v. Benefytt, Inc., 8
         F.4th 872 (9th Cir. 2021), CoreCivic’s personal jurisdiction
         challenge with respect to the claim of non-California-facility
         class members was an issue for the district court to
         resolve. The panel declined to vacate the certification of the
         National Forced Labor Class, but it held that CoreCivic
         retained its personal jurisdiction defense, and the panel
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         remanded the personal jurisdiction question to the district
         court for consideration at the appropriate time.
             As to the California Labor Law Class, the panel held that
         plaintiffs established that damages were capable of
         measurement on a classwide basis, and they did not need to
         present a fully formed damages model when discovery was
         not yet complete. The panel agreed with the district court
         that the named plaintiffs were typical of the class they sought
         to represent and their allegations, if true, fit within
         California’s Unfair Competition Law and the state labor law
         provisions they invoked. Narrowing the class based on
         statute of limitations was not required at the certification
         stage. The panel held that the district court did not abuse its
         discretion in certifying a failure-to-pay and waiting-time
         claim, which was affirmatively interwoven in plaintiffs’
         pleadings.
             Judge VanDyke, joined by Judges Callahan, Bennett, R.
         Nelson, and Bumatay, and by Judge Ikuta except as to Part
         II-A, dissented from the denial of rehearing en banc. In Part
         II-A, Judge VanDyke wrote that the panel created inter- and
         intra-circuit conflicts by eliminating the actual causation
         requirement for “forced labor” claims under the TVPA. In
         Part II-B, Judge VanDyke wrote that rehearing en banc also
         was warranted because the panel transgressed the holding of
         Wal-Mart Stores v. Dukes, 564 U.S. 338 (2011),
         disregarding Fed. R. Civ. P. 23’s commonality requirement
         by concluding that a handful of declarations from detainees
         at only one of the defendant’s 24 facilities was significant
         proof of the defendant’s nationwide policies and practices.
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         Law Office of Robert L. Teel, Seattle, Washington; for
         Plaintiffs-Appellees.



                                   ORDER

             The opinion filed June 3, 2022, Owino v. CoreCivic, Inc.,
         36 F.4th 839 (9th Cir. 2022) is amended and superceded by
         the opinion filed concurrently with this order.
             The full court has been advised of the petition for
         rehearing en banc. A judge of this Court requested a vote on
         the petition for rehearing en banc. A majority of the non-
         recused active judges did not vote to rehear the case en banc.
         Fed. R. App. 35. The petition for panel rehearing and for
         rehearing en banc is DENIED. No further petitions for panel
         rehearing or rehearing en banc will be entertained.
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                                   OPINION

         McKEOWN, Circuit Judge:

             This appeal arises from a class action filed by individuals
         who were incarcerated in private immigration detention
         facilities owned and operated by a for-profit corporation,
         CoreCivic, Inc. These individuals—detained solely due to
         their immigration status and neither charged with, nor
         convicted of, any crime—allege that the overseers of their
         private detention facilities forced them to perform labor
         against their will and without adequate compensation. Our
         inquiry on appeal concerns only whether the district court
         properly certified three classes of detainees. Considering the
         significant deference we owe to the district court when
         reviewing a class certification, as well as the district court’s
         extensive and reasoned findings, we affirm the certification
         of all three classes.
                               BACKGROUND
             In 2017, Sylvester Owino (“Owino”) and Jonathan
         Gomez (“Gomez”) (collectively “Owino”) brought a class
         action suit against CoreCivic. Both men were previously
         held in a civil immigration detention facility operated by
         CoreCivic—Owino from 2005 to 2015, and Gomez from
         2012 to 2013. They filed suit “on behalf of all civil
         immigration detainees who were incarcerated and forced to
         work by CoreCivic,” seeking declaratory and injunctive
         relief and damages, among other remedies, for
         “forcing/coercing detainees to clean, maintain, and operate
         CoreCivic’s detention facilities in violation of both federal
         and state human trafficking and labor laws.” Specifically,
         Owino alleged violations of the Victims of Trafficking and
         Violence Protection Act of 2000, 18 U.S.C. § 1589 et seq.
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         (“TVPA”), California Trafficking Victims Protection Act,
         Cal. Civ. Code § 52.5 (“CTVPA”), various provisions of the
         California Labor Code, and other state laws.
             Pursuant to 8 U.S.C. § 1231(g), U.S. Immigration and
         Customs Enforcement (“ICE”) contracts with CoreCivic to
         incarcerate detained immigrants in 24 facilities across 11
         states. According to Owino, those incarcerated in these
         facilities “are detained based solely on their immigration
         status and have not been charged with a crime.” Because of
         this, ICE states these detainees “shall not be required to
         work, except to do personal housekeeping.”             These
         housekeeping duties are delineated in ICE’s Performance-
         Based National Detention Standards (“Standards”): “1.
         making their bunk beds daily; 2. stacking loose papers; 3.
         keeping the floor free of debris and dividers free of clutter;
         and 4. refraining from hanging/draping clothing, pictures,
         keepsakes, or other objects from beds, overhead lighting
         fixtures or other furniture.” Performance-Based National
         Detention Standards 2011, at 406 (revised Dec. 2016),
         https://www.ice.gov/doclib/detention-standards/2011/pbnds
         2011r2016.pdf. The Standards also require facilities to
         provide detainees with the “opportunity to participate in a
         voluntary work program” (“Work Program”) for which they
         must be compensated at least $1 per day. Id. at 406, 407.
             Despite these guidelines, Owino contends that, “as a
         matter of policy,” CoreCivic compelled him and detainees
         across its facilities to work “as a virtually free labor force to
         complete ‘essential’ work duties at their facilities,” including
         such “foundational tasks” as kitchen and laundry services.
         CoreCivic’s written policies require “all” detainees to
         “maintain[] the common living area [i.e., not the bunk bed
         area] in a clean and sanitary manner.” The policies further
         require “[d]etainee/inmate workers” to carry out a “daily
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         cleaning routine,” to remove trash, sweep, mop, clean toilets,
         clean sinks, clean showers, and clean furniture, and to
         undertake “[a]ny other tasks assigned by staff in order to
         maintain good sanitary conditions.” Yet, according to
         Owino, CoreCivic generally paid ICE detainees either $1 per
         day or nothing at all. Owino further contends that CoreCivic
         paid ICE detainees between $.75 and $1.50 per day for work
         that it “misclassified” as “volunteer,” thus failing to pay
         wages that approximated the minimum hourly wage required
         by California law.
             On April 15, 2019, Owino filed a motion for class
         certification, seeking to certify five classes:
                1.       California Labor Law Class: All ICE
                detainees who (i) were detained at a CoreCivic
                facility located in California between May 31, 2013,
                and the present, and (ii) worked through CoreCivic’s
                Voluntary Work Program during their period of
                detention in California.
                2.       California Forced Labor Class: All ICE
                detainees who (i) were detained at a CoreCivic
                facility located in California between January 1,
                2006, and the present, (ii) cleaned areas of the
                facilities above and beyond the personal
                housekeeping tasks enumerated in the Standards, and
                (iii) performed such work under threat of discipline
                irrespective of whether the work was paid or unpaid.
                3.       National Forced Labor Class: All ICE
                detainees who (i) were detained at a CoreCivic
                facility between December 23, 2008, and the present,
                (ii) cleaned areas of the facilities above and beyond
                the personal housekeeping tasks enumerated in the
                Standards, and (iii) performed such work under
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                threat of discipline irrespective of whether the work
                was paid or unpaid.
                4.      California Basic Necessities Class: All ICE
                detainees who (i) were detained at a CoreCivic
                facility located in California between January 1,
                2006, and the present, (ii) worked through
                CoreCivic’s Work Program, and (iii) purchased basic
                living necessities through CoreCivic’s commissary
                during their period of detention in California.
                5.       National Basic Necessities Class: All ICE
                detainees who (i) were detained at a CoreCivic
                facility between December 23, 2008, and the present,
                (ii) worked through CoreCivic’s Work Program, and
                (iii) purchased basic living necessities through
                CoreCivic’s commissary during their period of
                detention.
             A year later—following numerous filings, oral
         argument, and supplemental briefing—the district court
         certified three of the proposed five classes: (1) the California
         Labor Law Class, (2) the California Forced Labor Class, and
         (3) the National Forced Labor Class. In an extensive and
         thoughtful order, the district court found the following:
                1.     California Labor Law Class: Owino and
                Gomez “adequately have established that they were
                never paid a minimum wage through the [Work
                Program],” that they “never received wage
                statements,” and that CoreCivic “failed to pay
                compensation upon termination” and “imposed
                unlawful terms and conditions of employment.”
                There were sufficient “common, predominating
                questions” to certify the class.
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               2.     California Forced Labor Class: Owino and
               Gomez “sufficiently have demonstrated” that
               CoreCivic facilities in California “implemented
               common sanitation and disciplinary policies that
               together may have coerced detainees to clean areas
               of [CoreCivic’s California] facilities beyond the
               personal housekeeping tasks enumerated in the ICE
               [Standards].”


               3.     National Forced Labor Class: Owino and
               Gomez “sufficiently have demonstrated” the same
               regarding CoreCivic facilities nationwide.
             Due to the vulnerability of the class members and the
        “risks, small recovery, and relatively high costs of
        litigation,” the district court concluded that “class-wide
        litigation is superior” because “no viable alternative method
        of adjudication exists.”
                                ANALYSIS
           We review the district court’s class certification for
        “abuse of discretion.” B.K. ex rel. Tinsley v. Snyder, 922
        F.3d 957, 965 (9th Cir. 2019). As we set out at length in
        Snyder,
               An error of law is a per se abuse of discretion.
               Accordingly, we first review a class
               certification determination for legal error
               under a de novo standard, and if no legal error
               occurred, we will proceed to review the
               decision for abuse of discretion. A district
               court applying the correct legal standard
               abuses its discretion only if it (1) relies on an
               improper factor, (2) omits a substantial
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               factor, or (3) commits a clear error of
               judgment in weighing the correct mix of
               factors. Additionally, we review the district
               court’s findings of fact under the clearly
               erroneous standard, meaning we will reverse
               them only if they are (1) illogical, (2)
               implausible, or (3) without support in
               inferences that may be drawn from the
               record.
        Id. at 965–66 (quoting Sali v. Corona Reg’l Med. Ctr., 909
        F.3d 996, 1002 (9th Cir. 2018)). Notably, in “reviewing a
        grant of class certification, we accord the district court
        noticeably more deference than when we review a denial of
        class certification.” Wolin v. Jaguar Land Rover N. Am.,
        LLC, 617 F.3d 1168, 1171 (9th Cir. 2010).
            In assessing whether to certify a class, the district court
        determines whether the requirements of Rule 23 are met.
        Rule 23 provides:
               One or more members of a class may sue or
               be sued as representative parties on behalf of
               all members only if: (1) the class is so
               numerous that joinder of all members is
               impracticable [“numerosity”]; (2) there are
               questions of law or fact common to the class
               [“commonality”]; (3) the claims or defenses
               of the representative parties are typical of the
               claims or defenses of the class [“typicality”];
               and (4) the representative parties will fairly
               and adequately protect the interests of the
               class [“adequacy”].

        Fed. R. Civ. P. 23(a). Additionally, a proposed class must
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        satisfy one of the subdivisions of Rule 23(b). Comcast Corp.
        v. Behrend, 569 U.S. 27, 33 (2013). Owino seeks to proceed
        under Rule 23(b)(3), which requires “the court find[] that the
        [common questions] predominate over any questions
        affecting only individual members [‘predominance’], and
        that a class action is superior to other available methods for
        fairly and efficiently adjudicating the controversy
        [‘superiority’].” Fed R. Civ. P. 23(b)(3). The district court
        made both findings.
            CoreCivic brings three challenges to each of the three
        certified classes. We review each of these challenges in turn.
        I.      CALIFORNIA FORCED LABOR CLASS
             A. Class-wide Policy of Forced Labor
            We first consider CoreCivic’s assertion that Owino
        failed to present “[s]ignificant proof” of a class-wide policy
        of forced labor, thus defeating commonality. Wal-Mart
        Stores, Inc. v. Dukes, 564 U.S. 338, 353 (2011). To support
        the California Forced Labor class, Owino provided the
        declarations of four detainees, all from one facility, but this
        was not the extent or the focus of Owino’s “significant
        proof,” nor was it the focus of the district court’s decision.
        Rather, Owino centered his argument, and the district court
        centered its holding, on the text of CoreCivic’s corporate
        policies. The sanitation policy requires detainees to remove
        trash, wash windows, sweep and mop, “thoroughly” scrub
        toilet bowls, sinks, and showers, and undertake sundry other
        cleaning responsibilities across the facility. On their face,
        these policies appear to go beyond those minimal tidying
        responsibilities laid out in the ICE Standards. The discipline
        policy further makes clear that detainees are subject to a
        range of punishments, including disciplinary segregation,
        for refusal to “clean assigned living area” or “obey a staff
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        member/officer’s order.”
            The persuasive weight of the text of these policies is
        augmented by the statements of ICE detainees themselves,
        who declared that they were in fact required to clean
        common areas—without payment and under threat of
        punishment—in line with the policies. Further, one of
        CoreCivic’s own senior managers testified that CoreCivic
        facilities do not have the ability to opt out of these company-
        wide, “standard policies.”
            Commonality is necessarily established where there is a
        class-wide policy to which all class members are subjected.
        Parsons v. Ryan, 754 F.3d 657, 678 (9th Cir. 2014). And
        while “the mere existence of a facially defective written
        policy—without any evidence that it was implemented in an
        unlawful manner—does not constitute ‘[s]ignificant proof’
        that a class of employees were [sic] subject to an unlawful
        practice,” Davidson v. O’Reilly Auto Enters., LLC, 968 F.3d
        955, 968 (9th Cir. 2020) (internal citation omitted), Owino
        relied on the written policies as well as the testimony of
        former ICE detainees and CoreCivic’s own manager.
        Although the company “may wish to distance itself from [its
        employee’s] statements,” here the “admissions were
        material and [are] properly before us.” Abdullah v. U.S. Sec.
        Assocs., 731 F.3d 952, 966 (9th Cir. 2013).
            In view of the highly deferential abuse of discretion
        standard and the full scope of evidence in the record, we
        reject CoreCivic’s claim that Owino failed to provide
        “significant proof” of the class-wide policy necessary to
        satisfy the commonality requirement.
           B. Predominance of Common Questions
           We next consider CoreCivic’s claim that Owino failed to
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        establish that common questions predominate over
        individual ones, thus defeating predominance.         The
        predominance inquiry tests “whether proposed classes are
        sufficiently cohesive to warrant adjudication by
        representation.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S.
        442, 453 (2016) (quoting Amchem Products, Inc. v. Windsor,
        521 U.S. 591, 623 (1997)). Here, they are.
            As the district court noted, the California Forced Labor
        class members “share a large number of common attributes,
        including that they are immigrants who are or were
        involuntarily detained in [CoreCivic’s] facilities and
        subjected to common sanitation and disciplinary policies.”
        The claims of these class members all depend on common
        questions of law and fact—whether CoreCivic utilized
        threats of discipline to compel detainees to clean its
        California facilities in violation of state and federal human
        trafficking statutes. This is a quintessential “common
        question” as defined by the Supreme Court: “the same
        evidence will suffice for each member to make a prima facie
        showing [or] the issue is susceptible to generalized, class-
        wide proof.” Tyson Foods, 577 U.S. at 453 (citation
        omitted).
            In other words, the question is appropriate for class-wide
        resolution because either CoreCivic’s company-wide
        policies and practices violated the law and the rights of the
        class members, or they didn’t. See Parsons, 754 F.3d at 678
        (holding that the “policies and practices to which all
        members of the class are subjected . . . are the ‘glue’ that
        holds together the putative class . . . either each of the
        policies and practices is unlawful as to every inmate or it is
        not”); see also Gonzalez v. U.S. Immigr. & Customs Enf’t,
        975 F.3d 788, 808 (9th Cir. 2020).
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            CoreCivic argues against predominance largely by
        attempting to reframe the inquiry, asserting that the district
        court should have asked whether each class member actually
        has a viable California TVPA claim. However, this is not
        the applicable test. In Tyson Foods, the Supreme Court
        instructs that
               [t]he predominance inquiry asks whether the
               common, aggregation-enabling, issues in the
               case are more prevalent or important than
               the non-common, aggregation-defeating,
               individual issues. When one or more of the
               central issues in the action are common to
               the class and can be said to predominate, the
               action may be considered proper under Rule
               23(b)(3) even though other important
               matters will have to be tried separately, such
               as damages or some affirmative defenses
               peculiar to some individual class members.

        577 U.S. at 453 (internal citations and quotation marks
        omitted); see also Olean Wholesale Grocery Coop., Inc. v.
        Bumble Bee Foods, 31 F.4th 651, 681–82 (9th Cir. 2022) (en
        banc).
           C. Statute of Limitations
            Finally, we consider CoreCivic’s argument that the
        district court should have narrowed the proposed California
        Forced Labor class based on the statute of limitations. While
        Owino seeks to include all ICE detainees held at a CoreCivic
        facility in California between January 1, 2006, and the
        present, CoreCivic argues that because the California TVPA
        has a seven-year statute of limitations, no detainee who was
        released before May 31, 2010, can bring a claim. See Cal.
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        Civ. Code § 52.5(c). The district court ruled that such a
        finding was premature at the class certification stage: “If
        discovery indicates that the class period should be limited,
        the Court will entertain a motion to that effect; however, at
        this stage in the litigation and on the record before it, the
        Court is not inclined to narrow the class period.”
             We agree with the district court that narrowing the class
        based on statute of limitations is not required at the
        certification stage. Along with our sister circuits, we have
        held this in the context of the predominance inquiry. See,
        e.g., Williams v. Sinclair, 529 F.2d 1383, 1388 (9th Cir.
        1975) (“The existence of a statute of limitations issue does
        not compel a finding that individual issues predominate over
        common ones.”); see also In re Monumental Life Ins. Co.,
        365 F.3d 408, 420–21 (5th Cir. 2004); Waste Mgmt.
        Holdings, Inc. v. Mowbray, 208 F.3d 288, 296 (1st Cir.
        2000). We now clarify that this principle is applicable to
        certification more broadly. After all, “[e]ven after a
        certification order is entered, the judge remains free to
        modify it in the light of subsequent developments in the
        litigation.” Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147,
        160 (1982). CoreCivic cites no case law to the contrary. We
        therefore hold that the district court did not abuse its
        discretion in declining to narrow the California Forced Labor
        class.
        II.    NATIONAL FORCED LABOR CLASS
            We can dispense with CoreCivic’s first two challenges
        to the National Forced Labor class easily, as these challenges
        are virtually identical to those directed at the California
        Forced Labor class. For the same reasons discussed above,
        the district court did not abuse its discretion in concluding
        that Owino presented significant proof of a class-wide policy
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        of forced labor. Likewise, the district court did not abuse its
        discretion in concluding that common questions
        predominate over individual ones. CoreCivic’s argument
        that the TVPA necessitates a subjective, individualized
        inquiry fails due to contrary language in the statute, see, e.g.,
        18 U.S.C. § 1589(c)(2) (defining “serious harm” as that
        which would compel a “reasonable person” to perform or
        continue performing labor to avoid incurring such harm), as
        well as the broader predominance test prescribed by
        precedent. Tyson Foods, 577 U.S. at 453.
            The statute’s causal element—prohibiting the
        obtainment of labor “by means of” one of the statutorily
        enumerated harms, see 18 U.S.C. § 1589(a)—may similarly
        be inferred by class-wide evidence. See Menocal v. GEO
        Grp., Inc., 882 F.3d 905, 918–20 (10th Cir. 2018); Rosas v.
        Sarbanand Farms, LLC, 329 F.R.D. 671, 689 (W.D. Wash.
        2018) (“An allegation that the defendant engaged in a
        common scheme or practice to coerce labor from putative
        class members may be sufficient to establish that the class’s
        claim is susceptible to class-wide resolution.”). While class-
        wide causation depends on the context, see Poulos v.
        Caesars World, Inc., 379 F.3d 654, 665–66 (9th Cir. 2004)
        (requiring individualized showing of causation in a “narrow
        and case-specific” RICO-claim case because “gambling is
        not a context in which we can assume that potential class
        members are always similarly situated”), in Walker v. Life
        Insurance Co. of the Southwest, we recognized that reliance
        can be inferred on a class-wide basis. 953 F.3d 624, 630–31
        (9th Cir. 2020). Here, Owino offered as evidence a written
        discipline policy stating that detainees will be punished if
        they fail to clean or obey staff orders. The district court did
        not abuse its discretion in concluding that a factfinder could
        reasonably draw a class-wide causation inference from this
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        uniform policy.
            However, CoreCivic’s appeal with respect to personal
        jurisdiction is not resolved by what we wrote, above, with
        respect to the National Forced Labor class. See Bristol-
        Myers Squibb Co. v. Superior Ct. of Cal., 137 S. Ct. 1773
        (2017). The district court ruled that CoreCivic had waived
        its personal jurisdiction challenge with respect to the claim
        of the non-California-facility class members, because it did
        not raise such a defense in its first responsive pleadings
        (which CoreCivic filed after the Supreme Court decided
        Bristol-Myers Squibb). After the district court’s ruling and
        after CoreCivic filed its opening brief in this appeal, the
        Ninth Circuit squarely addressed this issue: prior to class
        certification, a defendant does “not have ‘available’ a Rule
        12(b)(2) personal jurisdiction defense to the claims of
        unnamed putative class members who were not yet parties to
        the case.” Moser v. Benefytt, Inc., 8 F.4th 872, 877 (9th Cir.
        2021).
            Although Owino maintains that Moser was wrongly
        decided, we have no authority to ignore circuit precedent.
        See Miller v. Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en
        banc). Owino’s challenge to the merit of CoreCivic’s
        personal jurisdiction defense is an issue for the district court
        to resolve. See Moser, 8 F.4th at 879.
            We decline to vacate the certification of the National
        Forced Labor class, but we hold that CoreCivic retains its
        personal jurisdiction defense and remand the personal
        jurisdiction question to the district court for consideration at
        the appropriate time.
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        III.      CALIFORNIA LABOR LAW CLASS
               A. Damages Capable of Class-wide Measurement
            We first consider CoreCivic’s arguments that the
        members of the California Labor Law class have not
        presented “a fully formed damages model” and thus cannot
        be certified. Owino claims that CoreCivic misclassified the
        detainees participating in the Work Program as “volunteers”
        rather than “employees” and thus failed to pay them the
        minimum wage required in California for “employees,” in
        violation of California wage and hour law. The district court
        certified the class, holding that Owino had met the
        “evidentiary” burden of “present[ing] proof that damages are
        capable of being measured on a class-wide basis.”
             We agree with the district court that Owino did not need
        to present a fully formed damages model “when discovery
        was not yet complete and pertinent records may have been
        still within Defendant’s control.” Rather, “plaintiffs must
        show that ‘damages are capable of measurement on a
        classwide basis,’ in the sense that the whole class suffered
        damages traceable to the same injurious course of conduct
        underlying the plaintiffs’ legal theory.” Just Film, Inc. v.
        Buono, 847 F.3d 1108, 1120 (9th Cir. 2017) (quoting
        Comcast, 569 U.S. at 34). In other words, “plaintiffs must
        be able to show that their damages stemmed from the
        defendant’s actions that created the legal liability.” Vaquero
        v. Ashley Furniture Indus., Inc., 824 F.3d 1150, 1154 (9th
        Cir. 2016) (citation omitted).
            There is a clear line of causation between the alleged
        misclassification of detainee employees as “volunteers” and
        the deprivation of earnings they may have suffered as a
        consequence of the violation of California wage and hour
        laws. See id. at 1155 (holding that, “[i]n a wage and hour
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        case . . . the employer-defendant’s actions necessarily
        caused the class members’ injury”). According to evidence
        from a CoreCivic manager, spreadsheets of wages paid, and
        CoreCivic’s corporate policy itself, ICE detainees
        participated in the Work Program across CoreCivic’s
        facilities, for which they were almost never paid more than
        $1.50 per day. If CoreCivic did indeed misclassify these
        participants as “volunteers” (e.g., because the detainees
        should have been considered “employees”), CoreCivic
        would necessarily have failed to pay the minimum hourly
        wage required by California law. Thus, any damages that
        the class members are owed necessarily “stemmed from
        [CoreCivic’s] actions.” Id.
            Owino presented sufficient evidence to show that
        damages are capable of measurement on a class-wide basis.
        This evidence includes documentation of “typical” shift
        lengths, the days worked by ICE detainees, the wages paid,
        and the job assignments.           Additional testimony and
        CoreCivic records can establish details about which
        detainees participated in the Work Program, see Ridgeway v.
        Walmart Inc., 946 F.3d 1066, 1087 (9th Cir. 2020), and as
        the Supreme Court emphasized in Tyson Foods, sufficiently
        reliable representative or statistical evidence can be used to
        establish the hours that a class of employees had worked.
        577 U.S. at 459.
             B. Narrowing the Class
            In seeking certification of the California Labor Law
        class, Owino alleged that detainees’ participation in the
        Program violated a variety of state labor law provisions, as
        well as California’s Unfair Competition Law (“UCL”), Cal.
        Bus. & Prof. Code § 17200, et seq. CoreCivic notes,
        correctly: “Other than the California UCL claim [which has
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        a four-year statute of limitations, id. § 17208], all other state
        law claims have a one-, two-, or three-year statute of
        limitations.” CoreCivic thus argues that Owino is barred
        from representing this class at all, because his last day in the
        Work Program was May 22, 2013, which is more than four
        years before he filed the May 31, 2017, complaint. (Owino
        disputes this date, claiming he worked until his release on
        March 9, 2015.) CoreCivic further argues that Gomez is
        time-barred from pursuing non-UCL claims, because his last
        day in the Work Program was September 7, 2013.
            The district court held that, for the purposes of the
        certification motion, even if the plaintiffs’ claims under the
        California Labor Code are time-barred, they could still
        recover for the majority of the alleged violations under the
        UCL because the UCL prohibits unfair competition, defined
        as “any unlawful, unfair or fraudulent business act or
        practice,” Cal. Bus. & Prof. Code § 17200, and naturally this
        includes such violations of California’s wage and hour law.
        Under this characterization, the class period for all claims
        seeking remedies under the UCL begins May 31, 2013; the
        period for waiting-time and failure-to-pay claims begins
        May 31, 2014; and the period for claims as to the alleged
        failure to provide wage statements begins May 31, 2016 (for
        remedies pursuant to Cal. Code Civ. Proc. § 340), or May
        31, 2014 (for remedies pursuant to Cal. Code Civ. Proc. §
        338).
            As to the named plaintiffs, the district court ruled that
        neither Owino nor Gomez is typical of the members of the
        California Labor Law class seeking penalties under
        California Labor Code § 226 (which requires employers to
        provide wage statements to employees), and that Gomez is
        not typical of members of the California Labor Law Class
        seeking waiting-time penalties under California Labor Code
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        § 203. Nonetheless, the court found that Owino is part of the
        California Labor Law class for the wage claims, for failure
        to pay compensation upon termination, and for waiting time
        penalties and actual damages for the failure to provide wage
        statements, while Gomez is part of the California Labor Law
        class for the wage claims. Due to CoreCivic’s “belated
        assertion of . . . factual disputes concerning whether Mr.
        Owino worked during the Class Period for the California
        Labor Law Class,” the district court stated it was
        “disinclined to resolve this issue at the class certification
        stage . . . particularly given that Mr. Gomez remains a viable
        class representative for the majority of the claims of the
        California Labor Law Class.”
            Because plaintiffs can recover for almost all of the
        alleged violations under the UCL, the district court properly
        rejected CoreCivic’s argument against certification as
        predicated on “a distinction without a difference.” The
        district court appropriately exercised its discretion by
        declining to resolve a factual matter that CoreCivic raised
        for the first time in its post-hearing supplemental brief, and
        which the district court concluded was not dispositive of
        certification.
            We agree with the district court that Owino and Gomez
        are typical of the class they are seeking to represent and their
        allegations, if true, fit within the statutes they invoke.
        Although they may run into statute of limitations issues—
        some disputed and unproven—narrowing the class based on
        statute of limitations is not required at the certification stage.
        Cf. Int’l Woodworkers of Am. v. Chesapeake Bay Plywood
        Corp., 659 F.2d 1259, 1270 (4th Cir. 1981) (“Courts passing
        upon motions for class certification have generally refused
        to consider the impact of such affirmative defenses as the
        statute of limitations on the potential representative’s
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        case.”).
            C. Failure-to-pay and Waiting-time Claim
            Finally, CoreCivic argues that because Owino and
        Gomez “did not reference their failure-to-pay/waiting-time
        claim ([Cal. Labor Code] §§ 201–203)” in their motion for
        class certification, the district court should not have certified
        that claim as one common to the California Labor Law class.
        Because the claims are affirmatively interwoven in Owino’s
        pleadings, the district court did not abuse its discretion in
        certifying this claim.
           To begin, the complaint included California Labor Code
        §§ 201–03 among the causes of action for the California
        Labor Law class:
                   Plaintiffs and Class Members incorporate the
                   above allegations by reference.

                   California Labor Code §§ 201 and 202
                   require CoreCivic to pay all compensation
                   due and owing to Plaintiffs and Class
                   Members immediately upon discharge or
                   within seventy-two hours of their termination
                   of employment. Cal. Labor Code § 203
                   provides that if an employer willfully fails to
                   pay compensation promptly upon discharge
                   or resignation, as required by §§ 201 and 202,
                   then the employer is liable for such “waiting
                   time” penalties in the form of continued
                   compensation up to thirty workdays.

                   CoreCivic willfully failed to pay Plaintiffs
                   and Class Members who are no longer
                   employed by CoreCivic compensation due
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               upon termination as required by Cal. Labor
               Code §§ 201 and 202. As a result, CoreCivic
               is liable to Plaintiffs and former employee
               Class Members waiting time penalties
               provided under Cal. Labor Code § 203, plus
               reasonable attorneys’ fees and costs of suit.

            Owino asserted that CoreCivic violated a dozen
        provisions of the California Labor Code with respect to the
        members of the California Labor Law class. The motion for
        class certification then stated, “Plaintiffs’ claims on behalf
        of the CA Labor Law Class for violations of the California
        Labor Code . . . all turn on a common legal question: whether
        ICE detainees that worked through the [Work Program] at
        CoreCivic’s facilities in California are employees of
        CoreCivic under California law . . . .” Owino then discussed
        this question in depth.
            CoreCivic has cited no precedent to suggest that Owino
        must specifically list the citation of each of the dozen
        provisions of the California Labor Code in the motion for
        class certification. Such an approach would exalt form over
        substance and ignore the fair notice Owino provided to
        CoreCivic throughout the certification proceeding. Rather,
        because Owino outlined these provisions substantively in the
        complaint, stated that “all” of the alleged violations of the
        Labor Code turn on a common question, and discussed the
        common question at length, Owino sufficiently referenced
        this matter before the district court.
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                                 Conclusion
            We affirm the district court’s certification of all three
        classes. We hold that CoreCivic retains its personal
        jurisdiction defense and remand the personal jurisdiction
        question to the district court for consideration at the
        appropriate juncture.
           AFFIRMED.



        VANDYKE, Circuit Judge, with whom Judges
        CALLAHAN, BENNETT, R. NELSON, and BUMATAY
        join, and with whom Judge IKUTA joins except as to Part
        II-A, dissenting from denial of rehearing en banc:

            In affirming certification of the nationwide class in this
        case, the panel committed two errors that merited en banc
        review. First, the panel created inter- and intra-circuit
        conflicts by eliminating the actual causation requirement for
        “forced labor” claims under the Victims of Trafficking and
        Violence Protection Act of 2000 (TVPA). Second, the panel
        transgressed the holding of Wal-Mart Stores v. Dukes, 564
        U.S. 338 (2011), disregarding Rule 23’s commonality
        requirement by concluding that a handful of declarations
        from detainees at only one of the defendant’s 24 facilities
        was “significant proof” of the defendant’s nationwide
        “policies and practices.” In Dukes, the Supreme Court
        instructed that expert testimony, statistical evidence, and
        testimony from more than 100 individuals spread across the
        country were insufficient proof of the nationwide policy
        asserted in that case. Here, the plaintiffs did not present half
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        as much evidence as was provided in Dukes, yet the panel
        improperly found “significant proof” of a nationwide policy.
            We should have taken the opportunity to correct this
        decision. Uncorrected, it will have sweeping implications
        for all civil TVPA lawsuits, class actions or otherwise,
        sowing confusion over whether actual causation is a required
        showing. It will also doubtless become the new rallying
        point for class counsel seeking to avoid the minimum
        commonality required by binding Supreme Court precedent.
        I respectfully dissent from the denial of en banc rehearing.
                                       I.
            The U.S. government contracts with the defendant in this
        case, CoreCivic, Inc., to hold immigration detainees in 24
        facilities across 11 states. Government regulations require
        immigration detainees to perform personal housekeeping
        tasks, but prohibit CoreCivic from requiring them to clean
        areas beyond “their immediate living areas.” Performance-
        Based National Detention Standards 2011 § 5.8(II), (V)(C).
        This case is a class challenge by two former detainees
        claiming that they and other detainees across all 24 facilities
        were forced to perform cleaning tasks beyond the personal
        housekeeping tasks allowed by those standards. See Owino
        v. CoreCivic, Inc., 36 F.4th 839, 842 (9th Cir. 2022).
            The named plaintiffs moved to certify a nationwide class
        consisting of all CoreCivic detainees detained after
        December 23, 2008, who were required under threat of
        discipline to clean areas of CoreCivic facilities beyond their
        cells. See id. at 843. To succeed on their motion, they
        needed to prove that “questions of law or fact common to the
        class” existed and that such common questions
        “predominate[d] over any questions affecting only
        individual members.” Fed. R. Civ. P. 23(a)(2), (b)(3); see
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        also Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S.
        258, 275 (2014) (requiring the plaintiffs to prove, “not
        simply plead,” that “their proposed class satisfies each
        requirement of Rule 23”). The named plaintiffs argued that
        a common question stemmed from CoreCivic’s policy
        requiring all its detainees to clean areas beyond their cells
        under threat of discipline and that this question
        predominated over any individualized questions. Because
        they sought to prove a common question through a
        nationwide policy, the named plaintiffs needed to provide
        “significant proof” that this policy existed. Dukes, 564 U.S.
        at 353 (citation omitted). As evidence of CoreCivic’s
        purported nationwide policy requiring all detainees to clean
        areas beyond their cells, the named plaintiffs proffered
        CoreCivic’s written “Sanitation” and “Disciplinary”
        policies, plus the declarations of four detainees at one of
        CoreCivic’s 24 detention facilities.
            The district court considered whether the written policies
        unambiguously supported CoreCivic’s interpretation and
        then rejected it because it “is not clear from the face of the
        policies” that the policies “do[] not require detainees to clean
        the common area,” (emphasis added). The court likewise
        found the policies ambiguous because “[t]here is no
        indication from the face of the policies that” only the
        detainees who participated in the voluntary work program
        (“VWP”) were required to clean. The district court’s only
        discussion about who was required to clean under
        CoreCivic’s written policies emphasized their ambiguity.
        But because the named plaintiffs also offered the four
        detainee declarations, the court concluded that there was
        “significant proof” that CoreCivic had “implemented
        common sanitation and discipline policies,” (emphasis
        added), across its 24 facilities. And the court concluded that
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        because the Disciplinary Policy “could reasonably be
        understood to have subjected detainees to discipline for
        failure to comply with the uniform sanitation policy,”
        CoreCivic “may have coerced detainees” into cleaning.
            The district court also concluded that common questions
        about CoreCivic’s class-wide “policy and practice”
        predominated over individualized questions. On this point,
        CoreCivic argued that questions about whether CoreCivic’s
        conduct caused the class members individually to choose to
        labor for CoreCivic would predominate over any common
        question. The district court disagreed, concluding that
        liability under the TVPA attaches even if CoreCivic’s
        actions did not cause the detainees to perform the labor. The
        court ruled instead that the TVPA requires plaintiffs to show
        only an “objectively, sufficiently serious threat of harm.”
        Alternatively, the district court reasoned that, even assuming
        the TVPA requires a showing of causation, whether each
        individual class member felt coerced by CoreCivic’s policies
        could be decided on a class basis by inferring whether a
        reasonable person would have felt coerced.
            On appeal, our court affirmed certification. See Owino,
        36 F.4th at 850. In doing so, the panel rejected CoreCivic’s
        argument that questions about individual causation
        precluded predominance, never addressing either of our
        court’s precedents holding that a showing of causation is
        required under the TVPA. Compare id. at 847, with
        Martinez-Rodriguez v. Giles, 31 F.4th 1139, 1150 (9th Cir.
        2022), and Headley v. Church of Scientology Int’l, 687 F.3d
        1173, 1179 (9th Cir. 2012). Rather, the panel held that no
        “subjective, individualized inquiry” into why each class
        member labored was necessary because the ostensibly
        “contrary language” in the TVPA requires only that a
        defendant’s threats be objectively serious. See id. (citing 18
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        U.S.C. § 1589(c)(2) (requiring an objectively “serious
        harm”)). Although cursory in its analysis, the necessary
        import of the panel rejecting CoreCivic’s argument—by
        exclusively citing the TVPA’s objectively serious harm
        requirement—is that the plaintiffs did not need to show that
        CoreCivic’s actions caused them to labor.
            The panel also concluded that the named plaintiffs
        proved the existence of a common question, locating that
        common question in “CoreCivic’s company-wide policies
        and practices.” Owino, 36 F.4th at 846. The panel relied on
        three things evincing the supposed nationwide common
        “policies and practices”: (1) CoreCivic’s written policies;
        (2) CoreCivic’s employees’ declarations interpreting those
        written policies; and (3) declarations by four former
        detainees that described practices they experienced and
        observed at a single facility. See id. at 845.
            As to the first two types of evidence—CoreCivic’s
        written policies and its interpretations thereof—the panel
        provided little analysis, briefly addressing them in two short
        paragraphs. See id. The panel was nonetheless clear that it
        relied decisively on its conclusion that CoreCivic’s
        nationwide written policy “requires detainees” to perform a
        long list of cleaning duties. Id. The panel nowhere
        acknowledged, however, that its list was taken from
        CoreCivic’s policy applicable only to “detainee[] workers,”
        (emphasis added), which CoreCivic employees consistently
        explained meant not all detainees, but rather a subset of
        detainees who had affirmatively volunteered to participate in
        its paid VWP. Ignoring the district court’s conclusion that
        the written policies are ambiguous, the panel held that the
        written policies required all detainees to clean and that, when
        combined with the four detainee declarations, they
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        constituted “significant proof” of a nationwide policy
        consistent with the plaintiffs’ allegations. See id.
             Accordingly, the panel affirmed certification of the
        nationwide class. Following CoreCivic’s petition for
        rehearing, the panel amended its opinion in an attempt to
        clarify its rationale on the TVPA’s causation requirement.
        Unfortunately, as discussed below, the amendment does not
        fix the panel’s errors.
                                        II.
            This case deserved en banc review for two independent
        reasons: (1) it creates inter- and intra-circuit conflict by
        eliminating the TVPA’s actual causation requirement for
        civil forced labor claims; and (2) it holds that much less
        evidence of a nationwide policy than was present in Dukes
        is nonetheless “significant proof” of a nationwide policy,
        and therefore sufficient to certify a class.
                                          A.
            The TVPA prohibits a person from obtaining labor from
        a victim by improper means. See 18 U.S.C. § 1589(a). A
        defendant who obtains forced labor may be held civilly
        liable. See id.; 18 U.S.C. § 1595(a). 1 But according to the
        panel decision in this case, the TVPA, in permitting
        “victim[s]” of “forced labor” to “recover damages,” id., is
        indifferent as to whether anyone actually forced someone
        else to labor. See Owino, 36 F.4th at 847. Instead, a plaintiff
        may satisfy the TVPA’s causation requirement by showing
        that an abstract reasonable person would have labored
        because of the defendant’s conduct. Only by deeming actual


        1
          A defendant who obtains or attempts to obtain forced labor may also
        be criminally punished. See 18 U.S.C. §§ 1589(a), 1594(a).
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        causation unnecessary was the panel able to conclude that
        individualized causation inquiries would not predominate
        over common questions in the named plaintiffs’ class action.
        See id.
             The panel’s causation conclusion is doubly wrong. First,
        it is wrong because it creates inter- and intra-circuit conflict
        by disregarding both our binding circuit precedent, see, e.g.,
        Martinez-Rodriguez, 31 F.4th at 1156 (requiring that the
        plaintiffs provide evidence that the defendant’s conduct
        “proximately caused” the plaintiffs to labor), and the
        wisdom of our sister circuits’ decisions that likewise require
        a showing of actual causation to prevail in a TVPA forced
        labor claim, see, e.g., United States v. Zhong, 26 F.4th 536,
        560 (2d Cir. 2022) (recognizing that unless the prosecution
        proves a defendant’s actions “did, in fact, compel
        the … workers to remain working for [the defendant’s
        company] when they otherwise would have left,” the
        defendant “could not have ‘provide[d] or obtain[ed]’ their
        labor th[r]ough these actions or threats” (quoting
        § 1589(a))); Menocal v. GEO Group, Inc., 882 F.3d 905, 918
        (10th Cir. 2018) (“[P]laintiffs must prove that an unlawful
        means of coercion caused them to render labor.”). 2


        2
          Similar to the panel’s amended opinion, the Tenth Circuit in Menocal
        permitted causation to be inferred class-wide. See 882 F.3d at 918. But
        the Tenth Circuit still required actual causation by allowing the
        defendant to introduce evidence that individual class members were not
        coerced by the defendant’s class-wide conduct. See id. at 921. Here, the
        panel acknowledged no room for a defendant to introduce evidence that
        individual class members did not labor because of its class-wide conduct,
        implying that the panel established a conclusive presumption that
        causation is satisfied for a TVPA claim through evidence of class-wide
        conduct that would cause a reasonable person to labor. No circuit has
        departed so far from the TVPA’s actual causation requirement.
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            Second, even aside from the panel ignoring binding
        precedent, this case merited en banc review because the text
        of the TVPA clearly requires causation for a forced labor
        claim—which is why, until this case, our circuit and other
        circuits have required it. See 18 U.S.C. § 1589(a)(2), (4).
        The panel confused and conflated the TVPA’s requirement
        that harms or threatened harms be objectively serious with
        the TVPA’s separate requirement that such harms actually
        cause a victim to labor or provide services. Actual causation
        requires proof that the specific victim would not have
        labored but for the threats or harms. The TVPA requires
        both objectively serious harms and actual causation. The
        panel’s error in eliminating the TVPA’s causation
        requirement led the panel to wrongly affirm class
        certification. Because each class member here must
        individually prove causation, the panel erred in concluding
        that common questions predominated. See Poulos v.
        Caesars World, Inc., 379 F.3d 654, 668 (9th Cir. 2004).
                                   *   *   *
            The panel’s elimination of the TVPA’s causation
        requirement runs face-first into at least two of our
        precedents, as well as the decisions of our sister circuits that
        have addressed this issue. In our court’s 2012 Headley
        decision, for example, lack of individualized causation is
        precisely what drove our court to affirm summary judgment
        in favor of the defendant. 687 F.3d at 1173. The plaintiffs
        in Headley argued that they were coerced into laboring by
        the defendant organization inflicting harm upon them, but
        our court affirmed summary judgment against the plaintiffs
        because the “record does not suggest that the defendant[]
        obtained the [plaintiffs’] labor ‘by means of’ those[harms].”
        Id. at 1180. The court instead concluded that “the record
        shows that the adverse consequences cited by the [plaintiffs]
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        are overwhelmingly not of the type that caused them to
        continue their work and to remain with the [organization].”
        Id. (emphasis added). And only months before the panel
        issued its decision in this case, our court again affirmed that
        a plaintiff can succeed in a forced labor claim only if he
        shows that the defendant’s unlawful conduct “caused the
        [p]laintiff to provide the labor that [the defendant] obtained.”
        Martinez-Rodriguez, 31 F.4th at 1150 (emphasis in original).
            In holding that the named plaintiffs need not show that
        the defendant’s conduct caused them to labor before stating
        a forced labor claim, the panel advanced a novel
        interpretation of the TVPA’s prohibition on forced labor that
        no federal circuit had previously adopted: holding that a
        defendant may be civilly liable for forced labor when its
        conduct did not cause the plaintiff to labor. Three other
        circuits—five, if we count unpublished decisions—have
        either explained that a defendant’s conduct must actually
        cause the victim to labor or relied on such causation to
        uphold a criminal conviction. See, e.g., Zhong, 26 F.4th at
        560 (2d Cir. 2022); United States v. Toure, 965 F.3d 393,
        401–02 (5th Cir. 2020) (affirming a forced labor conviction
        as supported by sufficient evidence, in part, because the
        defendants’ “conduct caused [the victim] to remain with the
        defendants because [the victim] faced threats of serious
        harm, or reasonably believed she would face serious harm,
        if she did not provide them with her labor and services”);
        Menocal, 882 F.3d at 918 (10th Cir. 2018); see also United
        States v. Afolabi, 508 F. App’x 111, 119 (3d Cir. 2013)
        (unpublished) (explaining that even if the “victims were not
        actually intimidated” by certain abuses, the victims’
        testimony that they labored because of the defendant’s other
        illegal and improper conduct “was enough for a jury to find
        that the Government had satisfied its burden”); Roman v.
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        Tyco Simplex Grinnell, 732 F. App’x 813, 817 (11th Cir.
        2018) (per curiam) (affirming in an unpublished opinion the
        district court’s dismissal of a complaint because the plaintiff
        failed to “explain how [the defendant’s] threats led to his
        forced labor” (citing Headley, 687 F.3d at 1179)). 3
            There is a good reason that all the circuits to address the
        question (we and five others) have uniformly concluded that
        the TVPA requires actual causation for forced labor claims:
        the plain text of the TVPA permits civil liability for “forced
        labor” only when a person obtains that labor “by means of”
        certain improper conduct, such as “by means of serious harm
        or threats of serious harm to that person or another
        person … [or] by means of any scheme, plan, or pattern
        intended to cause the person to believe that, if that person
        did not perform such labor or services, that person or another
        person would suffer serious harm or physical restraint.” 18
        U.S.C. § 1589(a)(2), (4) (emphasis added).
            The “by means of” phrase that the TVPA invokes is well-
        recognized as requiring a causal relationship. See, e.g.,
        Martinez-Rodriguez, 31 F.4th at 1155 (“[T]he phrase ‘by
        means of’ refers to familiar principles of causation and
        requires a proximate causal link ….”); Sanders v. John
        Nuveen & Co., Inc., 619 F.2d 1222, 1225 (7th Cir. 1980)
        (“[T]he ‘by means of’ language in the statute requires some
        causal connection ….”); Jackson v. Oppenheim, 533 F.2d
        826, 830 (2d Cir. 1976) (explaining that a decision is
        “effected ‘by means of’” an action if that action had “some



        3
          Although some of these decisions arose in a criminal context, the
        convictions were for forced labor and the courts’ reasoning would apply
        equally to a civil claim for forced labor.
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        causal relationship”—even if not a “decisive effect”—“to
        that decision”).
            In rejecting “CoreCivic’s argument that the TVPA
        necessitates a subjective, individualized inquiry” into
        causation, the panel ignored the TVPA’s “by means of”
        language and instead cited the TVPA’s provision defining
        “serious harm” as an objectively serious harm. Owino, 36
        F.4th at 847 (citing 18 U.S.C. § 1589(c)(2)). The panel was
        right that the particular provision it cited does not itself
        require actual causation. But the existence of the TVPA’s
        requirement that harms and threatened harms be objectively
        serious does not somehow nullify the TVPA’s separate
        requirement that a defendant obtain labor by means of such
        serious harm or threatened harm—the TVPA’s causation
        requirement. In sum, a plaintiff who labored because a
        defendant threatened harm that would not cause a reasonable
        person to labor has no forced labor claim because he cannot
        show an objectively serious threat of harm. And likewise, a
        plaintiff who labored for a reason wholly unrelated to the
        defendant’s harms or threatened harms has no claim—even
        if those harms or threatened harms were objectively
        serious—because he cannot show the defendant obtained the
        plaintiff’s labor by means of those threats. The panel was
        wrong to conclude that plaintiffs in this latter category—
        plaintiffs who didn’t labor because of the defendant’s
        conduct—can succeed in bringing a forced labor claim.
            The panel’s belated attempt to address this problem by
        amending its opinion does not, unfortunately, fix it. The
        amended opinion does just as much damage to the TVPA’s
        causation requirement for forced labor claims as its original
        opinion, just with different language. In its original opinion,
        the panel eliminated the TVPA’s requirement that a plaintiff
        show individualized causation—that the defendant caused
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        the specific plaintiff to labor. In its amended opinion, the
        panel acknowledges that the TVPA’s “by means of”
        language requires some form of causation. But then the
        panel immediately makes clear that it is really removing the
        TVPA’s actual causation requirement by concluding that
        causation may be inferred class-wide through a generally
        applicable policy. To make this leap, the panel must assume
        both that (1) every person in the class is reasonable and (2)
        the policy actually causes every reasonable person to labor.
        But it is easily foreseeable that, even assuming plaintiffs’
        allegations of class-wide threats are true, some portion of the
        class would clean merely because they liked to live in a clean
        space. It is reasonable to believe that many normal human
        beings would voluntarily sweep or wipe down furniture in
        common areas simply because they enjoy living in a clean
        environment. The panel’s new description of “causation”
        isn’t actual causation, it is probable causation applied to an
        abstract reasonable person, and therefore isn’t real causation
        at all. Which brings us right back to the original opinion’s
        conflation of the TVPA’s objective standard with its
        requirement for individualized causation. The panel cannot
        have it both ways: either the TVPA requires actual causation
        or it does not. The opinion as now amended forswears it has
        eliminated causation, but if anything, it is now even clearer
        that the TVPA’s requirement of actual causation no longer
        exists (or at least that panels of our court have taken
        inconsistent positions).
            In any event, the panel’s amendment leaves in place the
        original opinion’s statement that the TVPA’s objective
        standard means that the TVPA does not “necessitate[] a
        subjective, individualized inquiry.” Id. That incorrect
        statement of law remains on the books, and, despite the
        amended opinion’s attempt to have it both ways, will
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        continue—at odds with our own prior precedent—to
        communicate that actual causation is not required by the
        TVPA.
            By ignoring in- and out-of-circuit precedent and the text
        of the TVPA, the panel created both intra- and inter-circuit
        conflict on whether a plaintiff must show actual causation
        for a forced labor claim under the TVPA. The panel’s
        removal of the TVPA’s causation requirement will plague
        our cases going forward. The court should have granted
        rehearing en banc to eliminate a conflict in our precedent and
        restore the correct interpretation of the TVPA.
                                        B.
            Even if the panel had not created confusion through its
        incorrect conclusion that the TVPA requires no proof of
        actual causation, the panel still erred in certifying this class.
        Rule 23 requires that the movant prove the class shares a
        common question of law or fact. See Halliburton Co., 573
        U.S. at 275. The panel concluded that the nationwide class
        here shared a common question based on the declarations of
        four detainees, all from the same facility, together with
        corporate policies that are at best ambiguous as to the
        misconduct claimed in those declarations. See Owino, 36
        F.4th at 845. The panel thus created a new rule of
        commonality that authorizes class certification so long as a
        movant can offer anecdotal evidence of misconduct limited
        to a small fraction of a class, coupled with written policies
        that at most are unclear about the complained-of conduct.
        That rule is inconsistent with Rule 23 and Dukes, and charts
        an attractive and sure-to-be-followed path for those seeking
        an easy class action certification.
            Under Dukes, to prove commonality through a policy, a
        plaintiff must offer “significant proof” that the complained-
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        of practice exists class-wide. 564 U.S. at 353. Although the
        Supreme Court declined to offer a bright line rule for what
        counts as “significant proof,” we see clearly in Dukes what
        does not suffice: the combination of (1) an official policy of
        discretion that can be used for unlawful activity, (2) expert
        testimony that the permissive policy is used for unlawful
        activity, (3) statistical evidence merely suggesting unlawful
        activity, and (4) testimony of the unlawful activity from
        more than one-hundred potential class members spread
        across multiple locations. See id. at 353–58.
            Since the plaintiffs in Dukes failed to clear the
        commonality threshold, a fortiori the named plaintiffs in this
        case failed. Here, the second and third categories above
        were completely missing. And the first category of evidence
        was no better here than it was in Dukes because, as the
        district court acknowledged, the policies relied on by the
        named plaintiffs were at most “not clear” as to the
        misconduct alleged. And this case is worse than Dukes as to
        the fourth category because the plaintiffs’ testimony here is
        limited to one out of dozens of locations.
            The written policies in this case merit more discussion
        because, while the panel’s analysis of those policies is
        frustratingly brief, it is nonetheless clear that the panel put
        decisive weight on those policies. The named plaintiffs
        attempted to prove that CoreCivic has a policy requiring all
        detainees to “clean” the common living areas and to threaten
        those who refuse with discipline. They presented two
        written policies that the plaintiffs contend require “all
        detainees” to clean the common living areas or suffer
        disciplinary action. But the policies the named plaintiffs
        cited do not say that; rather, only “detainee[] workers” must
        clean the common living areas and detainees risk
        disciplinary action only if they refuse to clean their
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        “assigned living area[s],” (emphasis added). At best, these
        policies are ambiguous about the very thing the named
        plaintiffs needed to prove: the duties of “[a]ll detainees.”
        Ambiguity is not “significant proof.” Id. at 353.
            The first policy the named plaintiffs cited was the
        Sanitation Policy. That policy distinguishes the duties of
        “[a]ll detainees” from the duties of “detainee[] workers.”
        “All detainees … are responsible for maintaining the
        common living area in a clean and sanitary manner.” But
        only “detainee[] workers” clean those areas. CoreCivic
        officials uniformly testified that the “workers” referenced in
        the Sanitation Policy are the participants in its voluntary
        work program. Moreover, because only workers “clean[],”
        the policy cannot plausibly mean that “all detainees[]” must
        clean the common living areas. To conclude otherwise
        renders superfluous the policy’s distinction between “all
        detainees” and “detainee workers.” See DaVita Inc. v. Amy’s
        Kitchen, Inc., 981 F.3d 664, 674 (9th Cir. 2020) (presuming
        that a difference in language carries a difference in
        meaning); Rainsong Co. v. FERC, 151 F.3d 1231, 1234 (9th
        Cir. 1998) (explaining that interpretations rendering
        language in a statute or regulation superfluous “are to be
        avoided” (citation omitted)).
            The district court found the Sanitation Policy
        ambiguous. Because the panel’s task was to review for
        abuse of discretion, it was obligated to defer to this finding
        unless it was clearly erroneous. See B.K. by next friend
        Tinsley v. Snyder, 922 F.3d 957, 966 (9th Cir. 2019). That
        finding was not clearly erroneous, and the panel was thus
        presented with an ambiguous written policy. An ambiguous
        policy, however, is not materially different than the policy
        that was insufficient in Dukes: both policies might allow the
        complained-of misconduct, but neither require it.
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            The second written policy the named plaintiffs cited was
        the Disciplinary Policy, which prohibits detainees from
        “[r]efus[ing] to clean assigned living area[s].”             The
        Sanitation Policy clarifies that the “assigned living areas” are
        the detainees’ personal cells and contrasts those cells with
        the “common living area.” But if the “assigned living area”
        that the Disciplinary Policy punishes detainees for not
        cleaning is the detainees’ personal cells, then this policy does
        not require any cleaning that the named plaintiffs claim was
        improper. After all, the named plaintiffs had not attempted
        to certify a class of detainees forced to clean their own cell
        and have never contended that such a requirement is
        problematic. This policy is thus, like the Sanitation Policy,
        unhelpful to proving that all CoreCivic detainees were
        required by any class-wide written policy to clean the
        common living area.
            In Dukes, the plaintiffs at least offered evidence of an
        official policy of discretion that permitted the unlawful
        activity. Here, it is a stretch to read CoreCivic’s written
        policies as even permitting the conduct complained of by the
        named plaintiffs.        The facilities could require “[a]ll
        detainees” to clean common living areas only by reading “all
        detainees” to mean the same thing as “detainee workers” and
        thus intentionally obfuscating the language of the Sanitation
        Policy. The most that can be said about CoreCivic’s written
        policies is that, at best, they might permit the complained-of
        practice. This is what the district court concluded. But that
        is clearly not enough under Dukes to suffice as “significant
        proof” of a class-wide policy requiring all detainees to clean.
            Beyond the written policies, the named plaintiffs’ only
        other evidence to satisfy their burden of “significant proof”
        of a common policy was their four declarations from
        detainees—all housed at the same, single facility. That is of
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        no help to the named plaintiffs, because the named plaintiffs’
        declarations merely provide anecdotal support indicating
        that CoreCivic may have had an unwritten policy requiring
        all detainees to clean the common living area at that one
        facility. Four declarations from one of 24 facilities cannot
        provide “significant proof” of an unwritten policy that was
        applied to thousands, and potentially “hundreds of
        thousands,” of detainees across all CoreCivic facilities.
        Because these four declarations were “concentrated in only”
        one facility, the other 23 facilities were left with no
        “anecdotes about [CoreCivic’s] operations at all.” Dukes,
        564 U.S. at 358. The panel could not properly assume that
        one facility’s unwritten practice was adopted and applied in
        every one of CoreCivic’s other facilities. And the named
        plaintiffs offered no evidence whatsoever that it was, falling
        woefully short of their burden of “significant proof” of a
        class-wide policy.
            The panel’s opinion ignored these serious problems. It
        did not engage with the different sections of the Sanitation
        Policy or consider the testimony from CoreCivic’s
        employees. Instead, the panel referenced portions of the
        Sanitation Policy that apply only to “detainee workers”—
        without even acknowledging that the policy distinguishes
        between “detainee workers” and “all detainees”—and
        concluded that the Sanitation Policy, when supplemented
        with the four detainee declarations, evinced a class-wide
        policy requiring all detainees to labor. See Owino, 36 F.4th
        at 845. The panel also read the Sanitation Policy to require
        detainees to “undertake sundry other cleaning
        responsibilities across the facility,” a requirement not
        appearing in the policy. Id. In its short two-paragraph
        analysis, the panel applied a new rule that flips the script on
        the Dukes commonality rule: a movant for class certification
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        must simply provide some class-wide official policy—
        however ambiguous as to the claimed misconduct—and a
        few declarations indicating that the defendant engaged in
        misconduct somewhere, sometime.
            Ultimately, the panel’s new rule takes us down a familiar
        road where the seasoned traveler can easily predict the
        destination. In 2004, a court in the Northern District of
        California certified a class of “at least 1.5 million women”
        who were or had been employed by Wal-Mart. Dukes v.
        Wal-Mart Stores, Inc., 222 F.R.D. 137, 142, 188 (N.D. Cal.
        2004). These plaintiffs sought monetary damages and
        equitable relief for discrimination in pay and promotions.
        See id. at 141. After first affirming in a panel opinion, we
        went en banc and affirmed again, holding that the plaintiffs
        proved that the nearly 1.5 million-member nationwide class
        shared a common question. In Dukes we had more proof of
        class-wide conduct than the panel had here: we relied on a
        company-wide policy giving managers discretion in
        employment decisions, expert testimony suggesting that
        Wal-Mart’s culture prejudiced women, statistical disparities
        between promotions of men and women, and testimony from
        120 employees located in different stores nationwide saying
        they had experienced discrimination. Dukes v. Wal-Mart
        Stores, Inc., 603 F.3d 571, 600–13 (9th Cir. 2010) (en banc).
        That was enough for us.
            It was not enough for the Supreme Court. The Court
        unanimously reversed us, with the majority holding that we
        erred in concluding that there was even a single common
        question. The Court reminded us that “there is a wide gap
        between” an individual’s alleged injury, inflicted through a
        “company … policy,” and “the existence of a class of
        persons who have suffered the same injury [such] that” the
        individual and class claims share “common questions.”
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        Dukes, 564 U.S. at 352–53 (quotation omitted). And the
        Court reminded us that a common question can arise from a
        corporate policy only through “significant proof.” Id. at 353.
        Because our opinion affirming the class certification relied
        solely on an irrelevant policy, immaterial expert testimony,
        and anecdotal testimony, the Court reversed. See id. at 354–
        60.
             I would say that the panel here repeated our error in
        Dukes, but it did worse. At least in Dukes, we had anecdotal
        evidence from multiple locations nationwide. We also had
        statistical evidence and expert testimony that we do not have
        here. And in Dukes, we could rely on an official policy that
        at least implicitly permitted the unlawful conduct. The panel
        affirmed in this case by relying solely on anecdotal evidence
        from one of dozens of locations, and corporate policies that
        are at best ambiguous on whether CoreCivic had a “policy”
        that required detainees to labor. See Owino, 36 F.4th at 845–
        46. Our court should have granted rehearing en banc.
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Preface                                  0                                PBNDS 2011
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                                                 Preface
In keeping with our commitment to transform the             limited English proficiency, improve the process for
immigration detention system, U.S. Immigration and          reporting and responding to complaints, and
Customs Enforcement (ICE) has revised its detention         increase recreation and visitation.
standards. These new standards, known as the                The PBNDS 2011 are also drafted to include a range
Performance-Based National Detention Standards              of compliance, from minimal to optimal. As such,
2011 (PBNDS 2011), are an important step in                 these standards can be implemented widely, while
detention reform.                                           also forecasting our new direction and laying the
ICE is charged with removing aliens who lack lawful         groundwork for future changes.
status in the United States and focuses its resources       In closing, I would like to thank the ICE employees
on removing criminals, recent border entrants,              and stakeholders who provided significant input and
immigration fugitives, and recidivists. Detention is        dedicated many hours to revising these standards. I
an important and necessary part of immigration              appreciate the collaboration and support in this
enforcement. Because ICE exercises significant              important mission - reforming the immigration
authority when it detains people, ICE must do so in         detention system to ensure it comports with our
the most humane manner possible with a focus on             national expectations. The PBNDS 2011 are an
                                                            important step in a multiyear process and I look
providing sound conditions and care. ICE detains
                                                            forward to continued collaboration within ICE, with
people for no purpose other than to secure their
presence both for immigration proceedings and their
                                                                      , I c.
                                                            state and local governments, nongovernmental
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                                                            organizations, Congress, and all of our stakeholders
removal, with a special focus on those who represent
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                                                            as we move forward in reforming our detention
a risk to public safety, or for whom detention is
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mandatory by law.
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The PBNDS 2011 reflect ICE's ongoing
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the conditions of immigration detention to5its2
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unique purpose. The PBNDS 2011    are crafted
improve medical and mental health services, increase
access to legal services and religious opportunities,       John Morton
improve communication with detainees with no or             Director




Preface                                                 i                                         PBNDS 2011
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                                   Acronyms and Abbreviations
AFOD: Assistant Field Office Director                     MDR: Multi-Drug Resistant
BIA: DOJ Board of Immigration Appeals                     MOU: Memorandum of Understanding
CBP: DHS Customs and Border Protection                    MSDS: Material Safety Data Sheet
CD: Clinical Director                                     NCCHC: National Commission on Correctional
CDC: Center for Disease Control, Department of            Health Care
Health and Human Services                                 NCIC: National Crime Information Center, Federal
CDF: Contract Detention Facility                          Bureau of Investigation

CMA: Clinical Medical Authority                           NIC: DOJ National Institute of Corrections

COR: Contracting Officer's Representative                 OIC: Officer in Charge

CRCL: DHS Civil Rights and Civil Liberties                OIG: DHS Office of the Inspector General

DHS: Department of Homeland Security                      OPLA: ICE Office of the Principal Legal Advisor

DOJ: Department of Justice                                OPR: ICE Office of Professional Responsibility

DRIL: ICE ERO Detention and Reporting Information         ORR: Office of Refugee Resettlement, Department of
Line                                                      Health and Human Services

                                                                        In  c.
                                                          OSHA: Occupational Safety and Health
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DSCU: ICE ERO Detention Standards Compliance
Unit
                                                          re  C
                                                          Administration, Department of Labor

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EOIR: DOJ Executive Office for Immigration Reviewo v. CPBNDS: e                    National Detention
                                                in
                                          Ow DecPII:        b
                                                       emPersonally Identifiable Information
                                                       Standards
                                     in
ERO: ICE Enforcement and Removal Operations
                                  d                ,
FOD: Field Office Director ci
                               te          5 2 21
                                  2 1  - 5             PREA: Prison Rape Elimination Act
                          No
FSA: Food Service Administrator .                      SAFE: Sexual Assault Forensic Examiner
GAB: Grievance Appeals Board
                                                          SANE: Sexual Assault Nurse Examiner
GO: Grievance Officer
                                                          SART: Sexual Assault Response Team
HSA: Health Services Administrator
                                                          SIR: Significant Incident Report
IAO: ICE Air Operations
                                                          SMI: Serious Mental Illness
IDP: Institution Disciplinary Panel
                                                          SMU: Special Management Unit
IGSA: Intergovernmental Service Agreement
                                                          SPC: Service Processing Center
IHSC: ICE Health Services Corps
                                                          SRT: Situation Response Team
JIC: DHS Joint Intake Center
                                                          SRT: Special Response Team
LEP: Limited English Proficiency
LOP: Legal Orientation Program
LPR: Legal Permanent Resident




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                                                             3. An evacuation plan, in the event of a fire or other
1.1 Emergency Plans                                             major emergency, shall be in place, and the plan
                                                                shall be approved locally in accordance with this
I. Purpose and Scope                                            standard and updated annually at a minimum.
This detention standard ensures a safe environment           4. Events, staff responses and command-related
for detainees and employees by establishing                     decisions during and immediately after
contingency plans to quickly and effectively respond            emergency situations shall be accurately recorded
to emergency situations and to minimize their                   and documented.
severity.
                                                             5. Plans shall include procedures for assisting
This detention standard applies to the following                detainees with special needs during an emergency
types of facilities housing ICE Enforcement and                 or evacuation.
Removal Operations (ERO) detainees:
                                                             6. The facility shall provide communication
 x    Service Processing Centers (SPCs);                        assistance to detainees with disabilities and
                                                                detainees who are limited in their English
 x    Contract Detention Facilities (CDFs); and                 proficiency (LEP). The facility will provide
 x    State or local government facilities used by
                                                                        , Inc.
                                                                detainees with disabilities with effective
      ERO through Intergovernmental Service
                                                                re Civic 022
                                                                communication, which may include the

                                                          . Co er 14, 2
      Agreements (IGSAs) to hold detainees for more             provision of auxiliary aids, such as readers,
      than 72 hours.
                                                   in o  v      materials in Braille, audio recordings, telephone
                                                                  b
                                              O  w          c e m
                                  te     in for SPCs
Procedures in italics are specificallydrequired
                                                     1 , De
                                                                handset amplifiers, telephones compatible with
                              c  i
and CDFs. IGSA facilities must conform5         2 2
                                            to5these
                                                                hearing aids, telecommunications devices for deaf
procedures or adopt, adapt or o       2 1 -
                                   . alternatives,
                                                                persons (TTYs), interpreters, and note-takers, as
                             N establish
provided they meet or exceed the intent represented
                                                                needed. The facility will also provide detainees
                                                                who are LEP with language assistance, including
by these procedures.
                                                                bilingual staff or professional interpretation and
Various terms used in this standard may be defined              translation services, to provide them with
in standard “7.5 Definitions.”                                  meaningful access to its programs and activities.

II. Expected Outcomes                                           All written materials provided to detainees shall
                                                                generally be translated into Spanish. Where
The expected outcomes of this detention standard                practicable, provisions for written translation shall
are as follows (specific requirements are defined in            be made for other significant segments of the
“V. Expected Practices”).                                       population with limited English proficiency.
1. Each facility shall have in place contingency plans          Oral interpretation or assistance shall be provided
   to quickly and effectively respond to emergency              to any detainee who speaks another language in
   situations and to minimize their severity.                   which written material has not been translated or
2. Staff shall be trained annually, at a minimum, in            who is illiterate.
   emergency preparedness and implementation of              III. Standards Affected
   the facility’s emergency plans.
                                                             This detention standard replaces “Emergency Plans”

1.1 | Emergency Plans                                    1                                           PBNDS 2011
                                                                                           (Revised December 2016)
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dated 12/2/2008.                                             B. Preventive Action
IV. References                                               1. Climate Monitoring

American Correctional Association, Performance-              Staff alertness to changes in facility “climate,”
based Standards for Adult Local Detention                    promptly reported, can be of critical importance in
Facilities, 4th Edition: 4-ALDF-1C-01, 1C-02, 1C-            defusing a potentially explosive situation. Detention
03, 1C-04, 1C-05, 1C-06.                                     management experience indicates that certain
                                                             circumstances may predictably contribute to
ICE/ERO Performance-based National Detention                 increased tensions in a detained population. Often
Standards 2011:                                              such issues can be controlled or lessened before
 x    “1.2 Environmental Health and Safety,” which           erupting into an incident or disturbance.
      provides requirements and guidelines for               Staff shall be trained to watch for signs of mounting
      avoiding and mitigating dangerous situations,          tension among the detainee population, such as a
      specifically with regard to fires, environmental       spike in the number of detainee requests and incident
      hazards and evacuations; and                           reports; sullen, restless and short-tempered behavior;
 x    “2.15 Use of Force and Restraints,” which              or detainees avoiding contact with staff (including
      provides requirements and guidelines for               eye contact).
      emergency situations requiring the use of force.
                                                                   , In c.
                                                             Factors known to exacerbate tensions that may lead
Memorandum dated 7/14/2006 on “Escape
                                                     r e C   ivic 022
                                                             to group disturbances include, but are not limited
Reporting” from the ICE/ERO Director, which
                                              v. Ca.oracism;
                                                             to:
                                                             r  1 4  ,2
                                          ino
specifies requirements for the reporting, tracking
                                         w           m  be
                                    in  O
and investigating of the escape of an ICE/ERO  e c e
detainee.                  cited 55221, D b. heightened complaints about food;
                             o
A helpful resource: A Guide to . 21- for and
                               Preparing
                                                  c. dissatisfaction with the performance or attitude of
                          N
Responding to Prison Emergencies. The guide is
                                                     a post officer;
available at www.ncicic.org.                                 d. increasing complaints about recreation, medical
                                                                care, visits, mail, etc.;
V. Expected Practices
                                                             e. gang activity;
A. Staff Training                                            f. prohibited sexual activity; and
Each facility shall include emergency preparedness as        g. inaccurate or incomplete information about
part of the initial orientation and training provided           detainee cases or facility policies.
to all new employees, and all staff shall be trained
                                                             2. Staff Actions
annually, at a minimum, on the facility’s emergency
plans.                                                       Staff may improve their chances of resolving and
                                                             deflecting detainee unrest by:
Other training requirements, for example, climate
monitoring, special response teams (SRTs),                   a. discussing plans, programs and procedures
disturbance control teams (DCTs), hostage                       among themselves;
negotiation teams (HNTs), video equipment and the            b. engaging in open dialogue between staff and
command post—are specified in other sections of                 detainees to address concerns;
this standard.

1.1 | Emergency Plans                                    2                                           PBNDS 2011
                                                                                           (Revised December 2016)
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c. continuing to treat detainees fairly and                         rendering emergency assistance (e.g., supplies,
   impartially;                                                     transportation and temporary housing for
d. reducing misunderstandings among detainees                       detainees, personnel and/or TDY staff) to
   (for example, by enforcing and explaining rules                  another ICE/ERO facility.
   that prevent any individual or group from                     2) The Chief of Security or facility administrator
   imposing its will on other detainees);                           designee is the individual responsible for
e. resolving misunderstandings and conflicts as they                developing each contingency plan and
   arise;                                                           implementing the plan when an emergency
                                                                    situation occurs. In the development process,
f. encouraging participation in work and                            he or she shall rely upon the expertise of all
   recreational programs;                                           department heads and ensure all departments
g. routinely reporting to the facility administrator                have understood and are fully prepared to
   on facility climate and detainee attitudes; and                  execute their responsibilities under the plan.
h. alerting supervisors at the first sign(s) of trouble,         3) Each facility shall maintain an accurate
   gang activity, group hostilities, etc.                           inventory of identified equipment and shall
                                                                    review that inventory every six months, at a
Quick, decisive staff action can prevent the start or
                                                                    minimum, to ensure its accuracy.
spread of a disturbance.
                                                                         n c.
                                                               b. Planning with Other Agencies
                                                                     , I
The facility administrator shall develop written
                                                       re  C  ivicshall develop
                                                       Each facility
                                                                           0 2  2  contingency plans with
procedures for staff to follow when reporting an
                                                v . Colocal,             2 law enforcement agencies
                                                             state and, federal
                                                                  1 4
                                           ino
emergency and should notify facility staff in a timely
                                                         be
                                                       and    r
                                                           shall formalize  those agreements with
                                      O  w           e m
                                                  ec memoranda of understanding (MOU).
                              ted in
manner when changes are made to the emergency
                                            1 , D
plan.
                            ci         5 22
3. Pre-incident Considerations 2 1 - 5                 1) Facility/agency legal staff and/or the
                           No.
When all attempts to defuse a volatile situation have
                                                          respective ICE Office of Chief Counsel shall
                                                                    review MOUs for legal sufficiency and, in
failed, the facility administrator shall determine how              particular, adherence to other agency rules
to proceed, based on considerations of the safety,                  regarding arrest authority, use of intermediate
welfare and protection of detainees, personnel, the                 and deadly force, jurisdiction and outside-
general public and property.                                        agency involvement.
C. Contingency Plan Development                                  2) The facility administrator, or agency designee
                                                                    and representatives from the affected agencies
1. Basic Planning
                                                                    shall co-sign the MOUs.
a. Responsibility                                                3) Simulated exercises to test the contingency
   Every facility shall designate the individual(s)                 plans shall occur on a regular, mutually
   responsible for developing and implementing                      agreed-upon basis and recur annually at a
   emergency contingency plans. All plans shall                     minimum.
   comply with the ICE/ERO detention standards for               4) The facility administrator shall review and
   confidentiality, accountability, review and                      approve contingency plans annually at a
   revision included in this section.                               minimum.
   1) Each plan shall include procedures for                     If any local, state or federal agency deemed

1.1 | Emergency Plans                                      3                                          PBNDS 2011
                                                                                            (Revised December 2016)
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   essential to emergency planning declines to                 facility’s contingency plans to the Field Office
   participate, the facility administrator shall inform        Director and Assistant Director of the Detention
   the Field Office Director in writing and make               Management Division, Office of Enforcement and
   periodic contact to revisit the issue.                      Removal. Electronic files containing the facility’s
2. Keeping Plans Current                                       contingency plans shall be marked “Confidential.”
                                                               4. Organization of the Contingency Plan File
The Chief of Security or facility administrator
designee shall:                                                a. General Plans
a. update the plans as often as necessary and                     A general section shall contain policy, procedures
   forward them for facility administrator approval.              and plans common to most emergency situations.
   If the facility administrator requests changes, the         b. Contingency-specific Plans
   Chief of Security or facility administrator                    The sections that follow the general section shall
   designee shall incorporate necessary changes and               contain contingency-specific plans, as detailed
   resubmit the plans within 30 days. Facility staff              below. They may reference the provisions of the
   shall also be notified of changes;                             general section and will only reference the
b. conduct annual contingency plan reviews, with                  exceptions and/or additions applicable to the
   participation of every department head; and                    particular contingency.
c. document each annual review and plan approval
                                                                           , Inc.
                                                               D. General Implementation of
                                                                    Civic Plans 2
   on the contingency plan file master copy, even              Contingency
   when review results in no changes.
                                                             C o  re         4   , 2 02
                                                  win  o v. Each       e
                                                                   facility
                                                                    b       1 establish written policy and
                                                                         r shall
3. Safeguarding Plan Confidentiality
                                       in     O          D e  em addressing, at a minimum: chain of
                                                             cprocedures
                                    d
                               cite 55221
Every plan that is under development or  is final must ,      command, command post/center, staff recall, staff

                                  . 2 1  -
include a statement prohibiting unauthorized                  assembly, emergency response components, use of
                              Noany aspect of a plan
disclosure. Staff may not discuss                             force, video recording, records and logs, utility
within hearing distance of a detainee, visitor or anyone       shutoff, employee conduct and responsibility, public
else not permitted access to the plan.                         relations, and facility security.
The Chief of Security or facility administrator                The respective Field Office Director shall maintain
designee shall determine where copies of plans are             current data on the physical capacities of each facility
to be stored, and in what quantity. A master copy              that can be used to quickly identify the best
shall be kept outside the secure perimeter, along              source(s) of emergency assistance.
with an itemized list of plans and where to find               1. Chain of Command
them.
                                                               The facility administrator shall identify the chain of
The Chief of Security or facility administrator
                                                               command for directing operations in an emergency.
designee shall implement a checkout system that
accounts for all plans at all times, with safeguards           2. Command Post
against detainee access. Release of contingency plan           a. Equipment for the Command Post
details requires the written approval of the facility             The facility shall set up a primary command post
administrator.                                                    outside the secure perimeter that, at a minimum,
The Chief of Security or facility administrator                   is equipped as follows:
designee shall send an electronic file containing the             1) internal/external phone capabilities;

1.1 | Emergency Plans                                      4                                            PBNDS 2011
                                                                                              (Revised December 2016)
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      a) private outside lines with:                           4) a staff member to log activities in
         x a speakerphone for open conference calls               chronological order;
            between the facility and Field Office, to          5) a staff member to manage communications
            include Detention Management Division                 with the Field Office, maintaining open lines
            command posts as applicable; and                      of communication during the situation; and,
         x a second outside line to conduct all
            other calls;                                       6) a staff member to control traffic into and out
      b) a separate line for internal communications;             of the command post. To control incoming
   2) radio equipment equipped for facility                       and outgoing command post traffic, the Chief
      frequencies, and where permitted local law                  of Security or facility administrator designee
      enforcement communications and, as                          may implement a pass system.
      applicable, other federal law enforcement             To ensure alertness and to prevent mistakes and
      agencies;                                             misjudgments as a result of fatigue or stress:
   3) a computer with Internet capabilities;
                                                               1) command post staff must rotate shifts with
   4) a facility plot plan, including property maps,
                                                                   personnel from the relief roster after each
      current building blueprints, local maps and
                                                                   shift;
      overhead photographs;
   5) video recordings of building interiors within            2) command post staff shall be relieved by
      the secure perimeter (showing doors,                         personnel fromcthe
                                                                                In   . relief roster for short
      windows, closets, ceilings, floors, etc.);                       iv
                                                                   breaks
                                                                    C      c, each shift;
                                                                          iduring       2     and
                                                             o3)rebriefing1should
                                                                               ,      2
                                                                                  20take place which covers the
   6) escape-post kits, including maps, directions,
                                                       v . C                4
      etc. (as detailed under “E. Contingency- ino
                                                w              m  b  er of the previous shift and any activities
                                                                   events
      specific Plans,” “Escape”);        in  O         D    e
                                                         ec carrying over to the next shift.
                                 ite d
   7) contingency plans–onecor more copies;22      1 ,
                                        1     5
                                          -5equipment;      c. Activating the Command Post
                                   .
   8) Hostage Negotiating Team (HNT) 2
                                 o disc (DVD)
   9) a videotape or digital Nvideo                            The Chief of Security or facility administrator
      player/television;                                       designee shall activate the command post at the
   10) a voice-activated recorder or conventional              facility administrator’s direction.
      tape recorder;                                           The activated command post shall immediately
   11) assault/breaching plans (building specific, as          open the conference-call line to the Field Office
      appropriate for the facility); and                       and ERO headquarters Detention Management,
   12) a supply kit containing general supplies that           and the Response Coordination Divisions, if
      may be needed (at a minimum: logbooks,                   applicable. The Field Office Director or
      blank rosters, purchase orders and writing               headquarters divisions may wait until the
      instruments).                                            dimensions of the unfolding incident are known
b. Staffing the Command Post                                   before deciding to activate their command posts.
   Command post staffing shall include, but is not
                                                               The facility’s command post shall remain
   limited to, the following:
                                                               activated 24 hours-a-day until the situation is
   1) facility administrator or incident commander;            resolved or until the facility administrator, in
   2) assistant facility administrator;                        consultation with the Field Office Director,
                                                               determines activation to be no longer necessary.
   3) Chief of Security or facility administrator
      designee;                                             d. Testing and Training

1.1 | Emergency Plans                                   5                                           PBNDS 2011
                                                                                          (Revised December 2016)
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   Emergency preparedness activities shall include           and maintain DCTs, SRTs and HNTs based on ICE
   activating the command post phone lines and               criteria.
   other logistical support systems monthly, at a            The DCT shall consist of trained staff members in
   minimum, to test equipment and familiarize staff          protective equipment who are capable of an
   with the command post and its equipment.                  unarmed response to a crisis. They shall have access
3. Emergency Recall List                                     to less-than-lethal response tools, including standard
As detailed in standard “2.4 Facility Security and           riot batons and chemical agents.
Control,” the facility control center is required to         SRTs are highly trained, well-equipped tactical teams
maintain a list of the phone numbers of every                capable of providing both less-than-lethal as well as
officer, administrative/support services staff,              lethal response options.
emergency response components and law                        HNTs are trained negotiators whose goal is to bring
enforcement agencies. The facility should                    successful resolution to a crisis through verbal
prominently feature the following notice:                    dialogue.
“This information must be safeguarded. Use is              If the facility does not have the capacity to establish
restricted to those who need the information in the        or maintain these emergency response components,
performance of their official duties. Misuse may           the facility administrator shall develop agreements or
subject the user to criminal liability. This agency        MOUs with local, state or federal agencies, as
shall view any misuse of this information as a serious
                                                                               In
                                                           appropriate, for,these    .
                                                                                  cresources.
violation of the employee code of conduct, which
                                                               r e C   ivic 022
                                                        . Co er 14, 2
may result in disciplinary action, including               6.  Use of Force
removal.”                                          ino v          b that must be used to control an emergency
                                         n   O  w          e  em shall be in accordance with standard “2.15
                                                           Any force
                                                             csituation
                                     d  i              , D
For emergency response purposes,
shall also maintain a current c
                                ite Field
                                     the  control
                              roster of all-5 5   21
                                                  center
                                                2Office       Use of Force and Restraints” and any other
                                    2  1
                               o. Management                  applicable ICE policies on the use of force.
                            N
and ICE/ERO headquarters Detention
and Response Coordination Division numbers.                  Emergency plans shall be based on, and consistent
4. Assembly of Staff                                         with, ICE policy governing the use of force, as
                                                             reflected in the following three documents:
The facility administrator shall:
                                                             a. ICE Interim Use of Force Policy (July 7,
a. develop control center procedures for executing              2004), as amended or updated;
   an all-staff recall;
                                                             b. ICE Interim Firearms Policy (July 7, 2004), as
b. designate primary and secondary areas for staff              amended or updated; and
   assembly, preferably in a location where they
   cannot be observed by detainees; and                      c. “ERO Addendum to Interim ICE Firearms”
                                                                memorandum to Field Office Directors from
c. designate backup areas for each primary and                  Wesley J. Lee, Acting ICE Director (July 11,
   secondary area and specify exceptions, if any, for           2005), as amended or updated.
   a specific contingency.
                                                             7. Video Equipment
5. Emergency Response Components
                                                             At least one video camera shall be maintained in the
The facility administrator shall ensure that the             control center for use in emergency situations, and
appropriate personnel are trained, and shall establish       the facility administrator shall ensure that it is

1.1 | Emergency Plans                                    6                                          PBNDS 2011
                                                                                           (Revised December 2016)
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maintained, tested and supplied as required in “K.              accountability, drop chute, etc.); and
Maintaining Audiovisual Recording Equipment and
                                                             e. evidence seizure and preservation.
Records” found in standard “2.15 Use of Force and
Restraints.”                                                 11. Health Services Responsibilities

The detention standard on “2.15 Use of Force and             The plan shall specify procedures for providing
Restraints,” also details requirements and procedures        immediate and follow-up medical care to detainees
for video-recording use-of-force incidents.                  and staff under every emergency scenario outlined in
                                                             “E. Contingency-specific Plans.”
Shift supervisors or facility administrator designees,
along with other designated staff, shall be trained to       12. Food Service Responsibilities
use video equipment and receive additional training          The plan shall specify procedures for updating the
on such technical issues as how to identify tapes or         Food Service Administrator (FSA) on such issues as
DVDs and photographs by date and location.                   the number of people who shall be on duty and
8. Records and Logs                                          require meals.

The facility administrator shall designate the               The FSA shall make contingency plans for providing
command post staff member who shall keep a date-             meals to detainees and staff during an emergency,
and-time chronological logbook record of events              including access to community resources, which the
during the emergency, including all command-                 FSA shall negotiate during the planning phase.
related decisions and discussions, phone calls and                       ,  In  c.
                                                                   ivic 022
                                                             13. Maintenance Department Responsibilities
radio transmissions.
                                                             re C
                                                    v              r    4  , 2 for emergency utility control,
                                                          o plan shall1provide
                                                     . CThe
                                                  o              e
                                          Owin Decand   emgasb shut-off valves and electrical circuit breakers.
Radio transmissions shall be documented by a voice-     including  plot plans  identifying locations of water
activated or conventional tape recorderin
                                        whenever
possible.                    cited 55221,               It is suggested that the utility shut-offs be
Command post staff shall also o      1  -
                                 . 2 a reading file     photographed and included in the plans for quick
                            N maintain
to update staff coming on duty.                         identification during an emergency.
9. News Media/Public Relations                               14. Employee Conduct and Responsibility

The public information officer is responsible for            The plan shall address professional conduct and
coordinating briefings with news and television              responsibility, including what to do if taken hostage,
media. All media releases shall be coordinated               with instructions and guidelines.
through the Field Office public affairs liaison.             15. Facility Access Routes
10. Facility Security                                        The plan shall specify alternate means of reaching
The facility administrator shall provide written             the facility for emergency staff if the main approach
procedures for:                                              becomes dangerous or inaccessible (e.g., during a
                                                             civil disturbance, adverse weather conditions, fire,
a. detainee recall and lockdown;
                                                             etc.).
b. counts (in accordance with the standard “2.8              16. Nearby Residents
   Population Counts”);
                                                             The plan shall specify how and when staff shall
c. intensified security;
                                                             notify nearby residents of the situation, including
d. security key access (including issuance and               sharing information such as type of emergency,

1.1 | Emergency Plans                                    7                                           PBNDS 2011
                                                                                           (Revised December 2016)
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actions being taken, evacuation routes (if applicable)        Office Director in the following order:
and special precautions.                                       1. fire;
17. Communications Equipment/Radio
                                                               2. work/food strike;
The plan shall specify whether the remote battery              3. disturbance;
charging units shall be maintained in the control
center or outside the secure perimeter. A                      4. escape emergency;
determination as to the type of radios being used in           5. hostages (internal);
the facility shall dictate whether the battery charging
units shall be maintained outside the secure                   6. search (internal);
perimeter. If the radios can be taken off-line and             7. bomb threat;
rendered useless, the battery charging units may be            8. adverse weather;
maintained inside the secure perimeter. If not, they
shall remain outside the secure perimeter.                     9. civil disturbance;
18. Post-emergency Procedures                                 10. environmental hazard;
The post-emergency part of the plan shall include             11. detainee transportation system;
the following action items:                                   12. evacuation;
a. segregating the detainees involved in the incident;
                                                                              In c.
                                                              13. ICE-wide lockdown;
                                                                           ,
b. treating and documenting employee and detainee          14. e
                                                              r    C
                                                                staff ivicstoppage;
                                                                      work
                                                                                  0 2 2
                                                                                     and
                                                         C  o
                                                     v. 15. ifbneeded,     4 ,  2
   injuries;
                                               in o                 e r 1 other site-specific plans.
                                        n  Ow
c. seizing, documenting and preserving evidence;
                                                       e c1.em
                                   d   i           , D       Fire
                             cite for5sensitive
d. assigning accountability (especially
                                           52 2  1
   equipment and staff);         . 2  1  -                The safety/maintenance supervisor shall develop a
                           No
e. assessing damage and necessary repair; collecting
                                                          comprehensive fire control plan, in accordance with
                                                              the “Fire Prevention and Control” section of
   written reports;                                           standard “1.2 Environmental Health and Safety.”
f. coordinating legal actions/prosecutions;                   The Chief of Security or facility administrator
g. debriefing involved staff, and following-up for            designee shall develop a procedural outline for shift
   additional analysis and/or implicated changes in           supervisors or facility administrator designees to
   policy or procedures; and                                  follow in the event that a fire occurs during non-
                                                              duty hours.
h. conducting general review and critique of
   emergency operations and management, with a                2. Work/Food Strike
   follow-up agenda including, but not limited to:            The facility administrator shall determine the course
   1) monitoring the facility climate, and                    of action to pursue, based on:
   2) revising the contingency plan.                          1. whether strikers have announced when the strike
                                                                 shall end;
E. Contingency-specific Plans
                                                              2. occurrence of or potential for violence;
The facility shall compile individual contingency
specific plans, as needed, and approved by the Field
                                                              3. the number of detainees involved; and


1.1 | Emergency Plans                                     8                                             PBNDS 2011
                                                                                            (Revised December 2016)
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4. prospects for neutralizing the problem.                       respective Field Office is immediately notified.
3. Disturbance (Internal)                                        Ordinarily, in a CDF, notification shall be through
                                                                 the facility’s ICE/ERO Contracting Officer’s
After determining the course of action to pursue, the            Representative (COR) and, in an IGSA facility,
facility administrator shall direct staff to implement           through the ICE/ERO representative.
the action plan, which shall cover at a minimum:
                                                                 Within one hour of discovery, the escape shall be
1. controlling utilities;                                        reported to the nearest U.S. Marshals Service
2. securing available emergency entrances (e.g.,                 office if the escapee was:
   food service, housing areas, etc.);                           1) convicted of a criminal violation, and/or
3. notifying and assembling trained emergency                    2) paroled for deportation prior to the
   responders/other staff and equipment;                            completion of his or her sentence.
4. dispensing chemical agents in specific areas;                  Additional requirements for ICE/ERO are detailed
5. maintaining perimeter security (including crowd,               in the 7/14/2006 memorandum from the
   traffic and media control);                                    ICE/ERO Director cited above under References.
                                                                  Briefly, those requirements include reporting the
6. shutting down detainee telephone systems;                      escape through the Significant Incident Reporting
7. notifying outside agencies; and                                (SIR) system, and forwarding an escape report to
                                                                                    In   .
                                                                                       cManagement
8. removing controlled substances from the
                                                                          iv  ic ,
                                                                  the ERO Detention                  Division for
                                                                o r e  C
                                                                  tracking   in the
                                                                                        0 2
                                                                                    National
                                                                                      2     2Escape Tracking System
                                                                              14, The Field Office Director is also
   pharmacy area.
                                                     in o  v. C (NETS)
                                                                     b  e r database.
4. Escape
                                         in    Ow Decem           required to conduct an investigation, determine
a. Implement Local Proceduresited                   2  1 ,        whether proper procedures were observed and
                               c                  2
                                               5 to
                                             5staff
                                        1
   The facility administrator shall deploy
                                      2    -                      provide   a report to the Detention Management
                              No. posts, or to
   primary and secondary escape                                   Division.
   directional escape posts, designating a                     c. Escape-post Equipment
   timekeeper/recorder for each:                                  Escape-post equipment kits shall be stored in the
   1) Primary                                                     command center and include, at a minimum:
       Fixed and mobile posts near the facility;                  1) a flashlight;
   2) Secondary                                                   2) restraints (handcuffs and/or flex-cuffs) and
       Fixed and mobile posts beyond the immediate                    tools necessary for removal;
       facility area;
                                                                  3) a packet containing post location, map(s), fact
   3) Directional Posts                                               sheet highlighting arrest authority, search
       No fixed location and based on situational                     procedures, apprehension techniques, etc.;
       intelligence that indicates a direction for the
       search.                                                    4) a radio; and

b. Notification to Authorities                                    5) binoculars (as applicable).
   The facility administrator shall:                          d. Escape by Aircraft
   Immediately notify local, state and federal law               1) Staff should observe and record aircraft
   enforcement officials and ensure that the                        description, including details such as colors,


1.1 | Emergency Plans                                     9                                           PBNDS 2011
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      registration or tail number, direction of flight,        b. Hostage Negotiation Teams (HNTs)
      etc.                                                        1) Each facility’s core negotiation group
   2) Notify local law enforcement and Federal                       (generally the team leader, primary negotiator
      Aviation Administration.                                       and mental health expert) shall attend hostage
                                                                     negotiation training and be certified as hostage
   3) Firing on aircraft is prohibited, except to                    negotiators.
      return fire originating from the aircraft. Even
      in such case, however, the usual deadly-force                  a) Requirements for the team leader include:
      considerations apply, and staff must carefully                    experience and skill applying hostage
      weigh consequences (e.g., the aircraft may                        negotiation principles and strategies,
      crash into a building, the pilot is most likely                   demonstration of working effectively under
      under duress, etc.).                                              stress and proven leadership ability. The
                                                                        facility administrator shall generally select a
5. Hostage Situations                                                   department head as the team leader.
a. ICE/ERO Field Office Hostage Situation                            b) Negotiators must possess strong
   Management Plan                                                      verbal/interpersonal skills, personal
   The Field Office hostage situation management                        maturity, a commitment to negotiation as
   plan shall make available the essential logistical                   the key to conflict resolution, flexibility and
   support and local and/or backup resources (e.g.,
   equipment, expertise, personnel) to any affected                      ,  I  c.
                                                                        a history of working well under pressure.
                                                                             n
                                                             e  C   vic
                                                            2) Theiheadquarters
                                                                                    2
                                                                                  response coordination
                                                                                  2
   facility in the jurisdiction.
                                                          Cor           4  ,
                                                               division shall:2 0
   1) The Field Office and Response Coordinationno v.            e r 1 a roster of ICE/ERO personnel
                                               w  i           b
                                       in   O
      Division shall jointly provide designated
                                     d                D e cem who are trained in hostage negotiation and
                                                               a) maintain
                               citeand well-equipped
      facilities with well-trained             2 21 ,
                                      1  - 5 5                    qualified and available for work on an HNT
      HNTs.                         2
                             No.
   2) The plan shall identify, for each facility, the
                                                                  in any ICE/ERO facility; and

      backup personnel, mental health professionals                  b) provide copies of the roster to the Field
      and others as needed during a prolonged crisis.                   Offices and keep them updated.
      The Field Office shall maintain a list of all               3) HNT members shall convene for no less than
      ICE/ERO hostage-negotiation                                    eight hours of duty time every month to plan
      trainers/consultants and trained negotiators in                and practice negotiation scenarios, and consult
      the jurisdiction.                                              with other law enforcement agencies. To
   3) The Field Office Director, in consultation with                solidify working relations and complementary
      the facility administrator, shall ensure the                   strategies and techniques/tactics, an SRT
      availability of crisis support teams, consisting               member shall serve as team liaison and
      of trained counselors/therapists, to:                          routinely attend the negotiation team’s
                                                                     monthly sessions.
      a) provide post-crisis services to staff and
         families, and                                            4) Whenever possible, the negotiation team shall
                                                                     conduct annual joint training sessions with
      b) upon request, assist facilities to develop                  negotiators from other law enforcement
         site-specific emergency plans for victims                   agencies and maintain contact with
         and their families.                                         counterparts in other agencies.

1.1 | Emergency Plans                                     10                                           PBNDS 2011
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   5) Training exercises integrating the activities of            2) The facility administrator shall notify the FBI
      the command post, HNT and SRT, shall occur                     and other agencies, as appropriate, of the
      every six months to underscore the importance                  situation.
      of a total facility response to a hostage                   3) Under no circumstances may facilities cede
      situation. As participants collaborate and                     command authority to external law
      interact, they shall experience how other                      enforcement agencies (such as the FBI) unless
      operational teams think and function, and shall                required in a signed MOU.
      learn what each can contribute in a crisis.
                                                                d. Disturbance Containment and Facility Security
   6) Every negotiation team shall have access to                  The facility administrator shall:
      portable communication equipment or “throw
      phones.” To operate the equipment when                      1) prevent movement into or out of the scene of
      needed in an emergency, team members shall                     the hostage area;
      have access to the equipment for routine                    2) add exterior, armed patrols;
      practice sessions. A communications
      equipment expert, thoroughly familiar with                  3) terminate detainee telephone usage;
      the operation of the throw phone, shall be                  4) limit or curtail staff radio usage;
      available to each negotiation team during                   5) remove visitors and civilians, including
      practice exercises.
                                                                                  I    .
                                                                     contract employees and volunteers;
                                                                                   ncfor immediate official count;
   7) Each facility shall maintain a list of translator                     ic ,
      services and interpreters, in the event one is
                                                               o r   Civ
                                                                 6) recall
                                                                   e
                                                                           detainees
                                                                                    2   22
                                                                                      0from
                                                          v. C   7)
                                                                        r
                                                                    remove  1  4 ,
                                                                              detainees       the hostage area. If in a
      needed for hostage negotiation.
                                                     in o           b e
                                                 w use ecem housing unit, move the detainees into temporary
                                         i n  Ofor
   8) Each facility shall also make provisions
                                     d as a hand-held
                               citesuch          2 2   1 ,D         housing, in accordance with written, site-
      of an electronic translator,
                                     2  1  - 55                     specific procedures; and
                              No.
      computer that translates spoken     English
      phrases into other languages.                              8) conduct staff roll call, in accordance with
                                                                    written procedures, to determine the number
c. Chain of Command in Hostage Situations                           and identity of hostages.
   The facility administrator shall ensure the Field
   Office Director is kept informed of every aspect of        e. Negotiations
   the crisis on a regular schedule until the crisis is          The facility administrator shall have no hands-on
   resolved. The ERO headquarters Field Operations               involvement in the negotiation process. Once the
   Assistant Director may assume control of a large-             emergency response component has contained
   scale operation involving coordination with other             and stabilized the immediate situation, the trained
   ICE/ERO components and law enforcement                        HNT shall take over.
   agencies, as necessary.                                       1) Hostage negotiators act as intermediaries
   1) The facility administrator shall immediately                  between the command post and the hostage-
      report a hostage situation to the Field Office                takers, keeping the lines of communication
      Director, who shall in turn notify the Field                  with the hostage-takers open and maintaining
      Operations Assistant Director. The facility                   calm while working toward a nonviolent
      administrator shall assign a senior manager to                resolution.
      serve as liaison with the Field Office and Field           2) The HNT shall include:
      Operations.

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      a) a team leader (manages negotiations;                   3) Emergency plans shall specify procedures for
         command post liaison);                                    screening freed hostages for medical and
      b) a primary negotiator (communicates                        psychological problems.
         directly with hostage-takers);                            a) The designated Employee Assistance
      c) a secondary negotiator (advises/assists                      Program (EAP) contact shall coordinate and
         primary negotiator);                                         conduct the screenings and debriefings of
                                                                      all hostages and other employees involved
      d) a mental health professional (observes,                      in the disturbance.
         provides psychological
         analyses/assessments and advice; monitors                 b) Psychological screenings should take place
         stress levels and emotional climate); and                    before the freed hostage is relieved of duty,
                                                                      to guide decisions about
      e) a note-taker (documents all communication                    counseling/therapy and work reentry.
         to/from hostage takers).
                                                                4) The facility administrator shall ensure a
   3) Hostage negotiators shall have no decision-                  debriefing with former hostages after their
      making authority. Negotiators shall maintain                 psychological and medical screenings, unless
      close contact with the decision makers and                   IHSC staff advises postponement.
      persons in charge of tactical assault teams by
                                                               5) Emergency plans shall also provide for
      means of continuous briefings on the status of
                                                                                In c. not taken hostage, but
                                                                  debriefing, personnel
      negotiations.
                                                               re  C   ivic involved
                                                                  significantly
                                                                                    0 2 2in the operation to free
   4) Certain issues, such as releasing hostage-             o
                                                        v. C bhostages.   14This  2
                                                                               , debriefing should take place
                                                  in  o              e r
                                        in   Ow Decem prior
      taker(s) from custody, providing weapons,                          to the staff member being released from
                                  ed to negotiation.
      arranging hostage exchange and
                              citopen
                                         immunity
                                               2 2  1 ,           duty.
      from prosecution are not
                                  . 2 1   -55               g. Hostage Family Services
                             N
   5) Third-party participation oin negotiations shall         1) The facility administrator shall notify hostages’
      be consultative only.                                       families of the situation as early as possible.
   6) Unless formally involved in negotiations, staff          2) If the hostage situation is not resolved quickly,
      shall have no contact with hostage-takers.                  the Field Office Director (or designee) shall
f. Status of Certain Staff during and after a Hostage             identify members of a crisis support team and
   Situation                                                      direct them to establish a family service center
   1) Regardless of the individual’s rank or authority            at the facility.
      under normal conditions, facility personnel                 a) The crisis support team shall be distinct
      shall not be bound by                                           from the HNT.
      instructions/orders/suggestions from any
      supervisor or other staff member who is a                   b) The two teams shall have no members in
      hostage.                                                        common.

   2) A staff member with a relative or close                  3) At the family service center, the crisis support
      associate among the hostages shall be relieved              team shall provide members of affected
      from duty, responsibility and authority                     families accurate information, updates and
      pending resolution of the incident.                         breaking news and professional advice and
                                                                  help.

1.1 | Emergency Plans                                    12                                         PBNDS 2011
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   4) The crisis support team shall directly address            7) tools as needed; and
      children’s stress and stress-generated behavior.          8) riot batons.
      The EAP may assist with family stress
      management.                                             7. Bomb Threat

h. Media                                                      a. Immediate Response
   News media organizations shall abide by the                  1) Phone Threat
   policies and procedures of the facility. The staff              The facility administrator shall develop a
   member handling press releases and inquiries is                 “script” for staff to follow upon receiving a
   responsible for:                                                telephoned bomb threat; script shall be
   1) situating any present media representatives in               available at every staff telephone for instant
      an area where their presence shall not interfere             access. (FBI Bomb Threat DATA Form, DOJ
      with emergency operations;                                   370)
   2) arranging regular briefings; and                             The objective of the scripted questions is to
                                                                   secure the following information from and
   3) handling incoming inquiries.                                 about the caller:
6. Search (Internal)
                                                                   a) bomb location;
a. Search Teams
                                                                          ,  In  c.
                                                               b) time set for detonation;
   The shift supervisor or facility administrator
                                                            re     ivicof explosive;
                                                               c) type
                                                                C                022
   designee shall serve as search coordinator,
   dispatching a separate two-officer search team foro v. Co             4  ,  2
                                                   in         b
                                                               d)
                                                                 e  r 1 of threat); and
                                                                  caller’s affiliation/self-identification
   every missing detainee, at least one of whom
                                          n     w
                                             O shall Decem        (credibility
   be thoroughly familiar withitthee d   i           1 ,
                              c       assigned
                                           5 5  2 2
                                               search          e) caller’s gender, accent, tone, and other
   area.
                                o  . 21-                          characteristics.
                             Nsearch teams to draw
   The supervisor shall direct                              2) Mail Threat
   designated keys from the facility’s key control             The facility administrator shall instruct staff to
   area, specify which search method to use,                   consider suspect any letter or package with:
   instruct assigned teams to search areas identified
   to be searched, including areas with non-standard           a) oily/greasy stains/discoloration;
   construction features (temporary or permanent),             b) an incorrect title/department for the
   and assign a designated radio frequency.                       addressee;
b. Equipment (at a minimum):                                       c) the addressee’s name misspelled;
   1) master blueprint or schematic for search                     d) disproportionate weight relative to the size
      coordinator;                                                    of the envelope or box; and/or:
   2) separate blueprints for each search area;                    e) no return address.
   3) radios (one per team);                                    3) Written Threat
   4) flashlights;                                                 Upon receipt of a written threat, staff shall
                                                                   treat the paper or other means of
   5) restraints;                                                  communication as they would any other
   6) ladders;                                                     criminal evidence, preventing unauthorized

1.1 | Emergency Plans                                    13                                          PBNDS 2011
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      handling of the material and saving all material              accordance with written procedures, that
      associated with the delivery (e.g., envelope,                 assume:
      wrapping).                                                    a) structural damage; and
   4) In-person Threat                                              b) additional bomb(s)
      Staff shall elicit as much information as
      possible from the person who has delivered an              2) An explosives expert from the Bureau of
      in-person threat; a supervisor shall be                       Alcohol, Tobacco and Firearms, the FBI, the
      contacted as soon as possible.                                local fire chief or other explosives expert, shall
                                                                    conduct the investigation.
b. Searching for a Bomb
                                                              8. Adverse Weather
   When searching for a bomb following a
   perceived or real threat, the shift supervisor or          After defining and mapping the interior- and
   facility administrator designee shall notify the           perimeter-post areas, the facility administrator shall:
   local fire department and hospital, in addition to         a. prepare a separate map showing locations of all
   the Chief of Security or facility administrator               unarmed interior posts;
   designee, facility administrator,
   safety/maintenance supervisor and other                    b. establish and equip fog-patrol posts;
   appropriate facility officials.                            c. establish procedures and assign responsibility for
   1) Search teams shall report any suspicious object            ensuring equipment
                                                                                  , In c.is available and in working
                                                                 order ativallictimes;
       immediately upon discovery. At least one
                                                               oreC another       2     2
                                                                                    02showing
       member of each search team shall know the        v.  Cd. prepare
                                                                         r 1 4  , map           locations of all
                                               w   in o         m  b  e
                                        in O
       assigned area well enough to spot changes
                                                          e c e perimeter/exterior posts:
                                 ited
       (e.g., unusual objects, items moved from their
                                                 2   1 ,D
       normal locations, etc.).c              2                 1) identify each as armed or unarmed;
                                       1- 5 5
                                 o . 2                          2) list the weapons to be used at armed posts, and
                             N administrator shall
   2) If appropriate, the facility                                  where they can be drawn; and
       order a power shutdown.
                                                                3) store multiple copies of the interior—and
c. If a Bomb Is Found                                               perimeter—post maps in the control center
   1) Team members shall keep as still as possible,                 and command center.
       and power off all radios, body alarms, cell           e. ensure that perimeter security has been enhanced
       phones and any and all electronic equipment              with additional staff;
       capable of emitting an RF signal.
                                                             f. remove objects and items that could become
   2) Incoming traffic shall cease.                             airborne and act as missiles during high winds;
   3) The shift supervisor or facility administrator         g. ensure staff is appropriately provided with
       designee shall notify the bomb-removal                   necessary foul weather gear;
       agency listed in the written procedures.
                                                             h. ensure generators are functioning properly and
   4) Officers shall clear the surrounding area.                have an adequate supply of fuel for a protracted
d. After an Explosion                                           situation; and
   1) The safety/maintenance supervisor shall                 i. ensure that if the institution is placed on
      implement appropriate measures, in                         lockdown status, a briefing with staff occurs.

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9. Civil Disturbance                                               tape, plastic and other items intended for use
a. Scenarios                                                       during an environmental hazard.
   The plan shall address various civil disturbance                Every department (e.g., food service, medical,
   scenarios including, at a minimum, the                          maintenance, recreation, administration, etc.)
   following: a single event (small/large); several                shall have written procedures and at least three
   coordinated events at one or more locations, at                 days’ provisions for use in temporary quarters,
   once or at staggered multiple times; type of event              with the objective to minimize disruption to
   and individuals involved; and involvement of                    daily routine.
   other law enforcement agencies.                            b. Procedures for an Environmental Hazard
   For each of the several scenarios, the plan shall            1) The facility administrator shall designate an
   specify procedures for multiple deployments                     officer to supervise a detainee crew, which
   involving the same and/or different kinds of                    shall seal off specified area(s) in a timely
   equipment and teams, e.g. in the event of                       manner.
   simultaneous demonstrations.
                                                                   a) Staff and detainees shall receive necessary
b. Basic Procedures                                                   training as part of the facility’s emergency-
   The plan shall specify procedures for standard                     preparedness training program.
   activities, including but not limited to the
   following:
                                                                               In c
                                                                   b) The plan shall .specify how often and where
                                                           e  Ci        vic, training shall occur.
                                                                      specialized
                                                                                22 the number of
   1) denying access to facility property (e.g., via
                                                       Co r           4 ,  2 0specify
                                                o v. mbeemployeesr 1 and detainees to receive the
      barricades, roadblocks);                               c) The  plan shall
                                            w in
                                      n
   2) using crowd control equipment iwith
                                  d
                                         Othe      D e ce
      general public;       cite 55221           ,              training.

                                . 2 1 -                   2) The safety/maintenance supervisor shall, if
      agencies;           No
   3) notifying/involving other law enforcement              necessary, shut down ventilation units (e.g.,
                                                                   cooling/heating systems, fans, etc.).
   4) establishing detention areas;                             3) The shift supervisor or facility administrator
   5) marking unmarked property lines; and                         designee shall direct the detainees’ orderly
   6) providing medical care.                                      transfer to safe harbor areas.

10. Environmental Hazard                                        4) To ensure accountability, staff shall transport
                                                                   detainee identification cards to safe harbor
a. Safe Harbors                                                    areas.
   The facility administrator shall identify and equip
   one or more “safe harbor” area(s) in the facility.           5) Detainees may take no personal property, with
                                                                   the exception of prescribed medicine, into safe
   1) Designated areas shall have the capacity to                  harbor areas.
      house a large number of detainees safely and
      securely for two or three hours, providing                6) When the danger has passed, the shift
      amenities such as a gym, auditorium, food                    supervisor or facility administrator designee
      service area, etc.                                           shall direct the detainees to return to their
                                                                   housing areas, after which staff shall conduct a
   2) Every designated safe harbor shall maintain                  population count.
      supplies of, at a minimum, potable water, duct

1.1 | Emergency Plans                                    15                                          PBNDS 2011
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   7) If environmental conditions worsen or fail to                   access to state and local emergency services
      improve within an acceptable time frame, the                    (e.g., police, fire department, hospitals,
      facility administrator shall implement the                      military, etc.) and transportation providers;
      facility’s evacuation plan.                                     and
11. Detainee Transportation System                                 4) failure of at least 10 percent of staff to respond
If an emergency occurs while detainees are being                      when recalled. [NOTE: The type and scope of
transported, the facility administrator shall, upon                   the emergency shall determine whether and by
request of transportation staff, provide any or all of                how much that percentage may increase.]
the following:                                                  b. Evacuation Scenario
a. vehicular escort;                                               For every evacuation scenario, the plan shall:

b. personnel;                                                      1) identify and prepare a list of suppliers to
                                                                      provide essential goods and materials during
c. mechanical assistance;                                             the emergency;
d. medical assistance;                                             2) prepare an alternative list, identifying product
e. replacement transportation (if vehicle is                          substitutions and alternate suppliers; and
   disabled);                                                      3) assign priorities among the essentials listed,
f. notification to other law enforcement agencies;
                                                                                  I n c  . likely to occur during an
                                                                      recognizing shortages
   and/or
                                                                    eCi    vic,emergency.
                                                                      area-wide
                                                                                        22
                                                            v .
                                                                    r
                                                                Cc.oTransportation
                                                                               1  4 ,  20Supplies
                                                                                      and
                                                                          er administrator shall secure as many
g. holdover lodging.
                                                O  w   ino       e  Thebfacility
                                                                    m
12. Evacuation
                                   te  d   in             , D ec signed contracts, agreements and commitments
                                  i
                                c have emergency 522    1
The facility administrator shall
                                       2 1   - 5                    for transportation and supplies as needed in the
                               N    .
contracting authority during anoofficially     approved             event  that federal and other public-sector
evacuation. In the event of an emergency,                           resources are unavailable.
community resources shall likely be directed towards             d. Pre-evacuation Procedures
hospitals, nursing homes, schools and other vital                   The facility administrator shall perform the
infrastructure and may not be available. Therefore, it              following pre-evacuation procedures:
is recommended that facilities enter into contract
negotiations with vendors within 75 to 100 miles to                 1) enact emergency staff recall (time permitting);
provide needed resources at an agreed-upon cost.                    2) implement procedures to retrieve/pack
a. Facility Evacuation Plan                                             detainees’ personal property, central files,
    The facility’s plan shall factor in all variables, and              medical records, etc.;
    combinations of variables, that may precipitate or              3) implement department-by-department
    affect a mass evacuation, such as the following                     procedures to transport material needed to
    contingencies and their repercussions:                              conduct daily operations at the temporary site
    1) minimal warning/preparation time;                                (e.g., personnel files, blank rosters, forms,
                                                                        etc.);
    2) weather-related complications (e.g.,
       tornadoes, hurricanes, blizzards);                           4) deploy emergency equipment;
    3) an area-wide disaster that would limit facility              5) notify state and local authorities; and

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   6) conduct (exit) emergency count.                           1) perform emergency detainee count;
e. Facility Shutdown                                            2) conduct staff briefing (may include interim
   To achieve facility shutdown, the facility                      increase to 12-hour shifts);
   administrator shall:                                         3) suspend detainee access to telephones and
   1) verify detainee count;                                       televisions;
   2) implement internal search plan, as appropriate;           4) suspend visitation (designated staff shall
   3) apply emergency utility controls; and                        attempt to contact individuals with visits
                                                                   planned; detainees may notify interested
   4) secure the site, to extent possible.                         persons of the lockdown and suspension of
f. Transition to Temporary Site                                    visits by mail);
   To transition to a temporary site, the facility              5) provide meal service in the housing units;
   administrator shall:
                                                                6) activate the command post; and
   1) confirm the previously projected number of
      vehicles needed for:                                      7) contact specialized personnel and teams, as
                                                                   appropriate (SRTs, HNTs, etc.).
      a) detainees, and
                                                           b. Communication
      b) supplies.
                                                                            ,  In  c.why the lockdown is
                                                              The facility administrator shall inform the
   2) record vehicle data, including number and                           c
                                                              detainees,iin writing,
                                                                       iv what
      source(s);
                                                          C o r e  C
                                                              necessary,
                                                                            4 ,  2 022 and how long it is likely
                                                                                to expect,

                                               w
   3) reconfirm security arrangements with other  in  o v. m     b  e  r 1facility administrator shall provide this
                                                              to last. The
                                       in  ofO
                                                           e detainee notification as soon as possible after
                                             Prisons, , Dec implementing the necessary procedures (as detailed
                                   d
      ICE/ERO components, the Bureau
                             citeand state55agencies
                                                 21
      U.S. Marshals Service, local
                                         -    2
                                 . 2  1                       in the preceding paragraph).
      and the military;
                            No                             c. Health Services
   4) separate Special Management Unit (SMU)                  Health services staff shall make their regularly
      detainees before moving, individually or as a           scheduled rounds.
      group, to another such unit or to a local
      detention facility equipped to accommodate           d. Termination of Lockdown
      SMU detainees’ security and safety needs; and           When the nationwide lockdown is terminated,
                                                              the facility administrator shall:
   5) confirm staffing/assignments, including
      temporary duty arrangements.                            1) relax the lockdown systematically, according
                                                                  to written procedures;
13. Nationwide Lockdown
                                                                2) implement a lockdown recovery plan;
In the event of a compelling need to secure all
ICE/ERO facilities, the ERO headquarters Field                     The plan shall include slowly returning the
Operations Assistant Director shall notify Field Office            facility to normal operating procedures by
Directors, who shall notify the facility administrators.           bringing small groups out at a time (e.g., one
                                                                   range of a pod in each housing unit), feeding
a. Lockdown Procedures                                             one range at a time, then gradually increasing
   The facility administrator shall implement the                  over a period of 48 hours. This gradual return
   following lockdown procedures:                                  affords staff the ability to accurately assess the

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     mood of the population and take appropriate        actions as needed.




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                                 in        e c
                         cited 55221, D
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                                                                 and fire safety performance requirements for
1.2 Environmental Health                                         facility furnishings shall be ensured.
    and Safety                                                4. Flammable, poisonous, toxic and caustic materials
                                                                 shall be controlled and used in a safe manner.
I. Purpose and Scope                                          5. Compliance with fire prevention regulations,
This detention standard protects detainees, staff,               inspection requirements and other practices,
volunteers and contractors from injury and illness by            including periodic fire drills, shall ensure the
maintaining high facility standards of cleanliness and           safety of detainees, staff and visitors.
sanitation, safe work practices and control of                6. Staff shall be knowledgeable about procedures
hazardous substances and equipment.                              and responsibilities during emergency situations,
This detention standard applies to the following                 including those that require evacuation, in
types of facilities housing ICE/ERO detainees:                   accordance with a written plan and with training
                                                                 at least annually.
  x    Service Processing Centers (SPCs);
                                                              7. The facility shall have a written plan for
  x    Contract Detention Facilities (CDFs); and                 immediate release of detainees from locked areas,
  x    State or local government facilities used by              and provisions for a back-up system.
       ERO through Intergovernmental Service
                                                                             , In  c.
                                                              8. A sufficient number of properly positioned
       Agreements (IGSAs) to hold detainees for more
                                                                 r e C ivic 022
                                                                 emergency exits, clear from obstruction, shall be
       than 72 hours.
                                                          v. Co         r  1 4 ,2
                                                                 distinctly and permanently marked.
Procedures in italics are specifically required for in
                                                 w      o     9. m  beshall include procedures for assisting
                                                                 Plans
                                             O               c e
                                         in Non- 1, De detainees with special needs during an
                                 ited to these
SPCs, CDFs, and Dedicated IGSA facilities.
dedicated IGSA facilities mustcconform
                                        1 - 5 522                emergency or evacuation.
                                      2
                             No.
procedures or adopt, adapt or establish   alternatives,
provided they meet or exceed the intent represented           10. Preventive maintenance and regular inspections
by these procedures.                                              shall be performed to ensure timely emergency
                                                                  repairs or replacement and to prevent dangerous
Various terms used in this standard may be defined                and life-threatening situations.
in standard “7.5 Definitions.”
                                                              11. Potential disease transfer shall be minimized
II. Expected Outcomes                                             through proper sanitization of barbering
                                                                  equipment and supplies.
The expected outcomes of this detention standard
are as follows (specific requirements are defined in          12. Pests and vermin shall be controlled and
“V. Expected Practices”).                                         eliminated.

1. Facility cleanliness and sanitation shall be               13. Safe, potable water shall be available throughout
   maintained at the highest level.                               the facility.

2. Compliance with all applicable federal, state and          14. Emergency lighting and life-sustaining
   local safety and sanitation laws shall be ensured              equipment shall be maintained and periodically
   by documented internal and external inspections,               tested.
   and by corrective action when indicated.                   15. Disposal of garbage and hazardous waste shall be
3. Compliance with all applicable fire safety codes               in compliance with applicable government

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    regulations.                                                (OSHA) Regulations.
16. The facility shall provide communication                    NFPA Standards.
    assistance to detainees with disabilities and
                                                                U.S. Public Health Service Report on Carcinogens.
    detainees who are limited in their English
    proficiency (LEP). The facility will provide                V. Expected Practices
    detainees with disabilities with effective
    communication, which may include the                        A. Environmental Health and Safety
    provision of auxiliary aids, such as readers,               1. General Environmental Health
    materials in Braille, audio recordings, telephone
    handset amplifiers, telephones compatible with              Environmental health conditions shall be maintained
    hearing aids, telecommunications devices for                at a level that meets recognized standards of hygiene,
    deaf persons (TTYs), interpreters, and note-                including those from the:
    takers, as needed. The facility will also provide           a. American Correctional Association;
    detainees who are LEP with language assistance,
                                                                b. Occupational Safety and Health Administration;
    including bilingual staff or professional
    interpretation and translation services, to provide         c. Environmental Protection Agency;
    them with meaningful access to its programs and             d. Food and Drug Administration;
    activities.
                                                                             n c.
                                                                e. National Fire Protection Association’s Life Safety
                                                                         ,  I
All written materials provided to detainees shall
                                                             r e C ivic 022
                                                                   Code; and
generally be translated into Spanish. Where
                                                      v. Cf.oNational 1  4    2 Disease Control and
                                                                           , for
                                                    o
practicable, provisions for written translation shall be
                                                in              be  r Center
                                           O  w          c e m
                                                             Prevention.
                                        in
made for other significant segments of the
                                                       e
                              cited 55221, D The facility administrator designee for
population with limited English proficiency.

                                  . 21be-provided to
Oral interpretation or assistance shall
                                o
                                                          environmental health is responsible for developing
                             N language in which
any detainee who speaks another                           and implementing policies, procedures and
written material has not been translated or who is              guidelines for the environmental health program
illiterate.                                                     that are intended to identify and eliminate or control
                                                                as necessary, sources of injuries and modes of
III. Standards Affected                                         transmission of agents or vectors of communicable
                                                                diseases.
This detention standard replaces “Environmental
Health and Safety” dated 12/2/2008.                             The facility administrator designee shall:
                                                                a. conduct special safety investigations and
IV. References                                                     comprehensive surveys of environmental health
American Correctional Association, Performance-                    conditions; and
based Standards for Adult Local Detention                       b. provide advisory, consultative, inspection and
Facilities, 4th Edition: 4-ALDF-1A-01, 1A-02, 1A-                  training services regarding environmental health
03, 1A-07, 1A-14, 1A-15, 1A-16, 1A-17, 1A-18,                      conditions.
1A-19, 1A-20,1C-01, 1C-02, 1C-03, 1C-04, 1C-05,
IC-07, 1C-08, 1C-09, 1C-10, 1C-11, 1C-12, 1C-13,                For the medical clinic, the health services
1C-14, 1C-15, 4B-07, 4C-18.                                     administrator or equivalent is responsible for:

Occupational Safety and Health Administration                   a. implementing a program that assists in

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   maintaining a high level of environmental                         with an approved germicidal solution used
   sanitation; and                                                   according to the manufacturer’s directions.
b. providing recommendations to the facility                      b. Windows, window frames and windowsills shall
   administrator concerning environmental health                     be cleaned on a weekly schedule.
   conditions, in consultation with the
                                                                  c. Furniture and fixtures shall be cleaned daily.
   environmental health designee.
                                                                  d. Floors shall be mopped daily and when soiled,
2. Staff and Detainee Safety
                                                                     using the double-bucket mopping technique and
The facility administrator shall ensure that adequate                with a hospital disinfectant-detergent solution
provisions are made for staff and detainee safety, in                mixed according to the manufacturer’s directions.
accordance with these detention standards and
                                                                  e. A clean mop head shall be used each time the
applicable law. Standard “7.3 Staff Training” further
                                                                     floors are mopped.
addresses employee training-related issues. Standard
“5.8 Voluntary Work Program” addresses detainee                   f. Waste containers shall weigh less than 50 lbs., be
training issues for workers. Detainees shall receive                 non-porous and lined with plastic bags; the liner
safety instruction as necessary for living area-related              shall be changed daily.
assignments, such as working with cleaning products               g. Waste containers shall be washed weekly at a
to clean general use areas.                                          minimum, or as needed when they become
                                                                     ,  In
                                                                     soiled.c.
Detainee living area safety shall be emphasized to staff
                                                           C      ic shall2be2laundered monthly or
                                                               ivcurtains
and detainees to include providing, as noted in the
                                                       re
                                                   Coduring rterminal
                                                    h. Cubicle
                                                                       ,2   0
                                               v
standards, a housekeeping plan. For example, when
                                            o    .          e     1  4    cleaning following treatment of
                                         win              b
                                 d  i   O      D e cem
there are safety concerns with a detainee sleeping in a
                                     n                 an infectious patient.
                             cite 55221      ,
top bunk that is not along a wall and that has no bed
                                                    4. Pests and Vermin
                                 2 1  -
rail, accommodations shall be made to ensure safety.
                             No.
(Because of the potential safety risk they pose, bed rails
are not common in detention settings except for
                                                    The facility administrator shall contract with licensed
                                                                  pest-control professionals to perform monthly
medical housing units.) In locations where ladders are            inspections to identify and eradicate rodents, insects
unavailable, alternate accommodations, such as the use            and other vermin. The contract shall include a
of bottom bunks or the addition of a ladder or step,              preventive spraying program for indigenous insects
shall be made for detainees on a case-by-case basis.              and a provision for callback services as necessary.
Detainees who have medical or physical problems that              Doors to the outside should be tight fitting and door
may be aggravated by sleeping on a top bunk shall be              sweeps should be installed to prevent the entry of
referred to the medical unit for consideration of a               vermin from outside.
lower bunk permit.                                                5. Certification of Facility Water Supply
3. General Housekeeping
                                                                  At least annually, a state laboratory shall test samples
The facility administrator shall ensure that staff and            of drinking and wastewater to ensure compliance
detainees maintain a high standard of facility                    with applicable standards. A copy of the testing and
sanitation and general cleanliness. When possible,                safety certification shall be maintained on site.
the use of non-toxic cleaning supplies is                         6. Emergency Electrical Power Generator
recommended.
                                                                  At least every two weeks, emergency power
a. All horizontal surfaces shall be dampdusted daily
                                                                  generators shall be tested for one hour, and the oil,

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water, hoses and belts of these generators shall be           and using safety equipment properly.
inspected for mechanical readiness to perform in an
                                                              A list of common flammable, toxic and caustic
emergency situation.
                                                              substances is included at the end of this detention
Power generators are to be inspected weekly and               standard as “Appendix 1.2.A: Common Flammable,
load-tested quarterly at a minimum, or in                     Toxic and Caustic Substances.”
accordance with the manufacturer’s                            1. Personal Responsibility
recommendations and instruction manual.
Technicians shall check starting battery voltage,             Every individual who uses a hazardous substance
generator voltage and amperage output at a                    must:
minimum, and shall perform all other necessary                a. be trained in accordance with OSHA standards;
checks as well.
                                                              b. be knowledgeable about and follow all prescribed
Other emergency equipment and systems shall be                   precautions;
tested quarterly, and all necessary follow-up repairs
or replacement shall be performed as soon as                  c. wear personal protective equipment when
feasible.                                                        indicated; and

7. Garbage and Refuse                                         d. promptly report hazards or spills to the
                                                                 designated authority.
a. Garbage and refuse includes all trash, rubbish and
                                                                                n c.
                                                              2. Protective Equipment
                                                                            ,  I
   other putrescible and non-putrescible solid waste,
                                                                   C      c face, and2other appropriate
                                                                      ivieye,
   except the solid and liquid waste discharged into
                                                               r e
                                                            a. Protective
                                                             o                ,  2   2
                                                                                   0footwear,
   the sanitary sewer system of the facility.           v. C           r
                                                               equipment 1  4
                                                                           (such  as          gloves, gowns,
                                                   in o           b e
                                       i
b. Garbage and refuse shall be collectedn    Ow Decem
                                           and                 and/or aprons) is required where there is a

                            citeatdleast 5daily to21,          reasonable probability of injury preventable by
   removed from common areas
                                         -     2
                                             5 creating        such equipment. Areas of the facility where such
                                     1
   maintain sanitary conditions and2to   avoid
   health hazards.         No.                                 injuries can occur shall be conspicuously marked
                                                                 with eye-hazard warning signs.
c. Facilities shall comply with all federal, state and
   local environmental regulations and requirements           b. Eyewash stations that meet OSHA standards shall
   governing methods for handling and disposing of               be installed in designated areas throughout the
   refuse.                                                       facility, and all employees and detainees in those
                                                                 areas shall be instructed in their use.
B. Hazardous Materials                                        3. Inventories
Every facility shall establish a system for storing,          Every area shall maintain a current inventory of the
issuing, using and maintaining inventories of and             hazardous substances (e.g., flammable, toxic or
accountability for hazardous materials. The facility          caustic) used and stored there. Inventory records
program shall be supervised by an individual trained          shall be maintained separately for each substance.
in accordance with OSHA standards. The                        Entries for each shall be logged on a separate card
effectiveness of any such system depends not only             (or equivalent), and filed alphabetically by
on written policies, procedures and precautions, but          substance. The entries shall contain relevant data,
also on adequate supervision and responsible                  including purchase dates and quantities, use dates
behavior of staff and detainees, including following          and quantities and quantities on hand.
instructions precisely, taking prescribed precautions
                                                              4. Material Safety Data Sheet Files

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a. Every department or other area of the facility             6. General Guidelines Regarding Hazardous
   using hazardous substances shall maintain a file of        Substances
   Material Safety Data Sheets (MSDS) that includes a
                                                              a. Issuance
   list of the locations where hazardous substances
                                                                 Flammable, caustic and toxic substances
   are stored, along with a diagram and legend of
                                                                 (hazardous substances) shall be issued (i.e.,
   these locations. Designated staff from each
                                                                 drawn from supply points to canisters or
   department or area shall provide a copy of each
                                                                 dispensed) only under the supervision of the
   file to the maintenance supervisor.
                                                                 designated officer.
b. MSDS are produced by manufacturers and provide
                                                              b. Amounts
   vital information on individual hazardous
                                                                 Hazardous substances shall be issued in single-day
   substances, including instructions on safe
                                                                 increments (the amount needed for one day’s
   handling, storage and disposal; prohibited
                                                                 work).
   interactions; etc.
                                                              c. Supervision
c. Staff and detainees shall have ready and
                                                                 Qualified staff shall closely monitor detainees
   continuous access to the MSDS for the substances
                                                                 working with hazardous substances.
   with which they are working. Staff and detainees
   who do not read English shall not be authorized            d. Accountability
                                                                 Inventory records for a hazardous substance must
   to work with these materials.
                                                                          ,  In c.
                                                                    ivicand Combustible
                                                                 be kept current before, during and after each use.
                                                                  C              022 Liquids
d. Because changes in MSDS occur often and
                                                          C o
                                                           7.  re
                                                              Flammable
                                                                            ,  2
   without notice, staff must:
                                                   o v. a. m              4
                                                                   er 1 by the Federal Hazardous Substances
                                               w in           As b
                                                                 required
   1) review the latest issuance from the
                                    d  in   O         D e ce Labeling Act, any liquid or aerosol labeled
                              cite 55221
      manufacturers of the relevant  substances;    ,         “flammable” or “combustible” must be stored
                                    2 1
   2) update the MSDS files as necessary;- and
                             No.
   3) forward any changes to the maintenance
                                                              and used as prescribed on the label.
                                                              b. Lighting fixtures and electrical equipment
      supervisor, so that the copy is kept current.
                                                                 installed in flammable liquid storage rooms must
5. Master Index                                                  meet National Electrical Code requirements in
                                                                 hazardous locations.
The maintenance supervisor or facility administrator
designee shall compile:                                       c. Every hazardous material storage room shall:
a. a master index of all hazardous substances in the             1) be of fire-resistant construction and properly
   facility and their locations;                                    secured;
b. a master file of MSDS; and                                    2) have self-closing fire doors at each opening;
c. a comprehensive, up-to-date list of emergency                 3) be constructed with either a four-inch sill or a
   phone numbers (e.g., fire department, poison                     four-inch depressed floor; and
   control center, etc.).                                        4) have a ventilation system (mechanical or
The maintenance supervisor shall maintain this                      gravity flow), which provides at least six air
information in the safety office (or equivalent) and                changes per hour, within 12 inches of the
ensure that a copy is sent to the local fire                        floor.
department.                                                   d. Every storage cabinet shall:

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   1) be constructed according to the applicable               flash point at or above 100º F (e.g., Stoddard
      code and securely locked at all times;                   solvents, kerosene). Cleaning operations must be
                                                               in an approved parts-cleaner or dip tank, fitted
   2) be clear of open passageways, stairways and
                                                               with a fusible link lid with a 160 degree F
      other emergency exit areas;
                                                               melting-temperature link.
   3) be conspicuously labeled: “Flammable—Keep
                                                            l. Staff shall follow MSDS directions:
      Fire Away”; and
                                                               1) when disposing of excess flammable or
   4) contain not more than 60 gallons of Class I or
                                                                  combustible liquids; or
      Class II liquids, or more than 120 gallons of
      Class III liquids.                                       2) after a chemical spill.
e. Storage rooms and cabinets may be entered only           8. Toxic and Caustic Substances
   under secure conditions and under the
                                                            a. All toxic and caustic materials must be stored in
   supervision of authorized staff.
                                                               secure areas, in their original containers, with the
f. Any portable container that is not the original             manufacturer’s label intact on each container.
   shipping container must be designated as an
                                                            b. Only authorized staff shall draw/dispense these
   approved safety canister, and must be listed or
                                                               substances, in accordance with the applicable
   labeled by a nationally recognized testing
                                                               MSDS.
   laboratory. Each container shall bear a legible
                                                                           , I n  c.
   label that identifies its contents.
                                                              r e  C  ivic 022
                                                            c. Staff shall either return unused amounts to the

                                                        . Co er 14, 2
                                                               original container(s) or, under certain
g. Excess liquids shall remain in original containers,
                                                  in o v       circumstances, to another suitable, clearly labeled
                                                                 b
                                             O w
   tightly closed, in the storage room or cabinet.
                                                          c e m
                                    d in 21, De d. MSDS directions shall determine the disposal and
                                                               container within the storage area.
h. The MSDS shall govern use iofte
                              c    particular
   flammable or combustible liquids.1-552
i. Only authorized staff may
                                o. 2 flammable
                             Ndispense
                                                              spill procedures for toxic and caustic materials
                                                              used in the facility.
   and combustible liquids, using acceptable                9. Poisonous Substances
   methods for drawing from or transferring these
   liquids.                                                 Poisonous substances or chemicals (e.g., methyl
                                                            alcohol, sulfuric acid, muriatic acid, caustic soda or
j. Drawing from or transferring any of these liquids
                                                            tannic acid, etc.) pose a very high (Class I) caustic
   into containers indoors is prohibited except:
                                                            hazard due to their toxicity.
   1) through a closed piping system;
                                                            Methyl alcohol, variously referred to as wood
   2) from a safety can;                                    alcohol and methanol, is commonly found in
   3) by a device drawing through the top; or               industrial applications (e.g., shellac thinner, paint
                                                            solvent, duplicating fluid, solvents for leather
   4) by gravity, through an approved self-closing          cements and dyes, flushing fluid for hydraulic brake
      system.                                               systems).
  An approved grounding and bonding system                  a. If ingested, methyl alcohol can cause permanent
  must be used when liquids are dispensed from                 blindness or death.
  drums.
                                                            b. Staff must directly supervise the use of any
k. Without exception, cleaning liquids must have a             product containing methyl alcohol. Products that

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   contain methyl alcohol in highly diluted amounts               license as a certified private applicator. Persons
   (e.g., shoe dye) may be issued to detainees, but               applying herbicides must wear proper clothing and
   only in the smallest workable quantities.                      protective gear.
c. Immediate medical attention is vital any time               i. Lyes may be used only in dye solutions and only
   methyl alcohol poisoning is suspected.                         under the direct supervision of staff.
10. Other Toxic Substances                                     11. Labeling of Chemicals, Solvents and Other
                                                               Hazardous Materials
a. Permanent antifreeze containing ethylene glycol
   shall be stored in a locked area and dispensed              The facility administrator shall individually assign
   only by authorized staff.                                   the following responsibilities associated with the
                                                               labeling procedure:
b. Typewriter cleaner containing carbon
   tetrachloride or trichlorochane shall be dispensed          a. identifying the nature of potentially hazardous
   in small quantities and used under direct staff                materials adopted for use;
   supervision.                                                b. overseeing the use of properly labeled containers
c. Cleaning fluids containing carbon tetrachloride or             for hazardous materials, including any and all
   tetrachloride or trichlorochane shall be strictly              miscellaneous containers into which employees
   controlled.                                                    might transfer materials;
d. Glues of every type may contain hazardous
                                                                         ,  In c.
                                                               c. instructing staff in the meaning of the
   chemicals. Toxic glues must be stored in a locked
                                                            re  C  ivic 022
                                                                  classification code and the MSDS, including the
   location, for use only by authorized staff. When
                                                   o v. Co er 14, 2
                                                                  safe handling procedures for each material;
                                            w  in
   use of a nontoxic product is not possible, staff
                                          O               e m b with staff to ensure that containers are
                                     in                 cd. working
                                                      e properly labeled; and
                             ited 5221, D
   must closely supervise all stages of handling.
                            c
                               . 2  1  -5 requires
e. The use of dyes and cements for leather               e. correctly labeling all smaller containers to
                           No types shall be
   close supervision. Nonflammable
                                                            correspond to the manufacturer-affixed labels on
   used whenever possible.                                        larger shipping containers.
f. Ethyl alcohol, isopropyl alcohol and other                  12. Controlled Hazardous Materials
   antiseptic products shall be stored and used only
   in the medical department and only under close              Certain substances require special treatment and
   supervision. To the extent practical, such                  careful planning and precautions before use. These
   chemicals shall be diluted and issued in small              controlled materials are classified according to the
   quantities to prevent any injuries or lethal                type of hazard and the nature of the restrictions
   accumulation.                                               imposed for their safe use, as specified in OSHA
                                                               regulations.
g. Pesticides not currently approved by the
   Environmental Protection Agency, such as DDT                a. Class I: Industrial Solvents
   and 1080 (sodium fluoroacetate) are prohibited.                Industrial solvents and chemicals used as paint
   The maintenance supervisor is responsible for                  thinners, degreasers and cleaning agents may have
   purchasing, storing (in a locked area) and                     toxic properties and low flash points, making
   dispensing all pesticides used in the facility.                them dangerous fire hazards.
h. The maintenance supervisor or other staff members           b. Class II: Restricted Materials
   responsible for herbicides must hold a current state           Beryllium and its alloys and compounds, and

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   silver solder containing cadmium, pose a danger                for addressing these or other deficiencies within a
   to workers, for whom special precautions must                  reasonable time period), as approved by the
   be taken.                                                      authority having jurisdiction. If the authority
c. Class III: Recognized Carcinogens                              approves any variance, exceptions or
   OSHA-listed carcinogens are governed by the                    equivalencies, they must not constitute a serious
   OSHA regulations provided in 29 CFR                            life-safety threat to the occupants of the facility.];
   1910.1000.                                                  c. local and national fire safety codes; and
   Although asbestos appears on the OSHA list, it is           d. applicable standards of the American Society for
   exempt from the regulation when:                               Testing and Materials, American National
   1) no asbestos fibers shall be released into the air           Standards Institute and Underwriters’ Laboratories
      during handling and use; and                                or Factory Mutual Engineering Corporation.

   2) the asbestos consists of firmly bound fibers             New construction, alterations and renovations, shall
      contained in a product such as a transit pipe,           comply with:
      wallboard, or tile (except when being sawed              a. the latest revision or update of the International
      or otherwise handled in a way that releases                 Council Codes;
      fibers into the air).
                                                               b. the Uniform Building Code; or
d. Class IV: Suspected Carcinogenic, Teratogenic and
                                                                  ,  Inc.
                                                               c. the Standard Building Code, in accordance with
   Mutagenic Materials
                                                      re C   ivic 022
                                                                  40 U.S.C. § 619 and local law.
   Chemical agents, substances, mixtures and
                                             v. CIfothe localr  1 4 , 2 does not mandate adherence
                                        wino
   exposures are listed in the biennial Report on
                                                    m   be code, construction must conform to
                                                              government
                                    in O      e
   Carcinogens issued by the U.S. Public Health c e
                                                 to  a particular
                            cited 55221, D the International Council Codes.
   Service, in accordance with the Public Health

                              o . 21-
   Service Act. The maintenance supervisor shall In addition, construction shall comply with the latest
                            N
   ensure that the facility has copies of the report
                                                 edition of the National Fire Protection Association
   and that there is compliance with the provisions            (NFPA)’s 101, Life Safety Code and National Fire
   of the latest edition.                                      Codes (NFCs). If the fire protection and life safety
C. Fire Prevention and Control                                 requirements of a local building code differ from
                                                               NFPA 101 or the NFCs, the requirements of NFPA
1. Fire Safety Codes                                           101 and the NFCs shall take precedence and be
Every facility shall comply with standards and                 recognized as equivalent to those of the local
regulations issued by:                                         building code.

a. OSHA;                                                       2. Inspections

b. the American Correctional Association                       a. A qualified departmental staff member shall
   “mandatory” Expected Practices [Mandatory ACA                  conduct weekly fire and safety inspections.
   Expected Practice 4-ALDF-1C-07 requires that the            b. Facility maintenance (safety) staff shall conduct
   facility conform to applicable federal, state                  monthly inspections.
   and/or local fire safety codes, and that of the
                                                               c. Written reports of the inspections shall be
   authority having jurisdiction over document
                                                                  forwarded to the facility administrator for review
   compliance. A fire alarm and automatic detection
                                                                  and, if necessary, corrective action determinations.
   system are required (or else there must be a plan

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   The maintenance supervisor shall maintain                         except:
   inspection reports and records of corrective action
                                                                     1) in areas where security would be jeopardized;
   in the safety office. Fire safety deficiencies shall be
   promptly addressed.                                               2) in medical areas where patient health could be
                                                                        jeopardized; or
3. Fire Prevention, Control and Evacuation Plan
                                                                     3) in individual cases when the evacuation of
Every facility shall develop a written fire prevention,
                                                                        patients or detainees is logistically not feasible.
control and evacuation plan that includes the
following:                                                              Staff shall simulate drills in areas where
                                                                        detainees are not evacuated.
a. control of ignition sources;
                                                                  c. Emergency-key drills shall be included in each
b. control of combustible and flammable fuel load
                                                                     fire drill, and timed. Emergency keys shall be
   sources;
                                                                     drawn and used by the appropriate staff to unlock
c. provisions for occupant protection from fire and                  one set of emergency exit doors not in daily use.
   smoke;                                                            NFPA recommends a limit of four and one-half
                                                                     minutes for drawing keys and unlocking
d. inspection, testing and maintenance of fire
   protection equipment, in accordance with NFPA                     emergency doors. However, when conducting
   codes, etc.;                                                      fire drills, emphasis shall be placed on safe and

                                                                           ,  Inc.
                                                                     orderly evacuation rather than speed.
e. monthly fire inspections;
                                                         5. Exit C
                                                             re    ivic 022
                                                                 Diagram
f. installation of fire protection equipment
                                                     v. CInoadditionr        , 2 area diagram, the following
                                                                      to1a4general
                                                 in
   throughout the facility, in accordance with NFPA
                                              w    o        m  be must be provided on signs:
                                            O           c e
                                   ed in 221, De a. instructions in English, Spanish and the next most
   codes;                                                information
                               c it
                                         - 55all
g. accessible, current floor plans (including
                                     2 1
                              No. posted
   buildings and rooms); prominently                        prevalent language at the facility;
   evacuation maps/plans; and exit signs and                      b. “You are here” markers on exit maps; and
   directional arrows for traffic flow, with a copy of
                                                                  c. emergency equipment locations.
   each revision filed with the local fire department;
   and                                                            “Areas of Safe Refuge” shall be identified and
                                                                  explained on diagrams. Diagram posting shall be in
h. exit diagrams that shall be conspicuously posted
                                                                  accordance with applicable fire safety regulations of
   throughout the facility.
                                                                  the jurisdiction.
4. Fire Drills
                                                                  D. Medical Operation
Fire drills shall be conducted and documented at
least quarterly in all facility locations including               The medical department will develop and implement
administrative areas.                                             an exposure control plan for the medical clinic that
                                                                  addresses the management of potentially sharp
a. Fire drills in housing units, medical clinics and              objects (sharps), standard and transmission-based
   other areas occupied or staffed during non-                    precautions, post-exposure prophylaxis and
   working hours shall be timed so that employees                 management, bloodborne pathogens and other
   on each shift participate in an annual drill.                  potentially infectious materials, disposal of medical
b. Detainees shall be evacuated during fire drills,               and hazardous waste, and cleaning and disinfection.


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Only sharps and medical waste generated within the              be worn during procedures that are likely to
medical department or by medical staff shall be                 generate droplets of blood or other body fluids.
managed in accordance with the medical
                                                             d. Gowns and/or aprons shall be worn during
department's exposure control plan.
                                                                procedures that are likely to generate splashes of
1. Needles and Other Sharp Objects                              blood or other body fluids.
A mandatory, uniform procedure shall be established          e. Hands and other skin surfaces shall be washed
for the safe handling and disposal of used needles              immediately and thoroughly if contaminated with
and other sharps to prevent both mechanical injury              blood or other body fluids. Hands shall be
and the percutaneous transmission of infectious                 washed immediately after gloves are removed.
disease organisms, such as the hepatitis B virus
                                                             f. All health-care workers shall take precautions to
(HBV) and human immunodeficiency virus (HIV).
                                                                prevent injuries caused by needles, scalpels and
Sharps are defined as all disposable or discarded
                                                                other sharp instruments or devices during
items derived from detainee care that could
                                                                procedures, especially at the following times:
potentially transmit disease via direct subdermal               when cleaning used instruments, during disposal
inoculation. Items included are: hypodermic needles
                                                                of used needles and when handling sharp
and syringes, scalpel blades, glass vials or ampules
                                                                instruments after procedures. Instruments and
containing materials deemed to be infectious, burrs,
                                                                drugs shall be maintained in a secure and sanitary
glass cartridges and lancets.
                                                                condition.
                                                                          ,  In c.
Accidental injuries from sharp objects are common
                                                                 C  ivicneedle-stick
                                                          g. Toeprevent
                                                             r                   0 2 2injuries, needles shall not
in health care programs; most are from needle sticks       o
                                                       . C be recapped,     ,  2
                                                                       14purposely
caused by staff attempting to recap hypodermic ino v                 r                bent or broken, removed
                                                                b e
needles. A uniform procedure for usedin    Owand Decem       from disposable syringes, or otherwise

                             citedto reduce
                                        needles
                                              2 2  1 ,       manipulated by hand. After use, disposable
other disposable sharps is necessary
                                   2 1  - 55secondary
                                               the
                                                             syringes and needles, scalpel blades and other
                                 .
number of such injuries by preventing
                            Nodangerous
handling of needles and other
                                        the
                                          sharp
                                                             sharp items shall be placed in puncture-resistant
                                                                containers for disposal.
objects used in the delivery of medical care.
                                                             h. Large-bore reusable needles shall be placed in a
2. Standard Precautions (includes “Universal
                                                                puncture-resistant container for transport to the
   Precautions”)
                                                                reprocessing area.
Staff shall frequently wash their hands and take             i. To minimize the need for emergency mouth-to-
additional routine precautions to prevent contact               mouth resuscitation, mouthpieces, resuscitation
with blood or other body fluids.                                bags or other ventilation devices shall be available
a. Gloves shall be worn: prior to touching blood and            for use in areas in which the need for resuscitation
   body fluids, mucous membranes, or non intact                 is foreseeable.
   skin of all patients; prior to handling items or          j. Health-care workers who have exudative lesions
   surfaces soiled with blood or body fluids; and               or weeping dermatitis shall refrain from all direct
   prior to performing venipuncture and other                   patient care and from handling patient care
   vascular access procedures.                                  equipment until the condition resolves.
b. Gloves shall be changed after contact with each           k. Pregnant health-care workers shall strictly adhere
   detainee.                                                    to precautions to minimize the risk to the fetus of
c. Masks and protective eyewear or face shields shall           perinatal transmission of HIV.

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l. Isolation precautions shall be used as necessary if            1) Use only commercially available,
   associated conditions, such as infectious diarrhea                biohazardous-waste sharps containers
   or tuberculosis, are diagnosed or suspected.                      approved by the National Institute of Safety
   Implementation of standard blood and body fluid                   and Health (e.g., a “Winfield Sharps
   precautions for all detainees eliminates the need                 Container”).
   for the use of the isolation category of “blood and
                                                                  2) Do not use milk cartons or plastic milk jugs or
   body fluid precautions” previously recommended
                                                                     other plastic containers of similar thickness.
   by the Centers for Disease Control for individuals
   known or suspected to be infected with blood-                  3) Use containers with a two-gallon capacity
   borne pathogens.                                                  (approximate).
Staff shall encourage detainees to wash their hands               4) Under no circumstances shall an item be
frequently and to take additional routine precautions                removed from the Winfield Sharps Container
to prevent contact with blood or other body fluids.                  (Sharps Container).
3. Accidental Needle Sticks                                    b. Location
                                                                  Sharps Containers shall be located on top of
Any employee or detainee who receives a needle
                                                                  counters or, if on the wall, at least five feet above
stick or who is cut while handling potentially
                                                                  ground. Sharps Containers shall never sit on the
contaminated sharps shall be counseled regarding
                                                                  floor.
baseline testing for HBV and HIV, and referred to
                                                            , Inc.
his/her usual source of health care. If the injury also
                                                    re Civic 022
                                                               c. Disposal

                                              . Co er 14, 2
involves a person who is a known source of possible               When the disposal box is one-half to two-thirds
                                         ino v
infection, that person shall also be tested for HBV   b           full, the lid shall be closed and locked, and tape shall
                                       Ow       c e m
                                    in        e                   be placed over the top of the lid to indicate that it is
                            cited 55221, D
and HIV. The incident shall be reported as an
occupational injury and documented in accordance                  ready for disposal. The Sharps Container shall be
                                . 21-
with applicable regulations for commissioned
                              o
                                                                  labeled with the words “infectious waste” or with
                            N
officers and civil service employees, respectively.               the universal biohazard symbol, and placed in the
                                                                  proper area for removal and disposal.
The leading health service provider’s exposure-
control plan shall be followed in the event of a               Sharps are considered infectious waste, and final
needle stick.                                                  disposal of the Sharps Container and contents shall
                                                               be through a commercial contractor that handles
4. Inventory
                                                               disposal of infectious waste in accordance with all
Items that pose a security risk, such as sharp                 local and federal regulations.
instruments, syringes, needles and scissors, shall be          The HSA shall make arrangements for disposal with
inventoried and checked weekly by an individual
                                                               an approved contractor and is responsible for
designated by the medical facility’s Health Service
                                                               validating that the contractor’s disposal methods are
Administrator (HSA) or equivalent.
                                                               in accordance with all infectious and hazardous
5. Handling                                                    waste disposal laws and regulations. Arrangements
                                                               shall be made with local hospitals, when possible,
Without removing the needles or replacing the
                                                               for disposal with the hospitals’ own infectious waste.
needle covers, staff shall place used (disposable)
syringes in a plastic disposal box or container.               6. Environmental Health in Medical Operations
a. Disposal Containers                                         While many of the following considerations,

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precautions and specific procedures apply to                    1) General Cleaning
situations that typically arise in medical operations,             a) All horizontal surfaces shall be damp dusted
in many cases they have general application to all                    daily with an approved germicidal solution.
facility operations.
                                                                   b) Windows, window frames and windowsills
a. General Housekeeping                                               shall be cleaned on a regular schedule, but
   Environmental cleanliness shall reduce, control                    do not require daily cleaning.
   and prevent nosocomial infections due to
   contaminated environmental surfaces. The HSA or                 c) Furniture and fixtures shall be cleaned
   designee is responsible for ensuring the                           daily.
   cleanliness of the medical facility.                            d) Floors shall be mopped daily and when
   Using an acceptable health agency standard as a                    soiled using the double bucket mopping
   model, the HSA shall establish:                                    technique. The cleaning solution shall be a
                                                                      hospital disinfectant-detergent solution
   1) the cleaning equipment, cleansers,                              mixed according to the manufacturer’s
      disinfectants and detergents to be used;                        directions. A clean mop head shall be used
   2) the methods of cleaning; and                                    each time the floors are mopped.
   3) the frequency of cleaning and inspections.                   e) Waste containers shall be lined with plastic
   The HSA or designee shall make a daily visual
                                                                         ,  I  c.
                                                                      bags and the liner shall be changed daily.
                                                                             n
   inspection of the medical facility, noting the
                                                              re C  ivic 022
                                                                      The container itself shall be washed at least

                                                        . Co er 14, 2
                                                                      weekly, or as needed when it becomes
   condition of floors, walls, windows, horizontal
                                                 in o v         b     soiled.
   surfaces and equipment.
                                          O   w           c e m
                                      in          be, D
                                                        e
                               itedor staff5shall
                                                                f) Cubicle curtains shall be laundered monthly
                             c
   All surfaces touched by detainees
                                                2 1
                                     1 - 5 2
   cleaned using fresh solutions of appropriate
                                   2
                                                                   or during terminal cleaning following

                            No.with clean cloths,
   disinfectant products, applied                                  treatment of an infectious patient.
   mops or wipes. Cleaned surfaces need not be                  2) Isolation Cleaning
   monitored microbiologically since the results of                a) An approved germicidal detergent solution
   such tests have been shown not to correlate with                   shall be freshly prepared in accordance with
   infection risk. Floors, walls, beds, tables and other              the manufacturer’s specifications for each
   surfaces that usually come in contact with intact                  cleaning.
   skin require low-level disinfection
                                                                   b) After cleaning the isolation room, mops
   Horizontal surfaces in detainee care areas are                     and cleaning cloths shall be laundered
   cleaned on a regular basis, when soiling or spills                 before being reused.
   occur. Additionally, short-stay units are cleaned
   when a detainee is discharged. Cleaning of walls,               c) Dirty water and used disinfecting solutions
   blinds or curtains is required only when visibly                   shall be discarded and the buckets and
   soiled.                                                            basins disinfected before being refilled.
                                                                      Items used in cleaning a contaminated
   The Chief Nurse (or equivalent) is responsible for                 isolation room shall never be taken into
   training all staff and detainees in using proper                   another area.
   housekeeping procedures and proper handling of
   hazardous materials and chemicals.                              d) Linens shall be carefully removed from the


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        bed and double-bagged for transport.                   i) Telephones shall be thoroughly cleaned
                                                                  with a clean cloth soaked in the germicidal
     e) All waste materials shall be double-bagged
                                                                  solution. The earpiece and mouthpiece shall
        and disposed of as contaminated waste.
                                                                  be unscrewed, scrubbed, dried and
  3) Terminal Cleaning                                            replaced.
     a) Every item in the room must be cleaned                 j) Walls and ceilings need not be washed
        with an approved hospital germicidal                      entirely, but areas that are soiled shall be
        solution.                                                 washed with germicidal solution.
     b) When applicable, linen shall be stripped            4) Choice of Disinfecting Materials
        from the bed, with care taken not to shake             Hospital-grade disinfectant detergent
        the linen. Linen shall be folded away from             formulations registered by the Environmental
        the person and folded inward into a bundle,            Protection Agency (EPA) may be used for
        then removed with minimal agitation.                   environmental surface cleaning, but the
     c) When applicable, all reusable receptacles              physical removal of microorganisms by
        (e.g., drainage bottles, urinals, bedpans,             scrubbing is as imperative as any antimicrobial
        water pitchers) shall be emptied and rinsed            effect of the cleaning agent used.
        with germicidal solutions.                             Cost, safety and acceptance by staff shall be the
     d) All equipment that is not to be discarded                  In c.
                                                               criteria for selecting any such registered agent.
                                                                 ,
        (e.g., IV poles, respirators, suction
                                                    r e C  ivic 022
                                                               The manufacturer’s instructions for use shall
        machines) shall be washed with an
                                           o v. Co er 14, 2    be followed exactly.
                                        win
        approved germicidal solution following
                                       O          e
                                                 b. m  b and Body Fluid Clean-up
                                                    Blood
                                    in          c
                                              e Spills of blood and body fluids shall be cleaned up
                          cited 55221, D
        manufacturer’s guidelines for cleaning the
        specific piece of equipment.
                                2 1  -              and the surface decontaminated in such a manner
                         No. and pillows
     e) When applicable, mattresses                 as to minimize the possibility of workers
                                                            becoming exposed to infectious organisms,
        covered with durable plastic covers shall be
        washed thoroughly with the approved                 including HIV and HBV. A suitable cleanup kit
        germicidal solution.                                shall be maintained for use in cases of spills of
                                                            blood and body fluids. Cleanup kits may be
     f) When applicable, beds shall be washed               obtained from commercial sources, or may be
        thoroughly, using a small brush soaked in           compiled by Health Services Department (HSD)
        germicidal solution to gain access to small         staff or the designated health care provider.
        holes and crevices, to areas between the
        springs and to the casters.                         1) Compiling a Cleanup Kit

     g) All furniture shall be washed with a                   To prepare a cleanup kit for blood and body
        germicidal detergent solution. Use a small             fluid spills, package the following materials in
        brush if necessary. Outside and underside              a 12” x 15” clear zip-lock bag:
        as well as legs and casters must also be               a) gloves, rubber or vinyl, household-type (2
        washed.                                                   pair);
     h) Wastebaskets shall be thoroughly washed                b) clean absorbent rags (4);
        with a germicidal solution after trash and
                                                               c) absorbent paper towels (15);
        liner have been removed.

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     d) disposable bag marked “contaminated” size                porous and are less resistant to mechanical
        23”x10”x39”, minimum thickness 1.5                       damage and punctures during clean-up
        mils.;                                                   procedures.
     e) Clear plastic bag 13”x10”x39”, minimum                4) Assignment of Cleaning Duties to Detainees in
        thickness 1.5 mils.; and                                 Medical Facilities
                                                                 Detainee workers may be assigned duties
     f) Bottle of “hospital disinfectant” (containing
                                                                 cleaning the medical facility. Detainees are
        quaternary ammonium chlorides in at least
                                                                 permitted to clean floors and walls and to
        0.8% dilution), or a bottle of household
                                                                 remove trash, but are not permitted to clean
        bleach such as “Clorox” or “Purex” (5.25%
                                                                 medical equipment.
        sodium hypochlorite).
                                                              5) Instructions for Use of Clean-Up Kit
  2) Selection of Disinfectants
     Dilute solutions of sodium hypochlorite are                 a) Open the bag and remove the supplies.
     reported extremely effective against both HIV               b) Put on one pair of gloves.
     and the Hepatitis B virus and therefore have
     been recommended for use in environmental                   c) Depending on the type of disinfectant in
     decontamination procedures. Quaternary                         the kit, take out bottle of “hospital
     ammonium compounds are less effective                          disinfectant,” or prepare a dilute solution of
     against Hepatitis B. Chlorine in solution
                                                                           , I  c.
                                                                    sodium hypochlorite. To prepare a 1:10
                                                                              n
     inactivates viruses quickly and efficiently, but
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                                                                    dilution of 5.25% sodium hypochlorite,

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     must reach the virus particles to do so.                       mix 1 part of 5.25% sodium hypochlorite
                                                      o
                                                  inthe v        b  (common household bleach) with 10 parts
                                            O
     Proteinaceous materials may interfere with w          c e m
                                 ed in solution         De          water.
                             c it
     ability of the appropriate disinfectant
                                                 2  1 ,
                                           552
     to reach the virus particles. Since -quaternary
                                    2 1
                                                                 d) Open the large clear plastic bag and the
     disinfecting compoundso
                           N may . act as a detergent               large bag marked “contaminated.” Place
     as well as a disinfectant, these compounds may                 them next to each other.
     be used for cleaning and removal of                         e) Use paper towels to absorb as much of the
     proteinaceous materials from surfaces.                         spilled fluid as possible; then place soiled
     However, when using such a compound to                         paper towels in the large clear plastic bag.
     clean a surface, it shall be necessary to follow
     with the use of chlorine solution for final                 f) Pour the solution carefully onto the spill
     disinfection.                                                  area. Dispose of the empty bottle in the
                                                                    large, clear plastic bag. Leave disinfectant in
     Most blood or fluids shall be removed from                     place for 15 minutes.
     the surface during routine medical cleaning
     procedures before application of the                        g) Use the rags to clean the area, and place
     disinfectant; in such cases, use of sodium                     rags in the large clear plastic bag.
     hypochlorite solution shall be sufficient.                  h) Tie off the clear plastic bag and place it
  3) Selection of Gloves                                            inside the large plastic bag marked
     Household or industrial rubber gloves are                      “Contaminated.”
     recommended for use rather than surgical                    i) Remove gloves carefully and place them in
     rubber gloves, as surgical gloves are somewhat                 the plastic bag marked “Contaminated.”


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      j) Put on the second pair of gloves and tie the                general waste stream and clearly labeled as
         “Contaminated” trash bag closed.                            infectious, adhering to the following practices:
      k) Properly dispose of the “Contaminated”                      a) Infectious waste shall be double-bagged
         trash bag in a contaminated-waste                              and tied and labeled “Infectious Waste.”
         receptacle.                                                 b) The bags used must be impermeable,
      l) Properly dispose of the second pair of                         commercially supplied red bags intended
         gloves in the contaminated-waste                               specifically for biohazardous waste storage.
         receptacle.                                                 c) Miscellaneous biomedical waste shall be
      m)Wash your hands.                                                double-bagged and tied but need not be
                                                                        labeled as infectious.
      n) Prepare a new clean-up kit.
                                                                  3) Treatment and Disposal
      NOTE: Do not place linen or non-disposable
                                                                     Blood products and designated body fluids
      articles in the “Contaminated” trash bag.
                                                                     shall be poured slowly and carefully down a
c. Hazardous and Infectious Waste Disposal                           toilet to prevent splash. Compacting of
   Infectious and hazardous waste generated at a                     untreated infectious waste is prohibited. The
   medical facility shall be stored and disposed of                  waste disposal contractor must meet all state
   safely and in accordance with all applicable                      and local requirements for transportation and
   federal and state regulations.
                                                                                ,  In c.
                                                                             ic
                                                                     disposal.
                                                                         ivOperations
   For identified wastes that represent sufficient risk
                                                             CE.o re  C
                                                                 Barber
                                                                               4  ,  2 022
   of causing infection or injury during handling o v.                   rin 1barber operations is imperative because
                                                w  in               b  e
   and disposal, the following precautionsO
                                    d  in    shall be
                                                         D e cofem
                                                              Sanitation
   applied.
                             cite 55221                ,         the possible transfer of diseases through direct
   1) Definitions                   2 1  -
                                 . is defined as:
                                                              contact or by towels, combs and clippers. Towels
                            Nowaste
      Hazardous or infectious
                                                              shall not be reused by other detainees until sanitized.
                                                               Instruments such as combs and clippers shall not be
      microbiology laboratory waste; human blood
                                                               used successively on detainees without proper
      and blood products; sharps; laboratory and
                                                               cleaning and disinfecting.
      other chemicals; or certain drugs such as
      antineoplastic.                                          1. For sanitation reasons, it is preferable that
                                                                  barbering operations be located in a room that is
      Miscellaneous biomedical waste is defined as
                                                                  not used for any other purpose. The room must
      waste materials that are not specifically defined
                                                                  have sufficient light, and be supplied with hot
      as infectious waste. Such waste includes
                                                                  and cold running water. The floors, walls and
      bandages, dressings, casts, catheters and
                                                                  ceilings shall be smooth, nonabsorbent and easily
      disposable pads.
                                                                  cleaned.
      Waste from detainees in isolation is not
                                                               2. Each barbershop shall have all equipment and
      considered to be infectious waste unless it falls
                                                                  facilities necessary for maintaining sanitary
      within the specific definition of infectious
                                                                  procedures for hair care, including covered metal
      waste as stated above.
                                                                  containers for waste, disinfectants, dispensable
   2) Collection and Storage                                      headrest covers, laundered towels and haircloths.
      Infectious waste must be separated from the
                                                               3. After each detainee visit, all hair care tools that

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   came in contact with the detainee shall be cleaned            immediately after use. The common use of
   and effectively disinfected. Ultraviolet lights are           brushes, neck dusters, shaving mugs and shaving
   not appropriate for sterilization but may be used             brushes is prohibited.
   for maintaining tools that have already been               5. Barbers or beauticians shall not provide service to
   properly sterilized.                                          any detainee when the skin of the detainee’s face,
4. Detailed hair care sanitation regulations shall be            neck or scalp is inflamed, or when there is
   conspicuously posted in each barbershop for the               scaling, pus or other skin eruptions, unless service
   use of all hair care personnel and detainees.                 of such detainee is performed in accordance with
   Cotton pads, absorbent cotton and other single or             the specific authorization of the chief medical
   dispensable toilet articles may not be reused, and            officer. No person who is infested with head lice
   shall be placed in a proper waste receptacle                  shall be served.




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Appendix 1.2.A: Common                           Class III Liquids
Flammable, Toxic and Caustic                     Paint (oil base)

Substances                                       Linseed oil
                                                 Mineral oil
Class I Liquids
                                                 Neat’s-foot oil
Gasoline
                                                 Sunray conditioner
Benzene (Petroleum ether)
                                                 Guardian fluid
Acetine
                                                 Toxic Substances
Hexane
                                                 Ammonia
Lacquer
                                                 Chlorine
Lacquer thinner
                                                 Antifreeze
Denatured alcohol
                                                 Duplicating fluid
Ethyl alcohol
                                                 Methyl alcohol
Xylene (Xylol)
                                                               , Inc.
                                                           ivic 022
                                                 Defoliants
Contact cement (flammable)
                                                   r e C
Toudi (Toluene)
                                          o v. Co er 14, 2
                                                Herbicides

                                     Ow in       e m  b
                                                Pesticides
Methyl ethyl ether                             c
                              d in 21, De Caustic Substances
                          cite
Methyl ethyl ketone
                              2 1 - 552
Naphtha Y, M and P       No.                    Lye
                                                 Muriatic acid
Class II Liquids
                                                 Caustic soda
Diesel fuel
                                                 Sulfuric acid
Motor fuel
                                                 Tannic acid
Kerosene
Cleaning solvents
Mineral spirits
Agitene




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                                                                   operated. This includes equipment appropriate
1.3 Transportation (by                                             and necessary to transport detainees with
    Land)                                                          disabilities and special needs.
                                                              3. Detainees shall be transported in a safe and
I. Purpose and Scope                                             humane manner, under the supervision of
                                                                 trained and experienced staff.
This detention standard prevents harm to the general
public, detainees and staff by ensuring that vehicles         4. Except in emergency situations, a single officer
used for transporting detainees are properly                     may not transport a single detainee of the
equipped, maintained and operated and that                       opposite gender. Further, if there is an
detainees are transported in a secure, safe and                  expectation that a pat down will occur during
humane manner, under the supervision of trained                  transport an officer of the same gender as the
and experienced staff.                                           detainee(s) must be present.
This detention standard applies to the following              5. Reasonable accommodations shall be made for
types of facilities housing ICE/ERO detainees:                   detainees with physical disabilities and/or
                                                                 special needs in accordance with security and
   x   Service Processing Centers (SPCs);                        safety needs and all applicable laws and
   x   Contract Detention Facilities (CDFs); and                 regulations.

                                                                      , Inc.
                                                                  ivic 022
   x   State or local government facilities used by           6. The facility shall provide communication
                                                              re C
                                                                 assistance to detainees with disabilities and
                                                        . Co er 14, 2
       ERO through Intergovernmental Service
       Agreements (IGSAs) to hold detainees for
                                                  ino  v        b
                                                                 detainees who are limited in their English
                                            O  w          c e m  proficiency (LEP). The facility will provide
       more than 72 hours.
                                         in            De
                              citedrequired        1 ,           detainees with disabilities with effective
                                              2 2
Procedures in italics are specifically
                                      2 1 -55
SPCs, CDFs, and Dedicated IGSA .facilities.
                                              for                communication, which may include the
                             No
                                            Non-                 provision of auxiliary aids, such as readers,
dedicated IGSA facilities must conform to these                  materials in Braille, audio recordings,
procedures or adopt, adapt or establish alternatives,            telephone handset amplifiers, telephones
provided they meet or exceed the intent represented              compatible with hearing aids,
by these procedures.                                             telecommunications devices for deaf persons
Various terms used in this standard may be defined               (TTYs), interpreters, and note-takers, as
in standard “7.5 Definitions.”                                   needed. The facility will also provide detainees
                                                                 who are LEP with language assistance,
II. Expected Outcomes                                            including bilingual staff or professional
                                                                 interpretation and translation services, to
The expected outcomes of this detention standard
                                                                 provide them with meaningful access to its
are as follows (specific requirements are defined in
                                                                 programs and activities.
“V. Expected Practices”).
                                                             All written materials provided to detainees shall
 1. The general public, detainees and staff shall be
                                                             generally be translated into Spanish. Where
    protected from harm when detainees are
                                                             practicable, provisions for written translation shall be
    transported.
                                                             made for other significant segments of the
 2. Vehicles used for transporting detainees shall           population with limited English proficiency.
    be properly equipped, maintained and

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Oral interpretation or assistance shall be provided to        for the transportation of detainees, including, at a
any detainee who speaks another language in which             minimum:
written material has not been translated or who is
                                                              1. general policy and procedures governing safety,
illiterate.
                                                                 security, operations, communications and
III. Standards Affected                                          equipment;
                                                              2. vehicle inspections and repair;
This detention standard replaces “Transportation
(Land Transportation)” dated 12/2/2008.                       3. vehicle occupancy;
                                                              4. the seating of detainees in transportation vehicles;
IV. References                                                   and
American Correctional Association, Performance-               5. procedures and necessary equipment in the event
based Standards for Adult Local Detention                        of:
Facilities, 4th Edition: 4-ALDF-1B-01, 1B-03, 1B-
04, 1B-05, 1B-06                                                a. vehicle failure;

ICE/ERO Performance-based National Detention                    b. traffic accident;
Standards 2011:                                                 c. severe weather or natural disaster;
   x   “1.1 Emergency Plans”;                                   d. an emergency situation (as specified later in “S.
                                                                    ,  In c.
                                                              ivicof females
                                                                   Emergency Situations” of this standard);
   x   “2.1 Admission and Release”;
                                                    C o r
                                                       e. e C
                                                          transport
                                                                    4 ,  2 022
                                                                             or minors; and
   x “2.5 Funds and Personal Property”;
                                             o  v .              1
                                                             er of detainees whose disabilities or
                                      O w in         e m  b
                                                       f. transport
   x “2.9 Post Orders”;
                            te d  in          , D ec special needs preclude prolonged travel.
                           i
                         c Restraints”;522  1
   x “2.15 Use of Force and
                               2 1 - 5               B. Vehicle Inspection
   x “4.1 Food Service”;No.
                                                              All vehicles used for transporting ICE/ERO detainees
   x   “4.7 Terminal Illness, Advance Directives and          shall comply with annual safety inspections
       Death”; and                                            requirements in accordance with applicable federal
                                                              and state law. Vehicles may not be used for
   x   “7.4 Detainee Transfers.”
                                                              transportation if any safety repairs are needed.
Memorandum dated 7/14/2006 on “Escape                         Vehicles equipped with specialized gear for the
Reporting” from the ICE/ERO Director, which                   transportation of detainees with physical disabilities
specifies requirements for the reporting, tracking            must also undergo appropriate inspections and
and investigating of the escape of an ICE/ERO                 maintenance to ensure the equipment remains in
detainee.                                                     good order.
V. Expected Practices                                         C. Transportation Planning and
                                                              Scheduling
A. Written Policy and Procedures
  Required                                                    The Field Office Director has overall responsibility
                                                              for all aspects of vehicle operations.
The facility administrator shall develop and
implement written policy, procedures and guidelines           The facility administrator (or designee) is responsible
                                                              for setting schedules and monitoring vehicular

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maintenance, making logistical arrangements to                 with the CDL manual or the highest prevailing
transport detainees, supervising and instructing               standard and must maintain complete control of the
personnel, and protecting detainee security. Before            vehicle at all times.
departure, the plans shall be revised as necessary,
                                                               Driving under the influence of drugs or alcohol is
based on weather and road conditions and any other
                                                               prohibited. In addition to any other random testing
relevant considerations.
                                                               as part of a drug-free workplace program, all officers
D. Transporting Officer Responsibilities                       assigned to transportation are subject to the U.S.
                                                               Department of Transportation (DOT) drug—and
1. Training Required
                                                               alcohol—testing program.
To be assigned to a bus transporting detainees, an             The transporting officers shall comply with all state
officer must have successfully completed the                   and federal motor vehicle regulations (including
ICE/ERO bus driver training program, or a                      DOT, Interstate Commerce Commission and
comparable approved training program, and all local            Environmental Protection Agency), including, but
state requirements for a commercial driver’s license           not limited to:
(CDL). In addition, the driver must have the
appropriate state issued CDL.                                  a. wearing a seat belt when the vehicle is moving;

Bus-driver trainees may operate the vehicle during             b. holding a valid state issued CDL;
any segment of a run when detainees are not on
                                                                       , In c.
                                                               c. inspecting the vehicle, using a checklist and
board, but only under the direct supervision of a
                                                          r e C  ivic 022
                                                                  noting any defect that may render the vehicle

                                                    . Co er 14, 2
certified bus instructor licensed by the state in which           unsafe or inoperable;
they reside.
                                               ino v         b
                                         O  w         c
                                                       d. m
                                                        e transporting detainees in a safe and humane
                                 ed in 221, De manner;
2. Forms and Files
                             c it
                                 .     -55
For each vehicle operator and other employees
                                   21supervisors       e. verifying individual identities and checking
assigned to bus transportation o
                            N  duties,
shall maintain at the official duty station a file
                                                          documentation when transferring or receiving
                                                                  detainees;
containing:
                                                               f. driving defensively, taking care to protect the
a. certificate of completion from a bus training                  vehicle and occupants, obeying traffic laws and
   program, as applicable;                                        immediately reporting damage or accidents;
b. copy of the CDL;                                            g. re-inspecting the vehicle after each trip and
   1) every motor vehicle operator shall complete                 completing a vehicle inspection report, including
      the following forms (or equivalent) for                     an odometer reading;
      his/her official personnel folder (OPF): SF-47,          h. returning the vehicle keys to the control officer or
      G-392 and G-294. Every motor vehicle                        supervisor, according to facility procedures;
      operator is also responsible for renewing these
                                                               i. recording authorized expenses (e.g., fuel,
      documents as necessary, and for providing to
                                                                  emergency services, oil) on Form G-205 or
      the OPF copies of all renewals and other
                                                                  (applicable current form; in event of an update,
      changes/updates.
                                                                  use the “Government-owned Vehicle Record”),
3. Operating the Vehicle                                          specifying the exact amount and the date, and
The driver shall operate the vehicle in accordance                keeping all receipts and submitting them along


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   with the appropriate form at the end of each                  contact the local law enforcement agency for advice
   month; and                                                    or permission to use one of its parking places.
j. Safeguarding credit cards assigned to the vehicle.            E. Officer Uniform and Equipment
4. Driving Hours and Number of Operators                         All officers transporting ICE/ERO detainees shall
Each officer must recognize the limitations imposed              wear their prescribed uniforms unless other attire is
by his/her own driving skills, personal distractions             authorized by the facility administrator.
and environmental conditions, and must modify                    1. Every transporting officer shall wear a uniform in
his/her driving accordingly. The following rules                    accordance with established procedures. Certain
apply to all members of the vehicle crew, whether                   transportation details may require wearing of
driving or not, and it is the officer’s responsibility to           street or business attire; in these cases, the facility
inform a transportation supervisor if he/she is                     administrator shall establish a dress code for such
unable to make a trip because of these rules:                       occasions. The dress code shall prohibit the
a. A CDL is required for each officer assigned to bus               wearing of jumpsuits.
   operations.                                                   2. Every transporting officer shall be issued and
b. While operating a vehicle requiring a CDL,                       instructed to wear a protective vest while
   drivers must comply with all rules and                           participating in the transportation program.
   regulations pertaining to CDL operations.
                                                                              In c.
                                                                 3. Equipment recommended for each trip includes,
                                                                           ,
c. Drivers must be off-duty for the eight (8) hours
                                                              r e  C  ivic 022
                                                                    but is not limited to, the following:
   immediately before any trip or trip segment.
                                                      v . Coa. flashlights;
                                                                      r  1 4 ,2
                                              w iniso         m     e
                                                                 bextra
                                      in
d. Maximum driving time (i.e., time on the O road)
                                                      D e c e b.        handcuffs;
   governed by USDOT.              d
                            cite 55221              ,         c. flex-cuffs and cutter; and
                                   2 1  -
   driving conditions only,N
                              o.
e. In an emergency or under unforeseen    and adverse
                           the vehicle crew may               d. other authorized intermediate force (“non-
   drive as long as necessary to reach a safe and                      lethal,” “non-deadly”) weapons.
   secure stopping area.                                         F. Pre-departure Vehicle and Security
f. When vehicles without detainees travel in                        Check
   tandem, a single officer may be assigned to each.
                                                                 Prior to departure, all officers assigned to transport
   Unaccompanied officers may also drive empty
                                                                 detainees must be present to ensure a complete and
   vehicles for certain purposes, such as maintenance
                                                                 thorough inspection and search, and shall:
   trips.
                                                                 1. inspect the vehicle for mechanical and electrical
5. Vehicle Security
                                                                    problems;
Officers shall secure a vehicle before leaving it
                                                                 2. take any necessary special precautionary measures
unattended, including removing keys from the
                                                                    for transporting a detainee identified as a special-
ignition immediately upon parking the vehicle.
                                                                    handling case (e.g., for reasons of security,
Officers shall avoid parking in a spot where the                    medical, physical, psychological problems,
vehicle may attract undue attention or be vulnerable                and/or transporting juveniles) while the search is
to vandalism or sabotage. If officers cannot locate a               in progress;
parking area with adequate security, they shall
                                                                 3. test the emergency exits and test the key for every

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   lock located in or on the vehicle. A complete set           plans with the SIEA or authorized designee before
   of these keys shall travel with the vehicle at all          beginning the detail.
   times, in a secure place known to every
                                                               All completed G-391 forms, or equivalents shall be
   transporting officer;
                                                               filed in order by month, with the previous month’s
4. search for hidden weapons and other contraband              forms readily available for review, and shall be
   before every trip, including the driver’s                   retained for a minimum of three years.
   compartment and glove compartment, the                      2. Documents That Accompany the Detainee
   detainee seating area and the cargo compartment;
                                                               The Directive on Detainee Transfers explains the files
5. search the staging area prior to loading detainees
                                                               and documents that must be prepared and organized
   to ensure that the area is clear of any weapons or
                                                               in preparation for a detainee’s transfer. ICE/ERO staff
   contraband;
                                                               of the sending facility is required to complete a
6. thoroughly search each detainee as he/she is                Detainee Transfer Checklist to ensure all procedures
   about to board the vehicle; and                             are completed and place a copy in the detainee’s A-
7. ensure that when vehicles are equipped with                 file or work folder.
   seatbelts, detainees are properly secured before            Standard 7.4 “Detainee Transfers” also requires that
   the transport begins according to established ICE           a Medical Transfer Summary accompany the
   policies and procedures regarding searches.                 detainee. If official health records accompany the
                                                                           , In  c.
                                                                     ivic 022
                                                               detainee, they are to be placed in a sealed envelope
G. Required Documents
                                                               re C
                                                               or other container labeled with the detainee’s name
1. Transport Documentation
                                                     o  v. Co er 14, 2
                                                               and A-number and marked “Confidential Medical
                                           O  w  in          e m b
                                                               Records.”
                                        n
                                   d iunless
No detainee may be transported to/from    any facility,    c
                                                        De Transportation staff may not transport a detainee
                             citeareas,       a2  1  ,
                                          552
including Field Office detention                Form
                                 .      -
G-391, I-216, I-203, or equivalent,2is1furnished,           without the documents as required by the Directive
authorizing the removal. These o
                           N forms must be                  on Detainee Transfers and Standard 7.4 “Detainee
properly signed and shall clearly indicate the name            Transfers.” Staff is responsible for delivering all
of the detainee(s), the place or places to be escorted,        required documents and the transfer summary to
the purpose of the trip and other information                  personnel at the receiving facility.
necessary to carry out the detail efficiently.                 To ensure that the receiving facility also receives the
In SPCs, CDFs, and IGSAs with a sufficient ICE/ERO             detainee’s files and other required documentation:
onsite presence, the authorized ICE official shall             a. transportation officers may not accept a detainee
check records and ascertain if the detainee has a                 without the required documents;
criminal history, is dangerous or has an escape
record. Any information of an adverse nature shall             b. the receiving facility may refuse to accept a
be clearly indicated on the G-391 and the escorting               detainee without the required documents; and
officers shall be warned to take the necessary                 c. the receiving facility must report any exceptions
precautions. Before beginning the detail, escorting               to the Field Office and the Deputy Assistant
and transportation officers shall read their                      Director, Detention Management Division.
instructions and clearly understand the reason that
the detainee is being taken from the facility. The             H. Departure Scheduling and Security
officers shall also discuss emergency and alternate            The vehicle crew shall organize driving time so

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detainees arrive at the designated meeting area on                   are sufficient documentation for the transfer to
schedule.                                                            proceed.
Before transferring detainees from one facility to             2. Staff shall include, in the “checked baggage”
another, a designated officer shall inform the                    section on each I-216, the I-77 numbers, to be
receiving office of:                                              verified by receiving facility staff;
1. the estimated time of departure and arrival                 3. The lead driver shall check the manifest against
   (ETD/ETA);                                                     the number of packages by detainee name and A-
2. the number of detainees in each of the following               number before signing the I-216 or placing the
   categories:                                                    baggage on the bus.

   a. new arrivals (remaining at the facility);                4. In addition to the requirements of standard “2.5
                                                                  Funds and Personal Property”:
   b. drop-offs; and
                                                                  a. Staff shall complete a separate I-77 for each
   c. overnighters;                                                  piece of baggage, and shall record the
3. the total number of detainees;                                    detainee’s name on the top, middle, and
                                                                     bottom portions; and
4. any special-handling cases, with details about the
   special requirements (e.g., medications,                       b. Staff shall enact the following procedure for
   restraints, special equipment); and
                                                                         ,   I   c.
                                                                     each piece of baggage and corresponding I-77
                                                                              n
5. any actual or estimated delays in departure, and
                                                             re C  ivic 022
                                                                     form, and:
    the accordingly revised ETA(s).
                                                    o v. Co 1)eattach
                                                                   r  1 4the, 2string on the top of the I-77 to

                                           O  w  in        e m b the corresponding piece of baggage, and
I. Transfer of Funds, Valuablesiand
                                    d n 21, De           c
   Personal Property cite
                                                                  secure the detainee’s signature on the back

                                    2 1 - 552                     of the I-77;
In accordance with standards   o. Admission and
                            N“2.1                              2) attach the middle section to the copy of the
Release” and “2.5 Funds and Personal Property,”                         I-385 that shall accompany the detainee to
facility staff shall inspect and inventory the personal                 the final destination; and
property of detainees transferring from one facility                 3) provide the bottom portion to the detainee
to another.                                                             as a receipt.
In addition, at the originating facility:
                                                               J. Loading a Vehicle
1. Staff shall ask each detainee whether he/she has
                                                               1. Security and Occupancy
   in his/her possession all funds, valuables and
   other personal property listed on the property              Armed officers shall be posted whenever detainees
   inventory form:                                             enter or exit a vehicle outside a secure area.
   a. If a detainee answers “yes,” he/she may board            The facility administrator shall ensure that all
      the vehicle; or                                          vehicles are assigned an occupancy rating in
                                                               compliance with the U.S. Department of
   b. If a detainee claims missing funds, valuables,
                                                               Transportation (DOT). The number of detainees
      or personal property, the detainee shall remain
                                                               transported may not exceed the established
      at the facility until required paperwork is
                                                               occupancy level.
      completed. Photocopies of completed forms


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The escorting officer/assistant driver shall instruct        e. to transport detainees with disabilities safely and
the detainees about rules of conduct during the trip.           securely, transportation officers shall make
The lead driver shall be responsible for managing the           reasonable accommodations for them, in so far as
detainees’ move from the staging area into the                  is practicable;
vehicle. The number of available officers shall              f. seat detainees in restraints (whose documents or
determine whether detainees move at one time or in              behavior in transit indicate a security risk) in the
groups.                                                         first seats behind the security screen and record in
2. Items Detainees May Keep in Their Possession                 a log maintained by the officers the detainee’s
                                                                name, reason for using restraints, type of
Ordinarily, detainees in transport may keep the                 restraints, and times restraints were applied and
following in their possession: jewelry (wedding                 removed;
rings and approved religious items), eyeglasses, and
receipts for property and money (G-589, I-77).               g. conduct a visual count once all passengers are
However, if the transporting officers determine that            seated on board, and every time before resuming
                                                                the trip after the vehicle makes a scheduled or
any of these items may compromise officer or
detainee safety, the items shall be removed from the            unscheduled stop; and
detainee’s possession and returned to the detainee or        h. assist detainees with disabilities and special needs
placed in an appropriate storage area.                          to their designated seat and ensure females and
                                                                          In c.
                                                                minors are seated according to the directives in
                                                                       ,
                                                                 ivic 022
In some instances, the vehicle crew shall safeguard
and dispense prescription medicines as prescribed,
                                                           re  Csection T of this standard.
noting the detainee’s name, A-number, date and    v              r  1    , 2 En Route
                                                    . CK.oResponsibilities
                                                                       4
                                           w ino          m  be
                                         O
time(s) dispensed, and by whom. Such notes shall
                                     in           D e c e
                                                       1. Point of Contact
                              ite d           1 ,
be attached to the detainee’s medical record or A-
file.                        c
                                    1 - 5 522          The next receiving office on the vehicle route serves
                              o.  2
                            NSeating
3. Count, Identification, and                          as the contact point and is responsible for
                                                             monitoring the vehicle’s schedule.
To confirm the identities of the detainees they are
transporting, the vehicle crew shall:                        Upon making contact with an arriving vehicle, the
                                                             receiving officers shall certify, by signing the
a. summon the detainee, by surname, to the vehicle;          accompanying Form I-216, that they are taking
b. ask detainee to state his/her complete name;              custody of the specified detainees.
c. compare name and face with the Booking Card               Each office shall develop and post written guidelines
   (I-385) or equivalent and attached photo and the          for tracing procedures to locate an overdue vehicle.
   Record of Persons and Property Transferred (I-            If the vehicle does not arrive within range of the
   216) or equivalent. If necessary, refer to the I-         ETA, the contact point shall set the tracing
   385 or equivalent for additional biographical             procedures in motion.
   information;                                              2. Safety and Security
d. seat each detainee in accordance with written             For safety purposes, all personnel shall remain seated
   procedures from the facility administrator, with          while the vehicle is in motion.
   particular attention to detainees with physical or
   mental health conditions, or who may need to be           The vehicle crew shall keep the cage doors locked
   afforded closer observation for their own safety;         whenever detainees are on board, and the assistant

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driver is responsible for detainee oversight during             appropriately documented.
transport. Officers must maintain a clear view of the
                                                                The requirements specified in standard “4.1 Food
entire vehicle compartment and remain alert for
                                                                Service” apply equally to food served in transit and
behavior that could jeopardize safety and security.
                                                                in detention facilities.
Detainees shall not have access to any personal
                                                                In the interest of safety, detainees shall have no
baggage or packages while in transit (except as
                                                                access to eating utensils (disposable or otherwise)
specified above in “Section J.2, Items Detainees May
                                                                while in transit.
Keep in Their Possession”).
                                                                Transporting officers shall observe safe-handling
A complete set of keys for every lock located in or on
                                                                procedures at all times.
the vehicle shall travel with the vehicle at all times,
in a secure place known to every transporting                   In transit, the crew shall store and serve food at the
officer, and the crew shall keep bolt cutters in the            required temperatures. The crew shall maintain a
forward compartment with the outer equipment for                constant supply of drinking water and ice in the
use in an emergency.                                            water container(s), along with paper cups. A small
                                                                number of disposable garbage receptacles (i.e.,
An armed officer may not enter the secure area of
                                                                plastic bags) shall be kept in the driver’s
the vehicle. If he/she must enter that area, the officer
                                                                compartment, with the remainder stored in the
shall first leave the weapon(s) with another officer
                                                                equipment box located in the forward baggage
for safekeeping or, if the vehicle is equipped with
                                                                               ,  In c.
                                                                        ivic administrator
                                                                compartment.
                                                                     C                022 shall monitor the
weapons lockers, in a locker.
                                                             C o
                                                              There
                                                                  food  service
                                                                                 ,  2
3. Stops
                                                      o v. condition  e       4
                                                                         rand1routine cleansing and sterilizing of
                                           O   w   in         em    b
                                       in
During stops, which the vehicle crew shall
                                    d
                                            keep to a
                                                         D e cdrinking-water   containers, basins, latrines, etc., in
minimum, detainees shall not    ite the vehicle
                             cleave           2      1
                                                 2until,      vehicles to ensure compliance with standard “4.1
                                          5 5
                                         - area.
                                      1the
                               o  . 2
the transporting officers have secured                        Food Service.”
                            N the officers shall
When the detainees disembark,
                                                                In an emergency, the transporting officers may
keep them under constant observation to prevent
                                                                purchase meals from a commercial source, obtaining
external contact(s) and/or contraband smuggling or
                                                                receipts for later reimbursement.
exchange. At least one officer shall remain in the
vehicle when one or more detainees are present.                 M. Vehicle Communication
L. Meals                                                        Every vehicle shall be equipped with a functioning
                                                                two-way radio. Every crew shall also carry at least
The vehicle crew shall provide meals and snacks                 one portable radio, so that officers can maintain
during any transfer that exceeds six hours. Officers            contact if one or more must leave the vehicle. The
shall consider when the detainees last ate before               vehicle’s communications system shall also include a
serving meals and snacks. Special considerations shall          cellular phone for use when radio communications
be given to minors, pregnant female detainees, and              are degraded (e.g., in dead zones, on different
detainees who have medical conditions.                          frequencies).
Meal times, the number of meals, and the types of
                                                                N. Vehicle Sanitation
meals provided shall be recorded. Officers also shall
record the identifying information of any detainee              Vehicles must be kept clean and sanitary at all times.
who refuses a meal and that information shall be                The facility administrator shall establish the


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procedures and schedule for sanitizing facility                 facility.
vehicles. Vehicle crew responsibilities include, but
                                                                Q. Vehicle Equipment
are not limited to:
1. dumping septic tank contents at the locations                In SPCs and CDFs, the Field Office will provide the
   specified; and                                               following equipment as appropriate for each vehicle:

2. maintaining an adequate supply of water and                  1. mobile radio(s) able to communicate on
   chemicals in the toilet at all times, including                 frequencies used by Border Patrol and/or other
   monitoring the inventory of chemical supplies                   law enforcement agencies;
   stored in the forward baggage compartment.                   2. cellular phone (backup communication system);
O. Officer Conduct                                              3. in the forward baggage compartment, of buses,
                                                                   two equipment boxes containing:
Recognizing the effect of personal appearance,
speech, conduct and demeanor in communicating                      a. (in box #1:) large bolt cutters, fuses, fan belts,
the appropriate sense of authority, assigned                          jack, small hand tools, flashlight, lantern, rags,
transportation staff shall dress, speak and act with the              disposable trash bags, broom, ground cloth,
utmost professionalism. Assigned transportation staff                 two sets of coveralls, and work gloves (fleet
shall conduct themselves in a manner that reflects                    officer/shop supervisor maintains inventory
                                                                      and checks written inventory quarterly);
positively on ICE/ERO.
                                                                                      c.
                                                                             , Intransmission fluid, water for
The vehicle crew falls under the responsibility of the                 iv
                                                               b. (in box ic#2:)
                                                                    C oil, toilet        2
                                                            Co reradiator,  4 ,  2 02disinfectant,   extra fire
Field Office Director with jurisdiction at each facility
en route, whether during an intermediate stop orin   ato v.          er   1
                                              O w            e m  bextinguisher(s),  road flares, and reflectors
                                         inremains in Dec          (transporting  officers record amount and date
                                      d
the final destination. This responsibility
                               cite and applies   2  1 ,
effect until the vehicle’s departure,
                                           5  5 2 only             used and by whom on inventory sheets kept in
                                  .  21the- lead driver
to the current trip. If problems arise,
                                o
                                                                   box #2, likewise maintaining MSDS sheets as
must contact the Field OfficeNDirector, or designee.               necessary); and
Transportation staff shall comply with all rules and               c. other equipment to be added as necessary
procedures governing use of government vehicles.                      (transporting officers shall provide supervisors
They shall not transport any personal items other than                with written notification of inventory needs,
those needed to carry out their assigned duties during                including items that need replenishing or
the trip. The possession or use of alcoholic beverages                replacing).
and illegal drugs is strictly prohibited.                       4. first-aid equipment bag (disaster kit), auxiliary to
Using common sense, transportation staff shall                     the first-aid kit in the driver’s compartment
handle any crises that may arise. While treating all               (officers shall document each emergency
persons with courtesy and respect, they shall not                  requiring first-aid treatment, including whether
compromise security or the accomplishment of their                 and how quickly the injured individual(s)
mission.                                                           received proper medical care);

P. Firearms Storage                                             5. emergency blankets equal to the rated capacity of
                                                                   the vehicle;
Every facility administrator shall ensure that the on-
                                                                6. boarding bag containing extra forms, a camera
site supply of gun lockers can accommodate the
non-resident vehicle crews during stops at the
                                                                   that produces instant photographs, film, batteries,

1.3 | Transportation (by Land)                             44                                           PBNDS 2011
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   and emergency phone numbers for ICE/ERO                     shall not handcuff women or minors unless they
   offices, local police, state police, etc.;                  have shown or threatened violent behavior, have a
7. spare tire and snow chains (if applicable);                 history of criminal activity, or an articulable
                                                               likelihood of escape exists. If an exception arises, the
8. restraining equipment, including, at a minimum:             officers shall document the incident, recording the
   a. on buses: 50 sets of waist chains; 50 sets of leg        facts and the reasoning behind the decision.
      irons; and 2 sets of leg irons modified for use          S. Emergency Situations
      as hand cuffs (extra-large); or
                                                               If an emergency occurs within a reasonable distance
   b. on other vehicles: equipment equal to the                of an ICE/ERO office, assigned transportation staff
      rated capacity of the vehicle.                           shall make every effort to reach that office before
9. All restraining equipment must be of high quality           taking extraordinary measures. However, if moving
   and must be maintained in good operating                    seems ill-advised or impossible, assigned
   condition and kept in the forward baggage                   transportation staff shall contact the office, stating
   compartment with the other supplies; and                    their location and the nature of the problem, to
10. appropriate storage for firearms.                          ensure provisions for secure and immediate
                                                               assistance.
The vehicle crew shall determine which safety and
                                                               If the situation is life-threatening, the vehicle crew
security equipment to use in an emergency. The
                                                                            ,  Inc.
                                                               shall not wait for help from an ICE/ERO office but
crew shall maintain restraints and other equipment
                                                                 e C  ivic 022
                                                               shall take immediate action.
                                                               r
in good working order.
                                                       v . CThe       r  1 4  , 2 shall establish written
                                                             o facility administrator
R. Use of Restraints                           w  in o         m  be for transportation staff to follow during
                                         in  O             c e
                                                            procedures
                                                         e an en-route emergency. The written procedures shall
                                iteandd “2.155Use of1, D
                             c
In accordance with this standard
                                            5 2  2
                                  . 2  1
Force and Restraints,” officers shall use -
                                          authorized        cover the following scenarios.
techniques and common sense Nowhen applying                 1. Attack
restraints. To ensure safe and humane treatment, the
officers shall check the fit of restraining devices            If attacked, the vehicle crew must request assistance
immediately after application, at every relay point,           from the nearest law enforcement agency,
and any time the detainee complains. Properly fitting          continuing to drive until the vehicle becomes
restraints do not restrict breathing or blood                  incapacitated. The transportation staff shall do
circulation.                                                   everything possible to protect the safety of everyone
                                                               in the vehicle.
The officers shall double-lock the restraining
device(s) and secure the handcuffs to the waist                2. Escape
chain. Under no circumstances shall officers attach a          If a detainee escapes, the assigned transportation staff
restraining device to an immovable object,                     shall not jeopardize the security of the remaining
including, but not limited to, security bars, seats,           detainees by chasing the escapee. Instead,
steering wheel, or any other part of a vehicle.                transportation staff shall notify the nearest ICE/ERO
Officers carrying firearms shall exercise caution if           office, providing the escapee’s name, A-number,
close contact with a detainee becomes necessary in             height, weight, type of clothing, and direction of
an emergency.                                                  flight (if known). The office shall relay this
Barring exigent circumstances, transporting officers           information directly to local law enforcement


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agencies.                                                     transportation staff shall request assistance from the
The vehicle crew shall prepare a fully documented             nearest medical facility, local law enforcement
written report of the escape and/or attempted                 agencies and emergency services. The transportation
escape.                                                       staff shall initiate life-saving procedures as time-
                                                              appropriate, proceeding if security permits. The
3. Hostages                                                   closest ICE/ERO office shall prepare procurement
If a hostage situation occurs on board the vehicle, at        paperwork and make arrangements for
least one assigned transportation staff member shall          hospitalization, security, etc.
secure the vehicle perimeter while another notifies           5. Death
the closest ICE/ERO office of the situation. The
assigned transportation staff shall make every effort         If a detainee dies while in transit, assigned
to determine who is involved and whether they are             transportation staff shall notify the originating or
armed, relaying this information to the ICE/ERO               receiving office as soon as possible and shall follow
office and local law enforcement agencies. Under no           procedures specified in standard “4.7 Terminal
circumstances shall an assigned transportation officer        Illness, Advance Directives and Death.”
bargain with or take orders from the hostage-               The closest ICE/ERO office shall coordinate with
taker(s), regardless of the status or rank of the           other agencies, including the coroner, required to be
hostage(s).                                                 on the scene when the body is removed from the
                                                            vehicle. The removal
                                                                                In   . take place in the state
                                                                                   cmust
The vehicle crew shall hold all detainees on board
                                                                          c  ,
                                                                       ivioccurred.
until help arrives, in the event that the hostage-          where death
                                                              o re   C
                                                                               ,  2 0 22and Death” specifies the
                                                                                     Standard “4.7 Terminal
                                                         . CIllness,
                                                                            4
                                                                     Advance Directives
                                                                          1 which assigned transportation staff
                                                    ino v procedures   r with
taker(s) allow(s) non-participants to disembark.
                                             staffwshall          b  e
Regardless of demands, the transportation O
                                          n with or Decmust
not allow any hostage-taker(s) off the ibus,
                                                            emcomply.
                             cited 55221,
without the hostages.
                               o . 2 1-                       6. Fire
                            N witnesses, examine
Because of the need to interview                              In case of fire in or on the vehicle, the driver shall
the crime scene, etc., a hostage situation shall              immediately stop the vehicle. The crew shall fight
effectively end a transportation assignment. Once the         the fire with the on-board equipment. If necessary,
hostage situation is resolved, assigned transportation        assigned transportation staff shall request assistance
staff shall receive instructions regarding how and            from the local fire department and law enforcement
where to proceed.                                             agency. If the fire forces evacuation of the bus, the
The vehicle crew’s incident report shall note                 crew is responsible for maintaining accountability
participants, witnesses and action taken.                     and security while removing detainees in an orderly
                                                              fashion.
4. Illness
                                                              7. Riots
If a detainee becomes ill while in transit, the
assigned transportation staff shall take appropriate          If a riot, fight, or any disturbance occurs on the bus,
action and alert the receiving office in order to             the assistant driver shall order the detainees to cease
prepare to handle the situation.                              and the driver shall attempt to move the bus to the
                                                              side of the road. If necessary, the crew shall request
If a detainee becomes ill while in transit and the            assistance from the local law enforcement agency.
illness requires immediate medical treatment (e.g.,           Efforts shall be made to determine the instigators,
in the event of a heart attack), assigned                     number of detainees involved, names and A-

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numbers.                                                           agency.
When sufficient assistance is available, the assigned              10. Natural Disasters
transportation staff shall attempt to regain control,              The facility administrator shall develop written
using only as much force (e.g., with restraints or                 procedures for transportation officers to follow in the
pepper spray) as necessary. Assigned transportation                event of severe weather or a natural disaster.
staff may not enter the screened area bearing arms.
                                                                   In a flood, dust storm, ice storm, tornado or other
8. Traffic Accident
                                                                   natural disaster, the vehicle crew shall contact state
The facility administrator shall establish written                 authorities to assess road conditions along the
procedures for vehicle crews involved in traffic                   planned route.
accidents.                                                  If driving conditions are unlikely to improve, the
After an accident, assigned transportation staff shall      vehicle crew shall look for a safe area to park the
secure the area, request assistance from a local law        vehicle and request further instructions from the
enforcement agency, and obtain medical assistance           receiving office.
for anyone injured. Regardless of the severity of the       Should it become necessary to exit the vehicle, the
accident, the assigned transportation staff must report     detainees must be directed to a safe area. In such a
the accident to the local law enforcement agency and        case, officers must maintain a heightened alertness
the nearest ICE/ERO office. They must also obtain a
                                                                                 In   .
                                                            for the duration of thecemergency.    When the
police report for the record, in case of future             emergencyvhas
                                                                        i     ,
                                                                           icpassed,  the assigned transportation
allegations or lawsuits against ICE/ERO or individual
                                                           C o  re
                                                            staff   C
                                                                  shall return all 2
                                                                             4  ,    022 to the vehicle and
                                                                                   detainees
officers. The driver must record witnesses’ names,
                                                w  in  o v. conductb e     1 count.
                                                                      anr accurate
addresses, and phone numbers on Form SF-94.
                                        in   O              em
                                                           ecT. Transportation of Females and Minors
                                    eddiscuss the22issue
                                citshall
The assigned transportation staff                     1  ,D
                                         1
of responsibility for the accident only2with   5 chain
                                            -5their                The facility administrator shall develop written
of command. Upon arrivingN
                                    .
                                  o receiving office, the
                               at the                              procedures for vehicle crews transporting females.
assigned transportation staff shall report the accident to
                                                                   Except for emergent or extraordinary circumstances
the Field Office Director, or designee and prepare the             as approved by the Field Office Director(s), females
required forms.                                                    may not be transported by bus for more than ten
9. Vehicle Failure                                                 hours. Otherwise, transportation by auto or van is
The facility administrator shall develop written                   required, with frequent breaks.
procedures for assigned transportation staff to follow             Females shall be seated in the front of the vehicle.
when the vehicle develops mechanical problems en                   Minors shall be separated from unrelated adults at all
route.
                                                                   times during transport and seated in an area of the
Crew in an ICE/ERO-owned vehicle that develops                     vehicle near officers and under their close
mechanical problems en route shall attempt to isolate              supervision.
the problem, and shall then contact the nearest                    Assigned transportation staff shall search a detainee
ICE/ERO office. Unless the vehicle constitutes a                   of the opposite sex only in extraordinary
traffic hazard in its current location, the crew shall             circumstances and only when a same-sex officer is
not move it until instructed to do so. If the assigned             not available.
transportation staff fail to connect with the ICE/ERO
office, they shall try to reach a local law enforcement            When transporting detainees of the opposite gender,

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assigned transportation staff shall call in their time of        single detainee of the opposite gender. Further, if
departure and odometer reading; and then do so                   there is an expectation that a pat down will occur
again upon arrival, to account for their time.                   during transport, an assigned transportation staff
                                                                 member of the same gender as the detainee(s) must
Except in emergency situations, a single
                                                                 be present.
transportation staff member may not transport a




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                                     in        e c
                             cited 55221, D
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1.3 | Transportation (by Land)                              48                                         PBNDS 2011
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                                                                 not be strip searched when entering ICE detention
2.1 Admission and                                                facilities.
    Release                                                   2. Each detainee’s personal property and valuables
                                                                 shall be checked for contraband, inventoried,
I. Purpose and Scope                                             receipted and stored.
This detention standard protects the community,               3. Each detainee’s identification documents shall be
detainees, staff, volunteers and contractors by                  provided to ICE/ERO and, as appropriate a copy
ensuring secure and orderly operations when                      placed in the detention file.
detainees are admitted to or released from a facility.        4. Medical and mental health screening shall be
This detention standard applies to the following                 conducted to identify requirements for medical
types of facilities housing ICE/ERO detainees:                   care, special needs and housing, and to protect
                                                                 the health of others in the facility.
  x    Service Processing Centers (SPCs);
                                                              5. Each detainee shall undergo screening interviews
  x    Contract Detention Facilities (CDFs); and                 and shall complete questionnaires and other
  x    State or local government facilities used by              forms in accordance with the PBNDS.
       ERO through Intergovernmental Service                  6. Each detainee shall be given an opportunity to
       Agreements (IGSAs) to hold detainees for more
                                                                            ,  Inc.
                                                                 shower and shall be issued clean clothing,
       than 72 hours.
                                                               r e C  ivic 022
                                                                 bedding, towels, and personal hygiene items.
Procedures in italics are specifically required for
                                                        v. C7.oEach newly
                                                                      r  1 4  , 2 detainee shall be kept
                                                                           admitted
SPCs, CDFs, and Dedicated IGSA facilities. Non- in
                                                 w    o        m  be from the general population until
                                                               separated
                                              O            c e
                                         into these 1, De health, housing and custody classification is
                                 ited alternatives,
dedicated IGSA facilities must conform
procedures or adopt, adapt orcestablish
                                        1 - 5  522             completed but not longer than 12 hours.
                                      2
provided they meet or exceed the. intent
                             No
                                            represented
                                                            8. Each newly admitted detainee shall be oriented to
by these procedures.
                                                                 the facility through written material on facility
Various terms used in this standard may be defined               policies, rules, prohibited acts and procedures
in standard “7.5 Definitions.”                                   and, in some facilities, by viewing an orientation
For all types of facilities, procedures that appear in           video.
italics with a marked (**) on the page indicate               9. The facility shall provide communication
optimum levels of compliance for this standard.                  assistance to detainees with disabilities and
                                                                 detainees who are limited in their English
II. Expected Outcomes                                            proficiency (LEP). The facility will provide
The expected outcomes of this detention standard                 detainees with disabilities with effective
are as follows (specific requirements are defined in             communication, which may include the
“V. Expected Practices”).                                        provision of auxiliary aids, such as readers,
                                                                 materials in Braille, audio recordings, telephone
1. Each detainee shall be screened to ensure facility            handset amplifiers, telephones compatible with
   safety, security and good order. Searches should              hearing aids, telecommunications devices for deaf
   be conducted in the least-intrusive manner                    persons (TTYs), interpreters, and note-takers, as
   possible. Absent reasonable suspicion that a                  needed. The facility will also provide detainees
   detainee is concealing contraband, detainees shall            who are LEP with language assistance, including

2.1 | Admission and Release                              49                                          PBNDS 2011
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   bilingual staff or professional interpretation and            x   “2.3 Contraband”;
   translation services, to provide them with
                                                                 x   “2.5 Funds and Personal Property”;
   meaningful access to its programs and activities.
   All written materials provided to detainees shall             x   “2.10 Searches of Detainees”;
   generally be translated into Spanish. Where                   x   “4.5 Personal Hygiene”;
   practicable, provisions for written translation shall
                                                                 x   “5.6 Telephone Access”; and
   be made for other significant segments of the
   population with limited English proficiency.                  x   “6.1 Detainee Handbook.”
   Oral interpretation or assistance shall be provided          “Standards to Prevent, Detect, and Respond to Sexual
   to any detainee who speaks another language in               Abuse and Assault in Confinement Facilities,” 79
   which written material has not been translated or            Fed. Reg. 13100 (Mar. 7, 2014).
   who is illiterate.
                                                                V. Expected Practices
10.     Detainees shall be released, removed or
   transferred from a facility only when staff have             A. Overview of Admission, Orientation and
   followed specified procedures and completed                  Release
   required forms.
                                                                As detailed below, each facility is required to
11. The facility shall maintain accurate records and
                                                                        , Inc.
                                                                implement written policies and procedures for the
                                                                    ivic 022
    documentation in an ICE/ERO approved                        intake and reception of newly arrived detainees, and
    electronic format on all detainees’ admission,
                                                                re C
                                                          . Co er 14, 2
                                                                to provide these detainees with information about
    orientation, discipline and release.
                                                   in o v         b
                                                                facility policies, rules and procedures. At intake,
                                             O   w          c e m
                                        in
     Detainees shall have access to one free telephone
                                                    in, D
                                                          e     detainees shall be searched, and their personal
                                ited as provided
     call during the admissioncprocess            2 1
                                           552
                                                                property and valuables checked for contraband,
                                     2 1 -
     the directive on “Detainee Transfers.”                     inventoried, receipted and stored. Each detainee’s
                             No.                                identification documents shall be secured and given
III. Standards Affected                                         to ICE/ERO. Medical screening protects the health of
                                                                the detainee and others in the facility, and the
This detention standard replaces “Admission and
                                                                detainee shall be given an opportunity to shower and
Release” dated 12/2/2008.
                                                                shall be issued clean clothing, bedding, towels and
IV. References                                                  personal hygiene items.

American Correctional Association, Performance-                 Each new arrival shall undergo screening interviews,
based Standards for Adult Local Detention                       and shall complete questionnaires and other forms.
                                                                For safety, security and good order of the facility,
Facilities, 4th Edition: 4-ALDF-2A-08, 2A-17, 2A-
                                                                each newly arrived detainee shall be kept separated
19, 2A-20, 2A-21, 2A-22, 2A-23, 2A-24, 2A-25,
                                                                from the general population until he/she is classified
2A-26, 2A-27, 2A-28, 2A-29, 2A-30, 2A-32, 2A-
                                                                and housed accordingly.
33, 2C-03, 2C-04, 2C-05, 3A-01, 4B-02, 4B-06,
4C-29, 5B-18, 6A-05, 7D-11, 7D-20.                              Each new arrival shall be oriented to facility
ICE/ERO Performance-based National Detention                    operations through written material in the form of
                                                                an ICE National Detention Handbook or
Standards 2011:
                                                                equivalent, covering such issues as access to health
 x    “2.2 Custody Classification System”;                      care services, sick call and grievance procedures, and

2.1 | Admission and Release                                50                                           PBNDS 2011
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the facility’s rules and prohibited acts. In some              immediately outside the room where the detainee
facilities, they may have an opportunity to view an            changes clothing and showers, with the door ajar to
orientation video.                                             hear what transpires inside. The staff member must
Before a detainee’s release, removal or transfer from          be prepared to intervene or provide assistance if
a facility, staff must follow specified procedures and         he/she hears or observes any indication of a possible
complete various forms.                                        emergency or contraband smuggling.
                                                               To maintain standards of personal hygiene and to
B. Intake and Reception
                                                               prevent the spread of communicable diseases and
1. Admission Processes                                         other unhealthy conditions within the housing units,
                                                               where possible, every detainee shall shower before
All facilities shall have in place a written policy and
                                                               entering his/her assigned unit. During the detainee’s
procedure related to the admissions process, which
                                                               shower, an officer of the same gender shall remain
shall include intake and admissions forms and
                                                               in the immediate area as described above.
screening forms. Staff members shall be provided
with adequate training on the admissions process at            3. Search of Clothing and Personal Items
the facility. Admission processes for a newly                  Staff shall focus search efforts on commonly used
admitted detainee shall include, but not be limited            hiding and smuggling places, such as pockets,
to:                                                            waistbands, seams, collars, zipper areas, cuffs and
a. recording basic personal information;
                                                                            Inc.
                                                               shoe exteriors and interiors, including under the
                                                                         ,
b. criminal history check;
                                                             r eC  ivic 022
                                                               inner soles.

c. photographing and fingerprinting, including no v.               r    4  , 2 all open containers, and
                                                           o shall also1inspect
                                                        CStaff
                                           O  w i         e m  beand store factory-sealed durable goods in
                                                         inventory
                                      in
   notation of identifying marks or other unusual       c
                                                      De accordance with facility procedures.
   physical characteristics; cited             2  1 ,
                                     1 -   52
                                         5and
                              o . 2
d. medical and mental health screenings;
                                                         Items discovered during the search of a detainee or
                            N                            his/her property shall be identified as:
e. inventory of personal property.
                                                               a. contraband, and processed in accordance with
2. Screening of Detainees                                         standard “2.3 Contraband”; or
All detainees shall be screened upon admission;                b. funds, valuables or other personal property, to be
screening shall ordinarily include:                               kept in the detainee’s possession or inventoried,
a. screening with a metal detector;                               receipted, stored or mailed to an address provided
                                                                  by the detainee, in accordance with standard “2.5
b. a thorough pat search; and                                     Funds and Personal Property.”
c. a search of each detainee’s clothing (and issuance          4. Strip Searches
   of institutional clothing).
                                                               a. Description
Staff shall permit the detainee to change clothing and            Staff shall not routinely require a detainee to
shower in a private room without being visually                   remove clothing or require a detainee to expose
observed by staff, unless the staff member has                    private parts of his/her body to search for
reasonable suspicion to search the detainee in                    contraband.
accordance with the following section on “Strip
Searches” and standard “2.10 Searches of Detainees.”              A strip search must take place in an area that
A staff member of the same gender shall be present                affords privacy from other detainees and from

2.1 | Admission and Release                               51                                          PBNDS 2011
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   facility staff who are not involved in the search.                by law enforcement officers;
   Observation must be limited to members of the                  3) discovery of a weapon or other contraband
   same sex.                                                         during a pat search, metal detector scan or
   The articulable facts supporting the conclusion                   other non-intrusive search;
   that reasonable suspicion exists must be                       4) the detainee’s criminal history, particularly
   documented.                                                       felony or misdemeanor convictions of crimes
   During all strip searches, a Form G-1025 (Record                  involving violence, weapons, contraband and
   of Search) or its equivalent shall be completed.                  illegal substances. Ordinarily, convictions for
                                                                     minor or non-violent offenses shall not be the
b. Reasonable Suspicion
                                                                     only basis for reasonable suspicion;
   Officers must obtain supervisory approval before
   conducting strip searches during admission or                  5) the detainee’s detention in concurrence with
   release. Staff may conduct a strip search during                  an arrest for a crime of violence; or the
   admission and release, only when there is                         detainee’s arrest in possession of a weapon or
   reasonable suspicion that contraband may be                       contraband such as illegal drugs;
   concealed on the person. “Reasonable suspicion”                6) information from law enforcement databases
   means suspicion based on specific and articulable                 or from other reliable sources suggesting that
   facts that would lead a reasonable detention                      the detainee has affiliations with terrorist
   officer to believe that a specific detainee is in
                                                                 ,  In c.
                                                           ivic 022
                                                                     organizations, criminal gangs or organized
   possession of contraband. This “reasonable
                                                    re  C            crime; or
                                           o v             r  1 4, 2history during confinement,
                                              . Co7) theedetainee’s
   suspicion” standard is a more permissive (lower)

                                       Owin
   standard than the “probable cause” standard, but
                                                  e m bparticularly of violence or possession of
                                    in        e c
                            cited 55221, D
   it nevertheless requires more than a mere hunch.
   It must be based on specific and articulable facts— contraband.
                                . 21-
   along with reasonable inferences that may be
                              o                     The lack of identity documents alone does not
                            N
   drawn from those facts—that the officer shall                  ordinarily constitute reasonable suspicion.
   document in Form 1025 (or contractor
                                                                  Before strip searching a detainee to search for
   equivalent).
                                                                  contraband, an officer shall first attempt to
   No simple, exact or mathematical formula for                   resolve his/her suspicions through less intrusive
   reasonable suspicion exists. In order for an officer           means, such as a thorough examination of
   to ascertain whether or not there is reasonable                reasonably available ICE, CBP and other law
   suspicion to believe that a detainee may have                  enforcement records; a pat-down search; a
   contraband that could pose a threat to                         detainee interview; or (where available) the use
   him/herself, staff members or other detainees,                 of a magnetometer or Boss chair. The officer shall
   the officer must review the totality of the                    document the results of those other, less
   individual’s circumstances. As part of this process,           intrusive, search methods on Form G-1025 (or
   an officer could consider certain factors,                     contractor equivalent).
   including but not limited to:
                                                               c. Gender of Inspector Staff of the same gender as
   1) observation of unusual, surreptitious or                    the detainee shall perform the search, except
      suspicious appearance or behavior;                          when circumstances are such that a delay would
   2) evasive or inconsistent responses to questions              mean the likely loss of contraband. Except in the
                                                                  case of an emergency or exigent circumstance, a

2.1 | Admission and Release                               52                                          PBNDS 2011
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   staff member may not perform strip searches of              7. Medical Screening
   detainees of the opposite gender. When a                    To protect the health of the detainee and others in
   member of the opposite gender from the detainee             the facility, each facility shall medically screen each
   must perform a strip search, a staff member of the          newly arrived detainee utilizing IHSC Form 795A, or
   same sex as the detainee must be present.                   equivalent, in accordance with standard “4.3
   When staff members of the opposite gender                   Medical Care.”
   conduct a strip search, staff shall document the            8. Establishment of a Detainee Detention File
   reason for the opposite-gender search in any logs
   used to record searches and in the detainee’s               As part of the admission process, staff shall open a
   detention file. Special care should be taken to             detainee detention file that shall contain all
   ensure that transgender detainees are searched in           paperwork generated by the detainee’s stay at the
   private. **Whenever possible, medical personnel             facility, in accordance with standard “7.1 Detention
   shall be present to observe the strip search of a           Files.”
   transgender detainee.                                       C. Clothing and Bedding
5. Search of Baggage and Personal Property
                                                               In accordance with standard “4.5 Personal Hygiene,”
In accordance with standard “2.5 Funds and Personal            staff shall issue clothing and bedding items that are
Property,” each facility shall have a procedure for            appropriate for the facility environment and local
taking inventory and receipt of detainee baggage and
                                                                                 I
                                                               weather conditions.
                                                                               ,  n c.
personal property (other than funds and valuables,
                                                                   e  C  ivic 022
                                                              D. rClassification
which are addressed below).
                                                          v. CInoaccordance
                                                                          r 1 4  ,2
Identity documents, such as passports, birth win
                                                        o        m  be with standard “2.2 Custody
                                                O
                                           in be 1, De       c e
certificates and driver’s licenses, e
                                  it   d
                                     shall also
                                c staff. 5522
                                                              Classification System” staff shall use the
                                                              documentation accompanying each new arrival for
inventoried and given to ICE/ERO
                                    .2    1 -
a. Facility staff shall prepareNanoitemized list of the
                                                              identification and classification purposes. If the
                                                               classification staff members are not ICE/ERO
   detainee’s baggage and personal property using              employees, ICE/ERO shall provide only the
   the personal property inventory form, or its                information needed for classification.
   equivalent. If a detainee has no baggage, staff
   shall use a facility container to store his/her             Under no circumstances may non-ICE/ERO
   personal property.                                          personnel have access to the detainee’s A-file.

6. Missing Detainee Property                                   The classification process determines the appropriate
                                                               level of custody for each detainee. Once this is
In accordance with standard “2.5 Funds and Personal            established, staff can issue the detainee clothing or a
Property,” each facility shall institute procedures for        wristband in the appropriate color for his/her
inventory and receipt of detainee funds and                    classification level, if applicable.
valuables.
                                                               New detainees shall remain segregated from the
When a newly arrived detainee claims his/her                   general population during the orientation and
property has been lost or left behind, staff shall             classification period, to the maximum extent
complete a Form I-387, “Report of Detainee’s                   practicable.
Missing Property.” IGSA facilities shall forward
completed Forms I-387 to ICE/ERO.                              E. Admissions Documentation


2.1 | Admission and Release                               53                                           PBNDS 2011
                                                                                             (Revised December 2016)
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An Order to Detain or an Order to Release the                    b. complete the biographical information in
detainee (Form I-203 or I-203a), bearing the                        blocks 1, 2, 3, 4, 5 and 6 with information
appropriate ICE/ERO Authorizing Official signature,                 provided in the detainee’s A-file or I-385.
must accompany each newly arriving detainee.                        (The detainee’s presence is not required for
Medical records and/or a book-in packet must                        this step);
accompany the arriving detainee, unless ICE/ERO
                                                                 c. attach the detainee’s photograph to the right of
and facility officials have authorized other
                                                                    the biographical data;
arrangements. Staff shall prepare specific documents
in conjunction with each new arrival to facilitate              d. record detainee responses (checking “yes” or
timely processing, classification, medical screening,              “no”) to section I interview questions
accounting of personal effects and reporting of                    covering recent doctor visits, hospital stays,
statistical data.                                                  drug and alcohol abuse and other physical and
                                                                   mental health conditions and concerns (on the
Forms requiring completion include, but are not                    forms for male detainees, strike the pregnancy
limited to, the Alien Booking Record (Form I-385 or                question and enter “N/A”);
equivalent); the housing assignment card and any
others used by the booking entity. Based on a one-             e. mark the diagrams of the human anatomy,
on-one interview with the newly arrived detainee,                 printed to the right of section I, to indicate the
the specially trained detention officer or designated             approximate locations of any bruises, scars,
medical officer shall also complete the IHSC Intake
                                                                             ,  I   c. and distinguishing
                                                                  cuts and othernmarks
Screening Form I-795A or comparable form.
                                                               r e    ivic observed
                                                                  characteristics
                                                                   C                0 2  2   on the detainee (if the
For SPCs the following criteria shall apply; CDFs ando v. C
                                                             o officer1who  4     2 the detainee is not the
                                                                               , searches
                                                   in             be   r
                                                                  officer completing    the questionnaire, he/she
IGSAs shall develop an equivalent process forO  w            e m
                                                           ec shall likewise mark the diagram);
                                 te d   in           1 , D
processing detainees:
                              c i            5 22
                                    2
   The Form I-385 or equivalent,. Alien1 - 5
                                          Booking
                                                               f. respond “yes” or “no” to the questions in
   Record or booking card,N
                                o
                             contains blocks in which
                                                                  section II, based on general observations of the
                                                                  detainee during the admissions process so far
   the processing officer shall enter information                 (e.g., compliance with orders, responsiveness,
   during the admissions process. In some                         demeanor, etc.);
   circumstances, the arresting or delivering office
   shall enter biographical information, including             g. circle the appropriate action of the above
   name, sex, age, date of birth, birthplace, country             questioning in “Section III,” below:
   of citizenship, A-number, medical alert, date                  1) “General Population”—applicable when
   apprehended, booking office, date of transfer and                 100 percent of responses to questions in
   places involved in transfer (origin and                           sections I and II are negative (“no” circled);
   destination).                                                     this authorizes the detainee’s release into
   If the arresting/delivering officer has not initiated             the facility’s general population after health
   a Form I-385 or equivalent, the admissions                        screening has been completed, once the
   processing officer is responsible for its                         classification level is established;
   completion, excluding the release information.                 2) “General Population with Referral to
   The admissions processing officer shall:                          Medical Care”—applicable when one or
   a. circle or write the name of the facility                       more responses to questions in sections I
       receiving the detainee;                                       and II are positive (“yes” circled) and,

2.1 | Admission and Release                              54                                          PBNDS 2011
                                                                                           (Revised December 2016)
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        though this could indicate any of several                   detainee that the wristband must remain on
        conditions, none causes immediate                           his/her wrist until removed by an officer, and
        concern; the detainee’s release into the                    that disregarding this requirement may lead to
        facility’s general population is authorized,                disciplinary action.
        with follow-up by the medical department;
                                                              F. Orientation
     3) “Referral for Immediate Medical
        Attention”—applicable when one or more                All facilities shall have a method to provide ICE/ERO
        positive responses in sections I and II cause         detainees an orientation to the facility as soon as
        immediate concern for the detainee’s                  practicable, in a language or manner that detainees
        physical or mental health; the officer                can understand. Orientation procedures in CDFs and
        informs the shift supervisor of the need for          IGSAs must be approved in advance by the local
        immediate medical attention; the shift                ICE/ERO Field Office.
        supervisor then contacts the medical              At SPCs, CDFs, and dedicated IGSAs, the facility
        department, describes the situation and           administrator shall produce an orientation video that
        does as instructed; and                           covers the required topics listed below and shall
     4) “Isolation until Medically Evaluated” —           screen it for every detainee. The video shall
        applicable when a positive response in            generally  be in English and Spanish and provisions
                                                          shall be made for other significant segments of the
        section I or II suggests a contagious disease,
                                                                               In
                                                          population with limited
                                                                            ,      c. English proficiency. The
        or when the detainee’s behavior during
                                                          facility C
                                                              r e     ivic shall
                                                                   administrator
                                                                                   0 2  2establish procedures that
        questioning seems threatening to self or
                                                       v.C o
                                                          ensure   the   1 4  ,  2
                                                                       availability of an interpreter for a detainee
        others; the officer prepares an             o                 r
                                                                 be not speak the language(s) used in the
                                            O
        administrative segregation order and,  winin     c
                                                          who
                                                           e m  does

                             c
        accordance with facility    d in the21, De video. The interpreter shall be available for
                               iteprocedures,
                                      1 -
        detainee is placed in the Special
                                    2     552             orientation and scheduled meetings with the
        Management Unit N      o. pending medical
                            (SMU)                         detainee. Outside sources may be used if necessary
                                                          to ensure compliance with this requirement,
        review. The medical review shall take place
        as soon as practical, but no later than 24        consistent with security measures.
        hours after isolation, even if this means             The orientation shall include the following
        involving on-call medical staff.                      information:
  h. after completing the form, provide signature             1. an overview of the facility operations that most
     and ID number in the signature block and, if                affect the detainees;
     the signature is illegible, neatly print name
                                                              2. typical detention-case chronology (what most
     above it;
                                                                 detainees can expect);
  i. print onto a color-coded wristband, if                   3. authority, responsibilities and duties of security
     applicable, the detainee’s information,                     officers;
     including but not limited to the following:
     name and A-number; housing and bunk                      4. procedures for the detainee to contact the
     assignment; and the Form I-77 number; and                   deportation officer handling his/ her docket;
  j. strap the color-coded wristband, if applicable,          5. availability of pro bono legal services, and how to
     around the detainee’s wrist in a way that shall             pursue such services in the facility, including
     not cause circulation problems. Advise the                  accessing “Know Your Rights” presentations

2.1 | Admission and Release                              55                                            PBNDS 2011
                                                                                             (Revised December 2016)
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   (e.g., location of current listing);                        clearly to detainees how to use the telephone system
6. standards of conduct, including acceptable and              to make telephone calls, including free telephone
   unacceptable detainee behavior, with an overview            calls to consulates and free legal service providers.
   of other rules and requirements;                            G. Detainee Handbook
7. disciplinary procedures, including criminal                 1. In accordance with standard “6.1 Detainee
   prosecution, grievance procedures, appeals                     Handbook,” every facility shall issue to each
   process;                                                       newly admitted detainee a copy of the ICE
8. the facility’s Sexual Abuse and Assault Prevention             National Detainee Handbook (handbook) and
   and Intervention Program, including (at a                      local supplement that fully describes all policies,
   minimum):                                                      procedures and rules in effect at the facility.
   a. self-protection;                                         2. The handbook and supplement shall provide a
                                                                  more detailed discussion of the material covered
   b. prevention and intervention;                                in the video overview. The handbook and
   c. reporting sexual abuse or assault; and                      supplement shall be in English and Spanish or
   d. treatment and counseling.                                   English and provisions for written translation
                                                                  shall be made for other significant segments of
9. introduction to the individual departments (e.g.,              the population with limited English proficiency.
   recreation, medical); the various housing units;
                                                                                , In c.
                                                                  Detainees shall be allowed to keep the handbook
   and food services, including availability of diets
                                                                    e  C  ivic 022
                                                                  and supplement with them in their living
                                                                  r
   which satisfy religious requirements;
                                                         o v. Co er 14, 2
                                                                  quarters.
10. schedule of programs, services and daily   O   w in         e If abdetainee does not understand the language of
                                                                  m
                                       d in usage,            c3.
                                                           De the handbook and supplement, the facility
                               c  itetelephone
    activities, including visitation,
                                                    2  1 ,
    mail service, religious programs, count
                                       2  1 - 552                 administrator shall provide a translator or access
    procedures, access to and No use. of the law library          to interpreter services as soon as possible for the
   and the general library, and sick-call procedures;             purpose of orientation. When needed, and in
11. voluntary work program, with specific details                 compliance with security regulations, the facility
    including how to volunteer; and                               administrator may contact an outside source.
12. how the detainee can file formal complaints with           4. As part of the admissions process, the detainee
    the DHS Office of the Inspector General (OIG).                shall acknowledge receipt of the handbook and
                                                                  supplement by signing where indicated on the
Facility administrators at non-dedicated facilities
                                                                  back of the Form I-385 (or on a separate form).
shall, to the extent practicable, produce an
orientation video as described above and screen it for            a. The designated spot on the back of the Form I-
all detainees. Facility administrators at non-                       385 may be a stamped entry containing the
dedicated facilities shall screen for all detainees any              date of issue; handbook number, if applicable;
orientation video provided to them by ICE/ERO.                       initials and ID number of the issuing officer;
                                                                     detainee-signature line; and space for date of
Following the orientation, staff shall conduct a
                                                                     return and the receiving officer’s initials and
question-and-answer session. Staff shall respond to
                                                                     ID number.
the best of their ability. Under no circumstance may
staff give advice about a legal matter or recommend               b. The stamp used for the handbook and
a professional service. Staff shall also demonstrate                 supplement issuance may contain an identical

2.1 | Admission and Release                               56                                           PBNDS 2011
                                                                                             (Revised December 2016)
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      section for locker-key issuance.                            after doing so, to return to the officer for further
   c. If a form is used instead of a stamp or                     instruction. If the detainee is physically unable to
      comparable notation on the back of the Form                 remove his/her facility-issued and personal items,
      I-385, the officer must record the detainee’s               assistance shall be provided.
      name and A-number in addition to the above-              7. The officer shall remove the detainee’s housing-
      required information. The form is maintained                identification card from the file system and turn it
      in the detainee’s detention file.                           over to the detainee. The detainee will then report
                                                                  to the processing office.
H. Releases
                                                               8. At this stage of the detainee’s out-processing, the
Facility staff assigned to processing must complete               control officer shall remove any Form G-589
certain procedures before any detainee’s release,                 receipts from the detainee’s detention file. The
removal, or transfer from the facility. Necessary steps           control officer shall give the Form G-589(s) to
include, but are not limited to: completing out-                  the shift supervisor for further action, and send
processing forms; closing files and fingerprinting;               the remaining documents to the processing
returning personal property; reclaiming facility-                 office.
issued clothing, identification cards, handbooks, and
bedding; and checking wants and warrants. ICE/ERO                 a. The shift supervisor shall compare the
shall approve all facility release procedures.                       information on the blue portion of the Form
                                                                                In c.
                                                                     G-589 with that on the pink triplicate portion
                                                                             ,
1. A detainee’s out-processing begins when release
                                                                r e C  ivic 022
                                                                     and, if they match in all particulars, shall
                                                          . Co er 14, 2
   processing staff receive the Form I-203, “Order to                remove the pink copy from its safeguards.
   Detain or Release,” signed by an authorizing
                                                   in  o v
                                                w             e b. b
                                                                m
   official.
                                      in    O             e c      After verifying the information on each

                            citedis responsible 2 2  1 ,D          portion of the G-589, the shift supervisor shall
2. The requesting ICE/ERO official
                                   2 1  - 5the5     for            remove the funds and valuables from
                          No.
   having all documentation required for                           safeguards, attach the two portions of the
   detainee’s release or transfer complete and ready                 Form G-589, make the necessary log entries,
   for use by out-processing officers.                               place the items in a secure container, and
3. After verifying the documents, the facility shall                 deliver the container to the processing officer.
   use the most expeditious communication system               9. When the detainee arrives in the processing
   (e.g., public address system) to instruct the                  office, the processing officer shall verify the
   detainee to report to the nearest officer.                     detainee’s identity, and take physical possession
4. Provide detainee medications and a detailed                    of the housing-identification card, handbook,
   medical care summary as described in “Medical                  supplement and locker key (if issued) handed
   Records” in Standard “4.3 Medical Care.”                       back by the detainee. The officer shall then date
                                                                  and sign the back of the Form I-385 or specified
5. The officer shall check the wristband of the
                                                                  form and remove the bottom portion(s) of the
   detainee, who reports as instructed, to verify
                                                                  detainee’s Form I-77(s).
   his/her identity.
                                                                  a. The Form I-77 authorizes the removal from
6. The officer shall advise the detainee to remove all
                                                                     storage of the detainee’s personal property, as
   facility-issued items, including the handbook,
                                                                     inventoried on the form.
   supplement and locker key (if issued) and
   personal property from the housing unit, and                   b. Before returning the property to the detainee,

2.1 | Admission and Release                               57                                           PBNDS 2011
                                                                                             (Revised December 2016)
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      the officer shall explain the form and require              c. place the returned clothing and bedding,
      the detainee to sign his/her name on the                       excluding the mattress, in the bin designated
      bottom of the Form I-77 or on a separate piece                 for soiled items—these shall be laundered and
      of paper. The officer shall compare this                       sanitized as appropriate before reuse;
      signature with the signature on the back of the             d. set aside the plastic-covered or -sheathed
      top portion of the I-77 that is attached to the                mattress for rinse and wipe-down with
      property. If the signatures appear the same, the               disinfectant or other solution prescribed by the
      officer shall return the items to the detainee.                medical department; and
   c. The detainee shall check his/her property                   e. in the event property is missing, provide Form
      against the original personal property                         I-387 to the detainee.
      inventory form. If all property is correctly
      accounted for, the detainee shall sign the               11. The processing officer shall compare the blue
      inventory sheet, a copy of which the officer                 and pink copies of the Form G-589 with the
      shall place in the detainee’s detention file. The            white copy presented by the detainee. If the
      detainee shall be provided a copy of the signed              detainee’s documentation is in order, the officer
      form upon request.                                           shall return the detainee’s funds and secure the
                                                                   detainee’s signature, confirming receipt of the
   d. If after property is checked against the                     inventoried property on the blue copy of the G-
      detainee’s property inventory sheet Form G-
                                                                 ,  In c.
                                                                   589. The facility shall retain all three copies
      589, I-77 or equivalent, it is determined that
                                                    re  C  ivic 022(blue, pink and white) of the closed-out G-589
                                              . Co er 14, 2
      property is missing or unaccounted for, the                  in the detainee’s detention file.
                                           o v
      detainee shall complete a Form I-387 ‘Report
                                         in
                                        w         e If b
                                                    m
                                   in  O        c
      of Detainee’s Missing Property’ or equivalent.
                                              e
                                                       the detainee claims to have lost the white

                            cited 55221, D
      The detainee shall be informed as to how the  portion of the Form G-589, the processing officer
                                  1  -
      property shall be returned to him/her when/if
                                2
                                                    shall note this on the blue copy, which he/she
                            No.
      it is located. The detainee shall be provided and the detainee shall certify by signing
                                                                   immediately below. Staff should ensure that the
      instructions on the appropriate office to
      contact in order to follow-up on the                         content of the form is clear and that the detainee
      government’s search for the detainee’s lost                  is made fully aware of what he/she is signing in a
      property, in accordance with standard “2.5                   language or other manner which the detainee can
      Funds and Personal Property.”                                understand.
10. The detainee shall be permitted to change into             I. Releases or Removals
    his or her own clothing in a private part of the
                                                               The time, point and manner of release from a facility
    processing area, within earshot but not eyeshot.
                                                               shall be consistent with safety considerations and
    The staff shall:
                                                               shall take into account special vulnerabilities. Prior to
   a. instruct the detainee to remove all facility-            release, the detainee shall be notified of the
      issued clothing, and to dress in his/her                 upcoming release and provided an opportunity to
      personal clothing;                                       make a free phone call to facilitate release
   b. inspect the condition and quantity of facility-          arrangements.
      issued clothing, bedding, etc., surrendered by           Facilities that are not within a reasonable walking
      the detainee;                                            distance of, or that are more than one mile from,
                                                               public transportation shall transport detainees to

2.1 | Admission and Release                               58                                            PBNDS 2011
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local bus/train/subway stations prior to the time the        vulnerability, or as a result of weather or other
last bus/train leaves such stations for the day. If          environmental conditions at the time of release that
public transportation is within walking distance of          may endanger the health or safety of the detainee.
the detention facility, detainees shall be provided          Detainees will be provided with a list of legal,
with an information sheet that gives directions to           medical, and social services that are available in the
and describes the types of transportation services           release community, and a list of shelter services
available. However, facilities must provide                  available in the immediate area along with directions
transportation for any detainee who is not                   to each shelter. Detainees will be released with one
reasonably able to walk to public transportation due         set of non-institutionalized, weather-appropriate
to age, disability, illness, mental health or other          clothing.




                                                           , Inc.
                                                   re Civic 022
                                          o v. Co er 14, 2
                                      Owin       e m b
                                   in        e c
                           cited 55221, D
                             o . 21-
                           N




2.1 | Admission and Release                             59                                          PBNDS 2011
                                                                                           (Revised December 2016)
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2.2 Custody Classification                                        custody classification, but of that detainee’s general
                                                                  case status, disciplinary record, housing, special
    System                                                        needs, adjustment to institutional living,
                                                                  opportunities for voluntary work assignments and
I. Purpose and Scope                                              general well-being.

This detention standard protects detainees, staff,                This detention standard applies to the following
contractors, volunteers and the community from                    types of facilities housing ICE/ERO detainees:
harm, and contributes to orderly facility operations,               x   Service Processing Centers (SPCs);
by requiring a formal classification process for
managing and separating detainees based on                          x   Contract Detention Facilities (CDFs); and
verifiable and documented data.                                     x   State or local government facilities used by
In accordance with the requirements and guidelines                      ERO through Intergovernmental Service
of this detention standard, each facility is required to                Agreements (IGSAs) to hold detainees for more
have in place a formal detainee classification system                   than 72 hours.
that starts at admission and is based on verifiable and           Procedures in italics are specifically required for
documented information. Each detainee’s custody                   SPCs, CDFs, and Dedicated IGSA facilities. Non-
classification must be determined through                         dedicated IGSA facilities must conform to these
application of the ICE custody classification process
                                                                      , In  c.
                                                                  procedures or adopt, adapt or establish alternatives,
described herein or a similar locally established
                                                           re C  ivic 022
                                                                  provided they meet or exceed the intent represented
system approved by ICE/ERO, to categorize
                                                  o v. Co er 14, 2by these procedures.

                                            O  win
detainees and physically separate them in accordance
                                                         e m b terms used in this standard may be defined
with those classification levels.                      c
                                    d in 21, De in standard “7.5 Definitions.”
                                                        Various
                             c i te
                                        - 552are
Some factors relevant to custody classification
                                    2 1
                            No. assessment process
part of the broader ICE intake risk
that often begins before a detainee’s arrival at a
                                                        II. Expected Outcomes
detention facility. Classification of ICE detainees also          The expected outcomes of this detention standard
occurs in a variety of contexts and may be performed              are as follows (specific requirements are defined in
by a variety of personnel, including ICE or facility              “V. Expected Practices”):
staff. The general principles articulated in this                 1. The community, staff, contractors, volunteers and
standard apply to all facilities that ICE uses. Facilities           detainees shall be protected from harm through a
are also encouraged to utilize the ICE Custody                       formal classification process, for managing and
Classification Worksheet, Instructions, Severity of                  separating detainees by threat risk and special
Offense Scale, and Disciplinary Offenses Involving                   vulnerabilities or special management concerns
Violence or Behavior Representing a Threat to the                    that is based on verifiable and documented data.
Facility attached as Appendices 2.2.A, 2.2.B, 2.2.C,
                                                                  2. Each detainee shall be expeditiously classified
and 2.2.D. Facilities which receive a recommended
                                                                     upon admission to the facility and before being
custody classification or custody classification score
                                                                     admitted into general population housing.
generated by an ICE Field Office are encouraged to
follow it.                                                        3. Detainees shall be protected from harm by
                                                                     assigning detainees housing with persons of
“Classification” and “reclassification” are initial and
                                                                     similar backgrounds and criminal history.
periodic staff reviews, not only of a detainee’s

2.2 | Custody Classification System                          60                                            PBNDS 2011
                                                                                                 (Revised December 2016)
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4. Each detainee’s custody classification, housing,             This detention standard replaces “Classification
   and work assignment shall be reviewed at regular             System” dated 12/2/2008.
   intervals, as well as when required by changes in
   the detainee’s behavior or circumstances, and                IV. References
   upon discovery of additional, relevant                       American Correctional Association, Performance-
   information.                                                 based Standards for Adult Local Detention
5. Detainees shall be able to appeal their custody              Facilities, 4th Edition: 4-ALDF-2A-30, 2A-31, 2A-
   classification level and other assignments.                  32, 2A-33, 2A-34.
6. Detainees with special vulnerabilities will be               ICE/ERO Performance-based National Detention
   identified and consideration will be given to                Standards 2011:
   providing appropriate accommodation.
                                                                  x   “2.11 Sexual Abuse and Assault Prevention and
7. Detainees shall be assigned to the least restrictive               Intervention”;
   housing unit consistent with facility safety and
                                                                  x   “2.12 Special Management Units”;
   security.
8. The facility shall provide communication                       x   “2.13 Staff-Detainee Communication”;
   assistance to detainees with disabilities and                  x   “5.8 Voluntary Work Program”; and
   detainees who are limited in their English
                                                                  x
                                                                   ,  I n c.
                                                                      “6.2 Grievance System.”
                                                            ivtoicPrevent,0Detect,
   proficiency (LEP). The facility will provide
   detainees with disabilities with effective          e C
                                                  “Standards
                                                   o r                  2   2  2 and Respond to Sexual
   communication, which may include the
                                          ino v. CAbuse b e r 14,(Mar.
                                                        and Assault    in Confinement Facilities,” 79
                                        Ow
   provision of auxiliary aids, such as readers,
                                                 c   m
                                                  Fed.
                                                   e   Reg. 13100           7, 2014).
                                     in        e
                             cited 55221, D V. Expected Practices
   materials in Braille, audio recordings, telephone

                                   21-
   handset amplifiers, telephones compatible with
                             N o .
   hearing aids, telecommunications devices for deaf
                                                  A. Standards
   persons (TTYs), interpreters, and note-takers, as
   needed. The facility will also provide detainees             Each facility shall develop and implement a system
   who are LEP with language assistance, including              for classifying detainees in accordance with this
   bilingual staff or professional interpretation and           Detention Standard. Facilities may rely on the ICE
   translation services, to provide them with                   Custody Classification Worksheet, or a similar locally
   meaningful access to its programs and activities.            established system, subject to ICE/ERO evaluation
                                                                and approval, as long as the classification criteria are
   All written materials provided to detainees shall
                                                                objective and uniformly applied, and all procedures
   generally be translated into Spanish. Where
                                                                meet ICE/ERO requirements.
   practicable, provisions for written translation shall
   be made for other significant segments of the                Each facility administrator shall require that the
   population with limited English proficiency.                 facility’s classification system ensures the following:
   Oral interpretation or assistance shall be provided          1. All detainees shall be classified upon arrival and
   to any detainee who speaks another language in                  before being admitted into the general population
   which written material has not been translated or               of the facility. ICE/ERO staff shall provide
   who is illiterate.                                              facilities the data needed from each detainee’s file
                                                                   to complete the classification process;
III. Standards Affected
2.2 | Custody Classification System                        61                                              PBNDS 2011
                                                                                                 (Revised December 2016)
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2. All facility staff assigned to classification duties         checks, or other objective sources of information.
   shall be adequately trained in the facility’s                Relevant considerations include any current criminal
   classification process. Each staff member with               offense(s), past criminal offense(s), escape(s),
   detainee in-processing responsibilities shall                institutional disciplinary history, documented violent
   receive on-site training;                                    episode(s) and/or incident(s), medical information
3. Any detainee who cannot be classified because of             or a history of victimization. Personal opinion,
   missing information at the time of processing                including opinions based on profiling, familiarity or
   (e.g., the results of a criminal record check) shall         personal experience, may not be considered in
   be kept separate from the general population.                detainee classification.
   Once the needed information is obtained,                     Special consideration shall be given to any factor that
   classification shall be expedited, and the detainee          would raise the risk of vulnerability, victimization or
   may be housed in the general population, if                  assault. Detainees who may be at risk of
   warranted;                                                   victimization or assault include, but are not limited
4. Each detainee’s classification shall be reviewed             to, persons with disabilities, persons who are
   and approved by a first-line supervisor or                   transgender, elderly, pregnant, suffering from a
   classification supervisor; and                               serious medical or mental illness, and victims of
                                                                torture, trafficking, abuse, or other crimes of
5. Detainees shall be assigned to housing, offered              violence. This process should incorporate the
   recreation and other activities, and assigned to
                                                                           , In  c.
                                                                requirements in Standard 2.11 “Sexual Abuse and
   voluntary work, according to their classification
                                                            r e C   ivic 022
                                                                Assault Prevention and Intervention” regarding
   levels.
                                                  o  v. Co er 14, 2
                                                                assessment of risk for victimization or perpetration
B. Custody Classification Score Owin                    c e m  bof sexual abuse or assault.
                                        n            De Consistent with Standard 4.8 “Disability
                                 ted i 5detainees
                              cicategorizing   2 1 ,
                                        -5 2them
“Classification” is a process of
as low, medium or high custody.and  2 1housing
                                                         Identification, Assessment, and Accommodation,”
                             No
accordingly. Research has shown that discretionary
                                                         the facility shall use any information about identified
                                                                disabilities in making classification and housing
decisions about custody classification are more
                                                                decisions. Detainees with disabilities shall be housed
objective and consistent when guided by a process
                                                                in the least restrictive and most integrated setting
that systematically uses verifiable and documented
                                                                possible consistent with facility safety and security,
information, and scores those factors appropriately.
                                                                and provided an equal opportunity to participate in
In making classification decisions, facilities use the          or benefit from the facility’s programs and activities.
recommended custody classification generated by
the ICE Field Office, or utilize the ICE Custody
                                                                When making classification and housing decisions
Classification Worksheet (or similar system) to
                                                                for a transgender or intersex detainee, staff shall
systematically produce a classification score for each
                                                                consider the detainee’s gender self-identification and
detainee.
                                                                an assessment of the effects of placement on the
C. Classification Information                                   detainee’s health and safety. A medical or mental
                                                                health professional shall be consulted as soon as
During the classification process, staff shall reference
                                                                practicable on this assessment. Placement decisions
facts and other objective, credible evidence
                                                                of transgender or intersex detainees should not be
documented in the detainee’s A-file, work-folders,
                                                                based solely on the identity documents or physical
ICE automated records systems, criminal history
                                                                anatomy of the detainee, and a detainee’s self-

2.2 | Custody Classification System                        62                                           PBNDS 2011
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identification of his/her gender and self-assessment              x   A written or oral account from any interested
of safety needs shall always be taken into                            party, unless and until it has been officially
consideration as well. The placement shall be                         confirmed;
consistent with the safety and security considerations
                                                                  x   Unconfirmed and unverified information
of the facility, and placement and programming
                                                                      provided by the detainee; and
assignments for each transgender or intersex
detainee shall be reassessed at least twice each year to          x   The unverified personal opinion of officers and
review any threats to safety experienced by the                       other personnel.
detainee.
                                                                D. Intake Processing and Initial
As appropriate, ICE/ERO offices shall provide non-                Classification
ICE/ERO facilities with the relevant information for
the facility to classify ICE/ ERO detainees.                    The facility shall segregate the detainee from the
                                                                general population pending receipt and processing
Classification staff shall utilize translation services
                                                                of information needed for classification, as specified
when necessary.
                                                                above.
1. Examples of Acceptable Forms and Information
                                                                The initial classification process and initial housing
  x   I-862—Notice to Appear (charging document                 assignment shall be completed within 12 hours of
      for aliens in removal proceedings);                       admission to the facility. If the process takes longer,
                                                                         ,  In  c.
                                                                    ivic 022
                                                                documentation shall be maintained to explain the
  x I-221—Order to Show Cause (OSC/WA) and
                                                            re  C
                                                                cause of the delay and to indicate that the detainee
    Notice of Hearing, with bond conditions
                                                 o v . Co er 14, 2
                                                                shall be housed appropriately.
                                        O  w  in
    (charging documents for aliens in deportation
                                                         e m   b
    proceedings);
                                d   in             D e cAfter  completion   of the in-processing health
                          cittoeApplicant  2 21  ,      screening form (IHSC-795A or equivalent), the
                                      5 5
                                21-before
  x I-110 and I-122—Notice                for
                                                        classification officer assigned to intake processing
    Admission, Detained for o
                         N    .
                            Hearing
                                                        shall review information provided by ICE/ERO and
      Immigration Judge (charging documents for
                                                                complete a custody classification worksheet or
      aliens in exclusion proceedings);
                                                                equivalent.
  x   Form I-203—Order to Detain or Release;                    Upon completion of the classification process, at
  x   All conviction documents relating to charges              facilities where applicable, staff shall assign
      on Form I-221, I-862, and I-110/122 above;                individual detainee’s color-coded uniforms,
                                                                wristbands, or other means of custody identification.
  x   Criminal History (Rap Sheet)—NCIC/CII/TII,
                                                                A system of color-coding permits staff to identify a
      etc.;
                                                                detainee’s classification on sight, thereby eliminating
  x   Final order of removal; and                               confusion, preventing potentially serious
                                                                miscommunication, and facilitating consistent
  x   Any Executive Office for Immigration Review
                                                                treatment of detainees.
      (EOIR) or other official record or observation
      that is verifiable.                                       E. Supervisory Review and Custody
2. Examples of Unacceptable Sources of                             Classification Assignment
   Information that May Not Form the Sole Basis of
                                                                The designated classification supervisor or facility
   Classification
                                                                administrator designee shall review the intake

2.2 | Custody Classification System                        63                                            PBNDS 2011
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processing officer’s classification files for accuracy and        high custody detainees.
completeness and ensure that each detainee is
                                                                   x   May not include any detainee with an arrest or
assigned to the appropriate housing unit.
                                                                       conviction that included an act of physical
The reviewing supervisor may recommend changes                         violence, or any detainee with a history of
in classification due to:                                              assaultive behavior.
1. Pertinent incidents of any kind (e.g., disciplinary,            x   May not include any detainee with a felony
   medical, victimizations, sexual assaults as either a                conviction for an offense that is listed under
   victim or perpetrator, etc.) while in custody;                      the “High” or “Highest” section of the severity
2. A classification appeal by a detainee or recognized                 of offense guideline (Appendix 2.2.C).
   representative (see below); or                                  x   May include detainees with minor criminal
3. Specific, creditable, documented and articulated                    histories and non-violent felony charges and
   facts that surface after the detainee’s admissions                  convictions.
   processing.                                                    2. Medium Custody
F. Classification Levels and Housing                              Medium custody detainees may not ordinarily be co-
Assignments                                                       mingled with high or low custody detainees, except
                                                                  as specified below in the section on “G. Housing
All facilities shall ensure that detainees are housed
                                                                 ,   n c.
                                                                  Detainees with Different Classification Levels.”
                                                                    I
according to their classification levels. Participation
                                                        C
                                                   x reMay  vicinclude a 2detainee
                                                           inot              2 whose most recent
                                                  o
in work assignments and available activities shall be
                                                 C              4  ,  2 0 any
                                            o v.
determined to be consistent with safety and security
                                          in           b e  r 1
                                                       conviction  was for      offense listed under the

                                      n Ow Decem“Highest”
considerations. Under no circumstances shall issues
                                     i
                                                                  section of the severity of offense

                             cited 55221,
of facility management, or other factors external to   guideline (Appendix 2.2.C).

                               o . 21-
the detainee classification system, influence a    x May not include any detainee with a history or
                             N
detainee’s classification level.                       pattern of violent assaults.
SPCs, CDFs and dedicated IGSAs use either the                      x   May not include a detainee convicted for
recommended custody classification generated by                        assault on a correctional officer while in
the ICE Field Office or the point total from the ICE                   custody or where a previous institutional
Custody Classification Worksheet to determine the                      record suggests a pattern of assaults while in
classification level of each detainee.                                 custody.
Non-dedicated IGSAs are encouraged to use the ICE                 3. High Custody
Custody Classification Worksheet, or to adopt the
ICE custody classification score generated by an ICE               x   High custody detainees may be reclassified to
Field Office when one is provided.                                     medium only based on institutional behavior
                                                                       provided items under number 2 above do not
Non-dedicated IGSAs that do not use the ICE                            apply. A detainee must be in custody for a
Custody Classification Worksheet or rely on an ICE                     minimum of 60 days before reclassification.
custody classification recommendation shall follow
the guidelines below when classifying detainees.                   x   High custody detainees shall not be assigned work
                                                                       duties outside their assigned living areas.
1. Low Custody
                                                                   x   High custody detainees:
Low custody detainees may not be comingled with

2.2 | Custody Classification System                          64                                           PBNDS 2011
                                                                                                 (Revised December 2016)
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      
          are considered high-risk,                             4. Medium-high and high custody detainees are
      
          require medium- to maximum-security                      those with a history of violent or assaultive
          housing,                                                 charges, convictions, institutional misconduct, or
                                                                   those with a gang affiliation
      
          are always monitored and escorted, and
                                                                5. Under no circumstance may a medium custody
      
          may not be co-mingled with low custody                   detainee with a history of assaultive or combative
          detainees.                                               behavior be placed in a low custody housing unit.
The facility classification system shall assign                 ICE may provide to facilities specific
detainees to the least restrictive housing unit                 recommendations or scores based on the ICE custody
consistent with facility safety and security. Grouping          classification system to further guide facility housing
detainees with comparable histories together, and               assignments.
isolating those at each classification level from all
others, reduces non-criminal and nonviolent                     H. Reclassification
detainees’ exposure to physical and psychological               All facility classification systems shall ensure that a
danger. The system identifies and isolates the                  detainee is reassessed and/or reclassified.
detainees whose histories indicate the characteristics          Reclassification assessments shall take into account,
of the “hardened criminal” and who are most likely              among other factors, the detainee’s risk of
to intimidate, threaten or prey on the vulnerable.
                                                                ,   In c.
                                                                victimization or abusiveness.

                                                   e C     vic whether22
                                             Staff shall irecord
In facilities that have single cell living arrangements,                    a classification process is
                                                 r
                                              o conducted               0
                                                                  ,for2an initial classification or
                                          . Cbeing
detainees that pose an immediate and serious threat
                                       o v                r  1 4
                                 O   in
of violence to staff, other detainees, or themselves
                                    w               be
                                             subsequent
                                              e m           reclassification:
shall be housed there.                      c
                          d in 21, De 1. The first reclassification assessment shall be
                      cite
                          2 1   552
G. Housing Detainees with Different
                              -                 completed 60 to 90 days after the date of the
Classification Levels No.                       initial classification.

Ordinarily, detainees in different custody                      2. Subsequent reclassification assessments shall be
classification levels are housed separately. When it               completed at 90- to 120-day intervals.
becomes necessary to house detainees of different               3. Special Reclassification Assessments
classification levels in the same housing unit, the                Staff shall complete a special reclassification
following guidelines shall apply:                                  within 24 hours before a detainee leaves the
1. High custody detainees may not be housed with                   Special Management Unit (SMU), following an
   low custody detainees.                                          incident of abuse or victimization, and at any
                                                                   other time when warranted based upon the
2. Low custody detainees and medium-low custody                    receipt of additional, relevant information, such
   detainees may be housed together, and medium-                   as after a criminal act, or if a detainee wins a
   high custody detainees and high custody                         criminal appeal, is pardoned or new criminal
   detainees may be housed together:                               information comes to light.
3. Medium-low custody detainees are those with no                  If it is documented, suspected or reported that a
   history of violent or assaultive charges or                     detainee has been physically or sexually abused or
   convictions, no institutional misconduct, and no                assaulted, the victim’s perception of his or her
   gang affiliation.                                               own safety and well-being shall be among the

2.2 | Custody Classification System                        65                                            PBNDS 2011
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  factors considered.                                           x   A detainee may be reclassified any time there
  A detainee may request reclassification in writing                are medically documented changes in his/her
  by submitting a detainee request form, as                         medical or mental health condition.
  described in standard “2.13 Staff-Detainee                   I. Classification Appeal
  Communication.” The classification officer shall
  ordinarily respond in person or in writing as soon           Classification decisions should be provided to the
  as possible and practicable, but no later than               detainee along with information on the appeal
  within 72 hours of receipt. Any reclassification,            process in a language and manner understood by the
  however, requires prior supervisory approval on              detainee.
  the custody classification form.                             Classification systems shall include procedures for
4. Permissible Changes                                         detainees to appeal their classification levels through
                                                               written detainee request forms or by filing formal
 x   A detainee may be reclassified at any time to             grievances as described in standard “6.2 Grievance
     correct classification errors or when new                 System.”
     information becomes available.
                                                               J. Documentation
 x   A detainee may be reclassified to high custody
     based on documented behavior, including                   Classification forms and supporting documentation
                                                               shall be placed in the detention file.
                                                                       c.
     threats to the facility, other detainees or
     personnel. Any reclassification to high custody           K. Notice     , In
                                                                       ivtoicDetainees
     that is not validated by the total custody
                                                C o rICE        4    2 022 standard section on
                                                     eCDetainee, Handbook
                                          o v. classification
                                                           r 1shall include:
                                                 The
     classification score on the custody classification
                                   w  in              b e
                             d i  O
     form must be approved by the classification
                                n           D e cem
                       cite 55221         ,
     officer within 72 hours of any event requiring
                                                  x An explanation of the classification levels, with
     reclassification.
                         o . 21-                      the conditions and restrictions applicable to
                      N may be reclassified
 x A medium custody detainee                          each.
     to low custody based on institutional behavior,            x   The procedures by which a detainee may
     provided the detainee has been in custody for                  appeal his or her classification.
     at least 60 days.




2.2 | Custody Classification System                       66                                           PBNDS 2011
                                                                                              (Revised December 2016)
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Appendix 2.2.A: ICE Custody Classification Worksheet

                                             ICE Custody Classification Worksheet
Part 1. Basic Information                            Initial                  Reclassification              Special Classification
Field/Sub Office:                             Facility:                                          Date:
Officer Name:                                 Language(s) Used during the Interview:


Alien Number:                                                   DOB:                             Gender:               F             M

Last Name:                                                                  First Name:


Part 2. Special Vulnerabilities and Management Concerns
         Does a Special Vulnerability exist? Inquire, observe, and review all documentation. If based on your
         assessment the vulnerability exists, select the appropriate boxes below. Also indicate whether there are
                                                                                                                           Y         N
         other management concerns that may affect the custody decision.

             serious physical illness
                                                                , Inc.
             serious mental illness
                                                        re Civic 022
             disability
                                               o v. Co er 14, 2
             elderly
                                           Owin       e m b
                                        in        e c
                                cited 55221, D
             pregnancy
             nursing

                                    . 21-
             sole caretaking responsibility
                                  o
                                N
             risk based on sexual orientation/gender identity
             victim of persecution/torture
             victim of sexual abuse or violent crime
             victim of human trafficking
             other (specify):

         Provide further explanation as necessary:




         If any boxes are checked, consult with the local ICE Field Office regarding appropriate placement and other management
         considerations, and record the date and time of consultation here:


2.2 | Custody Classification System                                    67                                               PBNDS 2011
                                                                                                            (Revised December 2016)
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Part 3. Custody Classification Worksheet
        Severity of Charge/ Conviction Associated with the ICE Encounter
  1
        (Use Appendix 2.2.C Severity of Offense Scale)
        None                                                                                                           0
                                                                                                                               Enter the
        Low                                                                                                            2      score here:
        Moderate                                                                                                       4
        High                                                                                                           6
        Highest                                                                                                        7
  2     Single Most Serious Conviction in the Individual’s Criminal History (Excluding Item 1)

                                             None        >15 Years        10-15 Years       5-10 Years          < 5 Years      Enter the
                                                                                                                              score here:
                          Highest              0              5                5                 6                 7
           See Appendix
               2.2.C




                           High                0              5                5                 6                 6
                          Moderate             0              1                2                 3                 4
                           Low                 0              0                0                 1                 2
  3     Additional Prior Convictions (Excluding Items 1 and 2)
        None                                                                                                           0       Enter the
        1-2 misdemeanors, no felonies                                                                                  1      score here:
        3-4 misdemeanors, or 1 felony
                                                                                            ,   In c.                  2
        5 or more misdemeanors, or 2 felonies
                                                                              re  C  ivic 022                          4
  4     Supervision History
                                                              o   v . Co er 14, 2
        None
                                                  O  w    in             e  m    b                                     0
                                            inan unsecured1facility,   c
                                                                Deabsconding,
                                   itedor conditions          ,
        Walk-away or attempted escape from                                         bond breach, violations of                  Enter the
        prior voluntary departurec
                                 orders
                                                5 52    2
                                                       of  supervision, or prior revocation of supervision
                                                                                                                       3      score here:
                                          1   -
                                     . 2a secure facility
                               Nofrom
        Escape or attempted escape                                                                                     7
  5     Security Threat Group (STG)
        The individual has no known membership or affiliation with an STG                                              0       Enter the
                                                                                                                              score here:
        The individual is a member of an STG                                                                           5
  6     History/Pattern of Violence (Two or more arrests)
        15 or more years ago                                                                                           1
        Over 10 years and less than 15 years ago                                                                       2       Enter the
                                                                                                                              score here:
        Over 5 years and less than 10 years ago                                                                        3
        Within the last 5 years                                                                                        5
        Number of Sustained Disciplinary Infractions Involving Violence or Behavior Representing a Threat to the Facility
  7
        (Institution(s)):
        None                                                                                                       0
        One                                                                                                        2       Enter the
        Two                                                                                                        4      score here:
        Three or more                                                                                              6
        Check if data not available:
Total Custody Classification Score



2.2 | Custody Classification System                                  68                                                     PBNDS 2011
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          Custody Level Guideline Ranges
If there is no arrest or conviction for a violent offense, use this table.
                                                                                       If the person has an arrest or conviction for a
          Low Custody                                                         0-2      violent offense, use this table.
          Medium-Low Custody                                                  3-5
          Medium-High Custody                                                 6-11                                                    0--6
          High Custody                                                        12+                                                        7+

If the Officer makes a custody recommendation outside of the custody level guideline ranges above, provide the rationale and include
aggravating/ mitigating circumstances that were considered in the decision:




Recommendation Outside the Guideline Ranges                             Low          Medium-Low         Medium-High            High
Officer Signature                                                                                       Date

                                                                               ,  In c.
In the section below, check the custody level of the individual’s housing assignment, following the guidance provided in
the instructions, F. Housing Assignment.
                                                                 re  C  ivic 022
                                                       v  .  Cohigh levelrcustody
For purposes of housing medium-custody individuals with low-or
                                                                           1  4     2
                                                                                 , individuals, use the following
                                             w i n o               b  e
                                                             cem
guidelines:
                                     in  Oindividuals;D  e
Medium-Low may be housed with low d
                            cite 552individuals;
                                    custody
                                              21   ,
                                . 2 1  -
Medium-High may be housed with high-custody                 but,
Low custody individuals mayN  o be housed with high-custody individuals, or medium custody individuals who have
                            never
any history of assaultive or combative behavior.
If the individual is to be placed in administrative segregation, a copy of the administrative segregation order shall be
immediately provided to the Field Office Director or his designee, as required by Standard 2.12 “Special Management
Units.”
Final Housing Assignment Custody Level                           Low     Medium-Low     Medium-High       High     Administrative
If the Supervisor decides to override the Officer’s custody level recommendation, provide the rationale below:




Supervisor Signature                                                                                    Date




2.2 | Custody Classification System                                     69                                                PBNDS 2011
                                                                                                               (Revised December 2016)
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Appendix 2.2.B: Instructions for                                 ICE Custody Classification Worksheet
Completing the ICE Custody                                     A. Basic Information -- Part 1

Classification Worksheet                                       Check the appropriate box to indicate whether the
                                                               form is being completed for:
1. Introduction                                                 x   Initial classification
Each facility is required to have a formal detainee             x   Reclassification. (The first reclassification
classification system that starts at admission and is               assessment should be completed 60 to 90 days
based on verifiable and documented information.                     after the initial classification. Subsequent
“Classification” and “reclassification” are initial and             reclassification assessments should be
periodic staff reviews, not only of a detainee’s                    completed at 90 to 120-day intervals.)
custody classification, but of that detainee’s general          x   Special reclassification (see standard “2.2
case status, disciplinary record, housing, special                  Custody Classification System”).
needs, adjustment to institutional living,
opportunities for voluntary work assignments, and              Enter the Field/Sub Office, facility and date.
general well-being.                                            Enter the name of the classification officer and the
Custody classification is a process of categorizing            language(s) used during the interview.
detainees as low, medium or high custody and
                                                                ,  In c.
                                                          ivic 022
                                                               Enter the detainee’s alien number, last name, first
housing them accordingly. The ICE Custody
                                                    re C       name, date of birth, and gender.
                                             v
Classification Worksheet, attached as Appendix. CB.oSpecialr 1  4 , 2 and Management
                                        wino        m be – Part 2
                                                            Vulnerabilities
                                    in O
2.2.A, is designed to systematically document and
                                              e c e Concerns
                            cited 55221, D Special vulnerabilities and management concerns
score information about each detainee in order to

                                  21-
produce a total custody classification score that may
                            N o .                should be taken into account in assigning levels of
be used, in conjunction with professional experience
and judgment, to guide classification decisions.               detention custody.
The factors considered for custody classification              The classification officer should inquire about and
closely align with the “public safety factors” that are        remain alert to signs of any special vulnerability or
part of the broader ICE intake risk assessment and             management concern that may affect the custody
classification process that often begins even before a         determination. Special vulnerabilities may include
detainee’s arrival at a detention facility.                    disability, serious medical or mental health needs,
                                                               risk based on sexual orientation or gender identity,
While the protection of detainees, staff, contractors,
                                                               advanced age, pregnancy, nursing, sole caretaking
volunteers and the community from harm is an
                                                               responsibilities, or victimization, including
important consideration in determining a detainee’s
                                                               individuals who may be eligible for relief related to
custody classification, a decision about where and
                                                               the Violence Against Women Act (VAWA), victims
how to house a detainee is also based on the
                                                               of crime (U visa), or victims of human trafficking (T
detainee’s physical and mental health and other
                                                               visa). (To detain individuals confirmed to have
important factors relating to a detainee’s special
                                                               vulnerabilities, ICE Officers must prior to the
needs, which are referred to as “special
                                                               individual’s arrival at the facility have obtained
vulnerabilities” or “management concerns.”
                                                               concurrence from the Field Office Director (FOD)
2. Specific Instructions for Completing the

2.2 | Custody Classification System                       70                                           PBNDS 2011
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and sent a significant event notice (SEN) to                  Based on how long ago this conviction occurred, use
Headquarters.)                                                the table located on the ICE Custody Classification
Use the boxes provided to check any vulnerability             Worksheet to assign a score. For example, if an
that applies, and provide an explanation if necessary.        individual was convicted of burglary with an assault,
If any boxes are checked, consult with the local ICE          this would be a “Highest” offense and the row
Field Office regarding appropriate placement and              labeled “Highest” on the ICE Custody Classification
other management considerations.                              Worksheet would be used. If the individual was
                                                              convicted of this offense less than 5 years from the
C. Custody Classification Scoring -- Part 3                   date this form is being completed, then the
Item 1—Severity of Charge/Conviction Associated               individual would receive a score of 7.
with the ICE Encounter.                                       If the individual’s most serious conviction is trespass,
Determine the charge or conviction, if any, that is           this would be a “Low” offense according to
associated with the individual’s current ICE                  “Appendix 2.2.C” and the row labeled “Low” on the
encounter, and locate it or a similar offense in              ICE Custody Classification Worksheet would be used.
“Appendix 2.2.C: Severity of Offense Scale” to                If the individual was convicted of this offense within
determine if it is in the “Low,” “Moderate,” “High,”          10-15 years of the date this form is being filled out,
or “Highest” category. If more than one charge or             then the individual would receive a score of 0.
conviction is involved, choose only the most serious
                                                                         ,  In  c.
                                                              If the individual has no record of prior convictions,

                                                                    ivic 022
charge/conviction that led to the encounter by                enter 0.
consulting the Severity of Offense Scale.
                                                            r e C
                                                           o the score        2 field provided.
                                                                         in,the
                                                   o v. CEnter      r  1 4
Identify the score associated with the severity
                                            O   win       e m
                                                         Item  be
                                                               3—Additional   Prior Convictions Excluding
                                       in
category into which the individual's most  serious    e c
                              cited 55221, D
                                                         Items 1 and 2.
offense falls.

                                o . 21-
Enter the score in the field provided.
                                                         Use the ICE Custody Classification Worksheet to
                             N                           score all other misdemeanor and felony convictions
If the individual was last booked and returned to             that have not been scored in Items 1 and 2
custody for a parole or probation violation, the              (including all separate convictions obtained for
severity of the current charge/conviction should be           multiple crimes, regardless of whether they occurred
based on the offense(s) for which parole or                   on the same date).
probation was granted.
                                                              Select the highest score applicable to the individual’s
Item 2—Single Most Serious Conviction in the                  history of additional prior convictions. For instance,
Individual’s Criminal History.                                if the individual has been convicted of 2
Excluding the entry in Item 1, determine the                  misdemeanors and 1 felony, a score of 2 (and not 1)
individual’s most serious prior conviction under              should be assigned.
“Appendix 2.2.C: Severity of Offense Scale” to                Item 4—Supervision History.
determine if it or a similar offense is in the “Low,”
                                                              Escapes from correctional settings or programs
“Moderate,” “High,” or “Highest” category.
                                                              should be counted if the individual was found guilty
Separate convictions for multiple crimes should be            of the escape or escape attempt by an institutional
considered independently of each other, regardless            disciplinary committee, regardless of court
of whether they occurred on the same date.                    prosecution or conviction status. Do not consider
                                                              any escapes or attempts scored in Item 1.

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With regard to “violations of prior voluntary                   than 10 years ago, score the item as a 3. If the more
departure orders,” an individual should be scored 3             recent of the two arrests occurred more than 10
points only if he/she has repeated failures to appear           years ago, and less than 15 years ago, score this item
for his/her immigration hearings. Do not include a              as a 2. If the arrest occurred more than 15 years
single failure to appear for an immigration hearing.            ago, score this item as a 0.
Enter the score corresponding to the individual’s               Item 7—Number of Sustained Institutional
most serious escape attempt in the field provided.              Disciplinary Infractions
Item 5—Security Threat Group.                                   Sustained disciplinary infractions should be counted
                                                                if they involved violence or behavior representing a
Security Threat Group (STG)
                                                                threat to the facility. Using records from a current
A Security Threat Group (STG) member is any                     period of ICE detention and/or prior periods of
individual, who through association, ideology, self-            detention or imprisonment, calculate and enter the
identification, identifying symbol(s), or activities            appropriate number of points. As a general matter
and/or conduct (both inside and outside custodial               disciplinary offenses that involve violence or
environments), is known to pose a threat to the                 behavior representing a threat to the facility are
safety of the community, the security of ICE staff,             those listed in the “Greatest” and “High” offense
ICE facilities, and/or those in ICE custody.                    categories in standard “3.1 Disciplinary System”,
Security Threat Group (STG) Examples
                                                                      , In c.
                                                                Appendix 3.1.A. These offenses are also listed in

  x Traditional Prison Gangs
                                                         re C   ivic 022
                                                                Appendix 2.2.D. If no information is available,

                                                v . CD.oTotaleCustody
                                                                  1       2
                                                                check the box and score Item 7 as 0.
                                                                     4,Classification
  x Traditional Street Gangs               ino             b    r                      Score
                                       O w           e  m
                                                  ecAdd the points in Items 1 through 7 to calculate the
  x Non-Traditional Gangs ted in              , D
                           c i          522 1
                               2  1 - 5
  x Transnational Criminal Organizations
                                                     detainee’s total custody classification score.
                          No.                        E. Classification Officer’s Recommended Custody
  x   Foreign and Domestic Terrorist Organizations                Level
  x   Special Groups                                            In the area designated “Custody Level Guideline
Enter 0 if there is no known affiliation or                     Ranges,” check the box that corresponds to the value
membership.                                                     entered for the total custody classification score. If
                                                                the detainee has no violent conviction, use the
Enter 5 if there is documentation or a self-admission           following scoring ranges. If the total score is 0-2,
that the individual is a member of an STG.                      check the Low Custody box. If the total score is 3-5,
Item 6 – History/Pattern of Violence                            check the Medium-Low Custody box. If the total
                                                                score is 6-11, check the Medium-High Custody box.
If the individual has two or more prior arrests for
                                                                If the total score is 12 or more, check the High
violence against the person, use Item 6 to score those
                                                                Custody Box. If the detainee has a violent
arrests. The less recent the occurrence of the arrests,
                                                                conviction, use the following scoring ranges. If the
the lower the score. Use the most recent arrest to
                                                                detainee’s total score is 0-6, check the Medium-High
calibrate the time period. If the more recent of the
                                                                Custody box. If the total score is 7 or more, check
two arrests for a violent offense occurred within the
                                                                the High Custody box.
last 5 years, score this item as a 5. If the more recent
of the two arrests occurred over 5 years ago, and less          If a decision is made to recommend a custody level

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that falls outside of the ranges prescribed by the            Standard 2.12 “Special Management Units.”
worksheet, note in the space provided the
                                                              For purposes of housing medium-custody individuals
aggravating/mitigating or other circumstances that
                                                              with low or high level custody individuals, use the
justify that decision. The space should also be used
                                                              following guidelines:
for any other matters the classification officer would
like to document or call to the attention of the              Medium-Low may be housed with low custody
supervisor with regard to the detainee’s custody              individuals;
classification and housing.                                   Medium-High may be housed with high-custody
In the area designated “Recommendation Outside                individuals; but,
the Guideline Ranges,” check the custody level box            Low custody individuals may never be housed with
that corresponds to the custody level                         high-custody individuals, or medium custody
recommendation made that differs from that                    individuals who have any history of assaultive or
prescribed by the Custody Level Guideline Ranges.             combative behavior.
F. Housing Assignment                                         ICE may periodically provide additional
In the area designated “Final Housing Assignment              recommendations and guidance.
Custody Level,” check the level of custody of the             G. Supervisory Approval
individual’s housing assignment.                              In the area designated “Supervisor Signature,” the
                                                            , Inc.
                                                              supervisor should sign and date the ICE Custody
                                                        ivic 022
If the detainee is to be placed in administrative
                                                    r
segregation, a copy of the administrative segregatione C      Classification worksheet indicating his/her approval
                                             v. Co er 14, 2
order shall be immediately provided to the Field
                                           o
                                                              of the decisions recorded in this worksheet.

                                       Owin
Office Director or his designee, as required by   e m b
                                    in        e c
                            cited 55221, D
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                            N




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Appendix 2.2.C: Severity of                                  III. MODERATE
                                                               Armed Trespass
Offense Scale                                                  Burglary
I. HIGHEST                                                     Carrying Concealed Firearm
  Aiding Escape                                                Forgery
  Aggravated                                                   Grand Theft
   Battery with Deadly Weapon                                  Manslaughter
   Armed Robbery (Multiple with injury)                        Sale, Delivery, Possession of Controlled Substance
   Burglary with Assault                                       Tampering with Witness
   Escape (Secure Facility)                                    Worthless Checks (felony)
   Inciting Riot                                               Welfare Fraud (felony)
   Kidnapping                                                  Escape (Non-secure Facility)
   Murder (1st, 2nd degree)
                                                             IV. LOW
   Sexual Battery (with violence upon a minor)                 Driving under the Influence
II. HIGH
                                                                     ,  In c.
                                                               Leaving the scene of Accident
  Aggravated Assault                                     Batteryiv
                                                            C      ic Assault)
                                                                 (Simple
                                                                             22 (other than firearm)
   Aggravated Battery
                                                      Co re            ,  2 0Weapon
                                               o v. m                4
                                                              er 1Conduct
                                                         Carrying  Concealed
   Aggravated Child Abuse
                                          w  in            b
                                d   in O          D e ce Disorderly
   Arson
                          c ite           2 21  ,        Gambling
   Battery Law Enforcement Officer 1- 5 5
                                2
                         No.
                                                         Offering to Commit Prostitution
   Burglary (Armed)                                            Possession Marijuana (misdemeanor)
   Extortion                                                   Possession Drug Paraphernalia
   False Imprisonment                                          Petit Theft
   False Report of Bombings                                    Trespass
   Controlled Substances (Importation, Trafficking)            Worthless Check (misdemeanor)
   Introduction of Contraband into Detention
  Facility
   Manufacture of Explosives
   Robbery (armed, strong armed)
   Sexual Battery (other than capital or life felony)




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Appendix 2.2.D: Disciplinary                                        this charge is to be used only if another
                                                                    charge of greatest severity is not applicable)
Offenses Involving Violence or
Behavior Representing a Threat
                                                              II. “High” Offense Category
to the Facility                                               200   Escape from unescorted activities open or
I. “Greatest” Offense Category                                      secure facility, proceeding without violence

100    Killing                                                201   Fighting, boxing, wrestling, sparring and any
                                                                    other form of physical encounter, including
101    Assaulting any person (includes sexual                       horseplay, that causes or could cause injury
       assault)                                                     to another person, except when part of an
102    Escape from escort; escape from a secure                     approved recreational or athletic activity
       facility                                               202   Possession or introduction of an
103    Setting a fire (charged with this act in this                unauthorized tool
       category only when found to pose a threat to           203   Loss, misplacement or damage of any
       life or a threat of serious bodily harm or in                restricted tool
       furtherance of a prohibited act of greatest
       severity [e.g., a riot or an escape]; otherwise        204
                                                                            n  c.
                                                                    Threatening another with bodily harm
                                                                        ,  I
       the charge is classified as Code 218 or 321)       205 eC
                                                             r    ivic blackmail,
                                                                Extortion,
                                                                               0 2 2 protection and
       Possession or introduction of a gun, firearm,o v. C
                                                           o                 2
                                                                     14, or receiving money or anything
104
                                                 in            b   r
                                                                demanding
                                                                 e
                                      in
       weapon, sharpened instrument, knife,Ow Decem ofothers,      value in return for protection against
       dangerous chemical, c  ited escape
                            explosive,
                                             2  2  1
                                               tool, ,                  avoiding bodily harm or avoiding a
       device or ammunition
                                  2 1   - 55                    threat of being informed against

105    Rioting             No.                            206 Engaging in sexual acts

106    Inciting others to riot                                207   Making sexual proposals or threats

107    Hostage-taking                                         208   Wearing a disguise or mask

108    Assaulting a staff member or any law                   209   Tampering with or blocking any lock device
       enforcement officer                                    210   Adulterating of food or drink
109    Threatening a staff member or any law                  211   Possessing, introducing, or using narcotics,
       enforcement office with bodily harm                          narcotic paraphernalia or drugs not
*198 Interfering with a staff member in the                         prescribed for the individual by the medical
     performance of duties (conduct must be of                      staff
     the greatest severity; this charge is to be used         212   Possessing an officer’s or staff member’s
     only if another charge of greatest severity is                 clothing
     not applicable)
                                                              213   Engaging in or inciting a group
*199 Conduct that disrupts or interferes with the                   demonstration
     security or orderly running of the facility
                                                              214   Encouraging others to participate in a work
     (conduct must be of the greatest severity;
                                                                    stoppage or to refuse to work

2.2 | Custody Classification System                      75                                         PBNDS 2011
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215   Refusing to provide a urine sample or                        moderate offenses within 90 days
      otherwise cooperate in a drug test                    222    Possessing or introducing an incendiary
216   Introducing alcohol into the facility                        device (e.g., matches, lighter, etc.)
217   Giving or offering an official or staff member        223    Engaging in any act that could endanger
      a bribe or anything of value                                 person(s) and/or property
218   Giving money to, or receiving money from,             *298 Interfering with a staff member in the
      any person for an illegal or prohibited                    performance of duties (conduct must be of
      purpose (e.g., introducing/conveying                       highest severity; this charge is to be used
      contraband)                                                only when no other charge of highest
                                                                 severity is applicable)
219   Destroying, altering, or damaging property
      (government or another person’s) worth                *299 Conduct that disrupts or interferes with the
      more than $100                                             security or orderly operation of the facility
                                                                 (conduct must be of highest severity; this
220   Being found guilty of any combination of
                                                                 charge is to be used only when no other
      three or more high moderate or low
                                                                 charge of highest severity is applicable)



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                          N




2.2 | Custody Classification System                    76                                         PBNDS 2011
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2.3 Contraband                                                      preserved, inventoried, controlled and stored
                                                                    with a documented chain of custody.
I. Purpose and Scope                                             4. Any facility-approved auxiliary aids, services, or
                                                                    items used by a detainee with a disability shall
This detention standard protects detainees and staff                not be considered contraband.
while enhancing facility security and good order by
identifying, detecting, controlling and properly                 5. The facility shall provide communication
disposing of contraband.                                            assistance to detainees with disabilities and
                                                                    detainees who are limited in their English
This detention standard applies to the following                    proficiency (LEP). The facility will provide
types of facilities housing ICE/ERO detainees:                      detainees with disabilities with effective
  x   Service Processing Centers (SPCs);                            communication, which may include the
                                                                    provision of auxiliary aids, such as readers,
  x   Contract Detention Facilities (CDFs); and                     materials in Braille, audio recordings, telephone
  x   State or local government facilities used by                  handset amplifiers, telephones compatible with
      ERO through Intergovernmental Service                         hearing aids, telecommunications devices for deaf
      Agreements (IGSAs) to hold detainees for more                 persons (TTYs), interpreters, and note-takers, as
      than 72 hours.                                                needed. The facility will also provide detainees

Procedures in italics are specifically required for
                                                                             ,  I  c.
                                                                    who are LEP with language assistance, including
                                                                                 n
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                                                 re    ivic 022
                                                                    bilingual staff or professional interpretation and
                                                                    C
                                                          . Co er 14, 2
                                                                    translation services, to provide them with
dedicated IGSA facilities must conform to these
                                                  in  o v          b
                                                                    meaningful access to its programs and activities.
                                           O  w
procedures or adopt, adapt or establish alternatives,
                                                            c e m
                                te d  inrepresented
provided they meet or exceed the intent
                                                   1  , D e  All written materials provided to detainees shall
                             c i            522              generally be translated into Spanish. Where
by these procedures.
                                   2 1 - 5
                            No. may be defined
                                                             practicable, provisions for written translation shall be
Various terms used in this standard                          made for other significant segments of the
in standard “7.5 Definitions.”                                   population with limited English proficiency.
II. Expected Outcomes                                            Oral interpretation or assistance shall be provided to
                                                                 any detainee who speaks another language in which
The expected outcomes of this detention standard                 written material has not been translated or who is
are as follows (specific requirements are defined in             illiterate.
“V. Expected Practices”):
1. Contraband shall be identified, detected,                     III. Standards Affected
   controlled and disposed of properly.                          This detention standard replaces the standard on
2. Detainee personal property that would be                      “Contraband” dated 12/2/2008.
   considered contraband within the facility shall be
   mailed to a third party or stored until the                   IV. References
   detainee’s release, unless that property is illegal to        American Correctional Association, Performance-
   possess or constitutes a threat to safety or security.        based Standards for Adult Local Detention
3. Contraband that may be evidence in connection                 Facilities, 4th Edition: 2C-01, 2C-02, 2C-06.
   with a violation of a criminal statute shall be               ICE/ERO Performance-based National Detention

2.3 | Contraband                                            77                                           PBNDS 2011
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Standards 2011:                                                         uncertain about whether a prescribed
                                                                        medication represents contraband.
 x   “2.5 Funds and Personal Property”; and
                                                                        Medicine the detainee brings into the
 x   “6.2 Grievance System.”
                                                                        facility upon arrival shall be forwarded to
V. Expected Practices                                                   the facility medical staff for disposition as
                                                                        specified under standard “4.3 Medical
A. “Hard” and “Soft” Contraband                                         Care.” Only replacement medication duly
                                                                        approved by the facility medical staff shall
Contraband is anything detainees are not authorized
                                                                        be returned to the detainee.
to have in their possession.
                                                               2. Soft contraband includes, but is not limited to,
1. A detainee found in possession of hard
                                                                  “nuisance” items that do not pose a direct and
   contraband could face disciplinary action or
                                                                  immediate threat to safety or security, but which
   criminal prosecution.
                                                                  have the potential to create dangerous or
   Hard contraband includes, but is not limited to,               unsanitary conditions in the facility (e.g., excess
   any item that:                                                 papers that create a fire hazard; food items that
   a. is inherently dangerous;                                    are spoiled or retained beyond the point of safe
                                                                  consumption).
   b. is a tool or device that could be used to escape;
      or                                                                    I n c.
                                                                  If excessive authorized legal materials create a fire
                                                                          ,
                                                              re C  ivic 022
                                                                  hazard, the facility shall provide an alternate
                                                        . Co er 14, 2
   c. may otherwise interfere with security, safety,              storage area accessible to the detainee.
      or the good order of facility operations.
                                                  in o v        b
                                        n   O  w        e c e
                                                           B. m
                                                              Procedures     for Handling Contraband
                                       i
                                 ted 5221, D All facilities shall have written policies and
      Examples of hard contraband include:
                             c  i
                                  . 2 1  -5(e.g.,
      a. tools that could aid in an escape
                                                           procedures for handling contraband, including the
         ropes, keys);      No                                 seizure of contraband, disputed ownership, detainee
      b. ammunition or explosives;                             or government property defined as contraband, and
      c. combustible or flammable liquids;                     the preservation, inventory, and storage of
                                                               contraband as evidence of a crime. Facilities shall
      d. hazardous or poisonous chemicals and                  ordinarily consult a religious authority before
         gases;                                                confiscating a religious item deemed “soft”
      e. weapons;                                              contraband.
      f. intoxicants;                                          Any facility-approved auxiliary aids, services, or
                                                               items used by a detainee with a disability shall not be
      g. currency (where prohibited); and
                                                               considered contraband.
      h. narcotics and other controlled substances
                                                               1. Seizure of Contraband
         not dispensed or approved by the medical
         department, not used as prescribed, or in             Staff shall seize contraband:
         the possession of a detainee other than the           a. Found in the physical possession or living area of
         person for whom it was prescribed.                       a detainee (including a detainee awaiting
         Staff shall consult the facility pharmacist or           voluntary return);
         other health services staff members when              b. Found in common areas;

2.3 | Contraband                                          78                                            PBNDS 2011
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c. Found in incoming or outgoing mail;                          administrator after ICE/ERO concurrence, and after
d. Discovered during admission in-processing; and,              providing the detainee with written notice of the
                                                                intent to destroy the property along with information
e. Found in transport vehicles.                                 on how to retain the property in question, may
Exceptions may occur only upon written                          dispose of the property in accordance with the
authorization of the facility administrator.                    section on “Destruction of Contraband” below in this
                                                                standard. If a detainee cannot establish ownership,
2. Religious Items
                                                                staff shall attempt to resolve the matter. If ownership
The facility administrator shall ordinarily consult a           cannot be reasonably established, the property may
religious authority before confiscating a religious             be destroyed, as also described below in this
item that is deemed “soft” contraband (see also                 standard.
standard “5.5 Religious Practices”).                            5. Evidence of a Crime
3. Disputed Ownership
                                                                Contraband that is illegal to possess or may be
When a detainee’s claimed ownership of potential                evidence in connection with a violation of a criminal
contraband material is in question, staff shall:                statute shall be preserved, inventoried, controlled
                                                                and stored with a documented chain of custody, and
a. inventory and store the items pending verification
   of ownership; and                                            shall be reported to the appropriate law enforcement

b. provide the detainee with a copy of the inventory                             , I   c.
                                                                authority for action and possible seizure, destruction
                                                                                     n
   as soon as practicable, and place a second copy in
                                                                    re     ivic 022
                                                                or disposition of contraband is detailed under
                                                                       C
   the detainee’s detention file. The detainee shall        v. C6.oGovernment
                                                                           r  1    ,2
                                                                standard “2.5 Funds and Personal Property.”
                                                                                 4
   have seven days following receipt of theOwin           o        m  be          Property
                                                               c e
                                            inlisted items. e Contraband which is government property shall be
                                cited 55221, D retained as evidence for possible disciplinary action
   inventory to prove ownership        of the
Staff shall deny claims:
                                  o  .  21-
                              N use of government
a. arising from the unauthorized
                                                                or criminal prosecution, after which, as appropriate,
                                                                it may be:
   property; and
                                                                a. returned to the issuing authority;
b. for any item acquired, without authorization,
   from another detainee.                                       b. returned to normal stock for reissue; or

4. Detainee Property Defined as Contraband                      c. destroyed, with the approval of the facility
                                                                   administrator.
Staff shall seize all hard and soft contraband. In the
event that the contraband is not illegal to possess             C. Destruction of Contraband
under criminal statutes and would not otherwise                 The facility administrator shall establish a procedure
pose a threat to security, staff shall inventory and            for the destruction of contraband items.
provide a receipt for the property. At the detainee’s
request, the staff will mail the property to a third            Contraband may be destroyed when no longer
party, or store it with the detainee’s other stored             needed  for disciplinary action or criminal
personal property, in accordance with standard “2.5             prosecution. It may also be kept for official use, such
Funds and Personal Property.” If a detainee chooses             as use as a training tool, if secured in the facility
not to provide an appropriate mailing address within            armory when not in use.
30 days, or is unable to pay the postage, the facility          1. The Chief of Security, or equivalent, shall

2.3 | Contraband                                           79                                           PBNDS 2011
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   determine whether an item shall be destroyed.                 placed in the detainee’s detention file.
2. The Chief of Security shall send the facility              D. Canine Units
   administrator a memorandum, through official
   channels, describing what is to be destroyed and           Canine units (in facilities that have them) may be
   the rationale for destruction.                             used for contraband detection, but their use for
                                                              force, control, or intimidation of detainees is
3. The facility administrator shall require that an           prohibited, in accordance with standard “2.15 Use
   item of questionable ownership be held for 120             of Force and Restraints.”
   days before its destruction can be considered, to
   afford the detainee ample opportunity to obtain            Any facility that has a canine unit shall establish a
   proof of ownership and appeal the decision in              clear and detailed written policy and procedures
   accordance with standard “6.2 Grievance                    governing the circumstances in which canine units
   System.”                                                   may be used, in regard to ICE/ ERO detainees.

   Where disciplinary action is appropriate, the              Canines shall not be used in the presence of ICE
   facility administrator shall defer his/her decision        detainees.
   about the property until the disciplinary case,            E. Notice to Detainees
   including any appeals, is resolved.
                                                              The detainee handbook, or equivalent, shall notify
4. The officer who physically destroys the property
   and at least one official observer shall attest, in                     ,  I  c.
                                                              detainees in a language or manner that they
                                                                               n
   writing, to having witnessed the property’s
                                                             re     ivic 022
                                                              understand relative to:
                                                                 C
   destruction.                                       v. C1.ocontraband;
                                                                    r  1  4  , 2 and procedures governing
                                                             The facility’s rules
                                             w   in o        m be and
                                      in
5. A copy of the property disposal record O
                                          shall be       c e
                                                      De 2. The applicability of standard “2.5 Funds and
                               ited copy5shall
   given to the detainee, andcanother           2 1 ,
                                         5 2
                                                 be
                                 . 2 1 -                     Personal Property,” as it relates to contraband.
                            No




2.3 | Contraband                                         80                                           PBNDS 2011
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2.4 Facility Security and                                       3. Facility security and safety will be monitored and
                                                                   coordinated by a secure, well-equipped, and
    Control                                                        continuously staffed control center.
                                                                4. The facility’s perimeter will ensure that detainees
I. Purpose and Scope                                               remain within and that public access is denied
This detention standard protects the community, staff,             without proper authorization.
contractors, volunteers and detainees from harm by              5. Information about routine procedures,
ensuring that facility security is maintained and events           emergency situations, and unusual incidents will
which pose risk of harm are prevented.                             be continually recorded in permanent post logs
This detention standard applies to the following                   and shift reports.
types of facilities housing ICE/ERO detainees:                  6. Facility safety, security and good order, including
                                                                   the safety, health and well-being of staff and
  x   Service Processing Centers (SPCs);
                                                                   detainees, will be enhanced through ongoing
  x   Contract Detention Facilities (CDFs); and                    observation, supervision, and personal contact
                                                                   and interaction between staff and detainees.
  x   State or local government facilities used by
      ERO through Intergovernmental Service                     7. Special security and control measures will
      Agreements (IGSAs) to hold detainees for more                consistently be applied to Special Management
                                                                              ,  In c.
      than 72 hours.
                                                                           ic
                                                                   Unit entrances.
                                                                    Civsafety,
Procedures in italics are specifically required for         C   r e
                                                             8.oFacility
                                                                              4 ,  2 022and good order will be
                                                                                 security
SPCs, CDFs, and Dedicated IGSA facilities. Non- ino v.             b  e
                                                                enhanced r 1through frequent and documented staff
dedicated IGSA facilities must conformin     O   w        e cem inspections of detainee-occupied and unoccupied
                                      d   to these
                                 ite alternatives,
procedures or adopt, adapt orcestablish            21 , D
                                           5  5 2               areas.
                                   .  21- represented
provided they meet or exceed the intent
                                o                            9. The facility shall provide communication
by these procedures.         N                                     assistance to detainees with disabilities and
Various terms used in this standard may be defined                 detainees who are limited in their English
in standard “7.5 Definitions.”                                     proficiency (LEP). The facility will provide
                                                                   detainees with disabilities with effective
II. Expected Outcomes                                              communication, which may include the
                                                                   provision of auxiliary aids, such as readers,
The expected outcomes of this detention standard
                                                                   materials in Braille, audio recordings, telephone
are as follows (specific requirements are defined in
                                                                   handset amplifiers, telephones compatible with
“V. Expected Practices”):
                                                                   hearing aids, telecommunications devices for deaf
1. The facility administrator shall develop and                    persons (TTYs), interpreters, and note-takers, as
   document comprehensive detainee supervision                     needed. The facility will also provide detainees
   guidelines, as well as a comprehensive staffing                 who are LEP with language assistance, including
   analysis and staffing plan, to determine and meet               bilingual staff or professional interpretation and
   the facility’s detainee supervision needs; these                translation services, to provide them with
   shall be reviewed and updated at least annually.                meaningful access to its programs and activities.
2. Essential security posts and positions will be
   staffed with qualified personnel.
                                                                III. Standards Affected

2.4 | Facility Security and Control                        81                                           PBNDS 2011
                                                                                              (Revised December 2016)
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This detention standard replaces “Facility Security            The facility administrator shall develop and
and Control” dated 12/2/2008.                                  document comprehensive detainee supervision
                                                               guidelines, as well as a comprehensive staffing
IV. References                                                 analysis and staffing plan, to determine and meet the
American Correctional Association, Performance-                facility’s detainee supervision needs; these shall be
based Standards for Adult Local Detention                      reviewed and updated at least annually. Essential
Facilities, 4th Edition: 4-ALDF-2A-01 through 2A-              posts and positions shall be filled with qualified
14, 2A-18, 2C-01, 2C-02, 7F-06                                 personnel.

ICE/ERO Performance-based National Detention                   In determining adequate levels of detainee
Standards 2011:                                                supervision and determining the need for video
                                                               monitoring, the facility administrator shall take into
 x   “2.3 Contraband”;                                         consideration generally accepted detention and
 x   “2.5 Funds and Personal Property”;                        correctional practices, any judicial findings of
                                                               inadequacy, the physical layout of each facility, the
 x   “2.7 Key and Lock Control”;                               composition of the detainee population, the
 x   “2.8 Population Counts”;                                  prevalence of substantiated and unsubstantiated
                                                               incidents of sexual abuse as well as other incidents
 x   “2.9 Post Orders”;                                        reflecting on facility security and detainee safety, the
 x   “2.12 Special Management Units”;
                                                                   ,  In c.
                                                               findings and recommendations of sexual abuse

                                                       re  C  ivic 022
                                                               incident review reports or other findings reflecting
 x “2.15 Use of Force and Restraints”;
                                            o  v. Co er 14, 2  on facility security and detainee safety, the length of
 x “2.14 Tool Control”;
                                       Ow in        e m  b     time detainees spend in agency custody, and any
                                    n          De c
                            ed iMail”;
                         citOther
 x “5.1 Correspondence and               2 1 ,                 other relevant factors.

 x “5.7 Visitation”; and o. 21
                                    -552           At least one male and one female staff member shall
                        N                          be on duty at all times in a facility housing both
 x   “6.2 Grievance System.”                                   male and female detainees.
“Standards to Prevent, Detect, and Respond to Sexual           All security posts shall be guided by standard “2.9
Abuse and Assault in Confinement Facilities,” 79               Post Orders.”
Fed. Reg. 13100 (Mar. 7, 2014).
                                                               B. Control Centers
V. Expected Practices                                          Each facility shall have a secure control center that is
                                                               staffed continuously, 24/7. Control center staff shall
A. Detainee Supervision and Monitoring
                                                               monitor and coordinate facility security, life-safety
Each facility shall ensure that it maintains sufficient        and communication systems.
supervision of detainees, including through
                                                               The Chief of Security shall carefully screen officers
appropriate staffing levels and, where applicable,
                                                               for the highly responsible control center post
video monitoring, to protect detainees against sexual
                                                               assignment(s). The Control officer’s responsibilities
abuse assault, other forms of violence or harassment,
                                                               include (but are not limited to) key control, count
and to prevent significant self-harm and suicide.
                                                               procedures and public-address-system operations.
Security staffing shall be sufficient to maintain
                                                               The standards on “Key and Lock Control” and
facility security and prevent or minimize events that
                                                               “Population Counts” detail requirements for key
pose a risk of harm to persons and property.

2.4 | Facility Security and Control                       82                                            PBNDS 2011
                                                                                              (Revised December 2016)
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control and counts.                                             7. a watch call system (officer safety checks) to the
The facility administrator shall establish procedures              control center by all staff, ordinarily to occur
to implement the following control center                          every half-hour between 6:00 P.M. and 6:00 A.M.
requirements:                                                      Individual facility policy may designate another
                                                                   post to conduct watch calls. Any exception to
1. round-the-clock staffing;                                       exempt staff from making watch calls as described
2. limited staff access;                                           in this standard requires the approval of the
                                                                   facility administrator.
3. no detainee access (in a control center, staff must
   perform cleaning duties that elsewhere in the                C. Perimeter Security
   facility may ordinarily be assigned to detainees);           1. Front Entrance
4. round-the-clock communications;                              The facility’s front entrance shall be a controlled
5. maintenance of a list of the current home and cell       access point. Entrance into the secure perimeter shall
   phone numbers of every staff member assigned to          be controlled by a sally port (or equivalent with
   the facility, including administrative/support           electronic interlocking doors or grilles) to prevent
   services staff members, all situation response team      unauthorized entry or exit.
   members (SRTs), hostage negotiation team
                                                            Staff assigned to the front entrance post shall be
   member (HNTs) and applicable law enforcement
   agencies. If any staff member is inaccessible by
                                                                             ,  I  c. exercise public relations
                                                            selected and expected to present a neat and
                                                                                 n
   phone, other means of off-duty contact approved
                                                                r eofC ivic and tact,
                                                            professional appearance,
                                                                                    022and interact and
                                                           C o
                                                            skills    courtesy
                                                                            4  ,  2
                                                       o v. communicate r 1easily and effectively with diverse
   by the facility administrator, such as a pager
                                               w  in               b e
   number or e-mail address, may be listed; the
                                             O    list
                                                            em Front entrance staff is expected to uphold
                                                           cpeople.
   shall:
                               cite d in         21    , De these responsibilities while also maintaining security
                                      1 -
   a. be on file in both the control center 52the
                                          5and                  and enforcing regulations.
                                   2
                             No.
      shift supervisor’s office;
                                                                a. Identification and Searches
   b. be maintained in a secure file;                              The officer assigned to this post shall check the
   c. be used for emergency recall or urgent                       identification documents of every visitor,
      business only;                                               employee and other person entering or leaving
                                                                   the facility. No adult visitor may be admitted
   d. be updated at least quarterly; and                           without government-issued photo identification.
   e. prominently feature the following notice:                 b. Record
      “This information must be safeguarded. Use is                1) The post officer shall maintain the visitor
      restricted to those who need the information in                 logbook, a bound ledger in which all non-staff
      the performance of their official duties. Misuse                visits are to be recorded.
      shall subject the user to criminal liability. This
      agency shall view any misuse of this                         2) Every entry in the logbook shall identify the
      information as a serious violation of the                       person or department visited, date and time of
      Employee Code of Conduct, which may result                      the visitor’s arrival, purpose of visit, unusual
      in disciplinary action, including removal."                     requests and time of departure.

6. round-the-clock accountability for equipment;                   3) The entry for a person visiting a detainee shall
   and                                                                also include the name and A-number of the

2.4 | Facility Security and Control                        83                                            PBNDS 2011
                                                                                               (Revised December 2016)
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      detainee being visited, and the address and                   following security reasons:
      relationship to the detainee. The post officer                1) to account for visitors in the event of an
      shall require the visitor to print and sign                      emergency (e.g., medical, fire, hostage
      his/her name in the visitor logbook.                             situation, or other incident);
   4) All ICE/ERO employees shall wear ICE/ERO-
                                                                    2) as a check on logbook data; and
      issued identification cards (to include
      photograph and name). The facility shall                      3) as a disincentive for criminal or disruptive
      maintain a tracking mechanism for all staff                      behavior (e.g., distributing drugs or other
      permanently stationed at the facility. This                      contraband; inciting an internal disturbance or
      mechanism shall include a process to rapidly                     riot, etc.).
      verify all staff entering and leaving the                  d. Blue Visitor Passes (or color-coded equivalent)
      perimeter.                                                     ICE/ERO employees not permanently stationed at
   5) The facility administrator shall establish                    the facility, and official visitors from other
      procedures for tracking the arrivals and                      Department of Homeland Security agencies, shall
      departures of contract employees. However,                    receive “blue” passes. Visitors with blue passes do
      the main gate/front entrance officer shall                    not need, but may request, escorts.
      maintain a separate file of contract employee       The post officer shall record every official visitor’s
      Forms G-74, or equivalent, laminated, with
                                                                              c . in the visitor logbook,
                                                          arrivals and departures
                                                                           In
      photograph, issue date, expiration date (if
                                                                  i
                                                          including
                                                              C    v  c, person or2department visited, date
                                                                     ithe
      applicable), and the facility administrator’s
                                                         ore time of 4visitor’s
                                                          and
                                                                          ,  2   2 purpose of visit,
                                                                               0arrival,
                                                        C
      signature.
                                                  w o v. unusualrrequests
                                                    in     m  be     1 and time of departure.
                                               O       c e
                                    ed in 221, De To
c. Visitor Passes                                              save time, all ICE/ERO employees with
                               c it
                                            -
   The facility administrator shall establish
                                       2 1    55           frequent business at the facility but stationed
                              N  o. visitor passes
   procedures for issuing color-coded                      elsewhere   shall complete a G-74 form, or
                                                           equivalent, for the front-entrance personal data
   to all visitors entering the facility via the main
   gate/front entrance. Visitors must prominently                   card file.
   display this pass on an outer garment, where it is            e. Yellow Visitor Passes (or color-coded equivalent)
   visible (at a glance) to staff.                                  Law enforcement officers not directly connected
   The post officer shall check the validity of the                 with ICE/ERO, vendors and other persons visiting
   identification. In exchange for the photo-                       in an official capacity shall receive “yellow”
   identification card (e.g., driver’s license, student             passes. Their visits shall be recorded in the visitor
   ID card), the post officer shall issue the visitor a             logbook. Escorts are required for visitors with
   color-coded pass, provided the photo resembles                   yellow passes.
   the visitor closely enough to identify the visitor.           f. Orange Visitor Passes (or color-coded equivalent)
   The visitor must leave his/her photo-                            “Orange” passes shall be distributed to contractual
   identification card with the post officer until the              construction service personnel, including:
   end of the visit, marked by the time-out entry in
   the logbook.                                                     1) representatives of the Army Corps of
                                                                       Engineers, and
   The post officer shall hold all visitor identification
   cards at the main gate front entrance, for the                   2) contractors, including sub-contractors,
                                                                       employees, laborers, supervisors, etc.

2.4 | Facility Security and Control                         84                                            PBNDS 2011
                                                                                                (Revised December 2016)
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      Each facility administrator shall require such                cards, and reporting to the shift supervisor any
      persons to identify themselves, consistent with               unusually long visits (as indicated by an
      the photo-ID requirements stated above in the                 identification card which has yet to be retrieved
      standard, and shall devise procedures for                     and/or a missing visitor’s pass which has yet to
      issuing construction visitor passes, including                be returned).
      requirements for each visitor to display                   2. Vehicle Entrance
      his/her pass. Procedures will also provide for
      a listing of facility areas where construction             a. Identification
      visitors are authorized to be present and to                  The main-gate front-entrance assigned staff
      work. Visitors with orange visitor passes must                member shall control all (vehicle) traffic entering
      be escorted.                                                  and leaving the facility. The officer shall check the
                                                                    driver’s license of the driver entering into the
g. Red Visitor Passes (or color-code equivalent)                    facility, regardless of purpose (e.g., visit,
   Non-official persons visiting detainees or visiting              delivery), and may require proof of insurance,
   the facility, regardless of affiliation, shall receive           especially for vehicles to be driven on the
   “red” passes. The post officer shall enter their                 grounds. The officer will also check the
   visits in the visitor logbook as specified under the             identification of every passenger in the vehicle.
   “Record” section of this standard. Escorts are                   The officer may admit the vehicle only if the
   required for visitors with red passes.
                                                                          Inc            .
                                                                    license and insurance are valid. While the driver
   If a visitor leaves the facility without surrendering             ic,
                                                                    is within the facility’s secure perimeter, the
   the visitor pass and retrieving his/her
                                                             ore Civ        2 022
                                                                    officer shall hold the driver’s license or
                                                         v. C       r1 4 ,
   identification card, the post officer shall
                                                   win o        b e identification of every person entering the
   photocopy the identification card and attach
                                           in  O it to Decem        facility, as specified under the “Visitor Passes”
                                   ite d              1,
                                c
   a memo to the shift supervisor     stating
                                         - 5 5 22
                                              the:                  section in this standard.
   1) visitor’s name;
                                  o. 2 1                         b. Vehicle Log
                               N
   2) visitor’s title (if applicable);                              The post officer shall log the following
                                                                    information regarding every vehicle: tag number,
   3) person or department visited;                                 driver’s name, firm represented, purpose of the
   4) time the pass was issued;                                     visit, (e.g., repairs, delivery, etc.), vehicle
                                                                    contents, date, time in, time out and facility
   5) reason for not retrieving the pass from the                   employee responsible for the vehicle on-site.
      visitor and/or not returning the identification
      card; and                                                  c. Controls
   6) other relevant observations (for example,                     1) The main-gate front-entrance assigned staff
      suspicious or emotionally charged behavior,                      member shall search the vehicle before it
      use of rude language, demeanor).                                 enters or leaves the facility, both to prevent the
                                                                       introduction/removal of contraband and to
   The main gate front-entrance assigned staff                         prevent the vehicle’s use as a means of escape.
   member must account for all visitor passes when                     All drivers making deliveries must submit to a
   coming on duty, immediately reporting any                           personal search and questioning about
   discrepancies to the shift supervisor. The post                     firearms, munitions, knives, ropes, jacks,
   officer is also responsible for monitoring the                      narcotics and other items considered
   inventory of visitor passes and identification                      contraband. (For more detailed information,

2.4 | Facility Security and Control                         85                                           PBNDS 2011
                                                                                                (Revised December 2016)
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      see standard “2.3 Contraband”).                          procedures, in accordance with standard “2.9 Post
   2) Any article posing a threat to the facility’s            Orders.” Those post orders shall require that housing
      security shall be held at the gate or removed            officers maintain a housing unit log for recording
      from facility grounds. The driver of a delivery          information regarding routine unit operations, as
      vehicle may be accompanied by one or more co-            well as unusual and emergency incidents.
      worker(s), but not by unauthorized passengers.           Housing unit post orders shall follow the event
   3) The facility employee responsible for vehicle            schedule format, for example, “0515—Lights on”
      oversight shall, as escort:                              and shall direct the assigned staff member to
                                                               maintain a unit log of pertinent information
      a) walk behind the vehicle;                              regarding detainee activity.
      b) directly supervise loading and unloading;             The shift supervisor shall visit each housing area and
      c) retain the ignition keys, never leaving them          initial the log on each shift at least once per tour.
         in the vehicle; and                                   2. Supervision and Communication
      d) close windows, lock doors and trunks,                 Security officer posts shall be located in or
         secure toolboxes, ladders, etc., before               immediately adjacent to detainee housing units to
         leaving the vehicle unattended.                       permit officers to see or hear and respond to
                                                               emergency situations. Personal contact and
   4) Before approaching the exit gate, the driver
                                                                                Inc    .
      shall stop at a spot designated. The gate                             c,
                                                               interaction between housing staff and detainees shall
                                                                           i
      operator shall not allow the vehicle to depart
                                                              o  r e Civ            022
                                                               be expected and required.
                                                                                  2
                                                            C
      until he/she is satisfied that neither the drivero v. As prescribed    4 ,
                                                                         r 1by standard “2.9 Post Orders,” staff
                                                   w  i n           b  e
      nor the escorting officer is under duress.
                                          in                 emobserve, supervise and control movement of
                                               O With Decshall
                                      d
                              c te impossible
      that established, officers ishall again       2to1
                                               search  the,
      vehicle. If a thorough search is 1    - 5 5 2          detainees from one area to another. No detainee may

                                o   . 2unloaded              ever be given authority over, or be permitted to
                             N
      conduct, the vehicle shall   be             or held    exert control over, any other detainee.
      pending completion of the next official count.
                                                             The facility administrator, designated assistant
      If the vehicle or vehicular equipment must
                                                             facility administrator, supervisors and others
      remain inside the compound overnight, staff
                                                             designated by the facility administrator shall be
      shall render it inoperable.
                                                               required to visit all housing units weekly at
   5) If the post officer has doubts about a person’s          minimum to observe living conditions and interact
      identity, he/she shall not permit the person to          informally with detainees. Such visitors shall record
      exit, pending positive identification.                   their visits by initialing the housing unit log.
   6) Staff shall handle any legal or special mail             E. Special Management Unit (SMU)
      delivered to the facility for detainees in
      accordance with standard “5.1                            Because Special Management Units are inherently
      Correspondence and Other Mail”                           among the most secure areas of any detention
                                                               facility, special security and control measures are
D. General Population Housing Units                            required for these units.
1. Post Orders and Housing Records                             1. Control of Contraband and Tools
For each housing unit, the facility administrator shall        Every facility administrator shall establish a written
establish written post orders with step-by-step                policy and procedures to secure the SMU from

2.4 | Facility Security and Control                       86                                            PBNDS 2011
                                                                                              (Revised December 2016)
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contraband.                                                    port.
Items allowed to enter SMUs shall be kept to an                F. Security Inspections
absolute minimum. Any item allowed into the unit,
                                                               1. Required Written Security Inspection Procedures
including laundry, commissary, food carts and
personal property, shall be thoroughly inspected and           Each facility shall establish a comprehensive security
searched to prevent the introduction of contraband.            inspection system that addresses every area of the
In the event that it becomes necessary to introduce            facility, specifically including the perimeter fence
tools into the unit, special care shall be taken. Prior        line and other areas specified below in the standard.
to entering, all tools shall be inventoried by the             Frequent unannounced security inspections shall be
special housing officer. Tools shall be identified and         conducted on day and night shifts to control the
checked against the inventory upon departing to                introduction of contraband; identify and deter sexual
ensure that no tools, hazardous objects, or materials          abuse of detainees; ensure facility safety, security and
are left in the unit.                                          good order; prevent escapes; maintain sanitary
2. Control of Entrances                                        standards; and eliminate fire and safety hazards. Each
                                                               facility shall prohibit staff from alerting others that
In facilities with the ability to do so, the SMU               these security inspections are occurring, unless such
entrance in regular use shall have a sally port, which         announcement is related to the legitimate
shall be operated so that the inner and outer doors
                                                                           ,  In c.
                                                               operational functions of the facility.
cannot both be open simultaneously. Officers on the
                                                                         ic assumes22a post assignment shall
                                                                      ivwho
                                                           Each officer
                                                                   C
inside and outside shall independently check the
                                                              r e
                                                            o a security
                                                          Cconduct           ,  20 of the area, record the
identification of every person going in or out, and   v .                1 4   check
                                                                       r post logbook, and prepare and submit
                                             O
each officer must positively confirm a person’s wino       resultsbinethe
                                                           e m
                                te  d   in          , D ecmaintenance work requests as necessary.
                               i
identity before allowing him/her through the door.
                              c              522  1
                                    2  1 -
Also, in accordance with written procedures5               Documentation of all daily inspections—shift, area
                             No.
established by the facility administrator, these           and post—is required. Completed inspection forms,
                                                               along with the schedule of inspections shall be
officers shall take precautions to ensure that the
person requesting entry or exit is not doing so under          submitted to the Chief of Security. The daily
duress.                                                        inspection plan shall also provide guidelines for
                                                               security-feature checks and for reporting security
3. Control of Food Carts                                       concerns, vulnerabilities and inconsistencies, such as
Food carts shall be securely locked before leaving the         inoperable security cameras.
food service area for delivery to the SMU. If this is          The facility administrator shall identify the staff
not possible, a staff escort is required.                      member responsible for the oversight of the facility’s
4. Control of Keys                                             daily security inspection process.
Staff assigned to the SMU or SMU visiting area shall           Normally, the shift supervisor (or equivalent) shall
have keys to the inner door(s) of the sally port, but          handle this responsibility, under the Chief of
not to the outside door(s). Conversely, staff outside          Security (or equivalent). The shift supervisor or
the SMU or SMU visiting area shall have keys to the            designee shall review all search and inspection
sally port’s outer door(s) but not the inner door(s).          documentation.
Under no circumstances shall one individual hold               The shift supervisor or designee shall report
keys to both the inner and outer doors of the sally            recurrent maintenance work problems to the

2.4 | Facility Security and Control                       87                                           PBNDS 2011
                                                                                              (Revised December 2016)
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department head and/or assistant facility                        3. Housing Units
administrator. Such problems include, for example,               Each facility administrator shall establish a written
unresponsiveness to work orders, failure to take                 policy and procedures for housing unit and personal
corrective action, and/or failed attempts to resolve a           area searches and the use of canine units. Canine
problem within a reasonable timetable.                           units may be used only for contraband detection.
2. Perimeter Inspections                                         Canine units shall not be used for force, control or
                                                                 intimidation of detainees (see standard “2.15 Use of
Perimeter inspections shall occur frequently, but at
                                                                 Force and Restraints”).
irregular times, as follows.
a. Walls, fences and exits, including all outside                a. Searches of Detainee Housing Areas
   windows shall be inspected for defects at least                  Staff may search a detainee’s housing area and
   once per shift, and perimeter alarm systems shall                personal items without prior notice, without
   be tested daily.                                                 detainee approval and without the detainee being
                                                                    present. Housing area searches shall take place
b. Once per shift or daily, at the facility                         irregularly, so as not to establish a predictable
   administrator’s discretion, locations on the                     pattern.
   grounds shall be inspected where detainees could
   arrange for visitors to leave contraband.              For a cell search, staff shall remove the detainee
                                                          from the cell. Staff must pay particular attention
c. Daily along the perimeter fence, checked by the
                                                                              n c. ventilators, beds, bedding,
                                                          to plumbing facilities,
                                                                         ,  I
   assigned staff member(s):
                                                            e C     vic books,2etc.,
                                                          tables, ichairs,
                                                                                    2   and be on the alert for
                                                          r                      0
                                                                              2 bottoms, hidden
   1) walking the entire fence line; checking the
                                                   o v. Cocontraband
                                                                   r 1  in ,false
                                                                        4
      tension wire and binding straps and all in
                                        Ow Decem             be
                                                          compartments,      hollow legs, etc.
                                    in
                             cited 55221,
      hardware attached to the poles to ensure   After the search, staff shall restore all items as
      tautness; examining wings for cut links; and
                                 2 1  -          close as possible to their original order.
                             No.
      testing the links fastening the sides of the fence
      bottom to the fence; and                b. Search Log
                                                                    Each housing unit, including the SMU, shall
   2) simulating a detainee’s climbing the fence by                 document cell and area searches in a search log
      pulling on the fence. (Jerking the fence back                 that registers the date, time and findings,
      and forth does not simulate climbing and is an                including location where contraband was found,
      insufficient simulation.) In a functional alarm               type of contraband and the searching officers’
      system, the pull-test shall activate the alarm,               names.
      after which staff shall immediately notify the
                                                                 4. Searches of Utility Areas
      control center of the need to reset the alarm.
      In the event that the fence-climbing simulation            Staff shall conduct irregular searches of storage and
      is insufficient to activate the alarm, the facility        supply rooms, plumbing accesses, walls (particularly
      administrator shall be immediately notified so             around ventilators and windows), lighting and
      as to take corrective action.                              plumbing fixtures, drains, etc., in the housing areas.
d. The facility maintenance supervisor and Chief of              These searches shall occur at least once per shift.
   Security shall check the fence monthly,                       5. Searches of Shops and Buildings
   documenting the results in the shift supervisor’s
                                                                 Assigned staff shall routinely inspect all areas of the
   daily log.
                                                                 facility, at odd hours, according to no fixed

2.4 | Facility Security and Control                         88                                            PBNDS 2011
                                                                                                (Revised December 2016)
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schedule. For searches of areas with specialized            is notified of any incident or allegation of a physical
equipment or supplies, the respective department            assault perpetrated by staff against a detainee. This
head shall be present to ease access to locked areas        includes any incident or allegation of facility staff
and to help determine the status of any questionable        engaging in an act of violence against a detainee, or
items.                                                      any intentional attempt to harm that detainee
Staff shall document these searches in a logbook            through force or violence, regardless of whether
maintained by the shift supervisor.                         injury results or a weapon is used. The facility shall
                                                            ensure a thorough investigation of any incident or
G. Detainee-on-Detainee Physical
                                                            allegation of staff-on-detainee physical assault, and
Assaults
                                                            staff determined to have perpetrated a physical
The facility administrator shall ensure that the FOD        assault on a detainee shall be appropriately
is notified of any physical assault on an ICE               disciplined; the results of the investigation shall be
detainee by another detainee or inmate housed at the        transmitted to the FOD.
facility. This includes one or more detainees or            I. Staff Misconduct
inmates engaging in an act of violence against
another ICE detainee or the intentional attempt to          The facility administrator shall ensure that the FOD
harm that detainee through force or violence,               is promptly notified of any incident or allegation of
regardless of whether injury results or a weapon is
                                                          , Inc.
                                                            staff misconduct if that misconduct relates to
used. The facility shall ensure a thorough
                                                  re Civic 022
                                                            treatment of ICE detainees, to the security or safety

                                            . Co er 14, 2
investigation of any incidents of physical assault
                                         o v
                                                            of the facility, or to compliance with detention

                                 O w   in       e m
perpetrated on an ICE detainee, consistent with the b       standards or the provisions of the facility’s contract
                              in            e c
                      cited 55221, D
requirements of Standard 3.1 “Disciplinary                  with ICE. Note that Standard 6.2 “Grievance
System.”                                                    System” also requires that ICE be notified of any
                          .    -
                            21Assaults
                      N o
H. Staff-on-Detainee Physical
                                                            allegation of staff misconduct that is contained in a
                                                            detainee grievance.
The facility administrator shall ensure that the FOD




2.4 | Facility Security and Control                    89                                           PBNDS 2011
                                                                                          (Revised December 2016)
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2.5 Funds and Personal                                            detention.
                                                               3. Each detainee shall be informed of what funds
    Property                                                      and property may be retained in his/her
                                                                  possession, and of procedures to report missing
I. Purpose and Scope                                              or damaged property.
This detention standard ensures that detainees’                4. The facility shall provide communication
personal property, including funds, valuables,                    assistance to detainees with disabilities and
baggage and other personal property, is safeguarded               detainees who are limited in their English
and controlled, and that contraband does not enter a              proficiency (LEP). The facility will provide
detention facility.                                               detainees with disabilities with effective
This detention standard applies to the following                  communication, which may include the
types of facilities housing ICE/ERO detainees:                    provision of auxiliary aids, such as readers,
                                                                  materials in Braille, audio recordings, telephone
 x   Service Processing Centers (SPCs);                           handset amplifiers, telephones compatible with
 x   Contract Detention Facilities (CDFs); and                    hearing aids, telecommunications devices for deaf
                                                                  persons (TTYs), interpreters, and note-takers, as
 x   State or local government facilities used by                 needed. The facility will also provide detainees
     ERO through Intergovernmental Service
                                                                               , In  c.
                                                                  who are LEP with language assistance, including

                                                                         ivic 022
     Agreements (IGSAs) to hold detainees for more                bilingual staff or professional interpretation and
                                                                  re  C
                                                                                 ,2
     than 72 hours.
                                                              Co
                                                                  translation services, to provide them with
Procedures in italics are specifically required for ino v.               r  1  4
                                                                     be
                                                                  meaningful access to its programs and activities.
                                             O   w            c e m
                                  te  d  in
SPCs, CDFs, and Dedicated IGSA facilities.    Non-
                                                     1  , D e     All written materials provided to detainees shall
                                 i            522
dedicated IGSA facilities mustcconform to these                   generally be translated into Spanish. Where
                                      2 1 - 5
                             Nothe. intent represented
procedures or adopt, adapt or establish   alternatives,           practicable, provisions for written translation shall
provided they meet or exceed                                      be made for other significant segments of the
by these procedures.                                              population with limited English proficiency.
Various terms used in this standard may also be                   Oral interpretation or assistance shall be provided
defined in standard “7.5 Definitions.”                            to any detainee who speaks another language in
                                                                  which written material has not been translated or
II. Expected Outcomes                                             who is illiterate.
The expected outcomes of this detention standard
are as follows (specific requirements are defined in
                                                               III. Standards Affected
“V. Expected Practices”):                                      This detention standard replaces “Funds and Personal
1. The security, safety and good order of each                 Property” dated 12/2/2008.
   facility shall be maintained through an immediate
   search of each newly admitted detainee’s
                                                               IV. References
   property.                                                   American Correctional Association, Performance-
2. Each detainee’s funds, valuables, baggage and               based Standards for Adult Local Detention
   personal property shall be inventoried, receipted,          Facilities, 4th Edition: 4-ALDF-2A-20, 2A-23, 2A-
   stored and safeguarded for the duration of their            24, 6A-07(M)


2.5 | Funds and Personal Property                        90                                             PBNDS 2011
                                                                                              (Revised December 2016)
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ICE/ERO Performance-based National Detention                    admissions processing staff.
Standards 2011: “2.3 Contraband.”                            Both the safe and the large-valuables locker shall
V. Expected Practices                                        either be kept in the shift supervisor’s office or
                                                             otherwise secured in an area accessible only to the
A. General                                                   shift supervisor.
All detention facilities are required to have written        The baggage and property storage area shall be
policies and procedures to:                                  maintained in a clean and orderly manner and
                                                             inspected as often as necessary to protect detainee
1. account for and safeguard detainee property from
                                                             property.
   time of admission until date of release;
                                                             B. Contraband
2. inventory and receipt detainee funds and
   valuables;                                                In accordance with standard “2.3 Contraband,” if
3. inventory and receipt detainee baggage and                any unauthorized personal property is contraband, it
   personal property (other than funds and                   must be surrendered to staff for securing, receipting
   valuables);                                               and inventorying.

4. inventory and audit detainee funds, valuables and         C. Notice to Detainees
   personal property;
                                                                          , In c.
                                                             The detainee handbook or equivalent shall notify the
5. return funds, valuables and personal property to
                                                             r e C  ivic 022
                                                             detainees of facility policies and procedures related
   detainees being transferred or released and
                                                      v. C1.owhicheitems,
                                                                    r  1    ,2
                                                             to personal property, including:
                                                                         4including
                                               w
6. provide a way for a detainee to report missing   o
                                                 inor        m  b                   cash they may retain in
                                        in O           e c e
                                ited 5221, D 2. that, upon request, they shall be provided an
   damaged property.                                         their possession;
                              c
In many facilities, detainee funds are 1
                                  . 2    -5 in
                                       deposited
the detainee’s commissary or   o account. Any
                             Ncanteen                        ICE/ERO-certified copy of any identity document
facility without a commissary shall provide:                    (e.g., passport, birth certificate), which shall then
                                                                be placed in their A-files;
1. a cash box for currently held detainee funds,
   which can be accessed only by designated                  3. the rules for storing or mailing property not
   supervisor(s) and/or property officer(s);                    allowed in their possession;
2. valuable-property envelopes, which can be                 4. the procedure for claiming property upon release,
   accessed only by designated supervisor(s) and/or             transfer, or removal;
   property officer(s) or                                    5. the procedure for filing a claim for lost or
3. a dedicated safe for the cash box and property               damaged property and
   envelopes.                                                6. access to detainee personal funds to pay for legal
All facilities, at a minimum, shall provide:                    services.
1. a secured locker for holding large valuables,             D. Admission
   which can be accessed only by designated
                                                             Staff shall search all arriving detainees’ personal
   supervisor(s) and/or property officer(s) and
                                                             property.
2. a baggage and property storage area that is
                                                             Staff shall search and inventory detainee property
   secured when not attended by assigned

2.5 | Funds and Personal Property                       91                                            PBNDS 2011
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only in the presence of the detainee(s), unless                      (softbound) and correspondence;
instructed otherwise by the facility administrator.
                                                                  3. legal documents and papers, including property
Medical staff shall determine the disposition of all                 receipts;
medicine accompanying an arriving detainee.
                                                                  4. up to ten photographs measuring no more than
Standard operating procedure shall include obtaining                 5” x 7”;
a forwarding address from every detainee for use in
                                                                  5. prescription glasses;
the event that personal property is lost or forgotten
in the facility after the detainee’s release, transfer, or        6. dentures;
removal.                                                          7. personal address book or pages;
E. Limitations on Possession of Funds and                         8. wedding ring; and/or
   Personal Property                                              9. other item(s) approved by the facility
1. The facility administrator shall establish whether a              administrator or chief security officer.
   detainee may keep cash in his/her personal                     Examples of items detainees may not retain include
   possession while in detention and, if so, how                  the following:
   much cash each detainee may keep.
                                                                  1. cash in excess of the established facility limit;
2. Detainees may keep a reasonable amount of
   personal property in their possession, provided it
                                                                                  , In c.
                                                                  2. any negotiable instrument;

                                                                      C
                                                                3. jewelry, ic than small
                                                                         ivother       2 2 religious items and
   poses no threat to detainee safety or facility
                                                                 o r e             2 0
   security. Detainees shall be granted an
                                            o v 4. m         e.Cr1 wedding     4,
                                                                            rings;
                                         win
   opportunity to store excess property with a third      b
                                   d in O      D e ce radios,
                                                       other items of value, for example, cameras,
                             cite 55221      ,
   party or, with the facility administrator’s                  stereos;
                                   21-
   permission, in the facility’s personal property
   storage area.
                             N o .                  5. personal clothing and hygiene items when the
                                                       facility provides them;
3. Identity documents (e.g., passports and birth
   certificates) are held in each detainee’s A-file.              6. drugs and medications not prescribed or
   Upon request, staff shall provide the detainee a                  authorized by facility medical staff and
   copy of a document, certified by an ICE/ERO                    7. prohibited publications, including but not limited
   official to be a true and correct copy.                           to: publications depicting activities that present a
4. For each housing area, the facility administrator                 substantial risk of physical violence or group
   shall designate a storage area for storing detainee               disruption (e.g., material dealing with self-
   personal property.                                                defense, weaponry, armaments, explosives, or
                                                                     incendiary devices); publications containing
Each detainee shall be permitted to keep in his/her                  sexually explicit material; or publications
possession reasonable quantities of the following, as                describing the production of drugs, alcohol, or
long as a particular item does not pose a threat to the              weapons.
security or good order of the facility:
                                                                  Every housing area shall have lockers or other
1. small religious items including religious jewelry              securable space for storing detainees’ authorized
   items;                                                         personal property. The amount of storage space shall
2. religious and secular reading material                         be proportional to the number of detainees assigned


2.5 | Funds and Personal Property                            92                                             PBNDS 2011
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to that housing area.                                         and negotiable instrument.
Space constraints may cause the facility administrator        Removal and inventory of detainee funds shall be
to limit the number of newspapers, magazines, etc.,           conducted by at least two officers and in the
allowed to each detainee.                                     presence of the detainee. Separate documentation
                                                              should be made for each kind of currency and
F. Excess Property
                                                              negotiable instrument, and should include detainee
To prevent overcrowding and related storage                   identification information and a description of the
problems, staff shall encourage detainees to send             amount and type of currency or other negotiable
extra suitcases, televisions and other “soft” (not            instrument inventoried. Officers should then
illegal or dangerous) contraband to a third party of          deposit the funds with a copy of the documentation
his/her choosing.                                             in the drop safe or similarly secured depository.
1. The facility may make shipping arrangements for            The G-589 shall include:
   a detainee requiring such help.                            a. the detainee’s A-number or facility detainee
2. If a detainee does not provide an appropriate                 number in the center area, just above the
   mailing address within 30 days of entry, the                  biographic information;
   facility may make reasonable accommodations to             b. the ICE facility designation code (“DETLOC”);
   store the property until the detainee’s removal or
                                                              c. the current date; c.
                                                                             , In
   release. Ordinarily the amount stored may not
   exceed 40 pounds.
                                                                   C  ivic name0of2the
                                                            d. the complete
                                                               r e                  2 detainee, printed
                                                          .C o            4, 2
                                         ino v e. m
3. If a detainee does not provide an appropriate
                                                         b e  r1
                                                               legibly;
                                       Ow         ce inmoney
   mailing address or is unable to pay the postage,
                                    n           e        the “Quantity” column, the number of checks,
                                d  i        , D
                           cite 55221
   the facility administrator may dispose of the              orders, or other negotiable instruments

                              . 2    -
   property in accordance with standard “2.3
                                  1                   and

   written notice.
                           No
   Contraband,” after providing the detainee with
                                                   f. in the “Description” column:

4. When personal property is shipped, staff shall
                                                                 1) the amount and type of currency, the kind of
   prepare an inventory record and shall maintain a
                                                                    check, money order, or other negotiable
   copy in the detainee’s detention file.
                                                                    instrument;
                                                                 2) the name of the issuing bank, the register or
G. Officer Processing of Funds and
                                                                    check number and the account name;
Valuables
                                                                 3) for U.S. currency, the dollar sign ($) followed
Facilities lacking automated detainee funds systems                 by the dollar amount (e.g., $100); and
must process detainee funds and valuables as
                                                                 4) for foreign currency, the currency amount
follows.
                                                                    followed by the type (e.g., 140 Japanese Yen,
1. Funds                                                            300 Euros, 4,000 Mexican Pesos).
For recordkeeping and accounting purposes, use of             For a detainee with more than one kind of
the G-589 Property Receipt form or its equivalent is          negotiable instrument, the officers shall prepare as
mandatory to inventory any funds removed from a               many G-589 or equivalent forms as necessary to list
detainee’s possession, and a separate G-589 form or           separately all checks, all money orders, each
its equivalent is required for each kind of currency          additional category of negotiable instrument; and

2.5 | Funds and Personal Property                        93                                          PBNDS 2011
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each type and amount of foreign currency.                         proofing.
If cash is returned to the detainee for possession                The processing officer shall record the issuance of
inside the facility, staff shall record the transaction in        this G-589 in the G-589 Property Receipt Logbook
the “Description” column of the affected G-589                    or equivalent. The officer shall then deposit the
form or equivalent.                                               secured valuables envelope and G-589 receipts in the
The two officers and the detainee shall sign all                  drop safe provided. Zippered nylon bags are not
copies, after which the copies shall be distributed as            authorized.
follows:                                                          3. Large Valuables
a. white original/first copy to the detainee                      Large valuables are items that do not fit into property
   (property receipt);                                            envelopes, for example, televisions or musical
b. blue/second copy to detainee’s I-385 booking                   instruments. The Form G-589 or equivalent should
   card or detention file (attachment), and                       be used to describe generally each item of value.
                                                                  The officers should then record the issuance of this
c. pink/third copy to funds envelope (insert).                    Form G-589 in the facility’s Property Receipt
The admissions processing officer shall record each               Logbook or equivalent, tag the large valuable with a
Form G-589, or equivalent, issued and enter the                   copy of the Form G-589 and a Baggage Check (Form
initials and any corresponding identifiers of                     I-77), and secure the item(s) in the designated
receipting officers in the facility’s G-589 Property
                                                                                ,  In c.
                                                                  storage area. The Form G-589, or equivalent,
Receipt Logbook, or equivalent. The officer shall then                C     ic
                                                              including iavdescription
                                                                                         2as2above. The large
                                                                                        of each item, shall be
                                                             C o  r e             ,  2 0
deposit an envelope containing the currency, checks,          prepared
                                                      o v. valuables    e      4
                                                                         and distributed
                                                                          r 1then be tagged with a copy of the
money orders, other negotiable items and G-589
                                              O w  i n               b   shall
                                                              em G-589 and a Baggage Check (Form I-77). The
                                       d  in             D e cForm
receipt(s) in the drop safe.
                               cite 55221              ,      officers shall attach a copy of the Form G-589 and
2. Small Valuables, Including Jewelry    1  -
                                    . 2 be used to            the center portion of the Form I-77 to the detainee’s
The Form G-589 or equivalent  Noshould                        booking card or detention file. The processing
describe generally each item of value. The officers           officer shall record the G-589 issuance in the
should then record the issuance of this Form G-589            facility’s G-589 Property Receipt Logbook or
in the facility’s Property Receipt Logbook or                 equivalent and secure the item(s) in the designated
equivalent, place the valuables in a secured envelope,        storage area.
and deposit the envelope in the drop safe or similarly
                                                                  H. Supervisor Processing of Funds and
secured depository.
                                                                     Valuables
The Form G-589, or equivalent, shall describe each
item of value. Jewelry shall be described in general              During each shift, the supervisory security officer
terms (e.g., ring—“yellow/white metal with                        shall verify the accuracy of all G-589 Forms or
red/white stone”), with no mention of brand name                  equivalent, record all funds and items in the drop
or monetary value. The detainee and two processing                safe or similarly secured depository in the
officers shall sign the G-589 or equivalent with                  supervisors’ property log, and verify the disposition
copies distributed as noted above in this standard.               of all large valuables in the designated secured
The officers shall then place the valuables (and                  locked area.
pink/third copy of G-589) in a clear envelope, which              The supervisory security officer or equivalent shall
they shall secure via approved techniques for tamper-             remove the contents of the drop safe during his/her

2.5 | Funds and Personal Property                            94                                           PBNDS 2011
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shift and initial the G-589 accountability log. The           3. description, quantity and disposition of articles;
supervisor shall:                                                disposition may be indicated as either:
1. verify the correctness of all G-589 Forms or                  a. “S” for “safekeeping” (by the facility); or
   equivalents;                                                  b. R” for “retained” (by the detainee);
2. record the amount of cash and describe each item           4. general condition of the property and
   in the supervisors’ property log and
                                                              5. signatures of the officer completing the inventory
3. verify the proper disposition of funds and                    and the detainee.
   valuables by checking the sealed envelopes in the
   cash box, the property envelopes in the safe, and          After being properly inventoried and inspected for
   the safekeeping of all large valuables in the              contraband, all baggage and facility containers shall
   designated secured locked area.                            be tagged and stored securely.

I. Officer Processing of Baggage and                          A pre-numbered, three-part Form I-77 or its
                                                              equivalent shall be issued for each separate item of
   Personal Property Other Than Funds
                                                              baggage or container. The front side of the Form I-
   and Valuables                                              77 has three parts: top (Part I); center (Part II); and
An itemized inventory of all detainee baggage and             bottom (Part III), the reverse side of which provides
personal property (separate from funds and                    additional space to describe and identify the baggage
valuables) shall be completed during admissions               or container.
                                                                         vic,    Inc.
processing using the personal property inventory         re     i I-77 or 0its2equivalent
                                                             CForm              2
                                                     C o
                                                      1. Each
                                                                    4  , 2                shall bear the

                                              wino v. m
form. Each facility shall inventory all property, even
                                                              e r 1full name and A-number/facility
                                                         detainee’s
                                                           b
in the event that the property was previously
                                     in    e O       ce detainee number and the date.
                             cited 55221, D 2. The detainee’s signature must appear on both the
inventoried by another facility and is contained in a

                                   21-
sealed bag. If a detainee has no baggage, a facility
                             N o .             top (Part I) and bottom (Part III) of the Form I-
container shall be provided to store his/her personal
                                               77 or its equivalent.
property.
                                                              3. The top part of the Form I-77 or its equivalent
A Form I-77 or equivalent shall also be issued for
                                                                 shall be attached to the detainee’s property.
each separate item of baggage or container.
                                                              4. The center part shall provide a brief description of
All detainee luggage and facility containers used for
                                                                 the property container (for example, black
storing detainee personal property shall be secured
                                                                 suitcase, paper bag, etc.) and shall be attached to
in a tamper-resistant manner and shall only be
                                                                 the detainee’s booking card or detention file.
opened in the presence of the detainee.
                                                              5. The bottom part shall be given to the detainee
These procedures do not apply to identity
                                                                 and the reverse side shall also contain a brief
documents (e.g., passports, birth certificates, etc.),
                                                                 description of the property container.
which are held in each detainee’s A-file.
                                                              All detainee luggage and facility containers used for
The personal property inventory form must contain
                                                              storing detainee personal property shall be secured
the following information at a minimum:
                                                              in a tamper-resistant manner (e.g., by a tamper-
1. date and time of admission;                                proof numbered tie strap) and shall only be opened
2. detainee’s complete name and A-number or                   in the presence of the detainee.
   facility detainee number;                                  A logbook shall be maintained listing detainee name,

2.5 | Funds and Personal Property                        95                                           PBNDS 2011
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A-number or facility detainee number, I-77 number,                equivalents in the cash box;
security tie-strap number, property description, date          5. Disbursed During Shift
issued and date returned.                                         This figure represents the total amount of funds
Tagged baggage and other property tagged only with                disbursed during the shift. The out-going
an Form I-77, or equivalent, shall then be stored in              processing supervisor shall enter disbursal
the facility baggage storage area.                                information;
J. Inventory and Audit                                         6. Received During Shift
                                                                  This figure represents the total amount of funds
Both on-coming and off-going supervisors shall                    collected during the shift. The out-going
simultaneously conduct an audit of detainee funds,                processing supervisor shall complete this
property envelopes and large valuables where physical             information;
custody of, or access to such items changes with
facility shift changes. The property and valuables             7. Cash on Hand at End of Shift
logbook shall record the date, time and the name of               This figure represents the amount on hand as
the officer(s) conducting the inventory. Any                      counted by the out-going processing supervisor.
discrepancies shall be immediately reported to the                (If the logged figure does not match with the
Chief of Security, who shall follow facility procedure            cash currently on hand, a new audit shall be
to ensure that all detainee funds and valuables are               conducted.) The Chief of Security or equivalent
accounted for.                                                                     n
                                                                  shall follow facility
                                                                                  I     .
                                                                                      cprocedures to ensure that all
                                                                               ,
                                                                             ic and valuables
                                                                          ivfunds
                                                                  detainee
                                                                  r e  C               0 2 2   are accounted for;
For each audit, facilities shall use Form G-786 Alien
Funds Audit Sheet, or equivalent, reflecting, at a o v.       Coand       r  14  ,2
minimum, the following information: Ow              in           m   b e
                                         in                e c e
                                                              8. Number of Sealed Property Bags
                                      d the On-Duty
                               citethan          2 2  1 ,D       In facilities without commissaries, a
1. Funds Held by Officers Other
                                      2 1  - 55                  comprehensive     weekly audit shall be completed
   Supervisor
   At no time shall funds beN
                                 o.
                                held by officers other
                                                                 jointly by the detention operations supervisor or
                                                                 equivalent, and a detention staff member. The
   than the on-duty supervisor;                                  audit shall be logged in the property and valuables
2. Cash on Hand                                                  logbook. Discrepancies shall be reported to the
   The count is to be made by the incoming                       Chief of Security (or equivalent). The Chief of
   processing supervisor, who shall fill in the                  Security or equivalent shall take the necessary
   appropriate blanks with the amount of each                    steps, according to facility policy, to ensure that
   denomination (U.S. currency);                                 all detainee funds and valuables are accounted for.
3. Checks, Money Orders, or Other Negotiable Items             An inventory of detainee baggage and other non-
   The count is to be made by the in-processing                valuable property shall be conducted by the facility
   supervisor, and the appropriate blanks are to be            administrator’s designee at least once each quarter.
   filled in reflecting the amount of checks, money            The facility’s inventory audit shall indicate the
   orders and other negotiable items;                          inventory’s date and time, and the name of the
4. Total of G-589 Property Receipts                            officer(s) conducting the inventory. Any
   This figure represents the total amount of funds,           discrepancies shall be reported immediately to the
   checks, money orders and other negotiable items             facility administrator.
   as reflected by the copies of the Form G-589 or
                                                               K. Release or Transfer

2.5 | Funds and Personal Property                        96                                            PBNDS 2011
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After checking the I-385 Form or equivalent,                   Supervisory personnel shall be notified when
wristbands and property receipts to positively                 properly receipted detainee property is reported
identify the detainee being released or transferred,           missing or damaged. Supervisory staff shall
the detainee shall present the white copy of both the          investigate and, if necessary, take prompt action to
G-589 Form(s) and I-77 Form(s) or equivalents for              prevent further loss.
all receipted property.                                        If the property is not recovered or is recovered, but
Staff shall compare signatures on Form I-77 receipt            in damaged condition, staff shall prepare a report for
portions, and match cash funds, negotiable                     the facility administrator, providing: a description
instruments, and valuables against property                    of any damage; the circumstances under which the
descriptions on G-589 forms.                                   property was last seen; the circumstances under
                                                               which the loss or damage was discovered; and sworn
For each I-77 presented, staff shall compare the
                                                               statements from the detainee and all witnesses.
signature on the detainee’s portion with the portion
on the stored item and the portion on the booking              If the property is not recovered or is recovered, but
card. Depending on the size and kind of funds and              in damaged condition, staff shall prepare a report for
valuables listed on the G-589, staff shall conduct             the facility administrator, providing:
checks as follows:                                             a. name and A-number/facility detainee number of
1. Small Valuables                                                the detainee claiming ownership;
   Match the contents of the property envelope
                                                                                  I n
                                                               b. description of, the    .
                                                                                      cproperty and, if applicable,
                                                                         iv ic
   against the itemized list on all three copies of the
                                                               r   eC
                                                                  damage;
                                                                               20         22
   G-589 Form or equivalent.
                                                        v. Cc.odate     1 4  ,
                                               w  ino          m    er time the loss or damage was discovered;
                                                                  band
2. Large Valuables
                                         n  O
                                       idescription        c e
                                                    on, De d. name(s) of person(s) discovering the loss or
                               it
   Match the tagged items againste d
                                   the             1
   all three copies of the G-589
                                     1   -  522
                              c Form or5equivalent.            damage;
3. Negotiable Instruments No
                                 . 2                        e. the circumstances under which the person(s)
   Match the negotiable instruments against the                   discovered the loss or damage;
   description on all three copies of the G-589 Form           f. names and statements of all witnesses;
   or equivalent.
                                                               g. place, date and time the property was last seen
4. Cash Funds                                                     (before reported missing or damaged);
   Compare the property description(s) on the
   white, pink and blue copies of the G-589 Form or            h. the circumstances under which the property was
   equivalent.                                                    last seen (before reported missing or damaged);
                                                                  and
After the property check, the property shall be
returned to the detainee. The detainee shall then sign         i. sworn statements from the detainee and all
the blue/second copy of the G-589 Form or                         witnesses.
equivalent, indicating his/her receipt of all funds            A detainee being transferred, released, or removed
and personal property due him/her. The property                from the country with a property claim shall be
log and inventory sheets shall reflect the transaction.        allowed to initiate the claim before leaving the
                                                               facility. The facility administrator shall forward the
L. Lost or Damaged Property
                                                               result of the claim to the claimant’s forwarding
1. General                                                     address (provided upon admission or in conjunction

2.5 | Funds and Personal Property                         97                                            PBNDS 2011
                                                                                              (Revised December 2016)
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with the claim).                                                 d. the official deciding the claim shall be at least one
2. Lost or Damaged Property in SPCs                                 level higher in the chain of command than the
                                                                    official investigating the claim;
In addition to all procedures specified above, SPC
staff must complete Form I-387 Report of Detainees               e. the facility shall promptly reimburse detainees for
Missing Property for missing property (but not for                  all validated property losses caused by facility
damaged property). The original copy of this form                   negligence;
shall be placed in the detainee’s A-file. The facility           f. the facility may not arbitrarily impose a ceiling on
shall retain a copy.                                                the amount to be reimbursed for a validated
In accordance with the administrative manual, the                   claim; and
facility administrator shall report allegations of               g. the senior contract officer shall immediately
impropriety against staff in the handling of detainee               notify the designated ICE/ERO officer of all
funds or valuables.                                                 claims and outcomes.
3. Lost and Damaged Property                                     M. Abandoned Property
All facilities shall have and follow a policy for loss of        All facilities shall report and turn over to ICE/ERO all
or damage to properly receipted detainee property,               detainee abandoned property.
as follows:
                                                                 1. Contraband shall be handled in accordance with
a. all procedures for investigating and reporting
                                                                            ,  In  c.
                                                                         ic
                                                                    standard “2.3 Contraband.”
                                                                    Civthat
   property loss or damage shall be implemented as
                                                            C   r e
                                                             2.oProperty
                                                                           4  ,  2
                                                                             is of 022 value, broken, or
                                                                                   minimal
   specified in this standard;
                                                   in  o v. clearlyb e r1
                                                                       abandoned   shall be discarded.
                                              O  w           e  m
                                                           ec3. Because property obtained through non-
                                  te  d  in
b. supervisory staff shall conduct the investigation;
                                                     1 , D
                                 i               22
c. the senior facility contractcofficer shall promptly
                                               5
                                     2
   process all detainee claims for.lost 1 - 5
                                         or damaged
                                                                appropriated funds cannot be donated, donations

   property;                 No                                 of abandoned property to charitable organizations
                                                                    are prohibited.




2.5 | Funds and Personal Property                           98                                            PBNDS 2011
                                                                                                (Revised December 2016)
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2.6 Hold Rooms in                                             1. The safety, security and comfort of detainees
                                                                 temporarily confined in hold rooms shall be
    Detention Facilities                                         ensured.
                                                              2. No detainee shall be confined in a hold room for
I. Purpose and Scope                                             more than 12 hours.
This detention standard ensures the safety, security,         3. Males and females shall be confined separately.
and comfort of detainees temporarily held in hold
                                                              4. Minors (persons under 18) shall be held apart from
rooms while awaiting further processing. An
                                                                 adults, except for documented related adults or legal
individual may not be confined in a facility’s hold
                                                                 guardians, provided this arrangement incites no
room for more than 12 hours.
                                                                 safety or security concerns.
Hold rooms are used for detention of individuals
                                                              5. Any detainee with a disability, including
awaiting removal, transfer, EOIR hearings, medical
                                                                 temporary disabilities, shall be held in a manner
treatment, intra-facility movement, or other
                                                                 that provides for his/her safety, comfort and
processing into or out of a facility.
                                                                 security.
This detention standard applies to the following
                                                              6. Detainees awaiting a medical visit shall be seen
types of facilities housing ICE/ERO detainees:
                                                                 within two hours.
  x   Service Processing Centers (SPCs);
                                                                           I
                                                              III. Standardsn .
                                                                             cAffected
                                                                       ic,
  x   Contract Detention Facilities (CDFs); and
                                                              or e Civ         2 022
                                                          . C         r1  4 ,
  x State or local government facilities used byino v
                                                              This detention standard replaces “Hold Rooms in
                                                 w               b  e
                                                            cem
                                                              Detention Facilities” dated 12/2/2008.
                                          n
     ERO through Intergovernmental iService  O          D e
     Agreements (IGSAs) toc
                                      d
                                 itedetainees5for   1 ,
                                                  2more      IV. References
                               hold
                                           5    2
     than 72 hours.
                                o  .  21-
                             N
Procedures in italics are specifically required for
                                                             American Correctional Association, Performance-
                                                              based Standards for Adult Local Detention
SPCs, CDFs, and Dedicated IGSA facilities. Non-               Facilities, 4th Edition: 1A-04, 1A-09, 1A-10, 1A-
dedicated IGSA facilities must conform to these               11, 1A-14, 1A-19, 1A-20, 1A-21, 6B-04.
procedures or adopt, adapt or establish alternatives,
provided they meet or exceed the intent represented           ICE/ERO Performance-based National Detention
by these procedures.                                          Standards 2011:

For all types of facilities, procedures that appear in          x   “2.6 Hold Rooms in Detention Facilities”;
italics with a marked (**) on the page indicate                 x   “2.10 Searches of Detainees”;
optimum levels of compliance for this standard.
                                                                x   “2.15 Use of Force and Restraints”; and
Various terms used in this standard may be defined
in standard “7.5 Definitions.”                                  x   “4.6 Significant Self-harm and Suicide
                                                                    Prevention and Intervention.”
II. Expected Outcomes                                         ICE/ERO “Family Residential” standards “Searches of
The expected outcomes of this detention standard              Residents.”
are as follows (specific requirements are defined in          ICE/ERO “Family Residential” standards “Use of
“V. Expected Practices”).                                     Physical Force.”

2.6 | Hold Rooms in Detention Facilities                 99                                            PBNDS 2011
                                                                                             (Revised December 2016)
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V. Expected Practices                                            a. each small hold room (up to 14 detainees)
                                                                    shall have one combination unit; and
A. Physical Conditions                                           b. each large hold room (15 to 49 detainees),
Based on the ICE/ERO Hold Room Design Guide,                        shall have at least two combination units. (The
hold rooms in SPCs and CDFs must comply with the                    Hold Room Design Standards A-E, HDR
criteria in italics in this subsection. All other                   Architecture, recommends a third combination
facilities are encouraged to make appropriate                       unit for a hold room with 30 or more
modifications to meet the criteria specified in the                 detainees, or one combination unit for every
ICE/ERO Hold Room Design Guide.                                     15 detainees.)
1. Each hold room shall be situated within the               7. Each hold room shall have floor drain(s).
   facility’s secure perimeter.                          8. Hold-room walls shall be escape- and tamper-
2. Each single-occupant hold room shall contain a           proof (e.g., an eight-inch, reinforced concrete
   minimum of 37 square feet (seven                         masonry unit wall). Impact-resistant, steel-
   unencumbered square feet for the detainee, five          studded surfaces shall meet this standard in
   square feet for a combination lavatory/toilet            existing buildings that cannot support reinforced
   fixture and 25 square feet for wheelchair                concrete. The walls shall extend and be built into
   turnaround). Multiple-occupant hold rooms shall          the floor/room structure above. Ceilings shall
   provide an additional seven square feet of                                n
                                                            also be escape- and
                                                                            I     .
                                                                               ctamper-proof,   preferably 10
                                                                         ,
                                                                       c but no less
                                                                   ivihigh
   unencumbered space for each additional detainee.         to 16 feet
                                                            r e C               0  2 2  than nine feet, except
   “Unencumbered space” does not include space
                                                     v. Coinfloor   r 1  4 , 2 facilities with lower floor-to-
                                                               currently existing
                                                 ino           be heights.
   taken up by benches and tables.
                                          in   Ow Dec9.emEach hold room shall have two-inch thick,
3. Each hold room shall be well
                               c      d and 2well
                                 iteventilated       1 ,
                                            -     2
                                                5 be
                                              5shall     detention-grade 14-gauge steel doors that swing
                                      2 1
   lit. All activating switches and controls
                                   . accessible to
   located outside the room,  Ninoplaces                 outward, and the 14-gauge steel doorframes
                                                         shall be grouted into the surrounding wall. Also
   staff only.
                                                                 required are tamper-resistant bolt locks, door-
4. Each hold room shall contain sufficient seating for           mounted with paracentric keys or jamb-mounted
   the maximum room-capacity but shall contain no                with mogul keys.
   moveable furniture. Benches shall provide 18” of
   seat space per detainee and may be bolted to the          10. The solid doors shall be equipped with security-
   floor or attached to the wall if the wall is of               glass or barred windows, 12”x12”, installed at
   suitable construction.                                        eye level for convenient visual checks. Security
                                                                 bars or mesh doors shall be of appropriately
5. Bunks, cots, beds and other sleeping apparatus are            sturdy construction to prevent escape.
   not permitted inside hold rooms. Exceptions shall
   be made for detainees who are ill, and for minors         11. Primary surveillance shall be through observation
   and pregnant women.                                           windows to the side of the hold-room doors.
                                                                 Observation windows shall start about three feet
6. Each hold room shall be equipped with stainless               from the floor and extend no higher than the top
   steel, combination lavatory/toilet fixtures with              of the door.
   modesty panels, in compliance with the
   applicable federal and state accessibility standards.     12. The glazing shall meet or exceed the impact-
   Consistent with the International Plumbing Code:              resistant standard of glass-clad polycarbonate

2.6 | Hold Rooms in Detention Facilities                   100                                      PBNDS 2011
                                                                                           (Revised December 2016)
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   laminate. Window jambs shall be 14-gauge steel.         4. Any minor (persons under 18) shall be held apart
13. Detainees shall have access to potable water in           from adults, minimizing sight, sound, and
   hold rooms.                                                physical contact, unless the juvenile is in the
                                                              presence of an adult member of the family unit
B. Unprocessed Detainees                                      (determined through reliable evidence of a family
An individual may not be held in a hold room for              relationship) or legal guardian, and provided
more than 12 hours.                                           there are no safety or security concerns with this
                                                              arrangement. (For more information regarding
1. Unaccompanied minors (persons under 18) and                juveniles, see Flores v. Reno.)
   parent(s) or legal guardians accompanied by
   minor children shall not be placed in hold rooms,       5. Detainees with open, obvious, apparent, or other
   unless they have shown or threatened violent               identified disabilities, including temporary
   behavior, have a history of criminal activity, or          disabilities, shall be housed in a manner that
   have given staff reasonable grounds to expect an           accommodates their disability(ies) and provides
   escape attempt. As soon as it is determined that an        for safety, comfort and security.
   unaccompanied minor is being detained,                  6. Detainees shall be provided with basic personal
   immediate efforts shall be coordinated with the            hygiene items (e.g., water, disposable cups, soap,
   ICE/ERO Juvenile Family and Residential                    toilet paper, feminine-hygiene items, diapers and
   Management Unit (JFRMU) to move the minor
                                                                 ,  In  c.
                                                              sanitary wipes), as appropriate.
   within 72 hours, to an approved facility
                                                       C
                                               7. If the
                                                  r e      ivicroom is0not22equipped with restroom
                                                          hold
                                           v. Cofacilities,
   designated for the placement of unaccompanied
                                                           r       , 2supervisor shall position an
                                                              the4shift
                                                              1
                                      wino
   minors by the U.S. Department of Health and
                                                  m   bewithin sight or earshot of the hold room,
                                                  officer
                                  in O        c
   Human Services Office of Refugee Resettlemente
                                            e to provide detainees with regular access to toilet
                           cited 55221, D
   (ORR) procedures. While in custody juveniles
                                                  facilities, which shall be as close as possible
                                 1 -
   shall be detained in the least restrictive setting
                               2
                           No.
                                                  within the facility’s security perimeter. Detainees
   appropriate to the juvenile’s age and special
                                                               using the restroom shall be closely monitored,
   needs, provided that such setting is consistent
                                                               under direct supervision. Detainees with
   with the need to protect the juvenile’s well-being
                                                               disabilities shall be provided appropriate
   and that of others, as well as with any other laws,
                                                               assistance and access to accessible toilet facilities
   regulations, or legal requirements.
                                                               in the hold room or holding area.
2. Persons exempt from placement in a hold room
   due to obvious illness, special medical, physical       C. Detainee Search
   and or psychological needs, or other documented         Officers shall inspect parcels, suitcases, bags,
   reasons shall be seated in an appropriate area          bundles, boxes and other property before accepting
   designated by the facility administrator outside        any item of property.
   the hold room, under direct supervision and
                                                           Before placing a detainee in a room, staff shall do a
   control, barring an emergency. If the physical
                                                           pat-down search for weapons or contraband.
   layout precludes holding such individuals outside
   the hold room, they may be held in separate             1. The pat-down search shall be done by a staff
   rooms, if available.                                       member of the same gender as the detainee,
                                                              unless one is not available.
3. Males shall be segregated from females at all times
   (even if married).                                      2. A pat-down search is required, even if another section

2.6 | Hold Rooms in Detention Facilities                 101                                          PBNDS 2011
                                                                                            (Revised December 2016)
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   or agency claims to have completed one.                          times, visual checks, security concerns (which
If the pat-down search indicates the need for a more                may also necessitate an incident report) and
thorough search (e.g., in cases of reasonable                       comments.
suspicion of contraband or weapon possession), a             3. Meals:
strip search shall be conducted, in accordance with
                                                                 a. Officers shall offer a meal to any adult held in
standard “2.10 Searches of Detainees” and/or the
                                                                    a hold room for more than six hours. (Officers
“Family Residential” standard on “Searches of
                                                                    shall question newly arrived individuals to
Residents.”
                                                                    determine when he/she last ate, and, if
Staff shall remove from a detainee’s possession any                 appropriate, provide a meal soon after arrival
sharp objects, including pens, pencils, knives, nail                in the hold room.)
files and other objects that could be used as weapons
                                                                 b. Each minor shall receive meal service
or to deface property.
                                                                    regardless of the time in custody or time of
D. Basic Operational Procedures                                     arrival.

1. Before placing a detainee in a hold room, an                  c. Minors, pregnant women and others with
   officer shall observe and evaluate whether the                   evident medical needs shall have access to
   detainee presents any open, obvious or apparent                  snacks, milk and juice.
   disabilities, mental health concerns, or other
                                                                           , I n c.
                                                                 d. To the extent practicable, officers shall be
   special needs. If any such special needs,
                                                               r e C  ivic 022
                                                                    sensitive to detainees’ cultural, religious and

                                                         . Co er 14, 2
   including any disabilities, or concerns, are                     medical culinary restrictions and differences.
                                                      o
   apparent, the officer shall notify appropriate staff.
                                                   in   v         bshall ensure that sanitation, temperatures and
                                             O   w         c
                                                            4. m
                                                             e Staff

                                 ted thein
2. Each facility shall maintain a detention  log
                                                    1 , De humidity in hold rooms are maintained at
                              ciwhich             2
                                         -552
   (manual or electronic) into               hold room         acceptable and comfortable levels. Minors,
                                    2  1
   officer shall immediately enter. specific
                             No
   information on an ICE/ERO detainee’s placement
                                                               pregnant women and others with evident medical
                                                                 needs shall have temporary access to temperature-
   in a hold room.                                               appropriate clothing and blankets.
   The detention log shall record each detainee’s:           5. Officers shall closely and directly supervise hold
   a. name;                                                     rooms through the following means:

   b. sex;                                                       a. continuous auditory monitoring, even when
                                                                    the hold room is not in the officer’s direct line
   c. age;                                                          of sight;
   d. A-number;                                                  b. visual monitoring at irregular intervals at least
   e. nationality;                                                  every 15 minutes, each time recorded in the
                                                                    detention log, to include the time, the officer’s
   f. reason for placement;
                                                                    printed name, and any unusual behavior or
   g. time in;                                                      complaints under “comments”; and
   h. time out; and                                              c. constant surveillance of any detainee
   i. date and time of new age determination.                       exhibiting signs of hostility, depression, or
                                                                    similar behaviors. In such cases, the officer
      The log shall also provide space to record meal               shall notify the shift supervisor. (See standard

2.6 | Hold Rooms in Detention Facilities                   102                                        PBNDS 2011
                                                                                            (Revised December 2016)
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      “4.6 Significant Self-harm and Suicide                   distribute a written plan to be followed in the
      Prevention and Intervention.”)                           event of a fire, building evacuation, or medical
6. Staff shall not permit detainees to use tobacco             emergency.
   products in a hold room.                                    Evacuation procedures shall include posting the
7. The occupant load/detainee capacity shall be                evacuation map and advance designation of the
   posted outside of each holding cell.                        officer responsible for removing detainees from
                                                               the hold room(s) in case of fire and/or building
8. No officer may enter a hold room unless another             evacuation.
   officer is stationed outside the door, ready to
   respond as needed. Officers may not routinely           2. Staff shall immediately:
   carry firearms, pepper spray, a baton or any other          a. contact the medical emergency service when a
   non-deadly force devices into a hold room, and                 detainee appears to be in need of urgent
   any required physical force to control a situation             medical treatment; and
   shall be in accordance with standard “2.15 Use of           b. notify the supervisor of any such emergencies.
   Force and Restraints” and/or the “Family
   Residential” standard on “Use of Physical Force.”       3. If a detainee is removed from a hold room for
                                                              medical treatment, an officer detail shall
9. When the last detainee has been removed, officers          accompany and remain with that detainee until
   shall ensure the hold room is thoroughly cleaned
                                                                ,   Inc.
                                                              medical personnel determine whether the
                                                          ivic 022
   and inspected for any evidence of tampering with           condition requires hospitalization.
                                                  r e
   doors, locks, windows, grills, plumbing, electrical C
                                           v
   fixtures, or contraband, and shall report any such
                                         o                      4, 2is not hospitalized, the officer
                                            . Coa. If ether detainee
                                                              1
                                  O w in        e
   problems to the shift supervisor for correctivem  bdetail shall remain with the detainee until
                               in           e c
                       cited 55221, D
   action or repair.                                  treatment is complete and then escort the
                                                      detainee back to the facility.
                            2
E. Fire, Building Evacuations 1 -
                              and Medical
  Emergencies          No.                        b. If the detainee is hospitalized, the officer detail
                                                                  shall notify the supervisor and await further
1. The facility administrator shall develop and                   instructions.




2.6 | Hold Rooms in Detention Facilities                 103                                       PBNDS 2011
                                                                                          (Revised December 2016)
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2.7 Key and Lock Control                                      III. Standards Affected
I. Purpose and Scope                                          This detention standard replaces “Key and Lock
                                                              Control” dated 12/2/2008.
This detention standard enhances facility safety and
security by requiring that keys and locks be properly         IV. References
controlled and maintained.                                    American Correctional Association, Performance-
This detention standard applies to the following              based Standards for Adult Local Detention
types of facilities housing ICE/ERO detainees:                Facilities, 4th Edition: 4-ALDF-2D-01, 7B-10.
  x   Service Processing Centers (SPCs);                      V. Expected Practices
  x   Contract Detention Facilities (CDFs); and               A. Proper Care and Handling of Keys and
  x   State or local government facilities used by               Locks
      ERO through Intergovernmental Service
                                                              All staff shall be trained in and held responsible for
      Agreements (IGSAs) to hold detainees for more
                                                              adhering to proper procedures for the care and
      than 72 hours.
                                                              handling of keys, including electronic key pads
Procedures in italics are specifically required for SPCs      where used. Initial training shall be completed
and CDFs. IGSA facilities must conform to these
                                                                                 , In  c.
                                                              before staff is issued keys, and key control shall be
procedures or adopt, adapt or establish alternatives,
                                                                   r e C  ivic 022
                                                              among the topics covered in subsequent annual
provided they meet or exceed the intent represented
                                                         o v . Co er 14, 2
                                                              training. Ordinarily, such training shall be done by
by these procedures.
                                                O  w  in         e m  b
                                                              the security officer (key control officer), as described
                                           in                e c
                                  itedthat appear    2in1, D  below.
                                c
For all types of facilities, procedures
                                              552
italics with a marked (**) on the page
                                     . 2 1  -
                                            indicate            1. An employee who leaves the facility with a key
optimum levels of compliance   N  ofor this standard.              ring shall return it immediately upon realizing
Various terms used in this standard may be defined               his/her mistake or when instructed to by the
in standard “7.5 Definitions.”                                   facility. Such an act shall constitute unauthorized
                                                                 possession of facility property as well as a breach
II. Expected Outcomes                                            of security procedures.
The expected outcomes of this detention standard              2. An employee who loses, misplaces, or otherwise
are as follows (specific requirements are defined in             cannot account for a key or key ring shall
“V. Expected Practices”).                                        immediately alert the shift supervisor and
                                                                 promptly submit a written report.
1. All staff shall be trained in the proper care and
   handling of keys and locks.                                3. Under no circumstances shall staff allow a
                                                                 detainee to handle facility keys.
2. Keys shall be accounted for and controlled.
                                                              4. Key rings, including those for gun lockers, shall
3. Locks and locking devices shall be continually                be securely fastened to a belt with a metal clip or
   inspected, maintained and inventoried.                        other approved device. Fastening keys to a holster
4. All firearms shall be stored in secure gun lockers            or belt loop is prohibited.
   before their carriers enter the facility.                  5. Employees shall not refer to key numbers or other


2.7 | Key and Lock Control                                 104                                        PBNDS 2011
                                                                                             (Revised December 2016)
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   means of key identification within earshot of a                electronic/automated and manually operated
   detainee.                                                      security systems and immediately repairs them or
6. Employees shall neither throw nor slide keys to                coordinates prompt repairs with the facility
   one another.                                                   maintenance department;

7. Locks should not be forced. If a key fails to               e. overhauls, adjusts and replaces worn parts on
   operate a lock, a supervisor shall be notified                 locking devices and systems;
   immediately.                                                f. maintains, adjusts and services machines used in
8. If a key breaks inside a lock, the employee shall              the lock shop;
   maintain visual oversight of the lock until the             g. is trained in operation of gas/oxygen-cutting
   problem is repaired. If the key breaks inside a                tools and end-saw equipment in case of an
   padlock, the padlock itself shall be removed and               emergency;
   taken to the control center. In every instance, the         h. conducts routine tests on emergency-exit doors;
   employee shall submit a memorandum on the
   incident to the facility administrator.                     i. checks the keys to all emergency exits every 30
                                                                  days and all other keys needed in emergencies
9. Facilities shall use key covers for large security
                                                                  quarterly, and documents the results; and
   keys to prevent detainees or other unauthorized
   persons from observing and duplicating them.              j. reviews all major work orders and in-house
                                                                               In
                                                                designs, plans and  .
                                                                                  cspecifications with the facility
                                                                          ic ,
B. Security Officer (Key Control Officer)
                                                               or e Civ department
                                                                maintenance
                                                                                 2 0 2 2 for compliance with
Each facility administrator shall establish the position   .C
                                             o v Themfacility      1
                                                                security    4,
                                                                         requirements.
                                                              er maintenance
                                         Owin
of security key control officer, or at a minimum,    e      b
                                  d  in         D e cshall                     supervisor, or equivalent,
                          cite 55221          ,
shall assign a staff member the collateral security        consult with the Chief of Security or equivalent
officer duties, as described herein.
                              .  2  1  -             and security officer before proceeding with new
                         No of the Security
1. Major Duties and Responsibilities                 construction and renovation projects involving door
   Key Control Officer                                         hardware.
The security key control officer shall have a written          2. Required Locksmith Training
position description that includes duties,                     All security key control officers shall successfully
responsibilities and a chain of command                        complete an approved locksmith-training program.
The security key control officer:                              The security key control officer shall complete an
a. reports directly to the Chief of Security;                  approved locksmith training program.
b. conducts physical security surveys of all buildings         This training shall be supplemented with additional
   and provides the Chief of Security written                  training in Occupational Safety and Health
   recommendations regarding deficiencies and                  Administration standards and the National Fire
   needed corrective actions;                                  Prevention Association’s life safety codes.
                                                               Manufacturer’s instructions, user manuals, product
c. plans and implements adequate preventive                    orientations and demonstrations also provide useful
   maintenance/replacement locks and other                     guidance and shall be housed in a secure location.
   security devices;
                                                               3. Administrative Responsibilities
d. identifies technical problems or malfunctions in
                                                               The security key control officer is responsible for all

2.7 | Key and Lock Control                                 105                                          PBNDS 2011
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administrative duties, including record keeping,             b. All key blanks, identified by model number and
concerning keys, locks and related security                     manufacturer’s name, inventoried in a bound
equipment.                                                      ledger or electronic database;
The security key control officer or equivalent:              c. All unassigned padlocks; and
a. maintains a record keeping system that cross-             d. An inventory of assigned padlocks, with locations
   references keys in the control center and lock               identified alphabetically or numerically.
   shop, alphabetically and numerically, to facilitate       2. Compromised Keys and Locks
   quick identification of the key or key ring needed
   for a particular lock;                                    The facility administrator or Chief of Security shall
                                                             establish procedures for handling compromised keys
b. maintains accurate inventories of padlocks in use,        and locks.
   master keys for cabinets, key blanks and all keys
   currently in use; and                                     Note: Compromised keys shall be cut into pieces
                                                             until irretrievably destroyed. The facility shall
c. maintains, for the historical record, a collection of     document the type of key or lock, the number of
   reference material on locking devices and systems,        keys or locks compromised and the date, time and
   including devices and systems previously used in          method of destruction.
   the facility.
                                                             3. Safe Combinations
4. Supervision and Training
                                                                             , In  c.
The security key control officer shall train and direct
                                                                 r e   ivic 022
                                                             The security key control officer shall implement
                                                                    C
                                                          . Co er 14, 2
                                                             procedures for protecting the integrity of all safe
employees in key control, including electronic key
                                                     ino v   combinations.
                                                                   b
pads where used.
                                               O  w         c e m
                                      d   in for 1, De
The security key control officeritiseresponsible
                                                              Note:  The combination for each safe shall be
                               c
                                           -
training an assistant security officer in1all5 522
                                              duties
                                                             changed at least every 12 months and any time a
related to the position. The N   o. 2officer must be
                              security
                                                             staff member with access to a combination is
                                                             assigned to another post. The combination to a safe
proficient in all phases of security and be able to          shall be sealed in an envelope bearing across the flap
demonstrate proper equipment use to other                    the date and signature of the person who deposited
employees.                                                   and sealed the combination inside the envelope. Any
C. Lock Shop Operation                                       person(s) authorized to open the envelope shall be
                                                             listed, by name and title, on the front of the
1. Inventories
                                                             envelope. Envelopes containing safe combinations
The security key control officer shall maintain              shall be stored in the lock shop.
inventories of all keys, locks and locking devices in        4. Keying, Authorized and Non-Authorized Locks
the lock shop.
                                                             a. Either deadbolts or deadlocks shall be used in
Lock shop inventories shall include, at a minimum,              detainee-accessible areas.
the following:
                                                             b. Locks not authorized for use in detainee-
a. A secure master-key cabinet containing at least              accessible areas include, but are not limited to:
   one pattern key (never issued), and one or more              snap-, key-in-knob, thumb-turn, push-button,
   spare keys. The cabinet shall be kept locked;                rim-latch, barrel or slide bolt and removable-
   except when in immediate use. The contents shall             core-type locks (including padlocks). Any such
   be itemized on an inventory form;

2.7 | Key and Lock Control                                 106                                       PBNDS 2011
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   locks in current use shall be phased out and                 doors and gates interlocking electronically.
   replaced with mortise lock sets and standard                 (Controls shall be set such that only one door
   cylinders.                                                   can unlock at a time, canceling the electrical
c. Grand master-keying systems are not authorized.              control of other doors until the unlocked door
                                                                is returned to its secure position.)
d. A master-keying system may be used only in
   housing units where detainees have individual              3) Under no circumstances may prison-type
   room keys. The number of doors shall be kept to               security keys and/or blanks—active, non-
   a minimum and the unit officer’s key must                     active, or discarded—be used or distributed
   override all functions of such locks.                         for presentation purposes.
                                                          5. Preventive Maintenance
e. After removing the facility number and key cuts,
   the security key control officer shall cut up and      The security key control officer, or designee, shall
   dispose of worn or discarded keys and locks.           implement a preventive maintenance program.
f. Entrance/exit door locks of housing units, work        The security key control officer shall perform
   areas, chapels, gyms and other areas with room         preventive maintenance services, including but not
   capacity of 50 or more people shall meet the           limited to the following:
   standards specified in the Occupational Safety and
                                                          1) adjust and service all cellblock-locking
   Environmental Health Manual (Chapter 3) and in
                                                             mechanisms in the
                                                                           I n c .
                                                                                 Special  Management Unit and
   the National Fire Protection Association Life
                                                                   iv
                                                             in housing  , with secure rooms, annually at a
                                                                      icunits
   Safety Code (#101). Specifically, the doors shall
                                           v. C2) adjust
                                                              e C
                                                           orminimum;
                                                              4,             2022
   be equipped with prison type locking devices
                                       ino          b  e rand1service
                                     Ow
   modified to function when pressure is applied
                                              c e m                   vehicle-gates for changing
                                  in        e (i.e., hot/cold) weather conditions twice a year,
                           cited 55221, D
   from inside the room. Panic-hardware is an
                                                  in the spring and early fall;
                               2 1 -
   acceptable alternative to the prison-type-locking
   device.
                           No.                 3) adjust and service front-entrance and other gate
g. Individual doors to areas with room capacity of            operations at least once a year;
   50 or more people shall have no more than one          4) lubricate all other locks quarterly, per
   lock each. Padlocks shall not be used on exit             manufacturers’ instructions;
   doors or intermediate doors along the exit route.
                                                          5) perform maintenance checks on locks and
h. Padlocks and/or chains may not be used on cell            locking systems, taking corrective action as
   doors.                                                    necessary; and
   1) Padlocks and hasps may be used only where           6) once every five years, at least:
      specified below:
                                                              a) steam-clean vehicle-gates; and
      a) fence-gates in areas without ceilings;
                                                              b) clean locking mechanisms of front-entrance
      b) freezer-door interiors whose lock -release              gates, other gates and cellblock locking
         systems include panic-release device(s); and            mechanisms using steam or other means.
      c) vehicle roll-up door walk-through exit(s).             The facility maintenance supervisor is
   2) Entrances and exits from the secured perimeter            responsible for door-hardware installation and
      shall be controlled by sally ports, with all              maintenance (e.g., closures, hinges, pulls, kick
                                                                plates, etc.), and for providing certain support

2.7 | Key and Lock Control                              107                                       PBNDS 2011
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      services (e.g., welding, electrical-work) to the          numerical order.
      security officer, as needed.                           c. the label identifying the letter or number of the
6. Preventive Maintenance Documentation                         key ring that belongs on a particular hook shall be
The security key control officer shall maintain all             visible even when the key ring is on the hook,
preventive maintenance records.                                 and

The security key control officer’s preventive                d. any hook without an assigned key ring shall be
maintenance files shall include:                                tagged with a metal chit that indicates “hook not
                                                                in use.”
a. date;
                                                             3. Key Rings
b. location of lock or locking mechanism;
                                                             The security officer shall implement procedures for
c. type of maintenance performed;                            identifying every key ring and every key on each key
d. rationale for changing key combination(s); and            ring, and for preventing keys from being removed
                                                             from key rings, once issued.
e. signature of service provider.
                                                             All key rings shall be heavy-gauge wire that has been
D. Key Cabinet                                               welded or brazed to prevent removal of keys from
1. Location                                                  the ring.
                                                                               n c. size shall be attached to
                                                             Two metal tags ofIunequal
                                                                            ,
                                                                      ivic
An operational keyboard large enough to
accommodate all facility key rings, including keys in
                                                              o re  Cring:
                                                             each key
                                                                                  2  2
                                                                                    02
                                                            C                4 ,
use, shall be located in a secure area.
                                               w  in o v. a. m       e  r 1tag shall identify the key ring with a
                                                                the larger
                                                                   b
                                    d  in
This operational keyboard shall be located  O
                                            in the
                                                        D e ce number/letter    corresponding to the hook
control center. An electronicc itecontrol box
                             key              2  2
                                               may  1
                                                    be,         number/letter;   and
                                          55 unit.
                                    in1a-secure
placed outside the control center if2
                            N o  .                           b. the smaller tag shall identify the number of keys
                                                                on the key ring.
2. Basic Construction
The key cabinet shall be constructed so that keys are        4. Emergency Keys
visible only when being issued. Keys may never be            Emergency keys shall be on hand for every area to or
seen by detainees or visitors.                               from which entry or exit might be necessary in an
Small, closet-type space in the control center may be        emergency.
used instead of a cabinet, as long as:                       a. Emergency keys may be kept in a separate key
a. access limitations are the same as for a key                 cabinet or in a readily identified area of the
   cabinet;                                                     regular-issue key cabinet. A separate key cabinet
                                                                located in the control center is recommended for
b. all other key/lock standards are met; and                    the emergency keys.
c. the space is used solely for key control.                 b. The emergency key cabinet shall contain a hook
In the key cabinet:                                             for each key ring. If an emergency key ring is
                                                                kept outside the main emergency key cabinet
a. keys in vertical rows shall be arranged in
                                                                (e.g., in a tower), a metal tag providing the key
   alphabetical order,
                                                                ring’s location shall hang on the hook intended
b. keys in horizontal rows shall be arranged in                 for that key ring in the main emergency key

2.7 | Key and Lock Control                               108                                        PBNDS 2011
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   cabinet.                                                     end of the relief shift.
c. The emergency keys shall be cut precisely to                 2. Restricted Keys
   manufacturer’s specifications.                               The facility administrator shall establish rules and
d. Emergency keys shall not be rotated in and out of            procedures for authorizing use of restricted keys.
   the lock shop.                                               The control room officer must have authorization
E. Issue of Key Rings                                           from the shift supervisor to issue a restricted key.
1. Chit System                                                  a. Pharmacy
                                                                   Pharmacy keys shall be strictly controlled.
Facilities shall use a chit system or other standard
system for the issuance and accountability of key                   Ordinarily, such controls include:
distribution. A key chit is a tag (usually metal) that              1) maintaining pharmacy keys in a restricted keys
identifies the person who has drawn a set of keys.                     cabinet in the control room, and issuing them
The chit shall be labeled with the officer’s first initial             only to authorized pharmacy staff; and
and last name. All key rings shall be issued as needed              2) maintaining a second set of pharmacy keys in
(e.g., at the beginning of a shift, etc.) with the                     the lock shop.
exchange of a chit for a key and with the chit placed
                                                                    In the event of a non-medical emergency that
on the hook from which the key was removed.
                                                               , In                    c.
                                                                    necessitates entry into the pharmacy by anyone
An employee who reports to work without chits
                                                           ivic
                                                        reC 4, 2022
                                                                    other than authorized pharmacy staff, the highest-
must obtain temporary chits from the control room
                                                     Co
                                                 o v. mber 1
                                                                    ranking supervisor on duty may authorize
officer, which he/she can exchange for keys
                                            w  in                   immediate entry to the pharmacy. The supervisor
according to standard procedure.
                                   edin O           ece  ,D         shall then document the reasons for entry and sign
a. The control room officer c   it maintain5221                     the authorization.
                              shall      5
                             N    . 21-
   accountability for the issuedochits.                             Such documentation shall not impede the
b. At the end of the shift, the employee shall                      immediate provision of emergency medical care
   personally return the temporary chits to the                     to a detainee by medical staff.
   control room officer.                                        b. ICE and EOIR Offices
At shift rotation, to obtain keys from an officer on               Keys to ICE and the Executive Office for
post, the relief officer must first exchange his/her               Immigration Review (EOIR) office and
key chit at the control room center for the key chit               courtroom areas shall similarly be restricted and
of the employee being relieved. The relief officer                 controlled. In the event that a key is authorized
shall take his/her key chit to the employee being                  for emergency withdrawal, a copy of the
relieved and exchange the key chit for the                         restricted key form is to be provided to ICE.
appropriate ring of keys. The officer shall then count          3. 24-Hour Issue Keys
the keys on his/her ring, immediately reporting any
                                                                No key or key ring may be issued on a 24-hour basis
discrepancies to the shift supervisor. If the relief
                                                                without the facility administrator’s written
officer needs to gain access to any location while
                                                                authorization.
heading from the control enter to his/her post, the
control room officer may issue him/her a second set             A key chit identifying the borrower of the key ring
of keys. In such a case, the officer shall return the           shall be placed on the appropriate hook in the key
extra set of keys to the control room officer at the            cabinet, along with a metal tag marked “24-hour

2.7 | Key and Lock Control                                    109                                        PBNDS 2011
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issue.”                                                      The control room officer shall also identify broken
Individual authorizing record forms shall be used to         or bent keys. All keys (regular-issue and emergency)
record the following information about each set of           shall be checked and counted daily.
24-hour-issue keys: the key ring identifiers (number         To ensure accountability, keys shall be issued only
and title), the number of keys on the ring, the              on the assigned key rings.
individual key numbers and the door each key                 6. Request for Key Change
unlocks. Each record must bear the signatures of the
authorizing facility administrator, Chief of Security        Key-change requests shall be submitted, in writing,
and the employee to whom the keys are issued.                to the facility administrator. Upon facility
                                                             administrator approval, only the security officer may
4. Security Keys
                                                             add or remove a key from a ring.
Key rings used but not issued on a 24-hour basis             7. Split Key Ring
because of the attached security keys shall be kept in
a dedicated glass-front, lockable box in the control         The splitting of key rings into separate rings is not
center. Identical boxes may be kept and used in              authorized.
different departments, provided staff members are            F. Gun-Locker Keys
authorized to receive 24-hour keys. The key to every
such box shall be issued on a 24-hour basis.                 Officers shall store all their weapons in individual
The staff member removing keys from the box shall                             ,  I  c.
                                                             lockers before entering the facility.
                                                                                  n
                                                                   C      ic
                                                                       ivadministrator 2 2 develop and
place his/her chit on the hook in place of the key
                                                             o re
                                                            The facility
                                                                                ,  2 0   shall
ring, and shall return the keys and reclaiming the chit v. Cimplement
                                                                          1  4
                                                                         site-specific procedures for controlling
                                                  in o                 r
                                                                  be access.
                                            O
at the end of the shift. The individual to whomw the
                                                           c   m
                                                            gun-locker
                                                             e
keys were issued shall personallyte
                               c i   d inthe keys2to1, De In all facilities, gun lockers shall:
                                   return
the box, without exception.
                                . 2 1     -552               1. be placed in locations where officers can
Security keys may not be takeno
                           N off facility property              continuously observe them, in person or on a
(except for bus, van and other authorized-vehicle               video-monitor, and not in any area that has
keys). As a rule, security keys shall not be issued on a        detainee or public access;
24-hour basis.
                                                             2. be used to store the weapons of all on-duty
5. Key Accountability                                           officers, except those whose assignments require
The facility administrator shall establish written              them to carry weapons; and
policy and implementation procedures to ensure key           3. not be used for long-term storage. (A staff
accountability.                                                 member may arrange with the facility firearms
The control room officer shall conduct a key ring               control officer for long-term storage of a weapon
audit upon reporting for duty, accounting for each              in the armory.)
key ring in the control center logbook, and shall            Chits and logbooks are useful for maintaining
immediately report discrepancies in the record to the        accountability for gun locker keys and gun locker
shift supervisor.                                            use.




2.7 | Key and Lock Control                                 110                                        PBNDS 2011
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2.8 Population Counts                                       in Braille, audio recordings, telephone handset
                                                            amplifiers, telephones compatible with hearing aids,
I. Purpose and Scope                                        telecommunications devices for deaf persons (TTYs),
                                                            interpreters, and note-takers, as needed. The facility
This detention standard protects the community              will also provide detainees who are LEP with
from harm and enhances facility security, safety and        language assistance, including bilingual staff or
good order by requiring that each facility have an          professional interpretation and translation services,
ongoing, effective system of population counts and          to provide them with meaningful access to its
accountability for detainees.                               programs and activities.
This detention standard applies to the following            All written materials provided detainees shall
types of facilities housing ICE/ERO detainees:              generally be translated into Spanish. Where
                                                            practicable, provisions for written translation shall be
 x   Service Processing Centers (SPCs);
                                                            made for other significant segments of the
 x   Contract Detention Facilities (CDFs); and              population with limited English proficiency.

 x   State or local government facilities used by           Oral interpretation or assistance shall be provided to
     ERO through Intergovernmental Service                  any detainee who speaks another language in which
     Agreements (IGSAs) to hold detainees for more          written material has not been translated or who is
     than 72 hours.                                         illiterate.
                                                                            ,  In c.
Procedures in italics are specifically required for SPCs     III.re C  ivic 0Affected
                                                                  Standards         22
                                                            C o             4 ,  2
                                                        o v. Thismdetention
                                                                     er 1 standard replaces “Population
and CDFs. IGSA facilities must conform to these
                                               O  w i
procedures or adopt, adapt or establish alternatives,n       e     b
                                      d  in  represented, DecCounts” dated 12/2/2008.
                              cite 55221
provided they meet or exceed the intent
by these procedures.
                                   .  2 1  -                 IV. References
                             No may be defined
Various terms used in this standard
                                                            American Correctional Association, Performance-
in standard “7.5 Definitions.”
                                                            based Standards for Adult Local Detention
II. Expected Outcome                                        Facilities, 4th Edition: 4-ALDF-2A-16, 2A-17.
The expected outcomes of this detention standard            ICE/ERO Performance-based National Detention
are as follows (specific requirements are defined in        Standards 2011:
“V. Expected Practices”).                                       x   “2.9 Post Orders”; and
Security, safety and orderly facility operations shall          x   “4.3 Medical Care.”
be maintained through an ongoing, effective system
of population counts and accountability for                 V. Expected Practices
detainees.
                                                            A. Formal Counts
The facility shall provide communication assistance
to detainees with disabilities and detainees who are        Formal counts are conducted in a predetermined
limited in their English proficiency (LEP). The             manner at specific times of the day and night. A
facility will provide detainees with disabilities with      formal count shall be conducted at least once every
effective communication, which may include the              eight hours, with a shift supervisor verifying its
provision of auxiliary aids, such as readers, materials     accuracy. Additional counts, at the discretion of the

2.8 | Population Counts                                   111                                         PBNDS 2011
                                                                                             (Revised December 2016)
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facility, are encouraged.                                            flashlights judiciously, but with sufficient light
1. The formal count(s) shall be conducted at least                   to make a positive identification of a living
   once every eight hours (once per shift at                         body. The officer must not count a detainee
   minimum) at times determined by the Chief of                      based on a part or parts of clothing, hair,
   Security. Counts shall be scheduled to achieve full               shoes, or the appearance of a human form.
   accountability with minimal interference with               3. Officers shall encourage detainee cooperation;
   daily work and activity schedules.                             however, they shall not allow detainees to
2. Count procedures must be strictly followed. If the             perform the count, nor participate in the
   accuracy of a count is in doubt, the officers shall            preparation or documentation of the count
   do a recount and any other double-checking                     process.
   necessary. Officers performing the count shall              4. There shall be no movement of detainees during
   never rely on a roll call.                                     formal counts. All detainee movements into, out
   a. An unaccompanied officer shall never perform                of and within the facility must cease before the
      a count in an open area (e.g., housing units,               count begins. Detainee movement shall not
      food service area). One officer shall count                 resume anywhere in the facility until the
      while a second officer observes all detainee                complete facility count has been cleared. If, while
      movements, to ensure that no detainee is                    conducting a count, staff observe an unusual
      miscounted. Upon completing the first count,
                                                                                    In   . and respond
                                                                  incident (e.g., medical emergency, criminal act),
                                                                                       ccount
                                                                  they  shall    ,
                                                                          ivic according
                                                                              cease  the
                                                                                        022to local procedures.
      the officers shall change positions and count
                                                                o r e C
                                                                  appropriately
                                                                                      2
      again.                                                  C                 4  ,
                                                            . Shoulderan1emergency arise during the count that
   b. The officers assigned the count shall O   w
                                             have   ino v em         b
                                     d   in               D e c   necessitates  the movement of detainees, a new
                                  e
      primary responsibility fortthe
                              ci possible
                                       count         1
                                             accuracy,
                                                2 2     ,         count  shall be  conducted as soon as possible after
      and shall be familiar with
                                        1-5  5
                                           sources   of           the emergency subsides.
      error. The officers must o  .  2the
                             N  know       specific
      manner of counting detainees in different                5. All detainee units/areas shall be counted
      types of locations (e.g., housing units, open-              simultaneously. Each detainee shall be counted at
      type areas, or work areas). A system for                    a specific location, and all movement of detainees
      counting each detainee, including those who                 shall cease before the count begins. Movement
      are outside the housing unit, shall be                      shall not resume until the total detainee
      developed. The officers shall encourage                     population count is verified and cleared. The
      detainees to accept the count as a facility                 counting officer from each location shall report
      necessity.                                                  his/her count to the facility control officer, who is
                                                                  responsible for collecting and maintaining the
   c. Prior to counting a detainee present, officers              count.
      must make positive identification of the living
      body of the detainee and shall ascertain non-               a. After the count is reported, a signed paper
      use of decoys (e.g., mannequins, replicas,                     count slip shall be delivered to the control
      dummies). Counting officers shall remain in                    center. This count slip shall be used to verify
      the count area until the facility control center               the area count.
      verifies and clears the count.                              b. Count slips must be prepared and signed in
   d. When making night counts, officers shall use                   indelible ink. The control center shall not
                                                                     accept an improperly prepared count slip or

2.8 | Population Counts                                    112                                          PBNDS 2011
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      one that contains erasures or alterations of any        photo count daily.
      kind.                                                   Face-to-photo counting procedures are the same as
   c. Both officers conducting the count must sign            the formal count procedures, except each detainee
      the count slip.                                         shall be matched with the photo on his/her I-385
   d. The control officer shall take into account the         card or facility equivalent photo-identification card.
      current out-count in verifying the population           C. Informal/Census Counts
      count against the master count.
                                                              Each officer shall make irregular, but frequent checks
6. As each area reports its count, the control officer        to verify the presence of all detainees in his/her
   shall indicate that count in the control log.              charge.
   a. If any area/unit reports an incorrect count, all        These informal counts or checks occur between
      areas/units shall be required to count again. If        formal counts. For work crews, a count is made
      the count remains incorrect, the shift                  when the crew assembles for work, at frequent
      supervisor shall be notified and additional staff       intervals during the work period and when the crew
      shall be dispatched to the count area to assist         is dismissed at the end of the work period. An
      with a third count.                                     informal count is reported only if a detainee appears
   b. No count shall be cleared until all counting            to be missing. In that case, an emergency (formal)
                                                              count shall be taken. .
                                                                                Inc
      errors have been corrected, or until the cause
      of error has been identified and corrective                       c,
                                                                   CiviCount        022
                                                              D. Master
      action taken.
                                                           C o re            4 ,  2
   c. If a detainee is in the wrong count area,w     ino v. The   b        1 center shall maintain a master
                                                                facilityr control
                                                                    e
      detainee shall be escorted to d      n
                                      the icorrect
                                                   the
                                                            em
                                               O count Deccount.
                               citein all count   2 21  ,
      area. If this occurs, officers
                                        1   - 5 5           The facility control officer maintains the master
      areas/units shall re-count,o    2 the earlier
                                   .recall                  count record. He/she must be provided with up-to-
                              N
      counts and deliver the new count slip to the          the-minute information regarding detainee
      control officer.                                        admissions, releases, housing changes, hospital
                                                              admissions, outside work details and any other
7. If all recounts fail to clear the count, the shift
                                                              changes that may affect detainee accountability. An
   supervisor shall conduct a face-to-photo count,
                                                              up-to-the-minute count record shall be maintained
   matching photos on facility identification cards
                                                              at all times in the control center. The master count
   with detainee faces, individual by individual.
                                                              shall take into account the current out-count.
   When the face-to-photo count has been
   completed, the control officer shall report that           E. Out-Counts
   count to the shift supervisor responsible for
                                                              The control officer shall maintain an out-count
   accepting and clearing the count.
                                                              record of the number and destination of all detainees
8. In the event that a detainee is unaccounted for            who temporarily leave the facility.
   after the face-to-photo count, the supervisor on
                                                              This record must contain an accurate and up-to-the-
   duty shall institute the escape policy.
                                                              minute listing of every temporary departure and
B. Face-to-Photo Counts                                       return of a detainee. It must be updated regularly
                                                              and used in any formal count.
Face-to-photo counts shall be conducted as
necessary. Facilities shall conduct at least one face-to-     F. Emergency Count
2.8 | Population Counts                                     113                                       PBNDS 2011
                                                                                            (Revised December 2016)
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An emergency count shall be conducted when there           ended, a count shall be taken to determine that no
is reason to believe a detainee is missing, or after a     one has escaped or is in hiding. The facility control
major disturbance has occurred.                            officer must always be prepared to produce an up-
                                                           to-the-minute count for such use.
An emergency count is a formal count taken in
addition to, and at a different time, from the             All detainees shall be returned to their housing units
regularly scheduled formal counts. When a detainee         during emergency counts. An emergency count shall
is unaccounted for, or after a major disturbance has       be conducted in the same manner as a formal count.




                                                            , Inc.
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                                    in        e c
                            cited 55221, D
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2.8 | Population Counts                                  114                                       PBNDS 2011
                                                                                         (Revised December 2016)
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2.9 Post Orders                                             2. Signed and dated records shall be maintained to
                                                               show that assigned officers acknowledge that they
I. Purpose and Scope                                           have read and understood the post orders.
                                                            3. Post orders shall be formally reviewed annually,
This detention standard protects detainees and staff           and updated as needed.
and enhances facility security and good order by
ensuring that each officer assigned to a security post      III. Standards Affected
knows the procedures, duties and responsibilities of
that post.                                                  This detention standard replaces “Post Orders” dated
                                                            12/2/2008.
This detention standard applies to the following
types of facilities housing ICE/ERO detainees:              IV. References
  x   Service Processing Centers (SPCs);                    American Correctional Association, Performance-
  x   Contract Detention Facilities (CDFs); and             based Standards for Adult Local Detention
                                                            Facilities, 4th Edition: 4-ALDF-2A-04.
  x   State or local government facilities used by
                                                            ICE Interim Use of Force Policy (2004).
      ERO through Intergovernmental Service
      Agreements (IGSAs) to hold detainees for more         ICE Interim Firearms Policy (2004).
      than 72 hours.
                                                                             In c.
                                                            ICE/ERO Performance-based National Detention
                                                                           ,
Procedures in italics are specifically required for
                                                                  re C ivic 022
                                                            Standards 2011: “2.15 Use of Force and
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                                         o v. Co er 14, 2
                                                            Restraints.”
dedicated IGSA facilities must conform to these
                                              O  w   in         e
                                                               V. m b
                                                                  Expected     Practices
                                      d  inalternatives,1, De c
                                 ite
procedures or adopt, adapt or establish
provided they meet or exceedcthe intent 5
                                        1 -    522
                                            represented        A. Post Orders Required
                                   .  2
by these procedures.
                             No                             The facility administrator shall ensure that:
For all types of facilities, procedures that appear in
italics with a marked (**) on the page indicate             1. there are written post orders for each security
optimum levels of compliance for this standard.                post;
Various terms used in this standard may be defined          2. copies are available to all employees;
in standard “7.5 Definitions.”                              3. written facility policy and procedures exist,
                                                               which:
II. Expected Outcomes
                                                                a. provide official on-duty time for officers to
The expected outcomes of this detention standard                   read the applicable post orders when assigned
are as follows (specific requirements are defined in               to a post, and
“V. Expected Practices”).
                                                                b. ensure that officers read those applicable post
1. Each officer shall have current written post orders             orders prior to assuming their posts; and
   that specifically apply to the assigned post, with
   step-by-step procedures written in sufficient            4. as needed, post orders for non-permanent
   detail to guide an officer assigned to that post for        assignments (e.g., details, temporary housing
   the first time.                                             units, emergencies) are developed in advance, or
                                                               as soon as possible after the need arises.

2.9 | Post Orders                                         115                                       PBNDS 2011
                                                                                           (Revised December 2016)
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B. Reading and Understanding of Post                             Section 4: Memoranda changing or updating the
   Orders                                                        post orders;
                                                                 Section 5: ICE/ERO detention standards and policies
Officers and supervisors shall use the post orders to
                                                                 and facility practices relevant to the post; and
familiarize themselves with the duties for which they
are responsible and to remain situationally aware of             Section 6: Review and signature form, dated and
changes that occur in the operation and duties of                with the officer’s name printed and signed.
that post. Even in the event that an officer has
                                                                 E. Housing Unit Post Orders
worked a post in the past, he/she shall assume the
post orders have changed, and shall be required to               In addition to the above requirements for all post
read and comprehend all Post Order documents                     orders, housing unit post orders shall follow the
upon assuming their posts.                                       event schedule format (e.g., “0515—Lights on”)
Supervisors shall ensure that officers understand the
                                                                 and shall direct the assigned officer to maintain a
post orders, regardless of whether the assignment is
                                                                 unit log of pertinent information regarding detainee
temporary, permanent, or due to an emergency.
                                                                 activity.
                                                                 The shift supervisor shall visit each housing area and
C. Preparation of Post Orders
                                                                 initial the log on each shift.
The chief security officer shall supervise the
                                                                 F. Armed and Perimeter-Access Post
preparation of all post orders, which shall:
                                                                             , Inc.
                                                            Ci            vic
                                                                    Assignments
                                                                              2
1. be based on ICE/ERO detention standards,
                                                   C o  re
                                                                    4 , 2 02requirements
   ICE/ERO policies and facility practices and
                                             ino v. orders,bpost
                                                    In addition
                                                            e r  1 for armed and perimeter-access
                                                                to the above             for all post
   policies; and                       Ow
                                       in           em           orders
                                                           Decpost assignments shall describe and explain:
                                     d each post.21,
                               citefor
2. specifically state the duty hours
                                         55  2
                                        -shall:
                                 .  2 1                          1. the proper care and safe handling of firearms; and
                            No
The facility administrator (or designee)
                                                                 2. circumstances and conditions under which use of
1. approve, sign and date each Post Order on the last               firearms is authorized.
   page of each section;
                                                                 Any officer assigned to an armed post must be
2. initial and date all other pages and                          qualified to use the firearms assigned to that post.
3. initial and date any subsequent changes to the                With the exception of emergencies, armed
   Post Order.                                                   employees shall be assigned only to transportation
                                                                 details, mobile patrols, or other posts inaccessible to
D. Format of Post Orders
                                                                 detainees.
The post orders for each post shall be issued in a six-          Post Orders for armed posts, and for posts that
part classification folder and shall be organized as             control access to the institution perimeter, shall
follows:                                                         clearly state that:
Section 1: Specific post orders, listing activities              1. any staff member who is taken hostage is
chronologically, with responsibilities clearly defined;             considered to be under duress; and
Section 2: Special instructions, if any, relating to the         2. any order issued by such a person, regardless of
specific post;                                                      his/her position of authority, is to be
Section 3: General post orders applicable to all posts;             disregarded.

2.9 | Post Orders                                            116                                         PBNDS 2011
                                                                                                (Revised December 2016)
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Specific instructions for escape attempts shall be              contract staff and other affected staff.
included in the post orders for armed posts.
                                                                The security supervisor or equivalent shall review
The post orders shall be based on and consistent                and comment on all suggested changes prior to
with standard “2.15 Use of Force and Restraints”                submitting them to the Chief of Security for
and the ICE/ERO Interim Use of Force Policy.                    review and possible inclusion in post orders. All
                                                                submissions shall be retained in a historical file for
G. Maintenance of Post Orders
                                                                two years.
Post Orders shall be kept current at all times. Post            The Chief of Security shall forward the updated
orders shall be formally reviewed annually, at a                post orders to the facility administrator for
minimum, and updated as needed. Should staff                    approval.
members become aware that any part of a folder
containing post orders is out of date, or in need of        4. Emergency changes may be made by
repair or replacement, they shall immediately notify           memorandum, and immediately placed in the
the shift supervisor.                                          post orders with an immediate notification made
                                                               to the union, when required. During each review,
1. Post Orders and logbooks are confidential and               post orders must be revised to incorporate or
   must be kept secure (under lock and key) at all             delete emergency changes, at which time any
   times, and shall never be left in an area accessible        emergency memoranda are to be removed.
   to detainees.
                                                                            , I n c.
                                                                      ivic 022
                                                            5. A post orders master file shall be maintained in
2. The Chief of Security shall determine whether
                                                               re C
                                                               the office of the Chief of Security, and shall be
   post orders require updates during any period
                                                      o v. Co er 14, 2
                                                               made available to all staff. Copies of the applicable
   between annual reviews. Any time the Chief of
                                           O    w  in        e m b
                                                               post orders may be retained at the post, only if
                                       in               De c
                             citedby a 5clean
   Security determines a page is too difficult to read,
                                                  2 1 ,        secure from detainee access.
   it shall be removed and replaced
                                      1 -   52   copy.
                               o .  2                       6. The Chief of Security shall ensure that all post
                           N
3. Two weeks before the annual    review, supervisory
   staff shall solicit written suggestions for changes
                                                               orders are transcribed on a computer and that all
                                                                back-up disks are properly accounted for and
   or additions to post orders from ICE/ERO staff,              maintained in a secure location.




2.9 | Post Orders                                         117                                         PBNDS 2011
                                                                                            (Revised December 2016)
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2.10 Searches of                                               Cross-gender pat-down searches of female detainees
                                                               shall not be conducted unless in exigent
     Detainees                                                 circumstances. Staff of the same gender as the
                                                               detainee should perform the strip search of the
I. Purpose and Scope                                           detainee. Searches of the detainee’s property,
                                                               housing unit or other areas can be made by staff
This detention standard protects detainees and staff           of either gender.
and enhances facility security and good order by
detecting, controlling and properly disposing of            4. Searches of detainees, housing and work areas
contraband.                                                    shall be conducted without unnecessary force and
                                                               in ways that preserve the dignity of detainees.
This detention standard applies to the following
types of facilities housing ICE/ERO detainees:              5. When body searches are conducted, the least
                                                               intrusive practicable search method shall be
 x   Service Processing Centers (SPCs);                        employed, as indicated by the type of contraband
 x   Contract Detention Facilities (CDFs); and                 and the method of suspected introduction or
                                                               concealment.
 x   State or local government facilities used by
                                                            6. Pat searches of detainees and metal detector
     ERO through Intergovernmental Service
                                                               screening shall be conducted routinely to control
     Agreements (IGSAs) to hold detainees for more
                                                               contraband.
                                                                            , In c.
                                                                       vic shall be2conducted
     than 72 hours.
                                                           7. A e
                                                              r   C
                                                                strip isearch     0    2         only when
Procedures in italics are specifically required for         o                   2
                                                                         14, by a supervisor and only in
                                                          C properlyr authorized
SPCs, CDFs, and Dedicated IGSA facilities. Non- ino v.           b e
dedicated IGSA facilities must conformin       Ow Decem
                                          to these
                                                              the event that there is reasonable suspicion that
                                 ited alternatives,
procedures or adopt, adapt orcestablish
                                               5 2 2 1  ,     contraband may be concealed on the person, or

                                      2 1 - 5represented      when   an officer has reasonable suspicion that a
                             No.
provided they meet or exceed the intent
                                                              good opportunity for concealment has occurred
by these procedures.
                                                               or as may be outlined in facility procedures for
Various terms used in this standard may be defined             post contact visits as indicated in standard “5.7
in standard “7.5 Definitions.”                                 Visitation.”

II. Expected Outcomes                                       8. A body cavity search shall be conducted by
                                                               designated health personnel only when authorized
The expected outcomes of this detention standard               by the facility administrator on the basis of
are as follows (specific requirements are defined in           reasonable suspicion that contraband may be
“V. Expected Practices”).                                      concealed in or on the detainee’s person.
1. Detainees shall live and work in a safe and orderly      9. “Dry cells” shall be used for contraband detection,
   environment.                                                with proper authorization and in accordance with
2. Contraband shall be controlled.                             required procedures, only when there is reasonable
                                                               suspicion of concealment.
3. Cross-gender pat-down searches of male
   detainees shall not be conducted unless, after           10. Contraband that may be evidence in connection
   reasonable diligence, staff of the same gender is            with a violation of a criminal statute shall be
   not available at the time the pat-down search is             preserved, inventoried, controlled and stored so
   required, or in other exigent circumstances.                 as to maintain and document the chain of


2.10 | Searches of Detainees                             118                                        PBNDS 2011
                                                                                          (Revised December 2016)
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    custody.                                                 Detainees” dated 12/2/2008.
11. Canine units (in facilities that have them) may be       IV. References
    used for contraband detection when detainees
    are not present, but canine use for force,               American Correctional Association, Performance-
    intimidation, control, or searches of detainees is       based Standards for Adult Local Detention
    prohibited.                                              Facilities, 4th Edition: 4-ALDF-2C-01, 2C-02, 2C-
                                                             03, 2C-04, 2C-05, 2C-06, 2A-20, 6C-19.
12. As needed and on an individualized basis, the
    facility shall provide reasonable                        Notice Admission and Release—National detention
    accommodations, and modify its policies,                 standard Strip Search Policy (10/15/2007).
    practices, or procedures relating to pat, strip, and     This detention standard incorporates the restrictions
    body cavity searches of detainees with                   on the use of canines originally communicated via a
    disabilities.                                            memorandum on ICE use of canines in support of
13. The facility shall provide communication                 ICE detention operations dated 11/18/2004 from
    assistance to detainees with disabilities and            the Acting Director of Enforcement and Removal
    detainees who are limited in their English               Operations.
    proficiency (LEP). The facility will provide             ICE/ERO Performance-based National Detention
    detainees with disabilities with effective               Standards 2011:
    communication, which may include the
                                                                , In c.
    provision of auxiliary aids, such as readers,  x
                                                     re C  ivic 022
                                                                  “2.1 Admission and Release”;

                                             v. Cox “2.3
    materials in Braille, audio recordings, telephone
                                                           r 1 4  ,2
                                                            Contraband”;
                                         ino
    handset amplifiers, telephones compatible with
                                        w           m  be Hold Rooms in Detention Facilities”;
                                    in O      e c ex   “2.6
                            cited 55221, D x “2.12 Special Management Units”; and
    hearing aids, telecommunications devices for
    deaf persons (TTYs), interpreters, and note-
                                . 21-
    takers, as needed. The facility will also provide
                              o
                            N
    detainees who are LEP with language assistance,x “5.7 Visitation.”
    including bilingual staff or professional                “Standards to Prevent, Detect, and Respond to Sexual
    interpretation and translation services, to provide      Abuse and Assault in Confinement Facilities,” 79
    them with meaningful access to its programs and          Fed. Reg. 13100 (Mar. 7, 2014).
    activities.
                                                             V. Expected Practices
    All written materials provided to detainees shall
    generally be translated into Spanish. Where              A. Written Policy and Procedures
    practicable, provisions for written translation             Required
    shall be made for other significant segments of
    the population with limited English proficiency.         All facilities shall have written policy and procedures
                                                             consistent with this standard for the following:
    Oral interpretation or assistance shall be provided
    to any detainee who speaks another language in           1. searches of detainee housing and work areas;
    which written material has not been translated or        2. body searches, including pat searches (“pat
    who is illiterate.                                          downs”), strip searches, body cavity searches and
                                                                x-rays;
III. Standards Affected
                                                             3. close observation in “dry cells” to detect
This detention standard replaces “Searches of


2.10 | Searches of Detainees                               119                                       PBNDS 2011
                                                                                           (Revised December 2016)
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   contraband;                                             Staff shall maintain written documentation of each
4. employing the least intrusive method of search          housing-unit search within the individual housing
   practicable, as indicated by the type of suspected      unit. Work areas shall be searched each workday by
   contraband and the method of suspected                  shop supervisors, and these inspections shall be
   introduction or concealment;                            supplemented with periodic searches by designated
                                                           search teams. When property is taken during a
5. avoiding unnecessary force during searches and          housing search, a receipt shall be given to the
   preserving the dignity of the detainee being            detainee. The Chief of Security shall maintain
   searched;                                               documentation of search-team inspections.
6. leaving a searched housing or work area and             Facilities shall have written procedures to provide for
   detainee’s property in its original order, to the       basic detention services (e.g., delivery of food
   extent practicable;                                     services, toilet access, medication delivery) during
7. handling of contraband;                                 lockdowns.
8. use of canine units (in facilities that have them);     D. Body Searches of Detainees
9. preservation of evidence; and                           1. Pat Search
10. administration of medical treatment during             a. Description
    “lock-downs.”
                                                                            In  c.
                                                               A pat search (or “pat down”) is a sliding or
                                                                          ,
B. Staff Training
                                                             r   C ivic 022
                                                               patting of the hands over the clothed body of a
                                                               e
All staff who conduct searches of housing, work o v. C
                                                           o
                                                                    r  1 4  ,2
                                                               detainee by staff to determine whether the

                                             O  w   in     e m  be
                                                               individual possesses contraband.
                                        in
areas or of a detainee’s body shall receive initial      c
                                                        e A pat search does not require the detainee to
                             c ited prior 5to221, D
training regarding search procedures
                                       1 -
entering on duty, and shall receive annual
                                     2     5training in      remove clothing, although the inspection
                            No. thereafter.
authorized and effective techniques                          includes a search of the detainee’s clothing and
                                                               personal effects.
C. Search of Detainee Housing and Work
                                                               A hand-held and/or stationary metal detector,
   Areas
                                                               when available, may be used in conjunction with
Staff may search a detainee’s housing and work area,           a pat search.
and personal items contained within those areas,               Staff shall conduct a pat search of a detainee on a
without notice to, or approval from, the detainee              routine or random basis to control contraband
and in the detainee’s absence.                                 without a threshold level of suspicion.
Each facility shall establish procedures to ensure all         All pat searches shall be conducted in a professional
housing units and work areas are searched routinely,           and respectful manner, and in the least intrusive
but irregularly, as such inspections are primarily             manner possible, consistent with security needs,
intended to:                                                   including consideration of officer safety.
1. detect and deter the introduction of contraband;            Security staff shall be trained in proper procedures
2. prevent escapes;                                            for conducting pat searches, including cross-gender
                                                               pat searches and searches of transgender and
3. maintain sanitary standards; and
                                                               intersex detainees.
4. eliminate fire and safety hazards.


2.10 | Searches of Detainees                             120                                          PBNDS 2011
                                                                                            (Revised December 2016)
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b. Gender of Officer                                               gender is unknown, it may be determined during
   Cross-gender pat-down searches of male detainees                conversations with the detainee, by reviewing
   shall not be conducted unless, after reasonable                 medical records, or, if necessary, learning that
   diligence, staff of the same gender is not available at         information as part of a standard medical
   the time the pat-down search is required, or in                 examination that all detainees must undergo as
   exigent circumstances. Cross-gender pat-down                    part of intake or other processing procedure
   searches of female detainees shall not be conducted             conducted in private, by a medical practitioner.
   unless in exigent circumstances.
                                                                   All strip searches shall be documented.
   All cross-gender pat-down searches shall be
                                                                   Except in cases where strip searches are
   documented.
                                                                   performed in accordance with a facility’s post
2. Strip search                                                    contact visitation procedure, whenever a strip
                                                                   search is conducted, the articulable facts
a. Description
                                                                   supporting the conclusion that reasonable
   A strip search is a search that requires a person to            suspicion exists shall be documented on Form G-
   remove or arrange some or all clothing so as to                 1025 (Record of Search) or the equivalent.
   permit a visual inspection of the person’s breasts,
                                                                   Unless there is specific and articulable suspicion
   buttocks, or genitalia. Staff shall not routinely
                                                                   that contraband has been transferred to a
   require a detainee to remove clothing or require a
                                                             , Inc.detainee, detainees shall not be subjected to a
                                                         ivic 022
   detainee to expose private parts of his/her body
   to search for contraband. To the extent reasonably
                                                     re C          strip search after a visit by a consular

                                              v. Co er 14, 2
   possible, the inspector shall refrain from touching
                                            o
                                                                   representative, an attorney, a legal assistant

                                        Owin
   the skin surface of the detainee; however, the  e m b           working under the supervision of an attorney, or
                                     in        e c
                             cited 55221, D
                                                                   an accredited representative. Policy regarding post
   inspector may request that the detainee move
                                                                   contact visitation searches can be found in “V.
                                   21-
   parts of the body to permit visual inspection. A
                             N o .
   strip search is considered more intrusive than a                Expected Practices” of standard “5.7 Visitation.”
   pat search, and shall be conducted in a manner              b. Reasonable Suspicion
   designed to ensure as much privacy to the                       Officers must obtain supervisory approval before
   detainee as practicable.                                        conducting strip searches. Staff may conduct a strip
   A strip search requires the removal or                          search where there is reasonable suspicion that
   rearrangement of some or all of the detainee’s                  contraband may be concealed on the person.
   clothing to examine the clothing and/or to                      “Reasonable suspicion” means suspicion based on
   permit the inspection of exterior skin surfaces of              specific and articulable facts that would lead a
   the body, including breasts and exterior anal and               reasonable officer to believe that a specific detainee
   genital areas, as well as inside of the nose, ears              is in possession of contraband. It is a more
   and mouth. If items are discovered that protrude                permissive (lower) standard than probable cause,
   from a body cavity, the removal of those items is               but it is more than a mere hunch. It must be based
   governed by the procedures applicable to body-                  on specific and articulable facts—along with
   cavity searches, addressed below.                               reasonable inferences that may be drawn from
                                                                   those facts—that the officer shall document in
   The facility shall not search or physically examine
                                                                   Form G-1025 or equivalent.
   a detainee for the sole purpose of determining the
   detainee’s genital characteristics. If the detainee’s           Reasonable suspicion is determined under the



2.10 | Searches of Detainees                                 121                                         PBNDS 2011
                                                                                               (Revised December 2016)
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  totality of the circumstances. There is no simple,         of a magnetometer or Boss chair. The officer shall
  exact, or mathematical formula for reasonable              document the results of those other, less
  suspicion. It may be based on one, or a                    intrusive, search methods on Form G-1025 or
  combination, of the following factors:                     equivalent.
  1) observation of unusual, surreptitious, or               In accordance with standard “5.7 Visitation,”
     suspicious appearance or behavior;                      facilities may not adopt policies permitting strip
                                                             searches after contact visits in the absence of
  2) evasive or inconsistent responses to questions
                                                             reasonable suspicion unless detainees are
     by law enforcement officers;
                                                             provided the right to choose non-contact
  3) discovery of a weapon or other contraband               visitation instead of contact visitation and are
     during a pat search, metal detector scan, or            fully informed of such right. Consistent with
     other non-intrusive search;                             standard “5.7 Visitation,” any such policies must
  4) the detainee’s criminal history, particularly           be communicated to detainees in a language or
     prior felony or misdemeanor for convictions             manner that they understand.
     of crimes involving violence, weapons,              c. Gender of Officer
     contraband, or illegal substances (convictions
                                                             An officer of the same gender as the detainee shall
     for minor or non-violent offenses shall not be
                                                             perform the search. Special care should be taken
     the only basis for reasonable suspicion);
                                                                        In c.
                                                             to ensure that transgender detainees are searched
                                                                     ,
  5) whether the detainee was detained
                                                         r e C  ivic 022
                                                             in private.
     concurrently with an arrest for a crime of
                                                  v. CoIn theecase
                                                                 r 1of , 2emergency, a staff member of
                                                                     4an
                                            in  o
     violence; or whether the detainee was arrested
                                          w              thebsame gender as the detainee shall be present
                                                         m
                                   in O
     in possession of a weapon, or in possession of  c e
                                                   e to observe a strip search performed by an officer
                          cited 55221, D
     contraband such as illegal drugs;
                                2 1 -                    of the opposite gender.
                         No.
  6) information from law enforcement databases
     or from other reliable sources suggesting that      When an officer of the opposite gender conducts
                                                             a strip search which is observed by a staff
     the detainee has affiliations with terrorist
                                                             member of the same gender as the detainee, staff
     organizations, criminal gangs, or organized
                                                             shall document the reasons for the opposite-
     crime; or
                                                             gender search in any logs used to record searches
  7) the detainee’s history during confinement,              and in the detainee’s detention file.
     particularly of violence, or of possession of
                                                         3. Body-cavity Searches
     contraband.
  The lack of identity documents alone does not          A body-cavity search is an inspection for contraband
  ordinarily constitute reasonable suspicion.            or any other foreign item, in a body cavity of a
                                                         detainee, by use of fingers or simple instruments,
  Before strip-searching a detainee to search for        such as an otoscope, tongue blade, short nasal
  contraband, an officer shall first attempt to          speculum and simple forceps. A body-cavity search
  resolve his/her suspicions through less intrusive      is considered the most intrusive type of search. A
  means, such as a thorough examination of               body cavity search must be performed by a medical
  reasonably available ICE, CBP and other law            professional and take place in an area that affords
  enforcement records; a pat-down search; a              privacy from other detainees and from facility staff
  detainee interview; or (where available) the use       who are not involved in the search.


2.10 | Searches of Detainees                           122                                       PBNDS 2011
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Before proceeding in cases of drawing blood for              removal can easily be effected by use of fingers or
toxicology studies and DNA testing, written,                 simple medical instruments.
informed consent must be granted by the detainee         j. IHSC staff is not authorized to collect or
and recorded in the detainee’s medical records              participate in the collection of specimens or other
before the blood sample is drawn (see also standard         information that shall be used for forensic
“4.3 Medical Care”). Requests for forensic studies          purposes, except for toxicology studies, rape kits
shall be referred to the medical facility health            and DNA testing.
services administrator (HSA) who is authorized to
facilitate arrangement for these services off-site.      Staff shall document all body cavity, digital, and
                                                         simple instrument searches, the authorizations and
a. A body-cavity search may only be conducted by         the reasons for the searches in any logs used to
   authorized medical personnel, upon approval of        record searches and in the detainee’s detention file.
   the facility administrator or acting facility
   administrator, and only if that person has            E. Close Observation in a “Dry Cell”
   reasonable suspicion that contraband may be           1. Description and Authorization
   concealed in or on the detainee’s person.
                                                         When an officer has reasonable suspicion to believe
b. The articulable facts supporting the conclusion
                                                         that a detainee may have ingested contraband or
   that reasonable suspicion exists shall be
                                                         concealed contraband in a body cavity, and the
   documented.
                                                                      Inc.
                                                         methods of search specified above are inappropriate
                                                                    ,
c. A body-cavity search may be advisable to protect
                                                               Civic 022
                                                         or likely to result in physical injury to the detainee,
                                                            re
   the health and safety of a detainee.
                                                   o v. Co er 14, 2
                                                         the facility administrator or designee may authorize
d. Only designated qualified health personnelw
                                            O   in
                                              (for        e m b
                                                         that the detainee be placed in a room or cell to be
                                    d in and21, De      cclosely observed by staff until the detainee has
                                i
   example, physicians, physician
                              c  teassistants
                                        -
   nurses) may conduct a digital or simple
                                    2 1   552            voided or passed the contraband or until sufficient

                            No. medical setting.
   instrument search in a licensed                       time has elapsed to preclude the possibility that the
                                                         detainee is concealing contraband.
e. The detainee’s health and welfare shall be
   considered prior to performance of any digital or     Such placement is commonly referred to as “dry
   simple instrument search.                             cell” status, which may be approved:

f. Although a detainee’s written consent should be       a. during regular duty hours by the facility
   obtained prior to conducting a digital or simple         administrator or designee, or
   instrument search, such written consent is not        b. at other times by the shift supervisor.
   required.                                             2. Requirements for “Dry Cells”
g. Whenever possible, transgender detainees shall be
                                                         It is recommended that one or more rooms or cells
   permitted to choose the gender of the staff
                                                         be identified as dry cells; such rooms must meet the
   member conducting a body-cavity search.
                                                         following requirements:
h. Staff, other than the designated qualified health
                                                         a. The room shall be free of hiding places and be
   personnel, of the opposite gender from the
                                                            equipped with only a bed.
   detainee may not observe a body cavity search.
                                                         b. Doors shall have proper observation panels to
i. If located, the contraband or foreign item may be
                                                            protect staff and to allow unobstructed
   removed immediately by medical staff, if such
                                                            observation.


2.10 | Searches of Detainees                           123                                        PBNDS 2011
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c. Windows in the dry cell shall have a security            g. Personal hygiene items shall be controlled by
   screen to prevent loss of contraband.                       staff. When the detainee requests to shave, brush
d. If the designated area is equipped with a toilet            teeth, or perform other toiletry tasks, a wash pan
   and/or sink, the water to the cell shall be shut off        and container of water shall be provided for use
   for the duration of the dry cell process and the            in the cell.
   toilet and sink removed prior to the detainee            h. When the detainee is lying on a bed, the detainee
   being allowed into the room.                                shall be required to lie on top of the mattress in
e. Prior to a detainee’s placement in dry cell status,         full view, weather and room temperature
   the room to be used shall be completely searched            permitting. When necessary for the detainee to
   and determined to be free of contraband.                    use cover, hands must remain visible at all times
   Potential hiding places, if any, for contraband             so that staff can observe any attempt to move
   shall be noted                                              contraband.

3. Advising the Detainee                                    i. Because a detainee might attempt to remove
                                                               and/or insert contraband from or into a body
The supervisor responsible for initiating the close            cavity, staff must observe the detainee’s hands at
observation watch shall advise the detainee of the             all times.
conditions and what is expected, and shall document
the notification on an Administrative Segregation           j. The detainee shall not be permitted to leave the
                                                                      In  c.
                                                               cell or room, except in case of extreme
                                                                   ,
                                                              ivic 022
Order. The detainee shall be advised of the reasons
he/she is being placed in a dry cell, the purpose of
                                                      r e C    emergency.

                                               v. Ck.oThe detainee
this placement, the conditions he/she can expect and
                                                              r 1  4 , 2be served the same meals as the
                                                                    shall
                                          wino        m  be population, unless medically advised. All
                                      in O
the means by which he/she can request items and
                                                  c e general
                                                e meals are to be inspected for contraband prior to
                             cited 55221, D
services including, but not limited to, food and

                                   2 1 -
water, medical care, hygiene products and bedpans.    delivery to the detainee, and any food remaining
4. Conditions of “Dry Cell” N  o.
                            Status                    after the meal, as well as the utensils and tray, are
                                                                to be thoroughly inspected before their return to
a. For the detainee’s safety, he/she shall be required          food service.
   to provide a urine sample within two hours of
   placement under close observation. A second              l. Only medications prescribed and administered
   urine sample shall be required prior to releasing           directly to the detainee by medical personnel may
   the detainee from close observation.                        be given to the detainee. No laxatives may be
                                                               given, except natural ones (e.g., coffee, prune
b. The light shall be kept on at all times.                    juice).
c. The detainee shall have regular access to potable        m. When the detainee needs to urinate and/or
   water.                                                      defecate, he/she shall be furnished an empty
d. The detainee shall be provided telephone access.            hospital bedpan, which shall afterward be closely
                                                               inspected to ascertain whether any contraband is
e. The detainee may not be allowed to come in                  present.
   contact with another detainee.
                                                            n. Since the detainee is in administrative segregation
f. Ordinarily, the detainee may not be allowed                 status even if not actually housed in the Special
   personal property, except legal and personal mail           Management Unit (SMU), the requirements for
   and a reasonable amount of legal materials.                 medical and supervisory and staff visits in


2.10 | Searches of Detainees                              124                                       PBNDS 2011
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   standard “2.12 Special Management Units” apply.         f. Trash may not be allowed to accumulate, and
o. Dry cells must be cleaned in accordance with               each item shall be thoroughly searched before
   standard “1.2 Environmental Health and Safety.”            final disposal.

5. Post Orders                                             g. Periodic searches shall be conducted as follows:

The Chief of Security shall have post orders for               1) a strip search of the detainee when he/she is
closely observing a detainee in dry cell status. A                placed in the dry cell after which the detainee
video camera shall be used whenever possible and as               shall be issued a jump suit (or other suitable
appropriate.                                                      loose-fitting clothing);

6. Requirements for Close Observation                          2) a strip search of the detainee at least once each
                                                                  shift, if necessary; and
The detainee shall be constantly observed and
                                                               3) a search of the dry cell at least once each shift.
supervised by a staff member of the same gender.
                                                               Searches shall be conducted so as not to reveal to
It is the observer’s responsibility to ensure the
                                                               the detainee a predictable pattern. Prior to each
detainee does not dispose of any concealed item, and
                                                               search, the shift supervisor must be notified and a
to prevent activity which would allow the detainee
                                                               second staff member provided to ensure
access to it, thereby jeopardizing the security and
                                                               continual close observation and supervision of the
good order of the facility, staff and detainees. Any
questions, emergency, or other situation that arises
                                                                         ,  I  c.
                                                               detainee. Each search must be documented on
                                                                             n
shall immediately be brought to the attention of the
                                                            re     ivic 022
                                                               Form G-1025 or equivalent.
                                                               C
shift supervisor.
                                                  o v. Ch.oStaff e    1 4, 2the shift supervisor when
                                                                 shall notify
                                                                   r
                                          be wi
Under no circumstances shall the detainee O
                                                 n       e m  b
                                                           contraband   is found, secure the contraband in a
                                                       c
                                  d in 2or1, De properly documented evidence bag, and maintain
                            c
allowed freedom to move arounditeunsupervised,
                                          52
                                       -
be given an opportunity to dispose of1any
                                  2      5objects          the chain of evidence.
he/she may be concealing. No.                           7. Length of Observation
a. The observing staff member shall be issued a            The length of close-observation status must be
   portable radio or telephone and flashlight, so that     determined on an individual basis. Ordinarily, the
   he/she does not have to interrupt constant              Chief of Security during regular work hours or the
   observation to communicate with other staff             shift supervisor, at other times, in consultation with
   (such as for watch calls).                              qualified health personnel, shall determine when
b. Detainees shall be monitored by medical staff for       termination is appropriate.
   changes in medical and mental health status.            a. Three Days
c. A daily log and SMU record shall be maintained             The status of a detainee under close observation
   on each detainee in dry cell status.                       for as long as three days must be reviewed by
                                                              medical staff and the administrative segregation
d. The shift supervisor shall ensure observers have           review official in accordance with standard “2.12
   reviewed the post orders.                                  Special Management Units” (irrespective of
e. The shift supervisor shall provide periodic staff          whether the observation actually occurs in the
   relief to the observer and at any other time the           SMU).
   observer must leave the area. The detainee must         b. Seven Days
   not be left unattended.                                    Since it is unlikely that the objective of dry cell


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   status will not be achieved within seven days,           Staff shall place documentation of the examination,
   maintaining a detainee under close observation           the authorizations and the reasons for the
   beyond seven days requires prior approval of the         examination in the detainee’s detention file and
   facility administrator and medical staff.                medical file.
F. X-Ray                                                    An x-ray examination may not be performed on a
                                                            detainee without the detainee’s consent. Staff shall
1. Medical
                                                            solicit the detainee’s consent and cooperation prior
The facility physician may authorize use of an x-ray        to the x-ray examination. Force may not be used to
for medical reasons and only with the consent of the        gain consent and cooperation. If the detainee does
detainee.                                                   not provide consent and fails to cooperate, x-ray
2. Security                                                 examination should not be performed
                                                            3. Objects
Only the facility administrator, upon approval by the
respective Field Office Director (or persons officially     The facility administrator may direct x-rays of
acting in that capacity) may authorize the facility         inanimate objects where the detainee is not exposed.
physician to order a non-repetitive x-ray examination
                                                            G. Major Instrument, Fluoroscope, or
for the purpose of determining whether contraband
is concealed in or on the detainee (for example: in a       Surgical Intrusion
cast or body cavity).
                                                                      ,  Inc.
                                                            Only a physician may authorize use of a fluoroscope,
Such approval and authorization shall be based on
                                                           re C  ivic 022
                                                            major instrument (including anoscope or vaginal
the facility administrator and physician’s
                                                  o v. Co er 14, 2
                                                            speculum), or surgical intrusion for medical reasons
determination that:                         O  win       e m b
                                                            only and only with the detainee’s consent.
                                        in           e c
                              cited for5the5221, D H. Preservation of Evidence
a. An x-ray examination is necessary

                               o .  21- of the
   security, safety, good order, or discipline
                                                        Contraband that may be evidence in connection with
   facility;                 N                              a violation of a criminal statute shall be preserved,
b. No reasonable alternative exists; and                    inventoried, controlled and stored so as to maintain
c. The examination is not likely to result in serious       and document the chain of custody, and shall be
   or lasting medical injury or harm to the detainee,       reported to the appropriate law enforcement
   based on the determination of qualified medical          authority for action and possible seizure and
   staff.                                                   prosecution.




2.10 | Searches of Detainees                              126                                      PBNDS 2011
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2.11 Sexual Abuse and                                       2.   A designated Prevention of Sexual Assault
                                                                 Compliance Manager (PSA Compliance
     Assault Prevention                                          Manager) will assist in ensuring facility
                                                                 compliance with sexual abuse and assault
     and Intervention                                            prevention and intervention policies and
                                                                 procedures.
I. Purpose and Scope
                                                            3.   Staff shall receive training on their
This detention standard requires that facilities that            responsibilities under the facility’s Sexual
house ICE/ERO detainees act affirmatively to prevent             Abuse and Assault Prevention and Intervention
sexual abuse and assaults on detainees; provide                  Program.
prompt and effective intervention and treatment for
                                                            4.   Detainees shall be informed about the facility’s
victims of sexual abuse and assault; and control,
                                                                 Sexual Abuse and Assault Prevention and
discipline and prosecute the perpetrators of sexual
                                                                 Intervention Program.
abuse and assault.
                                                            5.   The facility will take appropriate steps to
This detention standard applies to the following
                                                                 ensure that detainees with disabilities or
types of facilities housing ERO detainees:
                                                                 limited English proficiency have an equal
 x     Service Processing Centers (SPCs);                        opportunity to participate in or benefit from all
                                                                           In  c.
                                                                 aspects of the facility’s Sexual Abuse and
                                                                        ,
 x     Contract Detention Facilities (CDFs); and
                                                            re C  ivic 022
                                                                 Assault Prevention and Intervention Program.
  x State or local government facilities used by
                                                   o v             r  1 4,will2 utilize available community
                                                      . C6.o Theefacility
      ERO through Intergovernmental Servicewin              m b
                                         in   O       e c e   resources to provide victim services and other
                                 ited 5221, D
      Agreements (IGSAs).                                     appropriate support to the fullest extent
                              c              5 for
                                        1  -
Procedures in italics are specifically required
                                      2
                                                              possible following incidents of sexual abuse or
                             No.facilities. Non-
SPCs, CDFs, and Dedicated IGSA                                assault.
dedicated IGSA facilities must conform to these             7.   Staff shall be alert to potential risks or signs of
procedures or adopt, adapt or establish alternatives,            sexual abuse or assault, and take appropriate
provided they meet or exceed the intent represented              action to mitigate any identified risks or
by these procedures.                                             protect a detainee as necessary.
Various terms used in this standard may be defined          8.   Detainees shall be screened upon intake for risk
in standard “7.5 Definitions.”                                   of sexual victimization or abusiveness, and
                                                                 housed accordingly.
II. Expected Outcomes
                                                            9.   The facility will use a coordinated,
Specific requirements are defined in “V. Expected                multidisciplinary team approach to effectively
Practices.” The expected outcomes of this detention              respond to all incidents of sexual abuse or
standard are as follows:                                         assault and address any safety, medical, or
1.     The facility shall articulate and adhere to a             mental health needs.
       written zero tolerance policy for sexual abuse       10. Staff shall immediately report any knowledge,
       or assault, outlining the facility’s approach to         suspicion, or information regarding an
       preventing, detecting, and responding to such            incident of sexual abuse or assault, retaliation
       conduct.                                                 against individuals who reported an incident,


2.11 | Sexual Abuse and Assault Prevention                127                                        PBNDS 2011
       and Intervention                                                                    (Revised December 2016)
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      or any staff neglect or violation of                        provision of auxiliary aids, such as readers,
      responsibilities which may have contributed to              materials in Braille, audio recordings, telephone
      an incident or retaliation.                                 handset amplifiers, telephones compatible with
                                                                  hearing aids, telecommunications devices for
11. All allegations of sexual abuse or assault shall
                                                                  deaf persons (TTYs), interpreters, and note-
    be immediately reported to ICE/ERO, and any
                                                                  takers, as needed. The facility will also provide
    other required entities based on the nature of
                                                                  detainees who are LEP with language assistance,
    the allegation.
                                                                  including bilingual staff or professional
12. Alleged victims shall be promptly referred for                interpretation and translation services, to provide
    medical or mental health services, as                         them with meaningful access to its programs and
    appropriate, and receive any necessary                        activities.
    emergency or ongoing care related to the
                                                                  All written materials provided to detainees shall
    incident.
                                                                  generally be translated into Spanish. Where
13. Staff suspected of perpetrating sexual abuse or               practicable, provisions for written translation
    assault shall be removed from all duties                      shall be made for other significant segments of
    requiring detainee contact pending the                        the population with limited English proficiency.
    outcome of the investigation.
                                                                  Oral interpretation or assistance shall be provided
14. The facility shall ensure that each allegation of
                                                                    , In c.
                                                                  to any detainee who speaks another language in

                                                              ivic 022
    sexual abuse or assault is investigated by an                 which written material has not been translated or
    appropriate criminal or administrative
                                                       r e C
                                                 . Co er 14, 2
                                                                  who is illiterate.

                                            ino v
    investigative entity, and shall cooperate with all
                                                    III. b
                                                         Standards        Affected
                                          Ow
    investigative efforts to ensure a thorough and
                                        n        e c e m
                                      i
                            cited 55221, D This detention standard replaces “Sexual Abuse and
    objective investigation.
15. Staff or detainee perpetrators 2
                              o .    1-be
                                   will             Assault Prevention and Intervention” dated
                          N for any confirmed
    appropriately disciplined                       12/2/2008.
      acts of sexual abuse or assault.
16. The facility shall conduct a review following
                                                           IV. References
    every investigation of sexual abuse or assault,        National Commission on Correctional Health Care,
    and on an annual basis, to assess whether              Standards for Health Services in Jails (2014).
    changes to facility policy or practice could
                                                           ICE/ERO Performance-based National Detention
    better prevent, detect, or respond to sexual
                                                           Standards 2011:
    abuse and assault.
                                                               “2.1 Admission and Release”;
17. The facility shall maintain all records associated
    with incidents of sexual abuse or assault in               “2.2 Custody Classification System”;
    appropriately secure files and locations.                  “2.4 Facility Security and Control”;
18. The facility shall provide communication                   “2.6 Hold Rooms in Detention Facilities”;
    assistance to detainees with disabilities and
    detainees who are limited in their English                 “2.10 Searches of Detainees”;
    proficiency (LEP). The facility will provide               “2.12 Special Management Units”;
    detainees with disabilities with effective
                                                               “3.1 Disciplinary System”;
    communication, which may include the


2.11 | Sexual Abuse and Assault Prevention               128                                          PBNDS 2011
       and Intervention                                                                     (Revised December 2016)
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“4.3 Medical Care”;                                                Abuse and Assault Prevention and Intervention
“4.4 Medical Care (Women)”;                                        Program.

“4.5 Personal Hygiene”;                                      2. procedures for immediate reporting of sexual
                                                                abuse allegations, including:
“6.2 Grievance System”; and
                                                                a) procedures for immediate reporting of sexual
“7.1 Detention Files”.                                              abuse allegations through the facility’s chain
“Standards to Prevent, Detect, and Respond to Sexual                of command, from the reporting official to the
Abuse and Assault in Confinement Facilities,” 79                    highest facility official as well as the Field
Fed. Reg. 13100 (Mar. 7, 2014).                                     Office Director, as well as a method by which
                                                                    staff can report outside the chain of
V. Expected Practices                                               command;
A. Written Policy and Procedures                                b) responsibility of all staff to report allegations
                                                                    or suspicions of sexual assault;
   Required                                                     c) referrals to law enforcement agencies;
Each facility’s policy and procedures shall reflect the         d) written documentation requirements to
unique characteristics of each facility, based on                   ensure that each allegation or suspicion is
factors such as the availability of specialized                     properly reported and addressed;
community-based services, including rape
                                                                      , Inc.
                                                                e) a method to receive third-party reports of
crisis/trauma units in local medical centers, clinics
                                                              re Civic 022
                                                                    sexual abuse in its facility, with information
and hospitals.
                                                    o  v. Co er 14, 2
                                                                    made available to the public regarding how to

                                            O  w  in
Each facility shall have written policy and procedures      e m b   report sexual abuse on behalf of a detainee.
                                                          c
                                  ed inand 221, De
                                                             3. procedures for prompt and effective intervention
                               cit
for a Sexual Abuse or Assault Prevention
                                             5                  to address the safety and treatment needs of
                                     21 5abuse or
Intervention Program. This policy must-mandate
zero tolerance toward all formsoof
                             N    .  sexual
                                                                detainee victims if an alleged assault occurs,
                                                                including:
assault, outline the facility’s approach to preventing,
                                                                a) procedures for offering immediate protection,
detecting, and responding to such conduct and
                                                                    including prevention of retaliation and
include, at a minimum:
                                                                    medical and mental health referrals;
1. procedures on preventing sexual abuse and                    b) plan to coordinate actions taken by staff first
   assault, including:                                              responders, medical and mental health
   a) procedures for assessing all detainees for their              practitioners, investigators, and facility
      risk of sexual abusiveness or victimization;                  leadership in response to an incident of sexual
                                                                    abuse;
   b) procedures for housing detainees in                       c) methods for addressing the alleged victim’s
      accordance with their classification                          future safety, medical, and mental health
      assessment;                                                   needs;
   c) training of all employees, contractors, and            4. procedures to include victim advocate services in
      volunteers on the agency’s and facility’s zero            sexual abuse or assault prevention and
      tolerance policies and their responsibilities             intervention programs, if such resources are
      under those policies; and                                 available;
   d) notification to detainees of the facility’s Sexual     5. procedures for investigation and discipline of



2.11 | Sexual Abuse and Assault Prevention                 129                                       PBNDS 2011
       and Intervention                                                                    (Revised December 2016)
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   assailants, including:                                    available to the public.
   a) coordinating with ICE and other appropriate            B. Acts of Sexual Abuse and/or Assault
      investigative agencies to ensure that an
      administrative or criminal investigation is            For the purposes of this standard, the following
      completed for all allegations of sexual abuse;         definitions apply:
   b) following a uniform evidence protocol,                 1. Detainee-on-detainee Sexual Abuse and/or
      including access to a forensic medical exam,           Assault
      which maximizes the potential for obtaining
                                                             Sexual abuse of a detainee by another detainee
      usable physical evidence for administrative
                                                             includes any of the following acts by one or more
      proceedings and criminal prosecutions;
                                                             detainees who, by force, coercion, or intimidation,
   c) procedures for coordination of internal
                                                             or if the victim did not consent or was unable to
      administrative investigations with the assigned
                                                             consent or refuse, engages in or attempts to engage
      criminal investigative entity to ensure non-
                                                             in:
      interference with criminal investigations, as
      well as coordination with the ICE Office of            a. contact between the penis and the vagina or anus
      Professional Responsibility (OPR);                        and, for purposes of this subparagraph, contact
   d) disciplinary sanctions for staff, up to and               involving the penis upon penetration, however
      including termination when there is a                     slight;
      substantiated allegation of sexual abuse, or
                                                                           , In c.
                                                                    ivic 022
                                                             b. contact between the mouth and the penis, vagina
      when staff has violated agency sexual abuse
                                                              r e C
                                                                             ,2
                                                                or anus;
      policies
                                                     o v. Cc.openetration,
                                                                   e r  1 4
                                            O w    n
                                                 iand      e  m  b         however  slight, of the anal or genital

                                   e d  in with all1, Dec opening of another person by a hand or finger or
6. procedures for data collection and reporting;
   the facility’s requirement toitcooperate
                             c
                                       1
   ICE audits and monitoring of facility - 5 522
                                          compliance
                                                              by any object;
                                     2
                            No.policies and
   with sexual abuse and assault                           d. touching of the genitalia, anus, groin, breast,
                                                                 inner thighs or buttocks, either directly or
   standards.
                                                                 through the clothing, with an intent to abuse,
“Appendix 2.11.A: Sample Sexual Abuse Prevention                 humiliate, harass, degrade or arouse or gratify the
and Intervention Protocols” in this standard offers
                                                                 sexual desire of any person; or
sample protocols as guidelines for the development
of written policies and procedures.                          e. threats, intimidation, or other actions or
The facility’s written policy and procedures require            communications by one or more detainees aimed
the review and approval of the Field Office Director.           at coercing or pressuring another detainee to
The facility administrator shall ensure that, within 90         engage in a sexual act.
days of the adoption of this detention standard,             2. Staff-on-detainee Sexual Abuse and/or
written policy and procedures are in place and that          Assault
the facility is in full compliance with its requirements
and guidelines. The facility must meet all other             Sexual abuse of a detainee by a staff member,
requirements in this standard on the date the                contractor, or volunteer includes any of the
standard is adopted.                                         following acts, if engaged in by one or more staff
                                                             members, volunteers, or contract personnel who,
Each facility shall also post its protocols on its           with or without the consent of the detainee, engages
website, if it has one, or otherwise make the protocol       in or attempts to engage in:


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a. contact between the penis and the vagina or anus          The facility administrator shall designate a
   and, for purposes of this subparagraph, contact           Prevention of Sexual Assault Compliance Manager
   involving the penis upon penetration, however             (PSA Compliance Manager) who shall serve as the
   slight;                                                   facility point of contact for the ICE PSA Coordinator
                                                             and who has sufficient time and authority to oversee
b. contact between the mouth and the penis, vagina
                                                             facility efforts to comply with facility sexual abuse
   or anus;
                                                             prevention and intervention policies and procedures.
c. penetration, however slight, of the anal or genital       The Compliance Manager shall:
   opening of another person by a hand or finger or
                                                             1. assist with the development of written policies
   by any object that is unrelated to official duties or
                                                                and procedures for the Sexual Abuse and Assault
   where the staff member, contractor, or volunteer
                                                                Prevention and Intervention Program, as specified
   has the intent to abuse, arouse, or gratify sexual
                                                                above in this standard, and with keeping them
   desire;
                                                                current;
d. intentional touching of the genitalia, anus, groin,
                                                             2. assist with the development of initial and ongoing
   breast, inner thighs or buttocks, either directly or
                                                                training protocols;
   through the clothing, that is unrelated to official
   duties or where the staff member, contractor, or          3. serve as a liaison with other agencies;
   volunteer has the intent to abuse, arouse, or             4. coordinate the gathering of statistics and reports
   gratify sexual desire;
                                                                        ,  In c.
                                                                  ivic 022
                                                                on incidents of sexual abuse or assault, as detailed
e. threats, intimidation, harassment, indecent,
                                                           r e Cin “O. Data Collection” in this standard;
                                                                  r    4  , 2of every investigation of sexual
   profane or abusive language, or other actions or v. C5.oreview the1results
                                              w in o       m  beand assist in conducting an annual review
                                    act;in
                                           O
   communications aimed at coercing or pressuring
                                                       c e
                                                     e of all investigations in compliance with the
                                                           abuse
                             cited 55221, D
   a detainee to engage in a sexual

                               o .  2 1- of a
f. repeated verbal statements or comments                  Privacy Act to assess and improve prevention and
                            N
   sexual nature to a detainee;                            response efforts; and
g. any display of his or her uncovered genitalia,            6. review facility practices to ensure required levels
   buttocks, or breast in the presence of an inmate,            of confidentiality are maintained.
   detainee, or resident, or;
                                                             D. Sexual Conduct between Detainees
h. voyeurism, which is defined as the inappropriate          Prohibited
   visual surveillance of a detainee for reasons
   unrelated to official duties. Where not conducted         In addition to the forms of sexual abuse and/or
   for reasons relating to official duties, the              assault defined above, all other sexual conduct –
   following are examples of voyeurism: staring at a         including consensual sexual conduct – between
   detainee who is using a toilet in his or her cell to      detainees is prohibited and subject to disciplinary
   perform bodily functions; requiring an inmate             sanctions. However, staff should be sensitive to the
   detainee to expose his or her buttocks, genitals,         possibility that seemingly consensual behavior may
   or breasts; or taking images of all or part of a          have involved coercion by either person involved.
   detainee’s naked body or of a detainee                    Consensual sexual conduct between detainees and
   performing bodily functions.                              staff, volunteers, or contract personnel is included
C. Compliance Manager                                        within the definition of staff-on-detainee sexual
                                                             abuse and/or assault above.


2.11 | Sexual Abuse and Assault Prevention                 131                                        PBNDS 2011
       and Intervention                                                                     (Revised December 2016)
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E. Staff Training                                              physical disabilities;

Training on the facility’s Sexual Abuse or Assault         12. how to communicate effectively and
Prevention and Intervention Program shall be                   professionally with detainees, including lesbian,
included in training for all employees, and shall also         gay, bisexual, transgender, intersex, or gender
be included in annual refresher training thereafter.           nonconforming detainees;

Employee training shall ensure facility staff are able     13. instruction on reporting knowledge or suspicion
to fulfill their responsibilities under this standard,         of sexual abuse and/or assault; and
and shall include:                                         14. instruction on documentation and referral
1. The facility’s zero-tolerance policies for all              procedures of all allegations or suspicion of
   forms of sexual abuse;                                      sexual abuse and/or assault.

2. definitions and examples of prohibited and illegal      The facility shall ensure that all volunteers and other
   sexual behavior;                                        contractors who have contact with detainees have
                                                           been trained on their responsibilities under the
3. the right of detainees and staff to be free from        facility’s sexual abuse prevention, detection,
   sexual abuse, and from retaliation for reporting        intervention and response policies and procedures.
   sexual abuse;                                           The level and type of training for volunteers and
                                                           contractors will be based on the services they
                                                                       c.
4. instruction that sexual abuse and/or assault is
                                                                   , In
                                                               ivic 022
   never an acceptable consequence of detention;           provide and their level of contact with detainees;
                                                           re C
                                                           however, all volunteers and contractors who have
5. recognition of situations where sexual abuse
                                                  o v. Co er 14, 2
                                                           any contact with detainees must be notified of the
   and/or assault may occur;
                                          O  w  in       e m b
                                                           facility’s zero-tolerance policy and informed how to
                                   d in with21, De     c
                             c ite
6. how to avoid inappropriate relationships                report such incidents. In this paragraph “other
   detainees;
                                  2  1 - 552               contractor” means a person who provides services
7. working with vulnerableN   o.
                             populations and               on a non-recurring basis to the facility pursuant to a
   addressing their potential vulnerability in the         contractual agreement with the agency or facility.
   general population;                                     The facility must maintain written documentation
8. recognition of the physical, behavioral and             verifying employee, volunteer and contractor
   emotional signs of sexual abuse and/or assault and      training. In addition to the general training
   ways to prevent and respond to such occurrences;        provided to all facility employees, the facility shall
                                                           provide specialized training on sexual abuse and
9. the requirement to limit reporting of sexual abuse      effective cross-agency coordination to facility
   and assault to personnel with a need-to-know in         investigators who conduct investigations into
   order to make decisions concerning the detainee-        allegations of sexual abuse at immigration detention
   victim’s welfare, and for law                           facilities. This training must cover, at a minimum,
   enforcement/investigative purposes;                     interviewing sexual abuse and assault victims, sexual
10. the investigation process and how to ensure that       abuse and assault evidence collection in confinement
    evidence is not destroyed;                             settings, the criteria and evidence required for
                                                           administrative action or prosecutorial referral, and
11. prevention, recognition and appropriate
                                                           information about effective cross-agency
    response to allegations or suspicions of sexual
                                                           coordination in the investigation process. The
    assault involving detainees with mental or
                                                           facility must maintain written documentation


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verifying specialized training provided to                      negatively impact the detainee’s immigration
investigators pursuant to this paragraph.                       proceedings; and
Facility medical staff shall be trained in procedures       7. right of a detainee who has been subjected to
for examining and treating victims of sexual abuse,            sexual abuse to receive treatment and counseling.
in facilities where medical staff may be assigned
                                                            Detainee notification, orientation and instruction must
these activities. This training shall be subject to the
                                                            be in a language or manner that the detainee
review and approval of the Field Office Director or
                                                            understands, including for those who are limited
other designated ICE official.
                                                            English proficient, deaf, visually impaired or otherwise
F. Detainee Notification, Orientation and                   disabled, as well as to detainees who have limited
   Instruction                                              reading skills. The facility shall maintain documentation
                                                            of detainee participation in the instruction session.
The facility administrator shall ensure that the
                                                            The facility shall develop policies and procedures to
orientation program, required by standard “2.1
                                                            ensure that detainees have multiple ways to privately
Admission and Release,” and the detainee handbook
                                                            report sexual abuse, retaliation for reporting sexual
required by standard “6.1 Detainee Handbook,”
                                                            abuse, or staff neglect or violations of responsibilities
notify and inform detainees about the agency’s and
                                                            that may have contributed to such incidents:
the facility’s zero tolerance policies for all forms of
sexual abuse and assault.                                   1. Each facility’s sexual abuse or assault prevention
                                                                        , Inc.
                                                                    ivic 022
                                                               and intervention program shall provide detainees
Following the intake process, the facility shall
                                                                re C
                                                               who are victims of sexual abuse or assault the
                                                          . Co er 14, 2
provide instruction to detainees on the facility’s
Sexual Abuse and Assault Prevention and
                                                    in o v     option to report the incident or situation to a
                                                                  b
                                             O    w         c e m
                                                               designated staff member other than an immediate
                                        in
Intervention Program and ensure that such                 e
                               cited 55221, D
                                                               point-of-contact line officer (e.g., the program
instruction includes (at a minimum):
                                     21for- all forms of
                                                               coordinator or a mental health specialist). The
1. the facility’s zero-tolerance o
                              N    .
                                 policy                        facility shall provide detainees with the name of
   sexual abuse or assault;                                    the program coordinator or designated staff
2. prevention and intervention strategies;                     member and information on how to contact him
                                                               or her. Detainees will also be informed that they
3. definitions and examples of detainee-on-detainee            can report any incident or situation regarding
   sexual abuse, staff-on-detainee sexual abuse and            sexual abuse, assault or intimidation to any staff
   coercive sexual activity;                                   member (as outlined above), the DHS Office of
4. explanation of methods for reporting sexual                 Inspector General, and the Joint Intake Center.
   abuse or assault, including one or more staff            2. The facility shall provide instructions on how
   members other than an immediate point-of-                   detainees may contact their consular official, the
   contact line officer, the Detention and Reporting           DHS Office of Inspector General, or as
   Information Line (DRIL), the DHS/OIG and the                appropriate, another designated office, to
   ICE/OPR investigation processes;                            confidentially and, if desired, anonymously report
5. information about self-protection and indicators            these incidents.
   of sexual abuse;                                         3. The facility shall inform the detainees of at least
6. prohibition against retaliation, including an               one way for detainees to report sexual abuse to a
   explanation that reporting an assault shall not             public or private entity or office that is not part of



2.11 | Sexual Abuse and Assault Prevention                133                                        PBNDS 2011
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   the agency, and that is able to receive and                   video interpretive services that enable effective,
   immediately forward detainee reports of sexual                accurate, and impartial interpretation, both
   abuse to agency officials, allowing the detainee to           receptively and expressively, using any necessary
   remain anonymous upon request. As cited earlier               specialized vocabulary.
   under “III. Standards Affected,” ICE/ERO has
                                                             b) providing access to written materials related to
   provided a sexual assault awareness notice to be
                                                                sexual abuse in formats or through methods that
   posted on all housing-unit bulletin boards, as well
                                                                ensure effective communication.
   as a “Sexual Assault Awareness Information”
   pamphlet to be distributed (see “Appendix                 Each facility shall take steps to ensure meaningful
   2.11.B: Sexual Abuse and Assault Awareness                access to all aspects of the facility’s efforts to prevent,
   Brochure” in this standard). The facility shall           detect, and respond to sexual abuse to detainees who
   post with this notice the name of the PSA                 are limited English proficient, including steps to
   Compliance Manager and information about local            provide in-person or telephonic interpretive services
   organizations that can assist detainees who have          that enable effective, accurate, and impartial
   been victims of sexual assault, including mailing         interpretation, both receptively and expressively,
   addresses and telephone numbers (including toll-          using any necessary specialized vocabulary.
   free hotline numbers where available). If no such         In matters relating to allegations of sexual abuse,
   local organizations exist, the facility shall make        each facility shall employ effective expressive and
   available the same information about national
                                                   , Inc.    receptive verbal communication techniques while

                                           re  ivic 022
   organizations. This information will be provided
                                              C              communicating with detainees with disabilities in
                                     . Co er 14, 2
   in English and Spanish, and to other segments of          accordance with professionally accepted standards of
                                ino v        b
   the detainee population with limited English              care. Each facility shall provide detainees with
                              Ow       c e m
                           in        e
   proficiency, through translations or oral
                   cited 55221, D
                                                             disabilities and detainees with Limited English
   interpretation.                                           Proficiency with in-person or telephonic
                      .     -
                        21with                               interpretation services that enable effective, accurate,
                  N o
G. Accommodating Detainees
                                                             and impartial interpretation, both receptively and
Disabilities or Limited English Proficiency
                                                             expressively, using any necessary specialized
Each facility shall take appropriate steps to ensure         vocabulary. Interpretation services shall be provided
that detainees with disabilities (including, for             by someone other than another detainee, unless the
example, detainees who are deaf or hard of hearing,          detainee expresses a preference for another detainee
those who are blind or have low vision, or those             to provide interpretation and the agency determines
who have intellectual, psychiatric, or speech                that such interpretation is appropriate and consistent
disabilities) have an equal opportunity to participate       with DHS policy. The provision of interpreter
in or benefit from all aspects of the facility’s efforts     services by minors, alleged abusers, detainees who
to prevent, detect, and respond to sexual abuse.             witnessed the alleged abuse, and detainees who have
Such steps shall include, when necessary to ensure           a significant relationship with the alleged abuser is
effective communication with detainees who are               not appropriate in matters relating to allegations of
deaf or hard of hearing, or detainees who have               sexual abuse.
intellectual, psychiatric, or speech disabilities,           Where practicable, provisions for written translation
limited reading skills, or who are blind or have low         of materials related to sexual abuse or assault shall be
vision,                                                      made for other significant segments of the
a) providing access to in-person, telephonic, or             population with limited English proficiency. Oral


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interpretation or assistance shall be provided to any          abuse, he or she shall take immediate action to
detainee who speaks another language in which                  protect the detainee.
written material has not been translated or who is             1. Classification and Screening
illiterate.
                                                               In accordance with standards “2.1 Admission and
H. Victim Advocate Services                                    Release” and “2.2 Custody Classification System”, the
Each facility shall utilize available community                facility shall assess all detainees on intake to identify
resources and services to provide valuable expertise           those likely to be sexual aggressors or sexual abuse
and support in the areas of crisis intervention,               victims and shall house detainees to prevent sexual
counseling, investigation and the prosecution of               abuse, taking necessary steps to mitigate any such
sexual abuse perpetrators to most appropriately                danger. The facility shall also use the information to
address victims’ needs. Each facility administrator            inform assignment of detainees to recreation and
shall establish procedures to make available, to the           other activities, and voluntary work.
full extent possible, outside victim services following        Each new arrival shall be kept separate from the
incidents of sexual abuse. The facility shall also             general population until he/she is classified and may
attempt to make available such victim services for             be housed accordingly.
any individuals identified as having experienced
sexual victimization prior to entering DHS custody.            The facility shall consider, to the extent that the
                                                               information is available, the following criteria to
The facility administrator shall maintain or attempt to
                                                                   ,  In c.
                                                              ivic the detainee
                                                               assess detainees for risk of sexual victimization:
enter into memoranda of understanding (MOU) or
                                                    Co r e
                                                       (a) C
                                                           Whether
                                                                  4  ,  2 022 has a mental, physical,
                                             o v. m         er 1 disability;
other agreements with community service providers
                                          win
or, if local providers are not available, with national   b
                                                       or developmental

                                  d  in  O      D e ce (b) The age of the detainee;
                             cite 55221
organizations that provide legal advocacy and
confidential emotional support services for
                                              ,
                                . 2 1  -               (c) The physical build and appearance of the
                             No
immigrant victims of crime. The facility shall enable
reasonable communication between detainees and
                                                       detainee;
these organizations and agencies, in as confidential a             (d) Whether the detainee has previously been
manner as possible. The facility shall also inform                 incarcerated or detained;
detainees, prior to giving them access to outside                  (e) The nature of the detainee’s criminal history;
resources, of the extent to which such
communications will be monitored and the extent to                 (f) Whether the detainee has any convictions for
which reports of abuse will be forwarded to                        sex offenses against an adult or child;
authorities in accordance with mandatory reporting                 (g) Whether the detainee has self-identified as
laws.                                                              gay, lesbian, bisexual, transgender, intersex, or
                                                                   gender nonconforming;
I. Prevention
                                                                   (h) Whether the detainee has self-identified as
All staff and detainees are responsible for being alert
                                                                   having previously experienced sexual
to signs of potential situations in which sexual
                                                                   victimization; and
assaults might occur, and for making reports and
intervention referrals as appropriate. If a facility staff     (i) The detainee’s own concerns about his or her
member has a reasonable belief that a detainee is              physical safety. The initial screening shall consider
subject to a substantial risk of imminent sexual               prior acts of sexual abuse, prior convictions for
                                                               violent offenses, and history of prior institutional


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violence or sexual abuse, as known to the facility, in       consider how such technology may enhance its
assessing detainees for risk of being sexually abusive.      ability to protect detainees from sexual abuse.
Detainees shall not be disciplined for refusing to           J. Prompt and Effective Intervention
answer, or for not disclosing complete information
in response to, questions asked pursuant to items            Staff sensitivity toward detainees who are victims of
(a), (g), (h), or (i) above. The facility shall              sexual abuse and/or assault is critical.
implement appropriate controls on the                        Staff shall take seriously all statements from detainees
dissemination within the facility of responses to            claiming to be victims of sexual assaults, and shall
questions asked pursuant to this screening in order          respond supportively and non-judgmentally. Any
to ensure that sensitive information is not exploited        detainee who alleges that he/she has been sexually
to the detainee’s detriment by staff or other                assaulted shall be offered immediate protection and
detainees or inmates. Detainees who are considered           separation from the assailant and shall be referred for a
at risk shall be placed in the least restrictive housing     medical examination and/or clinical assessment for
that is available and appropriate. Such detainees            potential negative symptoms. Staff members who
should be assigned to administrative segregation for         become aware of an alleged assault shall immediately
protective custody only until an alternative means of        follow the reporting requirements set forth in the
separation from likely abusers can be arranged, and          written policies and procedures.
such an assignment shall not ordinarily exceed a
period of 30 days.
                                                                        , I c.
                                                             If a victim is transferred between detention facilities,
                                                                           n
                                                               re Civic 022
                                                             the sending facility shall, as permitted by law, inform
2. Transportation
                                                        v. Co       r 1 4 ,2
                                                             the receiving facility of the incident and the victim’s
Detainees identified as being “at risk” for sexual in
                                               w      o        m be
                                                             potential need for medical or social services (unless, in
                                            O              c e
                                  ed inon “Count,
                                                             the case of transfer to a non-ICE facility, the victim
victimization shall be transported in accordance
                              citsection         2
                                                   with
                                                    1 , De   requests otherwise). If the receiving facility is
that special safety concern. The
                                    2  1 - 552“1.3           unknown to the sending facility, the sending facility
                             No.
Identification and Seating,” found   in standard
                                                             shall notify the Field Office Director, so that he or she
Transportation (by Land),” requires that
                                                             can notify the receiving facility.
transportation staff seat each detainee in accordance
with written procedures from the facility                    Facilities should use a coordinated, multidisciplinary
administrator, with particular attention to detainees        team approach to responding to sexual abuse, such as
who may need to be afforded closer observation for           a sexual assault response team (SART), which in
their own safety.                                            accordance with community practices, includes a
                                                             medical practitioner, a mental health practitioner, a
3. Upgrades to Facilities and Technologies
                                                             security staff member and an investigator from the
When designing or acquiring any new facility and in          assigned investigative entity, as well as representatives
planning any substantial expansion or modification           from outside entities that provide relevant services and
of existing facilities, the facility shall consider the      expertise. The facility shall attempt to make available
effect of the design, acquisition, expansion, or             to the victim a victim advocate from a rape crisis
modification upon its ability to protect detainees           center. If a rape crisis center is not available to
from sexual abuse.                                           provide victim advocate services, ICE will provide
When installing or updating a video monitoring               these services by making available a qualified staff
system, electronic surveillance system, or other             member from a community-based organization, or a
monitoring technology in a facility, the facility shall      qualified agency staff member. A qualified agency



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staff member or a qualified community-based staff            victims, and emotional support services for detainees
member means an individual who has received                  or staff who fear retaliation for reporting sexual
education concerning sexual assault and forensic             abuse or for cooperating with investigations.
examination issues in general. The outside or                For at least 90 days following a report of sexual
internal victim advocate shall provide emotional             abuse, the facility shall monitor to see if there are
support, crisis intervention, information, and               facts that may suggest possible retaliation by
referrals.                                                   detainees or staff, and shall act promptly to remedy
                                                             any such retaliation. Items the facility should
Care shall be taken to place the detainee in a
                                                             monitor include any detainee disciplinary reports,
supportive environment that represents the least
                                                             housing, or program changes, or negative
restrictive housing option possible (e.g. in a different
                                                             performance reviews or reassignments of staff. The
housing unit, transfer to another facility, medical
                                                             facility shall continue such monitoring beyond 90
housing, or protective custody), and that takes into
                                                             days if the initial monitoring indicates a continuing
account any ongoing medical and mental health needs
                                                             need.
of the alleged victim.
Victims shall not be held for longer than five days in       L. Reporting, Notifications and
any type of administrative segregation, except in            Confidentiality
highly unusual circumstances or at the request of the
                                                             Each facility shall require all staff to report
detainee. A detainee victim who is in protective
                                                                     , In c.
                                                                ivic 022
                                                             immediately any knowledge, suspicion, or
custody after having been subjected to sexual abuse
                                                           r eC
                                                             information regarding an incident of sexual abuse
                                                 o v. Co er 14, 2
shall not be returned to the general population until
                                                             that occurred in a facility; retaliation against
                                           w  in
completion of a proper re-assessment, taking into
                                        O               e m  b
                                     in             e c      detainees or staff who reported such an incident; and

                            cited 55221, D
consideration any increased vulnerability of the
                                                             any staff neglect or violation of responsibilities that
detainee as a result of the sexual abuse.
                                  21- or assault
                                                             may have contributed to an incident or retaliation.
                          N  o .
Where an alleged victim of sexual abuse
                                                       Staff members who become aware of alleged sexual
that occurred elsewhere in ICE custody is
                                                             abuse shall immediately follow the reporting
subsequently transferred to the facility, the facility
                                                             requirements set forth in the facility’s written
shall comply with all applicable response and
                                                             policies and procedures.
intervention requirements in this standard, as
appropriate based on the nature and status of the            Apart from such reporting, staff shall not reveal any
case.                                                        information related to a sexual abuse report to
                                                             anyone other than to the extent necessary to help
K. Protection Against Retaliation                            protect the safety of the victim or prevent further
Staff, contractors, volunteers, and detainees shall not      victimization of other detainees or staff in the
retaliate against any person, including a detainee,          facility, make medical treatment, investigation, law
who reports, complains about, or participates in an          enforcement, or other security and management
investigation into an allegation of sexual abuse, or         decisions.
for participating in sexual abuse as a result of force,      If the alleged victim is under the age of 18 or
coercion, threats, or fear of force.                         considered a vulnerable adult under a State or local
The facility shall employ multiple protection                vulnerable persons statute, the facility shall report
measures, such as housing changes, removal of                that information to the Field Office Director so that
alleged staff or detainee abusers from contact with          the agency can report the allegation to the designated


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State or local services agency under applicable               administrator of the facility where the alleged abuse
mandatory reporting laws.                                     occurred. The notification provided in this section
Staff shall accept reports made verbally, in writing,         shall be provided as soon as possible, but no later
anonymously, and from third parties, and promptly             than 72 hours after receiving the allegation. The
document any verbal reports.                                  facility shall document that it has provided such
                                                              notification. The facility where the alleged abuse
Each facility shall establish a method to receive third-      occurred shall then ensure the allegation is referred
party reports of sexual abuse in its facility and shall       for investigation and reported to the appropriate
make available to the public information on how to            Field Office Director in accordance with this
report sexual abuse on behalf of a detainee.                  standard.
1. Alleged Detainee Perpetrator                               M. Investigation, Discipline and Incident
   When a detainee(s) is alleged to be the                    Reviews
   perpetrator, it is the facility administrator’s
                                                              If a detainee alleges sexual assault, a sensitive and
   responsibility to ensure that the incident is
                                                              coordinated response is necessary. The facility shall
   promptly referred to the appropriate law
                                                              coordinate with ICE and other appropriate
   enforcement agency having jurisdiction for
                                                              investigative agencies to ensure that an
   investigation (if the incident is potentially
                                                              administrative or criminal investigation is completed
   criminal) and reported to the Field Office
                                                                                 In c.
                                                              for all allegations of sexual abuse.
                                                                              ,
                                                                        ivic into0alleged
   Director, who shall report it to the OPR Joint
   Intake Center.                                            All r
                                                              o   e C
                                                                 investigations
                                                                                ,  2   22 sexual assault must be
                                                         v. Cprompt,
                                                                        r  1 4
                                                                       thorough,   objective, fair and conducted by
2. Alleged Staff Perpetrator
                                                   in o            b e
                                          in Owis Decspecially
                                                             em trained, qualified investigators.
   When an employee, contractor or   d
                              citofedetainee
                                        volunteer
                                                  2  1 ,
                                            5 5 2            Where an alleged victim of sexual abuse or assault
                                     21-
   alleged to be the perpetrator              sexual
                                o
   abuse and/or assault, it is the
                             N     .
                                   facility
                                                             that occurred elsewhere is subsequently transferred
                                                             to the detention facility, the facility shall cooperate
   administrator’s responsibility to ensure that the
                                                              with any administrative or criminal investigative
   incident is promptly referred to the appropriate
                                                              efforts arising from the incident.
   law enforcement agency having jurisdiction for
   investigation (if the incident is potentially              1. Preservation of Evidence
   criminal) and reported to the Field Office                 The first security staff member to respond to a report
   Director, who shall report it to the OPR Joint             of sexual abuse, or his or her supervisor, shall
   Intake Center. The local government entity or              preserve and protect, to the greatest extent possible,
   contractor that owns or operates the facility shall        any crime scene until appropriate steps can be taken
   also be notified.                                          to collect any evidence. If the abuse occurred
Staff, contractors, and volunteers suspected of               within a time period that still allows for the
perpetrating sexual abuse or assault shall be removed         collection of physical evidence, the responder shall
from all duties requiring detainee contact pending            request the alleged victim not to take any actions,
the outcome of an investigation.                              and shall ensure that the alleged abuser does not take
                                                              any actions, that could destroy physical evidence,
Upon receiving an allegation that a detainee was
                                                              including, as appropriate, washing, brushing teeth,
sexually abused while confined at another facility,
                                                              changing clothes, urinating, defecating, smoking,
the facility whose staff received the allegation shall
                                                              drinking, or eating. If the first staff responder is not
notify the Field Office Director and the appropriate


2.11 | Sexual Abuse and Assault Prevention                 138                                        PBNDS 2011
       and Intervention                                                                      (Revised December 2016)
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a security staff member, the responder shall be               administrative investigation is necessary or
required to request that the alleged victim not take          appropriate. Substantiated allegation means an
any actions that could destroy physical evidence and          allegation that was investigated and determined to
then notify security staff.                                   have occurred. Unsubstantiated allegation means an
2. Forensic Examinations                                      allegation that was investigated and the investigation
                                                              produced insufficient evidence to make a final
Where evidentiarily or medically appropriate, at no           determination as to whether or not the event
cost to the detainee, and only with the detainee’s            occurred.
consent, the facility administrator shall arrange for an
                                                              Administrative investigations shall be conducted
alleged victim to undergo a forensic medical
                                                              after consultation with the appropriate investigative
examination by qualified health care personnel,
                                                              office within DHS, and the assigned criminal
including a Sexual Assault Forensic Examiner (SAFE)
                                                              investigative entity. The ICE Office of Professional
or Sexual Assault Nurse Examiner (SANE) where
                                                              Responsibility will typically be the appropriate
practicable. If SAFEs or SANEs cannot be made
                                                              investigative office within DHS, as well as the DHS
available, the examination can be performed by other
                                                              OIG in cases where the DHS OIG is conducting an
qualified health care personnel.
                                                              investigation.
As requested by a victim, the presence of his or her
                                                              The facility shall develop written procedures for
outside or internal victim advocate, including any
available victim advocacy services offered by a
                                                                              ,  I  c.
                                                              administrative investigations, including provisions
                                                                                  n
hospital conducting a forensic exam, shall be allowed
                                                              requiring:
                                                                  re  C ivic 022
for support during a forensic exam and investigatory
                                                           v . Co (a)    r 1 4  , 2of direct and circumstantial
                                                                      Preservation
interviews.
                                                  w  in  o        m be
                                                                  evidence, including  any available physical and
                                               O
                                           n all
                                          iand             D    e
                                                             ec DNA evidence and any available electronic
                                  ite d
The results of the physical examination               1  ,
collected physical evidence are cto be provided
                                         1 - 5  52to2the          monitoring data;

                               No
investigative entity. Part of the   . 2 process
                                  investigative                   (b) Interviewing alleged victims, suspected
may also include an examination and collection of                perpetrators, and witnesses;
physical evidence from the suspected assailant(s).               (c) Reviewing prior complaints and reports of
In the event the investigation is being conducted by a           sexual abuse involving the suspected perpetrator;
non-federal investigating agency, the facility shall             (d) Assessment of the credibility of an alleged
request that the investigating agency follow the                 victim, suspect, or witness, without regard to the
applicable requirements of this standard, including              individual’s status as detainee, staff, or
subsections 1 and 2 of this section.                             employee, and without requiring any detainee
3. Procedures for Administrative Investigations                  who alleges sexual abuse to submit to a
                                                                 polygraph;
Upon conclusion of a criminal investigation where
the allegation was substantiated, or in instances                (e) An effort to determine whether actions or
where no criminal investigation has been completed,              failures to act at the facility contributed to the
an administrative investigation shall be conducted.              abuse;
Upon conclusion of a criminal investigation where                (f) Documentation of each investigation by
the allegation was unsubstantiated, the facility shall           written report, which shall include a description
review any available completed criminal                          of the physical and testimonial evidence, the
investigation reports to determine whether an                    reasoning behind credibility assessments, and


2.11 | Sexual Abuse and Assault Prevention                 139                                         PBNDS 2011
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    investigative facts and findings; and                      agency or facility sexual abuse policies, to appropriate
    (g) Retention of such reports for as long as the           law enforcement agencies unless the activity was
    alleged abuser is detained or employed by the              clearly not criminal.
    agency or facility, plus five years.                       The facility shall also report all such incidents of
Such procedures shall govern the coordination and              substantiated abuse, removals or resignations in lieu
sequencing of administrative and criminal                      of removal to the Field Office Director, regardless of
investigations, in accordance with the first paragraph         whether the activity was criminal, and shall make
of this section, to ensure that the criminal                   reasonable efforts to report such information to any
investigation is not compromised by an internal                relevant licensing bodies, to the extent known.
administrative investigation.                                  (b) Corrective action for contractors and volunteers
The departure of the alleged abuser or victim from             Any contractor or volunteer who has engaged in
the employment or control of the facility shall not            sexual abuse shall be prohibited from contact with
provide a basis for terminating an investigation.              detainees. The facility shall take appropriate remedial
When outside agencies investigate sexual abuse, the            measures, and shall consider whether to prohibit
facility shall cooperate with outside investigators and        further contact with detainees by contractors or
shall endeavor to remain informed about the                    volunteers who have not engaged in sexual abuse, but
progress of the investigation.                                 have violated other provisions within these standards.

                                                              , Inc.
                                                          ivic 022
Following an investigation conducted by the facility           Incidents of substantiated sexual abuse by a contractor
                                                      re C     or volunteer shall be reported to law enforcement
                                                . Co er 14, 2
into a detainee’s allegation of sexual abuse, the facility
                                           ino v
shall notify the Field Office Director of the results of
                                                        b
                                                               agencies, unless the activity was clearly not criminal.
                                         Ow       c e m        The facility shall also report such incidents to the Field
                                      in        e
the investigation and any responsive actions taken so
                              cited 55221, D
that the information can be reported to ICE                    Office Director regardless of whether the activity was

                                    21-
headquarters and to the detainee.                              criminal, and shall make reasonable efforts to report
                              N o .                            such incidents to any relevant licensing bodies, to the
4. Discipline                                                  extent known.
(a) Disciplinary sanctions for staff                           (c) Disciplinary sanctions for detainees
Staff shall be subject to disciplinary or adverse action       Detainees shall be subjected to disciplinary sanctions
up to and including removal from their position for            pursuant to a formal disciplinary process following an
substantiated allegations of sexual abuse or for               administrative or criminal finding that the detainee
violating agency or facility sexual abuse rules, policies      engaged in sexual abuse, consistent with the
or standards. Removal from their position is the               requirements of Standard 3.1 “Disciplinary System.”
presumptive disciplinary sanction for staff who have           The facility shall not discipline a detainee for sexual
engaged in or attempted or threatened to engage in             contact with staff unless there is a finding that the
those acts of sexual abuse defined in paragraphs (a)-          staff member did not consent to such contact. For the
(d) and (g)-(h) of “Staff on Detainee Sexual Abuse             purpose of disciplinary action, a report of sexual
and/or Assault” in “B. Acts of Sexual Abuse and/or             abuse made in good faith based upon a reasonable
Assault” in this standard.                                     belief that the alleged conduct occurred shall not
The facility shall report all incidents of substantiated       constitute falsely reporting an incident or lying, even
sexual abuse by staff, and all removals of staff, or           if an investigation does not establish evidence
resignations in lieu of removal for violations of              sufficient to substantiate the allegation.



2.11 | Sexual Abuse and Assault Prevention                   140                                         PBNDS 2011
       and Intervention                                                                        (Revised December 2016)
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5. Sexual Abuse Incident Reviews                            victim without financial cost and regardless of
                                                            whether the victim names the abuser or cooperates
Each facility shall conduct a sexual abuse incident
                                                            with any investigation arising out of the incident.
review at the conclusion of every investigation of
sexual abuse and, where the allegation was not              1. Access to emergency medical and mental
determined to be unfounded, prepare a written report           health services
within 30 days of the conclusion of the investigation
                                                                (a) Detainee victims of sexual abuse and assault
recommending whether the allegation or
                                                                   shall have timely, unimpeded access to
investigation indicates that a change in policy or
                                                                   emergency medical treatment and crisis
practice could better prevent, detect, or respond to
                                                                   intervention services, including emergency
sexual abuse. Unfounded allegation means an
                                                                   contraception and sexually transmitted
allegation that was investigated and determined not to
                                                                   infections prophylaxis, in accordance with
have occurred. The facility shall implement the
                                                                   professionally accepted standards of care.
recommendations for improvement, or shall
document its reasons for not doing so in a written              (b) Where evidentiary or medically appropriate,
response. Both the report and response shall be                    the facility administrator shall arrange for an
forwarded to the Field Office Director or his or her               alleged victim to undergo a forensic medical
designee, for transmission to the ICE PSA Coordinator.             examination, in accordance with the
The facility shall also provide any further information            requirements of “M. Investigation, Discipline
regarding such incident reviews as requested by the                          In c.
                                                                   and Incident Reviews” of this standard.
                                                                          ,
ICE PSA Coordinator.
                                                             re
                                                             (c) C ivic 0of2an2 alleged victim for
                                                                 Transportation
The review team shall consider whether the incident o v. C
                                                           o emergency 1 4     2 or other services provided
                                                                            ,care
                                                    in              r
                                                                  e shall be arranged in a manner that
                                                               boff-site
                                           n  O  w       c e m
                                    ted i 5or221, De
or allegation was motivated by race; ethnicity;  gender
identity; lesbian, gay, bisexual, itransgender,                 takes into account the special needs of
                                c
                                       2 1 -5status; or
intersex identification, status, or perceived
                                     .
                                                                victimized detainees.
                              No or otherwise caused
gang affiliation; or was motivated                           2. Ongoing medical and mental health care
by other group dynamics at the facility.                        for sexual abuse victims and abusers
Each facility shall conduct an annual review of all             (a) Each facility shall offer medical and mental
sexual abuse investigations and resulting incident                 health evaluation and, as appropriate,
reviews to assess and improve sexual abuse                         treatment to all detainees who have been
intervention, prevention and response efforts. If the              victimized by sexual abuse while in
facility has not had any reports of sexual abuse during            immigration detention.
the annual reporting period, then the facility shall
prepare a negative report. The results and findings of          (b) The evaluation and treatment of such victims
the annual review shall be provided to the facility                shall include, as appropriate, follow-up
administrator, Field Office Director or his or her                 services, treatment plans, and, when
designee, for transmission to the ICE PSA Coordinator.             necessary, referrals for continued care
                                                                   following their transfer to, or placement in,
N. Medical and Mental Health Care                                  other facilities, or their release from custody.
Detainee victims of sexual abuse shall be provided              (c) The facility shall provide such victims with
emergency medical and mental health services and                   medical and mental health services consistent
ongoing care. All treatment services, both                         with the community level of care.
emergency and ongoing, shall be provided to the


2.11 | Sexual Abuse and Assault Prevention                141                                       PBNDS 2011
       and Intervention                                                                   (Revised December 2016)
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   (d) Detainee victims of sexually abusive vaginal          know reasons.
      penetration by a male abuser while
                                                             Monitoring and evaluation are essential for assessing
      incarcerated shall be offered pregnancy tests.
                                                             both the rate of occurrence of sexual assault and
      If pregnancy results from an instance of sexual
                                                             agency effectiveness in reducing sexually abusive
      abuse, the victim shall receive timely and
                                                             behavior. Accordingly, the facility administrator
      comprehensive information about lawful
                                                             must maintain two types of files of sexual abuse and
      pregnancy-related medical services and timely
                                                             assault incidents which include the following
      access to all lawful pregnancy-related medical
                                                             minimum information:
      services.
                                                             1. General files include:
   (e) Detainee victims of sexual abuse while
      detained shall be offered tests for sexually              a. the victim(s) and assailant(s) of a sexual
      transmitted infections as medically                          assault;
      appropriate.                                              b. the date, time, location, and nature of the
   (f) The facility shall attempt to conduct a mental              incident;
      health evaluation of all known detainee-on-               c. the demographic background of the victim
      detainee abusers within 60 days of learning of               and perpetrator (including citizenship, age,
      such abuse history and offer treatment when                  gender, and whether either has self-identified
      deemed appropriate by mental health
                                                                              ,  Inc.
                                                                   as gay, lesbian, bisexual, transgender, intersex,
      practitioners.
                                                                re  C  ivic 022
                                                                   or gender nonconforming);
O. Data Collection
                                                         v. Cod. detailed
                                                                       r   1 4  , 2 timeline, including the
                                                                            reporting
                                                  w  ino        m    e of the individuals who reported the
                                                                  bnames
                                              O             c e
                                      d inabuse, 21, De
Each facility shall maintain in a secure area all case
                                 itesexual
                                                                   incident and received the report of sexual
                               c
records associated with claims of
                                             552                   assault, date and time the report was received,
                                        1
including incident reports, investigative
                                      2    -
                                           reports,
                              No. medical and
offender information, case disposition,
                                                                   and  steps taken to communicate the report up
                                                                   the chain of command;
counseling evaluation findings, and recommendations
for post-release treatment, if necessary, and/or                e. any injuries sustained by the victim;
counseling shall be maintained in appropriate files in          f. all formal and/or informal action taken,
accordance with these detention standards and                      including all post-report follow up response
applicable policies, and retained in accordance with               taken by the facility (e.g. housing
established schedules.                                             placement/custody classification, medical
Particularly applicable to the storage, confidentiality            examination, mental health counseling, etc.);
and release of case records are the requirements of the         g. all reports;
“Confidentiality and Release of Medical Records”
section of standard “4.3 Medical Care” and the                  h. medical forms or other relevant medical
requirements of standard “7.1 Detention Files,”                    information;
especially in regard to the Privacy Act of 1974.                i. supporting memos and videotapes, if any;
Because of the very sensitive nature of information
                                                                j. any sanctions imposed on the perpetrator; and
about victims and their medical condition, including
infectious disease testing, staff must be particularly          k. any other evidentiary materials pertaining to
vigilant about maintaining confidentiality and                     the allegation.
releasing information only for legitimate need-to-


2.11 | Sexual Abuse and Assault Prevention                142                                        PBNDS 2011
       and Intervention                                                                    (Revised December 2016)
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The facility administrator shall maintain these files        P. Facility Audits
chronologically in a secure location.
                                                             Facilities shall cooperate with all DHS audits of the
In addition, the facility administrator shall maintain       facility’s compliance with this standard, including by
a listing of the names of sexual assault victims and         making available relevant documents, records, and
assailants, along with the dates and locations of all        other information as requested (including available
sexual assault incidents occurring within the facility,      videotapes and other electronically available data).
on his/her computerized incident reporting system.           Upon request, facilities shall also provide to DHS the
Such information shall be maintained on a need-to-           results of any audits conducted of the facility against
know basis in accordance with the standards “4.3             the DOJ “National Standards to Prevent, Detect, and
Medical Care” and “7.1 Detention Files,” which               Respond to Prison Rape.”
includes protection of electronic files from
unauthorized access. At no time may law                      Facilities shall permit auditors access to all areas of
enforcement sensitive documents or evidence be               the facility, and shall make available space suitable
stored at the facility. Access to this designation shall     for interviews of detainees and staff. Detainees shall
be limited to those staff involved in the treatment of       be permitted to have private interviews with
the victim or the investigation of the incident. The         auditors, and to send confidential information or
authorized designation shall allow appropriate staff         correspondence to the auditor.
to track the detainee victim or assailant of sexual
assault across the system.
                                                                      , Inc.
                                                             re Civic 022
On an ongoing basis, the facility PSA Compliance
Manager and facility administrator must work with o v. C
                                                           o
                                                                  r 1 4 ,2
the Field Office and ICE PSA Coordinator toO w  in         e m be
                                      in    share
                                                      De c
                             cited and5response.
data regarding sexual abuse incidents
                                           52  2  1 ,
                                   2 1 -
                           No.




2.11 | Sexual Abuse and Assault Prevention                 143                                       PBNDS 2011
       and Intervention                                                                     (Revised December 2016)
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Appendix 2.11.A: Sample Sexual                                       detainees who, by force, coercion, or intimidation,
                                                                     or if the victim did not consent or was unable to
Abuse and Assault Prevention                                         consent or refuse, engages in or attempts to engage
                                                                     in:
and Intervention Program
                                                                     a. Contact between the penis and the vulva or anus
Policy1                                                                 and, for purposes of this subparagraph, contact
I. Zero Tolerance Policy                                                involving the penis upon penetration, however
                                                                        slight;
[FACILITY] maintains a zero-tolerance policy for all
forms of sexual abuse or assault. It is the policy of                b. Contact between the mouth and the penis,
[FACILITY] to provide a safe and secure                                 vagina, or anus;
environment for all detainees, employees,                            c. Penetration, however slight, of the anal or genital
contractors, and volunteers, free from the threat of                    opening of another person by a hand or finger or
sexual abuse or assault, by maintaining a Sexual                        by any object;
Abuse and Assault Prevention and Intervention                        d. Touching of the genitalia, anus, groin, breast,
(SAAPI) Program that ensures effective procedures                       inner thighs or buttocks, either directly or
for preventing, reporting, responding to,                               through the clothing, with an intent to abuse,
investigating, and tracking incidents or allegations of                 humiliate, harass, degrade or arouse or gratify the
sexual abuse or assault.
                                                                            ,  In c.
                                                                        ic
                                                                        sexual desire of any person; or
                                                                   Civintimidation,
Sexual abuse or assault of detainees by other
                                                           C   re
                                                            e.oThreats,
                                                                           4  ,  2 02or2other actions or
detainees or by employees, contractors, or
                                              w  in o v. m       b  er 1 by one or more detainees aimed
                                                               communications
volunteers is prohibited and subject to
                                    d  i   O
                                        n sanctions.   D e ce at coercing or pressuring another detainee to
administrative, disciplinary, and e
                              cit
                                  criminal
                                              2 21   ,         engage in a sexual act.
                                         5 5
II. Definitions
                               o  . 21-                     Sexual abuse of a detainee by a staff member,
                            N
For the purposes of this policy, the following                       contractor, or volunteer includes any of the
definitions apply:                                                   following acts, if engaged in by one or more staff
                                                                     members, volunteers, or contract personnel who,
Sexual abuse of a detainee by another detainee
                                                                     with or without the consent of the detainee, engages
includes any of the following acts by one or more
                                                                     in or attempts to engage in:
1
  This document represents a template Sexual Abuse and               a. Contact between the penis and the vulva or anus
Assault Prevention and Intervention Program policy, as                  and, for purposes of this subparagraph, contact
required by Standard 2.11 “Sexual Abuse and Assault
                                                                        involving the penis upon penetration, however
Prevention and Intervention” of the ICE 2011 Performance-
Based National Detention Standards (PBNDS 2011).                        slight;
Facilities may choose to use this format as a manner of
fulfilling the requirements for a written policy detailed in “A.     b. Contact between the mouth and the penis,
Written Policies and Procedures” of Standard 2.11.                      vagina, or anus;

COLOR KEY:                                                           c. Penetration, however slight, of the anal or
Provisions indicated in black font comprehensively                      genital opening of another person by a hand or
incorporate the requirements in Standard 2.11 and DHS PREA              finger or by any object that is unrelated to
standards.
Text indicated in red bold font identifies sections where               official duties or where the staff member,
facility-specific information must be included to satisfy the
requirements.

2.11 | Sexual Abuse and Assault Prevention                         144                                      PBNDS 2011
       and Intervention                                                                            (Revised December 2016)
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   contractor, or volunteer has the intent to abuse,        Volunteer: An individual who donates time and
   arouse, or gratify sexual desire;                        effort on a recurring basis to enhance the activities
                                                            and programs of the facility.
d. Intentional touching of the genitalia, anus, groin,
   breast, inner thighs or buttocks, either directly or     III. Compliance Manager
   through the clothing, that is unrelated to official
                                                            The facility shall designate a Prevention of Sexual
   duties or where the staff member, contractor, or
                                                            Assault (PSA) Compliance Manager who shall serve
   volunteer has the intent to abuse, arouse, or
                                                            as the facility point of contact for the local field
   gratify sexual desire;
                                                            office and ICE PSA Coordinator. The PSA
e. Threats, intimidation, harassment, indecent,             Compliance Manager must have sufficient time and
   profane or abusive language, or other actions or         authority to oversee facility efforts to comply with
   communications aimed at coercing or pressuring           facility sexual abuse and assault prevention and
   a detainee to engage in a sexual act;                    intervention policies and procedures. The
f. Repeated verbal statements or comments of a              Compliance Manager shall:
   sexual nature to a detainee;                             1. Assist with the development of written policies
g. Any display of his or her uncovered genitalia,              and procedures for the SAAPI Program, and with
   buttocks, or breast in the presence of a detainee;          keeping them current;
   or
                                                                   ,  In c.
                                                            2. Assist with the development of initial and
h. Voyeurism, which is defined as the inappropriate
                                                    r e C  ivic 022
                                                               ongoing training protocols;
   visual surveillance of a detainee for reasons
                                           o v                    4, 2with other agencies;
                                              . C3.o Serveeasr a1liaison
                                       O in
   unrelated to official duties. Where not conducted
                                        w         e
                                                 4. m  b
                                                     Coordinate    the gathering of statistics and reports
                                    in        e
   for reasons relating to official duties, the c
                            cited 55221, D
   following are examples of voyeurism: staring at a on allegations of sexual abuse or assault;

                              o . 21-
   detainee who is using a toilet in his or her cell to
                                                 5. Review the results of every investigation of
                            N
   perform bodily functions; requiring a detainee to sexual abuse and assist in conducting an annual
   expose his or her buttocks, genitals, or breasts;            review of all investigations to assess and improve
   or taking images of all or part of a detainee’s              prevention and response efforts; and
   naked body or of a detainee performing bodily
                                                            6. Review facility practices to ensure required levels
   functions.
                                                               of confidentiality are maintained.
Staff and detainee perpetrators of sexual abuse, as
                                                            [INSERT ANY ADDITIONAL DUTIES OF THE
well as detainees who engage in consensual sexual
                                                            COMPLIANCE MANAGER AT THIS FACILITY
conduct, are subject to administrative and
                                                            RELATED TO SEXUAL ABUSE PREVENTION OR
disciplinary sanctions. The facility shall not
                                                            INTERVENTION]
discipline a detainee for sexual contact with staff
unless there is a finding that the staff member did         IV. Prevention
not consent to such contact.                                All staff (employees, volunteers, and contractors) are
Contractor: A person who or entity that provides            responsible for being alert to signs of potential
services on a recurring basis pursuant to a                 sexual abuse or assault, and to situations in which
contractual agreement with the facility.                    sexual abuses or assaults might occur. If a facility
                                                            staff member has a reasonable belief that a detainee
                                                            is subject to a substantial risk of imminent sexual

2.11 | Sexual Abuse and Assault Prevention                145                                       PBNDS 2011
       and Intervention                                                                    (Revised December 2016)
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abuse, he or she shall take immediate action to                   8) Whether the detainee has self-identified as
protect the detainee.                                                having previously experienced sexual
A. Screening and Classification                                      victimization; and
                                                                  9) The detainee’s own concerns about his or
1. Screening and Classification Requirements
                                                                     her physical safety.
   a. All detainees shall be screened upon arrival at
                                                               Detainees shall not be disciplined for refusing to
      the facility for potential risk of sexual
                                                               answer, or for not disclosing complete
      victimization or sexually abusive behavior,
                                                               information in response to, questions asked
      and shall be housed to prevent sexual abuse or
                                                               pursuant to items (1), (7), (8), or (9) above.
      assault, taking necessary steps to mitigate any
      such danger.                                             e. The initial screening shall consider prior acts
                                                                  of sexual abuse or assault, prior convictions
   b. Each new detainee shall be kept separate from
                                                                  for violent offenses, and history of prior
      the general population until he/she has been
                                                                  institutional violence or sexual abuse or
      classified and may be housed accordingly.
                                                                  assault, as known to the facility, in assessing
   c. The initial classification process and initial              detainees for risk of being sexually abusive.
      housing assignment should be completed
                                                               f. The facility shall implement appropriate
      within twelve hours of admission to the
                                                                  protections on responses to questions asked
      facility.
                                                                            , In c.
                                                                      ivic 022
                                                                  pursuant to this screening, limiting
   d. The facility shall consider, to the extent that
                                                               re C
                                                                  dissemination, and ensuring that sensitive
      the information is available, the following
                                                      o v. Co er 14, 2
                                                                  information is not exploited to the detainee’s
                                                 w in
      criteria to assess detainees for risk of sexual
                                             O               e m bdetriment by staff or other detainees or
                                         in              e c
      victimization:
                              c ited 5221, D                      inmates.
      1) Whether the detainee has a 1
                                  .  2    -5
                                        mental,                g. If screening indicates that a detainee has
                             N  o
         physical, or developmental    disability;                experienced prior sexual victimization or
      2) The age of the detainee;                                 perpetrated sexual abuse, staff shall, as
                                                                  appropriate, ensure that the detainee is
      3) The physical build and appearance of the                 immediately referred to a qualified medical or
         detainee;                                                mental health practitioner for medical and/or
      4) Whether the detainee has previously been                 mental health follow-up as appropriate. When
         incarcerated or detained;                                a referral for medical follow-up is initiated,
                                                                  the detainee shall receive a health evaluation
      5) The nature of the detainee’s criminal
                                                                  no later than two working days from the date
         history;
                                                                  of assessment. When a referral for mental
      6) Whether the detainee has any convictions                 health follow-up is initiated, the detainee shall
         for sex offenses against an adult or child;              receive a mental health evaluation no later
      7) Whether the detainee has self-identified as              than 72 hours after the referral.
         gay, lesbian, bisexual, transgender,                  h. Detainees considered at risk for sexual
         intersex, or gender nonconforming;                       victimization shall be placed in the least
                                                                  restrictive housing that is available and
                                                                  appropriate. If appropriate custodial options


2.11 | Sexual Abuse and Assault Prevention              146                                         PBNDS 2011
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      are not available at the facility, the facility will           opportunity to shower separately from other
      consult with the ICE Field Office Director to                  detainees.
      determine if ICE can provide additional
                                                               2. Screening and Classification Procedures
      assistance. Such detainees may be assigned to
      administrative segregation for protective                [INSERT FACILITY PROCEDURES THAT MEET
      custody only until an alternative means of               REQUIREMENTS, INCLUDING, E.G.:
      separation from likely abusers can be                           x   REFERENCES TO SPECIFIC SCREENING
      arranged, and such an assignment shall not                          FORMS OR DOCUMENTS USED BY THE
      ordinarily exceed a period of 30 days.                              FACILITY
   i. The facility shall reassess each detainee’s risk
                                                                      x   REFERENCES TO SPECIFIC SOURCES OF
      of victimization or abusiveness between 60                          INFORMATION AT THE FACILITY
      and 90 days from the date of the initial                            RELATED TO SCREENING CRITERIA
      assessment, and at any other time when
      warranted based upon the receipt of                             x   PROCEDURES TO PROTECT SCREENING
      additional, relevant information or following                       INFORMATION
      an incident of abuse or victimization.                          x   RELEVANT PROCEDURES FOR REFERRAL
   j. When making assessment and housing                                  FOR MEDICAL OR MENTAL HEALTH
                                                                          FOLLOW-UP
      decisions for a transgender or intersex
                                                                  ,  In c.
      detainee, the facility shall consider the
                                                           Cx ivic
                                                               RELEVANT
                                                                           22 ON THE
                                                                          STANDARDS AND
      detainee’s gender self-identification and an
                                                     C o re         ,  2 0
                                               o v. mberMANAGEMENT
      assessment of the effects of placement on the             1 4
                                                               REQUIREMENTS

                                        O w in         e
                                                                              OF ADMINISTRATIVE

                               ted  in          ,   ec
      detainee’s health and safety. The facility shall
                                                  D            SEGREGATION
                             ci
      consult a medical or mental health
                                         522  1
                                   1 - 5
      professional as soon as practicable on this
                                 2
                                                            x SPECIFIC HOUSING OPTIONS TO BE
                             No.
      assessment. The facility should not base                 CONSIDERED FOR DIFFERENT
                                                                          DETAINEES OF VARYING RISK LEVELS
      placement decisions of transgender or intersex
      detainees solely on the identity documents or                       INCLUDING VULNERABLE DETAINEES
      physical anatomy of the detainee; a detainee’s                  x   PROCEDURES FOR CLASSIFICATION
      self-identification of his/her gender and self-                     REVIEW
      assessment of safety needs shall always be
      taken into consideration as well. The facility’s                x   PROCESS FOR CLASSIFICATION AND
      placement of a transgender or intersex                              HOUSING OF TRANSGENDER AND
      detainee shall be consistent with the safety                        INTERSEX DETAINEES ]
      and security considerations of the facility, and         B. Staff Training
      placement and programming assignments for
                                                               1. Staff Training Requirements
      each transgender or intersex detainee shall be
      reassessed at least twice each year to review                a. Training on the facility’s SAAPI Program shall
      any threats to safety experienced by the                        be included in initial and annual refresher
      detainee.                                                       training for all employees.
   k. When operationally feasible, transgender and                 b. Training shall include:
      intersex detainees shall be given the


2.11 | Sexual Abuse and Assault Prevention                   147                                     PBNDS 2011
       and Intervention                                                                     (Revised December 2016)
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      1) The facility’s zero-tolerance policies for                 13)Instruction on reporting knowledge or
         all forms of sexual abuse;                                    suspicion of sexual abuse and/or assault;
                                                                       and
      2) Definitions and examples of prohibited
         and illegal sexual behavior;                               14)Instruction on documentation and
                                                                       referral procedures of all allegations or
      3) The right of detainees and staff to be free
                                                                       suspicion of sexual abuse and/or assault.
         from sexual abuse, and from retaliation
         from reporting sexual abuse;                           c. All volunteers and other contractors2 who
                                                                   have contact with detainees shall be trained
      4) Instruction that sexual abuse and/or
                                                                   on their responsibilities under the facility’s
         assault is never an acceptable
                                                                   sexual abuse prevention, detection,
         consequence of detention;
                                                                   intervention and response policies and
      5) Recognition of situations where sexual                    procedures. The level and type of training
         abuse and/or assault may occur;                           for volunteers and contractors will be based
      6) How to avoid inappropriate relationships                  on the services they provide and their level of
         with detainees;                                           contact with detainees; however, all
                                                                   volunteers and contractors who have any
      7) Working with vulnerable populations                       contact with detainees must be notified of
         and addressing their potential
         vulnerability in the general population;
                                                                         ,  I   c.
                                                                   ICE and the facility’s zero-tolerance policy
                                                                             n
                                                           re C    ivic 022
                                                                   and informed how to report such incidents.
      8) Recognition of the physical, behavioral,
                                                    v . Co d. Instaff
                                                                   r     4 , to2 the general training, all facility
                                                                    addition
                                                                      1
         and emotional signs of sexual abuse
                                           w   in o        m be       responsible  for conducting sexual abuse
                                    in   O
         and/or assault and ways to prevent and
                                                    D ec e
                            ite d               1 ,           or assault investigations shall receive
                          c
         respond to such occurrences;
                                     - 5 5 22                 specialized training that covers, at a
      9) The requirement to limit  1
                           o. 2reporting of                   minimum, interviewing sexual abuse and
         sexual abuse andNassault to personnel                assault victims, sexual abuse and assault
          with a need-to-know in order to make                      evidence collection in confinement settings,
          decisions concerning the detainee-                        the criteria and evidence required for
          victim’s welfare, and for law                             administrative action or prosecutorial
          enforcement/investigative purposes;                       referral, and information about effective
                                                                    cross-agency coordination in the
      10)The investigation process and how to
                                                                    investigation process. The facility must
         ensure that evidence is not destroyed;
                                                                    maintain written documentation verifying
      11)Prevention, recognition and appropriate                    specialized training provided to investigators
         response to allegations or suspicions of                   pursuant to this requirement.
         sexual assault involving detainees with
                                                                e. Facility medical staff shall be trained in
         mental or physical disabilities;
                                                                   procedures for examining and treating
      12)How to communicate effectively and                        victims of sexual abuse, in facilities where
         professionally with detainees, including                  medical staff may be assigned these activities.
         lesbian, gay, bisexual, transgender,
         intersex, or gender nonconforming                  2
                                                             In this section, the term other contractor means a person who
         detainees;                                         provides services on a non-recurring basis to the facility
                                                            pursuant to a contractual agreement with the facility.

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       Such specialized training shall include                    4) definitions and examples of detainee-on-
       detecting and assessing signs of sexual abuse                 detainee sexual abuse and assault, staff-
       and assault, preserving physical evidence of                  on-detainee sexual abuse and assault and
       sexual abuse, responding effectively to                       coercive sexual activity;
       victims of sexual abuse and assault, and how
                                                                  5) explanation of methods for reporting
       and to whom to report allegations or
                                                                     sexual abuse or assault, including one or
       suspicions of sexual abuse or assault.
                                                                     more staff members other than an
   f. The facility shall maintain documentation                      immediate point-of-contact line officer,
      verifying employee, volunteer and contractor                   the DHS/OIG and the ICE/OPR
      training.                                                      investigation processes;
2. Staff Training Procedures                                      6) information about self-protection and
   [INSERT FACILITY PROCEDURES THAT MEET                             indicators of sexual abuse and assault;
   REQUIREMENTS, INCLUDING, E.G.:                                 7) prohibition against retaliation, including
                                                                     an explanation that reporting an assault
       x   MORE SPECIFIC DESCRIPTION OF
                                                                     shall not negatively impact the detainee’s
           GENERAL AND/OR SPECIALIZED
                                                                     immigration proceedings; and
           TRAINING CONTENT MEETING
           MINIMUM ELEMENTS ABOVE                                 8) the right of a detainee who has been
                                                                 ,  I n c.
                                                          ivic 022
                                                                     subjected to sexual abuse to receive
      x DESCRIPTION OF HOW TRAINING
                                                     re C            treatment and counseling.
         RECORDS ARE DOCUMENTED AT THE
                                             v . Co b. The r  1 4  ,2
         FACILITY
                                     w  ino          m  e
                                                       bnotification,
                                                             facility shall provide the detainee
                               in O          D e c e                   orientation, or instruction in
                            d
                      citeVOLUNTEERS]
      x PROCEDURES FOR TRAINING   OTHER
                                       21  ,
                                 5 5 2                  formats accessible to all detainees, including
         CONTRACTORS AND
                        o . 2 1-                        those who are limited English proficient,
C. Detainee Education N                                 deaf, visually impaired or otherwise disabled,
                                                                  as well as to detainees who have limited
1. Detainee Education Requirements
                                                                  reading skills.
   a. Upon admission to [FACILITY], all detainees
                                                               c. The facility shall maintain documentation of
      shall be notified of the facility’s zero-
                                                                  detainee participation in the instruction
      tolerance policy for all forms of sexual abuse
                                                                  session.
      and assault through the orientation program
      and detainee handbook, and provided with                 d. The facility shall post on all housing unit
      information about the facility’s SAAPI                      bulletin boards the following notices:
      Program. Such information shall include, at                 1) The DHS-prescribed sexual abuse and
      a minimum:                                                     assault awareness notice;
       1) the facility’s zero tolerance policy for all            2) The name of the PSA Compliance
          forms of sexual abuse or assault;                          Manager; and
       2) the name of the facility PSA Compliance                 3) Information about local organization(s)
          Manager, and information about how to                      that can assist detainees who have been
          contact him/her;                                           victims of sexual abuse or assault,
       3) prevention and intervention strategies;                    including mailing addresses and

2.11 | Sexual Abuse and Assault Prevention               149                                       PBNDS 2011
       and Intervention                                                                  (Revised December 2016)
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           telephone numbers (incl. toll-free hotline            b. Pat-down searches of female detainees by
           numbers where available). If no such                     male staff shall not be conducted unless in
           local organizations exist, the facility shall            exigent circumstances.
           make available the same information
                                                                 c. All pat-down searches by staff of the opposite
           about national organizations.
                                                                    gender shall be documented.
           a. The facility shall make available and
                                                                 d. Strip searches or visual body cavity searches
              distribute the DHS-prescribed “Sexual
                                                                    by staff of the opposite gender shall not be
              Assault Awareness Information”
                                                                    conducted except in exigent circumstances,
              pamphlet.
                                                                    including consideration of officer safety, or
2. Detainee Education Procedures                                    when performed by medical practitioners.
   [INSERT FACILITY PROCEDURES THAT MEET                            Staff shall not conduct visual body cavity
   REQUIREMENTS, INCLUDING, E.G.:                                   searches of juveniles and, instead, shall refer
                                                                    all such body cavity searches of juveniles to a
       x   SPECIFIC METHOD OF ORIENTATION                           medical practitioner.
           AT THE FACILITY (E.G. IN-PERSON
                                                                 e. All strip searches and visual body cavity
           SESSION, VIDEO)
                                                                    searches shall be documented.
       x   SPECIFIC CONTENT OF DETAINEE
                                                                 f. Detainees shall be able to shower, perform
           ORIENTATION PROGRAMS AS RELATED
                                                           , Inc.
                                                       ivic 022
                                                                    bodily functions, and change clothing
           TO SEXUAL ABUSE
                                                   re C             without being viewed by staff of the opposite
       x SPECIFIC PROCEDURES FOR LEP
                                         o  v. Co er 14, 2          gender, except in exigent circumstances or
         DETAINEES, DETAINEES WITH win           e m b
                                   O           c                    when such viewing is incidental to routine

                         cited in WHO
         DISABILITIES, AND DETAINEES
                                      2 1 , De                      cell checks or is otherwise appropriate in
         HAVE LIMITED LITERACY -552                                 connection with a medical examination or
                          o . 21
                        N
       x LOCAL ORGANIZATION    INFORMATION
                                                                    monitored bowel movement. Staff of the
                                                                    opposite gender shall announce their
           TO BE PROVIDED
                                                                    presence when entering an area where
       x   MORE SPECIFIC DESCRIPTION OF HOW                         detainees are likely to be showering,
           DETAINEE PARTICIPATION IS TO BE                          performing bodily functions, or changing
           DOCUMENTED AT THE FACILITY]                              clothing.
D. Limits to Cross-Gender Viewing and Searches                   g. The facility shall not search or physically
1. Viewing and Searches Requirements for                            examine a detainee for the sole purpose of
   Detainees of the Opposite Gender                                 determine the detainee’s genital
                                                                    characteristics. If the detainee’s gender is
   a. Pat-down searches of male detainees by                        unknown, it may be determined during
      female staff shall not be conducted unless,                   conversations with the detainee, by
      after reasonable diligence, staff of the same                 reviewing medical records, or, if necessary,
      gender is not available at the time the pat-                  learning that information as part of a medical
      down search is required or in exigent                         examination that all detainees must undergo
      circumstances.                                                as part of intake or other processing
                                                                    procedure conducted in private, by a medical
                                                                    practitioner.

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       and Intervention                                                                    (Revised December 2016)
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   h. All pat-down searches shall be conducted in a              and unsubstantiated incidents of sexual abuse
      professional and respectful manner, and in                 as well as other incidents reflecting on
      the least intrusive manner possible,                       facility security and detainee safety, the
      consistent with security needs and policy,                 findings and recommendations of sexual
      including officer safety.                                  abuse incident review reports or other
2. Viewing and Searches Procedures for Detainees                 findings reflecting on facility security and
   of the Opposite Gender                                        detainee safety, the length of time detainees
                                                                 spend in agency custody, and any other
   [INSERT FACILITY PROCEDURES THAT MEET                         relevant factors.
   REQUIREMENTS, INCLUDING:
                                                              d. Frequent unannounced security inspections
       x   PROTOCOLS FOR CONDUCTING                              shall be conducted to identify and deter
           PROFESSIONAL AND RESPECTFUL BODY                      sexual abuse of detainees. Inspections will
           SEARCHES                                              occur on night as well as day shifts. Staff are
       x   PROCEDURES FOR ASCERTAINING                           prohibited from alerting others that these
           WHETHER STAFF OF THE SAME                             security inspections are occurring, unless
           GENDER IS AVAILABLE TO CONDUCT A                      such announcement is related to the
           PAT SEARCH                                            legitimate operational functions of the
                                                                 facility.
                                                                             . c
                                                                       c, In Procedures
       x   SPECIFIC METHOD OR LOCATION FOR
                                                          2. Detainee iSupervision
           SEARCH DOCUMENTATION AT THE
                                                          o re Civ FACILITY
                                                                          2   22
                                                                            0PROCEDURES
           FACILITY]
                                                     v. C   [INSERT
                                                                 r  1 4 ,               THAT MEET
                                             w   ino          be
                                                            REQUIREMENTS,
                                                            m               INCLUDING:
E. Detainee Supervision
                                       in O           e c e
                            cited 55221, D
1. Detainee Supervision Requirements                           x ELEMENTS OF THE COMPREHENSIVE

                                 .
   a. The facility shall ensureothat
                                        -
                                   2it1maintains
                                                                  SUPERVISION GUIDELINE
                           N
       sufficient supervision of detainees, including          x PROCEDURE FOR ANNUAL REVIEWS
       through appropriate staffing levels and,                  x   PROCEDURES FOR CONDUCTING
       where applicable, video monitoring, to                        FREQUENT UNANNOUNCED SECURITY
       protect detainees against sexual abuse.                       INSPECTIONS]
   b. The facility administrator shall determine
      security needs based on a comprehensive
                                                          F. Transportation
      staffing analysis and a documented
      comprehensive supervision guideline that is         1. Transportation Requirements
      reviewed and updated at least annually.
                                                              a. Detainees identified as being “at risk” for
   c. In determining adequate levels of detainee                 sexual victimization shall be transported in
      supervision and determining the need for                   accordance with that special safety concern.
      video monitoring, the facility shall take into
                                                              b. Transportation staff shall seat each detainee
      consideration generally accepted detention
                                                                 in accordance with written procedures from
      and correctional practices, any judicial
                                                                 the facility administrator, with particular
      findings of inadequacy, the physical layout of
                                                                 attention to detainees who may need to be
      each facility, the composition of the detainee
      population, the prevalence of substantiated

2.11 | Sexual Abuse and Assault Prevention              151                                       PBNDS 2011
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       afforded closer observation for their own             A. Accommodation Requirements
       safety.
                                                             1. The facility shall take appropriate steps to ensure
2. Transportation Procedures                                    that detainees with disabilities (including, for
   [INSERT FACILITY PROCEDURES THAT MEET                        example, detainees who are deaf or hard of
   REQUIREMENTS, INCLUDING:                                     hearing, those who are blind or have low vision,
                                                                or those who have intellectual, psychiatric, or
       x   SPECIFIC INSTRUCTIONS FOR SEATING                    speech disabilities) have an equal opportunity to
           DETAINEES WHO MAY NEED CLOSER                        participate in or benefit from all aspects of the
           OBSERVATION]                                         facility’s efforts to prevent, detect, and respond
G. Upgrades to Facilities and Technologies                      to sexual abuse. Such steps shall include, when
                                                                necessary to ensure effective communication
1. Requirements for Upgrades to Facilities and                  with detainees who are deaf or hard of hearing,
   Technologies                                                 or detainees who have intellectual, psychiatric,
   a. When designing or acquiring any new                       or speech disabilities, limited reading skills, or
      facility and in planning any substantial                  who are blind or have low vision, by:
      expansion or modification of existing                      a. Providing access to in-person, telephonic, or
      facilities, the facility shall consider the effect            video interpretive services that enable
      of the design, acquisition, expansion, or
      modification upon its ability to protect
                                                                           ,  I  c.
                                                                    effective, accurate, and impartial
                                                                               n
      detainees from sexual abuse.
                                                                re C ivic 022
                                                                    interpretation, both receptively and

                                                          . Co er 14, 2
                                                                    expressively, using any necessary specialized
   b. When installing or updating a video
                                                  in o  v         b vocabulary.
                                             O w            c e m
                                  te     in
      monitoring system, electronic surveillance
                                     d             1  , D e     b. Providing access to written materials related
                               c
      system, or other monitoringi     technology2
                                              52such
                                                  in a             to sexual abuse in formats or through
                                     2 1  -
      facility, the facility shall consider 5
                                            how
                             No.its ability to protect
                                                                   methods that ensure effective
      technology may enhance                                        communication.
       detainees from sexual abuse.
                                                             2. The facility shall take steps to ensure meaningful
                                                                access to all aspects of the facility’s efforts to
2. Upgrades to Facilities and Technology                        prevent, detect, and respond to sexual abuse to
   Procedures                                                   detainees who are limited English proficient,
                                                                including steps to provide in-person or
   [INSERT FACILITY PROCEDURES THAT MEET
                                                                telephonic interpretive services that enable
   REQUIREMENTS, INCLUDING:
                                                                effective, accurate, and impartial interpretation,
       x   FACTORS THE FACILITY SHOULD TAKE                     both receptively and expressively, using any
           INTO CONSIDERATION IN ASSESSING                      necessary specialized vocabulary.
           HOW UPGRADE PLANS CAN HELP
                                                             3. In matters relating to allegations of sexual abuse,
           BETTER PROTECT AGAINST ABUSE –
                                                                the facility shall employ effective expressive and
           E.G. EFFECTS ON BLIND SPOTS IN
                                                                receptive verbal communication techniques
           PHYSICAL LAYOUT, ETC.]
                                                                while communicating with detainees with
V. Accommodating Detainees with Detainees                       disabilities in accordance with professionally
or Limited English Proficiency                                  accepted standards of care. The facility shall
                                                                provide detainees with disabilities and detainees

2.11 | Sexual Abuse and Assault Prevention                 152                                       PBNDS 2011
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   with limited English proficiency with in-person             x   PROCEDURES FOR OBTAINING APPROVAL
   or telephonic interpretation services that enable               BY AN ICE OFFICIAL FOR THE USE OF
   effective, accurate, and impartial interpretation,              ANOTHER DETAINEE TO PROVIDE
   both receptively and expressively, using any                    INTERPRETATION
   necessary specialized vocabulary. Interpretation
                                                               x   ANY APPLICABLE CROSS-REFERENCES TO
   services shall be provided by someone other than
                                                                   THE FACILITY’S LEP PLAN OR
   another detainee, unless the detainee expresses a
                                                                   PROCEDURES]
   preference for another detainee to provide
   interpretation and ICE determines that such             VI. Detainee Reporting Procedures
   interpretation is appropriate and consistent with
                                                           A. Detainee Reporting Requirements
   DHS policy. The provision of interpreter services
   by minors, alleged abusers, detainees who               1. Detainees shall have multiple ways to privately,
   witnessed the alleged abuse, and detainees who             and if desired, anonymously, report signs or
   have a significant relationship with the alleged           incidents of sexual abuse and assault, retaliation
   abuser is not appropriate in matters relating to           for reporting sexual abuse, or staff neglect or
   allegations of sexual abuse.                               violations of responsibilities that may have
                                                              contributed to such incidents, and will not be
4. Where practicable, provisions for written
                                                              punished for reporting.
   translation of materials related to sexual abuse or
   assault shall be made for any significant segments
                                                            , Inc.
                                                           2. Staff shall take seriously all statements from
   of the population with limited English
                                               re C  ivic 022 detainees claiming to be victims of sexual abuse
                                        v. Co er 14, 2
   proficiency. Oral interpretation or assistance
                                      o
                                                              or assault, and shall respond supportively and
                                   win
   shall be provided to any detainee who speaks
                                  O          e m b            non-judgmentally.
                               in        e c
                      cited 55221, D 3. Any
   another language in which written material has
                                                    detainee may report acts of sexual abuse or
   not been translated or who is illiterate.
                         .  2 1 -              assault to any employee, contractor, or
                     No
B. Accommodation Procedures                    volunteer.
   [INSERT FACILITY PROCEDURES THAT MEET                   4. If a detainee is not comfortable with making the
   REQUIREMENTS, INCLUDING:                                   report to immediate point-of-contact line staff,
                                                              he/she shall be allowed to make the report to a
   x   SPECIFIC METHODS AT THE FACILITY FOR
       ARRANGING IN-PERSON, TELEPHONIC,                       staff person with whom he/she is comfortable in
       AND/OR VIDEO INTERPRETIVE SERVICES                     speaking about the allegations.
       (DESIGNATED STAFF AND PROFESSIONAL                  5. The facility shall provide instruction on how
       INTERPRETATION SERVICES AVAILABLE AT                   detainees may contact their consular official or
       THE FACILITY)                                          the DHS Office of the Inspector General, to
   x   INSTRUCTIONS FOR USING FACILITY                        confidentially and if desired, anonymously,
       TELEPHONIC INTERPRETER LINE OR                         report these incidents.
       REQUESTING WRITTEN TRANSLATIONS                     6. Reporting Through Grievance System
   x   INSTRUCTIONS FOR WORKING WITH                           a. Formal grievances related to sexual abuse and
       DETAINEES WITH DISABILITIES AND                            assault may be filed at any time during, after,
       PROCURING ANY NECESSARY                                    or in lieu of lodging an informal grievance or
       ACCOMMODATIONS

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      complaint and with no time limit imposed                     d. Reports to an individual or
      on when a grievance may be submitted.                           organization outside the facility who
                                                                      can contact facility staff
   b. Written procedures must be implemented for
      identifying and handling time-sensitive                      Reports to DHS/ICE:
      grievances that involve an immediate threat
                                                                   e. Written informal or formal requests or
      to detainee health, safety, or welfare related
                                                                      grievances (including emergency
      to sexual abuse or assault. Decisions on
                                                                      grievances) to the ICE Field Office
      grievances shall be issued within five days of
      receipt and appeals shall be responded to                    f. Telephone calls or written reports to
      within 30 days.                                                 the DHS/OIG, ICE/OPR, or ICE/DRIL
   c. Detainees may obtain assistance from another                 Reports to Consulates:
      detainee, the housing officer or other facility              g. Telephone calls or written reports to
      staff, family members, or legal                                 consular officials
      representatives. Staff shall take reasonable
      steps to expedite requests for assistance from          [INSERT SPECIFIC METHODS FOR WRITTEN
      these other parties                                     COMMUNICATION WITH FACILITY STAFF,
                                                              INCLUDING:
   d. All grievances related to sexual abuse and the
      facility’s decision on any such grievance               x
                                                                         , In c.
                                                                  PROCESS FOR HANDLING DETAINEE
      must be forwarded to the Field Office
                                                                re   ivic 022
                                                                  GRIEVANCES RELATED TO SEXUAL
                                                                   C
      Director.
                                                         v. Co PROCESS
                                                                  ASSAULT
                                                                     r 1 4 ,2
                                               w  in   o        x be
                                                                m          FOR FORWARDING GRIEVANCES
B. Detainee Reporting Procedures
                                       in   O            De c e
                               itedor assault,         ,           RELATED TO SEXUAL ABUSE TO THE ICE
   Detainee reports of sexualcabuse            2 2 1
   retaliation for reporting sexual 2 1 - 5or5assault,             FOD

                            No. of
                                    abuse
   and/or staff neglect or violations                           x ANY ADDITIONAL METHODS AT THE
   responsibilities that may have contributed to                  FACILITY FOR DETAINEES TO MAKE
   such incidents may be made using any available                 PRIVATE REPORTS]
   methods of communication, including but not            VII. Staff Notification and Reporting
   limited to:
                                                          A. Staff Notification and Reporting
        Reports to the Facility:                             Requirements
        a. Verbal reports to any staff member
                                                          1. All staff must immediately report:
           (including the PSA Compliance
           Manager or medical staff)                          a. Any knowledge, suspicion, or information
                                                                 regarding an incident or allegation of sexual
        b. Written informal or formal requests or
                                                                 abuse occurring at the facility;
           grievances to the facility
                                                              b. Any retaliation against detainees or staff who
        c. Sick call requests
                                                                 reported or participated in an investigation
        Reports to Family Members, Friends, or                   about sexual abuse or assault; and
        Other Outside Entities:



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    c. Any staff neglect or violation of                        necessary to help protect the safety of the victim
       responsibilities that may have contributed to            or prevent further victimization of other
       an incident or retaliation.                              detainees or staff in the facility, or to make
                                                                medical treatment, investigation, law
2. Staff must also be able to report the above
                                                                enforcement, or other security and management
   outside of the chain of command.
                                                                decisions.
3. Staff shall accept reports made verbally, in
                                                            9. Upon receiving an allegation that a detainee was
   writing, anonymously, and from third parties,
                                                               sexually abused or assaulted while confined at
   and promptly document any verbal reports.
                                                               another facility, the facility administrator shall
4. The facility shall establish a method to receive            notify the Field Office Director and the
   third-party reports of sexual abuse in its facility,        appropriate administrator of the facility where
   and shall make available to the public                      the alleged abuse occurred as soon as possible,
   information on how to report sexual abuse on                but no later than 72 hours after receiving the
   behalf of a detainee.                                       allegation. The facility administrator shall notify
                                                               the detainee in advance of such reporting. The
5. The facility administrator shall promptly report
                                                               facility shall document that it has provided such
   the incident to the ICE Field Office Director, and
                                                               notification. A facility receiving such
   refer all cases that appear potentially to support
                                                               notification shall ensure the allegation is referred
   criminal prosecution to the appropriate law
                                                                           , In c.
                                                               for investigation and reported to the Field Office
   enforcement agency having jurisdiction for
                                                              r e C  ivic 022
                                                               Director.
                                                                          4, 2 and Reporting Procedures
                                                        . CB.o StaffeNotification
   investigation.
6. If an employee, contractor, or volunteer iswin    o v         b   r 1
   alleged to be the perpetrator ofd        O             c e m
                                       in sexual1, De [INSERT FACILITY PROCEDURES THAT MEET
                              c it e detainee
                                                2
                                           5 52shall
   abuse or assault, the facility administrator
                                      1  -                     REQUIREMENTS, INCLUDING:
                                    2
                            No. entity or
   also notify the local government
    contractor that operates the facility.
                                                               x FACILITY CHAIN-OF-COMMAND
                                                                    REPORTING STRUCTURE AND
7. If the alleged victim is under the age of 18 or                  PROCEDURES/FORMS FOR DOCUMENTING
   considered a vulnerable adult under a State or                   IN WRITING ALL REPORTED ALLEGATIONS
   local vulnerable persons statute, the facility shall             OR SUSPICIONS
   report that information to the Field Office
                                                                x   METHOD(S) FOR STAFF TO REPORT
   Director so that ICE can report the allegation to                OUTSIDE THE CHAIN-OF-COMMAND
   the designated State or local services agency
   under applicable mandatory reporting laws.                   x   METHOD FOR FACILITY TO RECEIVE
                                                                    THIRD-PARTY REPORTS OF SEXUAL ABUSE
8. Information concerning the identity of a detainee
   victim reporting a sexual assault, and the facts of          x   METHOD BY WHICH FACILITY MAKES
   the report itself, shall be limited to those who                 AVAILABLE TO THE PUBLIC INFORMATION
   have a need-to-know in order to make decisions                   ON HOW TO REPORT SEXUAL ABUSE ON
   concerning the victim’s welfare, and for law                     BEHALF OF A DETAINEE
   enforcement/investigative purposes. Apart from               x   FACILITY PROCEDURES FOR REFERRAL TO
   such reporting, staff shall not reveal any                       APPROPRIATE LAW ENFORCEMENT
   information related to a sexual abuse and assault                AGENCIES
   report to anyone other than to the extent
2.11 | Sexual Abuse and Assault Prevention                155                                       PBNDS 2011
       and Intervention                                                                   (Revised December 2016)
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   x   METHOD OF FACILITY REPORTING TO ICE                     e. If the first staff responder is not a security
                                                                  staff member, the responder shall request
   x   FACILITY REPORTING TO OTHER
                                                                  that the alleged victim not take any actions
       CONFINEMENT FACILITIES]
                                                                  that could destroy physical evidence and then
VIII. Response                                                    notify security staff.
A. First Response                                          2. First Response Procedures
1. First Response Requirements                                 [INSERT FACILITY PROCEDURES THAT MEET
                                                               REQUIREMENTS, INCLUDING:
   a. Staff shall take immediate action to separate
      any detainee who alleges that he/she has                 x   INSTITUTIONAL PLAN TO COORDINATE
      been sexually abused or assaulted from the                   STAFF FIRST RESPONDERS, MEDICAL AND
      alleged assailant, and shall refer the detainee              MENTAL HEALTH PRACTITIONERS,
      for a medical examination and/or clinical                    INVESTIGATORS, AND FACILITY
      assessment for potential negative symptoms.                  LEADERSHIP RESPONSE
   b. Staff suspected of perpetrating sexual abuse             x   REMOVING STAFF SUSPECTED OF
      or assault shall be removed from all duties                  PERPETRATING SEXUAL ABUSE FROM
      requiring detainee contact pending the                       DETAINEE CONTACT
      outcome of an investigation.
                                                               x           Inc.
                                                                   WHERE APPLICABLE, FACILITY UNIFORM
                                                                         ,
   c. The first security staff member to respond to
                                                              re C ivic 022
                                                                   EVIDENCE PROTOCOL, WHICH MAXIMIZES
      a report of sexual abuse, or his or her
                                                     o v. Co er 14, 2
                                                                   THE POTENTIAL FOR OBTAINING USABLE

                                          O        n
      supervisor, shall preserve and protect, to ithe
                                              w             e m b  PHYSICAL EVIDENCE FOR ADMINISTRATIVE
                                      in                  c
      greatest extent possible, any crime
                                   d taken
                                tebe
                             cican
                                           scene
                                                2  1 , De
                                            to2collect
                                                                   PROCEEDINGS AND CRIMINAL

                                       -55
      until appropriate steps                                      PROSECUTIONS]
      any evidence.              . 2 1
                            No
   d. If the abuse occurred within a time period
                                                           B. Specialized Response and Victim Services

      that still allows for the collection of physical     1. Specialized Response and Victim Services
      evidence, the first responder shall:                     Requirements

           1) Request the alleged victim not to take           a. The facility must use a coordinated,
              any actions that could destroy                      multidisciplinary team approach to
              physical evidence, including, as                    responding to sexual abuse, such as a sexual
              appropriate, washing, brushing teeth,               assault response team (SART), which
              changing clothes, urinating,                        includes a medical practitioner, a mental
              defecating, smoking, drinking, or                   health practitioner, a security staff member,
              eating; and                                         and an investigator from the assigned
                                                                  investigative entity, as well as representatives
           2) Ensure that the alleged abuser does                 from outside entities that provide relevant
              not take any actions that could                     services and expertise.
              destroy physical evidence, including,
              as appropriate, washing, brushing                b. Staff shall utilize available community
              teeth, changing clothes, urinating,                 resources and services to provide valuable
              defecating, smoking, drinking, or                   expertise and support in areas of crisis
              eating.                                             intervention, counseling, investigation and

2.11 | Sexual Abuse and Assault Prevention               156                                       PBNDS 2011
       and Intervention                                                                  (Revised December 2016)
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        the prosecution of sexual abuse and assault                       organizations or agencies, in as confidential a
        perpetrators to most appropriately address                        manner as possible.
        victims’ needs.
                                                                      h. Staff shall inform detainees, prior to giving
    c. The facility shall attempt to enter into                          them access to outside resources, of the
       memoranda of understanding or other                               extent to which such communications will
       agreements with community service                                 be monitored and the extent to which
       providers or, if local providers are not                          reports of abuse will be forwarded to
       available, national organizations that provide                    authorities in accordance with mandatory
       legal advocacy and confidential emotional                         reporting laws.
       support services for immigrant victims of
                                                                      i. If a victim is transferred between detention
       crime.
                                                                         facilities, the sending facility shall, as
    d. The facility administrator shall establish                        permitted by law, inform the receiving
       procedures to make available to detainees                         facility of the incident and the victim’s
       information about local organizations that                        potential need for medical or social services
       can assist detainees who have been victims of                     (unless the victim requests otherwise in the
       sexual abuse, including mailing addresses                         case of transfer to a non-ICE facility). If the
       and telephone numbers (including toll-free                        receiving facility is unknown to the sending
       hotline numbers where available). If no such
                                                                        , I n c.
                                                                         facility, the sending facility shall notify the
       local organizations exist, the facility shall
                                                            re C ivic 022Field Office Director, so that he or she can
       make available the same information about
                                                      v. Co j. Where
                                                                  r 1  4  ,2
                                                                         notify the receiving facility.
       national organizations.
                                               w  ino       m be       an alleged victim of sexual abuse or
                                            O
                                       inabuse, the1, Dec e
                               ite d
    e. Following an allegation of sexual                       assault that occurred elsewhere in ICE
       facility administratorc
                                            5  22
                             shall also establish
                                        - 5                    custody is subsequently transferred to the
                                      1
                                   2 to the full
                            No. outside victim
       procedures to make available,                           detention facility, the facility shall comply
       extent possible, additional                             with all response and intervention
        services.                                                         requirements outlined by this policy, as
    f. The facility shall attempt to make available to                    appropriate based on the nature and status of
       the victim a victim advocate from a rape                           the case.
       crisis center. If a rape crisis center is not                  k. If any of these requirements cannot be met,
       available, the facility shall work with ICE to                    the facility will consult with the ICE Field
       provide these services from a qualified staff                     Office Director to determine if ICE can
       member from a community-based                                     provide additional assistance.
       organization, or a qualified ICE staff
                                                                  2. Specialized Response and Victim Services
       member.3 The victim advocate shall be able
                                                                      Procedures
       to provide emotional support, crisis
       intervention, information, and referrals.                      [INSERT FACILITY PROCEDURES THAT MEET
                                                                      REQUIREMENTS, INCLUDING:
    g. The facility shall enable reasonable
       communication between detainees and these                      x   FACILITY PLAN TO COORDINATE ACTIONS
                                                                          TAKEN BY STAFF FIRST RESPONDERS,
3
 A qualified ICE staff member or a qualified community-based              MEDICAL AND MENTAL HEALTH
staff member is an individual with training on sexual assault
and forensic examination issues in general.

2.11 | Sexual Abuse and Assault Prevention                      157                                       PBNDS 2011
       and Intervention                                                                         (Revised December 2016)
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       PRACTITIONERS, INVESTIGATORS, AND                          assault, has been held in administrative
       FACILITY LEADERSHIP                                        segregation for 72 hours.
   x   REFERENCES TO ANY MEMORANDA OF                          c. A detainee victim who is in protective
       UNDERSTANDING (MOU) OR OTHER                               custody after having been subjected to sexual
       FACILITY AGREEMENTS WITH                                   abuse shall not be returned to the general
       COMMUNITY SERVICE PROVIDERS TO                             population until completion of a proper re-
       PROVIDE SUPPORT SERVICES FOR VICTIMS                       assessment, taking into consideration any
                                                                  increased vulnerability of the detainee as a
   x   CONTACTS FOR AVAILABLE COMMUNITY
                                                                  result of the sexual abuse or assault.
       SERVICE PROVIDERS IN THE AREA
       (INCLUDING ANY RAPE CRISIS CENTERS),                    d. Staff, contractors, and volunteers shall not
       AND PROCEDURES FOR CONTACTING                              retaliate against any person, including a
       THEM                                                       detainee, who reports, complains about, or
                                                                  participates in an investigation into an
   x   FACILITY PROCESSES TO INVOLVE
                                                                  allegation of sexual abuse, or for
       AVAILABLE OUTSIDE COMMUNITY
                                                                  participating in sexual abuse as a result of
       RESOURCES AND SERVICES, INCLUDING
                                                                  force, coercion, threats, or fear of force.
       NATIONAL ORGANIZATIONS IF LOCAL
       ORGANIZATIONS ARE NOT AVAILABLE]                        e. The facility shall employ multiple protection
                                                                           I n c.
                                                                  measures, such as housing changes, removal
                                                                         ,
                                                                  ivic 022
C. Housing and Protection for Victims
                                                             re C of alleged staff or detainee abusers from
1. Housing and Protection Requirements
                                                   o  v. Co er 14, 2
                                                                  contact with victims, and emotional support
                                               bein            b  services for detainees or staff who fear
                                           O
   a. Victims and vulnerable detainees shall
                                        n     w          c e m
                                ted i 5that
      housed in a supportive ienvironment
                             c                  2 1 , De          retaliation for reporting sexual abuse or for

                                      1 - 5 2option
      represents the least restrictive housing
                                    2
                                                                  cooperating with investigations.

                           No. housing unit,
      possible (e.g. in a different                          f. For at least 90 days following a report of
                                                                  sexual abuse or assault, the facility, in concert
       transfer to another facility, medical housing,
       or protective custody), and that will, to the              with ICE, shall monitor to see if there are
       extent possible, permit the victim the same                facts that may suggest possible retaliation by
       level of privileges he/she was permitted                   detainees or staff, and facility shall monitor
       immediately prior to the sexual assault. This              to see if there are facts that may suggest
       placement should take into account any                     possible retaliation by detainees or staff, and
       ongoing medical or mental health needs of                  shall act promptly to remedy any such
       the victim.                                                retaliation. Items the facility should monitor
                                                                  include any detainee disciplinary reports,
   b. Victims may not be held for longer than five
                                                                  housing, or program changes, or negative
      days in any type of administrative
                                                                  performance reviews or reassignments by
      segregation for protective purposes, except in
                                                                  staff. The facility shall continue such
      highly unusual circumstances or at the
                                                                  monitoring beyond 90 days if the initial
      request of the victim. The facility shall notify
                                                                  monitoring indicates a continuing need.
      the appropriate ICE Field Office Director
      whenever a detainee victim, or detainee                  g. If any of these requirements cannot be met,
      placed due to vulnerability to sexual abuse or              the facility will consult with the ICE Field


2.11 | Sexual Abuse and Assault Prevention               158                                       PBNDS 2011
       and Intervention                                                                  (Revised December 2016)
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       Office Director to determine if ICE can                  services, treatment plans, and, when
       provide additional assistance.                           necessary, referrals for continued care
                                                                following their transfer to, or placement in,
2. Housing and Protection Procedures
                                                                other facilities, or their release from custody.
   [INSERT FACILITY PROCEDURES THAT MEET
   REQUIREMENTS, INCLUDING:                                 5. Detainee victims of sexually abusive vaginal
                                                               penetration by a male abuser while
   x   SPECIFIC FACILITY HOUSING OPTIONS TO                    incarcerated shall be offered pregnancy tests.
       BE CONSIDERED FOR VICTIMS AND                           If pregnancy results from an instance of
       ASSAILANTS OF VARIOUS SECURITY                          sexual abuse, the victim shall receive timely
       CLASSIFICATION LEVELS                                   and comprehensive information about lawful
   x   SPECIFIC PROTECTION MEASURES THE                        pregnancy-related medical services and
       FACILITY MAY TAKE FOR DETAINEES OR                      timely access to all lawful pregnancy-related
       STAFF FEARING RETALIATION                               medical services.

   x   ANY ADDITIONAL ITEMS TO BE                           6. Detainee victims of sexual abuse while
       MONITORED FOR SIGN OF POSSIBLE                          detained shall be offered tests for sexually
       RETALIATION AGAINST VICTIMS OR                          transmitted infections as medically
       INDIVIDUALS WHO REPORT SEXUAL                           appropriate.
       ABUSE]
                                                                         In c.
                                                            7. The facility shall attempt to conduct a mental
                                                                       ,
IX. Health Care Services                                   re C ivic 022
                                                               health evaluation of all known detainee-on-

                                                  o v. Co er 14, 2
                                                               detainee abusers within 60 days of learning
A. Health Care Services Requirements
                                         O  w  in        e m b of such abuse history and offer treatment
                                  d inand assault   De c
                            c iteabuse
    1. Detainee victims of sexual
                                              2 1 ,            when deemed appropriate by mental health

                                    1 - 55to2
       shall have timely, unimpeded access
                                  2
                                                               practitioners.
       emergency medical N    o. and crisis
                           treatment                       8. All treatment services, both emergency and
       intervention services, including emergency               ongoing, shall be provided to the victim
       contraception and sexually transmitted                   without financial cost and regardless of
       infections prophylaxis, in accordance with               whether the victim names the abuser or
       professionally accepted standards of care.               cooperates with any investigation arising out
   2. Transportation of an alleged victim for                   of the incident. The facility shall provide
      emergency care or other services provided                 such victims with medical and mental health
      off-site shall be arranged in a manner that               services consistent with the community level
      takes into account the special needs of                   of care.
      victimized detainees.                             B. Health Care Services Procedures
   3. The facility shall offer medical and mental           [INSERT FACILITY PROCEDURES THAT MEET
      health evaluation and, as appropriate,                REQUIREMENTS, INCLUDING:
      treatment to all detainees who have been
      victimized by sexual abuse while in                   x   PROCEDURES FOR COORDINATING WITH
                                                                AVAILABLE OFF-SITE SERVICE PROVIDERS,
      immigration detention.
                                                                AS NECESSARY]
   4. The evaluation and treatment of such victims
                                                        X. Investigation
      shall include, as appropriate, follow-up

2.11 | Sexual Abuse and Assault Prevention           159                                         PBNDS 2011
       and Intervention                                                                (Revised December 2016)
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A. Investigation Requirements                                    investigating agency follow the applicable
                                                                 requirements of this policy, including
   1. The facility to establish a protocol, to ensure
                                                                 requirements related to evidence preservation
      that each allegation of sexual abuse is
                                                                 and forensic examinations.
      investigated by facility, or referred to an
      appropriate investigative authority. This               7. Upon conclusion of a criminal investigation
      protocol shall be posted on the facility                   where the allegation was substantiated, an
      website, or otherwise made available to the                administrative investigation shall be
      public.                                                    conducted. Upon conclusion of a criminal
                                                                 investigation where the allegation was
   2. The facility shall coordinate with ICE and
                                                                 unsubstantiated, the facility shall review any
      other appropriate investigative entities to
                                                                 available completed criminal investigation
      ensure that an administrative or criminal
                                                                 reports to determine whether an
      investigation is completed for all allegations
                                                                 administrative investigation is necessary or
      of sexual abuse. All investigations must be
                                                                 appropriate. Administrative investigations
      prompt, thorough, objective, fair, and
                                                                 shall be conducted after consultation with the
      conducted by specially trained, qualified
                                                                 appropriate investigative office within DHS,
      investigators.
                                                                 and the assigned criminal investigative entity.
   3. Where evidentiarily or medically
      appropriate, at no cost to the detainee, and
                                                             , I  c.
                                                              8. Administrative investigations procedures
                                                                n
                                                   e
      only with the detainee’s consent, the facility
                                                  r  C ivic 022  include:

                                           v
      administrator shall arrange for an alleged
                                         o                  4, 2 of direct and circumstantial
                                            . Co a.erPreservation
                                                         1
                                      win
      victim to undergo a forensic medical
                                     O          e m b evidence, including any available physical
                                  in        e c
                           cited 55221, D
      examination by a Sexual Assault Forensic          DNA evidence and any available
                                                        electronic monitoring data;
                               2 1 -
      Examiner (SAFE) or Sexual Assault Nurse
                           No.
      Examiner (SANE), where practicable. If
      SAFEs or SANEs cannot be made available,
                                                     b. Interviewing alleged victims, suspected
                                                                     perpetrators, and witnesses;
      the examination can be performed by other
      qualified health care personnel.                           c. Reviewing prior complaints and reports
                                                                    of sexual abuse or assault involving the
   4. As requested by a victim, the presence of his                 suspected perpetrator;
      or her outside or internal victim advocate,
                                                                 d. Assessment of the credibility of an
      including any available victim advocacy
      services offered by a hospital conducting a                   alleged victim, suspect, or witness,
      forensic exam, shall be allowed for support                   without regard to the individual’s status
      during a forensic exam and investigatory                      as detainee, staff, or employee and
      interviews.                                                   without requiring any detainee who
                                                                    alleged sexual abuse or assault to submit
   5. The results of the physical examination and                   to a polygraph;
      all collected physical evidence are to be
                                                                 e. An effort to determine whether actions or
      provided to the investigative entity.
                                                                    failures to act at the facility contributed
   6. In the event the investigation is being                       to the abuse;
      conducted by a non-federal investigating
                                                                 f. Documentation of each investigation by
      agency, the facility shall request that the
                                                                    written report, which shall include a
2.11 | Sexual Abuse and Assault Prevention              160                                      PBNDS 2011
       and Intervention                                                                 (Revised December 2016)
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           description of the physical and                       [INSERT FACILITY PROCEDURES THAT MEET
           testimonial evidence, the reasoning                   REQUIREMENTS, INCLUDING:
           behind credibility assessments, and
                                                                 x   ADDITIONAL OR MORE SPECIFIC FACILITY
           investigative facts and findings;
                                                                     PROCESSES FOR CONDUCTING INTERNAL
       g. Retention of such reports for as long as                   ADMINISTRATIVE INVESTIGATIONS (E.G.
          the alleged abuser is detained or                          EVIDENCE PROCESSING PROTOCOLS,
          employed by the agency or facility, plus                   INTERVIEWING PROTOCOLS, ETC.)
          five years; and
                                                                 x   FACILITY PROCEDURES FOR ARRANGING
       h. Coordination and sequencing of                             FORENSIC EXAMS, AND FOR ATTEMPTING
          administrative and criminal investigations                 TO PROCURE A SAFE OR SANE
          to ensure that a criminal investigation is
          not compromised by an internal                         x   SPECIFIC FACILITY PROCEDURES FOR
                                                                     COORDINATION AND SEQUENCING OF
          administrative investigation.
                                                                     INTERNAL ADMINISTRATIVE
   9. The facility uses no standard higher than a                    INVESTIGATIONS AND CRIMINAL
      preponderance of the evidence in                               INVESTIGATIONS
      determining whether allegations of sexual
      abuse are substantiated.                                   x   GUIDELINES FOR DETERMINING WHEN AN

                                                                          ,  Inc.
                                                                     ADMINISTRATIVE INVESTIGATION WILL BE

                                                                     ivic 022
   10. The departure of the alleged abuser or victim                 NECESSARY OR APPROPRIATE FOLLOWING
                                                               re C
                                                         . Co er 14, 2
       from the employment or control of the                         A CRIMINAL INVESTIGATION’S FINDING
       facility shall not provide a basis for
                                                 in o  v         b   OF UNSUBSTANTIATION
       terminating an investigation.        O  w           c e m
                                te  d   in        1  , D e x MEANS BY WHICH THE FACILITY POLICY IS
   11. When outside agencies   i            5 22
                            c investigate5sexual                   MADE PUBLICALLY AVAILABLE]
                                       1 -
                                    2 shall cooperate
                           No.
       abuse and assault, the facility
                                                            XI. Disciplinary Sanctions
       with outside investigators and shall endeavor
       to remain informed about the progress of the          A. Staff Discipline
       investigation. Where an alleged victim of
                                                                 1. Staff Discipline Requirements
       sexual abuse or assault that occurred
       elsewhere in ICE custody is subsequently                      a. Staff shall be subject to disciplinary or
       transferred to the facility, the facility shall                  adverse action, up to and including
       also cooperate with any administrative or                        removal from their position, for
       criminal investigative efforts arising from the                  substantiated allegations of sexual abuse
       incident.                                                        or for violating ICE or facility sexual
                                                                        abuse rules, policies, or standards.
   12. Following an investigation conducted by the
       facility into a detainee’s allegation of sexual               b. Removal from their position is the
       abuse, the facility shall notify the Field Office                presumptive disciplinary sanction for
       Director of the results of the investigation                     staff who have engaged in, attempted, or
       and any responsive actions taken so that the                     threatened to engage in sexual abuse, as
       information can be reported to ICE                               defined under the definition of staff-on-
       headquarters and to the detainee.                                detainee abuse in Section II, paragraphs
                                                                        (a)-(d) and (g)-(h).
B. Investigation Procedures

2.11 | Sexual Abuse and Assault Prevention                 161                                      PBNDS 2011
       and Intervention                                                                    (Revised December 2016)
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      c. The facility shall report all incidents of          [INSERT FACILITY PROCEDURES THAT MEET
         substantiated sexual abuse by staff, and            REQUIREMENTS, INCLUDING:
         all removals of staff, or resignations in
                                                             x   FACILITY DISCIPLINARY PROCESSES AND
         lieu of removal for violations of sexual
                                                                 SANCTIONS FOR STAFF, CONTRACTOR OR
         abuse policies, to appropriate law
                                                                 VOLUNTEER OFFENSES RELATING TO
         enforcement agencies unless the activity
                                                                 SEXUAL ABUSE
         was clearly not criminal. The facility
         shall also report all such incidents of             x   PROCEDURES FOR IDENTIFYING AND
         substantiated abuse, removals, or                       REPORTING TO RELEVANT LICENSING
         resignations in lieu of removal to the                  BODIES]
         Field Office Director, regardless of            B. Detainee Discipline
         whether the activity was criminal, and
         shall make reasonable efforts to report             1. Detainee Discipline Requirements
         such information to any relevant                        a. Detainees shall be subjected to
         licensing bodies, to the extent known.                     disciplinary sanctions pursuant to a
      d. Contractors suspected of perpetrating                      formal disciplinary process following an
         sexual abuse or assault shall be removed                   administrative or criminal finding that
         from all duties requiring detainee contact                 the detainee engaged in sexual abuse or
         pending the outcome of an investigation.                       In c.
                                                                    assault.
                                                                     ,
                                                            b. iv
                                                            C     ic          22not discipline a detainee
      e. Any contractor or volunteer who has
                                                       Core     The facility0shall
                                                                       ,  2
         engaged in sexual abuse or assault shall o v.
                                                             e      4
                                                               ris1a finding that thewith
                                                                for sexual  contact       staff unless there
                                                in         b
                                         Ow Decem consent to such contact.            staff member did not
                                    in
         be prohibited from contact with
                                 d take 21,
                          c iteshall
         detainees. The facility
                                            2 shall
                                   1  -
         appropriate remedial measures,
                                 2      55and
         consider whetherN  o
                           to  .
                              prohibit  further
                                                            c. For the purpose of disciplinary action, a
                                                                report of sexual abuse or assault made in
          contact with detainees by contractors or                  good faith based upon a reasonable belief
          volunteers who have not engaged in                        that the alleged conduct occurred shall
          sexual abuse or assault, but have violated                not constitute falsely reporting an
          other sexual abuse policies.                              incident or lying, even if an investigation
      f. Incidents of substantiated sexual abuse by                 does not establish evidence sufficient to
         a contractor or volunteer shall be                         substantiate the allegation.
         reported to law enforcement agencies,                   d. If a detainee is mentally disabled or
         unless the activity was clearly not                        mentally ill but competent, the
         criminal. The facility shall also report                   disciplinary process shall consider
         such incidents to the Field Office Director                whether the detainee’s mental disabilities
         regardless of whether the activity was                     or mental illness contributed to his or her
         criminal, and shall make reasonable                        behavior when determining what type of
         efforts to report such incidents to any                    sanction, if any, should be imposed.
         relevant licensing bodies, to the extent
         known.                                              2. Detainee Discipline Procedures

   2. Staff Discipline Procedures                            [INSERT FACILITY PROCEDURES THAT MEET
                                                             REQUIREMENTS, INCLUDING:
2.11 | Sexual Abuse and Assault Prevention             162                                       PBNDS 2011
       and Intervention                                                                (Revised December 2016)
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   x   FACILITY DISCIPLINARY PROCESSES AND                         incident reviews to assess and improve sexual
       SANCTIONS FOR DETAINEE OFFENSES                             abuse intervention, prevention, and response
       RELATING TO SEXUAL ABUSE (OR CROSS-                         efforts. If the facility has not had any reports
       REFERENCES TO FACILITY DETAINEE                             of sexual abuse during the annual reporting
       DISCIPLINARY POLICY)]                                       period, then the facility shall prepare a
                                                                   negative report. The results and findings of
XII. Sexual Abuse Incident and Annual
                                                                   the annual review shall be provided to the
Reviews                                                            facility administrator and Field Office
A. Review Requirements                                             Director, or his or her designee, for
                                                                   transmission to the ICE PSA Coordinator.
   1. The facility shall conduct a sexual abuse and
      assault incident review at the conclusion of         B. Review Procedures
      every investigation of sexual abuse or assault.          [INSERT FACILITY PROCEDURES THAT MEET
   2. For any substantiated or unsubstantiated                 REQUIREMENTS, INCLUDING:
      allegation, the facility shall prepare a written         x   SPECIFIC PROCEDURES FOR CONDUCTING
      report within 30 days of the conclusion of                   INCIDENT REVIEWS, INCLUDING DETAILED
      the investigation recommending whether the                   FACTORS OR CRITERIA TO BE TAKEN INTO
      allegation or investigation indicates that a                 CONSIDERATION
      change in policy or practice could better
                                                                       , In c.
                                                               x
                                                                 ivic 022
      prevent, detect, or respond to sexual abuse                  SPECIFIC PROCEDURES FOR CONDUCTING
                                                            re C
                                                      . Co er 14, 2
      and assault.                                                 ANNUAL REVIEWS, INCLUDING DETAILED

                                               in o  v        b
                                                                   FACTORS OR CRITERIA TO BE TAKEN INTO
   3. The facility shall implement the
                                          O  w          c e m      CONSIDERATION]
                              ited in or22shall
      recommendations for improvement,
                            c                    1 , De XIII. Data Collection
                                      -
      document its reasons for not doing
                                  2 1   55so in a
                           N the. report and
      written response. Botho
       response shall be forwarded to the Field
                                                         A. Data Collection Requirements

       Office Director, or his or her designee, for            1. The facility shall maintain in a secure area all
       transmission to the ICE PSA Coordinator.                   case records associated with claims of sexual
       The facility shall also provide any further                abuse or assault, including incident reports,
       information regarding such incident reviews                investigative reports, offender information,
       as requested by the ICE PSA Coordinator.                   case disposition, medical and counseling
                                                                  evaluation findings, and recommendations
   4. The review team shall consider whether the                  for post-release treatment, if necessary.
      incident or allegation was motivated by race;
      ethnicity; gender identity; lesbian, gay,                2. The facility administrator shall maintain two
      bisexual, transgender, or intersex                          types of files regarding incidents of sexual
      identification, status, or perceived status; or             abuse and assault, which include the
      gang affiliation; or was motivated or                       following minimum information:
      otherwise caused by other group dynamics at                  a. General files include:
      the facility.
                                                                          the victim(s) and assailant(s) of a
   5. The facility shall conduct an annual review of                       sexual assault
      all sexual abuse investigations and resulting

2.11 | Sexual Abuse and Assault Prevention               163                                       PBNDS 2011
       and Intervention                                                                   (Revised December 2016)
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             the date, time, location, and nature of             occurring within the facility, on his/her
              the incident                                        computerized incident reporting system.
                                                                  Such information shall be maintained on a
             the demographic background of the
                                                                  need-to-know basis; access shall be limited to
              victim and the perpetrator (including
                                                                  those staff involved in the treatment of the
              citizenship, age, gender, and whether
                                                                  victim or the investigation of the incident.
              either has self-identified as gay,
                                                                  At no time may law enforcement sensitive
              lesbian, bisexual, transgender,
                                                                  documents or evidence be stored at the
              intersex, or gender nonconforming)
                                                                  facility.
             detailed reporting timeline, including
                                                              5. On an ongoing basis, the PSA Compliance
              the names of the individual who
                                                                 Manager and facility administrator must
              reported the incident and received
                                                                 work with the Field Office and ICE PSA
              the report of sexual assault, date and
                                                                 Coordinator to share data regarding sexual
              time the report was received, and
                                                                 abuse incidents and response.
              steps taken to communicate the
              report up the chain of command              B. Data Collection Procedures
             any injuries sustained by the victim            [INSERT FACILITY PROCEDURES THAT MEET
                                                              REQUIREMENTS, INCLUDING:
             all formal and/or informal action
                                                                  ,  Inc.
                                                            ivic 022
                                                              x
              taken, including all post-report                    NAMES/TYPES OF FILES TO BE
                                                    re  C
                                              . Co er 14, 2
              follow up response taken by the                     MAINTAINED REGARDING INCIDENTS OF
              facility (e.g. housing
                                         ino v         b
                                                                  SEXUAL ABUSE, TO BE MAINTAINED IN A
                                       Ow       c e m             SECURE AREA]
                                    in        e
              placement/custody classification,
                            cited 55221, D XIV. Facility Audits
              medical examination, mental health
              counseling, etc.)
                              o . 21-
             all reports   N                    The facility shall cooperate with all DHS audits of the
                                                          facility’s compliance with sexual abuse and assault
             medical forms or other relevant             policies and standards, including by:
              medical information
                                                              1. In advance of and during the on-site audit,
             supporting memos and videotapes, if                making available relevant documents,
              any                                                records, and other information as requested
                                                                 (including available videotapes and other
             any sanctions imposed on the
                                                                 electronically available data);
              perpetrator
                                                              2. Permitting auditors access to all areas of the
             any other evidentiary materials
                                                                 facility;
              pertaining to the allegation
                                                              3. Permitting detainees to have private
   3. The facility administrator shall maintain these
                                                                 interviews with auditors, and to send
      files chronologically in a secure location.
                                                                 confidential correspondence to the auditor;
   4. The facility administrator shall maintain a                and
      listing of the names of sexual assault victims
                                                              4. Making available space suitable for interviews
      and assailants, along with the dates and
                                                                 of detainees and staff.
      locations of all sexual assault incidents

2.11 | Sexual Abuse and Assault Prevention              164                                       PBNDS 2011
       and Intervention                                                                 (Revised December 2016)
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XV. ICE Approval of Facility Policy                              responsibilities that may have contributed to
                                                                 an incident or retaliation.
The following policies and procedures require
approval by the local ICE Field Office.                       4. Facility policy and procedures for
                                                                 coordination and conduct of internal
   1. Facility Zero Tolerance Policy outlining the
                                                                 administrative investigations with the
      facility’s approach to preventing, detecting,
                                                                 assigned criminal investigative entity to
      and responding to all forms of sexual abuse.
                                                                 ensure non-interference.
   2. Facility policy and procedures to ensure
                                                              5. Facility policy and procedures regarding
      medical staff is trained in procedures for
                                                                 disciplinary or adverse actions for staff, up to
      examining and treating victims of sexual
                                                                 and including removal, when there is a
      abuse (where medical staff may be assigned
                                                                 substantiated allegation of sexual abuse, or
      these duties).
                                                                 when there has been a violation of agency
   3. Facility policy and procedures specifying                  sexual abuse rules, policies, or standards.
      appropriate procedures for staff to report any          [INSERT FACILITY PROCEDURES TO REQUEST
      knowledge, suspicion, or information                    AND MAINTAIN RECORDS OF ICE FIELD
      regarding an incident of 1) sexual abuse that           OFFICE REVIEW AND APPROVAL]
      occurred in a facility; 2) retaliation against
      detainees or staff who reported or
                                                          , Inc.
      participated in an investigation about such an
                                                  re Civic 022
                                            . Co er 14, 2
      incident; and any staff neglect or violation of
                                       ino v        b
                                     Ow       c e m
                                  in        e
                          cited 55221, D
                            o . 21-
                          N




2.11 | Sexual Abuse and Assault Prevention              165                                       PBNDS 2011
       and Intervention                                                                 (Revised December 2016)
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   x Appendix 2.11.B1: Sexual Abuse and Assault Awareness
     Brochure (English)

   x Appendix 2.11.B2: Sexual Abuse and Assault Awareness
     Brochure (Spanish)



                                                       , Inc.
                                               re Civic 022
                                      o v. Co er 14, 2
                                  Owin       e m b
                               in        e c
                       cited 55221, D
                         o . 21-
                       N




2.11 | Sexual Abuse and Assault Prevention   166                             PBNDS 2011
       and Intervention                                             (Revised December 2016)
                                                                                                              *This pamphlet is intended to be distributed as a tri-fold brochure.
How to Report Sexual Abuse and                          Anonymous Reporting
Assault                                                 You do not have to give your name to report
                                                        a sexual abuse or assault. You can choose to
If you feel at risk of being victimized, or if you
                                                        report anonymously to the Detention
become a victim of sexual abuse or assault, report
                                                        Reporting and Information Line (DRIL) or
the incident immediately. There are many options        the DHS OIG. You can also have somebody
for reporting. Your ICE Detainee Handbook has           else report on your behalf to the facility, ICE
more information about each of these:
                                                        Headquarters, or the OIG.

Report to the Facility                                  Will this Impact my Immigration Case
1. Tell any trusted staff member at the facility.       or Detention?
2. File an informal or formal grievance (including an   Any report of sexual abuse, or fear of being
   emergency grievance) with the facility.              abused or assaulted, will not negatively
                                                        affect your immigration case. No one can
                                                        retaliate against you in any way for reporting
Report to the ICE Field Office                          sexual abuse or assault.
3. Tell any ICE/ERO staff member who visits the
   facility.                                            Confidentiality                                              c.
4. File a written informal or formal request or                                                                ,  In
                                                             Information concerning your identity and the ivic
   grievance to ICE/ERO.                                                                         to only
                                                                                                    r e  C            0 22
                                                             facts of your report will be limitedo
                                                             those who need to know.v. C                     1 4 ,  2
Report to DHS or ICE Headquarters                                           in   o                     b e r
                                                                   O    w                    c  e m
5. Contact the ICE Detention Reporting and Information  d   i n                     D    e
   Line: 1-888-351-4024   4 orr 9116#. Language
                                              c    e
                                                itassistance 5221                ,
   is available.                                              -5
6. Contact the DHS Office of Inspector General     .   2   1
    (OIG):
                                            No
    Write a letter to:
       Office of Inspector General/MAIL STOP 0305
       Department of Homeland Security
       245 Murray Lane, SW Washington, DC 20528-
       0305
       (202) 254-4100 / FAX: (202) 254-4285             **For more information on this content,
                                                                                                               SEXUAL ABUSE
                                                        please read the ICE Detainee Handbook or
    Call the toll-free hotline at:                      ask a trusted facility staff person.**
       1-800-323- 8603
                     3 / 1-844-889-4357
                                      7 – TTY
                                            Y
                                                                                                               and ASSAULT
                                                                                                               AWARENESS
                                                                                                                                                                               Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9484 Page 214 of 498




Report to Your Consular Official
7. Call or write to your consular official.                                                                                    www.ICE.gov
What is Sexual Abuse and Assault                             If You Are a Victim of Sexual Abuse or
                                                             Assault                                                     How Can I Protect Myself from
Detainee-on-detainee sexual abuse and
assault:                                                     Whatever your reactions or fears, it is important to        Sexual Abuse or Assault?
All forms of sexual abuse and assault by a detainee          understand that you are not to blame. Sexual abuse          Sexual abuse and assault is never the victim’s fault.
against another detainee(s) are prohibited. If another       can violate your sense of safety and trust. You may         Knowing the warning signs and red flags can help
detainee forces you or tries to force you to engage in       feel shocked, angry, anxious, depressed, or guilty.         you stay alert and aware:
a sex act, touches the sexual parts of your body,            You may also experience a variety of physical
                                                                                                                        1. Report concerns.
forces you or tries to force you to touch the sexual         reactions, from changes in eating and sleeping
                                                             patterns to nightmares or flashbacks.                      2. Carry yourself in a confident manner. Many
parts of their body, or uses threats or intimidations                                                                      abusers choose victims who look like they
to pressure you to engage in sex, it is sexual abuse.        These reactions are normal, and help is available.            would not fight back or who they think are
                                                             The facility and ICE will help you get support and            emotionally weak.
                                                             offer resources specific to your needs.
Staff-on-detainee sexual abuse and assault:                                                                             3. Do not accept gifts or favors from others. Gifts
All forms of sexual acts between a detainee and a                                                                          or favors can come with demands or terms that
                                                             What Support Can You Expect from                              the giver expects you to accept.
staff member (including contract guards, medical
professionals, and volunteers) are prohibited and            ICE and the Facility                                       4. Do not accept an offer from another detainee to
against the law, regardless of whether they are              You will be offered immediate protection from the             be your protector.
consensual. If a staff member tries to or actually           perpetrator and you will be referred for a medical     In5. c
                                                                                                                            .
                                                                                                                          Find a staff member with whom you feel
does have sex with you, intentionally touches you                                                          ivic  ,
                                                             examination, when appropriate. You will also be offered      comfortable discussing your fears and concerns.
in a sexual manner, makes sexual advances or                 mental health services and outside victim services. Some
                                                                                                  e   C                      22
                                                                                             o  r                     6.
                                                                                                                      2  Do not use drugs or alcohol; these can weaken
                                                                                                                         0
repeated sexual comments, displays his or her                victims may also be encouraged
                                                                                    .  C                           ,
                                                                                                                 4 your ability to stay alert and make good
genitals, or engages in voyeurism, it is sexual        to receive a sexual o     v                  exam,
                                                                                                       e
                                                                                                    b whichr 1            judgments.
abuse.                                                 can help inwcriminally prosecuting     m
                                                             O         inassault forensicthemedical
                                                                                          e   perpetrator.
                                                     in                            e   c                              7. Be clear, direct and firm. Do not be afraid to say
                                                e d                  2  1  ,   D                                          “no” or “stop it now.”
                                             cit       How5    Will
                                                                 2    Reports be Investigated?                        8. Choose your associates wisely. Look for people
                                                  2 1  - 5
                                                       When you report a sexual abuse or assault incident                 who are involved in positive activities like
                                             No .      the  facility  and/or an  appropriate   law   enforcement          educational programs, work opportunities or
                                                             agency will conduct an investigation. You may be               counseling groups. Get yourself involved in
                                                             asked to participate in an interview to gather                 these activities, if they are available at your
                                                             information. ICE will inform you of the result of any          facility.
                                                             investigation once it is completed.                        9. If you suspect another detainee is being sexually
                                                             There is a difference between reporting the incident          abused or assaulted, report it using one of the
                                                             and choosing to press charges. You may choose not             methods listed in this pamphlet.
                                                             to immediately press charges, but you can always           10. Trust your instincts. Be aware of situations that
                                                             decide to do so later. If criminal charges are filed, it       make you feel uncomfortable. If it does not feel
                                                             will be presented for possible prosecution. It is              right or safe, leave the situation or seek
                                                             important for you to discuss any concerns you have             assistance. If you fear for your safety, report
                                                             with the prosecutor (or your attorney) or a victim             your concerns to staff.
                                                             advocate.
                                                                                                                                                                                 Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9485 Page 215 of 498
                                                                                                             *Este folleto está destinado a ser distribuido como un folleto tríptico.
Como Reportar un Abuso o una Agresión                 Reportar Anónimamente
Sexual                                                Usted no tiene que dar su nombre para reportar un
Si usted se siente a riesgo de ser victimizado o si   abuso o asalto sexual. Usted puede elegir reportar
usted se convierte en una víctima de abuso o          anónimamente a la Línea de información y
agresión sexual, reporte el incidente                 denuncias del Centro de Detenciones del ICE
inmediatamente. Hay muchas opciones para              (DRIL) o al DHS OIG. Usted también puede hacer
reportar. Su Manual para los Detenidos de ICE         que otra persona lo reporte por usted a las Oficinas
contiene más información acerca de éstas:             Centrales de ICE o al OIG por usted.

Repórtelo al Centro                                   ¿Esto impactará mi caso de inmigración
 1. Dígaselo a cualquier empleado de confianza        o detención?
    del centro.                                       Cualquier reporte de abuso sexual o temor de ser
 2. Entregue una queja formal o informal              abusado o agredido no afectará negativamente su
    (incluyendo una queja de emergencia) en el        caso de inmigración. Nadie podrá tomar ninguna
    centro.                                           represalia en contra de usted por haber reportado
                                                      un abuso o una agresión sexual.
 Repórtelo a la Oficina Regional de ICE
 3. Dígaselo a cualquier empleado de ICE/ERO          Confidencialidad            ,  In c.
    que visite el centro.
                                                                           C iv ic
                                                      La información concerniente a su identidad y los
                                                                                           22
 4. Entregue una petición o queja informal o                          o re             2 0
                                                      hechos de su reporte serán limitados a quienes
                                                                                    ,
    formal a ICE/ERO.
                                                             o  v .C
                                                      necesitan saberlos.   e r 1 4
                                                        w  in         e m b
 Repórtelo a las Oficinas Centrales de           in  O            e c
 DHS o ICE
                                         cite d           2 1 , D
 5. Contacte la Línea de Reportes e                   5 2
    Información de Detención de ICE: 1-888-
                                            . 2 1  -5
    351-4024 o 9116#. Hay asistencia de No
    idiomas.
 6. Contacte la Oficina del Inspector General
    de DHS (OIG por sus siglas en inglés):

     Envíe una carta a:
          DHS Office of Inspector General
          Attention: Office of Investigations                                                                   CONOCIMIENTO
          Hotline 245 Murray Lane, SW                 **Para más información sobre este tema, por favor
          Building 410/Mail Stop 0305                 lea el Manual para los detenidos de ICE o                 DEL ABUSO Y LA
          Washington, DC 20528                        pregúntele a un empleado de confianza del
                                                      centro.**
Llame gratuitamente a la línea de asistencia:                                                                   AGRESIÓN
       1-800-323- 8603 / 1-844-889-4357 – TTY
                                                                                                                                                                                Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9486 Page 216 of 498




 Repórtelo a su Oficial Consular                                                                                SEXUAL
 7. Llame o escríbale a su oficial consular.
                                                                                                                                www.ICE.gov
¿Qué es el abuso y la agresión sexual?                     Si usted es una víctima de abuso o                        ¿Cómo puedo protegerme del abuso o la
Abuso y agresión sexual por parte de un                    agresión sexual                                           agresión sexual?
detenido hacia otro detenido:                              Cualesquiera que sean sus reacciones o temores, es        El abuso y la agresión sexual nunca son culpa de la
Todos los tipos de abuso y agresión sexual por parte       importante que entienda que no es culpable. El abuso      víctima. El conocer las señales de alerta y actitudes
de un detenido hacia otro detenido son prohibidos. Si      sexual puede violar su sentido de seguridad y             sospechosas pueden ayudarle a mantenerse alerto y
un detenido lo fuerza o intenta forzarlo a participar en   confianza. Puede ser que usted se sienta ofendido,        consciente:
cualquier acto sexual, le toca las partes sexuales del     bravo, ansioso, deprimido o culpable. Puede ser que       1. Reporte sus preocupaciones.
cuerpo, lo fuerza a tocarle las partes sexuales de su      usted también experimente una variedad de
                                                                                                                     2. Compórtese con firmeza. Muchos abusadores
cuerpo o usa amenazas o intimidación para                  reacciones físicas, desde cambios en sus hábitos de            eligen víctimas que lucen como que no se
presionarlo a participar en relaciones sexuales, eso es    comer y dormir hasta pesadillas y flashbacks. Estas            defenderían o que ellos perciben como débiles.
un abuso sexual.                                           reacciones son normales y hay ayuda disponible. El
                                                                                                                     3. No acepte regalos o favores de otros. Los
                                                           centro y ICE le ayudarán a conseguir apoyo y ofrecen
                                                                                                                          regalos o los favores pueden venir con
                                                           recursos específicos para sus necesidades.
Abuso o agresión sexual por parte de un                                                                                   demandas o términos con los cuales el donante
empleado hacia un detenido:                                                                                               espera que usted cumpla.
                                                           ¿Qué apoyo puede esperar de ICE y su
Todos los tipos de actos sexuales entre un detenido y      centro?                                                   4. No acepte una oferta por parte de otro detenido
un empleado (incluyendo los guardias contratistas,                                                                        para ser su protector.
profesionales médicos y voluntarios) son prohibidos        Se le ofrecerá protección inmediata del culpable y
                                                                                                                     5. Busque un empleado con el cual usted se siente
y contrarios a la ley, aún si son con consentimiento.      usted será referido para un examen médico, cuando In c.        cómodo discutiendo sus temores y
Si un empleado intenta o logra tener sexo con usted,                                                  iv  ,
                                                           sea apropiado. También se le ofrecerán servicios de
                                                                                                        ic                preocupaciones.
intencionalmente lo toca en una manera sexual, le          salud mental y servicios externos para las víctimas. A
                                                                                              r e  C             0 22
                                                                                          o                    2     6. No use drogas o alcohol. Estos puede debilitar
hace proposiciones sexuales o comentarios sexuales         algunas víctimas también se les recomendará que4 ,
                                                                               v   .C                   1                 sus habilidades para mantenerse alerta y tener
repetidos, le muestra su área genital o participa en       reciban un examen de medicina forense de abuso
                                                                          o                         e r
                                                                     in                          b                        buen juicio.
voyerismo, es un abuso sexual.                             sexual, lo cual puede ayudar a procesar
                                                             O   w                       e  m
                                                      in   criminalmente al culpable.
                                                                                   e  c                              7. Sea claro, directo y firme. No tema decir “no”
                                              cite d                2  1  ,   D                                           o “pare ya”.
                                                             5  2
                                                          5 se investigarán los reportes?
                                                        -¿Cómo                                                       8. Elija cuidadosamente sus asociados. Busque
                                                   2 1                                                                    personas que estén involucradas en actividades
                                                 .       Cuando usted reporte un incidente de abuso o                     positivas como los programas educacionales,
                                              No           agresión sexual, el centro y/o una agencia adecuada            oportunidades de empleo o grupos de
                                                           del cumplimiento de la ley realizará una                       asesoramiento. Involúcrese en estas
                                                           investigación. Puede ser que se le pida que participe          actividades, si están disponibles en su centro.
                                                           en una entrevista para colectar información. ICE le
                                                                                                                     9. Si usted sospecha que otro detenido está siendo
                                                           informará el resultado de cualquier investigación una
                                                                                                                          abusado o agredido sexualmente, repórtelo
                                                           vez que ésta haya terminado.
                                                                                                                          usando uno de los métodos listados en este
                                                           Hay una diferencia entre reportar el incidente y elegir        panfleto.
                                                           poner cargos. Puede ser que usted elija no poner          10. Confíe en sus instintos. Esté consciente de
                                                           cargos inmediatamente, pero usted siempre podrá                situaciones que lo hacen sentirse incómodo. Si
                                                           decidir hacerlo luego. Si se formulan cargos                   no se siente bien o seguro, apártese de la
                                                           criminales, se presentarán para un posible                     situación o busque asistencia. Si teme por su
                                                           enjuiciamiento. Es importante que usted discuta                seguridad, repórte sus preocupaciones a un
                                                           cualquier preocupación que tenga con el fiscal (o su           empleado.
                                                           abogado) o un defensor de víctimas.
                                                                                                                                                                             Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9487 Page 217 of 498




                                                                                                                                                       Ya Basta
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2.12 Special Management                                        administrative segregation section, for detainees
                                                               segregated from the general population for
Units                                                          administrative reasons, from the disciplinary
                                                               segregation section, for detainees segregated from
                                                               the general population for disciplinary reasons.
I. Purpose and Scope
                                                           2. Detainees housed in the general population, staff,
This detention standard protects detainees, staff,            contractors, volunteers and the local community
contractors, volunteers and the community from                shall be protected from harm by the segregation
harm by segregating certain detainees from the                of certain detainees in an SMU.
general population in Special Management Units
with an Administrative Segregation section for             3. Any detainee who represents an immediate,
detainees segregated for administrative reasons and a         significant threat to safety, security or good order
Disciplinary Segregation section for detainees                shall be immediately controlled by staff and, if
segregated for disciplinary reasons.                          cause exists and supervisory approval granted,
                                                              placed in administrative segregation. ICE and the
This detention standard applies to the following              detainee shall be immediately provided a copy of
types of facilities housing ICE/ERO detainees:                the administrative segregation order describing
    x   Service Processing Centers (SPCs);                    the reasons for the detainee’s placement in the
                                                              SMU.
    x   Contract Detention Facilities (CDFs); and
                                                                     nc.
                                                           4. Administrative segregation may also be available
                                                                  , I
   x State or local government facilities used by
                                                          re Civic 022
                                                              to detainees for the purpose of providing
       ERO through Intergovernmental Service
       Agreements (IGSAs) to hold detainees forino v
                                                    . Co er 14, 2
                                                              “protective custody.” A detainee shall be placed

                                             O   w      e m b in “protective custody” status in administrative
       more than 72 hours.
                                      d in 21, De     c       segregation only when there is documentation
                              c  ite
                                            552
                                                              and supervisory approval that it is necessary to
                                      2 1 -
Procedures in italics are specifically required for
                             No.facilities. Non-
SPCs, CDFs, and Dedicated IGSA                                protect a detainee from harm and that no
dedicated IGSA facilities must conform to these               reasonable alternatives are available.
procedures or adopt, adapt or establish alternatives,      5. A detainee shall be placed in disciplinary
provided they meet or exceed the intent represented           segregation only after a finding by a disciplinary
by these procedures.                                          hearing panel that the detainee is guilty of a
                                                              prohibited act or rule violation classified at a
For all types of facilities, procedures that appear in
                                                              “greatest,” “high” or “high-moderate” level, as
italics with a marked (**) on the page indicate
                                                              defined in “Appendix 3.1.A: Offense Categories,”
optimum levels of compliance for this standard.
                                                              found in “3.1 Disciplinary System.”
Various terms used in this standard may be defined
in standard “7.5 Definitions.”                             6. Disciplinary segregation shall only be ordered
                                                              when alternative dispositions may inadequately
II. Expected Outcomes                                         regulate the detainee’s behavior.

The expected outcomes of this detention standard           7. Health care personnel shall be immediately
are as follows (specific requirements are defined in          informed when a detainee is admitted to an SMU
“V. Expected Practices”).                                     and shall conduct an assessment and review of the
                                                              detainees medical and mental health status and
1. The facility shall have a Special Management Unit          care needs. Health care personnel shall at a
   (SMU) with provisions for separating the                   minimum conduct a daily assessment of detainees

2.12 | Special Management Units                          171                                       PBNDS 2011
                                                                                         (Revised December 2016)
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   in an SMU. Where reason for concern exists, a              14. Each detainee in an SMU shall be offered
   qualified medical, or mental health professional               individual recreation or appropriate group
   shall conduct a complete evaluation.                           recreation time, unless documented security,
                                                                  safety, or medical considerations dictate
8. Detainees with serious mental illness may not be
                                                                  otherwise.
   automatically placed in an SMU on the basis of
   such mental illness. Every effort shall be made to         15. Detainees in SMU shall be able to write, send and
   place detainees with serious mental illness in a               receive mail and correspondence as they would
   setting in or outside of the facility in which                 otherwise be able to do while detained within
   appropriate treatment can be provided, rather                  the general population.
   than an SMU, if separation from the general                16. Detainees in SMU shall be provided opportunities
   population is necessary.                                       for general visitation, including legal visitation,
9. The status of detainees in SMUs shall be reviewed              unless there are substantial, documented reasons
   by supervisory staff in accordance with required               for withholding those privileges.
   time schedules, and the results of those reviews           17. Detainees in SMU shall have access to personal
   shall be documented.                                           legal materials, law library materials and legal
10. A detainee shall remain in disciplinary                       visits, in accordance with provisions in the
    segregation for no more than 30 days per                      PBNDS.
    incident, except in extraordinary circumstances,
                                                                  ,  Inc.
                                                            ivic 022
                                                              18. Detainees in SMU shall have access to telephones,
    such as incidents involving violations of offenses
                                                      re C        in accordance with provisions in the PBNDS.
                                                   o
                                               . C19.
    100 through 109 listed in the “Greatest” offense
                                              v             r  1 4  , 2 shall have access to programs
                                          ino
    category in Appendix 3.1.A, and his/her status
                                         w           m  beservices such as commissary, library,
                                                      Detainees in SMU
                                     in O        c e
                                               e religious guidance and recreation, in accordance
                                                      and
                             cited 55221, D
    shall be reviewed by the facility administrator
    after the first 30 days and each 30 days
                                 . 21-
    thereafter, to determine whether continued
                               o
                                                      with provisions in the PBNDS.
                             N
    detention in disciplinary segregation is                  20. Detailed records shall be maintained on the
    warranted.                                                    circumstances related to a detainee’s confinement
11. Detainees in SMU shall be afforded basic living               to the SMU, through required permanent SMU
    conditions that approximate those provided to                 logs and individual detainee records.
    the general population, consistent with the safety        21. The facility shall provide communication
    and security considerations that are inherent in              assistance to detainees with disabilities and
    more controlled housing, and in consideration of              detainees who are limited in their English
    the purpose for which each detainee is                        proficiency (LEP). The facility will provide
    segregated.                                                   detainees with disabilities with effective
12. In general, when a detainee in an SMU is deprived             communication, which may include the
    of any usually authorized items or activity, a report         provision of auxiliary aids, such as readers,
    of the action shall be forwarded to the facility              materials in Braille, audio recordings, telephone
    administrator for notice and review.                          handset amplifiers, telephones compatible with
                                                                  hearing aids, telecommunications devices for
13. Detainees in SMU shall have regular access to                 deaf persons (TTYs), interpreters, and note-
    supervisory, management, program and health                   takers, as needed. The facility will also provide
    care staff.                                                   detainees who are LEP with language assistance,


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      including bilingual staff or professional                   x   “5.6 Telephone Access”;
      interpretation and translation services, to provide
                                                                  x   “5.7 Visitation”; and
      them with meaningful access to its programs and
      activities.                                                 x   “6.3 Law Libraries and Legal Material.”
      All written materials provided to detainees shall       “Standards to Prevent, Detect, and Respond to Sexual
      generally be translated into Spanish. Where             Abuse and Assault in Confinement Facilities,” 79
      practicable, provisions for written translation         Fed. Reg. 13100 (Mar. 7, 2014).
      shall be made for other significant segments of
      the population with limited English proficiency.        V. Expected Practices
      Oral interpretation or assistance shall be provided     A. Placement in Administrative
      to any detainee who speaks another language in          Segregation
      which written material has not been translated or
      who is illiterate.                                      Administrative Segregation status is a nonpunitive
                                                              status in which restricted conditions of confinement
III. Standards Affected                                       are required only to ensure the safety of detainees or
                                                              others, the protection of property, or the security or
This detention standard replaces “Special                     good order of the facility. For matters of safety and
Management Unit (Administrative Segregation)” and             security, staff may have to take immediate action to
“Special Management Unit (Disciplinary
                                                                       ,  In c.
                                                              control a detainee, including placement in
Segregation),” both dated 12/2/2008.
                                                         re  C   ivic 022
                                                              administrative segregation.
IV. References                                    v    o
                                                   . CDetainees  r  1 4  , 2 segregation shall not be
                                           w in o        m  be with detainees in disciplinary
                                                                 in administrative
                                     in  O           c e
                                                  De segregation.
                                                      commingled
                                te
American Correctional Association,
                             c i  dPerformance-
                                            2 1 ,
                                      - 552
based Standards for Adult Local Detention
                                  2 1
                            No. through 2A-
Facilities, 4th Edition: 4-ALDF-2A-44
66.
                                                      Each facility shall develop and follow written
                                                              procedures, consistent with this standard, governing
                                                              the management of its administrative segregation
ICE/ERO Performance-based National Detention
                                                              unit. These procedures should be developed in
Standards 2011:
                                                              consultation with the Field Office Director having
 x     “2.4 Facility Security and Control”;                   jurisdiction for the facility. These procedures must
                                                              document detailed reasons for placement of an
 x     “2.6 Hold Rooms in Detention Facilities”;
                                                              individual in administrative segregation. Detainees
 x     “2.10 Searches of Detainees”;                          and the Field Office Director (or his designee) must
                                                              be provided a copy of the administrative segregation
 x     “2.13 Staff-Detainee Communication”;
                                                              order.
 x     “3.1 Disciplinary System”;
                                                              Prior to the detainee’s placement in administrative
 x     “4.5 Personal Hygiene”;                                segregation, the facility administrator or designee
                                                              shall review the case to determine whether
 x     “4.6 Significant Self-harm and Suicide
       Prevention and Intervention”;                          administrative segregation is in fact warranted. The
                                                              facility administrator may delegate to a supervisor
 x     “5.1 Correspondence and Other Mail”;                   the authority to place a detainee in administrative
 x     “5.4 Recreation”;                                      segregation.


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1. Reasons for Placement in Administrative                         administrative segregation.
   Segregation
                                                                   1) As a general matter, a detainee should not be
A detainee may be placed in administrative                            placed directly in administrative segregation as
segregation when the detainee’s continued presence                    a security threat on the basis of the detainee’s
in the general population poses a threat to life,                     misconduct at that detention facility, in the
property, self, staff, or other detainees; for the secure             absence of any disciplinary proceedings.
and orderly operation of the facility; for medical                    Instead, the facility should address the
reasons; or under other circumstances as set forth                    misconduct through the facility’s disciplinary
below. Some examples of incidents warranting a                        processes, and may place the detainee in pre-
detainee’s assignment to administrative segregation                   disciplinary hearing detention pending the
include, but are not limited to, the following.                       outcome of the disciplinary proceedings.
a. A detainee is awaiting an investigation or a                    2) Continued placement in segregation based on
   hearing for a violation of facility rules. Pre-                    prior behavior should be reviewed at the
   disciplinary hearing detention shall be ordered                    required intervals, taking into account the
   only as necessary to protect the security and                      detainee’s behavior while in segregation. The
   orderly operation of the facility.                                 facility shall continue to consider, in
                                                                      coordination with the Field Office Director
   1) Pre-disciplinary hearing detention is not to be
      used as a punitive measure.
                                                                         , I   c.
                                                                      where necessary, whether there are more
                                                                            n
   2) A detainee who demonstrates good behavior
                                                             re C  ivic 022
                                                                      appropriate alternatives to segregation, such as

                                                       . Co er 14, 2
                                                                      medium- to maximum-security general
      during pre-disciplinary hearing detention
                                                in o  v        b
                                                                      population housing units either within the
                                           O  w
      should be considered for release to the general
                                                         c e m
                                 hisdorin
                                                                      facility or elsewhere.
      population while awaitinge
                            c it        her
                                               2 1  , De 3) Copies of records supporting this action shall
      disciplinary hearing.
                                   2 1  - 552
                            No. hearing
                                                               be attached to the administrative segregation
   3) Time served in pre-disciplinary                          order.
      detention shall be deducted from any time
                                                               c. A detainee requires protection. Protective custody
      ordered by the Institution Disciplinary Panel
                                                                  may be initiated at the detainee’s request or by
      (IDP).
                                                                  staff as needed to protect the detainee from harm.
   4) Absent compelling circumstances, such as a                  Each facility shall develop procedures to consider
      pending criminal investigation, a detainee                  continued placement in protective custody as well
      should not remain in pre-disciplinary hearing               as provisions for release from protective custody
      detention for a longer period of time than the              when appropriate. Frequently, the types of
      maximum term of disciplinary segregation                    detainees who require this type of treatment
      permitted for the most serious offense                      include, but are not limited to:
      charged.
                                                                   1) victims of detainee assaults;
b. A detainee is a threat to the security of the facility.
                                                                   2) detainee informants or witnesses (e.g.,
   The facility administrator may determine that a
                                                                      detainees who provide information to
   detainee’s criminal record, past behavior at other
                                                                      institutional staff or any law enforcement
   institutions, behavior while in ICE/ERO
                                                                      agency concerning improper or criminal
   detention, or other evidence is sufficient to
                                                                      activities by others);
   warrant placement of the detainee in


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  3) sexual predators or other detainees charged                   maximum extent possible.
     with a heinous or notorious crime;                     d. A detainee is scheduled for release, removal, or
  4) detainees who have been pressured by other                transfer within 24 hours. Such segregation may
     detainees to participate in sexual activity;              be ordered for security reasons or for the orderly
                                                               operation of the facility.
  5) detainees who refuse to enter the general
     population because of alleged intimidation             e. The IDP may recommend a detainee be placed in
     from other detainees;                                     administrative segregation following disciplinary
                                                               segregation if it determines that releasing the
  6) detainees who refuse to return to the general
                                                               detainee into the general population would pose a
     population, but who do not provide the
                                                               threat to the detainee or security and orderly
     reason for refusal;
                                                               operation of the facility. However, a subsequent
  7) detainees who appear to be in danger of                   placement in administrative segregation requires
     bodily harm;                                              an administrative segregation order justifying the
  8) detainees who seek protection, claiming to be             placement after the completion of the term served
     former law enforcement officers or to have                in disciplinary segregation, with the detainee’s
     held sensitive law enforcement positions,                 behavior while in disciplinary segregation being
     whether or not there is official information to           taken into account.
     verify the claim; or
                                                                           In  c.
                                                            f. A detainee transferred from disciplinary
                                                                         ,
  9) detainees who request protective custody.
                                                             re C ivic 022
                                                               segregation to administrative segregation shall

     A detainee’s age, disability, sex, sexual      o v. Co er 14, 2
                                                               enjoy the same privileges as all other detainees in

                                            O  w  in       e m b
                                                               administrative segregation, provided receipt of
                                         n provide , De
     orientation, gender identity, race, color,
                                    d inot               c     such privileges poses no threat to the safety,
                             c  itemay
     national origin, or religion
                                            5  2 21            security, or orderly operation of the facility.
                                    21- An5
     the sole basis for a decision to place the
     detainee in involuntaryN  o  .
                               segregation.               g. A medical professional who ordered a detainee
     individualized assessment must be made in                  removed from the general population shall
     each case.                                                 complete and sign an administrative segregation
                                                                order (see below), unless the detainee is to stay in
     Use of administrative segregation to protect               the medical department’s isolation ward.
     detainees with special vulnerabilities ,
     including detainees vulnerable to sexual abuse         2. Administrative Segregation Order
     or assault, shall be restricted to those instances     A written order shall be completed and approved by
     where reasonable efforts have been made to             the facility administrator or designee before a
     provide appropriate housing and shall be made          detainee is placed in administrative segregation,
     for the least amount of time practicable, and          except when exigent circumstances make such
     when no other viable housing options exist,            documentation impracticable. In such cases, an order
     and as a last resort.                                  shall be prepared as soon as possible.
     Detainees who have been placed in                      a. Prior to a detainee’s actual placement in
     administrative segregation for protective                 administrative segregation, the facility
     custody shall have access to programs,                    administrator or designee shall complete the
     services, visitation, counsel and other services          administrative segregation order (Form I-885 or
     available to the general population to the                equivalent), detailing the reasons for placing a


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   detainee in administrative segregation.                  3. Review of Detainee Status in Administrative
                                                               Segregation
b. In an emergency, the detainee’s placement in
   administrative segregation may precede the               All facilities shall implement written procedures for
   paperwork, which the facility administrator or           the regular review of all detainees held in
   designee shall prepare as soon as possible after the     administrative segregation, consistent with the
   detainee’s placement.                                    procedures specified below.
c. All memoranda, medical reports and other                 a. A supervisor shall conduct a review within 72
   relevant documents shall be attached to the                 hours of the detainee’s placement in
   administrative segregation order.                           administrative segregation to determine whether
d. If the segregation is ordered for protective                segregation is still warranted.
   custody purposes, the order shall state whether              1) The review shall include an interview with the
   the detainee requested the segregation, and                     detainee.
   whether the detainee requests a hearing
                                                                2) A written record shall be made of the decision
   concerning the segregation.
                                                                   and the justification. The administrative
e. The administrative segregation order shall be                   segregation review (Form I-885) shall be used
   immediately provided to the detainee in a                       for the review.
   language or manner the detainee can understand,
                                                                            ,  In  c.
                                                                3) If the detainee has been segregated for his/her
                                                                      ivic 022
   unless delivery would jeopardize the safe, secure,
                                                                   own protection, but not at the detainee’s
   or orderly operation of the facility.
                                                                re  C
                                                          . Co er 14, 2
                                                                   request, the signature of the facility
                                                      o  v
                                           Owin Decemb
   All written materials provided to detainees shall               administrator or assistant facility administrator
   generally be translated into Spanish.in
                                         Where                     is required on the Form I-885 to authorize the
                                ited translation
   practicable, provisions forcwritten
                                              2  2  1 ,
                                                   shall           alien’s continued detention.
                                    2 1
   be made for other significant segments
                                  .      -5of5 the
   population with limited N   o proficiency.
                             English
                                                             b. A supervisor shall conduct an identical review
                                                                after the detainee has spent seven days in
   Oral interpretation or assistance shall be provided          administrative segregation, and every week
   to any detainee who speaks another language in               thereafter, for the first 30 days and every 10 days
   which written material has not been translated or            thereafter, at a minimum.
   who is illiterate.
                                                            c. The review shall include an interview with the
f. A copy of the administrative segregation order              detainee, and a written record shall be made of
   shall also be immediately provided to the Field             the decision and its justification.
   Office Director or his designee.
                                                            d. When the reviewing authority concludes that the
g. The order shall remain on file with the SMU until           detainee should be removed from administrative
   the detainee is returned to the general population.         segregation, he/she shall submit that
h. When the detainee is released from the SMU, the             recommendation to the facility administrator (or
   releasing officer shall indicate the date and time          designee) for approval.
   of release on the administrative segregation order.      e. A copy of the decision and justification for each
   The completed order shall then be forwarded to              review shall be given to the detainee unless, in
   the Chief of Security for inclusion in the                  exceptional circumstances, this provision would
   detainee’s detention file.                                  jeopardize the facility’s safety, security, or orderly



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   operations. The detainee shall also be given an            order of the IDP, or its equivalent, after a hearing in
   opportunity to appeal a review decision to the             which the detainee has been found to have
   facility administrator.                                    committed a prohibited act and only when alternative
f. After seven consecutive days in administrative             dispositions may inadequately regulate the detainee’s
   segregation, the detainee may exercise the right           behavior.
   to appeal the conclusions and recommendations              1. Duration
   of any review conducted to the facility
                                                              The maximum sanction is 30 days in disciplinary
   administrator. The detainee may use any standard
                                                              segregation per incident, except in extraordinary
   form of written communication, for example, a
                                                              circumstances, such as incidents involving violations
   detainee request, to file the appeal.
                                                              of offense 100 through 109 listed in the “Greatest”
g. If a detainee has been in administrative                   offense category in Appendix 3.1.A. After the first 30
   segregation for more than 30 days and objects to           days, and each 30 days thereafter, the facility
   that status, the facility administrator shall review       administrator shall send a written justification for the
   the case to determine whether that status should           continued segregation to the Field Office Director.
   continue. This review shall take into account the          2. Disciplinary Segregation Order
   detainee’s views and shall result in a written
   record of the decision and its justification. A            A written order shall be completed and signed by the
                                                              chair of the IDP (or disciplinary hearing officer)
   similar review shall take place each 30 days
                                                                               ,  In c.
                                                                         ivic 022
   thereafter.                                                before a detainee is placed into disciplinary
                                                                 r e C
                                                              segregation.
   A multi-disciplinary committee of facility staff,
                                                      o  v                     4, 2 actual placement in
                                                           . Ca.oPrioretora 1detainee’s
   including facility leadership, medical and mental
                                             O  w   in         e m  b
                                    d   in
   health professionals, and security staff, shall meet
                                                         D e c   disciplinary  segregation, the IDP chairman shall
                              citecurrently    2   21in,         complete the disciplinary segregation order
   weekly to review all detainees
                                          5  5housed
                                    21- the
   the facility’s SMU. During the. meeting,
                                o
                                                                 (Form I-883 or equivalent), detailing the reasons
                             N detainee individually
   committee shall review each                                   for placing a detainee in disciplinary segregation.
   to ensure all staff are aware of the detainee’s               All relevant documentation must be attached to
   status, current behavior, and physical and mental             the order.
   health, and to consider whether any change in              b. The completed disciplinary segregation order
   status is appropriate. Upon the request of the                shall be immediately provided to the detainee in a
   Field Office Director, the facility administrator             language or manner the detainee can understand,
   shall permit ICE/ERO personnel to participate in              unless delivery would jeopardize the safe, secure,
   the weekly meetings, either in person or by                   or orderly operation of the facility.
   teleconference.
                                                                 All written materials provided to detainees shall
B. Placement in Disciplinary Segregation                         generally be translated into Spanish. Where
                                                                 practicable, provisions for written translation shall
To provide detainees in the general population a safe
                                                                 be made for other significant segments of the
and orderly living environment, facility authorities
                                                                 population with limited English proficiency.
may discipline anyone whose behavior does not
comply with facility rules and regulations. Such                 Oral interpretation or assistance shall be provided
discipline may involve temporary confinement in the              to any detainee who speaks another language in
SMU, apart from the general population. A detainee               which written material has not been translated or
may be placed in disciplinary segregation only by                who is illiterate.


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   The order shall remain on file with the SMU until              4) All review documents shall be placed in the
   the detainee is returned to the general population.               detainee’s detention file.
c. When the detainee is released from the SMU, the                5) After each formal review, the detainee shall be
   releasing officer shall indicate the date and time                given a written copy of the reviewing officer’s
   of release on the disciplinary segregation order.                 decision and the basis for his/her finding,
   The completed order shall then be forwarded to                    unless such a copy may result in a compromise
   the Chief of Security for inclusion in the                        of institutional security. If a written copy
   detainee’s detention file.                                        cannot be delivered, the detainee shall be
3. Review of Detainee Status in Disciplinary                         advised of the decision orally, and the
   Segregation                                                       detention file shall so note, identifying the
                                                                     reasons why the notice was not provided in
All facilities shall implement written procedures for the            writing.
regular review of all disciplinary segregation cases,
                                                              c. The facility administrator shall review the status
consistent with the following procedures:
                                                                 of a detainee in disciplinary segregation after the
a. A security supervisor, or the equivalent, shall               first 30 days of segregation, and each 30 days
   interview the detainee and review his/her status              thereafter, to determine whether continued
   in disciplinary segregation every seven days to               detention in disciplinary segregation is warranted.
   determine whether the detainee:
                                                                        Inc.
                                                              A multi-disciplinary committee of facility staff,
                                                                      ,
   1) Abides by all rules and regulations; and,
                                                                 Civic 022
                                                              including facility leadership, medical and mental
                                                              re
   2) Is provided showers, meals, recreation and
                                                    o  v. Co er 14, 2
                                                              health professionals, and security staff, shall meet
                                               byin
      other basic living standards, as requiredw  this        m b
                                                              weekly to review all detainees currently housed in
                                        in  O           e c e
                               ited 5221, D
      detention standard.                                     the facility’s SMU. During the meeting, the
                             c                                committee shall review each detainee individually to
                                 .  2  1
b. The supervisor shall document his/her -5findings           ensure all staff are aware of the detainee’s status,
                             No a disciplinary
   after every review, by completing                          current behavior, and physical and mental health,
   segregation review (Form I-887).                           and to consider whether any change in status is
   1) The supervisor may recommend the detainee’s             appropriate. Upon the request of the Field Office
      early release from the SMU upon finding that            Director, the facility administrator shall permit
      time in disciplinary segregation is no longer           ICE/ERO personnel to participate in the weekly
      necessary to regulate the detainee’s behavior.          meetings, either in person or by teleconference.
   2) An early-release recommendation must have               C. Notifying ICE of Segregation
      the facility administrator’s approval before the        Placements and Facilitating ICE Review
      detainee may be returned to the general
      population. In conducting this review, the              1. Extended Segregation Placements
      facility administrator will consider any request        The facility administrator must notify the
      by the detainee to present written evidence or          appropriate Field Office Director in writing
      available witnesses. The review shall take into         whenever an ICE detainee has been held
      account the detainee’s views.                           continuously in segregation for:
   3) The supervisor may shorten, but not extend,                 a. 14 days, or 14 days out of any 21 day period;
      the original sanction.
                                                                  b. 30 days; and



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  c. At every 30-day interval thereafter.                   4. Coordination with Field Offices in Reviewing
                                                            Segregation Placements
2. Immediate Notifications
                                                            The facility administrator shall provide all
The facility administrator must notify the
                                                            information and supporting documentation
appropriate Field Office Director in writing as soon
                                                            regarding segregation placements as requested by the
as possible, but no later than 72 hours after the
                                                            Field Office Director. The facility administrator shall
initial placement of an ICE detainee in segregation if:
                                                            also coordinate with the Field Office Director in:
  a. The detainee has been placed in administrative
                                                                a. considering whether a less restrictive housing
     segregation on the basis of a disability,
                                                                   or custodial option is appropriate and
     medical or mental illness, or other special
                                                                   available, including return to the general
     vulnerability, or because the detainee is an
                                                                   population or options to limit isolation while
     alleged victim of a sexual assault, is an
                                                                   housed in the SMU, such as additional out of
     identified suicide risk, or is on a hunger
                                                                   cell time and the ability to participate in
     strike; or
                                                                   group activities; and
   b. A detainee placed in segregation for any
                                                                b. recommending whether transfer may be
      reason has a mental illness, a serious medical
                                                                   appropriate to a hospital or to another facility
      illness, a serious physical disability, or is
                                                                   where the detainee can be housed in the
      pregnant or recently had a miscarriage.
                                                                      Inc.
                                                                   general population or in an environment
                                                                    ,
For the purposes of this standard, detainees with
                                                            re Civic 022
                                                                   better suited to the needs of the detainee,
special vulnerabilities include those:
                                                   o v. Co er 14, 2such as a facility that has dedicated medical

                                             O
   a. Who are known to be suffering from mentalw in       e m b    beds in its clinic, a medical observation
                                         in           e c
                              cited 55221, D
       illness or serious medical illness;                         unit, a facility that has a dedicated
                                                                   protective custody unit, or a facility that has
   b. Who have a disability or are2
                                o .     1- pregnant,
                                      elderly,                     a Special Management Unit with enhanced
       or nursing;           N                                     privileges.
  c. Who would be susceptible to sexual abuse or            D. Logs and Records
     assault in the general population;
                                                            1. Permanent SMU Log
  d. Who would be susceptible to harm in the
     general population due in part to their sexual         A permanent log shall be maintained in the SMU to
     orientation or gender identity; or                     record all activities concerning SMU detainees (e.g.,
                                                            meals served, recreational time, visitors, etc.).
  e. Who have been victims – in or out of ICE
     custody – of sexual assault, torture,                  The SMU log shall record the detainee’s name, A-
     trafficking, or abuse.                                 number, housing location, date admitted, reasons
                                                            for admission, status review dates, tentative release
3. Updates to Segregation Status
                                                            date (for detainees in disciplinary segregation), the
The facility administrator must also notify the             authorizing official, and date released. These logs
appropriate Field Office Director in writing                shall also be used by supervisory staff and other
whenever a detainee who has been the subject of a           officials to record their visits to the unit.
prior notification pursuant to this section is              2. Visitors’ Log
subsequently released from segregation.
                                                            A separate log shall be maintained in the SMU of all


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persons visiting the unit. This separate record shall        Conditions of confinement are based on the amount
include notation of:                                         of supervision required to control a detainee and to
                                                             safeguard the detainee, other detainees and facility
a. the time and date of the visit, and
                                                             staff.
b. any unusual activity or behavior of an individual
   detainee, with a follow-up memorandum sent
   through the facility administrator to the                 In every instance, any exceptions to these
   detainee’s file.                                          requirements shall be:
3. Special Management Housing Unit Record                    1. made only for the purpose of ensuring detainee
                                                                and facility staff safety and security (i.e., not for
The Special Management Housing Unit Record or
                                                                purposes of punishment);
comparable form shall be prepared immediately
upon the detainee’s placement in the SMU.                    2. approved by a supervisor (or higher official);
a. The special housing unit officer shall immediately        3. on a temporary and situational basis, continued
   record:                                                      only for as long as it is justified by threat to the
                                                                safety or security of the facility, its staff, or
   1) whether the detainee ate, showered, recreated
                                                                detainee population; and
      and took any medication; and
                                                             4. documented in the Permanent SMU Unit log and,
   2) any additional information, such as whether
                                                                              , In c.
                                                                under circumstances specified later in this
      the detainee has a medical condition, or has
                                                                   e C   ivic 022
                                                                detention standard, documented in a memo
                                                                 r
                                                           . Co er 14, 2
      exhibited suicidal/assaultive behavior.

                                                     in
   3) the officer that conducts the activity shall printo v     which shall be placed in the individual detainee’s
                                                                    b
                                              O  w           c e m
                                                                detention file.
                                  ed in 221, De When a detainee in an SMU is deprived of any usual
      his/her name and sign the record.
                              c it
                                     2  1   55
b. The facility medical officer shall sign-each               authorized items or activity, a report of the action
                            No
   individual’s record when he/she.    visits a detainee      shall be forwarded to the facility administrator for
   in the SMU. The housing officer shall initial the         review. This report shall be made part of the
   record after the medical visits are completed, but        detainee’s detention file.
   no later than the end of the shift.
                                                             Placement in an SMU does not constitute a valid
c. A new form must be created for each week the              basis for the use of restraints while in the SMU or
   detainee is in the SMU. The completed weekly              during movement around the facility. Consistent
   forms shall be retained at the SMU until the              with Standard 2.15, restraints should only be used if
   detainee is released from the SMU.
                                                             necessary as a precaution against escape during
d. Upon a detainee’s release from the SMU, the               transfer, for medical reasons (when directed by the
   releasing officer shall attach that detainee’s entire     medical officer), or to prevent self-injury, injury to
   housing unit record to either the administrative          others, or serious property damage.
   segregation order or disciplinary segregation
   order and forward it to the Chief of Security or          F. Translation/Interpretation Services
   equivalent for inclusion into the detainee’s              Detainees shall be provided translation or
   detention file.                                           interpretation services while in the SMU, to assist
E. Basic Requirements for All Special                        with their understanding of the reason and
                                                             conditions of confinement as well as their rights and
Management Units

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responsibilities while in confinement.                          wherever possible on eliminating potential safety
                                                                hazards such as sharp edges and anchoring
G. Special Needs
                                                                devices.
Detainees in the SMU shall be provided appropriate          2. Conditions for close observation in a “dry cell”
accommodations and professional assistance for                 without water are detailed in standard “2.10
disabilities and/or other special needs (e.g., medical,        Searches of Detainees.”
therapeutic, or mental health treatment), on an equal
basis as those in the general population.                   K. Personal Property
H. Control of Contraband and Tools                          Each facility shall issue guidelines in accordance with
                                                            this standard concerning the property detainees may
In accordance with procedures detailed in standard          retain in each type of segregation. Generally,
“2.4 Facility Security and Control,” each facility          detainees in disciplinary segregation shall be subject
administrator is required to establish written policy       to more stringent personal property restrictions and
and procedures to control and secure SMU entrances,         control than those in administrative segregation,
contraband, tools and food carts.                           given the non-punitive nature of administrative
I. Cell Occupancy                                           segregation.

Ordinarily, the number of detainees confined to each        L. Privileges
cell or room may not exceed the capacity for which
                                                                    , In  c.
                                                            Each facility shall issue guidelines in accordance with
it was designed. Under exigent circumstances,
                                                      r e C  ivic 022
                                                            this standard concerning the privileges detainees

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before approving any additional cell occupancy on a         may have in each type of segregation.
                                       Owin
temporary basis, the facility administrator shall
                                                    e m  b
                                   in
consult with ICE/ERO Detention Management
                                d             D e c1. Administrative   Segregation
                            cite 55221      ,
Division, who shall consult with DHS/ICE legal     Generally, these detainees shall receive the same
                                2 1  -
                            No.
counsel. If a decision is made to approve such     privileges available to detainees in the general
additional cell occupancy, a report of the action shall     population, consistent with any safety and security
be filed with the facility and with the Field Office        considerations for detainees, facility staff and
Director.                                                   security.
J. Cell Condition                                           When space and resources are available, detainees in
                                                            administrative segregation may be provided
Cells and rooms used for purposes of segregation
                                                            opportunities to spend time outside their cells (in
must be well ventilated, adequately lit, appropriately
                                                            addition to the required recreation periods), for such
heated/cooled and maintained in a sanitary
                                                            activities as socializing, watching TV and playing
condition at all times in accordance with the
                                                            board games, and may be assigned to work details
standards for general population, consistent with
                                                            (e.g., as orderlies in the SMU).
safety and security.
                                                            2. Disciplinary Segregation
1. All SMU cells must be equipped with beds that
   are securely fastened to the cell floor or wall.         Generally, these detainees shall have fewer privileges
   SMU cells must also be conducive to maintaining          than other detainees in either the general population
   a safe and secure environment for all detainees,         or in administrative segregation. More specifically,
   with particular emphasis on allowing for full            they are subject to more stringent personal property
   visibility and appropriate observation by staff and      control including, but not limited to, limitations on



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their reading material and television viewing (which            1. Identifying signs of mental health
may be completely terminated), and restricted                      decompensation;
commissary or vending machine purchases.
                                                                2. Techniques for more appropriate interactions
M. Close Supervision                                               with mentally ill detainees;

Detainees in SMU shall be personally observed and               3. The impact of isolation; and
logged at least every 30 minutes on an irregular                4. De-escalation techniques.
schedule. For cases that warrant increased
observation, the SMU personnel shall personally             P. Health Care
observe detainees accordingly. (See also standard           Detainees must be evaluated by a medical professional
“4.6 Significant Self-harm and Suicide Prevention           prior to placement in an SMU (or when that is
and Intervention” and the “Dry Cells” section in            infeasible, as soon as possible and no later than within
standard “2.10 Searches of Detainees.”)                     24 hours of placement). The assessment should
N. Supervisory and Staff Visits                             include a review of whether the detainee has been
                                                            previously diagnosed as having a mental illness.
In addition to the direct supervision performed by
                                                            Health care personnel shall conduct face-to-face
unit staff:
                                                            medical assessments at least once daily for detainees
1. The shift supervisor shall see each segregated           in an SMU. Where reason for concern exists,
   detainee daily, including on weekends and
                                                                               , I n c.
                                                                        ivic 022
                                                            assessments shall be followed up with a complete
   holidays.
                                                                 r e C
                                                            evaluation by a qualified medical or mental health
2. The facility administrator (or designee) shall visito v. C
                                                              o
                                                                         r  1 4  ,2
                                                            professional, and indicated treatment.
                                           O  w   in          e m   bevisits shall be recorded on the SMU housing
   each SMU daily.
                                       in                   c
                                                         De record or comparable form, and any action taken
                                                             Medical
                             cited upon
3. Program staff may visit a detainee
                                          552   2
                                            his/her1   ,
                                 .  2 1 -                    shall be documented in a separate logbook. The
   request.
                            N  o                             facility shall provide out-of-cell, confidential
The facility administrator may require other staff to       psychological assessments and visits for detainees
visit each detainee daily.                                  whenever possible, to ensure patient privacy and to
O. Specialized Training                                     eliminate barriers to treatment.

Assignments of dedicated and specially trained              Mental health staff shall conduct a face-to-face
security staff to SMUs permit staff to have both an         psychological review of all detainees in an SMU at
improved understanding of the nature of the                 least once every 30 days.
population and a greater familiarity with particular        Detainees with a medical or mental illness, or
detainees. Interactions with security staff may be the      identified as being a suicide risk or on a hunger
primary human contact regularly afforded to                 strike shall be removed from segregation if IHSC or
detainees, and positive communications with                 facility medical staff determine that the segregation
security staff can reduce violence and are also             placement has resulted in deterioration of the
important to the well-being of segregated detainees.        detainee's medical or mental health, and an
Adequate training and supervision can ensure that all       appropriate alternative is available.
staff assigned to SMUs live up to this principle.
                                                            1. Detainees with Serious Mental Illnesses
Security staff assigned to SMU shall receive
                                                            Detainees with a serious mental illness, disorder or
specialized training in relevant topics, such as:


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condition (SMI), as defined in Standard 4.3 “Medical        pregnancy may be placed in an SMU as a response to
Care”, may not be automatically placed in an SMU            behavior that poses a serious and immediate risk of
on the basis of such mental illness. Every effort shall     physical harm, or if the detainee has requested to be
be made to place detainees with an SMI in a setting         placed in protective custody administrative
in or outside of the facility in which appropriate          segregation and there are no more appropriate
treatment can be provided, rather than an SMU, if           alternatives available. Even in such cases, this
separation from the general population is necessary.        decision must be approved by a representative of the
The facility shall coordinate with the Field Office         detention facility administration, in consultation
Director in seeking alternatives to SMU housing for         with a medical professional, and must be reviewed
detainees with an SMI, potentially including transfer       every 48 hours.
to a hospital or to another facility.                       Q. Meals
For any detainee with an SMI placed in restrictive          Detainees in SMU shall be provided three
housing:                                                    nutritionally adequate meals per day, according to
   1. Mental health staff shall conduct a mental            the general population meal schedule and ordinarily
      health consultation within 72 hours of the            from the same menu. Deviation from meals served
      detainee’s placement in restrictive housing;          to the general population must be documented,
                                                            including an explanation as to why SMU did not
   2. A multi-disciplinary committee of facility
                                                                         ,  In  c.
                                                            receive the same meal.
                                                                    ivicand Personal
      staff, including facility leadership, medical
      and mental health professionals, and security
                                                           o  r   C
                                                          R. Clothing
                                                               e              2 0 2  2 Hygiene
      staff, shall meet weekly to review the
                                                   o  v. CIn accordance
                                                                  e      4, standard “4.5 Personal Hygiene,”
                                                                     r 1with
                                                in
                                          Ow Decdetainees
      detainee’s placement in restrictive housing;              b
                                                          em in SMU may shave and shower at least
                                   d  in            ,
                           citehealth provider
   3. At least weekly, a mental
                                        5  5 2    1
                                               2shall     three times weekly and receive other basic services

                             o  .    1- with the
      conduct face-to-face clinical2contact               such as laundry, hair care, barbering, clothing,
      detainee, to monitorNthe detainee’s mental          bedding and linen equivalent to general population
       health status, identify signs of deterioration,      detainees and consistent with safety and security of
       and recommend additional treatment as                the facility.
       appropriate.
                                                            1. As needed, staff shall provide toilet tissue, a wash
The facility shall seek to develop enhanced                    basin, tooth brush and shaving utensils, and may
opportunities for in-cell and out-of-cell therapeutic          issue retrievable kits of toilet articles.
activities and additional unstructured out-of-cell time
                                                            2. A detainee may be denied such items as clothing,
for detainees with an SMI, to the extent such
                                                               mattress, bedding, linens, or pillow for medical
activities can be conducted while ensuring the safety
                                                               or mental health reasons if his/her possession of
of the detainee, staff, and other detainees.
                                                               such items raises concerns for detainee safety
2. Pregnant Detainees                                          and/or facility security.
Women who are pregnant, who are post-partum,                    a. All denials of such items shall be documented.
who recently had a miscarriage, or who recently had
                                                                b. If a detainee is so disturbed that he/ she is
a terminated pregnancy should as a general matter
                                                                   likely to destroy clothing or bedding, or create
not be placed in an SMU. In very rare situations, a
                                                                   a disturbance by risking harm to self or others,
woman who is pregnant, is postpartum, recently had
                                                                   the medical department shall be notified
a miscarriage, or recently had a terminated


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      immediately and a regimen of treatment and                  shall be filed with the facility administrator and
      control shall be instituted by the medical staff,           ICE/ERO, and made part of the detainee’s file.
      as necessary.
                                                               4. Detainees in protective custody, and violent and
   c. Extreme detainee behavior, such as destroying               disruptive detainees, shall not use the visitation
      clothing or bedding or harmful behavior to                  room during normal visitation hours. In cases in
      self or others, must be documented, made part               which a visit would present an unreasonable
      of the detainee’s file with the facility, and               security risk, visits may be disallowed for a
      reported to the Field Office Director to                    particular detainee.
      implement necessary efforts to protect and
                                                               U. Legal Visits
      care for the detainee.
                                                               In accordance with standard “5.7 Visitation,”
S. Correspondence
                                                               detainees in SMU may not be denied legal visitation.
In accordance with standard “5.1 Correspondence                However, the facility administrator or designee may
and Other Mail,” detainees in an SMU may write,                implement whatever security precautions are
send and receive letters and other correspondence, in          necessary to protect the detainee and visitors and
a manner similar to those housed in the facility’s             maintain good order. In such cases, staff shall advise
general population.                                            legal service providers and assistants of any security
                                                               concerns as soon as possible.
T. Visitation
                                                                            , In      c.
                                                                        vicGuidance
                                                               V. Religious
                                                                       Ci
In accordance with standard “5.7 Visitation,” while
                                                              C o  re
                                                                               4  , 2 022 “5.5 Religious
                                                        o v. Practices,”     1 in an SMU shall be permitted to
in an SMU, a detainee ordinarily retains visiting              In accordance   with standard
                                                     in              b  e rdetainees
privileges.
                                         n    O  w          e  em in religious practices, consistent with the
                                                              cparticipate
                                    d   i               , D
                                cite use 5
Segregated detainees may ordinarily                21
                                            the visiting
                                              5  2
                                    2  1  -
room during normal visiting hours. However,
                                   . for a detainee
                                                   the         safety, security, and orderly operation of the facility.
                              Novisits
facility may restrict or disallow                              Detainees in an SMU shall be allowed visits by
who violates visitation rules or whose behavior                members of the clergy or other religious service
otherwise indicates the detainee would be a threat to          providers, upon request, unless the supervisor
the security or the good order of the visiting room.           determines that such a visit presents a safety or
1. Visitation may be restricted or disallowed when a           security risk or would interfere with the orderly
   detainee in administrative segregation is charged           operation of the facility. Violent or uncooperative
   with, or has been found to have committed a                 detainees may be temporarily denied access to
   prohibited act related to visiting privileges, or has       religious guidance. Staff shall advise the religious
   otherwise acted in a way that would reasonably              service provider of the detainee’s present state of
   indicate that he/she would be a threat to the               behavior before he/she agrees to visit the detainee.
   orderliness or security of the visiting room.               Each facility shall develop procedures to allow
2. Under no circumstances may detainees participate            detainees to retain religious items within their
   in visitation while in restraints. If the detainee’s        possession (e.g., religious wearing apparel, religious
   behavior warrants restraints, the visit may not be          headwear, prayer rugs, beads, prayer rocks,
   granted under general population visiting                   medallions) consistent with good security practices.
   conditions.                                                 (See also standard “5.5 Religious Practices”).

3. Where visits are restricted or disallowed, a report         W. Reading Materials (Non-Legal)


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Detainees in SMU shall have access to reading               2. Detainees segregated for protection must be
materials, including religious materials, in English,          provided access to legal materials. Such detainees
Spanish, and other languages frequently encountered            may be required to use the law library separately
in the facility population. The Recreation Specialist          or, if that is not feasible, legal materials must be
shall offer each detainee soft-bound, reading                  brought to them, upon request.
materials of this type on a rotating basis.
                                                            3. Denial of access to the law library must be:
X. Legal Materials                                              a. supported by compelling security concerns;
Detainees in SMU shall have access to legal materials           b. for the shortest period required for security;
in accordance with standard “6.3 Law Libraries and                 and
Legal Material.”
                                                                c. fully documented in the SMU housing
Detainees may retain all personal legal material upon              logbook.
admittance to an SMU, provided such material does
                                                            The facility administrator shall notify ICE/ERO every
not create a safety, security, or sanitation hazard.
                                                            time access is denied, with documentation placed in
Detainees with a large amount of personal legal             the detention file.
material may be required to place a portion with
                                                            In accordance with standard “6.4 Legal Rights Group
their stored personal property, with access permitted
                                                            Presentations,” facility staff and/or ICE/ERO shall
during scheduled hours. Requests for access to such
                                                       , Inc.
                                                            notify detainees in segregation in advance of legal
legal material shall be accommodated as soon as
                                               re Civic 022 rights group presentations and provide these
                                         . Co er 14, 2
possible, but in no case more than 24 hours after
                                      o v
receipt of the initial detainee request to retrieve
                                    in           b
                                                            detainees an opportunity to attend. Group legal

                                 Ow        c e m            rights presentations shall be open to all detainees,
                              in
documents, except in the event of documented
                                         e
                      cited 55221, D
                                                            including detainees in SMUs, except when a
security reasons.
                                                            particular detainee’s attendance may pose a security
                         . 21-Group
Y. Law Library and LegaloRights                             risk. If a detainee in segregation cannot attend for
Presentations Access
                     N                                      this reason, designated facility staff shall make
                                                            alternative arrangements to offer a separate
In accordance with standard “6.3 Law Libraries and          presentation and individual consultation to the
Legal Material,” detainees housed in administrative         detainee, if the detainee or the presenter so requests.
segregation or disciplinary segregation units shall
have the same law library access as the general             Z. Recreation
population, unless compelling security concerns             Recreation for detainees housed in the SMU shall be
require limitations.                                        separate from the general population.
1. Facilities may supervise the library use of a            Facilities are encouraged to maximize opportunities
   detainee housed in an SMU as warranted by the            for group participation during recreation and other
   individual’s behavior. Violent or uncooperative          activities, consistent with safety and security
   detainees may be temporarily denied access to the        considerations. Recreation for certain individuals
   law library if necessary to maintain security, until     shall occur separate from all other detainees when
   such time as their behavior warrants resumed             necessary or advisable to prevent assaults and to
   access. In some circumstances, legal material may        reduce management problems. In accordance with
   be brought to individuals in disciplinary                standard “5.4 Recreation”:
   segregation.
                                                            1. Each detainee in the SMU shall receive (or be


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   offered) access to exercise opportunities and                   documentation from the SMU staff for the
   equipment outside the living area and outdoors,                 facility administrator. When a detainee in an
   unless documented security, safety or medical                   SMU is deprived of recreation (or any usual
   considerations dictate otherwise.                               authorized items or activity), a written report
2. Detainees in the SMU for administrative reasons                 of the action shall be forwarded to the facility
   shall be offered at least one hour of recreation per            administrator. Denial of recreation must be
   day, outside their cells and scheduled at a                     evaluated daily by a shift supervisor.
   reasonable time, at least seven days per week.               b. A detainee in disciplinary segregation may
   Detainees in the SMU for disciplinary reasons                   temporarily lose recreation privileges upon a
   shall be offered at least one hour of recreation per            disciplinary panel’s written determination that
   day, outside their cells and scheduled at a                     he/she poses an unreasonable risk to the
   reasonable time, at least five days per week.                   facility, himself/herself, or others.
   **Detainees in the SMU for administrative reasons            c. When recreation privileges are suspended, the
   shall be offered at least two hours of exercise per             disciplinary panel or facility administrator shall
   day, seven days a week, unless documented                       provide the detainee written notification,
   security, safety or medical considerations dictate              including the reason(s) for the suspension, any
   otherwise.                                                      conditions that must be met before restoration
   **Detainees in the SMU for disciplinary reasons
                                                                          ,  I  c.
                                                                   of privileges, and the duration of the
                                                                              n
   shall be offered at least one hour of exercise per
                                                               re C  ivic 022
                                                                   suspension provided the requisite conditions

                                                                         4,of2recreation privileges shall be
                                                         . Cod. Theerdenial
   day, seven days a week, unless documented                       are met for its restoration.

                                                   in
   security, safety or medical considerations dictate o v        b     1
                                             O   w         c e m
   otherwise.                            in             De
                            cited 55221,
                                                                 included as part of the regular reviews
                                                                   required for all detainees in SMU status. In
                                  21-
3. Where cover is not provided to mitigate inclement
                            N o .
   weather, detainees shall be provided weather-                   accordance with SMU procedures, and using
                                                                   the forms required by this standard, the
   appropriate equipment and attire
                                                                   reviewer(s) shall state, in writing, whether the
4. The recreation privilege shall be denied or                     detainee continues to pose a threat to self,
   suspended only if the detainee’s recreational                   others, or facility security and, if so, why.
   activity may unreasonably endanger safety or
   security:                                                    e. Denial of recreation privileges for more than
                                                                   seven days requires the concurrence of the
   a. A detainee may be denied recreation privileges               facility administrator and a health care
      only with the facility administrator’s written               professional. It is expected that such denials
      authorization, documenting why the detainee                  shall rarely occur, and only in extreme
      poses an unreasonable risk even when                         circumstances.
      recreating alone. However, when necessary to
      control an immediate situation for reasons of             f. The facility shall notify the Field Office
                                                                   Director in writing when a detainee is denied
      safety and security, SMU staff may deny an
                                                                   recreation privileges in excess of seven days.
      instance of recreation, upon verbal approval
      from the shift supervisor, and shall document         AA. Other Programs and Activities
      the reasons in the unit logbook(s). The
      supervisor may also require additional written        The facility should seek ways to increase the
                                                            minimum amount of time that detainees in the SMU


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spend outside their cells, and to offer enhanced in-       reasonably restricted from using or having access to
cell opportunities. In addition to recreation, out-of-     a phone if that access is used for criminal purposes
cell time might include opportunities for education,       or would endanger any person, or if the detainee
clinically appropriate treatment therapies, skill-         damages the equipment provided. In such instances,
building, and social interaction with staff and other      staff must clearly document why such restrictions are
detainees.                                                 necessary to preserve the safety, security and good
                                                           order of the facility. Detainees in disciplinary
BB Telephone Access
                                                           segregation may be restricted, as part of the
As detailed in standard “5.6 Telephone Access,”            disciplinary process, from using telephones to make
detainees in SMU shall have access to telephones in a      general calls. However, even in disciplinary
manner that is consistent with the special safety and      segregation, detainees shall have telephone access for
security requirements of such units. Detainees shall       special purposes.
be permitted to place calls to attorneys, other legal
                                                           CC. Review of policies
representatives, courts, government offices
(including the DHS Office of the Inspector General,        The facility administrator shall establish a standing
DHS Office for Civil Rights and Civil Liberties,           committee, consisting of security, medical, and
ICE/OPR Joint Intake Center, and embassies or              other staff, to regularly evaluate SMU policies and
consulates, according to the facility schedule. Any        practices, and seek to develop safe and effective
denial of telephone access shall be documented.
                                                              , Inc.
                                                           alternatives to restrictive housing, as well as
In general, any detainee in an SMU may be
                                                      re Civic 022
                                                           enhanced SMU conditions and programs.

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                                     in         e c
                             cited 55221, D
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2.13 Staff-Detainee                                           staff.
                                                          2. Facility managerial and supervisory staff and
     Communication                                           ICE/ERO Field Office staff shall directly observe
                                                             facility operations and conditions of confinement.
I. Purpose and Scope
                                                          3. Detainees shall be able to submit written
This detention standard enhances security, safety and        questions, requests, grievances and concerns to
orderly facility operations by encouraging and               ICE/ERO staff and receive timely responses.
requiring informal direct and written contact among
                                                          4. Detainees shall be informed how to directly
staff and detainees, as well as informal supervisory
                                                             contact DHS/OIG.
observation of living and working conditions.
                                                          5. Detainee telephone serviceability shall be
This standard also requires the posting of hotline
                                                             monitored and documented by ICE staff, and any
informational posters from the Department of
                                                             problems shall be reported immediately.
Homeland Security (DHS) Office of the Inspector
General (OIG).                                            6. The facility shall provide communication
                                                             assistance to detainees with disabilities and
This detention standard applies to the following
                                                             detainees who are limited in their English
types of facilities housing ICE/ERO detainees:
                                                             proficiency (LEP). The facility will provide
  x   Service Processing Centers (SPCs);
                                                                    , Inc.
                                                             detainees with disabilities with effective
  x Contract Detention Facilities (CDFs); and
                                                            re  ivic 022
                                                             communication, which may include the
                                                               C
                                                      . Co er 14, 2
                                                             provision of auxiliary aids, such as readers,
  x State or local government facilities used byino v         b
                                                             materials in Braille, audio recordings, telephone
                                          O  w          c e m
                                  d n for2more
    ERO through Intergovernmental iService
                                                     De      handset amplifiers, telephones compatible with
    Agreements (IGSAs) toc   itedetainees        1 ,
                                         552
                           hold                              hearing aids, telecommunications devices for deaf
                                  2 1  -                     persons (TTYs), interpreters, and note-takers, as
                          No.
    than 72 hours.
                                                             needed. The facility will also provide detainees
Procedures in italics are specifically required for
                                                             who are LEP with language assistance, including
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                                             bilingual staff or professional interpretation and
dedicated IGSA facilities must conform to these
                                                             translation services, to provide them with
procedures or adopt, adapt or establish alternatives,
                                                             meaningful access to its programs and activities.
provided they meet or exceed the intent represented
by these procedures.                                          All written materials provided to detainees shall
                                                              generally be translated into Spanish. Where
Various terms used in this standard may be defined
                                                              practicable, provisions for written translation shall
in standard “7.5 Definitions.”
                                                              be made for other significant segments of the
II. Expected Outcomes                                         population with limited English proficiency.
                                                              Oral interpretation or assistance shall be provided
The expected outcomes of this detention standard
                                                              to any detainee who speaks another language in
are as follows (specific requirements are defined in
                                                              which written material has not been translated or
“V. Expected Practices”).
                                                              who is illiterate.
1. Detainees shall have frequent opportunities for
   informal contact with facility managerial and          III. Standards Affected
   supervisory staff and with ICE/ERO Field Office
                                                          This detention standard replaces the standard on


2.13 | Staff-Detainee Communication                     188                                        PBNDS 2011
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“Staff-Detainee Communication” dated 12/2/2008.             To prepare a written request, a detainee may obtain
                                                            assistance from another detainee, the housing
IV. References                                              officer, or other facility staff and may, if he/she
American Correctional Association, Performance-             chooses, seal the request in an envelope that is
based Standards for Adult Local Detention                   clearly addressed with name, title, and/or office to
Facilities, 4th Edition: 4-ALDF-2A-05, 2A-06, 2A-           which the request is to be forwarded.
12, 5A-03.                                                  Each facility administrator shall:

V. Expected Practices                                           x   Ensure that adequate supplies of detainee
                                                                    requests forms, envelopes and writing
A. Staff and Detainee Contact                                       implements are available.
ICE/ERO detainees shall not be restricted from                  x   Have written procedures to promptly route and
having frequent informal access to and interaction                  deliver detainee requests to the appropriate
with key facility staff members, as well as key                     ICE/ERO officials by authorized personnel (not
ICE/ERO staff, in a language they can understand.                   detainees) without reading, altering, or
ICE/ERO staff members shall announce their                          delaying such requests.
presence when entering a housing unit.
                                                                x   Ensure that the standard operating procedures

                                                                c.
The local supplement to the detainee handbook shall                 include provisions to translate detainee
                                                            , In
                                                        ivic 022
include contact information for the ICE/ERO Field                   requests and staff responses and otherwise
                                                    re C
                                              . Co er 14, 2
Office and the scheduled hours and days that                        accommodate detainees with special assistance

                                         ino
ICE/ERO staff is available to be contacted byv        b
                                                                    needs based on, for example, disability,
                                       Ow       c e m
detainees at the facility. The same information shall               illiteracy, or limited English proficiency. When
                                    in        e
                            cited 55221, D
be posted in the living areas (or “pods”) of the                    language services are needed, the facility

                              o . 21-
facilities. Posted contact information shall be updated             should use bilingual staff or qualified
                            N
quarterly or more frequently as necessary to reflect                interpretation and translation services to
changes in ICE/ERO personnel.                                       communicate with limited English proficient
                                                                    detainees. The facility will provide detainees
B. Written Detainee Requests to Staff
                                                                    with disabilities auxiliary aids and services,
Detainees may submit written questions, requests,                   when such aids and services are needed to
grievances or concerns to ICE/ERO staff, using the                  ensure effective communication with a
detainee request form, a local IGSA form, or a sheet                detainee with a disability.
of paper.
                                                                x   The facility shall provide a secure drop-box for
Facilities must also allow any ICE/ERO detainee                     ICE detainees to correspond directly with ICE
dissatisfied with the facility’s response to file a                 management. Only ICE personnel shall have
grievance appeal and communicate directly with                      access to the drop-box.
ICE/ERO.
                                                            1. Response Times
Such informal written requests are not intended as a
                                                            a. In Facilities with ICE/ERO Onsite Presence
substitute for the more formal process specified in
                                                               The ICE/ERO staff member receiving the request
standard “6.2 Grievance System.” However,
                                                               shall normally respond in person or in writing as
informal written requests may be used to resolve
                                                               soon as possible and practicable, but no later than
informal grievances, as described in that standard.
                                                               within three (3) business days of receipt.


2.13 | Staff-Detainee Communication                       189                                        PBNDS 2011
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b. In Facilities without ICE/ERO Onsite Presence           well as the availability of assistance to prepare such
   Each detainee request shall be forwarded to the         requests.
   ICE/ERO office of jurisdiction within two
                                                           C. Monitoring Detainee Telephone
   business days and answered as soon as
   practicable, in person or in writing, but no later         Services
   than within three business days of receipt. All         Field Office Directors shall ensure that all phones for
   dates shall be documented.                              detainee use are tested at least weekly in accordance
2. Record Keeping and File Maintenance                     with standard “5.6 Telephone Access.”
All requests shall be recorded in a logbook (or            Staff shall report any telephone serviceability
electronic logbook) specifically designed for that         problem within 24 hours to the appropriate ICE
purpose. At a minimum, the log shall record:               point of contact.
a. date of receipt;                                        Staff shall document each serviceability test on a
                                                           form that has been provided by ERO, and each Field
b. detainee’s name;
                                                           Office shall maintain those forms, organized by
c. detainee’s A-number;                                    month, for three years.
d. detainee’s nationality;                                 D. OIG Hotline Informational Posters
e. name of the staff member who logged the
                                                                           , In c.
                                                           DHS/OIG periodically revises a “DHS OIG Hotline”
   request;
                                                              re  C  ivic 022
                                                           poster which is to be posted in facilities that house
f. date that the request, with staff response and
                                                    o  v. Co er 14, 2
                                                           ICE/ERO detainees.
   action, was returned to the detainee;
                                            O  w  in          Thebchief of the Detention Standards Compliance
                                                           1. m
                                                            e
                                        in                c
                                                       De Unit in the ERO headquarters Detention
                             c  itedinformation,
g. any other pertinent site-specific
                                                 2 1 ,
                                         - 552
   including detention condition complaints;
                                     2 1
                                                              Management Division is designated as the contact
h. specific reasons why theN   o. request is
                             detainee’s
                                                              point for coordination with OIG and is
                                                               responsible for distribution of hotline posters to
   urgent and requires a faster response; and
                                                               Field Office Directors.
i. the date the request was forwarded to ICE/ERO
                                                           2. Field Office Directors shall distribute sufficient
   and the date it was returned shall also be
                                                              numbers of the posters to all facilities that house
   recorded.
                                                              ICE/ERO detainees. Each Field Office shall
A copy of each completed detainee request shall be            maintain a master copy from which additional
filed in the detainee’s detention file and be retained        copies may be duplicated as needed.
there for three years at minimum. Copies of
                                                           3. The facility administrator shall ensure that posters
confidential requests shall be maintained in the A-
                                                              are mounted in every housing unit and in
file.
                                                              appropriate common areas (e.g., recreation areas,
3. Detainee Handbook                                          dining areas, processing areas).
As required by standard “6.1 Detainee Handbook,”           4. During staff-detainee communication visits,
each facility’s handbook (or supplement) shall advise         ICE/ERO staff shall verify the presence of posters
detainees in a language or manner that they                   at designated locations and shall ensure that any
understand of the procedures to submit written                missing or destroyed posters are replaced as soon
questions, requests, or concerns to ICE/ERO staff, as         as possible.



2.13 | Staff-Detainee Communication                      190                                        PBNDS 2011
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                                                      , Inc.
                                              re Civic 022
                                     o v. Co er 14, 2
                                 Owin       e m b
                              in        e c
                      cited 55221, D
                        o . 21-
                      N




2.14 | Tool Control                       191                                PBNDS 2011
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2.14 Tool Control                                                 operation of the facility.

                                                            III. Standards Affected
I. Purpose and Scope
                                                            This detention standard replaces “Tool Control”
This detention standard protects detainees, staff,          dated 12/2/2008.
contractors and volunteers from harm and
contributes to orderly facility operations by               IV. References
maintaining control of tools, culinary utensils and
medical and dental instruments, equipment and               American Correctional Association, Performance-
supplies.                                                   based Standards for Adult Local Detention
                                                            Facilities, 4th Edition: 4-ALDF-2D-02, 2D-03.
This detention standard applies to the following
types of facilities housing ICE/ERO detainees:              V. Expected Practices
  x   Service Processing Centers (SPCs);                    A. Control, Care and Accountability for
  x   Contract Detention Facilities (CDFs); and                Tools
  x   State or local government facilities used by             1. Prevents their use in escape attempts, as
      ERO through Intergovernmental Service                       weapons, and in other ways that can be
      Agreements (IGSAs) to hold detainees for more
                                                                            ,  In c.
                                                                  hazardous to individual safety or the good order
      than 72 hours.
                                                                r e C  ivic 022
                                                                  of the facility.
Procedures in italics are specifically required for SPCs . C2.
                                                          v   o Improves1the4    2
                                                                              ,appearance of shop and
                                                    in  o          be  r
and CDFs. IGSA facilities must conform to these
                                              O  w          c e mconstruction areas.

                              c  ite  d inalternatives,
procedures or adopt, adapt or establish
                                                  2  1  , De 3. Helps ensure that tools are in good repair when
provided they meet or exceed the intent 5
                                        1 -   52
                                            represented          needed.
                                   .  2
by these procedures.
                             No                               4. Reduces costs of tool maintenance and
For all types of facilities, procedures that appear in            inventory.
italics with a marked (**) on the page indicate
optimum levels of compliance for this standard.                5. Holds detainees accountable for tools that have
                                                                  been assigned to them.
Various terms used in this standard may be defined
in standard “7.5 Definitions.”                              B. Written Policy and Procedures
                                                               Required
II. Expected Outcome
                                                            Each facility administrator shall develop and
The expected outcomes of this detention standard            implement a written tool control system that
are as follows (specific requirements are defined in        establishes the following:
“V. Expected Practices”).
                                                            1. a staff position responsible for:
 1. Tools, maintenance implements, culinary
                                                                 a. developing and implementing tool control
    utensils, medical and dental instruments,
                                                                    procedures, and
    equipment and supplies (particularly syringes,
    needles and other sharps) shall be maintained on             b. establishing an inspection system to ensure
    an inventory, and continually controlled and                    accountability;
    accounted for to ensure the safe and orderly


2.14 | Tool Control                                      192                                            PBNDS 2011
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      The facility administrator shall delegate these           serious bodily harm;
      responsibilities to the Chief of Security and
                                                            5. power hand tools, with or without cords; and
      shall also assign, in writing, the duties of tool
      control officer to a staff member of the Facility     6. other tools which are generally hazardous to
      Maintenance Department;                                  facility security or personal safety.
2. a tool classification system;                            Examples of restricted tools include:
3. procedures for marking tools so they are readily         1. metal cutting blades;
   identifiable;                                            2. mixing chambers;
4. procedures for storing tools;                            3. bolt cutters;
5. procedures and schedules for regular inventories         4. ramset gun and ammunition (stored in armory
   of tools;                                                   only);
6. procedures for issuing tools to staff and detainee       5. diamond-tipped tools;
   workers;
                                                            6. core drills;
7. procedures governing lost tools;
                                                            7. drills;
8. procedures for surveying and destroying excess,
                                                            8. circular saws; and
   broken, or worn-out tools; and
                                                                                     .
                                                                                c culinary utensils.
                                                            9. knives andic, Insharp
                                                                          other
9. procedures for inspecting and controlling tools
                                                           o r e  Civadministrator
                                                                                 2      2 establish a policy
                                                                                   02shall
   and equipment brought into the facility               CThe  facility
                                                       . document          4 ,
                                                                      ron1facility tool use and storage that
   temporarily (e.g., repair and maintenance ino v               b e
                                       n   O  w        e  em separate, comprehensive, alphabetical lists
                                                         cincludes
   workers, sports teams.)
                                   d  i            , D
C. Tool Classification c
                               ite          5 2 21        of both restricted and non-restricted tools.
                                  2  1  - 5
                            No.
The facility shall develop and implement a tool
                                                          1. The lists shall indicate which of the listed tools
                                                                are available on-site, describe them by type, and
classification system.                                          specify tool sizes.
Tools are assigned one of two categories:                   2. The lists shall be kept current by formatting them
1. restricted (class “R”)—dangerous/hazardous                  as attachments to the policy document, and shall
   tools; and                                                  be maintained and updated electronically.
2. non-restricted—non-hazardous tools.                      3. The lists shall be updated and distributed at least
Class “R” tools include:                                       quarterly.

1. tools too dangerous for detainees to handle              Tools included in tool sets and tools sized
   without constant staff supervision;                      sequentially in standard increments may appear as a
                                                            single listing. For example:
2. tools to which detainee access is prohibited;
                                                                x   drill bits, metal/wood 1/32”-7/8”
3. tools that could facilitate an escape or an escape
   attempt;                                                     x   drill bits, metal/wood 7/16”-7/8”

4. tools that are useful in making weapons, could               x   wrench, comb. box/open end 1/4”-7/16”
   double as weapons, or are capable of causing                 x   wrench, comb. box/open end 7/16”-7/8”


2.14 | Tool Control                                       193                                       PBNDS 2011
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When a single set listing is insufficiently clear, each     recreation specialist and senior firearms instructor:
tool must be listed separately—for example, if a            1. prepare a computer-generated inventory of all
facility had a single “wrench, combination                     class “R” tools in the maintenance restricted-tool
box/open end, 1 7/8 inches” but not the smaller or             room, the medical facility, the food service
larger sizes; or had several wrenches in different             department, the electronics work area, recreation
sizes, but without standard size differences.                  areas and the armory;
D. Daily Removal and Storage of Class “R”                   2. post a copy of the class “R” tool inventory with
   Tools                                                       the equipment in a prominent position in the
                                                               equipment area;
Staff shall remove restricted tools from work areas at
the end of each workday for safekeeping in a secure         3. submit a second copy of the inventory to the
tool room, the armory, or the control center.                  Chief of Security;
E. Acetylene                                                4. retain a third copy in the department;
Staff shall:                                                5. review and where necessary revise the class “R”
                                                               tool inventory on a regular schedule:
1. restrict the supply of acetylene entering the
   facility to the amount needed in a single day; and           a. weekly—food service,
2. at the end of each workday, store the used and
                                                                        , I n c.
                                                            b. monthly—facility maintenance, medical, and
   unused acetylene tanks outside the secured
                                                            r e C  ivic 022 work area, recreation
                                                            c. quarterly—electronics
   perimeter in accordance with applicable codes,
   standards and regulations (Occupational Safetyino v.
                                                        Co areas,r armory;
                                                                     1  4 ,2
                                           O  w           e
                                                         6. m  be a copy of the inventory report to the
                                                            forward
                                      in
   and Health Administration’s industrial safety        c
                                                      e facility administrator;
   regulations, etc.).      cited 55221, D
                              o
F. Departmental Responsibilities. 21-                    7. report missing tools in accordance with
                           N                                procedures specified below; and
At a minimum, the following departments shall               8. include on all inventory sheets the date of
maintain tool inventories:                                     issuance/revision.
1. Facility Maintenance Department;
                                                            G. Tool Identification
2. Medical Department;
                                                            The facility administrator shall establish written
3. Food Service Department;                                 procedures for marking tools and making them
4. Electronics Shop;                                        readily identifiable.

5. Recreation Department; and                               1. The tool control officer shall mark every tool in
                                                               every work location with a symbol signifying its
6. Armory                                                      storage location (e.g., “armory,” “control
Each department head is responsible for                        center”). Some tools shall require AMIS bar-
implementing tool control procedures in that                   coding.
department, and the following procedures are                2. Tools too small, fragile, or otherwise susceptible
specifically required of the facility maintenance              to damage (e.g., surgical instruments,
department head, health services administrator                 micrometers, small drill bits) shall be inventoried
(HSA), food service manager, electronics technician,           and kept in locked storage when not in use.


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H. Storage in Work Areas                                       c. the staff member responsible shall maintain an
                                                                  inventory sheet in the tool cage and provide a
The facility administrator shall establish written                copy to the tool control officer;
procedures for a tool-storage system that ensures
accountability. Commonly used, mounted tools shall             d. Tools not adaptable to shadow boards shall be
be stored so that a tool’s disappearance shall not                kept in a locked drawer or cabinet;
escape attention.                                              e. Staff shall not open sterile packs for inventory
1. Work-detail supervisors shall account for all tools            or any other non-medical reason, except when
   at the end of every work period.                               tampering or theft is suspected, in which case
                                                                  staff shall contact the health services
2. Shadow boards shall provide storage for tools that             department before opening a pack from which
   can be mounted, as follows:                                    instruments may have been removed. To
   a. one tool per shadow;                                        prevent such incidents, sterile packs shall be
   b. tool and shadow identical in size and shape;                stored under lock and key at all times; and
      and                                                      f. Individual toolboxes containing tools used on
                                                                  a daily basis must be secured with hasp and
   c. color-coded:
                                                                  padlock. The individual responsible for the
      1) white backgrounds for all shadow boards                  toolbox shall keep an inventory sheet in the
      2) red shadows for restricted tools                         toolbox, and n
                                                                            ,  I   c.tool control officer shall
                                                                                 the
                                                                      iviccopies of all2such inventory sheets.
                                                                  maintain
                                                             reC 4, 202
      3) black shadows for non-restricted tools
                                                         C  o
                                               in
3. When a tool is removed from the inventory, its
                                             w    o v. I. Receiptb e r1of Tools

                                  d  in
   shadow shall likewise be removed from  Othe       D e c1.em
                                                             If the warehouse is located outside the secure
                              ite                1 ,
   shadow board;            c
                                    1  - 5 522               perimeter, the warehouse shall receive all tool
                                . 2 shall have
4. Shadow boards accessibleNtoodetainees                     deliveries.
   expanded-metal covers and shall be locked when            If the warehouse is located within the secure
   not in use;                                                 perimeter, the facility administrator shall develop
5. All restricted tools shall be secured in a central          site-specific procedures (e.g., storing the tools at
   tool room, isolated from the housing units;                 the rear sally port until picked up and receipted by
                                                               the tool control officer). The tool control officer
6. If maintenance workers are assigned personal                shall immediately place certain tools (e.g., band
   shadow boards, the boards must have expanded-               saw blades, files and all restricted tools) in secure
   metal covers;                                               storage.
7. Infrequently used tools may be stored in                2. New tools shall be issued only after the tool
   individual tool cages with shadow boards,                  control officer has marked and inventoried them.
   secured by hasp and padlock:                               Inventories that include any portable power tools
   a. they must be included in the regular inventory          shall provide brand name, model, size,
      checks;                                                 description and inventory control/AMIS number.
   b. a tag shall indicate the tool has been removed       J. Tool Inventories
      from its cage and a sign-in/out board shall          The facility administrator shall schedule and establish
      indicate area, date, times and user;                 procedures for the quarterly inventorying of all


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tools. Facilities shall use inventory control                      three months the employees responsible for
number/AMIS bar code labels as necessary.                          tools shall conduct verification inventories and
1. Inventory maintenance at each work location is                  initial the appropriate column on the master
   the responsibility of the detail supervisor and                 tool inventory sheet in the Office of the Chief
   department head.                                                of Security.
                                                                   The Chief of Security shall assign an officer to
2. The work detail supervisor or staff member
                                                                   monitor the quarterly inventories. This officer
   assigned a toolbox shall be accountable for the
                                                                   shall clearly initial the bottom of each form
   control of his/her assigned tools on a daily basis.
                                                                   certifying that the records have been checked
3. Any tool permanently removed from service shall                 and all inventories completed.
   be turned in to the tool control officer for record
                                                             6. Inventory Files
   keeping and safe disposal.
                                                                The facility administrator’s designee shall
4. Tool inventories shall be numbered and posted                maintain a separate file folder for each shop or
   conspicuously on all corresponding shadow                    area in which tools are stored.
   boards, toolboxes and tool kits. While all posted
                                                                a. The left side of the folder shall contain the
   inventories must be accurate, only the master tool
                                                                   master tool inventory sheet(s).
   inventory sheet in the office of the Chief of
   Security requires the certifiers’ signatures.                   When an addition or deletion is made to the
                                                                             ,  In c.the page on which the
                                                                   master inventory,
5. Tools in current use shall be inventoried in
                                                                r e C  ivicis made 0shall
                                                                   change             2  2be completely retyped or
   accordance with the following schedule:                    o
                                                         v. C breprinted  14and   2
                                                                               , inserted into the master
                                                   i no              e r
   a. Annual
                                          n  O  w         e c e m inventory. Staff shall not destroy any of the
                                         i             ,D
      officer and employees c
                                ited the for
      Once each year at a minimum,
                              responsible-5   5 2
                                               tools
                                                     1
                                            tool control
                                                  2                original pages, but shall move them to the
                                                                   right side of the folder for future reference.
      shall together inventory o     2 1
                                all.tools/equipment
      on-site.
                            N                                   b. The right side of the folder shall also contain
                                                                   documentation including, but not limited to:
      1) Each inventory-taker shall certify with                   1) lost or missing tool reports;
         name, title and identification number the
         accuracy of that inventory. Certification                 2) requests for inventory additions or
         must be approved by the facility                             deletions;
         maintenance supervisor and Chief of                       3) survey requests and reports;
         Security.
                                                                   4) store room requisition forms; and
      2) The tool control officer shall provide the
                                                                   5) any other document directly related to site-
         Chief of Security a complete set of the
                                                                      specific tool control procedures.
         separate inventories (e.g., restricted tools,
         non-restricted tools) referred to as the               c. When the annual inventory is completed, staff
         Master Tool Inventory Sheet.                              shall place the form on the left side of the
                                                                   folder and move the previous year’s to the
   b. Quarterly
                                                                   right side. Each folder shall contain the
      To ensure the accuracy and completeness of
                                                                   materials for the current year plus the
      current inventory listings and check the
                                                                   preceding two years, with a divider to separate
      condition of shadows and markings, every


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      the annual records.                                      ladders, extension cords and ropes.
7. Tools Used by Contractors                                   1. The Chief of Security shall issue a restricted tool
   Staff shall conduct an inventory of all contractor             only to the individual who shall be using it.
   tools upon their arrival and departure. The Chief
                                                               2. Detainees may use non-restricted tools under
   of Security shall establish control procedures,
                                                                  intermittent supervision; however, the detail
   particularly for restricted tools. The Chief of
                                                                  supervisor shall account for all tools at the end of
   Security, facility maintenance supervisor and
                                                                  every work period.
   construction foreman shall maintain copies of all
   such inventories and control procedures.                    3. A metal or plastic chit receipt shall be taken for all
                                                                  tools issued, and when a tool is issued from a
8. Tools Purchased from Surplus Property
                                                                  shadow board, the receipt chit shall be visible on
   Tools purchased or acquired from surplus
                                                                  the shadow board.
   property shall be stored in the designated secure
   storage area. The responsible employee shall                4. The facility administrator shall establish site-
   maintain a continual inventory of unmarked or                  specific procedures for the control of ladders,
   excess tools returned to secure storage for issue or           extension cords, ropes and hoses, according to
   reissue. The tool control officer has sole authority           the following procedures:
   to draw tools from this source. Any such tools                 a. all ladders, extension cords, ropes and hoses
   kept in the tool control officer’s storage area shall
                                                                                  n  c. shall be stored in the
                                                                     over three feet long
                                                                              ,  I
   be registered in a continual inventory.
                                                                         ivic location when not in use;
                                                                     designated
                                                                      C
                                                                 reevery staff4member      2
                                                                                      02supervising the use of
9. Control and Inventory of Certain Items Not                C o                 ,  2
   Classified as Tools
                                               w   in  o v. mbextension
                                                                 b.
                                                                      er 1 ladder and/or heavy equipment
                                       in
   Other items that require strict property
                                    d
                                            O            D e ce shall have at his/her disposal a portable two-
                               ite (other
   management controls, likecweapons           2  21   ,
                                      1  - 5 5   than               way radio;
                               o.   2
   firearms), chemical agents, restraints, other  use-
   of-force and disturbanceN control equipment,                  c. ladders shall be inventoried and stored by size
   binoculars, communication equipment and                          to facilitate inspection and handling;
   similar items shall be inventoried (with serial               d. extension cords must be inventoried and have
   numbers), maintained, issued and disposed of in                  a metal or plastic tag attached, indicating issue
   accordance with the procedures for tools                         number (by location) and length of cord;
   established herein.
                                                                 e. extension cords longer than 10 feet shall be
   Control, inventory, maintenance and destruction                  classified and handled as Class “R” tools; and
   of ICE firearms are governed by the ICE Interim
   Firearms Policy (7/7/2004).                                   f. in high-rise facilities, electrical cords attached
                                                                    to buffers, vacuum cleaners, etc., may not
10. Tool and Equipment Accountability                               exceed two feet.
   All tools and equipment shall be accounted for
   and documented on a regular basis.                         5. Scissors used for in-processing shall be securely
                                                                 tethered to the fixture at which they are used.
K. Issuing Tools
                                                               6. Issuance of tools from a storage location for a
Each facility shall have procedures in place for the              specified project for extended periods requires
issuance of tools to staff and detainees; security issues         approval of the Chief of Security. The work detail
of restricted and unrestricted tools; and control of              supervisor shall conduct daily on-site checks of


2.14 | Tool Control                                         197                                         PBNDS 2011
                                                                                               (Revised December 2016)
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   extended-use tools issued from the central tool               efforts to recover tools. Documentation of the
   room, and the facility maintenance supervisor                 quarterly evaluations shall be maintained on the
   shall conduct such checks monthly at a minimum.               right side of the tool inventory folder for the shop
                                                                 or area concerned.
L. Lost Tools
                                                              M. Disposition of Excess Tools
The facility administrator shall develop and
implement procedures governing lost tools,                    All broken or worn-out tools shall be surveyed and
including, verbal and written notification to                 destroyed in accordance with the written procedures
supervisory officials, addressing detainees with prior        established by the facility administrator.
access to the tool(s) in question, and documentation
                                                              1. The tool control officer or security officer shall
and review.
                                                                 implement procedures for storing broken and/or
1. When a restricted or non-restricted tool is                   worn-out tools in a secure area, pending survey
   missing or lost, staff shall notify a supervisor              and disposition.
   immediately and the Chief of Security in                   2. Excess tools not being surveyed shall remain in a
   writing as soon as possible.                                  designated secure storage area until included in a
2. When the tool is a restricted (class “R”) tool, staff         subsequent survey or returned to use.
   shall inform the shift supervisor orally                3. To maintain tool inventories at the most efficient
   immediately upon discovering the loss. Any                 operating level, n
                                                                           , I   c.in every shop and
                                                                               staff
   detainee(s) who may have had access to the tool
                                                              re C   ivicshall identify
                                                              department
                                                                                  0  2 2 and move to a secure
   shall be held at the work location pending                                  2 used tools. Bin cards shall
                                                          Costorage area all, rarely
   completion of a thorough search.
                                              win     o v. accountrfor14
                                                                mbe       the tools moved from shop to storage
3. When a medical department tool orin
                                     d
                                             O
                                          equipment      D e ce areas.
                                  te immediately
                               cishall          2 21   ,
   item is missing or lost, staff
                                        1 - 5 5               4. Either the tool control officer or security key
   inform the HSA, who shall make
                                 o.  2 the immediate
   verbal notification to theN
                                                                 control officer shall be responsible for destroying
                              Chief of Security or shift         all surveyed tools.
   supervisor and written notification to the facility
   administrator.                                             5. The office of the Chief of Security shall maintain
                                                                 records of all tool surveys.
4. The shift supervisor’s office shall maintain a lost-
   tool file, monitor the individual reports for              N. Private/Contract Repair and
   accuracy, ascertain any unusual patterns or                   Maintenance Workers
   occurrences of loss in one or more shops,
   document search efforts, and send written                  Before entering or leaving the facility, all visitors,
   notification to the Chief of Security.                     including repair and maintenance workers who are
                                                              not ICE/ERO or facility employees, shall submit to
5. On the day a tool is recovered, staff shall                an inspection and inventory of all tools, tool boxes
   complete the lost or missing tool report and send          and equipment that could be used as weapons.
   copies to the Chief of Security and shift
   supervisor.                                                Contractors shall retain a copy of the tool inventory
                                                              while inside the facility.
6. The facility administrator shall implement
   quarterly evaluations of lost/missing tool files,          An officer shall accompany non-employee workers
   reviewing the thoroughness of investigations and           in the facility to ensure that security and safety
                                                              precautions and procedures are followed at all times,


2.14 | Tool Control                                       198                                         PBNDS 2011
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including removing tools at the end of each shift.       and then, before departure from the unit, verify their
Before a detainee, employee, or contractor may enter     removal in a second inventory. The housing officer
a housing unit, the housing officer shall inventory      shall immediately report discrepancies to the shift
tools and similar items to be carried into that unit     supervisor.




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2.14 | Tool Control                                    199                                      PBNDS 2011
                                                                                      (Revised December 2016)
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2.15 Use of Force and                                       in standard “7.5 Definitions.”

     Restraints                                             II. Expected Outcomes
                                                            The expected outcomes of this detention standard
I. Purpose and Scope                                        are as follows (specific requirements are defined in
This detention standard authorizes staff to use             “V. Expected Practices”):
necessary and reasonable force after all reasonable         1. Physical force shall only be used, when both
efforts to otherwise resolve a situation have failed,          necessary and reasonable,
for protection of all persons; to minimize injury to
                                                            2. Facilities shall endorse confrontation avoidance as
self, detainees, staff and others; to prevent escape or
                                                               the preferred method for resolving situations,
serious property damage; or to maintain the security
                                                               always to be attempted prior to any calculated use
and orderly operation of the facility.
                                                               of force.
Staff shall use only the degree of force necessary to
                                                            3. Physical force shall only be used to the minimum
gain control of detainees and, under specified
                                                               extent necessary to restore order, protect safety
conditions, may use physical restraints to gain
                                                               and provide security.
control of a dangerous detainee.
                                                            4. Physical force or restraint devices shall not be
This detention standard does not specifically address
the use of restraints for medical or mental health
                                                               used as punishment.
                                                                             ,  In c.
                                                                   C       c not be applied
                                                                       ivishall         2 without approval
purposes, which is addressed by standard “4.3               5. Restraints
                                                             o r e             ,  2 0 2
Medical Care.”
                                                       o v.C   in those
                                                                       r  1  4
                                                                         circumstances  for which prior
Canine units, where available, may be usedO   forw
                                                   in        e m  be approval is required.
                                                               supervisory
                                          n                c
                                                         De 6. Four/five-point restraints shall be applied only in
                              c
contraband detection, but their  tedfor iforce,5control,
                                iuse              2  1 ,
                                     2 1  -
or intimidation of detainees is prohibited. 5 2                extreme circumstances and only when other types
                            No    .                            of restraints have proven ineffective. Advance
This detention standard applies to the following
                                                                approval is required, as is prompt notification of
types of facilities housing ICE/ERO detainees:
                                                                and examination by the medical staff. Use of
  x   Service Processing Centers (SPCs);                        these restraints shall be continued only in
                                                                accordance with required procedures and
  x   Contract Detention Facilities (CDFs); and                 documentation.
  x   State or local government facilities used by          7. Intermediate force devices shall be used only in
      ERO through Intergovernmental Service                    circumstances prescribed herein.
      Agreements (IGSAs) to hold detainees for more
      than 72 hours.                                        8. In each facility, all weapons and related
                                                               equipment shall be stored securely in designated
Procedures in italics are specifically required for            areas to which only authorized persons have
SPCs, CDFs, and Dedicated IGSA facilities. Non-                access.
dedicated IGSA facilities must conform to these
procedures or adopt, adapt or establish alternatives,       9. In each facility, chemical agents and related
provided they meet or exceed the intent represented            security equipment shall be inventoried at least
by these procedures.                                           once per month to determine their condition and
                                                               expiration dates.
Various terms used in this standard may be defined
                                                            10. In each facility, a written record of routine and


2.15 | Use of Force and Restraints                        200                                       PBNDS 2011
                                                                                           (Revised December 2016)
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    emergency distribution of security equipment                 Oral interpretation or assistance shall be provided
    shall be maintained.                                         to any detainee who speaks another language in
11. An employee shall submit a written report no                 which written material has not been translated or
    later than the end of his/her shift when force               who is illiterate.
    was used on any detainee for any reason, or if           III. Standards Affected
    any detainee remains in any type of restraints at
    the end of that shift. This documentation                This detention standard replaces “Use of Force”
    includes written report of discharge of a firearm        dated 12/2/2008.
    and use of less lethal devices to control detainees.
                                                             IV. References
12. Telephonic notification to the Field Office
    Director shall occur as soon as practicable.             American Correctional Association, Performance-
    Documentation shall be submitted to the Field            based Standards for Adult Local Detention
    Office Director within two business days via an          Facilities, 4th Edition: 4-ALDF-2B-01, 2B-02, 2B-
    ICE-approved form or equivalent, of any use-of-          03, 2B-04, 2B-05, 2B-06, 2B-07, 2B-08, 2C-01, 2C-
    force incident involving an ICE detainee.                02, 2C-06, 7B-15, 7B-16.
    Appropriate documentation shall be maintained            ICE Interim “Use of Force Policy” (7/7/2004), as
    when physical force is used.                             amended or updated.
13. Canines shall not be used for force, control, or
                                                                         ,  In c.
                                                             DHS “Use of Deadly Force Policy” (06/25/2004).
    intimidation of detainees.
                                                              re C  ivic 0Standard,
                                                                                 22 “Use of
                                                         C o
                                                          National
                                                                           ,
                                                                   Enforcement
                                                                        4     2
14. The facility shall provide communication
    assistance to detainees with disabilities andwin
                                                     o v. Intermediate
                                                                b e r 1Force.”
                                        in O , DecV.      em
    detainees who are limited in e   d
                              cit will provide
                                  their English
                                                  2 1         Expected Practices
    proficiency (LEP). The facility       -55   2
                                  . 2  1                  A. Overview
                             No
    detainees with disabilities with effective
    communication, which may include the                     1. Use of force in detention facilities is never used as
    provision of auxiliary aids, such as readers,               punishment, is minimized by staff attempts to
    materials in Braille, audio recordings, telephone           first gain detainee cooperation, is executed only
    handset amplifiers, telephones compatible with              through approved techniques and devices, and
    hearing aids, telecommunications devices for                involves only the degree necessary and reasonable
    deaf persons (TTYs), interpreters, and note-                to gain control of a detainee or provide for self-
    takers, as needed. The facility will also provide           defense or defense of a third person.
    detainees who are LEP with language assistance,
    including bilingual staff or professional                2. Various levels of force may be necessary and
    interpretation and translation services, to provide         reasonable, depending on the totality of the
    them with meaningful access to its programs and             circumstances.
    activities.                                              3. Generally, use of force is either immediate or
    All written materials provided to detainees shall           calculated; calculated force is preferable in most
    generally be translated into Spanish. Where                 cases as it is most likely to minimize harm to
    practicable, provisions for written translation             detainees or staff.
    shall be made for other significant segments of          4. Use of force may involve physical control and
    the population with limited English proficiency.            placement of a detainee in secure housing,


2.15 | Use of Force and Restraints                         201                                        PBNDS 2011
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   and/or the application of various types and               9. Staff may apply additional restraints to a detainee
   degrees of restraint devices.                                who continues to resist after staff achieve physical
5. Follow-up (e.g., medical attention),                         control. If a restrained detainee refuses to move or
   documentation (e.g., audiovisual recording for               cannot move because of the restraints, staff may
   calculated use of force), reporting and an after-            lift and carry the detainee to the appropriate
   action review are required for each incident                 destination. Staff may not use the restraints to lift
   involving use of force.                                      or carry the detainee. If feasible, an assistive device
                                                                (e.g., ambulatory chair, gurney) shall be used to
B. Principles Governing the Use of Force                        help move the restrained detainee.
   and Application of Restraints                             10. Staff may not remove restraints until the detainee
1. Instruments of restraint shall be used only as a              is no longer a danger to himself or others.
   precaution against escape during transfer; for            11. Staff may not use restraint equipment or devices
   medical reasons, when directed by the medical                 (e.g., handcuffs):
   officer; or to prevent self-injury, injury to others,
                                                                 a. on a detainee’s neck or face, or in any manner
   or property damage. Restraints shall be applied for
                                                                    that restricts blood circulation or obstructs the
   the least amount of time necessary to achieve the
                                                                    detainee’s airways (e.g., mouth, nose, neck,
   desired behavioral objectives.
                                                                    esophagus). See “V. Expected Practices.”E
2. Under no circumstances shall staff use force or
                                                                               In  c.
                                                                    below for more information; or
                                                                             ,
   apply restraints to punish a detainee.
                                                                      ivicphysical0pain
                                                               b.etoCcause
                                                               r                      2 2 or extreme discomfort.
3. Staff shall attempt to gain a detainee’s willing           o
                                                          v. C bWhile    1some   2
                                                                            4, discomfort may be unavoidable
                                                    in o             e r
   cooperation before using force.
                                        in   Ow Decem even              when restraints are applied properly,

                               c iteofdforce necessary
4. Staff shall use only that amount
                                                2 2   1 ,         examples of prohibited applications include:
   and reasonable to gain control of a1
                                     2    - 55
                                        detainee.                 improperly applied restraints, unnecessarily
                              No.
5. Staff may immediately use restraints, if
                                                                  tight restraints, “hog-tying,” and fetal
                                                                    restraints (i.e., cuffed in front with connecting
   warranted, to prevent a detainee from harming                    restraint drawn-up to create the fetal position).
   self or others or from causing serious property
   damage.                                                   12. Staff shall comply with defensive tactics training
                                                                 and the proper application of those techniques.
6. Absent one or more of the factors listed above,
   placement in an SMU does not constitute a valid           13. Staff shall monitor all detainees placed in
   basis for the use of restraints while in the SMU or           restraints.
   during movement around the facility.                      14. Documenting, reporting and investigating use-
7. Detainees subjected to use of force shall be seen             of-force incidents helps prevent unwarranted use
   by medical staff as soon as possible. If the use of           of force and protects staff from unfounded
   force results in an injury or claim of injury,                allegations of improper or excessive use of force.
   medical evaluation shall be obtained and                  15. Calculated use of force requires supervisor pre-
   appropriate care provided.                                    authorization and consultation with medical staff
8. Facility Administrator approval is required for               to determine if the detainee has medical issues
   continued use of restraints, if they are considered           requiring specific precautions.
   necessary, once a detainee is under control.              16. Deadly force may be used only when an officer



2.15 | Use of Force and Restraints                         202                                         PBNDS 2011
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    has probable cause that the detainee poses an            All new officers shall be sufficiently trained during
    imminent danger of death or serious physical             their first year of employment. Through ongoing
    injury to the officer or to another person. Deadly       training (to occur annually at a minimum), all
    force may not be used solely to prevent the              detention facility staff must be made aware of their
    escape of a fleeing suspect.                             responsibilities to effectively handle situations
                                                             involving aggressive detainees.
C. Use-of-Force Continuum
                                                             At a minimum, training shall include:
The Use-of-Force Continuum is a five-level model
used to illustrate the levels of force staff may use to      a. requirements of this detention standard;
gain control of a detainee. The levels are:                  b. use-of-force continuum, to include use of deadly
1. Staff Presence without Action                                force;

2. Verbal Commands                                           c. communication techniques;

3. Soft Techniques                                           d. cultural diversity;
   Techniques from which there is minimal chance             e. management of detainees with mental health
   of injury (e.g., grasping, using empty-hand                  conditions;
   and/or “come-along” holds, using impact
                                                             f. confrontation-avoidance techniques;
   weapons for holds, applying pressure to pressure
   points, using chemical agents).
                                                                                  In c.
                                                             g. approved methods of self-defense and defensive
                                                                               ,
4. Hard Techniques
                                                                  r e C
                                                                tactics; ivic 022
   Techniques with which there is a greater
                                                        o v . Ch.oforcedecell
                                                                         r  1 4, 2techniques;
                                                                              move
                                              O
   possibility of injury (e.g., strikes, throws, w  in
                                                 “take-         e m  b
                                      d   in              D e ci. prevention  of communicable diseases, particularly
                               citebatons,5authorized
   downs,” or striking using impact      weapons
                                                 2 21
                                                  such  ,         precautions to be taken when using force;
   as expandable batons, straight             5
                                         1- weapons).
                                 o  . 2impact                  j. application of restraints (progressive and hard);
                             N
   less-lethal devices and specialty
5. Deadly Force                                              k. reporting procedures; and
   The use of any force that is reasonably likely to         l. forced medication procedures.
   cause death or serious physical injury. Deadly
                                                             Staff shall also be advised of the “Prohibited Force
   force does not include force that is not reasonably
                                                             Acts and Techniques,” listed below in “Section E” of
   likely to cause death or serious physical injury,
                                                             this standard. Staff shall receive defensive tactics
   but unexpectedly results in such death or injury.
                                                             training before being placed in a detainee-contact
Staff are trained and required to use only a level of        position.
force that is necessary and reasonable to gain control
                                                             2. Specialized Training
of a detainee; however, the totality of the
circumstances may necessitate use of a higher level          Any officer who is authorized to use an intermediate
of force. Staff may have to rapidly escalate or de-          force device shall be specifically trained and certified
escalate through the Use of Force Continuum,                 to use that device. Training in the use of chemical
depending on the totality of circumstances present.          agents also shall include treatment of individuals
                                                             exposed to them.
D. Training
                                                             Training shall also cover use of force in special
1. General Training
                                                             circumstances (detailed below).


2.15 | Use of Force and Restraints                        203                                         PBNDS 2011
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All employees who participate in a calculated use-of-        recuperation shall not be restrained absent truly
force move shall have received prior training.               extraordinary circumstances that render restraints
The employee shall receive training on an annual             absolutely necessary as documented by a supervisor
basis, and documentation of that training shall be           and directed by the on-site medical authority. This
maintained in the employee’s training record for the         general prohibition on restraints applies to all
duration of his/her employment at the facility. The          pregnant women in the custody of ICE, whether
employee must also maintain certification.                   during transport, in a detention facility, or at an
                                                             outside medical facility. Restraints are never
E. Prohibited Force Acts and Techniques                      permitted on women who are in active labor or
                                                             delivery.
The following acts and techniques are specifically
prohibited, unless deadly force would be authorized:         Restraints should not be considered as an option,
                                                             except under the following extraordinary
1. Choke holds, carotid control holds and other neck
                                                             circumstances:
   restraints;
                                                             a. a medical officer has directed the use of restraints
2. Using a baton to apply choke or “come-along”
                                                                for medical reasons;
   holds to the neck area;
                                                             b. credible, reasonable grounds exist to believe the
3. Intentional baton strikes to the head, face, groin,
                                                                detainee presents an immediate and serious threat
   solar plexus, neck, kidneys, or spinal column;
                                                                              In  c.
                                                                of hurting herself, staff or others; or
                                                                           ,
The following acts and techniques are generally
                                                               re C  ivicgrounds0exist
                                                           c. reasonable            2  2to believe the detainee
prohibited, unless both necessary and reasonable in         o
                                                       v. C presents       4,   2
                                                                         1immediate
the circumstances:
                                                 in o            b  e r an             and credible risk of escape

                                       in   Ow Decem          that cannot be reasonably minimized through any
                                ted result;
1. Striking a detainee when grasping
                             cidesired
                                      or  pushing
                                              2 2  1 ,        other method.
   him/her would achieve the
                                 . 2  1  -55               In the rare event that one of the above situations
                           N   o
2. Using force against a detainee offering no              applies, medical staff shall determine the safest
   resistance; and                                           method and duration for the use of restraints and the
3. Restraining detainees to fixed objects not                least restrictive restraints necessary shall be used.
   designed for restraint.                                   Even in the extraordinary circumstance when
F. Use of Force in Special Circumstances                     restraints are deemed necessary, no detainee known
                                                             to be pregnant shall be restrained in a face-down
Occasionally, after the failure of confrontation-            position with four-point restraints, on her back, or
avoidance techniques, staff must make a judgment             in a restraint belt that constricts the area of the
whether to use higher levels of force with detainees         pregnancy. All attempts will be made to ensure that
in special circumstances. Except in instances where          the detainee is placed on her left side if she is
immediate use of force is necessary, staff shall             immobilized.
consult medical staff, in certain cases set forth below,
                                                             The use of restraints requires documented approval
before unilaterally determining a situation
                                                             and guidance from the on-site medical authority.
sufficiently grave to warrant the use of physical
                                                             Record-keeping and reporting requirements
force.
                                                             regarding the medical approval to use restraints shall
1. Restraints on Pregnant Women                              be consistent with other provisions within these
A pregnant woman or woman in post-delivery                   standards, including documentation in the detainee’s


2.15 | Use of Force and Restraints                         204                                       PBNDS 2011
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A-file, detention and medical file.                               have no access.
2. Detainees with Wounds or Cuts                              If such equipment is kept in an SMU, staff shall store
Staff shall wear protective gear when restraining             and maintain it under the same conditions as Class
aggressive detainees with open cuts or wounds. If             “A” tools. If an SMU lacks appropriate secure space,
force is necessary, protective gear shall include a full-     the equipment must be kept in a secure location
body shield.                                                  elsewhere in the facility.
                                                              2. Recordkeeping and Maintenance
Aggressive detainees in restraints shall be placed in
administrative segregation, and segregated from all           Each facility shall maintain a written record of
other detainees. Such detainees shall remain in a             routine and emergency distribution of security
Special Management Unit (SMU) until cleared to                equipment and shall specifically designate and
return to the general population by the chief                 incorporate, in one or more post orders,
immigration enforcement agent and the clinical                responsibility for staff to inventory chemical agents
director, with the facility administrator’s approval.         and related security equipment at least monthly to
3. Detainees with Special Medical or Mental Health            determine their condition and expiration dates.
Needs                                                         3. Use
If a situation arises involving a detainee with special       The facility administrator may authorize the use of
needs, the appropriate medical or mental health staff
                                                                    , In  c.
                                                              intermediate force weapons if a detainee:
shall be consulted prior to the calculated use of
                                                            C    ic barricaded;
                                                              ivand/or       2 2 or
                                                     o r e
                                                    a. is armed
                                                                        2  0
force. “Detainees with special needs” include
                                            o  v. Cb. cannote      4,
                                                              rbe1approached   without danger to self or
detainees with physical, intellectual, and
                                         win              b
                                    in  O
developmental disabilities and detainees with a
                                 d             D e cem others; and
                             cite 55221
mental health condition that may impair their,      c. a delay in controlling the situation would
                                 2 1  -
ability to understand the situation. Medical staff shall
                             No.
                                                       seriously endanger the detainee or others, or
be consulted in circumstances involving special-       would result in a major disturbance or serious
needs detainees. “Special needs” is defined in                    property damage.
Standard 7.5 “Definitions.”
                                                              Staff shall consult medical staff as practicable, before
G. Intermediate Force Weapons                                 using pepper spray or other intermediate force
                                                              weapons unless escalating tension makes such action
In this detention standard, “Intermediate Force
                                                              unavoidable. When possible, medical staff shall
Weapons” refers to weapons otherwise known as
                                                              review the detainee’s medical file for a disease or
“non-deadly force weapons,” “non-lethal weapons,”
                                                              condition that an intermediate force weapon could
or “less-than-lethal weapons.”
                                                              seriously exacerbate, including, but not limited to,
1. Storage                                                    asthma, emphysema, bronchitis, tuberculosis,
Ordinarily, when not actually in use, intermediate            obstructive pulmonary disease, angina pectoris,
force weapons and related equipment are permitted             cardiac myopathy or congestive heart failure.
only in designated areas:                                     In the use-of-force continuum, the collapsible steel
a. where access is limited to authorized personnel,           baton authorized below is an “impact weapon” that
   and                                                        is considered:

b. to which detainees and non-authorized personnel            a. a “soft” technique when used during “come-



2.15 | Use of Force and Restraints                          205                                        PBNDS 2011
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   alongs” or to apply gradual pressure for                     measures as admission to the facility hospital.
   compliance, or
                                                             2. Examine the detainee and immediately treat any
b. a “hard” technique when used for striking.                   injuries. The medical services provided and
As with any use of force, staff using an impact                 diagnosed injuries shall be documented.
weapon shall choose the appropriate level as                 3. Examine any involved staff member who reports
required by the totality of circumstances, and its use          an injury and, if necessary, provide initial
must be discontinued when adequate control of a                 emergency care. The examination shall be
detainee has been achieved.                                     documented.
4. Authorized Intermediate Force Devices                     4. A written report shall be provided to the shift
The following devices are authorized:                           supervisor by each officer involved in the use of
                                                                force by the end of the officer’s shift.
a. oleoresin capsicum (OC) spray (“pepper spray”);
                                                             The shift supervisor shall provide a written report to
b. collapsible steel baton;                                  the facility administrator or designee no later than
c. a 36” straight, or riot, baton; and                       the end of a tour of duty when force was used on
                                                             any detainee, or if any detainee remains in restraints
d. ICE authorized chemical and impact munitions              at the end of that shift.
5. Unauthorized Force Devices
                                                             I. Calculated Usecof. Force and/or
The following devices are not authorized:
                                                                      ivic, ofInRestraints
                                                             o
                                                                Application
                                                               re  C             2  2
                                                                                   02
a. saps, blackjacks and sap gloves;                       C
                                                      v. If a detainee      4 ,
                                                                      r 1is in a location where there is no
                                              w  ino              b e
                                        n  O
b. mace, CN, tear gas, or other chemical agents,
                                       i              D e  em threat to the detainee or others (for
                                                          cimmediate
   except OC spray;                 d
                             cite 55221             ,      example, a locked cell or range), staff shall take the
c. homemade devices or tools; and.  2 1  -                 time to assess the possibility of resolving the
                            No
d. any other device or tool not issued or approved
                                                           situation without resorting to force.

   by ICE/ERO.                                               A calculated use of force needs to be authorized in
                                                             advance by the facility administrator (or designee).
H. Immediate use of force
                                                             Medical staff shall review the detainee’s medical file
An “immediate-use-of-force” situation is created             for a disease or condition that an intermediate force
when a detainee’s behavior constitutes a serious and         weapon could seriously exacerbate, including, but
immediate threat to self, staff, another detainee,           not limited to, asthma, emphysema, bronchitis,
property, or the security and orderly operation of           tuberculosis, obstructive pulmonary disease, angina
the facility. In that situation, staff may respond           pectoris, cardiac myopathy, or congestive heart
without a supervisor’s direction or presence.                failure.
Upon gaining control of the detainee, staff shall seek       Calculated use of force is feasible and preferred to
the assistance of qualified health personnel to              immediate use of force in most cases and is
immediately:                                                 appropriate when the detainee is in a location where
1. Determine if the detainee or facility staff requires      the detainee poses no immediate threat of harm,
   continuing care and, if so, make the necessary            even if the detainee is verbalizing threats or
   arrangements. Continuing care may involve such            brandishing a weapon, provided staff sees no
                                                             immediate danger of the detainee’s causing harm to


2.15 | Use of Force and Restraints                        206                                        PBNDS 2011
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himself or others. Calculated use of force affords staff     Calculated use-of-force incidents shall be audio
time to strategize and resolve situations in the least       visually-recorded in the following order:
confrontational manner and assist to de-escalate the
                                                             a. Introduction by team leader stating facility name,
situation.
                                                                location, time, date, etc., describing the incident
1. Confrontation Avoidance                                      that led to the calculated use of force, and naming
Before authorizing the calculated use of force, the             the audiovisual camera operator and other staff
on-site ranking detention official, a designated                present.
health professional and others as appropriate shall          b. Faces of all team members shall briefly appear
assess the situation. Taking into account the                   (with helmets removed and heads uncovered),
detainee’s history and the circumstances of the                 one at a time, identified by name and title.
immediate situation, they shall determine the
                                                             c. Team Leader offers the detainee a last chance to
appropriateness of using force.
                                                                cooperate before team action, outlines the use-of-
The conferring staff may consider in their assessment           force procedures, engages in confrontation
the detainee’s medical/mental history, recent                   avoidance and issues use-of-force order.
incident reports involving the detainee, if any, and
                                                             d. Record entire use-of-force team operation,
emotional shocks or traumas that may be
                                                                unedited, until the detainee is in restraints.
contributing to the detainee’s state of mind (e.g., a
pending criminal prosecution or sentencing,
                                                                            ,  I  c.
                                                             e. Take close-ups of the detainee’s body during a
                                                                                n
divorce, illness, death).
                                                                r e    ivic 022
                                                                medical exam, focusing on the presence/absence
                                                                    C
                                                          . Co er 14, 2
                                                                of injuries. Staff injuries, if any, are to be
Interviewing staff familiar with the detainee might
                                                   in  o v         b
                                                                described but not shown.
                                            O   w
yield insight into the detainee’s current agitation or
                                                            c e m
                                 tedSuchin interviews
                                                    1  , De f. Debrief the incident with a full
                              c i
even pinpoint the immediate cause.
                                                  2
may also help identify those who have -
                                    2  1   552
                                         established            discussion/analysis/assessment of the incident.

                             No. personalities
rapport with the detainee or whose
suggest they might be able to reason with the
                                                             3. Use-of-Force Team Technique

detainee.                                                    When a detainee must be forcibly moved and/or
                                                             restrained during a calculated use of force, staff shall
2. Documentation and Audiovisual Recording                   use the use-of-force team technique to prevent or
While ICE/ERO requires that all use-of-force                 diminish injury to staff and detainees and exposure
incidents be documented and forwarded to ICE/ERO             to communicable disease. The technique usually
for review, for calculated use of force, it is required      involves five or more trained staff members clothed
that the entire incident be audio visually recorded.         in protective gear, including helmet with face shield,
The facility administrator or designee is responsible        jumpsuit, stab-resistant vest, gloves and forearm
for ensuring that use of force incidents are audio           protectors. Team members enter the detainee’s area
visually recorded. Staff shall be trained in the             together and have coordinated responsibility for
operation of audiovisual recording equipment. There          achieving immediate control of the detainee.
shall be a sufficient number of cameras appropriately        a. Staff shall be trained in the use-of-force team
located and maintained in the facility. The                     technique in sufficient numbers for teams to be
audiovisual record and accompanying                             quickly convened on all shifts in different
documentation shall be included in the investigation            locations throughout the facility. To use staff
package for the after-action review described below.            resources most effectively, the facility



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   administrator shall provide use-of-force team                  handle chemical agents).
   technique training for all staff members who             e. When restraints are necessary, the team shall
   could potentially participate in a calculated use of        choose ambulatory or progressive models
   force.                                                      (described later in this document) and may resort
b. The use-of-force team technique training shall              to four/five-point restraints only if the less
   include the technique, its application,                     restrictive devices prove ineffective.
   confrontation-avoidance, professionalism and             f. The supervisor shall provide a written report to
   debriefing.                                                 the facility administrator or designee, no later
c. Training shall also address the use of protective           than the end of a tour of duty when force was
   clothing and handling of spilled blood and body             used on any detainee, or if any detainee remains
   fluids.                                                     in restraints at the end of that shift.
   1) Use-of-force team members and others                  J. Evidence Protection and Sanitation
      participating in a calculated use of force shall
      wear protective gear, taking particular               The supervisor shall inspect areas of blood or other
      precautions when entering a cell or area where        body-fluid spillage after a use-of-force incident.
      blood or other body fluids could be present.          Unless the supervisor determines that the spillage
                                                            must be preserved as evidence, as specified under
   2) Staff members with a skin disease or skin
                                                                    , Inc.
                                                            standard “2.3 Contraband,” staff or properly trained

                                                               ivic 022
      injury shall not participate in a calculated use-     detainees shall immediately sanitize those areas,
      of-force action.
                                                           re C
d. The shift supervisor or another supervisor on no v.
                                                       Co       r 1 4 ,2
                                                            based on medical department guidance on

                                             O  wi       e m be
                                                            appropriate cleaning solutions and their use.
   duty:
                                    d in 21, De        c    Standard “1.2 Environmental Health and Safety”
                              c ite                         provides detailed guidance for cleaning areas with
                                      1  -   52
                                           5and
   1) must be on the scene prior to any calculated
                                                            blood and other body fluid spills.
                                    2
                             N .
      use of force to direct theooperation
      continuously monitor staff compliance with            Standard sanitation procedures shall be followed in
      policy and procedure;                                 areas with blood or other body fluid spillage.
                                                            Wearing the appropriate protective gear, staff and/or
   2) shall not participate except to prevent
                                                            detainees shall immediately apply disinfectant to
      impending staff injury;
                                                            sanitize surfaces such as walls and floors, furniture,
   3) shall seek the advance guidance of qualified          etc. Articles of clothing and use-of-force equipment
      health personnel (based on a review of the            contaminated with body fluids shall likewise be
      detainee’s medical record) to identify physical       disinfected or destroyed as needed and appropriate.
      or mental issues and, whenever feasible,
                                                            K. Maintaining Audiovisual Recording
      arrange for a health services professional to be
      present to observe and immediately treat any             Equipment and Records
      injuries;                                             Staff shall store and maintain audiovisual recording
   4) shall exclude from the use-of-force team any          equipment under the same conditions as “restricted”
      staff member involved in the incident                 tools. The equipment must be kept in a secure
      precipitating the need for force; and                 location elsewhere in the facility.
   5) may expand the use-of-force team to include           Since audiovisual recording equipment must often
      staff with specific skills (e.g., those who           be readily available, each facility administrator shall


2.15 | Use of Force and Restraints                        208                                        PBNDS 2011
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designate and incorporate in one or more post                 3. martin chain;
orders responsibility for:
                                                              4. waist or belly chain: case-hardened chains with a
1. maintaining cameras and other audiovisual                     minimum breaking strength of approximately
   equipment;                                                    800 pounds;
2. regularly scheduled and documented testing to              5. handcuff cover: cases for the security of handcuffs
   ensure all parts, including batteries, are in                 used on high security detainees;
   working order; and
                                                              6. soft restraints: nylon/leather type with soft arm
3. keeping back-up supplies on hand (e.g., batteries,            and leg cuffs containing soft belts with key locks;
   tapes or other recording media, lens cleaners).
                                                              7. plastic cuffs: disposable; and
Each audiovisual record shall be catalogued and
                                                              8. any other ICE/ERO-approved restraint device.
preserved until no longer needed, but shall be kept
no less than six years after its last documented use.         Deviations from this list of restraint equipment are
In the event of litigation, the facility shall retain the     strictly prohibited.
relevant audiovisual record a minimum of six                  M. Ambulatory and Progressive Restraints
months after the litigation has concluded or been
resolved.                                                     When sufficient for protection and control of a
                                                              detainee, staff shall apply ambulatory restraints,
**The relevant audiovisual record shall be retained
                                                                           ,  In c.
                                                              which are soft and hard equipment that provides
by the facility for one year after litigation or any
                                                                e  C  ivic 022
                                                              freedom of movement sufficient for eating, drinking
                                                               r
                                                        . Co er 14, 2
investigation has concluded or been resolved.
The audiovisual records may be catalogued win       o  v      and other basic needs without staff assistance or
                                                                 b
                                            O             c e m
                                                              intervention;

                             c ite d inprovided
electronically or on 3” x 5” index cards,
                                                 2 1 , De If ambulatory restraints are insufficient to protect
                                      1 - 5 52
that the data can be searched by date and detainee
                                                           and control a detainee, staff may apply progressive
                                 . 2
usage.                      No
name. A log shall document audiovisual    record
                                                           restraints, which are more secure or restrictive. The
                                                              facility administrator shall decide on the appropriate
Use-of-force audiovisual records shall be available           restraint method, i.e., hard restraints with/without
for supervisory, Field Office and ICE/ERO                     waist chain or belt; four/five-point soft restraints
headquarters incident reviews and may also be used            with hard restraints to secure the detainee to a bed;
for training.                                                 four/five-point hard restraints, etc.
Release of use-of-force audiovisual recordings to the         In situations involving a highly assaultive and
news media may occur only if authorized by the                aggressive detainee, progressive restraints may be
Director of Enforcement and Removal Operations, in            needed as an intermediate measure while placing a
accordance with ICE/ERO procedures and rules of               detainee in, or removing a detainee from, four/five-
accountability.                                               point restraints.
L. Approved Restraint Equipment                               Once a detainee has been placed in ambulatory
                                                              restraints, the shift supervisor is required to conduct
The following restraint equipment is authorized:              a physical check of the detainee once every two
1. handcuffs: stainless steel, 10 oz.;                        hours to determine if the detainee has stopped the
                                                              behavior which required the restraints and thus
2. leg irons: stainless steel and must meet the
                                                              restraints are no longer necessary. Once a positive
   National Institute of Justice standard;


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behavioral change has been achieved, a decision to               permit re-evaluation of the use of restraints.
remove the restraints or place the detainee in less          2. Medical Staff
restrictive restraints shall be made. If this has not
been achieved, the shift supervisor shall document           A health professional shall test the detainee’s
the reason for continuance of the ambulatory                 breathing, other vital signs and physical and verbal
restraints.                                                  responses. If the detainee is bed-restrained, the
                                                             health professional shall determine how the detainee
The supervisor shall provide a written report to the
                                                             must be placed. Qualified health personnel are
facility administrator no later than the end of the
                                                             required to visit the detainee at least twice per eight-
tour of duty when any detainee remains in restraints
                                                             hour shift. When qualified health personnel are not
at the end that shift.
                                                             immediately available, staff shall place the detainee
N. Four/Five-Point Restraints                                in a “face-up” position until the medical evaluation
                                                             can be completed. Medical checks shall be
1. General Requirements
                                                             documented. Mental health assessments shall be
When four/five-point restraints are necessary, staff         conducted by a qualified health professional when
shall:                                                       restraints are utilized for more than eight hours. In
                                                             such instances, detainees should also be assessed by a
a. Use soft restraints (e.g., vinyl), unless they:
                                                             qualified mental health professional as soon as
   1) were previously ineffective with this detainee,        possible.
                                                                           ,  In c.
                                                                     ivic 022
      or
                                                          3. Shift Supervisor
                                                              r e C
   2) proved ineffective in the current instance.
                                                      v    o shift supervisor
                                                       . CThe        r 1  4  , 2shall be responsible for the
b. Provide the detainee with temperature- win       o        m  be
   appropriate clothing and a bed, d
                                            O            c e
                                                          following:
                                       in sheet,1, De a. The shift supervisor shall review a detainee in
                             c ite  mattress,
   and/or blanket. Under no circumstance5      22a
                                      1  - 5 shall
                                    2 cover (sheet or         four/five-point restraints every two hours. If the
                               o .
   detainee remain naked or without
                            N                                 detainee has calmed down and restraints are no
   blanket) unless deemed necessary by qualified
                                                                 longer necessary, they may be removed and, if
   health personnel.
                                                                 appropriate, replaced by a less restrictive device.
c. Check and record the detainee’s condition at least
                                                             b. At every two-hour review, the detainee shall be
   every 15 minutes to ensure that the restraints are
                                                                afforded the opportunity to use the toilet, unless
   not hampering circulation and to monitor the
                                                                the detainee actively resists or becomes combative
   general welfare of the detainee. If the detainee is
                                                                when released from restraints for this purpose.
   confined by bed restraints, staff shall periodically
   rotate the detainee’s position to prevent soreness        c. The decision to release the detainee or apply less
   or stiffness.                                                restrictive restraints shall not be delegated below
                                                                the shift supervisor’s level. The shift supervisor
d. All facilities shall document all checks of detainees
                                                                may seek advice from mental or medical health
   in four/five point restraints every 15 minutes.
                                                                professionals about when to remove the
   Staff shall use the SMU logbook to record each               restraints.
   15-minute check of detainees in four/five-point
                                                             The shift supervisor shall document each two-hour
   restraints. Documentation shall continue until
                                                             review in the SMU logbook.
   restraints are removed. The shift supervisor shall
   be immediately notified if the detainee is calm, to       4. Facility Administrator



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a. When any detainee is restrained for more than            1) Soft techniques, such as grasping and empty-
   eight hours, the facility administrator shall               hand holds
   telephonically notify the Assistant Field Office
                                                            2) Use of ambulatory restraints.
   Director and provide updates every eight hours
   until the restraints are removed.                        Note that PBNDS requires that detainees placed in
                                                            ambulatory restraints be checked every two hours,
b. The facility administrator shall provide the Field
                                                            with written reports to the facility administrator at
   Office Director with written documentation of
                                                            the end of each shift. Accordingly, use of
   the reason(s) for placing the detainee in
                                                            ambulatory restraints for periods that exceed 36
   four/five-point restraints, regardless of duration,
                                                            hours require notification to the Field Office.
   on the following workday.
                                                            2. Use of Force Form
O. Documentation of Use of Force and
                                                            All facilities shall have an ICE/ERO-approved form to
Application of Restraints
                                                            document all uses of force.
Staff shall prepare detailed documentation of all           Within two working days, copies of the report shall
incidents involving use of force, including chemical        be placed in the detainee’s A-File and sent to the
agents, or intermediate force weapons. Staff shall          Field Office Director.
also document the use of restraints on a detainee
who becomes violent or displays signs of imminent           A report is not necessary for the general use of
                                                                           ,  In c.
                                                            restraints (for example, the routine movement or
                                                                      ivic 022
violence. A copy of the report shall be placed in the
detainee’s detention file.                                        eC
                                                            transfer of detainees).
                                                                r
                                                        v    o shall prepare
                                                         . CStaff     r 1  4 ,a2use of force form for each
1.       Report of Incident
                                               w    ino        m  beinvolving use of force. The report shall
                                            O              c e
                                    dofinall uses 2of1, De identify the detainee(s), staff and others involved
                                                            incident
                              c ite
Facilities shall promptly notify FODs
force involving:
                                    2 1 - 552               and describe the incident. If intermediate force
1) Intermediate force devices,    .
                            Noincluding:                    weapons are used (e.g. collapsible steel baton or 36-
                                                            inch straight (riot) baton), the location of the strikes
   a) Pepper spray or other chemical agents
                                                            must be reported on the use of force form. Each staff
   b) Batons                                                member shall complete a memorandum for the
   c) Impact munitions                                      record to be attached to the original Use of Force
                                                            form. The report, accompanied by the
   d) Tasers                                                corresponding medical report(s), must be submitted
2) Other hard control techniques, such as:                  to the facility administrator by the end of the shift
                                                            during which the incident occurred.
   a) Strikes, kicks or punches
                                                            3. Audiovisual Recording Use-of-Force Incidents
   b) Throws or “take-downs”
                                                            Staff shall immediately obtain an audiovisual camera
3) Deadly force (i.e., any use of force that is
                                                            to record any calculated use of force incident, unless
   reasonably likely to cause death or serious
                                                            such a delay in bringing the situation under control
   physical injury)
                                                            would constitute a serious hazard to the detainee,
4) Use of Progressive (i.e., Four-Point and Five-           staff, or others, or would result in a major
   Point) Restraints                                        disturbance or serious property damage.
Notifications are typically not necessary for:              The facility administrator shall review the


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audiovisual recording within four working days of            claim of injury occurs, the staff member must
the incident and shall then send the Field Office            immediately prepare an incident report. The detainee
Director a copy for review. The Field Office Director        will be referred immediately to medical staff for an
shall forward audiovisual recordings of questionable         examination. A copy of the staff member’s incident
or inappropriate cases to the Deputy Assistant               report will be forwarded to medical and to ICE/ERO.
Director, Detention Management Division, for                 3. Composition of an After-Action Review Team
further review.
                                                             The facility administrator, the assistant facility
When an immediate threat to the safety of the
                                                             administrator, the Field Office Director’s designee
detainee, other persons, or property makes a delayed
                                                             and the health services administrator (HSA) shall
response impracticable, staff shall activate a video
                                                             conduct the after-action review. This four-member
camera and start recording the incident as quickly as
                                                             after-action review team shall convene on the
possible. After regaining control of the situation,
                                                             workday after the incident. The after-action review
staff shall follow the procedures applicable to
                                                             team shall gather relevant information, determine
calculated use-of-force incidents.
                                                             whether policy and procedures were followed, make
4. Recordkeeping                                             recommendations for improvement, if any, and
All facilities shall assign a designated individual to
                                                             complete an after-action report to record the nature
maintain all use-of-force documentation.
                                                             of its review and findings. The after-action report is

                                                                              , In c.
                                                             due within two workdays of the detainee’s release
The designated individual shall maintain all use of
                                                                           ic
                                                             from restraints.
                                                           Civ
force documentation, including the audiovisual
                                                   C o  re
                                                                   4  , 2  022
                                                             4. Review of Audiovisual Recording

                                        w ino v. Themafter-action
record and the original after-action review form for a
                                                          b er 1 review team shall also review the
                                in   O
minimum of six years. A separate file shall be
                                               D e  e
                                                   caudiovisual
                             d
                       cite 55221
established on each use of force incident.   ,                  recording of any use-of-force incidents
P. After-Action Review of Use2 1
                               of - Force and
                                                    for compliance  with all provisions of this standard,
                      No.
   Application of Restraints
                                                    with particular attention paid to:
                                                             a. whether the use-of-force team technique was
1. Written Procedures Required                                  exercised properly;
All facilities shall have ICE/ERO-approved written           b. the professionalism of the shift supervisor;
procedures for after-action review of use of force
                                                             c. adherence to the requirement of wearing
incidents (immediate or calculated) and applications
                                                                prescribed protective gear;
of restraints. The primary purpose of an after-action
review is to assess the reasonableness of the actions        d. ensuring that unauthorized items, equipment or
taken and determine whether the force used was                  devices (e.g., towels, tape, surgical masks,
proportional to the detainee’s actions.                         hosiery) were not used;
All facilities shall model their incident review process     e. whether team members applied only as much
after ICE/ERO’s process and submit it to ICE/ERO                force as necessary to subdue the detainee,
for ERO review and approval. The process must meet              including whether team members responded
or exceed the requirements of ICE/ERO’s process.                appropriately to a subdued or cooperative
                                                                detainee or a detainee who discontinued his/her
2. Medical Evaluation
                                                                violent behavior;
When any use of force resulting in an injury or
                                                             f. whether the shift supervisor was clearly in charge


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   of team and situation. This includes intervention       o. if the incident review reveals a violation of
   at the first sign of one or more team members              ICE/ERO policy or procedures, the after-action
   applying more force than necessary;                        review team shall then determine whether the
                                                              situation called for improvised action and, if so,
g. whether the detainee received and rejected the
                                                              whether the action taken was reasonable and
   opportunity to submit to restraints voluntarily
                                                              appropriate under the circumstances.
   before the team entered the cell/area. If he/she
   submitted, team action should not have been             The after-action review team shall complete and
   necessary;                                              submit its after-action review report to the facility
                                                           administrator within two workdays of the detainee’s
h. whether team members exerted more pressure
                                                           release from restraints. The facility administrator
   than necessary to the detainee’s thorax (chest and
                                                           shall review and sign the report, acknowledging its
   back), throat, head and extremities when
                                                           finding that the use of force was appropriate or
   applying restraints;
                                                           inappropriate.
i. the amount of time needed to restrain the
                                                           5. Report of Findings to Field Office Director
   detainee. Any non-resisting detainee restrained
   for longer than necessary could indicate training       Within two workdays of the after-action review
   problems/ inadequacies;                                 team’s submission of its determination, the facility
j. whether team members wore protective gear               administrator shall report with the details and
                                                                         Inc.
                                                           findings of appropriate or inappropriate use of force,
                                                                       ,
                                                                   ivic 022
   inside the cell/area until the operation was
   completed;
                                                               re C
                                                           by memorandum, to the Field Office Director and

                                                      o v. Co er 14, 2
                                                           whether he/she concurs with the finding. Included

                                            O  w  inthe
k. whether there was continuous audiovisual coverage
                                                             e m b
                                                           in the report shall be consideration of the following:
                                    d inshall 21, De
   from the time the camera started recording  until       c
                                                           whether proper reporting procedures were followed;
                              citeteam
   incident concluded. The review
                                           552from         in the event of five point restraints, whether checks
                                    2
   investigate any breaks or sequences
                                  .    1 -
                                       missing             were made and logged at the appropriate times; and
   the audiovisual record; No                              whether appropriate medical care was provided once
l. whether a medical professional promptly                 the situation was under control.
   examined the detainee, with the findings reported       6. Further Investigation
   on the audiovisual record;
                                                           The review team’s investigative report will be
m. whether use of chemical agents, pepper spray,           forwarded to the Field Office Director for review.
   etc., was appropriate and in accordance with            The Field Office Director will determine whether the
   written procedures;                                     incident shall be referred to the Office of
n. whether team member(s) addressed derogatory,            Professional Responsibility, the Department of
   demeaning, taunting, or otherwise                       Homeland Security, Office of the Inspector General
   inappropriate/inflammatory remarks made to              or the Federal Bureau of Investigation.
   detainee or person(s) outside the cell or area; and




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                                                               3. Disciplinary segregation shall only be ordered
3.1 Disciplinary System                                           when alternative dispositions may inadequately
                                                                  regulate the detainee’s behavior.
I. Purpose and Scope
                                                               4. Where permitted by facility policy, staff shall
This detention standard promotes a safe and orderly               informally settle minor transgressions through
living environment for detainees by establishing a                mutual consent, whenever possible.
fair and equitable disciplinary system, requiring
                                                               5. Staff who have reason to suspect that a detainee
detainees to comply with facility rules and
                                                                  has engaged in a prohibited act or who witness a
regulations, and imposing disciplinary sanctions to
                                                                  prohibited act that cannot or should not be
those who do not comply.
                                                                  resolved informally, shall prepare a clear, concise
This detention standard applies to the following                  and complete Incident Report.
types of facilities housing ICE/ERO detainees:
                                                               6. Each Incident Report shall be objectively and
  x   Service Processing Centers (SPCs);                          impartially investigated and reported, ordinarily
                                                                  by a person of supervisory rank.
  x   Contract Detention Facilities (CDFs); and
                                                               7. A serious incident that may constitute a criminal
  x   State or local government facilities used by                act shall be referred to the proper investigative
      ERO through Intergovernmental Service                       agency as appropriate, and administrative
      Agreements (IGSAs) to hold detainees for more
                                                                                ,  I n c.
                                                                         ivic 022
                                                                  investigations shall be suspended pending the
      than 72 hours.
                                                                o r e C
                                                                  outcome of that referral.
                                                                                     2
Procedures in italics are specifically required for o v. C8. At eachrstep   1 4   , the
SPCs, CDFs, and Dedicated IGSA facilities. O     w   in         e m  be the detaineedisciplinary
                                                                                of                   and appeal

                                      d  in    Non-
                                                          D e c   process,                shall be advised in writing
                              cite alternatives,
dedicated IGSA facilities must conform     to these
                                                 2  21  ,         of his/her rights in a language he/she
                                            5  5
                                o  .  21- represented
procedures or adopt, adapt or establish                           understands, and translation or interpretation
provided they meet or exceed N   the intent                       services shall be provided as needed.
by these procedures.
                                                               9. When a detainee has a diagnosed mental illness or
Various terms used in this standard may be defined                mental disability, or demonstrates symptoms of
in standard “7.5 Definitions.”                                    mental illness or mental disability, a mental
                                                                  health professional, preferably the treating
II. Expected Outcomes                                             clinician, shall be consulted to provide input as to
The expected outcomes of this detention standard                  the detainee’s competence to participate in the
are as follows (specific requirements are defined in              disciplinary hearing, any impact the detainee’s
“V. Expected Practices”).                                         mental illness may have had on his or her
                                                                  responsibility for the charged behavior, and
1. Detainees shall be informed of facility rules and
                                                                  information about any known mitigating factors
   regulations, prohibited acts, disciplinary sanctions
                                                                  in regard to the behavior.
   that may be imposed, their rights in the
   disciplinary system and the procedure for                   10. A Unit Disciplinary Committee (UDC) shall
   appealing disciplinary findings.                                further investigate and adjudicate the incident
                                                                   and may impose minor sanctions or refer the
2. Each facility shall have graduated severity scales of
                                                                   matter to a higher level disciplinary panel.
   prohibited acts and disciplinary consequences.
                                                               11. An Institution Disciplinary Panel (IDP) shall


3.1 | Disciplinary System                                  214                                          PBNDS 2011
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    conduct formal hearings on Incident Reports                 not limited to, the following: the right to
    referred from investigations or UDCs and may                protection from abuse; the right to freedom
    impose higher level sanctions for “greatest” and            from discrimination; the right to pursue a
    “high” level prohibited acts.                               grievance; the right to correspond with persons
                                                                or organizations; and the right to due process.
12. Detainees before the IDP shall be afforded a staff
    representative, upon request, or automatically if       20. The facility shall provide communication
    the detainee is illiterate, has limited English             assistance to detainees with disabilities and
    language skills or otherwise needs special                  detainees who are limited in their English
    assistance.                                                 proficiency (LEP). The facility will provide
                                                                detainees with disabilities with effective
13. Actions of the IDP shall be reviewed by the
                                                                communication, which may include the
    facility administrator, who may concur with the
                                                                provision of auxiliary aids, such as readers,
    findings and sanctions or modify them.
                                                                materials in Braille, audio recordings, telephone
14. At all steps in the disciplinary process, any               handset amplifiers, telephones compatible with
    sanctions imposed shall be commensurate with                hearing aids, telecommunications devices for
    the severity of the committed prohibited act and            deaf persons (TTYs), interpreters, and note-
    intended to encourage the detainee to conform               takers, as needed. The facility will also provide
    with rules and regulations in the future.                   detainees who are LEP with language assistance,
                                                                              , In c.
                                                                including bilingual staff or professional
                                                                       ivic 022
15. All steps of the disciplinary process shall be
    performed within the required time limits.                    e C
                                                                interpretation and translation services, to provide
                                                                 r
                                                        o v. Co er 14, 2
                                                                them with meaningful access to its programs and

                                               O     in
16. At all steps of the disciplinary process, accurate
                                                  w            e m b
                                                                activities.
                                           in
    and complete records shall be maintained.       The      c
                                                          De All written materials provided to detainees shall
                                citofedall reports,
    detainee shall receive copies
                                              552or 2 1 ,
                                      2  1
    exhibits and other documents considered
                                   .        -                    generally be translated into Spanish. Where
    generated in the hearingN    o except insofar
                                process,                         practicable, provisions for written translation
    as the disclosure of such documents may pose an             shall be made for other significant segments of
    imminent threat to the safety, security and                 the population with limited English proficiency.
    orderly conduct of the facility staff or other              Oral interpretation or assistance shall be provided
    detainees, or if the document or other evidence             to any detainee who speaks another language in
    is otherwise protected from disclosure.                     which written material has not been translated or
17. If a detainee is found not guilty at any stage of           who is illiterate.
    the disciplinary process, the incident records
    shall not be placed or retained in the detainee’s
                                                            III. Standards Affected
    file, even if these records are retained elsewhere      This detention standard replaces “Disciplinary
    for statistical or historical purposes.                 Policy” dated 12/2/2008.
18. Detainees shall be allowed to appeal disciplinary
    decisions through a formal grievance system. No
                                                            IV. References
    staff member shall harass, discipline, punish or        American Correctional Association, Performance-
    otherwise retaliate against any detainee for filing     based Standards for Adult Local Detention
    a complaint or grievance.                               Facilities, 4th Edition: 4-ALDF-3A-01, 3A-02, 6B-
19. Detainees shall be afforded rights including, but       05, 6C-01 through 6C-19.


3.1 | Disciplinary System                                 215                                       PBNDS 2011
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V. Expected Practices                                            mental illness or mental disability, a mental
                                                                 health professional, preferably the treating
A. Guidelines                                                    clinician, shall be consulted to provide input as to
                                                                 the detainee’s competence to participate in the
1. Detainees with limited English proficiency (LEP)
                                                                 disciplinary hearing, any impact the detainee’s
   shall receive translation or interpretation services,
                                                                 mental illness may have had on his or her
   and detainees with disabilities shall receive
                                                                 responsibility for the charged behavior, and
   appropriate accommodations in order to
                                                                 information about any known mitigating factors
   meaningfully participate in the investigative,
                                                                 in regard to the behavior.
   disciplinary, and appeal process.
                                                             7. The facility shall not hold a detainee accountable
2. Each facility holding ICE/ERO detainees in
                                                                for his/her conduct if a medical authority finds
   custody shall have a detainee disciplinary system
                                                                him/her mentally incompetent. For purposes of
   with progressive levels of reviews, appeals,
                                                                these standards, a mentally incompetent
   procedures and documentation procedures.
                                                                individual is defined as an individual who is
   Written disciplinary policy and procedures shall
                                                                unable to appreciate the difference between
   clearly define detainee rights and responsibilities.
                                                                appropriate and inappropriate behavior, or
   The policy, procedures and rules shall be
                                                                between “right” and “wrong.” Such an individual
   reviewed annually at a minimum.
                                                                is not capable of acting in accordance with those
3. Disciplinary action may not be capricious or
                                                                           ,  In c.
                                                                norms and therefore, cannot be held responsible
   retaliatory nor based on race, religion, national
                                                             r  e C  ivic 022
                                                                for his/her “wrongful” actions.
   origin, gender, sexual orientation, disability or
                                                      v. C8.oIf a detainee
                                                                     r  1  4 , a2mental disability or mental
   political beliefs.                          w in o        m   bebut is competent, the disciplinary process
                                                                           has
                                             O           c e
                                      d in any 21, De shall consider whether the detainee’s mental
                                                             illness
                               c iteprocess,
4. At all steps in the disciplinary
                                        1
   sanctions imposed shall be commensurate
                                      2   - 552with          disabilities or mental illness contributed to his or
   the severity of the committed    .
                              No prohibited act and          her behavior when determining what type of
   intended to encourage the detainee to conform                 sanction, if any, should be imposed. A mental
   with rules and regulations in the future.                     health professional should also be consulted as to
5. Staff may not impose or allow imposition of the               whether certain types of sanctions, (e.g.,
   following sanctions: corporal punishment;                     placement in disciplinary segregation, loss of visits,
   deprivation of food services, to include use of               or loss of phone calls) may be inappropriate
   Nutraloaf or “food loaf”; deprivation of clothing,            because they would interfere with supports that
   bedding or items of personal hygiene; deprivation             are a part of the detainee’s treatment or recovery
   of correspondence privileges; deprivation of legal            plan.
   access and legal materials; or deprivation of             9. A person who cannot assist in his/her own
   indoor or outdoor recreation, unless such activity           defense because he/she lacks the ability to
   would create a documented unsafe condition                   understand the nature of the disciplinary
   within the facility. Any sanction imposed shall be           proceedings, as determined by a medical
   approved by the facility administrator and                   authority, shall be considered incompetent.
   reviewed by the Field Office Director.                       Disciplinary proceedings against such a detainee
6. When a detainee has a diagnosed mental illness or            shall be postponed until such time as the detainee
   mental disability, or demonstrates symptoms of               is able to understand the nature of the
                                                                disciplinary proceedings and to assist in his/her


3.1 | Disciplinary System                                  216                                         PBNDS 2011
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   own defense. If the detainee’s mental status does         1. Disciplinary Severity Scale;
   not improve within a reasonable amount of time,
                                                             2. Prohibited Acts; and
   the officer must find the detainee incompetent to
   assist in his/her own defense, and note such              3. Sanctions.
   finding on the Incident Report.                           C. Disciplinary Severity Scale and
B. Notice to Detainees                                          Prohibited Acts
The detainee handbook, or supplement, issued to              All facilities shall have graduated scales of offenses
each detainee upon admittance, shall provide notice          and disciplinary consequences as provided in this
of the facility’s rules of conduct and prohibited acts,      section.
the sanctions imposed for violations of the rules, the
                                                             Prohibited acts are divided into four categories:
disciplinary severity scale, the disciplinary process
                                                             “greatest,” “high,” “moderate” and “low
and the procedure for appealing disciplinary
                                                             moderate.” The sanctions authorized for each
findings. Detainees shall have the following rights
                                                             category shall be imposed only if the detainee is
and shall receive notice of them in the handbook:
                                                             found to have committed a prohibited act (see
1. The right to protection from personal abuse,              “Appendix 3.1.A: Offense Categories”).
   corporal punishment, unnecessary or excessive             1. Greatest Offenses
   use of force, personal injury, disease, property
                                                           The IDP shall impose
                                                                               In   . execute at least one
                                                                                  cand
   damage and harassment;
                                                                            ,
                                                                         ic1 through22
                                                           sanction inivthe
2. The right of freedom from discrimination based
                                                            o r e C                0
                                                                                       5 range. Additional
                                                                                 2 and either executed or
   on race, religion, national origin, gender, sexualo v. C
                                                           sanctions  may be
                                                                      r  1  4 ,imposed
                                                  in
                                           Ow Dec2.em            be at the discretion of the panel.
                                                           suspended,
                                       n
   orientation, physical or mental ability, or political
                                      i
                             cited 55221,
   beliefs;                                         High Offenses

                                 .
3. The right to pursue a grievance in   -
                                   21accordance  The IDP shall impose and execute at least one
   with procedures provided
                               o
                            Nin the detainee     sanction in the 1 through 12 range. Additional
   handbook, without fear of retaliation;                    sanctions (1 through 12) may be imposed or may be
                                                             suspended at the discretion of the panel.
4. The right to pursue a grievance in accordance
   with standard“6.2 Grievance System” and                   3. High Moderate Offenses
   procedures provided in the detainee handbook.             The IDP shall impose at least one sanction in the 1
5. The right to correspond with persons or                   through 13 range, but may suspend any or all, once
   organizations, consistent with safety, security and       imposed. Similarly, the UDC shall impose at least
   the orderly operation of the facility; and                one sanction in the 7 through 13 range, but may
                                                             suspend any or all, once imposed.
6. The right to due process, including the prompt
   resolution of a disciplinary matter.                      4. Low Moderate Offenses

Copies of the rules of conduct, rights and                   The IDP shall impose at least one sanction in the 1
disciplinary sanctions shall be provided to all              through 9 range, but may suspend any or all, once
detainees and posted in English, Spanish, and other          imposed. Similarly, the UDC shall impose at least
languages spoken by significant segments of the              one sanction in the 3 through 9 range, but may
population with limited English proficiency. Copies          suspend any or all, once imposed.
to be provided and posted are as follows:                    D. Incident Report

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Officers who witness a prohibited act, or have                incident, as either witness or officer at the scene. If
reason to suspect one has been committed, shall               an officer below supervisory rank conducts the
immediately prepare and submit an Incident Report.            investigation, the shift supervisor shall review
All Incident Reports must state facts clearly, precisely      his/her report(s) for accuracy and completeness and
and concisely, omitting no details that may prove             sign them.
significant. Reports also shall identify the officer(s),
                                                              The investigating officer shall:
the detainee(s) and all witnesses to the incident.
                                                              1. Commence the investigation within 24 hours of
Minor transgressions shall be settled informally and
                                                                 receipt of the Incident Report.
by mutual consent whenever possible. If, however,
the officer involved thinks an informal resolution is         2. Advise the detainee of his/her right to remain
inappropriate or unattainable, he or she shall prepare           silent at every stage of the disciplinary process,
an Incident Report and submit it to the appropriate              and ensure that he/she has a complete listing of
supervisor before the end of the assigned shift.                 detainee rights.
ICE/ERO pre-approval is required for use of ICE               3. Complete the investigation within 72 hours of
Incident Report forms in CDFs and IGSA facilities.               receipt of the Incident Report, barring exceptional
                                                                 circumstances.
The Incident Report shall cite the relevant rule or
standard without quoting it in its entirety. (For       4. Provide the detainee a copy of the Incident Report
                                                           and notice of charges. immediately after the
example, in the event of destruction of government
                                                                           ,  I  c
                                                                               ninvestigation..
                                                               Civ
                                                           conclusion  ic of the
                                                                                  022 investigation, if the
property, the report shall cite, briefly, “Code 218—
                                                       C o r e               ,  2
Destroying Government Property,” specify the exact
manner in which the detainee is alleged to have ino v
                                                     .  5. Terminate
                                                                e         4
                                                                   r is1under investigation on different
                                                                         the  administrative
                                                 w
                                              O all Decem     b
                                                           incident
violated the cited rule or standard, andin include
                                     d
                               citeand places.) 221,
                                                           grounds (i.e., the prohibited act is under criminal

                                       1-55
relevant facts such as time, dates                         investigation), unless and until the agency with

                               N   . 2 in the
If the officer observes anythingounusual                          primary jurisdiction concludes its investigation or
detainee’s behavior or demeanor, he/she shall so                  indicates it shall not pursue the matter.
note in the report. The reporting officer shall also list         Contraband that may be evidence in connection
all staff, contract officers, and/or detainee witnesses           with a violation of a criminal statute shall be
to the incident and the disposition of any physical               preserved, inventoried, controlled and stored so
evidence (e.g., weapons, property, etc.) relating to              as to maintain and document the chain of
the incident. The reporting officer shall sign the                custody. Contraband shall be reported to the
report and include title, date and time the report was            appropriate law enforcement authority for action
signed. The shift supervisor shall review all Incident            and possible seizure and prosecution. See
Reports before going off duty.                                    “Preservation of Evidence” in standard “2.10
E. Investigations                                                 Searches of Detainees.”
                                                              6. Advise the detainee in writing of his/her due
All facilities shall have procedures in place to ensure
                                                                 process rights before the UDC, or before the IDP
that all Incident Reports are investigated within 24
                                                                 if the case is being referred directly to the IDP, as
hours of the incident.
                                                                 provided in this standard.
The investigating officer must have supervisory rank
                                                              7. Record personal observances and other potentially
or higher (unless prevented by personnel shortages)
                                                                 material information.
and shall have had no prior involvement in the


3.1 | Disciplinary System                                   218                                        PBNDS 2011
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8. Prepare a factual report of the investigation,            5. impose minor sanctions in accordance with the
   including the location or disposition of any                 table of prohibited acts and associated sanctions
   physical evidence.                                           later in this document; minor sanctions are those
9. Forward to the UDC or directly to the IDP all                listed sanctions other than initiation of criminal
   reports relevant to the disciplinary hearing—..              proceedings, recommended disciplinary transfer,
                                                                disciplinary segregation, or monetary restitution.
F. Unit Disciplinary Committee (UDC)
                                                             The detainee in UDC proceedings shall have the right
All facilities shall establish an intermediate level of      to due process, which includes the rights to:
investigation/adjudication process to adjudicate low         1. remain silent at any stage of the disciplinary
or moderate infractions. They shall also ensure that            process;
the detainee is afforded all the UDC rights listed
below.                                                       2. have a UDC hearing within 24 hours after the
                                                                conclusion of the investigation, unless the
The UDC administering unit discipline shall                     detainee:
comprise up to three members, at least one of whom
is a supervisor. The UDC shall not include the                  a. waives the notification period and requests an
reporting officer, the investigating officer, or an                immediate hearing, or
officer who witnessed or was directly involved in the           b. requests more time to gather evidence or
incident, except in the unlikely event that every
                                                                           ,  I n c.
                                                                   otherwise prepare a defense;
available officer witnessed or was directly involved
                                                               e  C
                                                          3. attend   vicentire hearing
                                                                    ithe            2  2(excluding committee
in the incident.
                                                           o r               ,  2 0
The UDC shall conduct hearings and, to the best ino v
                                                        .C              1 4
                                                             deliberations),
                                                                     r         or waive the right to appear.

                                            O   w          e m   be considerations prevent detainee
                                    d in charges
extent possible, shall informally resolve cases          c   If security
                                                       De attendance, the committee must document the
                             citemoderate        2 1 ,
involving high moderate or low
                                    2  1 - 552      in
                                                             security considerations and, to the extent
                             No   .
accordance with the list of charges  and related
                                                             possible, facilitate the detainee’s participation in
sanctions noted as “Appendix 3.1.A: Offense
                                                                the process via telephonic testimony, document
Categories.” Unresolved cases and cases involving
                                                                submission, written statements or questions to be
serious charges are forwarded to the institution
                                                                asked of witnesses;
disciplinary panel, and may be referred to the IDP
without a hearing.                                           4. Present statements and evidence, including
                                                                witness testimony on his/her own behalf; and
The UDC shall have authority to:
                                                             5. Appeal the committee’s determination through
1. conduct hearings and resolve incidents involving
                                                                the detainee grievance process.
   high moderate or low moderate charges;
                                                             The UDC shall:
2. consider written reports, statements and physical
   evidence;                                                 1. verify that the detainee has been advised of and
                                                                afforded his/her due process rights, as provided
3. hear pleadings on the part of the detainee;
                                                                above in this standard;
4. make findings that a detainee did or did not
                                                             2. refer to the IDP any incident involving a serious
   commit the rule violation(s) or prohibited act(s)
                                                                violation that may result in the following
   as charged, based on the preponderance of
                                                                sanctions: initiation of criminal proceedings,
   evidence; and
                                                                recommended disciplinary transfer, disciplinary


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   segregation, or monetary restitution. This                4. The IDP shall arrange for the presence of the staff
   includes all code violations in the “greatest” and           representative selected by the detainee. If that staff
   “high” categories (100s and 200s), and must                  member declines or is unavailable, the detainee
   include code violations in the “high moderate”               may:
   category (300s) in order for any of the sanctions
                                                                a. select a different representative;
   listed above to be imposed;
                                                                b. wait for the unavailable staff member to
3. serve the detainee with:
                                                                   become available (within a reasonable period);
   a. a copy of the UDC decision which must                        or
      contain the reason for the disposition and
                                                                c. proceed without a staff representative.
      sanctions imposed; or
                                                             5. A staff member who declines to serve must state
   b. written notification of charges and hearing
                                                                the reason on the staff representative form.
      before the IDP; and
                                                             6. If several staff decline, the facility administrator
4. if the detainee’s case is being referred to the IDP,
                                                                shall assign one.
   advise the detainee, in writing, of his/her due
   process rights as provided in this standard.              7. The staff representative shall be free to speak to
                                                                witnesses and to present evidence on the
                                                                detainee’s behalf, including evidence of any
G. Staff Representation for the IDP
                                                                                 In c. The staff representative
                                                                mitigating circumstances.
                                                                              ,
The facility administrator shall upon the detainee’s
                                                                r e    ivinicgood faith
                                                                mustCact
                                                                                     0 2 2 behalf of the charged
                                                                                         on
request, assign a staff representative to help prepare a v. C o detainee,
                                                                          1  4
                                                                           and  ,  2
                                                                                interview witnesses and obtain
                                                   in o            be  r
defense prior to the commencement of theO       w
                                              IDP. This
                                                            c e m
                                                                documentary     evidence as requested by the
                                it edforindetainees
help shall be automatically provided
                               c                  2 1 , De detainee or as otherwise reasonably seen as
                                          - 552
who are illiterate, have limited English-language
                                     2  1
                                                                relevant to the defense of the charges or in
                              N
skills, or who are without meanso.of collecting and             mitigation  of the charges.
presenting essential evidence. Detainees shall also          8. The IDP shall allow the staff representative
have the option of receiving assistance from another            enough time to speak with the detainee and
detainee of their selection rather than a staff                 interview witnesses prior to commencement of
representative, subject to approval from the facility           the proceeding. The IDP may grant a request for
administrator.                                                  extension of time if required for an adequate
1. A staff representative must be a full-time                   defense.
   employee.                                                 9. The IDP shall establish the reliability of
2. Because of the potential conflict of interest, the           information provided by a confidential source
   facility administrator, members of the IDP and of            before considering it in the disciplinary
   the UDC initially involved in the case,                      proceedings.
   eyewitnesses, the reporting and investigating             10. The IDP may withhold the confidential source’s
   officers and anyone else with a stake in the                  identity from the staff representative. While the
   outcome shall not act as staff representative.                staff representative may challenge the substance
3. The detainee may select his/her staff                         of any confidential information the IDP discloses,
   representative, barring those identified in                   he/she may not question its reliability (which is
   paragraph 2 above.                                            pre-established by the IDP).


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11. In the event that a detainee cannot effectively             evidence; and
    present his/her own case, the facility                  6. impose sanctions as listed and authorized in each
    administrator shall appoint a staff representative,        category.
    even if not requested by the detainee.
                                                            The detainee in IDP proceedings shall have the right
H. Institution Disciplinary Panel (IDP)                     to due process, which includes the rights to:
All facilities that house ICE/ERO detainees shall have      1. remain silent at any stage of the disciplinary
a higher level disciplinary panel to adjudicate                process;
detainee Incident Reports. Only the disciplinary
                                                            2. have an IDP hearing within 48 hours after the
panel may place a detainee in disciplinary
                                                               conclusion of the investigation or the conclusion
segregation.
                                                               of the UDC hearing, unless the detainee:
The term “Institution Disciplinary Panel” or “IDP”
                                                                a. waives the notification period and requests an
refers either to a three-person panel appointed by
                                                                   immediate hearing, or
the facility administrator, or a one-person
disciplinary hearing officer, depending on the                  b. requests more time to gather evidence or
practice at the facility.                                          otherwise prepare a defense;
The panel may not include the reporting officer, the        3. attend the entire hearing (excluding committee
investigating officer, any member of the referring
                                                                       ,  In  c.
                                                               deliberations), or waive the right to appear.
UDC, or anyone who witnessed or was directly
                                                          re C   ivic considerations
                                                            If security
                                                                              0 2 2    prevent the detainee’s
involved in the incident. Exceptions may occur only
                                                   v . Co attendance,
                                                                 r 1   4 ,the2committee must document the
if the number of officers required for the panel
                                            w ino         m be
                                                            security  considerations and, to the extent
                                     in  O
cannot be filled due their direct involvement in the
                                                   D    e
                                                     ec possible, facilitate the detainee’s participation in
                              ited             1 ,
incident.
                           c
                                      - 5 5 22              the process by telephonic testimony, the
                                    1
                                 2 following a
                          No.
The IDP may receive incident reports                        submission of documents, written statements or
referral from the UDC or directly from the                  questions to be asked of witnesses;
investigative officer following the conclusion of the       4. present statements and evidence, including
investigation.                                                 witness testimony, on his/her behalf;
The IDP shall have authority to:                            5. have a staff representative; and
1. conduct hearings on all charges and allegations          6. appeal the committee’s determination through
   referred by the UDC or sent directly from the               the detainee grievance process.
   investigating officer;
                                                            The IDP shall:
2. call witnesses to testify;
                                                            1. verify that the detainee has been advised of and
3. consider written reports, statements, physical              afforded his/her due process rights, as provided
   evidence and oral testimony;                                above in this standard;
4. hear pleadings by detainee and staff                     2. remind the detainee of his/her right to a staff
   representative;                                             representative, provide one if requested and
5. make findings that the detainee did or did not              verify that a staff representative has been assigned
   commit the rule violation(s) or prohibited act(s)           when a representative is requested;
   as charged, based on the preponderance of                3. advise the detainee of his/her right to waive the


3.1 | Disciplinary System                                 221                                       PBNDS 2011
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   hearing and admit having committed the offense;          continuance of a hearing might include, but are not
4. conduct the hearing within 48 hours after the            limited to: defense preparation, physical or mental
   conclusion of the investigation or the conclusion        illness, security, escape, disciplinary transfer or
   of the UDC hearing, unless the detainee requests         pending criminal prosecution.
   more time to gather evidence or otherwise                An uncooperative detainee may also cause a delay in
   prepare a defense. In cases where a hearing is           the proceedings, either because of inappropriate
   delayed, the reason(s) must be documented (e.g.,         behavior during the hearing process or a refusal to
   a continuing investigation of facts, unavailability      participate in a productive manner.
   of one or more essential witnesses, etc.) and,
                                                            K. Duration of Sanctions
   unless the detainee has requested the delay,
   approved by the facility administrator. If the           The duration of sanctions shall be within established
   detainee is being held in segregation, the delay         limits. Neither the panel recommending sanctions
   shall not exceed 72 hours, barring an emergency;         nor the facility administrator making the final
5. prepare a written record of any hearing. This            decision shall impose sanctions arbitrarily, beyond
   record must show that the detainee was advised           these limits.
   of his/her rights. It must also document the             1. Sanctions range from the withholding of
   evidence considered by the Panel and subsequent             privilege(s) to segregation. Disciplinary
   findings and the decision and sanctions imposed,
                                                                            , I n c.
                                                               segregation shall only be ordered when
   along with a brief explanation;
                                                              re  C  ivic 022
                                                               alternative dispositions may inadequately regulate

                                                                           4, 2 or the withholding of
                                                        . C2.oTimeeinrsegregation
6. forward the entire record to the facility                   the detainee’s behavior.
   administrator, who may (a) concur, (b)        ino  v          b       1
                                             O w          c e m
                                te d   in
   terminate the proceedings or (c) impose    more
                                                  1 , D e     privileges after a hearing shall generally not
                               i
                            c and 5522
   severe or more lenient sanctions;                          exceed 30 days per incident, except in
                                   2  1 -
                           No. notification of the
7. serve the detainee with written                            extraordinary circumstances, such as violations of
   decision, which must contain the reason for the             offenses 100 through 109 listed in the “Greatest”
   decision.                                                   offense category in Appendix 3.1.A.
                                                            3. While a detainee may be charged with multiple
I. Confidential Information
                                                               prohibited acts and may receive multiple
When a decision relies on information from a                   sanctions for one incident, sanctions arising from
confidential source, the UDC or IDP shall disclose as          a single incident shall run concurrently.
much confidential information as may be disclosed           4. Time served in segregation pending the outcome
without jeopardizing the safety and security of                of the proceedings shall be credited to the
facility staff and other persons, and shall include in         number of days to be spent in the segregation
the hearing record the factual basis for finding the           unit after an adverse decision is announced.
information reliable.
                                                            5. The detainee’s good behavior subsequent to the
J. Postponement of Disciplinary                                rule violation or prohibited act should be given
   Proceedings                                                 consideration when determining the appropriate
                                                               penalty.
All facilities shall permit hearing postponements or
                                                            6. The disciplinary report and accompanying
continuances under certain circumstances.
                                                               documents are not placed in the file of a detainee
Circumstances justifying the postponement or


3.1 | Disciplinary System                                222                                       PBNDS 2011
                                                                                         (Revised December 2016)
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   who is found not guilty. The facility, however,         The detainee does not receive a copy.
   may retain the material in its own files for            3. UDC Report of Findings and Action
   Institution statistical or historical purposes.
                                                           The original shall be served on the detainee after the
L. Documents                                               committee issues its findings.
All documents relevant to the incident, subsequent         A copy shall be included in the detainee detention
investigation and hearing(s) shall be completed and        file (guilty finding only).
distributed in accordance with facility procedures.
                                                           4. Notice of IDP Hearing
1. Incident Report/Notice of Charges
                                                           The original shall be served on the detainee after the
The officer shall prepare an Incident Report and           committee issues its findings.
submit it to the supervisor immediately after the
incident takes place. If the incident is resolved
                                                           A copy shall be included in the detainee detention
informally, the officer shall so note on the original
                                                           file.
report, which shall then be forwarded to the Chief of      5. Detainee Rights at IDP Hearing
Security.                                                  The original shall be served on the detainee after the
If the UDC is to be involved, the supervisor shall         committee issues its findings.
serve the detainee with a copy of the Notice of            A copy shall be included in the facility detention file.
Charges upon completion of the investigation, no
                                                                          ,  In c.
less than 24 hours before the UDC hearing.
                                                             re  C  ivic 022
                                                           6. IDP Report

The UDC receives the original copy.                   v    o original 1shall
                                                       . CThe       r    4  ,be2included in the detainee
                                              w     o
                                                 inof        m befile.
                                                          detention
                                      in
If the UDC hears the matter, the ranking   O
                                         member        e c e
                               ited with5a2copy
that committee shall serve thecdetainee        2  1, D A copy shall be provided to the detainee.
                                   2 1
of the Incident Report/Notice of Charges
                                 .      -5indicating      M. Criminal Prosecution
                            Noconclusion of its
their decision. The UDC, upon
proceedings, shall forward the entire record to either     Facilities, in coordination with the Field Office
the Chief of Security or the IDP, as appropriate.          Director, shall work with prosecutors and other law
                                                           enforcement officials to ensure that detainees who
2. Investigation Report
                                                           engage in serious criminal activity, including
The original shall be submitted to the UDC.                violence against staff and other detainees, face
                                                           criminal prosecution when appropriate.




3.1 | Disciplinary System                                223                                        PBNDS 2011
                                                                                          (Revised December 2016)
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Appendix 3.1.A: Offense                                           charge of greatest severity is not applicable)
                                                           B. Sanctions
Categories
                                                           1. Initiate criminal proceedings
I. “Greatest” Offense Category
                                                           2. Disciplinary transfer (recommend)
A. Prohibited Acts
                                                           3. Disciplinary segregation (up to 60 days)
100    Killing
                                                           4. Make monetary restitution, if funds are available
101    Assaulting any person (includes sexual
                                                           5. Loss of privileges (e.g., commissary, vending
       assault)
                                                              machines, movies, recreation, etc.)
102    Escape from escort; escape from a secure
       facility
                                                           II. “High” Offense Category
103    Setting a fire (charged with this act in this       A. Prohibited Acts
       category only when found to pose a threat to        200    Escape from unescorted activities open or
       life or a threat of serious bodily harm or in              secure facility, proceeding without violence
       furtherance of a prohibited act of greatest
                                                           201 Fighting, boxing, wrestling, sparring and any
       severity [e.g., a riot or an escape]; otherwise
                                                               other form of physical encounter, including
       the charge is classified as Code 222, 223 or
                                                                           n
                                                               horseplay, that
                                                                          I    . or could cause injury
                                                                             ccauses
       322))                                                            ,
                                                                   vic person,
                                                               to ianother
                                                            reC             2 0 2 2
                                                                                  except when part of an
104    Possession or introduction of a gun, firearm,
       weapon, sharpened instrument, knife, ino v
                                                     .    Co approved4,recreational  or athletic activity
                                                               r 1 or introduction of an
                                              w            b e
       dangerous chemical, explosive,in   O tool, Decem unauthorized tool
                                       escape
                                                       202  Possession
       device or ammunition
                                   d
                             cite 55221,
                               o . 21-                 203 Loss, misplacement or damage of any
105    Rioting
                            N                               restricted tool
106    Inciting others to riot
                                                       204 Threatening another with bodily harm
107    Hostage-taking
                                                       205 Extortion, blackmail, protection and
108    Assaulting a staff member or any law                 demanding or receiving money or anything
       enforcement officer                                  of value in return for protection against
109    Threatening a staff member or any law                others,  avoiding bodily harm or avoiding a
       enforcement office with bodily harm                  threat of being informed against

*198 Interfering with a staff member in the                206    Engaging in sexual acts
     performance of duties (conduct must be of             207    Making sexual proposals or threats
     the greatest severity; this charge is to be used
                                                           208    Wearing a disguise or mask
     only if another charge of greatest severity is
     not applicable)                                       209    Tampering with or blocking any lock device
*199 Conduct that disrupts or interferes with the          210    Adulterating of food or drink
     security or orderly running of the facility           211    Possessing, introducing, or using narcotics,
     (conduct must be of the greatest severity;                   narcotic paraphernalia or drugs not
     this charge is to be used only if another                    prescribed for the individual by the medical


3.1 | Disciplinary System                                224                                      PBNDS 2011
                                                                                         (Revised December 2016)
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       staff                                              1. Initiate criminal proceedings
212    Possessing an officer’s or staff member’s          2. Disciplinary transfer (recommend)
       clothing                                           3. Disciplinary segregation (up to 30 days)
213    Engaging in or inciting a group                    4. Make monetary restitution, if funds are available
       demonstration
                                                          5. Loss of privileges (e.g., commissary, vending
214    Encouraging others to participate in a work           machines, movies, recreation, etc.)
       stoppage or to refuse to work
                                                          6. Change housing
215    Refusing to provide a urine sample or
       otherwise cooperate in a drug test                 7. Remove from program and/or group activity
216    Introducing alcohol into the facility              8. Loss of job
217    Giving or offering an official or staff member     9. Impound and store detainee’s personal property
       a bribe or anything of value                       10.    Confiscate contraband
218    Giving money to, or receiving money from,          11.    Restrict to housing unit
       any person for an illegal or prohibited
       purpose (e.g., introducing/conveying               12.    Warning
       contraband)
                                                                             . Offense Category
                                                          III. “High Moderate”
                                                                            Inc
                                                                 iv   ,
                                                                   icActs
                                                                            022
219    Destroying, altering, or damaging property
                                                        o re  C
                                                       A. Prohibited
                                                                          2
       (government or another person’s) worth         C               4 ,
       more than $100
                                            w in  o v. 300mbIndecent
                                                               er 1 exposure
                                     in O of Dec301    e Stealing (theft)
220
                              ited
       Being found guilty of any combination
                           c            522        1,
       three or more high moderate
                                2  1  5
                                   or-low                 302    Misusing authorized medication
                          No. 90 days
       moderate offenses within                           303    Loss, misplacement or damage of a less
222    Possessing or introducing an incendiary                   restricted tool
       device (e.g., matches, lighter, etc.)
                                                          304    Lending property or other item of value for
223    Engaging in any act that could endanger                   profit/increased return
       person(s) and/or property
                                                          305    Possessing item(s) not authorized for receipt
*298 Interfering with a staff member in the                      or retention and not issued through regular
     performance of duties (conduct must be of                   channels
     highest severity; this charge is to be used          306    Refusing to clean assigned living area
     only when no other charge of highest
     severity is applicable)                              307    Refusing to obey the order of a staff member
                                                                 or officer (may be categorized and charged
*299 Conduct that disrupts or interferes with the
                                                                 as a greater or lesser offense, depending on
     security or orderly operation of the facility
                                                                 the kind of disobedience: continuing to riot
     (conduct must be of highest severity; this
                                                                 is Code 105—Rioting; continuing to fight
     charge is to be used only when no other
                                                                 Code 201—Fighting; refusing to provide a
     charge of highest severity is applicable)
                                                                 urine sample, Code 215—Refusing to
B. Sanctions                                                     provide a urine sample or otherwise


3.1 | Disciplinary System                               225                                      PBNDS 2011
                                                                                       (Revised December 2016)
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       cooperate in a drug test).                                high moderate severity; this charge to be
308    Insolence toward a staff member                           used only when no other charge in this
                                                                 category is applicable)
309    Lying or providing false statement to staff
                                                          *399 Conduct that disrupts or interferes with the
310    Counterfeiting, forging or other                        security or orderly running of the facility
       unauthorized reproduction of money                      (offense must be of high moderate severity;
       proceedings or other official document or               this charge is to be used only when no other
       item (e.g., security document, identification           charge in this category is applicable)
       card, etc.); may be categorized as greater or
       lesser offense, depending on the nature and        NOTE: Any combination of high moderate and low
       purpose of the reproduction (e.g.,                 moderate offenses during a 90-day period shall
       counterfeiting release papers to effect            constitute a high offense.
       escape—Code 102 or 200).                           B. Sanctions
311    Participating in an unauthorized meeting or        1. Initiate criminal proceedings
       gathering                                          2. Disciplinary transfer (recommend)
312    Being in an unauthorized area                      3. Disciplinary segregation (up to 72 hours)
313    Failing to stand count
                                                                            ,  Inc.
                                                          4. Make monetary restitution, if funds are available
314    Interfering with count
                                                                      vic (e.g.22
                                                           5. Loss ofiprivileges
                                                               e  C                   commissary, vending
                                                              r                   0
                                                                              , 2 recreation, etc.)
315    Making, possessing, or using intoxicant(s)
                                                     o v. Comachines,r  1 4
                                                                         movies,
316                                           w
       Refusing a breathalyzer test or otherOtest in
                                                  of        e
                                                           6. m be housing
                                                              Change
       alcohol consumption ted in
                                                          c
                                                       De 7. Remove from program and/or group activity
                            ci                  2  1 ,
317    Gambling                    2 1  - 552
318                        No.
       Preparing or conducting a gambling pool
                                                           8. Loss of job
                                                          9. Impound and store detainee’s personal property
319    Possessing gambling paraphernalia                  10.    Confiscate contraband
320    Unauthorized contact with the public               11.    Restrict to housing unit
321    Giving money or another item of value to, or       12.    Reprimand
       accepting money or another item of value
       from, anyone, including another detainee,          13.    Warning
       without staff authorization                        IV. “Low Moderate” Offense Category
322    Destroying, altering, or damaging property         A. Prohibited Acts
       (government or another person’s) worth
       equal to or less than $100                         400    Possessing property belonging to another
                                                                 person
323    Signing, preparing, circulating, or soliciting
       support for group petitions that threaten the      401    Possessing unauthorized clothing
       security or orderly operation of the facility.     402    Malingering; feigning illness
*398 Interfering with a staff member in the               403    Smoking where prohibited
     performance of duties (offense must be of


3.1 | Disciplinary System                               226                                      PBNDS 2011
                                                                                       (Revised December 2016)
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404   Using abusive or obscene language                  *498 Interfering with a staff member in the
405   Tattooing, body piercing or self-mutilation             performance of duties (offense must be of
                                                              low moderate severity; this charge is to be
406   Unauthorized use of mail or telephone (with             used only when no other charge in this
      restriction or temporary suspension of the              category is applicable)
      abused privileges often the appropriate
      sanction)                                          *499 Conduct that disrupts or interferes with the
                                                              security or orderly running of the facility
407   Conduct with a visitor in violation of rules            (offense must be of low moderate severity;
      and regulations (with restriction or                    this charge is to be used only when no other
      temporary suspension of visiting privileges             charge in this category is applicable)
      often the appropriate sanction)
                                                         B. Sanctions
408   Conducting a business
                                                         1. Loss of privileges, commissary, vending
409   Possessing money or currency, unless                  machines, movies, recreation, etc.
      specifically authorized
                                                         2. Change housing
410   Failing to follow safety or sanitation
      regulations                                        3. Remove from program and/or group activity
                                                         4. Loss of job
411   Unauthorized use of equipment or
                                                                                  .
                                                                          Incdetainee’s personal property
      machinery                                                       c, store
                                                         5. Impound iand
                                                                   Civ contraband
412   Using equipment or machinery contrary to             C o
                                                            6. re
                                                               Confiscate
                                                                          4 , 2 022
      posted safety standards
                                               w  in o v. 7. m   b  erto1housing unit
                                   d   in   O          D e ce  Restrict
413
                               ite
      Being unsanitary or untidy;   failing to
                                                 21
                                               keep  ,
      self and living area incaccordance       2            8. Reprimand
                                          5 5
                                   21-
                                          with  posted
      standards            N   o .                          9. Warning




3.1 | Disciplinary System                            227                                         PBNDS 2011
                                                                                        (Revised December 2016)
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                                                                 aspects of food service and dining room
4.1 Food Service                                                 operations.

I. Purpose and Scope                                         3. Detainees, staff and others shall be protected from
                                                                injury and illness by adequate food service
This detention standard ensures that detainees are              training and the application of sound safety and
provided a nutritionally balanced diet that is                  sanitation practices in all aspects of food service
prepared and presented in a sanitary and hygienic               and dining room operations.
food service operation.
                                                             4. Dining room facilities and operating procedures
This detention standard applies to the following                shall provide sufficient space and time for
types of facilities housing ICE/ERO detainees:                  detainees to eat meals in a relatively relaxed,
                                                                unregimented atmosphere.
  x   Service Processing Centers (SPCs);
                                                             5. Food service facilities and equipment shall meet
  x   Contract Detention Facilities (CDFs); and                 established governmental health and safety codes,
  x   State or local government facilities used by              as documented in independent, outside sources.
      ERO through Intergovernmental Service                  6. Detainees, staff and others shall be protected from
      Agreements (IGSAs) to hold detainees for more             health-related harm by advance medical screening
      than 72 hours.                                            and clearance before any detainee is assigned to
                                                                             ,  In c.
                                                                       ivic areas 0
Procedures in italics are specifically required for SPCs        work in food service operations.
and CDFs. IGSA facilities must conform to these                 r e
                                                             7.oFoodCservice
                                                                               ,  2   22be continuously inspected
procedures or adopt, adapt or establish alternatives, o v.  C              4        shall
                                                                         1 staff and other assigned personnel
                                                                       rservice
                                                w in               b e
                                                                by food

                                      d  in O
provided they meet or exceed the intent represented
                                                        D e cem on schedules determined by the food service
by these procedures.
                                cite 55221            ,         administrator and by applicable policy
                                    .
For all types of facilities, procedures
                                  o     1- appear in
                                      2that                     requirements.
italics with a marked (**) on  Nthe page indicate            8. Stored food goods shall be maintained in
optimum levels of compliance for this standard.                 accordance with required conditions and
Various terms used in this standard may be defined              temperatures.
in standard “7.5 Definitions.”                               9. Food service personnel shall provide nutritious
                                                                and appetizing meals. Nutritional needs are
II. Expected Outcomes                                           diverse because of differences in age, activity,
The expected outcomes of this detention standard                physical condition, gender, religious preference
are as follows (specific requirements are defined in            and medical considerations. Food service
“V. Expected Practices”).                                       personnel shall accommodate the ethnic and
                                                                religious diversity of the facility’s detainee
1. All detainees shall be provided nutritionally
                                                                population when developing menu cycles. While
   balanced diets that are reviewed at least quarterly
                                                                each facility must meet all ICE/ERO standards and
   by food service personnel and at least annually by
                                                                follow required procedures, individuality in
   a qualified nutritionist or dietitian.
                                                                menu planning is encouraged.
2. Detainees, staff and others shall be protected from
                                                             10. Therapeutic medical diets and supplemental food
   harm, and facility order shall be maintained, by
                                                                 shall be provided as prescribed by appropriate
   the application of sound security practices in all
                                                                 clinicians.


4.1 | Food Service                                         228                                       PBNDS 2011
                                                                                           (Revised December 2016)
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11. Special diets and ceremonial meals shall be              based Standards for Adult Local Detention
    provided for detainees whose religious beliefs           Facilities, 4th Edition: 4-ADLF-4A-01 through 4A-
    require adherence to religious dietary laws.             18. (Five of those Expected Practices are mandatory
                                                             for accreditation: 4A-07, 4A-11, 4A-13, 4A-15 and
12. Detainees shall receive a religious or special diet
                                                             4A-16.)
    free of any personal cost.
                                                             ICE/ERO Performance-based National Detention
13. Food shall never be used for reward or
    punishment.                                              Standards 2011:

14. The facility shall provide communication                     x   “2.7 Key and Lock Control”; and
    assistance to detainees with disabilities and                x   “2.14 Tool Control.”
    detainees who are limited in their English
                                                             FDA Public Health Services Food Code.
    proficiency (LEP). The facility will provide
    detainees with disabilities with effective               V. Expected Practices
    communication, which may include the
    provision of auxiliary aids, such as readers,            A. Administration
    materials in Braille, audio recordings, telephone
                                                             1. Food Service Administrator or Equivalent
    handset amplifiers, telephones compatible with
    hearing aids, telecommunications devices for             The food service program shall be under the direct
    deaf persons (TTYs), interpreters, and note-
                                                               , Inc.
                                                             supervision of an experienced food service
    takers, as needed. The facility will also provide
                                                     r e C ivic 022
                                                             administrator (FSA) who is responsible for the

                                               . Co er 14, 2
    detainees who are LEP with language assistance,
                                            o v
                                                             following:

                                        O in
    including bilingual staff or professional
                                         w        a. m
                                                   e    b controlling, directing and evaluating
                                                     Planning,
                                     in          c
                                               e food service;
                             cited 55221, D b. Training and developing cook foremen (CF);
    interpretation and translation services, to provide
    them with meaningful access to its programs and
    activities.
                               o . 21-
                             N
   All written materials provided to detainees shall         c. Managing budget resources;
   generally be translated into Spanish. Where               d. Establishing standards of sanitation, safety and
   practicable, provisions for written translation shall        security;
   be made for other significant segments of the
                                                             e. Developing nutritionally adequate menus and
   population with limited English proficiency.
                                                                evaluating detainee acceptance of them;
   Oral interpretation or assistance shall be provided
                                                             f. Developing specifications for procurement of
   to any detainee who speaks another language in
                                                                food, equipment and supplies; and
   which written material has not been translated or
   who is illiterate.                                        g. Establishing a training program that ensures
                                                                operational efficiency and a high quality food
III. Standards Affected                                         service program.
This detention standard replaces “Food Service”              The food service department shall also be staffed by
dated 12/2/2008.                                             one or more cook supervisors (CS) and CF, although
                                                             the organizational structure may differ among
IV. References                                               facilities, particularly when food service is provided
                                                             by a food service contractor. Therefore, references to
American Correctional Association, Performance-
                                                             the CS and CF in this detention standard describe


4.1 | Food Service                                         229                                         PBNDS 2011
                                                                                            (Revised December 2016)
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typical duties for those positions, although the            department, a knife must have a steel tang through
functions may be performed by others, depending on          which a metal cable can be mounted. The facility’s
the organizational structure.                               tool control officer is responsible for mounting the
                                                            cable to the knife through the steel tang.
B. Security
                                                            The FSA/CS shall monitor the condition of knives
1. Custody and Security
                                                            and other food service utensils, disposing of items
The facility’s custody and security policy and              not in good working order and ordering
procedures shall address the following:                     replacements. If a knife is misplaced or lost, staff
a. buildings or portions of buildings housing the
                                                            shall immediately notify the FSA and Chief of
   food service department;
                                                            Security, and shall hold detainees who may have had
                                                            access to the missing knife in the area until a
b. all types of detainee traffic in and out of the          thorough search is conducted. The responsible CS
   department;                                              shall provide the details of the loss in a written
c. detainee behavior;                                       report to the Chief of Security.
d. control of repairs;                                      The knife cabinet shall meet the tool-control
                                                            standards of the Occupational Safety and Health
e. control of utensils with a custodial hazard              Administration, as well as any site-specific standards
   potential (e.g., knives, cleavers, saws, tableware);
                                                                         ,  Inc.
                                                            developed by the facility.
f. official counts and census;
                                                             r e C ivic 022
                                                          3. Key Control
g. area searches; and
                                                      v             r    4 , 2 and stored in accordance
                                                           o shall be1inventoried
                                                       . CKeys
                                               w  ino        m  be “2.7 Key and Lock Control.”
                                             O
h. any other matters having a direct or indirect
                                         in            e c e
                                                          with standard

                               cited 55221, D The control room officer shall issue keys only in
   bearing on custody and security.

                                      21- training
The facility’s training officer shall devise
                                 o .                      exchange for a name chit from receiving staff. Under
                              N training to all food
curricula and provide appropriate                         no circumstances shall detainees have access to
service personnel in detainee custodial issues.             facility keys.
Among other topics, this training shall cover               The CS shall return the keys to the control room
ICE/ERO’s current detention standards.                      before going off duty. At no time may anyone carry
2. Knife Control                                            facility keys outside the facility.
The knife cabinet must be equipped with an                  4. Controlled Food Items/Hot Items
approved locking device. The on-duty CF, under              All facilities shall have procedures for handling food
direct supervision of the CS, shall maintain control of     items that pose a security threat.
the key that locks the cabinet..
                                                            a. Yeast and Yeast Products
Knives must be physically secured to workstations              All yeast must be stored in an area with no
for use outside a secure cutting room. Any detainee            detainee access, preferably in a locked metal yeast
using a knife outside a secure area must receive               cabinet for which the food service department has
direct staff supervision. Knives shall be inventoried          only one key. The locked yeast cabinet shall be
and stored in accordance with standard “2.14 Tool              maintained in a secure area.
Control.”
                                                                Until the yeast is thoroughly incorporated as an
To be authorized for use in the food service                    ingredient in a food item being prepared, only


4.1 | Food Service                                        230                                       PBNDS 2011
                                                                                          (Revised December 2016)
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   one member of the food service staff, closely             The counting officer must have a staff
   supervised, may handle and dispense it.                   observer/backup during each count. Detainees shall
   Staff shall keep a record of the yeast inventory (in      be assembled in one section of the dining room and
   pounds and ounces), indicating quantity of                be required to remain seated until their names are
   receipt and issue, balance on hand and the                called, and shall then move to another section of the
   record-keeper’s initials.                                 dining room.

b. Other Food Items                                          C. Detainee Workers
   Mace, nutmeg, cloves, sugar and alcohol-based             1. Detainee Workforce
   flavorings also require special handling and
   storage.                                                  Detainees may volunteer for work in accordance
                                                             with standard “5.8 Voluntary Work Program” and
   1) The purchase order for any of these items shall        must work in accordance with standard “2.2
      specify the special-handling requirements for          Custody Classification System.”
      delivery.
                                                             The number of detainees assigned to the food service
   2) Staff shall store and inventory these items in a       department shall be based on a quota developed by
      secure area in the food service department.            the FSA and approved by the facility administrator.
   3) Staff shall directly supervise use of these items.     The quota shall provide staffing according to actual
5. Work Area Searches
                                                                             , I  c.
                                                             needs, and shall eliminate any bias toward over- or
                                                                                n
                                                                re  C  ivic 022
                                                             understaffing.
All facilities must establish daily searches of detainee
                                                         v. C2.oDetainee
                                                                       r    4  ,2
                                                                          Job Descriptions
                                                                          1
work areas (e.g., trash) as standard operating
                                                 w  in o        m  beshall review detainee job descriptions
                                          in  O
procedures, paying particular attention to trash
                                                          e c e
                                                             The FSA
receptacles.
                               cited 55221, D annually                to ensure accuracy and specific

                                      2 1  -                 requirements.  Before starting work in the
                              No. dining room,
Searches of detainees leaving certain   work  areas
                                                             department, the detainee shall sign for receipt of the
(e.g., bakery, vegetable preparation,
                                                             applicable job description. A copy of the detainee’s
warehouse) are required to reduce the possibility
                                                             job description shall remain on file for as long as the
that hot food or contraband can leave the restricted
                                                             detainee remains assigned to the food service
area. Unless otherwise directed by facility policy or
                                                             department.
special instructions, staff shall prevent detainees
from leaving the food service department with any            3. Detainee Orientation and Training
food item.                                                   To ensure a quality food service program and instill
Food service personnel as well as facility detention         good work habits, each CS shall instruct newly
staff shall conduct food service area searches.              assigned detainee workers in the rules and
                                                             procedures of the food service department. During
6. Counts
                                                             the orientation and training session(s), the CS shall
The FSA shall establish procedures for informing             explain and demonstrate safe work practices and
staff of the local counting procedures, and shall            methods and shall identify the safety features of
establish measures to ensure that the procedures are         individual products and equipment.
followed.
                                                             Training shall also include workplace-hazard
Staff must be able to account for detainees at all           recognition and deterrence, including the safe
times.                                                       handling of hazardous materials. Detainees shall learn


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to use and understand protective devices and clothing            machine room, pan-washing area, etc., shall be
and to report any malfunctions or other safety-related           required to wear rubber or plastic aprons suited
problems to their supervisors.                                   to the task and rubber boots, if required, for
The CS must document all training in each detainee’s             sanitation or safety.
detention file.                                              d. Detainees working in refrigerated and freezer
4. Detainee Work Hours and Pay                                  areas shall be provided appropriately insulated
                                                                clothing.
Detainee volunteers shall work and be paid in
                                                             7. Use of Tobacco
accordance with standard “5.8 Voluntary Work
Program.”                                                    Tobacco in all its forms is prohibited in the food
5. Meals for Food Service Workers                            service department.

The FSA shall establish the meal schedules for               D. Food Service Dining Room/Satellite
detainee food service workers.                                  Meals Operations
Detainee workers shall receive the same fare as other        1. General Policy
detainees. The CS shall not allow detainees to prepare
                                                             Ordinarily detainees shall be served three meals
“special” dishes or condiments for their own or
                                                             every day, at least two of which shall be hot meals;
other detainees’ consumption.
                                                                 , In c.
                                                             however, the facility administrator may approve
Detainee workers assigned to the staff dining room
                                                    re  C ivic 022
                                                             variations in the food service schedule during

                                              . Co er 14, 2
may be allowed to eat in that area. All others shall eat     religious and civic holidays, provided that basic

                                         ino v
in the main dining room, or, if the facility has no
                                                      b      nutritional goals are met. The dining room schedule
                                       Ow       c e m
                                    in
main dining room, the FSA shall designate an area
                                              e              must allow no more than 14 hours between the
for workers to eat.
                            cited 55221, D                   evening meal and breakfast.
6. Detainee Clothing
                              o . 21-            Clean, potable drinking water must be available.
                            N
Detainees assigned to the food service department            Meals shall always be prepared, delivered and served
shall have a neat and clean appearance.                      under staff (or contractor) supervision.
Unless the facility administrator establishes other          Meals shall be served in as unregimented a manner
policy, the detainee food worker uniform shall               as possible. The FSA’s table arrangement should
consist of the following: white, short-sleeved,              facilitate ease of movement and ready supervision.
summer-type uniform shirts and pants; safety work            The dining room shall have the capacity to allow
shoes; and a white paper hat or white cap. White             each detainee a minimum of 20 minutes dining time
aprons or smocks of either cloth or disposable plastic       for each meal.
may be part of the uniform.                                  2. Display and Service
a. Detainees with hair shoulder-length or longer
                                                             The following procedures apply to the display,
   shall be required to wear a hair net under their
                                                             service and transportation of food to main and
   hats or caps.
                                                             satellite food service areas:
b. Detainees with facial hair shall be required to
                                                             a. Before and during the meal, the CS in charge shall
   wear beard guards when working in the food
                                                                inspect the food service line to ensure:
   preparation or food serving areas.
                                                                 1) all menu items are ready for consumption;
c. Detainees working in the garbage room, dish


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   2) food is appropriately presented; and                    items (e.g., salad bar staples such as lettuce, meat,
                                                              eggs, cheese) must be removed and discarded
   3) sanitary guidelines are observed, with hot
                                                              after two hours at room temperature.
      foods maintained at a temperature of at least
      140 F degrees (120 F degrees in food trays)             Food shall be delivered from one place to another
      and foods that require refrigeration maintained         in covered containers. These may be individual
      at 41 F degrees or below.                               containers, such as pots with lids, or larger
                                                              conveyances that can move objects in bulk, such
b. Every open food item and beverage shall be
                                                              as enclosed, satellite-meals carts.
   protected from contaminants by easily cleaned
   sneeze-guards, cabinets, display cases or other            In any facility, if food carts are delivered to
   such equipment.                                            housing units by detainees, they must be locked
                                                              unless they are under constant supervision of
c. Servers must wear food-grade plastic gloves and
                                                              staff.
   hair nets whenever there is direct contact with a
   food or beverage. Servers must use tongs, forks,           All food-safety procedures (e.g., sanitation, safe-
   spoons, ladles or other such utensils to serve any         handling, storage, etc.) apply without exception
   food or beverage. Serving food without use of              to food in transit.
   utensils is strictly prohibited.                       h. Soiled equipment and utensils must be
d. Servers shall use scoops, tongs or other approved         transported to the appropriate receptacles in
                                                                            ,  Inc.
                                                                   Civicof the2food
   utensils when handling or dispensing ice for              closed containers.
   consumption. The FSA shall consider the                  i.oAre                     2 staff shall oversee
                                                                                  02service
                                                           C     member
                                                                           4  ,
   practicability of purchasing automatic ice-
                                               w  ino v. m        b er 1of satellite meal carts. Staff shall
                                                               the loading
   dispensing equipment.
                                    d  in   O          D e ce inspect all food carts before allowing their
e. Utensils shall be sanitized:cite
                                               2 21  ,         removal from the food service area.
                                         - 5 5
                                o . 21cross-
   1) as often as necessary to prevent                      3. Dining Room Workers
                             N
      contamination and other food-handling
                                                          The CF in charge shall train dining room workers in
      hazards during food preparation and service;
                                                          the requirements of the job, including how to
   2) after every food preparation/service session;       perform specific tasks. A basic task common to all
      and                                                 dining room workers is to keep the tables and floors
   3) again, if necessary, immediately before being       clean during the meal service. Once the meal service
      used.                                               is over and the detainees have left the room, the
                                                          workers can undertake major cleaning tasks.
f. Sugar, condiments, seasonings and dressings
                                                          4. Serving Lines
   available for self-service shall be provided in
   individual packages, closed dispensers, or             The serving counter shall be designed and
   automated condiment-dispensing systems. Salad          constructed to separate and insulate the hot foods on
   dressings may be served in open containers if the      the one hand and the cold foods on the other. A
   serving ladle extends beyond the top edge of the       transparent “sneeze guard” is required.
   container.                                             5. Salad Bars and Hot Bars
g. If the facility does not have sufficient equipment
                                                          Food items at salad bars and hot bars shall be
   to maintain the minimum or maximum
                                                          arranged for logical and efficient service. A
   temperature required for food safety, the affected


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transparent “sneeze guard” is required.                    of the facility. Nutritional needs are diverse because
6. Beverage Counter/Bar                                    of differences in age, activity, physical condition,
                                                           gender, religious preference and medical
Self-service beverage-and-ice stations shall be            considerations.
designed for quick and easy access. These
stations shall be designed for sanitary and                The FSA shall accommodate the ethnic and religious
efficient service, including traffic flow.                 diversity of the facility’s detainee population when
                                                           developing menu cycles. While each facility must
7. Staff Dining Room                                       meet all ICE/ERO standards and follow required
The FSA shall have jurisdiction over the staff dining      procedures, individuality in menu planning is
room. The staff dining room shall offer the same           encouraged. Institutions geographically near one
food items as the detainee dining room.                    another shall consider the benefits of coordinating
                                                           their menus and the cost-reductions to be achieved
8. Meal tickets
                                                           through joint purchasing.
The facility may establish a meal ticket program for       The FSA is solely responsible for food service program
employees and guests.                                      planning and resource allocation and use.
Examples of persons who may receive meals gratis          2. Nutritional Analysis
include advisors, guest speakers, technicians/others
                                                          A registered dietitian shall conduct a complete
rendering a service without charge, equipment
                                                                          ,  I n c.meets U.S. Recommended
                                                                     ivic (RDA),
demonstrators, athletic teams, entertainers, foreign      nutritional analysis that
visitors, volunteers and others whose service to the
                                                           o r   C
                                                          DailyeAllowances
                                                                               2 0  2 2least yearly, of every
                                                                                     at
facility is in the best interest of the government. o v. Cmaster-cycle   4, planned by the FSA. The dietitian
                                                                     r 1menu
                                        in
Individuals receiving government reimbursement
                                              win              mbe
                                                       e food service program. If necessary, the FSA shall
                                             O for Decthe  must certify menus before they are incorporated into
                                     d
                               cite per-diem-     21 ,
their services (e.g., contract employees,
                                          - 5 5 2      modify the menu in response to the nutritional
                                o.
status personnel) are ineligible for 2 1
                                     guest  meals
provided free of charge. N
                                                       analysis to ensure nutritional adequacy. In such
                                                       cases, the menu shall be revised and re-certified by
E. Menu Planning                                           the registered dietician.
1. General Policy                                          If the master-cycle menus change significantly
                                                           during the year, the cycle shall be reevaluated to
The FSA shall base menu selections on the best             ensure nutritional values are maintained.
nutritional program the facility can afford meeting
U.S. minimum daily allowances. The ICE/ERO                 F. Food Preparation
standard menu cycle is 35 days.                            1. General Policy
The food service program significantly influences
                                                           The CS or equivalent is responsible for ensuring that
morale and attitudes of detainees and staff, and
                                                           all items on the master-cycle menu are prepared and
creates a climate for good public relations between        presented according to approved recipes. This
the facility and the community.                            responsibility includes assessing the availability and
The overall goal of a quality food service program is      condition of ingredients required by particular
to provide nutritious and appetizing meals efficiently     recipes, and communicating supply needs to the
and within constraints of the existing budget,             FSA. For this reason, the CS shall review upcoming
personnel resources, equipment and physical layout         menu items as much in advance as possible.



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The CS or equivalent has the authority to change            for the rapid reheating of these foods.
menu items when necessary. Every such change or
                                                            After being reheated at 165 F degrees, the food may
substitution must be documented and forwarded to
                                                            be maintained at 140 F degrees on a heated steam
the FSA. The CS shall exercise this menu-changing
                                                            line or equivalent warming equipment.
authority as infrequently as possible.
                                                            The facility shall obtain pasteurized milk and milk
Knowledge of ingredients, quantities and food
                                                            products from approved facilities only.
preparation techniques and procedures is essential
                                                            Manufactured milk products shall meet federal
for producing quality products.
                                                            standards for quality.
2. Preparation Guidelines
                                                            The facility may use reconstituted dry milk and dry
Food shall be prepared with minimal manual                  milk products for cooking and baking purposes, in
contact. Food service workers shall thoroughly wash         instant desserts and in whipped items. If
fruits and vegetables with fresh water before cooking       reconstituted in-house, the dry milk and milk
or serving raw.                                             products shall be used for cooking purposes only.
                                                            Powdered milk reconstituted in an approved milk-
A worker shall test-taste with a clean fork or spoon
                                                            dispensing machine or “mechanical cow” may be
only; using a soiled food preparation utensil is
                                                            used for drinking purposes. To ensure
prohibited. Test-tasting utensils, unless disposable,
                                                            wholesomeness, an approved laboratory shall test
must be washed after every usage. Disposable test-
                                                                            I n c.
                                                            milk produced in the mechanical cow twice monthly
                                                                          ,
                                                                     ivic 022
tasting utensils shall be discarded after a single use.
                                                               re C
                                                            for presence of bacteria. The mechanical cow shall
                                                        . Co er 14, 2
Any food cooked at a lower temperature than                 be disassembled, cleaned and sanitized before and
                                                  in
provided below constitutes a food safety hazard and  o v         b
                                                            after each use.
                                            O  w          c e m
                                    d in that the21, De Powdered milkshake or ice cream mix, reconstituted
shall not be served. Food service staff and detainee
                               iteensure
workers involved in cookingcshall
                                    2  1 -
following foods are cooked at the required 552             in an approved ice cream machine, may be used. An
temperatures:               No.                            approved laboratory shall test dairy-based products
                                                            produced in the machine for the presence of bacteria
a. Raw eggs, fish, meat and foods containing these          monthly. The ice cream machine shall be
   items—145 F degrees or higher                            disassembled, cleaned and sanitized before and after
b. Game animals, comminuted (ground) fish and               each use.
   meats, injected meats and eggs not intended for          Liquid, frozen and dry eggs and egg products are
   immediate consumption—155 F degrees or                   pasteurized at temperatures high enough to destroy
   higher                                                   pathogenic organisms that might be present;
c. Stuffing containing fish, meat, or poultry—165 F         however, because of the possibility of contamination
   degrees or higher                                        or recontamination after opening, thawing or
                                                            reconstitution, these products shall be primarily used
d. Roast beef and corned beef—145 F degrees or              in cooking and baking.
   higher
                                                            Nondairy creaming, whitening or whipping agents
Potentially hazardous foods that have been cooked           may be reconstituted in-house only if immediately
and then refrigerated shall be quickly and                  stored in sanitized, covered containers not larger
thoroughly reheated at a minimum of 165 F degrees           than one gallon, and cooled to 41 F degrees or lower
before being served. Steam tables, warmers and              within four hours of preparation.
similar hot food holding equipment are prohibited


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The CF shall use thermometers to ensure the                  risk of overhead contamination exists, the food must
attainment and maintenance of proper internal                be loosely covered to facilitate heat transfer from the
cooking, holding or refrigeration temperatures of all        surface of the food.
potentially hazardous foods.                                 4. Food Thawing
To prevent cross-contamination, separate cutting
                                                             Potentially hazardous food shall be thawed according
boards must be used for raw and cooked foods. The
                                                             to one of the following procedures:
cutting boards must be washed, rinsed and sanitized
between every use.                                           a. under refrigeration that maintains the food at 41
                                                                F degrees or below;
The FSA may require use of color-coded cutting
boards, which reduce the risk of cross-                      b. submerged in running water;
contamination during food preparation.                          1) at a water temperature of 70 F degrees or
3. Food Cooling                                                    below;

Potentially hazardous food must be cooled from 140              2) with sufficient water velocity to agitate and
to 70 F degrees within two hours of cooking, and                   float off loose particles in an overflow; and
from 70 to 41 F degrees or below within four hours.             3) for a period that does not allow thawed
Foods prepared from ingredients at ambient                         portions of ready-to-eat or raw animal foods
temperature, such as reconstituted foods and canned
                                                                             ,  In  c.
                                                                   to rise above 41 F degrees; also
                                                                        vic periods22for thawing include the
tuna, must be cooled to 41 F degrees within two
                                                               4) the iallowed
hours of cooking/preparation.
                                                               r e  C
                                                             o time the14food     2is0exposed to the running water,
The food service department can meet time-and- no      v . C                   ,
                                                                       r to prepare food for cooking, and/or
                                            O w  i          e  m  btheetime
                                te  d  n
temperature requirements for cooling iby  using any
                                                     , D ec the time it takes under refrigeration to cool the
                             c i
or all of the following techniques, which
                                            522
                                           expedite1               food to 41 F degrees; or
cooling:                            2 1 - 5
                            No.
a. placing the food in shallow pans;
                                                            c. as part of a cooking process, provided there is
                                                                continuous cooking throughout the process.
b. separating food into smaller or thinner portions;         5. Food Protection—General Requirements
c. using rapid cooling equipment;                            Food and ice shall be protected from dust, insects
d. stirring the food in a container placed in an ice         and rodents, unclean utensils and work surfaces,
   water bath;                                               unnecessary handling, coughs and sneezes, flooding,
                                                             drainage, overhead leakage and other sources of
e. using containers that facilitate heat transfer;
                                                             contamination. Protection shall be continuous,
f. adding ice as an ingredient; and/or                       whether the food is in storage, in preparation, on
g. using a commercial blast-chiller.                         display or in transit.

During cooling, the food containers shall be                 All food storage units must be equipped with
arranged in cooling or cold-holding equipment in a           accurate easy-to-read thermometers. New heating
way that maximizes heat transfer through the walls           and/or refrigeration equipment purchases shall
of the containers.                                           include a zone-type thermometer with temperature
                                                             graduations. Refrigeration equipment shall be
Food protected from overhead contamination shall             designed and operated to maintain a temperature of
be left uncovered during the cooling period. If the          41 F degrees or below.


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6. Hermetically Sealed Foods                                  G. Religious/Special Diets
Canned food that has abnormal color, taste or                 1. General Policy
appearance, or which is contained in cans that show
abnormalities such as bulging at ends, swelling or            All facilities shall provide detainees requesting a
leakage, shall not be served. Unsuitable canned food          religious diet a reasonable and equitable opportunity
shall be surveyed, reported and destroyed.                    to observe their religious dietary practice, within the
                                                              constraints of budget limitations and the security and
7. Potentially Hazardous Foods                                orderly running of the facility, by offering a
Potentially hazardous foods are those foods that              common fare menu. While each request for
provide a good medium for bacteria growth. They               religious diet accommodation is to be determined
include any perishable food that consists in whole or         on a case-by-case basis, ICE anticipates that
part of milk, milk products, eggs, meat, poultry, fish        facilities will grant these requests unless an
or shellfish or other high-protein foods.                     articulable reason exists to disqualify someone for
Potentially hazardous foods shall be prepared with            religious accommodation or the detainee’s practice
minimal manual contact. Such products shall be                poses a significant threat to the secure and orderly
prepared from chilled ingredients whenever feasible.          operation of the facility. Information about the
The surfaces of equipment, containers, cutting                availability of religious and special diets shall be
boards and utensils used for preparation and                  provided to detainees in a language or manner that
                                                                               ,
                                                              they can understand.In c.
subsequent storage of potentially hazardous food
                                                                            ic
                                                                         ivFare”
shall be cleaned effectively after each use.
                                                              C o r e
                                                               “CommonC
                                                                               4    2 0to22
                                                                                 refers
                                                                                 ,         a no-flesh protein option
                                                        o v .          e r  1
                                               O  w i
Potentially hazardous food shall be prepared as closen         provided
                                                                     b   whenever   an  entrée containing flesh is
                                                               em as part of a meal. Likewise, a “Common
                                         in
to serving time as practicable. Potentially
                                     d
                                             hazardous
                                                          D e coffered
raw frozen food shall be cooked    e the frozen
                              citfrom            2    1 ,
                                                   2state      Fare” meal offers vegetables, starches and other
whenever practical. Tempering shall2be     - 5 5
                                       1accomplished           foods that are not seasoned with flesh. This diet is
                                 o .
                             N or below or, with
by refrigeration at 40 F degrees                               designed as the foundation from which
potable running water, at 70 F degrees or below. The          modifications can be made to accommodate the
potable water technique may be used only if the               religious diets of various faiths.
product is sealed in its original container. At no time       When considering denying a request by a detainee
shall potentially hazardous food thaw at room
                                                              to participate in the religious diet program, or
temperature.
                                                              removal of a detainee from the religious diet
All precooked, potentially hazardous, refrigerated or         program, the facility administrator, or his/her
frozen food intended for reheating hall be heated             designee, shall consult with the local FOD prior to
rapidly to a temperature above 165 F degrees.                 denying the request or prior to removing a detainee
8. Leftovers                                                  from the program. To participate in the common
                                                              fare program, a detainee shall initiate an
Prepared food items that have not been placed on the
                                                              “Authorization for Common Fare Participation”
serving line may be retained for no more than 24
                                                              form (Appendix 4.1.A) for consideration by the
hours. Leftovers offered for service a second time
                                                              chaplain (or FSA). On the form, the detainee shall
shall not be retained for later use, but shall be
                                                              provide a written statement articulating the religious
discarded immediately after offering. All leftovers
                                                              motivation for participation in the common fare
shall be labeled to identify the product, preparation
                                                              program. Oral interpretation or written assistance
date and time.


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shall be provided to illiterate or limited-English           d. signature of the FSA.
proficient detainees as necessary in completing this
                                                             The FSA shall contact the appropriate individual or
form. If participation is approved, the chaplain or
                                                             department to obtain a photo of the detainee, and
FSA shall forward a copy of the form for inclusion in
                                                             shall attach the photo to the identification card. The
the detainee’s detention file.
                                                             FSA shall ensure that the food service department
Detainees whose religious beliefs require adherence          receives one copy of the special-diet identification
to particular dietary laws or generally accepted             card. The second identification card shall be issued
religious guidelines and practices shall be referred to      to the detainee who, at every meal, must present the
the chaplain. The chaplain shall verify the religious        card to the CS on duty. The second copy of the
diet requirement by reviewing files and consulting           consultation sheet shall be filed in the detainee’s
with religious representatives. In the case of an            detention file.
unorthodox request, the chaplain or religious                Any time a detainee on a religious diet refuses a meal
services coordinator is encouraged to consult                and/or accepts the regular mainline meal in place of
established clergy contacts in the community to              the religious meal, the cook on duty shall notify the
determine whether a request pertaining to a                  FSA in writing.
particular faith is appropriate. Facilities may
                                                             2. Standard Common Fare Menu (Religious Diet)
employ different mechanisms to determine if a
                                                             Common fare is intended to accommodate detainees
detainee’s request should be granted; however, the
                                                             , Inc.
                                                         ivic 022
determination may not impose a substantial burden            whose religious dietary needs cannot be met on the
                                                     re C    mainline. The common fare menu is based on a 14-
                                               . Co er 14, 2
on a detainee’s religious exercise or necessitate
                                          ino
lengthy questionnaires or numerous interviews.v        b
                                                             day cycle, with special menus for the ten federal
                                        Ow       c e m       holidays. The menus must be certified as exceeding
                                     in        e
Response to the request for a religious diet must be
                             cited 55221, D
                                                             minimum daily nutritional requirements and
provided in a timely manner, and documented.
                                   21-
                                                             meeting RDAs. Beverages shall be selected from the
                             N o .
Absent an articulable reason to deny the request, the        regular menu.
presumption must be that the detainee’s request
constitutes a legitimate exercise of religious belief        3. Changes to the standard Common Fare Menu
and practice.                                                Modifications to the standard common fare menu
                                                             may be made at the local level for various reasons.
The chaplain or religious services coordinator and
                                                             For example, seasonal variations affect the
FSA shall issue specific written instructions for the
                                                             availability of fresh produce in different locations,
implementation of the diet as soon as practicable
                                                             making menu modifications inevitable.
and within 10 business days of verification.                 Modifications may also be made to meet the
Once a religious diet has been approved, the FSA             requirements of various faith groups (e.g., for the
shall issue, in duplicate, a special-diet identification     inclusion of kosher and/or halal flesh-food options).
card.                                                        With the facility administrator’s concurrence, the
This diet-identification card shall contain the              FSA may make temporary, nutritionally equal
following information:                                       substitutions for fresh seasonal produce that violates
                                                             no religious dietary requirements. The chaplain or
a. detainee name and A-number;
                                                             local religious representatives shall be consulted if
b. type of religious diet prescribed;                        technical questions arise. The Chaplain shall escort
c. expiration date, within 90 days; and                      other clergy to the common fare preparation area for


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frequent, random monitoring of compliance with              the policy.
religious dietary requirements.                             8. Nutritional Requirements
4. Hot Entree Availability
                                                            Common fare menus shall meet RDAs. A detainee
To the extent practicable, a hot flesh-food entree          who chooses the common fare menu shall select
shall be available to accommodate detainees’                beverages only from the regular menu.
religious dietary needs. Hot entrees shall be offered       9. Instant Food and Beverages
daily and shall be purchased, prepared and served in
a manner that does not violate the religious                The food service shall provide a hot-water urn for
requirements of any faith group.                            reconstituting instant beverages and foods for use by
                                                            detainees.
5. Kosher Requirements
                                                            10. Plates and Utensils
With the exception of fresh fruits and vegetables, the
facility’s kosher-food frozen entrees shall be              Common Fare meals shall be served with disposable
purchased precooked in a sealed container, heated           plates and utensils, except when a supply of reusable
and served hot. Other kosher-food purchases shall be        plates and utensils has been set aside for common
fully prepared, ready-to-use and bearing the symbol         fare service only. Separate cutting boards, knives,
of a recognized kosher-certification agency. Any            food scoops, food inserts and other such tools,
item containing pork or a pork product is                   appliances and utensils shall be used to prepare
                                                                    , Inc.
                                                            common fare foods, and shall be identified
                                                                ivic 022
prohibited. Only bread and margarine labeled
“pareve” or “parve” shall be purchased for the               e C
                                                            accordingly. Meat and dairy food items and the
                                                            r
kosher tray.
                                                   o v. Co er 14, 2
                                                            preparation and service utensils used with each group

                                            O w  in       e m b
                                                            shall be stored in areas separate from each other. A
6. Plates and Utensils
                                     d in 21, De        c
                              c ite
Kosher trays shall be served with disposable5 2 and
                                                            separate dishpan shall be provided for cleaning these

                                     21-5plates and
                                            plates          items, if a separate or three-compartment sink is not
utensils, except when a supply oof.reusable                 available.
                             N
utensils has been set aside for kosher-food service         The chaplain shall escort other clergy to the common
only. Separate cutting boards, knives, food scoops,         fare preparation area for frequent, random
food inserts and other such tools, appliances and           monitoring of compliance with religious dietary
utensils shall be used to prepare kosher-foods, and         requirements.
shall be identified accordingly. Meat and dairy food
items and the service utensils used with each group         11. Application and Removal
shall be stored in areas separate from each other. A        The facility administrator, in consultation with the
separate dishpan shall be provided for cleaning these       chaplain, shall be the approving official for a
items, if a separate or three-compartment sink is not       detainee’s removal from the common fare program.
available.                                                  The facility administrator or chaplain is required to
7. Religious Requirements                                   consult with the local FOD prior to denying any
                                                            request for a religious diet. In addition, once a
If a facility has a no-pork menu, in order to alleviate
any confusion for those who observe no-pork diets           detainee has been approved for a religious diet
for religious reasons, the above information, within        program, he or she may not be removed from the
“Section G,” shall be included in the facility’s            program without prior consultation with and
handbook and the facility orientation. If the facility      concurrence from the FOD. Denial or removal
has a chaplain, he/she shall also be made aware of          from a religious diet must be documented with the


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date and reason, and must be approved by the                program, as long as such purchases are consistent
facility administrator. The documentation should            with the common fare program. However, purchase
also include the date of FOD concurrence.                   of foods items inconsistent with the common fare
                                                            program may be grounds for removal from the
Food service staff shall refer to the daily roster to
                                                            program.
identify detainees in the common fare program. Staff
shall not use this information to disparage a               To preserve the integrity and orderly operation of
detainee’s religion or religious views or to attempt to     the religious diet program and to prevent fraud,
dissuade him/her from participating in the program.         detainees who withdraw or are removed may not be
                                                            immediately re-established back into the program.
a. The FSA shall monitor the food selections of all
   detainees participating in the common fare               The process of re-approving a religious diet for a
   program to ensure the legitimacy of their                detainee who voluntarily withdraws or who is
   participation.                                           removed ordinarily may take up to ten days.
                                                            However, repeated withdrawals, voluntary or
b. Staff shall train and supervise all detainees with
                                                            otherwise, may result in a waiting period of up to
   common fare assignments.
                                                            one month before the re-approval request is decided.
c. A detainee’s temporary adoption of a medically           The decision to remove and/or reinstate a detainee
   prescribed diet or placement in a Special                rests with the facility administrator, in consultation
   Management Unit (SMU) shall not affect his/her
                                                                          ,  In c.
                                                            with the chaplain and/or local religious

                                                                    ivic 022
   access to common fare meals. However, if a               representatives, if necessary.
                                                             r e  C
   prescribed medical diet conflicts with the
                                                      v. C12.        r 1  4 , 2 Meals
                                                           o Annual Ceremonial
   common fare diet, the medical diet takes
                                             w  in  o        m  be in consultation with local religious
   precedence.
                                     in   O              c e
                                                          The  chaplain,
                                                      De leaders as necessary, shall develop the ceremonial
d. A detainee who has been c  ited for a5common
                           approved         2  2 1  ,
                                 2  1  - 5writing,        meal schedule for the subsequent calendar year and
                          Nofrom
   he/she wishes to withdraw
                                . the religious
   fare menu must notify the chaplain, in          if
                                                          shall provide this schedule to the facility
                                                            administrator. The schedule shall include the date,
   diet. Oral interpretation or written assistance
                                                            religious group, estimated number of participants
   shall be provided to illiterate or limited-English
                                                            and special foods required. Ceremonial and
   proficient detainees as necessary in providing
                                                            commemorative meals shall be served in the food
   written notice of withdrawal from a religious
                                                            service facility, unless otherwise approved by the
   diet.
                                                            facility administrator.
The Chaplain may recommend withdrawal from a
                                                            The food service department shall be the only source
religious diet if the detainee is documented as being
                                                            of procurement for food items. To maintain equity
in violation of the terms of the religious diet
                                                            in menu design, all meals shall be limited to food
program to which the detainee has agreed in
                                                            items on the facility’s master-cycle menu. To
writing. If a detainee refuses five consecutive
                                                            facilitate food preparation, consultations between the
common fare meals, the chaplain may recommend
                                                            FSA and local religious representative(s) concerning
in writing that the facility administrator remove the
                                                            appropriate menus shall occur six to eight weeks in
detainee from the program. Detainees participating
                                                            advance of the scheduled observance. The religious
in the common fare program may also consume
                                                            provider may, through the food service department,
items for sale through the facility’s commissary
                                                            procure the ritual observance food items (in minimal
program without risk of being removed from the
                                                            quantities). Such items shall not generally constitute


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the main entree for the ceremonial meal.                  c. Lent
13. Religious Fasts and Seasonal Observances                 During the Christian season of Lent, a meatless
                                                             meal (lunch and dinner) shall be served on the
The common fare program shall accommodate                    food service line on Fridays and on Ash
detainees abstaining from particular foods or fasting        Wednesday.
for religious purposes at prescribed times of year,
                                                          14. Common Fare Recordkeeping and Costs
including, but not limited to:
a. Ramadan                                                The FSA shall estimate quarterly costs for the
   During Ramadan, Muslims participating in the           common fare program and include this figure in the
   fast shall receive the approved meals after            quarterly budget. The FSA shall maintain a record of
   sundown for consumption in the food service            the actual costs of both edible and non-edible items.
   department or SMU.                                     H. Medical Diets
   During the December fast, vegetarian or hot fish       1. Therapeutic Diets
   dishes shall replace meat entrees. Fasters shall
   receive both noon and evening meals after              Detainees with certain conditions—chronic or
   sundown.                                               temporary; medical, dental, and/or psychological—
                                                          shall be prescribed special diets as appropriate.
   Detainees not participating in the common fare
                                                          Special (therapeutic) diets shall be authorized by the
   program, but electing to observe Ramadan or the
                                                                    , I n c.
                                                               ivic 022
   December fast shall be served the main meal after      clinical director (CD) on Form IHSC-819, or
                                                         re C
                                                          equivalent, detainee special need(s). The form shall
                                                   . Co er 14, 2
   sundown. If the main menu does not meet
   religious requirements, the detainee may
                                              ino v       specify the type of therapeutic diets to be prescribed
                                                           b
                                          O  w       c e mand, if necessary, renewed, in 90-day increments.
                                      in
   participate in the common fare program during   e
   the period in question.  cited 55221, D                Once prescribed, the diet shall be made available to

   Each facility may provide a o .
                               bag 2 1- or allow
                                   breakfast
                                                          the detainee by the next business day.
                           N
   detainees to go to the food service department for The cook on duty shall notify the FSA and/or CS in
   breakfast before dawn. Bag breakfasts shall            writing any time a detainee on a therapeutic diet
   contain nonperishable items such as ultra-high         refuses the special meal or accepts the regular meal
   pasteurized milk, fresh fruit, peanut butter, dry      from the main food service line.
   cereal, etc. The menu for the common fare              2. Snacks or Supplemental Meals
   program cannot be used for a bag breakfast.
                                                          The physician may order snacks or supplemental
b. Passover                                               meals for such reasons as:
   The facility shall have the standard Kosher-for-
                                                          a. insulin-dependent diabetes;
   Passover foods available for Jewish detainees
   during the eight-day holiday. The food service         b. a need to increase protein or calories for
   department shall be prepared to provide Passover          pregnancy, cancer, AIDS, etc.; and/or
   meals to new arrivals.                                 c. a need to take prescribed medication with food.
   All Jewish detainees observing Passover shall be       I. Specialized Food Service Programs
   served the same Kosher-for-Passover meals,
   whether or not they are participating in the           1. Satellite Meals
   common fare program.                                   “Satellite meals” refers to food prepared in one



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location for consumption elsewhere (e.g., general          Care must be taken to ensure that culturally diverse
housing units, the SMU, remote housing areas, etc.).       meals are provided in such portions as to be
                                                           nutritionally adequate.
The sanitary standards required in the food service
department, from preparation to actual delivery, also      4. Segregation Unit Food Rations
apply to satellite meals. Satellite meals and
                                                           Food items in excess of the normal prescribed ration
microwave instructions (if applicable) shall be
                                                           shall not be given to detainees in segregation units as
posted where satellite meals are served.
                                                           a reward for good behavior, nor shall food rations be
Foods shall be kept sufficiently hot or cold to arrest     reduced or changed or otherwise used as a
or destroy the growth of infectious organisms. The         disciplinary tool.
FSA shall ensure that staff members understand the         5. Segregation Unit Sack Lunches
special handling required with potentially hazardous
foods, such as meat, cream or egg dishes. Staff must       Detainees in segregation units shall receive sack
understand the critical importance of time and             meals only with the facility administrator’s written
temperature in delivering safe food.                       authorization. The medical department shall be
                                                           consulted when necessary.
To prevent bacteria growth, food must be prepared
and held at the proper temperatures until served.          6. Sack Meals
Satellite tray meals must be delivered and served          All meals shall be served from established menus in
within two hours of food being plated.
                                                                           , Inc.
                                                           the dining room or housing units. In some
Foods in the potentially hazardous category shall               e C  ivic 022
                                                           circumstances, detainees may be provided sack
                                                              r
remain under refrigeration until cooking time and,
                                                     o v. Co er 14, 2
                                                           meals.

                                          O   w  in
after cooking, maintained at or above 140 F degrees.        e m  b shall be provided for detainees being
                                                          c
                                      in line1, De transported from the facility, detainees arriving or
                                                           Sack meals
                               ited serving
Hot foods must be placed in a heated
                              c
during tray assembly. Thermal bags and-5
                                     1     522
                                        carts,             departing between scheduled meal hours, and
                                 . 2
                             No
refrigerated carts, thermal compartment
shall be used for satellite meals.
                                        trays, etc.,       detainees in the SMU, as provided above.
                                                           a. Quality
Outside foods prepared in bulk for transportation to          Sack meals shall be of the same nutritional quality
a remote housing unit or other location shall be              as other meals prepared by the food service.
transported in thermal containers that maintain cold
items at temperatures below 41 F degrees and/or            b. Preparation
hot items at temperatures above 140 F degrees,                Members of the food service staff shall prepare
excluding items served within the two-hour window             sack meals for detainees who are being
for meal service.                                             transported to/from other locations by bus or air
                                                              service. While detainee volunteers assigned to the
2. Weekend and Holiday Meal Schedule                          food service department shall not be involved in
When weekend and/or holiday meal schedules differ             preparing meals for transportation, they may
from the weekday schedule, detainees in the SMU               prepare sack meals for on-site consumption.
shall receive a continental breakfast or regular               A designated member of the transportation by
breakfast items. Brunch service shall conform to the           land or plane crew shall pick up all sack meals
breakfast meal pattern, and dinner service to the              prepared for detainee transportation from the
noon or evening meal pattern.                                  food service department. Before departing, this
3. Selection of Menu Courses                                   crew member shall inspect the sacks for:


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  1) quality of contents;                                     Whenever possible, the food service department
                                                              shall pack sack meals intended for bus or air
  2) proper wrapping; and
                                                              service in disposable “snack boxes” that are
  3) correct individual counts.                               designed for proper placement of contents and to
c. Contents                                                   afford maximum protection during handling,
   For any detainee who shall be transported by the           packaging and transporting.
   ICE Air Operations (IAO), the sack lunch must              If necessary, paper bags may be used.
   comply with IAO criteria. Otherwise, the
                                                              These lunches shall be stored in a secured,
   following requirements are applicable:
                                                              refrigerated area until pickup.
  Each sack shall contain at least two sandwiches, of
  which at least one shall be meat (non-pork).            J. Safety and Sanitation
  Commercial bread or rolls may be preferable             1. General Policy
  because they include preservatives. To ensure
  freshness, fresh, facility-made bread may be used       All food service employees are responsible for
  only if made on the day of lunch preparation.           maintaining a high level of sanitation in the food
  Sandwiches shall be individually wrapped or             service department. An effective food sanitation
  bagged in a secure fashion to prevent the food          program prevents health problems, creates a positive
  from spoiling. Meats, cheeses, etc., shall be           environment and encourages a feeling of pride and
                                                                             In c.
                                                          cooperation among detainees.
                                                                          ,
  freshly sliced the day of sandwich preparation.
                                                                 C      c shall teach
                                                                    ivistaff         2 detainee workers
  Leftover cooked meats shall not be used after 24        Foodeservice
                                                           o r                 2 0 2
  hours.
                                                in o  v. Cpersonal
                                                                b e r  14, and hygiene; sanitary methods
                                                                   cleanliness
  In addition, each sack shall include:in Ow           e c e
                                                          of m
                                                             preparing, storing and serving food; and the

  1) one piece of fresh fruit,cor
                                   d
                               iteproperly   2 2  1 , D sanitary operation, care and maintenance of
                                   2 1  - 55complete
                                           packaged       equipment, including automatic dishwashers and

     with a plastic spoon; No.
     canned fruit (or paper cup   with lid),              pot and pan washers.
                                                          2. Personal Hygiene of Staff and Detainees
  2) one ration of a dessert item, like cookies,
     doughnuts and fruit bars; and                        a. All food service personnel shall wear clean
                                                             garments, maintain a high level of personal
  3) such extras as:                                         cleanliness and practice good hygiene at all times.
     a) properly packaged fresh vegetables, like             They shall wash hands thoroughly with soap or
        celery sticks and carrot sticks; or                  detergent before starting work and as often as
                                                             necessary during the shift to remove soil or other
     b) commercially packaged “snack foods,” such
                                                             contaminants.
        as peanut butter crackers, cheese crackers
        and individual bags of potato chips.              b. Staff and detainees shall not resume work after
                                                             visiting the toilet facility without first washing
  These items enhance the overall acceptance of the
                                                             their hands with soap or detergent. The FSA shall
  lunches.
                                                             post signs to this effect.
  Extremely perishable items such as fruit pie,
                                                          c. Neither staff nor detainees shall use tobacco in a
  cream pie and other items made with milk, cream
                                                             food service work area. If they use tobacco in a
  or other dairy ingredients shall be excluded.
                                                             smoking-permitted area, they shall wash their
d. Packaging                                                 hands before resuming work.


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d. All staff and detainees working in the food             of medical clearance prior to resuming food service
   preparation and service area(s) shall use effective     work.
   hair restraints. Personnel with hair that cannot be
                                                           4. Daily Health Checks
   adequately restrained shall be prohibited from food
   service operations. Head coverings, gloves and          The CF or detention staff assigned to food service
   beard guards are encouraged, but not required,          shall inspect all detainee food service workers on a
   when staff members are distributing covered             daily basis at the start of each work period. Detainees
   serving trays.                                          who exhibit signs of illness, skin disease, diarrhea
                                                           (admitted or suspected) or infected cuts or boils
e. Detainee food service workers shall be provided
                                                           shall be removed from the work assignment and
   with and required to use clean white uniforms
                                                           immediately referred to health services for
   while working in a food preparation area or on
                                                           determination of fitness for duty. The detainees shall
   the serving line.
                                                           return to work only after the FSA has received
f. All food service personnel working in the food          written clearance from health services staff.
   service department shall be provided with and
                                                           5. Environmental Sanitation and Safety
   required to use approved rubber-soled safety
   shoes.                                                  All facilities shall meet the following environmental
                                                           standards:
g. To prevent cross-contamination, staff and
   detainees who prepare or serve food shall not be
                                                                       ,  In c.
                                                           a. Facilities must be clean and well-lit, and must
   assigned to clean latrines, garbage cans, sewers,
                                                          r e    ivic 022
                                                              display orderly work and storage areas.
                                                              C
   drains or grease traps, or other such duties,
                                                   v. Cb.oOverhead  1 4
                                                                     pipes  2 be removed or covered to
                                                                         , must
   during the period of food preparation.      ino               r
                                                             be the food-safety hazard posed by leaking
                                          O  w        c e m
                                                          eliminate
h. Only authorized food service e
                             cit   d in shall2be1, De or dusty pipes.
                                 personnel

                                   2 1 - 552
   tasked with preparing and serving food.             c. Walls, floors and ceilings in all areas must be
                              o .
i. Authorization is based onNapproval from the            cleaned routinely.
   facility’s health services department.                  d. Facilities must employ ventilation hoods to
j. Only authorized personnel shall be allowed in the          prevent grease buildup and wall/ceiling
   food preparation, storage or utensil-cleaning areas        condensation that can drip into food or onto food
   of the food service area.                                  contact surfaces. Filters or other grease-extracting
                                                              equipment shall be readily removable for cleaning
3. Medical Examination
                                                              and replacement.
The facility administrator shall document that food
                                                           e. The area underneath sprinkler deflectors must
service personnel have received a pre-employment
                                                              have at least an 18-inch clearance.
medical examination to identify communicable
diseases that may contraindicate food service work.        f. Facilities must possess hazard-free storage areas:
The medical department shall document detainees'               1) Bags, containers, bundles, etc., shall be stored
clearance for food service work prior to their                    in tiers and stacked, blocked, interlocked and
assuming food service duties. The food service                    limited in height for stability and security
department shall refer to the medical department                  against sliding or collapsing.
detainees that have been absent from work for                  2) No flammable material, loose cords, debris or
reasons of communicable illness, for a determination              other obvious hazards may be present.


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   3) No pests or infestations may be present.               meet sanitation standards through careful planning,
g. Aisles and passageways shall be kept clear and in         training and supervision.
   good repair, with no obstruction that may create          The FSA shall develop a schedule for the routine
   a hazard or hamper egress.                                cleaning of equipment.
h. To prevent cross-contamination, kitchenware and           7. Equipment and Utensils
   food-contact surfaces shall be washed, rinsed and
                                                             a. Information
   sanitized after each use and after any interruption
                                                                All food service equipment and utensils shall meet
   of operations during which contamination may
                                                                the National Sanitation Foundation International
   occur.
                                                                (NSF) standards or equivalent standards of other
i. Facilities must possess a ready supply of hot water          agencies.
   (105-120 F degrees).
                                                             b. Materials
j. Garbage and other trash shall be collected and
                                                                 1) Materials used in the construction or repair of
   removed as often as possible. Garbage/refuse
                                                                    multi-use equipment and utensils shall:
   containers shall have sufficient capacity for the
   volume and shall be kept covered, insect- and                    a) be non-toxic, non-corrosive, non-
   rodent-proof and frequently cleaned. The facility                   absorbent, durable under normal use,
   shall comply with all applicable regulations                        smooth and easily cleaned;
                                                                        , I n c.
                                                                  ivic 022
   (local, state and federal) on refuse handling and                b) impart no odors, colors or tastes; and
   disposal and standard “1.2 Environmental Health
                                                           re  C            2original properties under
   and Safety.”
                                                    o v. Co c)erepeated
                                                                  r     4,use,
                                                                 retain their
                                                                     1
                                           Owin Decemb adulteration as they deteriorate.
                                                                                creating no risk of food-
k. The premises shall be maintained inina condition
   that prevents the feeding or ted of insects
                              cinesting       2 2 1 ,
                                                  and
   rodents. Outside openings shall 2    - 55 by
                                    be1protected           2) Paint is prohibited on any surface that may
                             No. controlled air
   tight-fitting screens, windows,                            come into contact with food.
   curtains and self-closing doors.                              3) Milk-dispensing tubes shall be cut diagonally
6. Equipment Sanitation                                             about two inches from the cutoff valve. Bulk
                                                                    milk dispensers shall be equipped with
Information about the operation, cleaning and care                  thermometers.
of equipment shall be obtained from manufacturers
                                                             c. Design and Fabrication
or local distributors. A file of such reference material
shall be maintained in the food service department               1) All food service equipment and utensils
and used in developing equipment cleaning                           (including plastic ware) shall be designed and
procedures for training. Sanitation shall be a primary              fabricated for durability under normal use.
consideration in the purchase and placement of
                                                                    a) Such equipment shall be readily accessible,
equipment.                                                             easily cleaned and resistant to denting,
Equipment shall be installed for ease of cleaning,                     buckling, pitting, chipping and cracking.
including the removal of soil, food materials and                2) Equipment surfaces not intended for contact
other debris that collects between pieces of                        with food, but located in places exposed to
equipment or between the equipment and walls or                     splatters, spills, etc., require frequent cleaning.
floor. Older facilities that may not have the                       Therefore, they shall be reasonably smooth,
advantage of the latest designs and equipment can


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      washable, free of unnecessary ridges, ledges,              both before and after cleaning.
      projections and crevices. Upkeep of equipment           3) Equipment and utensils shall be pre-flushed,
      surfaces shall contribute to cleanliness and               pre-scraped and, when necessary, pre-soaked to
      sanitation.                                                remove gross food particles. A fourth sink
d. Installation                                                  compartment with a garbage-disposal is useful
                                                                 for these purposes and shall be included in
   1) Equipment shall be installed in accordance
                                                                 plans for facilities being built or renovated.
      with the manufacturer’s instructions and good
      engineering practices.                                  4) Except for fixed equipment and utensils too
                                                                 large to be cleaned in sink compartments, the
   2) Installers shall allow enough space between
                                                                 following procedures apply to cleaning
      pieces of equipment and between equipment
                                                                 equipment and utensils:
      and walls to facilitate routine cleaning.
      Adjacent pieces may be butted together if the              a) Wash in the first sink compartment, using a
      gap between them is sealed.                                   hot detergent solution changed frequently
                                                                    to keep it free from soil and grease.
e. General Cleaning Procedures
                                                                 b) Rinse in or under hot water in the second
   1) Moist cloths for wiping food spills on
                                                                    compartment, changing the rinse water
      kitchenware and food-contact surfaces on
                                                                    frequently. This compartment shall be kept
      equipment shall be clean, rinsed frequently in
                                                                           ,  In c.
                                                                     ivic 022
                                                                    empty, and a sprayer shall be used for
      sanitizing solution and used solely for wiping
                                                              re  C rinsing to prevent rinse water from
                                                        . Co er 14, 2
      food spills. These cloths shall soak in the
      sanitizing solution between uses.
                                                  in o v            becoming soapy or contaminated.
                                                                bc) Sanitize in the third compartment using one
                                            O  w          c e m
                              c ite d in 21, De
   2) Moist cloths used for non-food-contact
                                          5 5 2
      surfaces like counters, dining table tops and
                                                                    of the following methods:
      shelves shall be cleaned,o  . 21and- stored in
                                rinsed                              i. Immerse for at least 30 seconds in clean
                            N
      the same way as the moist cloths used on                         water at a constant temperature of 171 F
      food-contact surfaces. They shall be used on                     degrees that is maintained with a heating
      non-food-contact surfaces only.                                  device and frequently checked with a
                                                                       thermometer. Use dish baskets to
   3) Detergents and sanitizers must have Food and
                                                                       immerse items completely.
      Drug Administration approval for food service
      uses.                                                         ii. Immerse for at least 60 seconds in a
                                                                        sanitizing solution containing at least 50
f. Manual Cleaning and Sanitizing
                                                                        parts per million (ppm) chlorine at a
   1) A sink with at least three labeled                                temperature of at least 75 F degrees.
      compartments is required for manually
                                                                    iii. Immerse for at least 60 seconds in a
      washing, rinsing and sanitizing utensils and
                                                                         sanitizing solution containing at least
      equipment. Each compartment shall have the
                                                                         12.5 ppm iodine, with a pH not higher
      capacity to accommodate the items to be
                                                                         than 5.0 and a temperature of at least 75
      cleaned. Each shall be supplied with hot and
                                                                         F degrees.
      cold water.
                                                                    iv. Immerse in a sanitizing solution
   2) Drain-boards and/or easily movable dish-tables
                                                                        containing an equivalent sanitizing
      shall be provided for utensils and equipment


4.1 | Food Service                                     246                                         PBNDS 2011
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            chemical at strengths recommended by                 maintained for hot-water sanitizing:
            the U.S. Public Health Service.                      a) Single-tank, stationary rack, dual-
         v. Periodically check and adjust as                        temperature machine: wash temperature of
            necessary the chemical concentrations in                150 F degrees; final rinse, 180 F degrees.
            a sanitizing solution, using a test kit.             b) Single-tank, stationary rack, single-
         vi. Air dry utensils and equipment after                   temperature machine: wash and rinse
             sanitizing.                                            temperature of 165 F degrees.
         vii. Steam clean oversized equipment,                   c) Multi tank, conveyor machine: wash
             provided the steam can be confined to                  temperature of 150 F degrees; pumped
             the piece of equipment. Alternatively,                 rinse, 160 F degrees; final rinse, 180 F
             rinse, spray or swab with a chemical                   degrees.
             sanitizing solution mixed to at least               d) Single-tank, pot/pan/utensil washer
             twice the strength required for                        (stationary or moving rack): wash
             immersion sanitizing.                                  temperature of 140 F degrees; final rinse,
g. Mechanical Cleaning and Sanitizing                               180 F degrees.
   Spray or immersion dishwashers or devices,                       i. When using a chemical spray in a single-
   including automatic dispensers for detergents,
                                                                        ,  I n c.
                                                                       tank, stationary rack, glass-washer,
                                                                  ivic 022
   wetting agents and liquid sanitizer, shall be                       maintain a wash temperature of at least
   maintained in good repair. Utensils and
                                                             re C
                                                       . Co er 14, 2
                                                                       120 F degrees, unless otherwise
   equipment placed in the machine must be
                                                in  o v        b       specified by the manufacturer.
   exposed to all cycles.
                                          O   w          c e m
                                      in must be1, De
                                tedwater                         ii. Air-dry all equipment and utensils after
                             cirinse
   1) The pressure of the final                2
                                         552inch                     sanitizing, by means of drain boards,
      between 15 and 25 pounds per 2 1 -
                                      square
      (psi) in the water lineN o.
                             immediately  adjacent to
                                                                     mobile dish tables and/ or carts.

      the final-rinse control valve.                       h. Equipment and Utensil Storage. Eating utensils
                                                              shall be picked up by their bases or handles only.
   2) Machine- or water line-mounted                          Utensils shall be stored in perforated pans only.
      thermometers must be installed to check water
      temperature in each dishwasher tank,                     Glasses, tumblers and cups shall be inverted
      including the final rinse water.                         before storing. Other tableware and utensils may
                                                               be either covered or inverted.
      Baffles, curtains, etc., must be used to prevent
      wash water from entering the rinse water             8. Storage of Clothing and Personal Belongings
      tank(s) and time conveyors to ensure adequate        Clothes and other personal belongings (e.g., jackets,
      exposure during each cycle.                          shoes) shall be stored in designated areas, apart
      Equipment and utensils must be placed on             from:
      conveyors or in racks, trays and baskets to          a. areas for the preparation, storage and serving of
      expose all food-contact surfaces to detergent,          food; and
      washing and rinsing without obstruction and
      to facilitate free draining.                         b. areas for the washing and storing of utensils.

   3) The following temperatures must be                   The FSA shall identify space for storing detainee
                                                           belongings.


4.1 | Food Service                                       247                                      PBNDS 2011
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9. Lavatories                                                   materials shall be prominently and distinctively
Adequate and conveniently located toilet facilities             labeled for easy content identification.
shall be provided for all food service staff and            d. All toxic, flammable and caustic materials shall be
detainee workers.                                              segregated from food products and stored in a
a. Toilet fixtures shall be of sanitary design and             locked and labeled cabinet or room.
   readily cleaned.                                         e. Cleaning and sanitizing compounds shall be
b. Toilet rooms and fixtures shall be kept clean and           stored apart from food products.
   in good repair.                                          f. Toxic, flammable and caustic materials shall not
c. Signs shall be prominently displayed.                       be used in a manner that may contaminate food,
                                                               equipment or utensils or may pose a hazard to
d. Lavatories shall have readily available hot and cold        personnel or detainees working with or
   water.                                                      consuming food service products.
e. Soap or detergent and paper towels or a hand-            g. A system for intermediate storage of received
   drying device providing heated air, shall be                hazardous substances shall secure the materials
   available at all times in each lavatory.                    from time of receipt to time of issue.
f. Waste receptacles shall be conveniently placed           The FSA shall obtain and file for reference Material
   near the hand-washing facilities.
                                                                            ,  In c.
                                                            Safety Data Sheets (MSDSs) on all flammable, toxic
10. Pest Control
                                                               re   C  ivic 022
                                                            and caustic substances used in the facility as required
Good sanitation practices are essential to an effective v. Co
                                                                       r 1  4 ,2
                                                            by standard “1.2 Environmental Health and Safety.”

                                               w    n o
                                                   ipest       m  be Safety Guidelines
                                                            12. General
                                            O
pest control program. The FSA is responsible for
                                                           c e
                                ited inincluding
control in the food service department,
                              c                  2  1 ,  De a. Extension cords shall be UL-listed and UL-labeled
                                    2 1  - 552 as
contracting the services of an outside exterminator            and may not be used in tandem.
necessary.
                             No   .                         b. All steam lines within seven feet of the floor or
To protect against insects and other pests, air                 working surface, and with which a worker may
curtains or comparable devices shall be used on                 come in contact, shall be insulated or covered
outside doors where food is prepared, stored or                 with a heat-resistant material or otherwise be
served.                                                         guarded from contact. Inaccessible steam lines,
11. Hazardous Materials                                         guarded by location, need not be protected from
                                                                contact.
Only those toxic and caustic materials required for
sanitary maintenance of the facility, equipment and         c. Machines shall be guarded in compliance with
utensils shall be used in the food service department.         OSHA standards:

a. All food service staff shall know where and how              1) Fans within seven feet of the floor or work
   much toxic, flammable or caustic material is on                 surface shall have blade guard openings no
   hand, and shall be aware that their use must be                 larger than two inches.
   controlled and accounted for daily.                          2) Protective eye and face equipment shall be
b. Detainee-type combination locks shall not be used               used, as appropriate, to avert risk of injury.
   to secure such material.                                        Dangerous areas presenting such risks shall be
                                                                   conspicuously marked with eye-hazard
c. All containers of toxic, flammable or caustic


4.1 | Food Service                                        248                                       PBNDS 2011
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      warning signs.                                        shall check refrigerator and water temperatures daily
   3) Safety shoes shall be worn in FSA-designated          and record the results. The FSA or designee shall
      foot hazard areas.                                    verify and document requirements of food and
                                                            equipment temperatures.
   4) Meat saws, slicers and grinders shall be
      equipped with anti-restart devices.                   The FSA or CS shall inspect food service areas at least
                                                            weekly.
   5) The maintenance manager shall provide
      ground fault protection wherever needed in            An independent, external inspector shall conduct
      the food service department, and shall                annual inspections to ensure that the food service
      document this protection for the FSA.                 facilities and equipment meet governmental health
                                                            and safety codes.
d. Light fixtures, vent covers, wall-mounted fans,
   decorative materials and similar equipment and           Personnel inspecting the food service department
   materials attached to walls or ceilings shall be         shall note any recommended corrective actions in a
   maintained in good repair.                               written report to the facility administrator. The
                                                            facility administrator shall establish the date by
e. Lights in food production areas, utensil and             which identified problems shall be corrected.
   equipment washing areas, and other areas
   displaying or storing food, equipment, or utensils       Checks of equipment temperatures shall follow this
                                                            schedule:
   shall be equipped with protective shielding.
                                                                            ,  In c.
f. An approved, fixed fire-suppression system shall
                                                               r e    ivic 022
                                                            a. dishwashers: every meal;
                                                                   C
   be installed in ventilation hoods over all grills,
                                                        v. Cb.opot and rpan4
                                                                          1   , 2 daily, if water in the third
                                                                            washers:
                                                w
   deep fryers and open flame devices. A qualified  ino        m  be
                                                               compartment    of a three-compartment sink is used
                                            O              c e
                                        in six 1, De for sanitation and the required minimum
                                  e  d every
   contractor shall inspect the system
                                it
                              c            5
   months. The fire-suppression system shall
                                       1 -   52be2             temperature is 180 F degrees; and
                                    2
                             No.
   equipped with a locally audible   alarm and
   connected to the control room’s annunciator
                                                            c. refrigeration/freezer equipment (walk-in units):
                                                               site-specific schedule, established by the FSA.
   panel.
                                                            All temperature-check documentation shall be filed
g. Hood systems shall be cleaned after each use to
                                                            and accessible.
   prevent grease build-up, which constitutes a fire
   risk. All deep fryers and grills shall be equipped       The FSA shall develop a cleaning schedule for each
   with automatic fuel or energy shut-off controls.         food service area and post it for easy reference. All
                                                            areas (e.g., walls, windows, vent hoods) and
13. Mandatory Inspection
                                                            equipment (e.g., chairs, tables, fryers, ovens) shall
The facility administrator shall implement written          be grouped by frequency of cleaning (e.g., after
procedures requiring the food service administrator         every use, daily, weekly, monthly, semiannually or
or designee to conduct the weekly inspections of all        annually).
food service areas, including dining, storage,
                                                            K. Food Storage, Receiving and Inventory
equipment and food-preparation areas.
                                                            1. General Policy
All of the food service department equipment (e.g.,
ranges, ovens, refrigerators, mixers, dishwashers,          Since control and location of subsistence supplies are
garbage disposal) require frequent inspection to            site-specific, each FSA shall establish procedures for
ensure their sanitary and operable condition. Staff         storing, receiving and inventorying food.


4.1 | Food Service                                      249                                         PBNDS 2011
                                                                                          (Revised December 2016)
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On the purchase request for potentially dangerous             may guide pallet placement. Wooden pallets may
items (e.g., knives, mace, yeast, nutmeg, cloves and          be used to store canned goods and other non-
other items considered contraband if found in a               absorbent containers, but not to store dairy
detainee’s possession), the FSA shall mark them               products or fresh produce.
“hot,” signaling the need for special handling.
                                                          e. Store perishables at 35-40 F degrees to prevent
2. Receiving                                                 spoilage and other bacterial action, and maintain
The first step in receiving food is matching incoming        frozen foods at or below zero degrees.
items with the invoice, purchase order and control        f. Prevent cross-contamination by storing foods
specifications. Weekly deliveries of fresh produce,          requiring washing or cooking separately from
meats and other perishable items shall be inspected          those that do not.
for freshness, quality and general appearance. Staff
                                                          g. For rapid cooling, use shallow pans (depth not to
shall supplement their inspections of perishables
                                                             exceed four inches). Cover or otherwise shield
with random checks of weight, count, size, etc.
                                                             refrigerated food from contamination.
Receiving staff shall examine deliveries promptly to      h. Do not store food in locker rooms, toilet rooms,
determine acceptability both for quantity and
                                                             dressing rooms, garbage rooms or mechanical
quality, consistent with the contract. If immediate
                                                             rooms, or under sewer lines, potentially leaking
examination is not practical upon delivery because
                                                             water lines, open stairwells or other sources of
inspection shall involve time-consuming tests, the
                                                                        , In  c.
                                                               Civic 2022
                                                             contamination.
vendor shall receive a receipt confirming delivery of
                                                            re
                                                        4.oInventory
a particular number/gross weight of containers in
                                                 o  v. CDetermining
                                                                e      4,
                                                                  r 1inventory
                                       O   w  i
good condition (or, if not, noting exceptions).n         e m  b                 levels and properly receiving,
3. Food Receipt and Storage ed in
                                                       c
                                                    De storing and issuing goods are critical to controlling
                           cit              2   1 ,
                                2 1
The following procedures apply when - 552 or
                                    receiving
                                                        costs and maintaining quality. While the FSA shall
storing food:             No.                           base inventory levels on facility needs, each facility
                                                          shall always stock a 15-day food supply at a
a. Inspect the incoming shipment for damage,              minimum.
   contamination and pest infestation. Rats, mice or      Procedures for checking the quality and quantity of
   insects may be hiding in the middle of a pallet.       food and other supplies and their distribution to the
b. Promptly remove damaged pallets and broken             point of use shall comply with industry-established
   containers of food. Separate damaged food              policies and financial management practices.
   containers from other food and store separately        Food service inventory represents significant
   for disposal. Take special care in handling flour,     financial resources converted into goods in the form
   cereal, nuts, sugar, chocolate and other such          of food, supplies and equipment. All food service
   products highly susceptible to contamination.          personnel must be aware of the value of the
c. Upon finding that an incoming food shipment            inventory and of his/her responsibility for the
   has been contaminated, contact the FSA/CS for          security of these goods upon receipt.
   instructions on the next course of action.             The master-cycle menus offer guidance to managers
d. Store all food item products at least six inches       planning inventory levels.
   from the floor and sufficiently far from walls to      Inventory levels shall be established, monitored and
   facilitate pest-control measures. A painted line       periodically adjusted to correct excesses or shortages.


4.1 | Food Service                                      250                                       PBNDS 2011
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5. Stock Rotation                                           b. sealing or otherwise making impenetrable all
Each facility shall establish a written stock rotation         wall, ceiling and floor openings to prevent entry
schedule.                                                      of dirt, water, pests, etc.;

6. Perpetual Inventory                                      c. vigilant housekeeping to keep the room clean and
                                                               free from rodents and vermin (a drain for
“Perpetual Inventory” is the process of recording all          flushing is desirable); and
food service purchases and food distribution.
Although details may vary, the information recorded         d. securing the storeroom under lock and key to
always includes the quantity on hand, quantity                 prevent pilferage—the FSA is responsible for key
received, quantity issued and unit cost for each food          distribution.
and supply item.                                            8. Refrigerators
Perpetual inventory records are important because           Butter, milk, eggs and cream shall be separated from
they provide the FSA with up-to-date information on         foods having strong odors. Eggs shall not be
product usage, and act as a guide for further               subjected to freezing temperatures.
purchases.
                                                            Refrigeration units shall be kept under lock and key
For accurate accounting of all food and supplies, a         when not in use. Walk-in boxes shall be equipped
perpetual inventory record is insufficient. An official     with safety locks that require no more than 15
inventory of stores on hand must be conducted
                                                                      ,  In c.
                                                            pounds of pressure to open easily from the inside. If
annually.
                                                          r eC  ivic 022
                                                            latches and locks are incorporated in the door’s

                                                    . Co er 14, 2
                                                            design and operation, the interior release mechanism
All food service departments shall complete a
physical inventory of the warehouse quarterly.wino v        b
                                                            must open the door with the same amount of
                                       in  O        e c e m pressure even when locks or bars are in place.
7. The Dry Storeroom
                             cited 55221, D Whether new or used, the inside lever of a hasp-type
                              o  .
Proper care and control of the dry 21-
                                   storeroom           lock must be able to disengage locking devices and
involves the following:     N                               provide egress. The FSA, along with the Safety
a. keeping the storeroom dry and cool (45-80 F              Manager, shall review the walk-in freezer(s) and
   degrees) to prevent swelling of canned goods and         refrigerator(s) to ensure that they operate properly.
   general spoilage;




4.1 | Food Service                                        251                                       PBNDS 2011
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Appendix 4.1.A: Authorization for Common Fare Participation

Name of detainee:
________________________________________________________ A-number: _______________
I hereby request authorization to participate in the Common Fare Program. I agree to comply with the program
requirements. I understand that if I am observed consuming mainline foods or violating other program
requirements, I may be removed from program participation and will not be eligible for immediate
reinstatement. Repeated program violations may result in removal from the program for up to one year. I further
understand that the same conditions for reinstatement may apply if I voluntarily withdraw from the program for
any reason.
I understand that I must have a recorded religious preference in order to be eligible for the program and that I
must provide a written reason for requesting to participate in the religious diet program.
Religious preference: _____________________
Specific reason for wanting to participate in the Common Fare Religious Diet Program:

                                                           , Inc.
                                                   re Civic 022
                                          o v. Co er 14, 2
                                      Owin       e m b
                                   in        e c
                           cited 55221, D
Signature of detainee:

                             o . 21-
                           N
________________________________________________________ A-number: _______________


Date: ____________________


Signature of Chaplain:


_________________________________________________________________________________


Date: ____________________


Record Copy—Detainee Detention File; Copy - Chaplaincy File; Copy—Detainee




4.1 | Food Service                                       252                                         PBNDS 2011
                                                                                           (Revised December 2016)
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4.2 Hunger Strikes                                            mental health personnel. Prior to 72 hours, staff
                                                              may refer a detainee for medical evaluation, and
I. Purpose and Scope                                          when clinically indicated, medical staff may refer
                                                              the detainee to a hospital;
This detention standard protects detainees’ health        2. The ICE/ERO Field Office Director shall be
and well-being by monitoring, counseling and                 immediately notified when a detainee is on a
providing appropriate treatment to any detainee who          hunger strike, declared or otherwise;
is on a hunger strike.
                                                          3. The detainee’s health shall be carefully monitored
Nothing in this detention standard is intended to            and documented, as shall the detainee’s intake of
limit or override the exercise of sound medical              foods and liquids. The clinical director,
judgment by the clinical medical authority (CMA)             designated physician or treating medical staff
responsible for a detainee’s medical care. Each case         shall conduct a full clinical and mental health
must be evaluated on its own merits and specific             assessment and evaluation, and recommend a
circumstances, and treatment shall be given in               course of treatment, intervention or follow-up;
accordance with accepted medical practice.
                                                          4. When medically advisable, a detainee on a hunger
This detention standard applies to the following             strike shall be isolated for close supervision,
types of facilities housing ICE/ERO detainees:               observation and monitoring;
  x   Service Processing Centers (SPCs);
                                                                         , I n c.
                                                                   ivic 022
                                                          5. Medical, mental health or hospital staff shall offer
                                                            r e C
                                                             counseling regarding medical risks and detainees
                                                      . Co er 14, 2
  x Contract Detention Facilities (CDFs); and
                                              byin
  x State or local government facilities used w   o  v       shall be encouraged to end the hunger strike or
                                                               b
                                       n  O             c e maccept medical treatment;

                          c  it e
    ERO through Intergovernmental d iService   2 1 , De 6. Refusal of medical treatment shall be documented
                                       -
    Agreements (IGSAs) to hold detainees 5   2 more
                                           5for
    than 72 hours.           o .  2 1                       in the detainee’s medical file;
                          N                               7. Involuntary medical treatment shall be
Procedures in italics are specifically required for
                                                             administered only with medical, psychiatric and
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                                             legal safeguards;
dedicated IGSA facilities must conform to these
procedures or adopt, adapt or establish alternatives,     8. A record of interactions with the striking
provided they meet or exceed the intent represented          detainee, the provision of food, attempted and
by these procedures.                                         successfully administered medical treatment, and
                                                             communications between the CMA, facility
Various terms used in this standard may be defined
                                                             administrator and ICE/ERO regarding the striking
in standard “7.5 Definitions.”
                                                             detainee shall be established; and
II. Expected Outcomes                                     9. The facility shall provide communication
                                                             assistance to detainees with disabilities and
The expected outcomes of this detention standard
                                                             detainees who are limited in their English
are as follows (specific requirements are defined in
                                                             proficiency (LEP). The facility will provide
“V. Expected Practices”).
                                                             detainees with disabilities with effective
1. Any detainee who does not eat for 72 hours shall          communication, which may include the
   be referred to the medical department for                 provision of auxiliary aids, such as readers,
   evaluation and possible treatment by medical and          materials in Braille, audio recordings, telephone


4.2 | Hunger Strikes                                    253                                        PBNDS 2011
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   handset amplifiers, telephones compatible with            Procedures for identifying and referring a detainee
   hearing aids, telecommunications devices for deaf         suspected or announced to be on a hunger strike to
   persons (TTYs), interpreters, and note-takers, as         medical staff shall include obtaining from qualified
   needed. The facility will also provide detainees          medical personnel an assessment of whether the
   who are LEP with language assistance, including           detainee’s action is reasoned and deliberate, or the
   bilingual staff or professional interpretation and        manifestation of a mental illness.
   translation services, to provide them with                Facilities shall immediately notify the local Field
   meaningful access to its programs and activities.         Office Director or his/her designee when an
   All written materials provided to detainees shall         ICE/ERO detainee begins a hunger strike.
   generally be translated into Spanish. Where               1. Staff shall consider any detainee observed to have
   practicable, provisions for written translation shall        not eaten for 72 hours to be on a hunger strike,
   be made for other significant segments of the                and shall refer him/her to the CMA for evaluation
   population with limited English proficiency.                 and management.
   Oral interpretation or assistance shall be provided       2. Medical personnel shall document the reasons for
   to any detainee who speaks another language into             placing a detainee in a single occupancy
   which written material has not been translated, or           observation room. This decision shall be reviewed
   who is illiterate.                                           every 72 hours. Medical personnel shall monitor
III. Standards Affected                                                In c.
                                                                the detainee in a single-occupancy observation
                                                                     ,
                                                           re  C ivic 022
                                                                room, when medically advisable and taking into
This detention standard replaces “Hunger Strikes”
                                                  o v. Co er 14, 2
                                                                consideration the detainee’s mental health needs.
dated 12/2/2008.
                                         O   w  in       e m b  If measuring food and liquid intake/output
                                                       c
IV. References cited in 221, De
                                                                becomes necessary, medical personnel shall make

                                       -55
                                                                a decision about appropriate housing placement.
                                 . 2 1
                           No
American Correctional Association, Performance-
based Standards for Adult Local Detention
                                                        C. Initial Medical Evaluation and
                                                                 Management
Facilities, 4th Edition: 4-ALDF-2A-52, 4D-15.
                                                             Medical staff shall monitor the health of a detainee
National Commission on Correctional Health Care,
                                                             on a hunger strike. If a detainee engaging in a
Standards for Health Services in Jails (2014).
                                                             hunger strike has been previously diagnosed with a
ICE/ERO Performance-based National Detention                 mental condition, or is incapable of giving informed
Standards 2011: “4.3 Medical Care.”                          consent due to age or illness, appropriate
                                                             medical/administrative action shall be taken in the
V. Expected Practices                                        best interest of the detainee.
A. Staff Training                                            1. During the initial evaluation of a detainee on a
                                                                hunger strike, medical staff shall:
All staff shall be trained initially and annually
thereafter to recognize the signs of a hunger strike,            a. measure and record height and weight;
and to implement the procedures for referral for                 b. measure and record vital signs;
medical assessment and for management of a
detainee on a hunger strike.                                     c. perform urinalysis;

B. Initial Referral                                              d. conduct psychological/psychiatric evaluation;



4.2 | Hunger Strikes                                       254                                        PBNDS 2011
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   e. examine general physical condition; and                   treatment, and communications between the
                                                                CMA, facility administrator, and ICE/ERO
   f. if clinically indicated, proceed with other
                                                                regarding the striking detainee.
      necessary studies.
2. Medical staff shall measure and record weight and         D. Food and Liquid Intake and Output
   vital signs at least once every 24 hours during the       After consultation with the CMA, the facility
   hunger strike and repeat other procedures as              administrator may require staff to measure and
   medically indicated.                                      record food and water intake and output as follows:
3. Qualified medical personnel may modify or                 1. Record intake and output in the medical record
   augment standard treatment protocols when                    using an IHSC “Hunger Strike Form” or
   medically indicated.                                         equivalent;
4. Medical staff shall record all examination results        2. Deliver three meals per day to the detainee’s
   in the detainee’s medical file.                              room unless otherwise directed by the CMA—
5. If the detainee refuses the initial medical                  staff shall physically deliver each meal regardless
   evaluation or any treatment or other medical                 of the detainee’s response to an offered meal;
   procedures, medical staff must attempt to secure          3. Provide an adequate supply of drinking water or
   the detainee’s signature on a “Refusal of                    other beverages; and
   Treatment” form. If the detainee will not
                                                                             ,  In  c.
                                                                       ivic 022
   cooperate by signing, staff shall note this on the        4. Remove from the detainee’s room all food items
                                                                 re C
                                                                not authorized by the CMA. During the hunger
                                                           . Co er 14, 2
   “Refusal of Treatment” form.
                                                    in  o v     strike, the detainee may not purchase
                                                                   b
6. Any detainee refusing medical treatment shall
                                             O   w   be
                                                             c e m
                                                                commissary/vending machine food.

                             c  ite d in whether
   monitored by medical staff to evaluate
                                                  2  1  , De E. Refusal to Accept Treatment
                                    2  1 - 5“E,52Refusal
   the hunger strike poses a risk to the detainee’s  life

                            No.
   or permanent health. See “Section   V,”
   to Accept Treatment” below in this standard.
                                                              An individual has a right to refuse medical treatment.
                                                             Before involuntary medical treatment is
7. If medically necessary, the detainee may be               administered, staff shall make reasonable efforts to
   transferred to a community hospital or a                  educate and encourage the detainee to accept
   detention facility appropriately equipped for             treatment voluntarily. Involuntary medical treatment
   treatment.                                                shall be administered in accordance with established
                                                             guidelines and applicable laws and only after the
8. After the hunger strike, medical staff shall
                                                             CMA determines the detainee’s life or health is at
   continue to provide appropriate medical and
                                                             risk.
   mental health follow-up. Only a physician may
   order a detainee’s release from hunger strike             1. Medical staff shall explain to the detainee the
   treatment and shall document that order in the               medical risks associated with refusal of treatment,
   detainee’s medical record. A notation shall be               and shall document treatment efforts in the
   made in the detention file when the detainee has             detainee’s medical record.
   ended the hunger strike.                                  2. The physician may recommend involuntary
9. Records shall be kept of all interactions with the           treatment when clinical assessment and laboratory
   striking detainee, the provision of food,                    results indicate the detainee’s weakening
   attempted and successfully administered medical              condition threatens the life or long-term health of



4.2 | Hunger Strikes                                     255                                         PBNDS 2011
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  the detainee.                                                    court order, ICE/ERO may consider other
                                                                   action if the hunger strike continues.
  a. The facility administrator shall notify ICE/ERO
     if a detainee is refusing treatment, and the                  1) If a court order is to be pursued, ICE/ERO
     health services administrator shall notify the                   shall work with the local ICE Office of Chief
     respective ICE/ERO Field Office Director in                      Counsel to work with the U.S. Attorney’s
     writing of any proposed plan to involuntarily                    Office to make the arrangements for a court
     feed the detainee if the hunger strike                           hearing.
     continues. Under no circumstances may a                3. Medical staff shall:
     facility administer involuntary medical
     treatment without authorization from                       a. document all treatment efforts and each
     ICE/ERO.                                                      treatment refusal in the detainee’s medical
                                                                   record;
  b. The Field Office Director, in consultation with
     the CMA, shall then contact the respective ICE             b. continue clinical and laboratory monitoring as
     Office of Chief Counsel and the U.S. Attorney’s               necessary until the detainee’s life or health is
     Office with jurisdiction. After discussing the                out of danger; and
     case, the attorneys shall recommend whether or             c. continue medical and mental health follow-up
     not to pursue a court order. ICE policy is to seek            as necessary.
     a court order to obtain authorization for
                                                                             c.
                                                                         , InTreatment
                                                            F. Release from
     involuntary medical treatment. If a court
                                                   re Civic 022
                                             . Co er 14, 2
     determines that it does not have jurisdiction to       Only the physician may order the termination of
                                        ino v
     issue such an order, or a hospital refuses to
                                                     b      hunger strike treatment; the order shall be
                                      Ow       c e m
                                   in
     administer involuntary sustenance pursuant to a
                                             e              documented in the detainee’s medical record.
                           cited 55221, D
                             o . 21-
                           N




4.2 | Hunger Strikes                                      256                                       PBNDS 2011
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4.3 Medical Care                                                with the National Commission on Correctional
                                                                Health Care (NCCHC), and shall maintain
I. Purpose and Scope                                            compliance with those standards.
                                                             2. The facility shall have a mental health staffing
This detention standard ensures that detainees have             component on call to respond to the needs of the
access to appropriate and necessary medical, dental             detainee population 24 hours a day, seven days a
and mental health care, including emergency                     week.
services.
                                                             3. The facility shall provide communication
This detention standard applies to the following                assistance to detainees with disabilities and
types of facilities housing ICE/ERO detainees:                  detainees who are limited in their English
  x   Service Processing Centers (SPCs);                        proficiency (LEP). The facility will provide
                                                                detainees with disabilities with effective
  x   Contract Detention Facilities (CDFs); and                 communication, which may include the
  x   State or local government facilities used by              provision of auxiliary aids, such as readers,
      ERO through Intergovernmental Service                     materials in Braille, audio recordings, telephone
      Agreements (IGSAs) to hold detainees for more             handset amplifiers, telephones compatible with
      than 72 hours.                                            hearing aids, telecommunications devices for deaf

Procedures in italics are specifically required for
                                                                            , I   c.
                                                                persons (TTYs), interpreters, and note-takers, as
                                                                               n
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                                               re     ivic 022
                                                                needed. The facility will also provide detainees
                                                                   C
                                                         . Co er 14, 2
                                                                who are LEP with language assistance, including
dedicated IGSA facilities must conform to these
                                                  in  o v       bilingual staff or professional interpretation and
                                                                  b
                                             O w
procedures or adopt, adapt or establish alternatives,
                                                           c e m
                                      d inrepresented
                                                                translation services, to provide them with
                                c i e
provided they meet or exceed the intent
                                   t            2  1  , De      meaningful access to its programs and activities.
by these procedures.
                                      2 1 - 552
                               No. that appear in
                                                               All written materials provided to detainees shall
For all types of facilities, procedures                        generally be translated into Spanish. Where
italics with a marked (**) on the page indicate                 practicable, provisions for written translation shall
optimum levels of compliance for this standard.                 be made for other significant segments of the
Various terms used in this standard may be defined              population with limited English proficiency.
in standard “7.5 Definitions.”                                  Oral interpretation or assistance shall be provided
II. Expected Outcomes                                           to any detainee who speaks another language in
                                                                which written material has not been translated or
The expected outcomes of this detention standard                who is illiterate.
are as follows (specific requirements are defined in            Newly-admitted detainees shall be informed
“V. Expected Practices”).                                       orally or in a manner in which the detainee
1. Detainees shall have access to a continuum of                understands about how to access, appeal or
   health care services, including screening,                   communicate concerns about health services.
   prevention, health education, diagnosis and               4. Detainees shall be able to request health services
   treatment.                                                   on a daily basis and shall receive timely follow-
   **Medical facilities within the detention facility           up.
   shall achieve and maintain current accreditation          5. Detainees shall receive continuity of care from


4.3 | Medical Care                                       257                                         PBNDS 2011
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   time of admission to time of transfer, release or             care and treatment, as needed, that includes
   removal. Detainees, who have received medical                 monitoring of medications, diagnostic testing
   care, released from custody or removed shall                  and chronic care clinics.
   receive a discharge plan, a summary of medical            13. The facility administrator shall notify ICE/ERO,
   records, any medically necessary medication and               in writing, of any detainee whose medical or
   referrals to community-based providers as                     mental health needs require special consideration
   medically-appropriate.                                        in such matters as housing, transfer or
6. A detainee who is determined to require health                transportation.
   care beyond facility resources shall be transferred       14. Each detainee shall receive a comprehensive
   in a timely manner to an appropriate facility. A              medical, dental and mental health intake screening
   written list of referral sources, including                   as soon as possible, but no later than 12 hours after
   emergency and routine care, shall be maintained               arrival at each detention facility. Detainees who
   and updated annually.                                         appear upon arrival to raise urgent medical or
7. A transportation system shall provide timely                  mental health concerns shall receive priority in the
   access to health care services that are not available         intake screening process.
   at the facility. Procedures for use of this               15. Each detainee shall receive a comprehensive health
   transportation system shall include: a)                       assessment, including a physical examination and
   prioritization of medical needs; b) urgency (such
                                                                       Inc.
                                                                 mental health screening, by a qualified, licensed
                                                                     ,
   as the use of an ambulance instead of standard
                                                             re Civic 022
                                                                 health care professional no later than 14 days after
                                                       . Co er 14, 2
   transportation); c) transfer of medical                       entering into ICE custody or arrival at facility. For
   information and medications; and d) safety and
                                                 in o v        b the purposes of the comprehensive medical
                                          O   w          c e m
                                  d in or 21, De
   security concerns of all persons.                             examination, a qualified licensed health provider
                            citechronic
8. A detainee who requires close,
                                        5be52                    includes the following: physicians, physician
                                . 2
   convalescent medical supervision 1 -
                                    shall    treated             assistants, nurses, nurse practitioners, or others
                          Notreatment
   in accordance with a written           plan                   who by virtue of their education, credentials and
   conforming to accepted medical practices for the              experience are permitted by law to evaluate and
   condition in question, approved by a licensed                 care for patients.
   physician, dentist or mental health practitioner.         16. Qualified, licensed health care professionals shall
9. Twenty-four hour emergency medical and mental                 classify each detainee on the basis of medical and
   health services shall be available to all detainees.          mental health needs. Detainees shall be referred
                                                                 for evaluation, diagnosis, treatment and
10. Centers for Disease Control and Prevention
                                                                 stabilization as medically indicated.
    (CDC) guidelines for the prevention and control
    of infectious and communicable diseases shall be         17. At no time shall a pregnant detainee be
    followed.                                                    restrained, absent truly extraordinary
                                                                 circumstances that render restraints absolutely
11. Occupational Safety and Health Administration
                                                                 necessary.
    (OSHA) and applicable state guidelines for
    managing bio-hazardous waste and                         18. Detainees experiencing severe, life-threatening
    decontaminating medical and dental equipment                 intoxication or withdrawal symptoms shall be
    shall be followed.                                           transferred immediately for either on-site or off-
                                                                 site emergency department evaluation.
12. Detainees with chronic conditions shall receive


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19. Pharmaceuticals and non-prescription medicines              of the same gender should be considered; when
    shall be secured, stored and inventoried.                   not feasible, a same-gender chaperone shall be
                                                                provided. When care is provided by a health care
20. Prescriptions and medications shall be ordered,
                                                                provider of the opposite gender, a detainee shall
    dispensed and administered in a timely manner
                                                                be provided a same-gender chaperone upon the
    and as prescribed by a licensed health care
                                                                detainee’s request.
    professional. This shall be conducted in a manner
    that seeks to preserve the privacy and personal         27. Detainees in Special Management Units (SMUs)
    health information of detainees.                            shall have access to the same or equivalent health
                                                                care services as detainees in the general
21. Health care services shall be provided by a
                                                                population, as specified in standard “2.12 Special
    sufficient number of appropriately trained and
                                                                Management Units.”
    qualified personnel, whose duties are governed
    by thorough and detailed job descriptions and           28. **Adequate space and staffing for the use of
    who are licensed, certified, credentialed and/or            services of the ICE Tele-Health Systems,
    registered in compliance with applicable state              inclusive of tele-radiology (ITSP) and tele-
    and federal requirements.                                   medicine, shall be provided.
22. Detention and health care personnel shall be            29. All detainees shall receive medical and mental
    trained initially and annually in the proper use of         health screenings, interventions and treatments
    emergency medical equipment and shall respond
                                                                               In c.
                                                                for gender-based abuse and/or violence,
                                                                            ,
    to health-related emergency situations.
                                                               r   C   ivic 022
                                                                including sexual assault and domestic violence.
                                                                 e
23. Information about each detainee’s health status
                                                    o  v               r   4,and2the implementation of this
                                                        . C30.o Thisestandard
                                                                         1
    shall be treated as confidential, and healthwin         e  m  b will be subject to internal review and a
                                            O             c     standard
                                it
    records shall be maintained in
                              c      d in with
                                  eaccordance    2 1 , De quality assurance system in order to ensure the
                                     2 1 - 552
    accepted standards separately from other                    standard of care in all facilities is high.
                             N . accessible only in
    detainee detention files andobe
    accordance with written procedures and                  III. Standards Affected
    applicable laws. Health record files on each            This detention standard replaces “Medical Care”
    detainee shall be well organized, available to all      dated 12/2/2008.
    practitioners and properly maintained and
    safeguarded.                                            IV. References
24. Informed consent standards shall be observed and        American Correctional Association, Performance-
    adequately documented. Staff shall make                 based Standards for Adult Local Detention
    reasonable efforts to ensure that detainees             Facilities, 4th Edition: 4-ALDF-2A-15, 4C-01
    understand their medical condition and care.            through 4C-31, 4C-34 through 4C-41, 4D-01
25. Medical and mental health interviews,                   through 4D-21, 4D-23 through 4D-28, 2A-45, 7D-
    screenings, appraisals, examinations, procedures        25.
    and administration of medication shall be               American College of Obstetricians and
    conducted in settings that respect detainees’           Gynecologists, Guidelines for Women’s Health
    privacy in accordance with safe and/orderly             Care (3rd edition. 2007); “Special Issues in
    operations of the facility.                             Women’s Health” (2005).
26. A detainee’s request to see a health care provider      American Public Health Association Standards for


4.3 | Medical Care                                        259                                      PBNDS 2011
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Health Services in Correctional Institutions,                 x   “4.7 Terminal Illness, Advance Directives and
Health Services for Women.                                        Death.”
Centers for Disease Control and Prevention website,       ICE Health Service Corps (IHSC) Policies and
www.cdc.gov (for the most current guidelines and          Procedures Manual.
recommendations on tuberculosis case management
                                                          The Joint Commission.
and control, HIV management, health care acquired
infections, infection control, influenza management,      www.flu.gov
respiratory protection, infectious diseases of public     www.aids.gov
health significance, emerging infectious diseases,
and correctional health)                                  “Standards to Prevent, Detect, and Respond to Sexual
                                                          Abuse and Assault in Confinement Facilities,” 79
United States Department of Health and Human              Fed. Reg. 13100 (Mar. 7, 2014).
Services, HIV Clinical Guidelines Portal,
http://aidsinfo.nih.gov/Guidelines/default.aspx (for      V. Expected Practices
the most current national guidelines on HIV
Management)                                               A. General
Infectious Diseases Society of America,                   Every facility shall directly or contractually provide
http://www.idsociety.org/Content.aspx?id=9088             its detainee population with the following:
(for the most current infectious diseases practice
                                                                      ,  In c.
                                                          1. Initial medical, mental health and dental
guidelines prepared or endorsed by the Infectious
                                                          re C   ivic 022
                                                             screening;
Diseases Society of America)
                                                   v. C2.oMedically
                                                                 r 1 4  , 2 and appropriate medical,
National Commission on Correctional Health w in  o        m beand mental health care and pharmaceutical
                                                                    necessary
                                        O  Care,
                                    in(2014).         c e
                                                    e services;
                                                          dental
                          ci ed 55221, D
Standards for Health Servicestin Jails
Exec. Order 13166.
                            o .  21-                   3. Comprehensive, routine and preventive health
                         N
ICE/ERO Performance-based National Detention                  care, as medically indicated;
Standards 2011:                                           4. Emergency care;
 x   “1.2 Environmental Health and Safety,”               5. Specialty health care;
     particularly in regard to storing, inventorying
                                                          6. Timely responses to medical complaints; and
     and handling needles and other sharp
     instruments; standard precautions to prevent         7. Hospitalization as needed within the local
     contact with blood and other body fluids;               community.
     sanitation and cleaning to prevent and control       8. Staff or professional language services necessary
     infectious diseases; and disposing of hazardous         for detainees with limited English proficiency
     and infectious waste;                                   (LEP) during any medical or mental health
 x   “2.11 Sexual Abuse and Assault Prevention and           appointment, sick call, treatment, or consultation.
     Intervention”;                                       **Medical facilities within the detention facility shall
 x   “4.2 Hunger Strikes”;                                achieve and maintain current accreditation with the
                                                          National Commission on Correctional Health Care
 x   “4.6 Significant Self-harm and Suicide
                                                          (NCCHC), and shall maintain compliance with those
     Prevention and Intervention”; and
                                                          standards.


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B. Designation of Authority                                   care providers to provide required health care not
                                                              available within the facility, as well as identifying
A designated health services administrator (HSA) or           custodial officers to transport and remain with
the equivalent in non-IHSC staffed detention                  detainees for the duration of any off-site treatment
facilities shall have overall responsibility for health       or hospital admission.
care services pursuant to a written agreement,
contract or job description. The HSA is a physician           C. Communicable Disease and Infection
or health care professional and shall be identified to           Control
detainees.
                                                              1. General
The designated clinical medical authority (CMA) at
the facility shall have overall responsibility for            Each facility shall have written plans that address the
medical clinical care pursuant to a written                   management of infectious and communicable
agreement, contract or job description. The CMA               diseases, including screening, prevention, education,
shall be a medical doctor (MD) or doctor of                   identification, monitoring and surveillance,
osteopathy (DO). The CMA may designate a                      immunization (when applicable), treatment, follow-
clinically trained professional to have medical               up, isolation (when indicated) and reporting to
decision making authority in the event that the CMA           local, state and federal agencies.
is unavailable.                                               Plans shall include:
When the HSA is other than a physician, final
                                                                          ,  In c.
                                                              a. coordination with local public health authorities;
                                                                       ic
                                                                Civeducation
clinical judgment shall rest with the facility’s
                                                         C   re
                                                          b.oongoing
                                                                         4  ,  2 0for22
                                                                                      staff and detainees;
                                                     o v. c. m         1
designated CMA. In no event shall clinical decisions
be made by non-clinicians.                     w  in           b  ertreatment
                                                             control,            and prevention strategies;
                                            O            c e
                            c
The HSA shall be authorized and    d in for21, De d. protection of detainee confidentiality;
                              iteresponsible
                                       -       2
                                         5of5health
making decisions about the deployment
                             o  .  2 1                    e. media relations, in coordination with the local
                           N
resources and the day-to-day operations   of the health      Public Affairs Officer (PAO);
services program. The CMA together with the HSA
establishes the processes and procedures necessary to         f. procedures for the identification, surveillance,
meet the medical standards outlined herein.                      immunization, follow-up and isolation of
                                                                 patients;
All facilities shall provide medical staff and sufficient
support personnel to meet these standards. A staffing         g. hand hygiene
plan will be reviewed at least annually which                 h. management of infectious diseases and reporting
identifies the positions needed to perform the                   them to local and/or state health departments in
required services.                                               accordance with established guidelines and
Health care personnel perform duties within their                applicable laws; and
scope of practice for which they are credentialed by          i. management of bio-hazardous waste and
training, licensure, certification, job descriptions,            decontamination of medical and dental
and/or written standing or direct orders by                      equipment that complies with applicable laws and
personnel authorized by law to give such orders.                 standard “1.2 Environmental Health and Safety.”
The facility administrator, in collaboration with the         Facilities shall comply with current and future plans
CMA and HSA, negotiates and maintains                         implemented by federal, state or local authorities
arrangements with nearby medical facilities or health         addressing specific public health issues including


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communicable disease reporting requirements.                    established guidelines and applicable laws,
Infectious and communicable disease control activities          identified by the custodial agency and the
shall be reviewed and discussed in the quarterly                detainee’s identifying number of that agency (ICE
administrative meetings as described in Section V.DD            detainees are reported as being in ICE custody and
of this detention standard. Designated medical staff            are identified by their alien numbers).
shall report to the IHSC Public Health, Safety, and
                                                            b. Report all detainees with suspected or confirmed
Preparedness Unit all detainees diagnosed with a
                                                               TB to the ICE Health Service Corps (IHSC), Public
communicable disease of public health significance.
                                                               Health, Safety, and Preparedness Unit within one
2. Tuberculosis (TB) Management                                working day of initial identification with
                                                               suspected or confirmed TB disease.
As indicated in this standard below in section “J.
Medical and Mental Health Screening of New                      Reporting shall include names, aliases, date of
Arrivals,” screening for TB is initiated at intake and          birth, alien number, case status/classification,
in accordance with Center for Disease Control and               available diagnostic and lab results, treatment
Prevention (CDC) guidelines.                                    status (including drugs and dosages), treatment
                                                                start date, a summary case report, and a point of
All new arrivals shall receive TB screening within 12
                                                                contact and telephone number for follow-up.
hours of intake and in accordance with CDC
guidelines (www.cdc.gov/tb). For detainees that             c. Promptly report any movement of TB patients,
have been in continuous law enforcement custody,
                                                                            In c.
                                                               including hospitalizations, facility transfers,
                                                                          ,
symptom screening plus documented TB screening
                                                             r   C  ivic 022
                                                               releases, or removals/deportations to the local
                                                               e
within one year of arrival may be accepted for intake
                                                    o v. Co er 14, 2
                                                               and/or state health department and the IHSC
screening purposes.
                                           O  w  in        e m  b
                                                               Public Health, Safety, and Preparedness Unit.
                                       n                 c
                                                      De When treatment is indicated, multi-drug, anti-TB
                            c itedbe iimplemented
Annual or periodic TB testing shall
                                                2 1 ,
                                    2 1 -
in accordance with CDC guidelines; annual 55TB2           therapy shall be administered using directly observed
                           No.
screening method should be appropriately   selected
with consideration given to the initial screening
                                                          therapy (DOT) in accordance with American
                                                            Thoracic Society (ATS) and CDC guidelines. For
method conducted or documented during intake.               patients with drug-resistant or multi-drug-resistant
                                                            TB, the state or local health department shall be
Detainees with symptoms suggestive of TB, or with
                                                            consulted to establish a customized treatment
suspected or confirmed active TB disease based on
                                                            regimen and treatment plan. Patients receiving anti-
clinical and/or laboratory findings, shall be placed in
                                                            TB therapy shall be provided with a 15 day supply of
a functional airborne infection isolation room with
                                                            medications and appropriate education when
negative pressure ventilation and be promptly
                                                            transferred, released or deported, in an effort to
evaluated for TB disease. Patients with suspected
                                                            prevent interruptions in treatment until care is
active TB shall remain in airborne infection isolation
                                                            continued in another location.
until determined by a qualified provider to be
noncontagious in accordance with CDC guidelines.            Treatment for latent TB infection (LTBI) shall not be
                                                            initiated unless active TB disease is ruled out.
For all patients with confirmed and suspected active
tuberculosis, designated medical staff shall:               Designated medical staff shall coordinate with the
                                                            IHSC Epidemiology Unit and the local and/or state
a. Report all cases to local and/or state health
                                                            health department to facilitate an international
   departments within one working day of meeting
                                                            referral and continuity of therapy. Designated
   reporting criteria and in accordance with


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medical staff shall collaborate with the local and/or           degree of confidentiality regarding HIV status and
state health department on tuberculosis and other               medical condition. Staff training must emphasize
communicable diseases of public health significance.            the need for confidentiality, and procedures must
3. Significant Communicable Disease                             be in place to limit access to health records to
                                                                only authorized individuals and only when
Designated medical staff shall notify the IHSC Public           necessary.
Health, Safety, and Preparedness Unit of any ICE
detainee with a significant communicable disease                The accurate diagnosis and medical management
and of any contact or outbreak investigations                   of HIV infection among detainees shall be
involving ICE detainees exposed to a significant                promoted. An HIV diagnosis may be made only
communicable disease without known immunity.                    by a licensed health care provider, based on a
Significant communicable diseases include, but are              medical history, current clinical evaluation of
not limited to, varicella (chicken pox), measles,               signs and symptoms and laboratory studies.
mumps, pertussis (whooping cough), and typhoid.             c. Clinical Evaluation and Management
4. Bloodborne Pathogens                                        Medical personnel shall provide all detainees
                                                               diagnosed with HIV/AIDS medical care consistent
Infection control awareness shall be communicated              with national recommendations and guidelines
on a regular basis to correctional and medical staff,          disseminated through the U.S. Department of
as well as detainees. Detainees exposed to potentially
                                                            , Inc.
                                                               Health and Human Services, the CDC, and the

                                                        ivic 022
infectious body fluids (e.g., through needle sticks or         Infectious Diseases Society of America. Medical
bites) shall be afforded immediate medical
                                                    re C
                                              . Co er 14, 2
                                                               and pharmacy personnel shall ensure that all Food

                                         in  v
assistance, and the incident shall be reported as soon
                                           o          b
                                                               and Drug Administration (FDA) medications
                                       Ow         e
as possible to the clinical director or designee and
                                                c   m
                                    in        e                currently approved for the treatment of HIV/AIDS
                            cited 55221, D
documented in the medical file. All detainees shall            are accessible. Medical and pharmacy personnel
                                  21-
be assumed to be infectious for bloodborne                     shall develop and implement distribution
                            N o .
pathogens, and standard precautions are to be used             procedures to ensure timely and confidential
at all times when caring for all detainees.                    access to medications.
Each facility shall establish a written plan to address         Many of these guidelines are available through
exposure to bloodborne pathogens; the management                the following links:
of hepatitis A, B, and C; and the management of HIV             http://aidsinfo.nih.gov/Guidelines/default.aspx
infection, including reporting.                                 http://www.cdc.gov/hiv/resources/guidelines/i
a. Hepatitis                                                    ndex.htm#treatment
                                                                http://www.idsociety.org/Content.aspx?id=908
   A detainee may request hepatitis testing at any              8
   time during detention
                                                                Medical and pharmacy personnel shall ensure the
b. HIV                                                          facility maintains access to adequate supplies of
   A detainee may request HIV testing at any time               FDA-approved medications for the treatment of
   during detention. Persons who must feed, escort,             HIV/AIDS to ensure newly admitted detainees
   directly supervise, interview or conduct routine             shall be able to continue with their treatments
   office work with HIV patients are not considered             without interruption. Upon release, detainees
   at risk of infection. However, persons regularly             currently receiving highly active antiretroviral
   exposed to blood are at risk. Facilities shall               therapy and other drugs shall receive up to a 30-
   develop a written plan to ensure the highest


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   day supply of their medications as medically            Health care practitioners should explain any rules
   appropriate.                                            about mandatory reporting and other limits to
   When current symptoms are suggestive of HIV             confidentiality in their interactions with detainees.
   infection, the following procedures shall be            Informed consent shall be obtained prior to
   implemented.                                            providing treatment (absent medical emergencies).
                                                           Consent forms and refusals shall be documented and
   1) Clinical evaluation shall determine the medical      placed in the detainee’s medical file.
      need for isolation.
                                                           In accordance with the section on Orientation in
      Detainees with HIV shall not be separated from       standard “2.1 Admission and Release,” access to
      the general population, either pending a test        health care services, the sick call and medical
      result or after a test report, unless clinical       grievance processes shall be included in the
      evaluation reveals a medical need for isolation.     orientation curriculum for newly admitted detainees.
      Segregation of HIV-positive detainees is not
      necessary for public health purposes.                E. Translation and Language Access for
                                                              Detainees with Limited English
   2) Following a clinical evaluation, if a detainee
      manifests symptoms requiring treatment                  Proficiency
      beyond the facility’s capability, the provider       Facilities shall provide appropriate interpretation and
      shall recommend the detainee’s transfer to a
                                                                     , Inc.
                                                           language services for LEP detainees related to medical
                                                                 ivic 022
      local hospital or other appropriate facility for     and mental health care. Where appropriate staff
      further medical testing, final diagnosis and
                                                             re C
                                                       . Co er 14, 2
                                                           interpretation is not available, facilities will make use
      acute treatment as needed, consistent with
                                                in  o v    of professional interpretation services. Detainees
                                                               b
      local operating procedures.
                                       n   O  w          c e m
                                                      De
                                                           shall not be used for interpretation services during
                                ted i 5shall
                             cituberculosis    2 1  ,      any medical or mental health service. Interpretation
                                         5 2
   3) Any detainee with active                   also
                                     1 -
      be evaluated for possible HIV2infection.             and translation services by other detainees shall only
                           No.
   4) New HIV-positive diagnoses must be reported
                                                           be provided in an emergency medical situation.
      to government bodies according to state and          Facilities shall post signs in medical intake areas in
      local laws and requirements; the HSA is              English, Spanish, and languages spoken by other
      responsible for ensuring that all applicable         significant segments of the facility’s detainee
      state requirements are met.                          population listing what language assistance is
                                                           available during any medical or mental health
      The “Standard Precautions” section of standard
                                                           treatment, diagnostic test, or evaluation.
      “1.2 Environmental Health and Safety”
      provides more detailed information.                  F. Facilities
D. Notifying Detainees about Health Care                   1. Examination and Treatment Area
   Services                                                Adequate space and equipment shall be furnished in
In accordance with standard “6.1 Detainee                  all facilities so that all detainees may be provided
Handbook,” the facility shall provide each detainee,       basic health examinations and treatment in private
upon admittance, a copy of the detainee handbook           while ensuring safety.
and local supplement, in which procedures for              A holding/waiting area shall be located in the
access to health care services are explained.              medical facility under the direct supervision of
                                                           custodial officers. A detainee toilet and drinking


4.3 | Medical Care                                       264                                        PBNDS 2011
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fountain shall be accessible from the                              washbasins with hot and cold running water at
holding/waiting area.                                              a minimum ratio of 1 for every 12 detainees,
2. Medical Records                                                 unless state or local building codes specify a
                                                                   different ratio.
Medical records shall be kept separate from detainee
detention records and stored in a securely locked               2) Sufficient bathing facilities shall be provided to
area within the medical unit.                                      allow detainees to bathe daily, and sufficient
                                                                   bathing facilities shall be physically accessible
3. Medical Housing                                                 for detainees with disabilities, as required by
If there is a specific area, separate from other                   the applicable accessibility standard. Water
housing areas, where detainees are admitted for                    shall be thermostatically controlled to
health observation and care under the supervision                  temperatures ranging from 100 F to 120 F
and direction of health care personnel, consideration              degrees.
shall be given to the detainee’s age, gender, medical           3) Detainees shall have access to operable toilets
requirements and custody classification and the                    and hand-washing facilities 24 hours per day
following minimum standards shall be met:                          and shall be permitted to use toilet facilities
a. Care                                                            without staff assistance. Unless state or local
                                                                   building or health codes specify otherwise:
   1) Physician at the facility or on call 24 hours per
      day;                                                                    Inc.
                                                                   a) toilets shall be provided at a minimum ratio
                                                                            ,
                                                              re  C  ivic 022
                                                                      of 1 to every 12 detainees in male facilities
                                                        . Co er 14, 2
   2) Qualified health care personnel on duty 24
                                                                      and 1 for every 8 in female facilities, and
      hours per day when patients are present;
                                                   ino v        bb) all housing units with three or more
                                           O  w           c e m
                                       in               e
                             cited 55221, D
   3) Staff members within sight or sound  of  all
                                                                    detainees shall have a minimum of two
      patients;
                                   2  1 -                           toilets.
                            No.medical housing
   4) Maintenance of a separate
      record distinct from the complete medical
                                                           G. Pharmaceutical Management
      record; and                                           Each detention facility shall have and comply with
   5) Compliance with all established guidelines and        written policy and procedures for the management
      applicable laws.                                      of pharmaceuticals, to include:

      Detainees in medical housing shall have access        1. a formulary of all prescription and
      to other services such as telephone, legal access        nonprescription medicines stocked or routinely
      and materials, consistent with their medical             procured from outside sources;
      conditions.                                           2. identification of a method for promptly
      Prior to placing a detainee with a mental                approving and obtaining medicines not on the
      illness in medical housing, a determination              formulary;
      shall be made by a medical or mental health           3. prescription practices, including requirements
      professional that placement in medical housing           that medications are prescribed only when
      is medically necessary.                                  clinically indicated, and that prescriptions are
b. Wash Basins, Bathing Facilities and Toilets                 reviewed before being renewed;

   1) Detainees shall have access to operable               4. procurement, receipt, distribution, storage,
                                                               dispensing, administration and disposal of


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   medications;                                              basis at a minimum.
5. secure storage and disposal and perpetual                 I. Medical Personnel
   inventory of all controlled substances (DEA
   Schedule II-V), syringes, and needles;                    All health care staff must be verifiably licensed,
                                                             certified, credentialed, and/or registered in compliance
6. medicine administration error reports to be kept          with applicable state and federal requirements. Copies
   for all administration errors;                            of the documents must be maintained on site and
7. all staff responsible for administering or having         readily available for review. A restricted license does
   access to pharmaceuticals to be trained on                not meet this requirement.
   medication management before beginning duty;              J. Medical and Mental Health Screening of
8. all pharmaceuticals to be stored in a secure area            New Arrivals
   with the following features:
                                                             As soon as possible, but no later than 12 hours after
   a. a secure perimeter;                                    arrival, all detainees shall receive, by a health care
   b. access limited to authorized medical staff             provider or a specially trained detention officer, an
      (never detainees);                                     initial medical, dental and mental health screening
                                                             and be asked for information regarding any known
   c. solid walls from floor to ceiling and a solid
                                                             acute or emergent medical conditions. Any detainee
      ceiling;
                                                                       Inc.
                                                             responding in the affirmative shall be sent for
                                                                     ,
   d. a solid core entrance door with a high security
                                                                Civic 022
                                                             evaluation to a qualified, licensed health care
                                                             re
      lock (with no other access); and
                                                    o v. Co er 14, 2
                                                             provider as quickly as possible, but in no later than
   e. a secure medication storage area;
                                           O  w in         e m b
                                                             two working days. Detainees who appear upon
                                      in              De c
                             citedin accordance     ,        arrival to raise urgent medical or mental health
                                               2 1
                                          552
9. administration and management
   with state and federal law;     2 1  -                    concerns shall receive priority in the intake
                            No.
10. supervision by properly licensed personnel;
                                                             screening process. For intrasystem transfers, a
                                                             qualified health care professional will review each
11. administration of medications by properly                incoming detainee’s health record or health
    licensed, credentialed, trained personnel under          summary within 12 hours of arrival, to ensure
    the supervision of the health services                   continuity of care.
    administrator (HSA), clinical medical authority          For LEP individuals, interpretation for the screening
    (CMA), both; and                                         will be conducted by facility staff with appropriate
12. documentation of accountability for                      language capabilities or through professional
    administering or distributing medications in             interpretation services, as described in Section E of
    a timely manner, and according to licensed               this standard (“Translation and Language Access for
    provider orders.                                         Detainees with Limited English Proficiency”).

H. Nonprescription Medications                               If screening is performed by a detention officer, the
                                                             facility shall maintain documentation of the officer’s
The facility administrator and HSA shall jointly             special training, and the officer shall have available
approve any nonprescription medications that are             for reference the training syllabus, to include
available to detainees outside of health services (e.g.,     education on patient confidentiality of disclosed
sold in commissary, distributed by housing officers,         information.
etc.), and shall jointly review the list, on an annual


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The screening shall inquire into the following:            Where there is a clinically significant finding as a
1. any past history of serious infectious or               result of the initial screening, an immediate referral
   communicable illness, and any treatment or              shall be initiated and the detainee shall receive a
   symptoms;                                               health assessment no later than two working days
                                                           from the initial screening.
2. history of physical and mental illness;
                                                           For further information and guidance, see standard
3. pain assessment;                                        “2.1 Admission and Release.”
4. current and past medication;                            Initial screenings shall be conducted in settings that
5. allergies;                                              respect detainees’ privacy and include observation
                                                           and interview questions related to the detainee’s
6. past surgical procedures;
                                                           potential suicide risk and mental health. For further
7. symptoms of active TB or previous TB treatment;         information, see standard “4.6 Significant Self-harm
8. dental care history;                                    and Suicide Prevention and Intervention.”
                                                           If, at any time during the screening process, there is
9. use of alcohol, tobacco and other drugs,
                                                           an indication of need of, or a request for, mental
   including an assessment for risk of potential
   withdrawal;                                             health services, the HSA must be notified within 24
                                                           hours. The CMA, HSA or other qualified licensed
10. possibility of pregnancy;
                                                                            In c.
                                                           health care provider shall ensure a full mental health
                                                                          ,
11. other relevant health problems identified by the
                                                              re C  ivic 022
                                                           evaluation, if indicated. Mental health evaluations
    CMA responsible for screening inquiry;
                                                    o v. Co er 14, 2
                                                           must be conducted within the timeframes prescribed
12. observation of behavior, including stateOofwi
                                                  n             b
                                                           in “O. Mental Health Program” of this standard.
                                                           e m
                                                         c
                                    d in 21, De All facilities shall have policies and procedures in
                             c  iteappearance,
    consciousness, mental status,
    conduct, tremor, sweating;
                                    2 1 - 552             place to ensure documentation of the initial health
                            Noor. current
13. history of suicide attempts
                                                          screening and assessment.

    suicidal/homicidal ideation or intent;                 The health intake screening shall be conducted using
                                                           the IHSC Intake Screening Form (IHSC 795A) or
14. observation of body deformities and other              equivalent and shall be completed prior to the
    physical abnormalities;                                detainee’s placement in a housing unit. The Intake
15. inquire into a transgender detainee’s gender self-     Screening Form attached as Appendix 4.3.A mirrors
    identification and history of transition-related       form IHSC 795A and may be used by facilities to
    care, when a detainee self-identifies as               ensure compliance with screening requirements in
    transgender;                                           these standards.
16. past hospitalizations;                                 Upon completion of the In-Processing Health
                                                           Screening form, the detention officer shall
17. chronic illness (including, but not limited to,
                                                           immediately notify medical staff when one or more
    hypertension and diabetes);
                                                           positive responses are documented. Medical staff will
18. dietary needs; and                                     then assess priority for treatment (e.g. urgent, today
19. any history of physical or sexual victimization or     or routine).
    perpetrated sexual abuse, and when the incident        Limited-English proficient detainees and detainees
    occurred.                                              who are hearing impaired shall be provided


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interpretation or translation services or other           When care is provided by a health care provider of
assistance as needed for medical care activities.         the opposite gender, a detainee shall be provided a
Language assistance may be provided by another            same-gender chaperone upon the detainee’s request.
medical staff member competent in the language or         A same-gender chaperone shall be provided, even in
by a professional service, such as a telephone            the absence of a request by the detainee, when a
interpretation service.                                   medical encounter involves a physical examination
                                                          of sensitive body parts, to include breast, genital, or
K. Substance Dependence and
                                                          rectal examinations, by a provider of the opposite
   Detoxification                                         gender.
All detainees shall be evaluated through an initial       Only medical personnel may serve as chaperones
screening for use of and/or dependence on mood-           during medical encounters and examinations.
and mind-altering substances, alcohol, opiates,
hypnotics, sedatives, etc. Detainees who report the       M. Comprehensive Health Assessment
use of such substances shall be evaluated for their       Each facility’s health care provider shall conduct a
degree of reliance on and potential for withdrawal        comprehensive health assessment, including a
from the substance.                                       physical examination and mental health screening,
The CMA shall establish guidelines for evaluation         on each detainee within 14 days of the detainee’s
and treatment of new arrivals who require
                                                                         , In  c.
                                                          arrival unless more immediate attention is required
detoxification.
                                                            r e  C ivic 022
                                                          due to an acute or identifiable chronic condition.

                                                      . Co er 14, 2
                                                          Physical examinations shall be performed by a
Detainees experiencing severe or life-threatening
intoxication or withdrawal shall be transferredwin o v    physician, physician assistant, nurse practitioner, RN
                                                                b
                                           O            c e m
                                   d in for 21, De
                                                          (with documented training provided by a physician)
                            c i  e
immediately to an emergency department
                               t                          or other health care practitioner as permitted by law.
evaluation.
                                   2  1 - 552
                              o. be referred to an
                           Nwill
Once evaluated, the detainee
                                                         Facility medical personnel are encouraged to use the
                                                          form “Physical Examination/Health Appraisal”
appropriate facility qualified to provide treatment       attached as Appendix 4.3.B when conducting the
and monitoring for withdrawal, or treated on-site if      comprehensive health assessment.
the facility is staffed with qualified personnel and
equipment to provide appropriate care.                    If documentation exists of such a health assessment
                                                          within the previous 90 days, the facility health care
L. Privacy and Chaperones                                 provider upon review may determine that a new
1. Medical Privacy                                        appraisal is not required.

Medical and mental health interviews, screenings,         The CMA shall be responsible for review of all
appraisals, examinations, procedures, and                 comprehensive health assessments to assess the
administration of medication shall be conducted in        priority for treatment.
settings that respect detainees’ privacy.                 Detainees diagnosed with a communicable disease
2. Same-Gender Providers and Chaperones                   shall be isolated according to national standards of
                                                          medical practice and procedures.
A detainee’s request to see a health care provider of
the same gender should be considered; when not            N. Medical/Psychiatric Alerts and Holds
feasible, a same-gender chaperone shall be provided.      Where a detainee has a serious medical or mental



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health condition or otherwise requires special or              for mental health concerns;
close medical care, medical staff shall complete a
                                                            b. referral as needed for evaluation, diagnosis,
Medical/Psychiatric Alert form (IHSC-834) or
                                                               treatment and monitoring of mental illness by a
equivalent, and file the form in the detainee’s
                                                               competent mental health professional.
medical record. Where medical staff furthermore
determine the condition to be serious enough to             c. crisis intervention and management of acute
require medical clearance of the detainee prior to             mental health episodes;
transfer or removal, medical staff shall also place a       d. transfer to licensed mental health facilities of
medical hold on the detainee using the                         detainees whose mental health needs exceed the
Medical/Psychiatric Alert form (IHSC-834) or                   capabilities of the facility; and
equivalent, which serves to prevent ICE from
transferring or removing the detainee without the           e. a suicide prevention program.
prior clearance of medical staff at the facility. The       2. Mental Health Provider
facility administrator shall receive notice of all
                                                            The term “mental health provider” includes
medical/psychiatric alerts or holds, and shall be
                                                            psychiatrists, physicians, psychologists, clinical social
responsible for notifying ICE/ERO of any medical
                                                            workers and other appropriately licensed
alerts or holds placed on a detainee that is to be
                                                            independent mental health practitioners
transferred.
Potential health conditions meriting the completion
                                                                         ,  I  c.
                                                            3. Mental Health Evaluation
                                                                             n
of a Medical/Psychiatric Alert form may include, but
                                                            re C   ivicscreening,
                                                        Based on intake
                                                                                0 2 2
                                                                                    the comprehensive health
are not limited to:                                    C o
                                                   v. observations
                                                        assessment,
                                                                        4
                                                                    medical,  2
                                                                              documentation, or subsequent
                                                                     1 detention staff or medical personnel,
                                              in o            b  e r by
                                     n   O  w
1. medical conditions requiring ongoing therapy,
                                                     e  emdetainee referred for mental health treatment shall
                                                       cany
                                  d i            , D
   such as:
                            cite 55221                  receive an evaluation by a qualified health care
                                 2 1  -
                          No.
   a. active TB                                         provider no later than 72 hours after the referral, or
   b. infectious diseases                               sooner if necessary. If the practitioner is not a mental
                                                            health provider and further referral is necessary, the
   c. chronic conditions                                    detainee will be evaluated by a mental health provider
2. mental health conditions requiring ongoing               within the next business day.
   therapy, such as:                                        Such evaluation and screenings shall include:
   a. suicidal behavior or tendencies                       a. reason for referral;
3. ongoing physical therapy                                 b. history of any mental health treatment or
4. pregnancy                                                   evaluation;

O. Mental Health Program                                    c. history of illicit drug/alcohol use or abuse or
                                                               treatment for such;
1. Mental Health Services Required
                                                            d. history of suicide attempts;
Each facility shall have an in-house or contractual
                                                            e. current suicidal/homicidal ideation or intent;
mental health program, approved by the appropriate
medical authority that provides:                            f. current use of any medication;
a. intake screening Form IHSC 795A (or equivalent)          g. estimate of current intellectual function;



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h. mental health screening, to include prior history        because of a mental health condition. The CMA shall
   physical, sexual or emotional abuse;                     be responsible for the daily reassessment of the need
i. impact of any pertinent physical condition, such         for continued medical isolation to ensure the health
   as head trauma;                                          and safety of the detainee.

j. recommend actions for any appropriate                    Medical isolation shall not be used as a punitive
   treatment, including but not limited to the              measure.
   following:                                               6. Involuntary Administration of Psychotropic
                                                               Medication
   1) remain in general population with
      psychotropic medication and counseling,               Involuntary administration of psychotropic
   2) “short-stay” unit or infirmary,                       medication to detainees shall comply with
                                                            established guidelines and applicable laws, and shall
   3) Special Management Unit, or                           be performed only pursuant to the specific, written
   4) community hospitalization; and                        and detailed authorization of a physician. Absent
                                                            declared medical emergency, before psychotropic
k. recommending and/or implementing a treatment             medication is involuntarily administered, it is
   plan, including recommendations concerning
                                                            required that the HSA contact ERO management,
   transfer, housing, voluntary work and other
                                                            who shall then contact respective ICE Office of Chief
   program participation.
                                                                                Inc.
                                                            Counsel to facilitate a request for a court order to
                                                                             ,
4. Referrals and Treatment
                                                                     C ivic 022
                                                            involuntarily medicate the detainee.
                                                                 r e
Any detainee referred for mental health treatment         v. CPrior     r 1 4  , 2administering psychotropic
                                                               o to involuntarily
                                                  w in  o        m  be absent a declared medical emergency,
                                              O
shall receive an evaluation by a qualified health  care
                                                             c e
                                                              medication,
                                         inreferral, 1or, De the authorizing physician shall:
                                ited the
provider no later than 72 hours after
                             c
                                        1 -
sooner if necessary. If the practitioner is 5 52a 2
                                            not
                               o  .  2referral is             a. review the medical record of the detainee and
                            N
mental health provider and further
necessary, the detainee will be evaluated by a mental
                                                                 conduct a medical examination;

health provider within the next business day.               b. specify the reasons for and duration of therapy,
                                                               and whether the detainee has been asked if he/she
The provider shall develop an overall                          would consent to such medication;
treatment/management plan.
                                                            c. specify the medication to be administered, the
If the detainee’s mental illness or developmental or           dosage and the possible side effects of the
intellectual disability needs exceed the treatment             medication;
capability of the facility, a referral for an outside
mental health facility may be initiated.                    d. document that less restrictive intervention options
                                                               have been exercised without success;
Any detainee prescribed psychiatric medications
must be regularly evaluated by a duly-licensed and          e. detail how medication is to be administered;
appropriate medical professional, at least once a           f. monitor the detainee for adverse reactions and
month, to ensure proper treatment and dosage;                  side effects; and
5. Medical Isolation                                        g. prepare treatment plans for less restrictive
The CMA may authorize medical isolation for a                  alternatives as soon as possible.
detainee who is at high risk for violent behavior           Also see section “Z: Informed Consent and


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Involuntary Treatment” later in this detention              1. Emergency dental treatment shall be provided for
standard.                                                      immediate relief of pain, trauma and acute oral
                                                               infection.
P. Referrals for Sexual Abuse Victims or
Abusers                                                     2. Routine dental treatment may be provided to
                                                               detainees in ICE custody for whom dental
If any security or medical intake screening or                 treatment is inaccessible for prolonged periods
classification assessment indicates that a detainee has        because of detention for over six months,
experienced prior sexual victimization or perpetrated          including amalgam and composite restorations,
sexual abuse, staff shall, as appropriate, ensure that         prophylaxis, root canals, extractions, x-rays, the
the detainee is immediately referred to a qualified            repair and adjustment of prosthetic appliances
medical or mental health practitioner for medical              and other procedures required to maintain the
and/or mental health follow-up as appropriate.                 detainee’s health. Dental exams and treatment
When a referral for medical follow-up is initiated,            shall be performed only by licensed dental
the detainee shall receive a health evaluation no later        personnel.
than two working days from the date of assessment.          S. Sick Call
When a referral for mental health follow-up is
initiated, the detainee shall receive a mental health       Each facility shall have a sick call procedure that
evaluation no later than 72 hours after the referral.       allows detainees the unrestricted opportunity to
                                                                  , In  c.
                                                            freely request health care services (including mental
For the purposes of this section, a “qualified medical
                                                    r e C  ivic 022
                                                            health and dental services) provided by a physician
                                              . Co er 14, 2
practitioner” or “qualified mental health
                                         ino
practitioner” means a health or mental healthv         b
                                                            or other qualified medical staff in a clinical setting.
                                       Ow       c e m       This procedure shall include:
                                    in        e
professional, respectively, who in addition to being
                            cited 55221, D 1. clearly written policies and procedures;
qualified to evaluate and care for patients within the
                                . 21-
scope of his/her professional practice, has
                              o                  2. sick call process shall be communicated in writing
                            N
successfully completed specialized training for                 and verbally to detainees during their orientation;
treating sexual abuse victims.
                                                            3. regularly scheduled “sick call” times shall be
Q. Annual Health Examinations                                  established and communicated to detainees;
Any detainee in ICE custody for more than one year          4. an established procedure shall be in place at all
continuously shall receive health examinations on an           facilities to ensure that all sick call requests are
annual basis. Such examinations may occur more                 received and triaged by appropriate medical
frequently for certain individuals, depending on               personnel within 24 hours after a detainee
their medical history and/or health conditions.                submits the request. All written sick call requests
Detainees shall have access to age- and gender-                shall be date and time stamped and filed in the
appropriate exams annually, including re-screening             detainee’s medical record. Medical personnel shall
for TB.                                                        review the request slips and determine when the
                                                               detainee shall be seen based on acuity of the
R. Dental Treatment                                            problem. In an urgent situation, the housing unit
An initial dental screening shall be performed within          officer shall notify medical personnel
14 days of the detainee’s arrival. The initial dental          immediately.
screening may be performed by a dentist or a                If the procedure requires a written request slip, such
properly trained qualified health provider.


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slips shall be provided in English and the most             2. The health services administrator ensures that
common languages spoken by the detainee                        medical staff have training and competency in
population of that facility. Limited-English proficient        implementing the facility's emergency health
detainees and detainees who are hearing impaired               care plan appropriate for each staff's scope of
shall be provided interpretation/translation services          practice or position. The facility administrator
or other assistance as needed to complete a request            ensures that non-medical staff have appropriate
slip.
                                                               training and competency in implementing the
All detainees, including those in SMUs, regardless of          facility's emergency plan appropriate for each
classification, shall have access to sick call. See            staff's position. Training and competency
standard “2.12 Special Management Units” for                   assessment shall include the following areas::
details.
                                                                a. recognizing of signs of potential health
All facilities shall maintain a permanent record of all            emergencies and the required responses;
sick call requests.
                                                                b. administering first aid, AED and
T. Emergency Medical Services and First                            cardiopulmonary resuscitation (CPR);
   Aid                                                          c. obtaining emergency medical assistance
1. Each facility shall have a written emergency                    through the facility plan and its required
   services plan for delivery of 24-hour emergency                 procedures;
                                                                            ,  In  c.
   health care. This plan shall be prepared in
                                                                  C  ivic signs02and2 symptoms of mental
                                                              d. recognizing
                                                              r e
   consultation with the facility’s CMA or the HSA,
                                                       v. Co illness    1  4     2 risk; and
                                                                        and ,suicide
   and must include the following:
                                                  in o        e. b
                                                                     r
                                                                 theefacility’s established plan and procedures
                                            O  w          c e m
                                    andin
   a. an on-call physician, dentist d   mental health, De
                             c ite             2 2  1            for providing emergency medical care
                                        - 5 5
      professional, or designee, that are available
                                      1
                                                    24           including, when required, the safe and secure
                                    2
      hours per day;
                            No.                                  transfer of detainees for appropriate hospital or
                                                                   other medical services, including by
   b. a list of telephone numbers for local
      ambulances and hospital services available to                ambulance when indicated. The plan must
      all staff;                                                   provide for expedited entrance to and exit
                                                                   from the facility.
   c. an automatic external defibrillator (AED) shall
      be maintained for use at each facility and            3. When a non-medical employee is unsure whether
      accessible to staff;                                     emergency care is required, he/she shall
                                                               immediately notify medical personnel to make
   d. all detention and medical staff shall receive            the determination.
      cardio pulmonary resuscitation (CPR, AED),
      and emergency first aid training annually;            4. Medical and safety equipment shall be available
                                                               and maintained, and staff shall be trained in
   e. detention and health care personnel shall be             proper use of the equipment.
      trained annually to respond to health-related
      situations within four minutes; and                   5. The facility administrator, in consultation with
                                                               the designee for environmental health and safety,
   f. security procedures that ensure the immediate            determines the number, contents, and placement
      transfer of detainees for emergency medical              of first aid kits, and establishes protocols for
      care.                                                    monthly inspections of first aid kits.


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6. Victims of sexual abuse shall have timely access to      V. Health Education and Wellness
   emergency medical treatment and crisis                      Information
   intervention services in accordance with standard
   “2.11 Sexual Abuse and Assault, Prevention and           Qualified health care personnel shall provide
   Intervention.”                                           detainees health education and wellness information
                                                            on topics including, but not limited to, the
U. Delivery of Medication                                   following:
Distribution of medication (including over the              1. dangers of self-medication;
counter) shall be performed in accordance with
specific instructions and procedures established by         2. personal and hand hygiene and dental care;
the HSA in consultation with the CMA. Written               3. prevention of communicable diseases;
records of all prescribed medication given to or
                                                            4. smoking cessation;
refused by detainees shall be maintained.
                                                            5. self-care for chronic conditions; and
1. If prescribed medication must be delivered at a
   time when medical staff is not on duty, the              6. benefits of physical fitness.
   medication may be distributed by detention               W. Special Needs and Close Medical
   officers, where it is permitted by state law to do
   so, who have received proper training by the HSA
                                                              Supervision
   or designee.
                                                                         ,  Inc.
                                                            Consistent with Standard 4.8 “Disability
                                                               e C ivic 022
                                                            Identification, Assessment, and Accommodation”
                                                              r
2. The facility shall maintain documentation of the
   training given any officer required to distribute o v. C
                                                            o         1 4  ,2
                                                            and the IHSC Detainee Covered Services Package,
                                                                   r
                                           O   w  in        e m be
                                                            detainees will be provided medical prosthetic devices
                                       in guide
   medication, and the officer shall have available
                                                       De c
                              c ited or other
   for reference the training syllabus
                                                 2 1 ,      or other impairment aids, such as eyeglasses, hearing
                                        - 552
   or protocol provided by the health1authority.
                                    2
                                                            aids, or wheelchairs.
                             No.
3. Detainees may not deliver or administer                 When a detainee requires close medical supervision,
   medications to other detainees.                          including chronic and convalescent care, a written
                                                            treatment plan, including access to health care and
4. All prescribed medications and medically                 other care and supervision personnel, shall be
   necessary treatments shall be provided to                developed and approved by the appropriate qualified
   detainees on schedule and without interruption,          licensed health care provider, in consultation with
   absent exigent circumstances.                            the patient, with periodic review. Likewise, staff
5. Detainees who arrive at a detention facility with        responsible for such matters as housing and program
   prescribed medications or who report being on            assignments and disciplinary measures shall consult
   such medications, shall be evaluated by a                with the responsible qualified licensed health care
   qualified health care professional as soon as            provider or health services administrator.
   possible, but not later than 24 hours after arrival,     Exercise areas shall be available to meet exercise and
   and provisions shall be made to secure medically         physical therapy requirements of individual detainee
   necessary medications.                                   treatment plans.
6. Detainees shall not be charged for any medical           Transgender detainees who were already receiving
   services to include pharmaceuticals dispensed by         hormone therapy when taken into ICE custody shall
   medical personnel                                        have continued access. All transgender detainees shall



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have access to mental health care, and other                        x   any chronic deteriorating condition
transgender-related health care and medication based                    requiring multiple medications, to
on medical need. Treatment shall follow accepted                        include progressive immune-suppressive
guidelines regarding medically necessary transition-                    conditions;
related care.
                                                                    x   any active condition that has caused
For special needs related to female detainees, see                      repeated loss of consciousness;
standard “4.4 Medical Care (Women).
                                                                    x   any condition that requires an imminent
X. Notifications of Detainees with Serious                              medical procedure or other medical
Illnesses and Other Specified Conditions                                intervention to prevent deterioration;
The facility administrator and clinical medical                     x   any condition or infirmity that requires
authority shall ensure that the Field Office Director is                continuous or near-continuous medical
notified as soon as practicable of any detainee                         care, such as those who are bedbound or
housed at the facility who is determined to have a                      incapable of caring for themselves; or any
serious physical or mental illness or to be pregnant,                   ongoing or recurrent conditions that
or have medical complications related to advanced                       have required a recent or prolonged
age, but no later than 72 hours after such                              hospitalization, typically for greater than
determination. The written notification shall
                                                                             c.
                                                                        14 days, or a recent and prolonged stay
                                                                        , I n
                                                                   ivic 022
become part of the detainee’s health record file.                       in the medical clinic of a detention or
                                                               re C
                                                         . Co er 14, 2
1. Serious Physical Illness                                             correctional facility, typically for greater

                                                  in o v         b
                                                                        than 30 days;
                                           O   w
For purposes of this subsection only, the following
                                                           c e m
                                te
non-exhaustive categories of medicald  in
                                      conditions     ,
                                                   may
                                                   1   D e        x conditions requiring frequent care that is
                               i
                             c physical       22 –
                                            5illness                beyond the medical capabilities of
be considered to constitute serious
                                    2 1 - 5
                            No.
                                                                    detention facilities where the alien may
        x any terminal illness;                                         be housed;
        x   active cancer, including but not limited                x   any condition that would preclude the
            to aliens undergoing chemotherapy;                          alien from being housed, typically for
        x   Acquired Immuno- Deficiency Syndrome                        greater than 30 days, in a non-restrictive
            (AIDS) or diagnosed HIV-positive                            setting (such as a general population
            conditions requiring medication;                            housing unit, as opposed to a special
                                                                        management unit or a medical clinic); or
        x   multi-drug-resistant (MDR) or
            extensively drug-resistant (XDR)                        x   any other physical illness determined to
            tuberculosis disease;                                       be serious by facility medical personnel
                                                                        or by IHSC.
        x   any condition that requires dialysis;
                                                             2. Serious Mental Illness
        x   any condition that requires tube-
                                                             For the purposes of this section, the following non-
            feedings, mechanical ventilation, an
                                                             exhaustive categories of conditions should be
            implanted cardiac device, or an oxygen
                                                             considered to constitute a serious mental illness:
            tank;




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(a) conditions that a qualified medical provider has        c) any condition that would preclude the alien from
    determined to meet the criteria for a “serious             being housed, typically for greater than 30 days,
    mental disorder or condition” pursuant to                  in a non-restrictive setting (such as a general
    applicable ICE policies, including:                        population housing unit, as opposed to a special
                                                               management unit or a medical clinic);
        x   a mental disorder that is causing serious
            limitations in communication, memory,           d) any other mental illness determined to be serious
            or general mental and/or intellectual              by IHSC.
            functioning (e.g. communicating,                3. Pregnancy
            conducting activities of daily life, social
                                                                The notification requirement in this section
            skills); or a severe medical condition(s)
                                                                applies to all women who have been medically
            (e.g. traumatic brain injury or dementia)
                                                                certified as pregnant, regardless of the stage of the
            that is significantly impairing mental
                                                                pregnancy.
            function; or
                                                            Y. Restraints
        x   one or more of the following active
            psychiatric symptoms and/or                     Restraints for medical or mental health purposes may
            behavior: severe disorganization, active        be authorized only by the facility’s CMA or designee,
            hallucinations or delusions, mania,             after determining that less restrictive measures are
            catatonia, severe depressive symptoms,                       In  c.
                                                            not appropriate. In the absence of the CMA,
                                                                       ,
            suicidal ideation and/or behavior,
                                                         re C   ivic 022
                                                            qualified medical personnel may apply restraints
            marked anxiety of impulsivity.
                                                o v. Co er 14, 2
                                                            upon declaring a medical emergency. Within one-

                                         O w  in       e m bhour of initiation of emergency restraints or
x significant symptoms of one of the following:
                                    in             e c
                            ited 5221, D
                                                            seclusion, qualified medical staff shall notify and
    Psychosis or PsychoticcDisorder;                       obtain an order from the CMA or designee.
                              .  2 1  -5
    Bipolar Disorder; No                             a. The facility shall have written procedures that
                                                                specify:
       Schizophrenia or Schizoaffective Disorder;
                                                                1) the conditions under which restraints may be
       Major Depressive Disorder with Psychotic                   applied;
        Features;
                                                                2) the types of restraints to be used;
       Dementia and/or a Neurocognitive Disorder;
        or                                                      3) the proper use, application and medical
                                                                   monitoring of restraints;
       Intellectual Development Disorder
        (moderate, severe, or profound).                        4) requirements for documentation, including
                                                                   efforts to use less restrictive alternatives; and
b) any ongoing or recurrent conditions that have
   required a recent or prolonged hospitalization,              5) after-incident review.
   typically for greater than 14 days, or a recent and      The use of restraints requires documented approval
   prolonged stay in the medical clinic of a detention      and guidance from the CMA. Record-keeping and
   or correctional facility, typically for greater than     reporting requirements regarding the medical
   30 days;                                                 approval to use restraints shall be consistent with
                                                            other provisions within these standards, including
                                                            documentation in the detainee’s A-file, detention


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and medical file.                                          involuntary medical treatment, respective ICE Office
                                                           of Chief Counsel shall be consulted.
Z. Continuity of Care
                                                           1. Upon admission at the facility, documented
The facility HSA must ensure that a plan is developed         informed consent shall be obtained for the
that provides for continuity of medical care in the           provision of health care services.
event of a change in detention placement or status.
                                                           2. All examinations, treatments, and procedures are
The detainee’s medical needs shall be taken into              governed by informed consent practices
account prior to any transfer of the detainee to              applicable in the jurisdiction.
another facility. Alternatives to transfer shall be
considered, taking into account the disruption that a      3. A separate documented informed consent is
transfer will cause to a detainee receiving medical           required for invasive procedures, including
care. Upon transfer to another facility, the medical          surgeries, invasive diagnostic tests, and dental
provider shall prepare and provide a Medical Transfer         extractions.
Summary as required by “C. Responsibilities of the         4. Prior to the administration of psychotropic
Health Care Provider at the Sending Facility,” found          medications, a separate documented informed
in Standard 7.4 “Detainee Transfers.” In addition, the        consent, that includes a description of the
medical provider shall ensure that at least 7 day (or,        medication’s side effects, shall be obtained.
in the case of TB medications, 15 day and in the case
of HIV/AIDS medications, 30 day) supply of
                                                                            , I  c.
                                                           5. If a consent form is not available in a language
                                                                               n
medication shall accompany the detainee as ordered
                                                              r e     ivic 022
                                                              the detainee understands, professional
                                                                   C
                                                        . Co er 14, 2
                                                              interpretation services will be provided as
by the prescribing authority.
                                                  in o v         b
                                                              described in Section E (“Translation and Language
Upon removal or release from ICE custody,O      w         c e m
                                        in    the
                                                        e     Access for Detainees with Limited English
                              c itedaydsupply5of221, D
detainee shall receive up to a 30                             Proficiency”) and documented on the form.
                                       1
medication as ordered by the prescribing
                                  .  2   -5authority
and a detailed medical care N   o as described in
                             summary
                                                           6. If a detainee refuses treatment and the CMA or
                                                               designee determines that treatment is necessary,
“BB. Medical Records” of this standard. If a detainee
                                                               ICE/ERO shall be consulted in determining
is on prescribed narcotics, the clinical health
                                                               whether involuntary treatment shall be pursued.
authority shall make a determination regarding
continuation, based on assessment of the detainee.         7. If the detainee refuses to consent to treatment,
The HSA must ensure that a continuity of treatment            medical staff shall make reasonable efforts to
care plan is developed and a written copy provided            explain to the detainee the necessity for and
to the detainee prior to removal.                             propriety of the recommended treatment.
AA. Informed Consent and Involuntary                       8. Medical staff shall ensure that the detainee’s
  Treatment                                                   questions regarding the treatment are answered
                                                              by appropriate medical personnel.
Involuntary treatment is a decision made only by
                                                           9. Medical staff shall explain the medical risks if
medical staff under strict legal restrictions. When a
                                                              treatment is declined and shall document their
detainee refuses medical treatment, and the licensed
                                                              treatment efforts and refusal of treatment in the
healthcare provider determines that a medical
                                                              detainee’s medical record. Detainees will be asked
emergency exists, the physician may authorize
                                                              to sign a translated form that indicates that they
involuntary medical treatment. Prior to any
                                                              have refused treatment.
contemplated action involving non-emergent


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10. The clinical medical authority and facility             guidelines and applicable laws. These protections
    administrator shall look into refusals of treatment     apply, not only to records maintained on paper, but
    to ensure that such refusals are not the result of      also to electronic records where they are used. Staff
    miscommunication or misunderstanding.                   training must emphasize the need for confidentiality
11. Facilities should make efforts to involve trusted       and procedures must be in place to limit access to
    individuals such as clergy or family members            health records to only authorized individuals and
    should a detainee refuse treatment.                     only when necessary.

12. A detainee who refuses examination or treatment         Information about a detainee’s health status and a
    may be segregated from the general population           detainee’s health record is confidential, and the
    when such segregation is determined medically           active medical record shall be maintained separately
    necessary by the CMA. Segregation shall only be         from other detention records and be accessible in
    for medical reasons that are documented in the          accordance with applicable laws and regulations.
    medical record, and may not be used for                 The HSA shall provide the facility administrator and
    punitive purposes. Such segregation shall only          designated staff information that is necessary as
    occur after a determination by a component              follows:
    mental health professional has taken place that
                                                            a. to preserve the health and safety of the detainee,
    shows the segregation shall not adversely affect
                                                               other detainees, staff or any other person;
    the detainee’s mental health.
                                                                           , Inc.
                                                                     ivic 022
                                                            b. for administrative and detention decisions such as
13. In the event of a hunger strike, see standard “4.2
                                                              r e C
                                                               housing, voluntary work assignments, security
    Hunger Strikes.”
                                                     o v. Co er 14, 2
                                                               and transport; or
                                             O w
Standard “4.7 Terminal Illness, Advance Directivesin        e m  bmanagement purposes such as audits and
                                         n wills , De     c
                                  ed iliving
                                                           c. for
                             c i t
and Death” provides details regarding
and advance directives, organ donations-5    5
                                           and 2   1
                                               do2not
                                                              inspections.

                               o  . 21                     When information is covered by the Privacy Act,
resuscitate (DNR) orders.
                           N                                specific legal restrictions govern the release of
BB. Medical Records                                         medical information or records.
1. Health Record File                                       Detainees who indicate they wish to obtain copies of
The HSA shall maintain a complete health record on          their medical records shall be provided with the
each detainee that is:                                      appropriate request form. ICE/ERO, or the facility
                                                            administrator, shall provide limited-English
a. Organized uniformly in accordance with                   proficient detainees and detainees who are hearing
   appropriate accrediting body standards;                  impaired with interpretation or translation services
b. Available to all practitioners and used by them for      or other assistance as needed to make the written
   health care documentation; and                           request, and shall assist in transmitting the request to
                                                            the facility HSA.
c. Properly maintained and safeguarded in a
   securely locked area within the medical unit.            Upon his/her request, while in detention, a detainee
2. Confidentiality and Release of Medical Records           or his/her designated representative shall receive
                                                            information from their medical records. Copies of
All medical providers, as well as detention officers        health records shall be released by the HSA directly
and staff shall protect the privacy of detainees’           to a detainee or their designee, at no cost to the
medical information in accordance with established          detainee, within a reasonable timeframe after receipt


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by the HSA of a written authorization from the             (LIP) prior to transfer or removal. In addition, the
detainee.                                                  CMA or designee must inform the facility
A written request may serve as authorization for the       administrator in writing if the detainee’s medical or
release of health information, as long as it includes      psychiatric condition requires a medical escort
the following information, and meets any other             during removal or transfer.
requirements of the HSA:                                   a. Notification of Medical/Psychiatric Alerts or
a. address of the facility to release the information;        Holds
                                                              Upon receiving notification that a detainee is to
b. name of the individual or institution to receive           be transferred, appropriate medical staff at the
   the information;                                           sending facility shall notify the facility
c. detainee’s full name, A-number (or other facility          administrator of any medical/psychiatric alerts or
   identification number), date of birth and                  holds that have been assigned to the detainee, as
   nationality;                                               reflected in the detainee’s medical records. The
                                                              facility administrator shall be responsible for
d. specific information to be released with inclusive         providing notice to ICE/ERO of any medical alerts
   dates of treatment; and
                                                              or holds placed on a detainee that is to be
e. detainee’s signature and date.                             transferred.
Following the release of health information, the
                                                                            , Inc.
                                                           b. Notification of Transfers, Releases and Removals
written authorization shall be retained in the health
                                                               re C   ivic 022
                                                              The HSA shall be given advance notice by

                                                         . Co er 14, 2
record.                                                       ICE/ERO prior to the release, transfer or removal

                                                  in
Detainees are to be informed that if they are releasedo v     of a detainee, so that medical staff may determine
                                                                 b
                                           O   w           c e m
                                       in               De
                                                              and provide for any medical needs associated
                              citebedmade5available
or removed from custody prior to laboratory    results
                                                 2 1  ,       with the transfer, release or removal.
being evaluated, the results shall
                                      1 -   52 a
                                    2
                            No.
by contacting the detention facility and providing          c. Transfer of Medical Information
release of information consent.
                                                               1) When a detainee is transferred to another
3. Inactive Health Record Files                                   detention facility, the sending facility shall
Inactive health record files shall be retained as                 ensure that a Medical Transfer Summary
permanent records in compliance with locally                      accompanies the detainee, as required in “C.
established procedures and the legal requirements of              Responsibilities of the Health Care Provider at
the jurisdiction.                                                 the Sending Facility” found in Standard 7.4
                                                                  “Detainee Transfers.”. Upon request of the
4. Transfer and Release of Detainees                              receiving facility, the sending facility shall
ICE/ERO and the HSA shall be notified when                        transmit a copy of the full medical record
detainees are to be transferred or released. Detainees            within 5 business days, and sooner than that if
shall be transferred, released or removed, with                   determined by the receiving facility to be a
proper medication to ensure continuity of care                    medically urgent matter.
throughout the transfer and subsequent intake                  2) Upon removal or release from ICE custody, the
process, release or removal (see “W. Continuity of                detainee shall be provided medication,
Care,” above). Those detainees who are currently                  referrals to community-based providers as
placed in a medical hold status must be evaluated                 medically appropriate, and a detailed medical
and cleared by a licensed independent practitioner                care summary. This summary should include


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     instructions that the detainee can understand        The IHSC Form 849 or equivalent, or the Medical
     and health history that would be meaningful          Transfer Summary attached as Appendix 4.3.C,
     to future medical providers. The summary             which mirrors IHSC Form 849, may be used by
     shall include, at a minimum, the following           facilities to ensure compliance with these standards.
     items:
                                                          CC. Terminal Illness or Death of a
     a) patient identification;                           Detainee
     b) tuberculosis (TB) screening results
                                                          Procedures to be followed in the event of a
        (including results date) and current TB
                                                          detainee’s terminal illness or death are in standard
        status if TB disease is suspected or
                                                          “4.7 Terminal Illness, Advance Directives and
        confirmed;
                                                          Death.” The standard also addresses detainee organ
     c) current mental, dental, and physical health       donations.
        status, including all significant health
        issues, and highlighting any potential
                                                          DD. Medical Experimentation
        unstable issues or conditions which require       Detainees shall not participate in medical,
        urgent follow-up;                                 pharmaceutical or cosmetic research while under the
     d) current medications, with instructions for        care of ICE.
        dose, frequency, etc., with specific              This stipulation does not preclude the use of
                                                                      , In c.
                                                                 ivic 022
        instructions for medications that must be         approved clinical trials that may be warranted for a
        administered en route;
                                                             re C
                                                          specific inmate’s diagnosis or treatment when
                                                    o v. Co er 14, 2
                                                          recommended and approved by the clinical medical
                                            O w in
     e) any past hospitalizations or major surgical
                                                           e m b
        procedures;
                                    d in 21, De          cdirector. Such measures require documented

                              c ite
     f) recent test results, as appropriate; 52
                                                          informed consent.

                                  . 2 1 -5                EE. Administration of the Medical
     g) known allergies; No
                                                               Department
     h) any pending medical or mental health
        evaluations, tests, procedures, or treatments     1. Quarterly Administrative Meetings
        for a serious medical condition scheduled         The HSA shall convene a meeting quarterly at
        for the detainee at the sending facility. In      minimum, and include other facility and medical
        the case of patients with communicable            staff as appropriate. The meeting agenda shall
        disease and/or other serious medical needs,       include, at minimum, the following:
        detainees being released from ICE custody
                                                          a. an account of the effectiveness of the facility’s
        are given a list of community resources, at a
                                                             health care program;
        minimum;
                                                          b. discussions of health environment factors that
     i) copies of any relevant documents as
                                                             may need improvement;
        appropriate;
                                                          c. review and discussion of communicable disease
     j) printed instructions on how to obtain the
                                                             and infectious control activities;
        complete medical record; and
                                                          d. changes effected since the previous meetings; and
     k) the name and contact information of the
        transferring medical official.                    e. recommended corrective actions, as necessary.



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Minutes of each meeting shall be recorded and kept              review activities; and
on file.
                                                             10) ensuring records of internal review activities
2. Health Care Internal Review and Quality                     comply with legal requirements on
Assurance                                                      confidentiality of records.
The HSA shall implement a system of internal review      3. Peer Review
and quality assurance. The system shall include:         The HSA shall implement an intra-organizational,
a. participation in a multidisciplinary quality          external peer review program for all independently
   improvement committee;                                licensed medical professionals. Reviews shall be
                                                         conducted at least annually.
b. collection, trending and analysis of data along
   with planning, interventions and reassessments;       FF. Examinations by Independent Medical
c. evaluation of defined data;                               Service Providers and Experts
d. analysis of the need for ongoing education and        On occasion, medical and/or mental health
   training;                                             examinations by a practitioner or expert not
e. on-site monitoring of health service outcomes on      associated with ICE or the facility may provide a
   a regular basis through the following measures:       detainee with information useful in administrative
                                                         proceedings.
   1) chart reviews by the responsible physician or
                                                                    , Inc.
      his/her designee, including investigation of
                                                            re  ivic 022
                                                         If a detainee seeks an independent medical or mental
                                                               C
                                                      . Co er 14, 2
      complaints and quality of health records;          health examination, the detainee or his/her legal
                                                  o  v   representative shall submit to the Field Office
   2) review of practices for prescribing and win         e m b
      administering medication;ed in
                                           O         De cDirector a written request that details the reasons for
                             cit             2 2 1 ,     such an examination. Ordinarily, the Field Office
                                   2  1 - 55and
   3) systematic investigation of complaints             Director shall approve the request for independent
      grievances;           No.                          examination, as long as such examination shall not
                                                         present an unreasonable security risk. Requests for
   4) monitoring of corrective action plans;
                                                         independent examinations shall be responded to as
   5) reviewing all deaths, suicide attempts and         quickly as practicable. If a request is denied, the Field
      illness outbreaks;                                 Office Director shall advise the requester in writing
   6) developing and implementing corrective-            of the rationale.
      action plans to address and resolve identified     Neither ICE/ERO nor the facility shall assume any
      problems and concerns;                             costs of the examination, which will be at the
   7) reevaluating problems or concerns, to              detainee’s expense. The facility shall provide a
      determine whether the corrective measures          location for the examination but no medical
      have achieved and sustained the desired            equipment or supplies and the examination must be
      results;                                           arranged and conducted in a manner consistent with
                                                         maintaining the security and good order of the
   8) incorporating findings of internal review          facility.
      activities into the organization’s educational
      and training activities;                           GG. Tele-Health Systems
   9) maintaining appropriate records of internal        **The facility, when equipped with appropriate
                                                         technology and adequate space, shall provide for the


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use of services of the ICE Tele-Health Systems,
inclusive of tele-radiology (ITSP), tele-psychiatry
and tele-medicine.
1. The cost of the equipment, equipment
   maintenance, staff training and credentialing (as
   outlined in the contract), arrangements for x-ray
   interpretation and administration by a
   credentialed radiologist; and data transmission to
   and from the detention facility, shall be provided
   by the facility and charged directly to ICE.
2. The facility administrator shall coordinate with
   the ITSP to ensure adequate space is provided for
   the equipment, connectivity is available, and
   electrical services are installed.
3. Immediate 24-hour access, seven days a week, to
   equipment for service and maintenance by ITSP
   technicians shall be granted.

                                                            , Inc.
                                                        ivic 022
4. A qualified tele-health coordinator shall be
   appointed and available for training by the ITSP.
                                                    re C
                                             v. Co er 14, 2
   Qualified, licensed and credentialed medical staff
                                           o
                                       Owin       e m b
   shall be available to provide tele-health services as
                                    in        e c
                            cited 55221, D
   guided by state and federal requirements and

                                  21-
   restrictions.
                            N o .




4.3 | Medical Care                                         281                PBNDS 2011
                                                                     (Revised December 2016)
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Medical Forms:
   x Appendix 4.3.A: Intake Screening
   x Appendix 4.3.B: Physical Examination/Health Appraisal
   x Appendix 4.3.C: Medical Transfer Summary




                                                     , Inc.
                                             re Civic 022
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                                Owin       e m b
                             in        e c
                     cited 55221, D
                       o . 21-
                     N




4.3 | Medical Care                        282                                PBNDS 2011
                                                                    (Revised December 2016)
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                                                             INTAKE SCREENING

Identification
Patient was identified by (check 2 sources):       Wrist Band            Picture     Verbally        ID Badge          Other:

Chaperone Present?             Yes     No If yes, give chaperone name:

Date of arrival at facility:                                 Time of arrival:                              Time of initial screening:

If transferred from another facility, did medical transfer summary accompany the patient?                  Yes          No      Not Applicable
Was the Pre-Screening Note reviewed?               Yes      No

Subjective
Communication Assessment:
What language do you speak?             English      Spanish            Other:

Interpreter provided?          Yes    No    If yes, name or INT number:

If No, patient speaks:         English fluently     Provider fluent in patient’s native language                No interpreter available at this time

Do you have any difficulty with:         Hearing         Speech          Vision Check if yes. If yes, what accommodation do you need to help you
read, communicate, or navigate the facility?

Disability Screening:
Do you have any difficulty with walking, standing, or climbing stairs?             Yes
                                                                                    , Inc.  No      If yes, explain:

Do you have any difficulty reading or writing?    Yes  No If yes, explain:
                                                                           re C ivic 022
What was the highest grade completed in school?
                                                             o   v . Co er 14, 2
                                                      w
Do you have any difficulty understanding directions? OYes
                                                         in No If yes,eexplain:
                                                                           m b
                                              d in 21, De             c
                                       c  ite
Medical Screening:
                                              2 1 - 552
                                     N own. words)
How do you feel today? (Explain in his/hero


Are you currently having any pain?          Yes      No If yes, complete pain assessment below
a. Character of pain:                                    b. Location:                            c. Duration:                    d. Intensity: (0-10 pain scale)


e. What relieves pain or makes it worse?



Do you have any current or past medical problems?                Yes       No If yes, explain:




Last Name:                                                                         First Name:

A#:                                                                                Country of Origin:

Date of Arrival:                                                                   DOB:

Facility:                                                                          Sex:
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Medical Screening (continued)

Are you currently or in the past year have you taken any medication on a regular basis, including over the counter and herbal?                      Yes   No
If yes, list medications:
Do you have your medications with you?        Yes      No If yes, list medications and disposition:




Do you have any allergies to medication or food?       Yes          No If yes, list all:



Are you now or have you ever been treated by a doctor for a medical condition to include hospitalizations, surgeries, infectious or
communicable diseases?     Yes     No If yes, explain:




Do you now or have you ever had Tuberculosis (TB)?               Yes      No

In the past 2 months, have you experienced any of the following signs or symptoms continuously for more than 2 weeks:
Cough?       Yes      No   Coughing up blood?        Yes          No   Chest pain?          Yes         No     Loss of appetite?         Yes   No

Fever, chills, or night sweats for no known reason?          Yes       No      Unexplained weight loss?             Yes         No

Symptom screening with positive responses(s) is concerning for active TB:                  Yes     No        If yes, explain:

                                                                                           ,  In  c.
                                                                               re C ivic 022
                                                                  o   v . Co er 14, 2
Referred to provider for further evaluation.   Yes
                                                       O
                                                        No
                                                           w   in           e m  b
                                              d   in                 D  e c
Have you had any recent sudden changes with your
                                          it e
                                                     vision or
                                                                1 ,
                                                               hearing?    Yes    No If yes, explain:
                                       c
                                                1  - 5 522
                                              2
                                      No.
Do you have any specific dietary needs?        Yes          No    If yes, explain:




Have you traveled outside of the US within the past 30 days?             Yes         No    If so, where?



Have you ever had or have you ever been vaccinated against Chicken Pox?                     Yes     No          Admits prior infection



LGBT Screening
 Are you gay, lesbian, bisexual, transgender, intersex or gender non-conforming?                  Yes         No

 If transgender, what is your gender self-identification?


Last Name:                                                                       First Name:

A#:                                                                              Country of Origin:

Date of Arrival:                                                                 DOB:

Facility:                                                                        Sex:
         Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9602 Page 332 of 498
Female Patient Only

Are you pregnant?         Yes         No         Not Applicable    If yes, date of last menstrual period:

Are you currently breastfeeding?           Yes       No     If yes, when is the last day you breastfed?

Have you had unprotected sexual intercourse in the past 5 days?                 Yes       No
If yes, would you like to speak to a medical provider about emergency contraception to prevent a possible pregnancy?               Yes      No
If yes, contact a medical provider immediately for guidance.

Oral Screening
Are you having any significant dental problems?              Yes      No If yes, explain:



Do you have dentures, partials, braces, etc?              Yes      No If yes, do you have these items with you?

Mental Health Screening
Have you ever been diagnosed with mental illnesses or mental health conditions?                 Yes     No If yes, what illness?




Have you ever received counseling, medication or hospitalization for mental health problems (to include outpatient treatment)?
   Yes       No    If yes, explain.




                                                                                                   ,  In   c.
Refer for follow-up and appropriate treatment as necessary.
                                                                                     r e C  ivic 022
                                                                          v       o
                                                                             . CCutting     r  1  4  , 2 Other
Do you have a history of self-injurious behavior?        Yes
                                                                w      o
                                                                   inand appropriate
                                                                   No If yes:
                                                                                    m   be   Self-mutilation
Most recent
                                                     in   O
                                      If yes, refer for follow-up               c e
                                                                             e did the attempt occur?
                                                                                     treatment as necessary.

                                        c  ited Yes 52No21If yes,
Have you ever tried to kill or harm yourself?                          , Dwhen
                                       Cutting skin1-5
Method:      Gun       Hanging
                                          o  .  2referralPillsto mental
                                                                    Other
                                      N
If attempt was within the last 90 days,     make                        health immediately.

Are you currently thinking about killing or harming yourself?             Yes        No    If yes, make referral to mental health immediately.

Do you have a history of assaulting or attacking others?            Yes         No

Do you know of someone in this facility whom you wish to attack or harm?                  Yes    No
If yes, who is this person?                                                 If yes, make referral to mental health immediately.

Do you now or have you ever heard voices that other people don't hear, seen things or people that others don't see, or felt others were
trying to harm you for no logical or apparent reason?  Yes      No If yes, explain:




Last Name:                                                                       First Name:

A#:                                                                              Country of Origin:

Date of Arrival:                                                                 DOB:

Facility:                                                                        Sex:
         Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9603 Page 333 of 498
   Sexual Abuse and Assault Screening
\\\\\
  Have you been a victim of physical or sexual abuse or assault?          Yes       No If yes, explain:



  If yes, refer for medical or mental health evaluation as appropriate.
  Do you feel that you are in danger of being physically or sexually assaulted while you are in custody?    Yes    No If yes, explain:


  If yes, refer for follow-up and appropriate treatment as necessary.
  Have you ever sexually assaulted or abused another person?           Yes        No If yes, explain:



  If yes, refer for medical or mental health evaluation as appropriate.

  Trauma History Screening

  Have you had a physical or emotional trauma due to abuse or victimization?           Yes         No

  Have you ever experienced, witnessed or been confronted with an event that involved actual or threatened death or serious injury (can
  include domestic violence, sexual assault, robbery, natural disaster, war, serious illness, terrorism). Yes    No
  If yes, answer the following:
         • Was your response to this event intense fear, helplessness or horror?                                        Moderate     Extreme
         • Has this experience caused significant distress or impairment in your life?                                  Moderate     Extreme
         • Has it affected your interpersonal relationships, work or other areas?                                       Moderate     Extreme
         • Is this experience currently causing significant distress or impairment in your life?
                                                                                               , In  c.                 Moderate     Extreme


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  If the patient experienced any of the above, refer for follow-up and appropriate treatment as necessary.

  Cultural/Religious Assessment
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  Is there anything important to know about your religious orw
                                                         O     in beliefs thateare
                                                                               m    bconcern to you while in detention?
                                                   in
                                                             cultural
                                                                       e  c        of                                          Yes   No

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  If yes, explain:


                                         o  . 21-
                                      N
  Substance Use/Abuse Screening
  Have you ever been treated for drug and/or alcohol problems?                                                    Yes     No

  Have you ever suffered withdrawal symptoms from drug and/or alcohol use?                                        Yes     No
  Are you able to stop using drugs or alcohol if you want?                                                        Yes     No

  Have you ever blacked out or experienced memory loss from drinking or drug use?                                 Yes     No

  Have drug or alcohol use negatively impacted your life (family, work, relationships, criminal charges)?         Yes     No

  If yes to any of the above questions, explain:




  Refer for follow-up and appropriate treatment as necessary.


  Last Name:                                                                    First Name:

  A#:                                                                           Country of Origin:

  Date of Arrival:                                                              DOB:

  Facility:                                                                     Sex:
       Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9604 Page 334 of 498
Substance Use/Abuse Screening (continued)

In the past three months, have you used tobacco, alcohol, illegal drugs, or misused prescription drugs?                    Yes        No

If yes, complete the following (refer for follow-up and appropriate treatment as necessary).
                       Substance Used/Route of Use                                         Date of Last Use                Amount/Quantity Last Used




Objective
Patient does not appear to have abnormal physical, mental, and/or emotional characteristics.                      Yes     No

Patient does not appear to have barriers to communication.                Yes         No

Patient is oriented to: Person          Yes       No    Place       Yes         No      Time       Yes       No

If you observe any of the following, check the appropriate box and document findings below:
Appearance:        Sweating        Shaking/tremors           Anxious         Disheveled            Ill appearance
               Findings:

Behavior:          Disorderly      Appropriate         Insensible         Agitation          Inability to
               focus/concentrate Findings:

State of Consciousness:         Alert          Responsive        Lethargic
               Findings:

Ease of Movement:          Body deformities         Gait

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               Findings:

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Breathing:      Persistent cough        Hyperventilation
            Findings:
                                                          ino   v              b Bruises Scars
                                                         w
                                            Rashes OInfestations    c  e   m
                                             d in of Drug2Use     e
Skin:           Lesions      Jaundice                                Nits (lice)

                                      c teIndications
                Tattoos Needle Marks ior                   1 , D
                                                    552Delay Para/quadriplegia Stroke Amputation
                                                               Findings:

                                             2 1  -
                                    No.
Developmental or Physical Disabilities:     Developmental                                                                                   Cardiac condition
            Findings:

Assistive Devices:       Glasses/Contacts           Hearing aid(s)        Denture(s)/Partial(s)             Orthopedic brace       Prosthetic     Cane
               Findings:

    None Observed

Comments/Other Findings:




Vital Signs
T                  P                    Resp                BP                  HT                 WT               HCG Results:      Pos       Neg      N/A




Last Name:                                                                            First Name:

A#:                                                                                   Country of Origin:

Date of Arrival:                                                                      DOB:

Facility:                                                                             Sex:
       Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9605 Page 335 of 498
Assessment
Initial Medical Screening:
   No findings requiring referral

   Findings requiring referral identified. See disposition below.

   List all findings:




Plan
Disposition:
   General population

   General population with referral for:     Medical         Mental health care

   Isolation until medically evaluated

   Referral for immediate:     Medical       Mental health        Dental care

Details of referral:




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Care/Intervention/Follow-up:
  Physical examination/Health Assessment will be performed within v    Co
                                                                   14.days.      r 1 4 ,2
                                                         w  ino             m be
  Physical exam will be scheduled for patient.
                                                in   O                 c e
                                                                  Deforearm
                                    cited Left5forearm
  Tuberculin Skin Test (TST) administered
                                                     52    2 1 , Right
                                            2  1 -
                                  No.
  Chest X-Ray (CXR) completed with appropriate    shielding

   TST or CXR not needed. Transfer Summary accompanying patient documents negative screening within timeframe allowed by policy.

   The following care/treatment was provided during this Intake Screening.




Last Name:                                                                  First Name:

A#:                                                                         Country of Origin:

Date of Arrival:                                                            DOB:

Facility:                                                                   Sex:
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Patient Education:
   Tuberculosis screening and need for tuberculin skin test (TST) or chest x-ray (CXR) explained to patient prior to performance.

   Access to medical, dental, and mental health care explained to patient as well as grievance process.

   Given the Dealing with Stress brochure in                                      language.

   Given the Medical Orientation brochure in                                      language.

   Given the Health Information brochures in                                      language.

   Patient verbalized understanding of teaching or instruction provided.

   Patient was asked if he or she had any additional questions and all questions were addressed.

   Female ONLY: Educated and provided brochure describing female medical and mental health services related to pregnancy,
   terminated/miscarried pregnancies, contraception, family planning and age-appropriate gynecological health care.

   Other education provided:




                   Provider's Signature                             Stamp / Printed Name                          Date              Time




               Reviewer's Signature                                 Stamp / Printed Name                          Date              Time


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Last Name:                                                                 First Name:

A#:                                                                        Country of Origin:

Date of Arrival:                                                           DOB:

Facility:                                                                  Sex:
        Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9607 Page 337 of 498


                                            Physical Examination/Health Appraisal
  3DWLHQWZDVLGHQWLILHGE\ FKHFNVRXUFHV  Ƒ:ULVW%DQGƑ3LFWXUHƑ9HUEDOO\Ƒ,'%DGJHƑ2WKHUBBBBBBBBBBBBBBBBBBB
  &KDSHURQH3UHVHQW"Ƒ<HVƑ1R,I\HVJLYHFKDSHURQHQDPHBBBBBBBBBBBBBBBBBB

  Communication Assessment:
  :KDWODQJXDJHGR\RXVSHDN"Ƒ(QJOLVKƑ6SDQLVKƑ2WKHUBBBBBBBBBBBBBBBBBBBB
  InterSUHWHUSURYLGHG"Ƒ<HVƑ1R,I\HV1DPHRU,17BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  'HWDLQHHVSHDNVƑ(QJOLVK)OXHQWO\Ƒ3URYLGHUIOXHQWLQSDWLHQW¶VQDWLYHODQJXDJHƑ1RLQWHUSUHWHUDYDLODEOHDWWKLVWLPH

  Do you have any difficulty with Ƒhearing, Ƒspeech or Ƒvision? Check if Yes.
          If yes, what accommodations, do you need to help you read, communicate, or navigate the facility? ________________

  Subjective:
            Current Significant Medical Problems                 Date Problem began                               Current Status




                                                                         c.
  Current Medications including OTC and Herbal:

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  Name                                                                  Dose                    Route                           Frequency

                                                             re C
                                                    o v. Co er 14, 2
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                                             in        e c
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                                       o . 21-
                                     N
  Allergies:

  Medications/Food/Environmental: List All: __________________________________________________________\

  Pain Assessment

  Are you currently in SDLQ"Ƒ<HVƑ1R,I\HVSDLQEHJDQZKHQ"BBBBBBBBBBBBBBBBBBBBBBBBBBB ,QWHQVLW\ VFDOH BBBBBBBBBBBBBB
  Character of Pain:_________________________            Location:____________________________________________
  Duration:___________________________________
  Has DQ\WKLQJ\RXKDYHGRQHRUWULHGLQWKHSDVWUHOLHYHGWKHSDLQRUPDGHLWZRUVH" Ƒ<HVƑ1R
  If yes, explain___________________________________________________________________________________________




Last Name:                                                                First Name:


A#:                                                                       Country of Origin:


Date of Arrival:                                                          DOB:

Facility:                                                                 Sex:
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                                     Physical Examination/Health Appraisal (con’t)
  Disability

  Do you have any difficulty with walking, standing, or climbing stairs? Ƒ<HVƑ1R
          If yes, do you use a wheelchair, walker, cane or crutches? ____________________________________________

  Have you ever had an injury to your head or brain which resulted in the loss of consciousness and/or recurring headaches, dizziness,
  FRQIXVLRQRUPHPRU\ORVV"Ƒ<HVƑ1R,I\HVZKHQZDVWKHLQMXU\"PP\\\\B_______________________
  &DQ\RXUHDG"Ƒ<HVƑ1R,I\HVLQZKLFKODQJXDJH"BBBBBBBBBBBBBBBBBBBB'R\RXKDYHGLIILFXOW\UHDGLQJ"Ƒ<HVƑ1R
  &DQ\RXZULWH"Ƒ<HVƑ1R,I\HVLQZKLFKODQJXDJH"BBBBBBBBBBBBBBBBBBBB'R\RXKDYHGLIILFXOW\ZULWLQJ"Ƒ<HVƑ1R
  What was the highest grade you completed in school? _______________
  'R\RXKDYHGLIILFXOW\XQGHUVWDQGLQJGLUHFWLRQV"Ƒ<HVƑ1R
          If yes, does someone normally assist you with any regular tasks of daily living? ________________________________

  Medical History           Has a medical professional ever diagnosed you with any of the following?

      Yes    No Asthma         Yes    No Cardiovascular disease                Yes     No    Tuberculosis                Comment: **Type

      Yes    No Cancer         Yes    No Kidney Disease                        Yes     No    Stroke

      Yes    No HIV            Yes    No Hyperlipidemia                        Yes     No    Hepatitis**

      Yes    No Seizures       Yes    No Diabetes                               Yes     No   Sexually Transmitted
                                                                              Infections**
      Yes    No Hypertension         Yes     No Sickle Cell Anemia

                                                                                        ,  In c.
  9DULFHOODƑ<HVƑ1R Admits to prior infection  Admits being vaccinated
                                                                            re C  ivicdenied at0physical
                                                                               History
                                                                                                  2 2    exam


                                                             o   v  . Co er 14, 2
  Other
                                                     O w  in            e  m  b
                                             d in 21, De              c
  Surgical/Hospitalization History:
                                    c  it e
  Surgery or reason for hospitalization
                                             2 1  - 552                                         When (mm/yyyy)

                                   No.




  Dental

  Do you have any significant dental problems? No, Cavity, Broken tooth, Infection, Broken jaw, Other_____________________
  Do you have any dental prosthesis? None, Full upper denture, full lower denture, partial denture upper, partial denture lower,
   braces, retainer




Last Name:                                                             First Name:


A#:                                                                    Country of Origin:


Date of Arrival:                                                       DOB:

Facility:                                                              Sex:
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                                       Physical Examination/Health Appraisal (con’t)
  Family History
  Asthma Ƒ<HVƑ1R         +\SHUWHQVLRQƑ<HVƑ1R Diabetes Ƒ<HVƑ1R            Cardiovascular Disease Ƒ<HVƑ1R
  Cancer Ƒ<HVƑ1R         7XEHUFXORVLVƑ<HVƑ1R Stroke Ƒ<HVƑ1R              Other: _______________________________
  %UHDVWRUJ\QHFRORJLFDOSUREOHPVƑ<HVƑ1R

  Female Only

  OB History:
  +DYH\RXHYHUEHHQSUHJQDQW"Ƒ1RƑ<HV #Pregnancies_____________                 #C-Sections_____________
  #Live Births ______#Full Term_____#Pre-Term_______            #Abortions____ #Miscarriages______ #Living_______
  Are you pregnant? 1RƑ<HV
  $UH\RXFXUUHQWO\UHFHLYLQJSUHQDWDOFDUH"Ƒ1RƑ<HV:KHUH"BBBBBBBBBBBBB________________________________________________
  Have you ever been told that you had a ‘high risk’ pregnancy? If yes, what was the reason?
  _______________________________________
  $UH\RXFXUUHQWO\EUHDVWIHHGLQJ"Ƒ1RƑ<HV
  If yes, how old is the nursing child? ____________ When was the last time you breast fed? (mm/dd/yyyy)__________

  GYN History:
  When was the first day of your LMP? __________________ If more than 30 days, why?
  __________________________________________
  Do you have a history of breast oUJ\QHFRORJLFDOSUREOHPV"Ƒ1RƑ<HV ([SODLQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  'R\RXXVHELUWKFRQWURO" Ƒ1RƑ<HV:KDWW\SH"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB:KHQZDVWKHODVWWLPH\RXXVHGLW"BBBBBB__
  When was your last PAP smear? _________________________ If known, results_____________________________


                                                                                                  , Inc.
                                                                                          ivic 022
  Sexual Abuse and Assault/Vulnerabilities

                                                                                  r e  C
  Have you ever been a victim of sexual abuse or assault"Ƒ1RƑ<HV . Co                           ,2
  Have you ever been a victim of SK\VLFDODEXVH" Ƒ1RƑ<HV

                                                                   o    v                  r  1  4
                                                                                        e in 72 hours.
                                                             w  inor for mentalehealth
  If yes, refer patient for medical evaluation in two working days
                                                         O                       m    bevaluation
                                                     in or gender1non-    e c
                                                                      Dconforming?
                                         c itedintersex
  Are you gay/ lesbian, bisexual, transgender,
                                                          5 2  2   ,                     Yes    No

                                                 21-   5
             If transgender, what gender do you identify with______

                                       N  o  .
  Do you believe you are vulnerable to sexual abuse or assault in ICE custody?       Yes     No   If yes, why?___________________
  If yes, implement treatment plan.

  Have you ever been involved in an incident where you sexually abused others? Yes             No
  If yes, refer patient for medical evaluation in two working days or for mental health evaluation in 72 hours.

  Mental Health
  Do you have a history of:
  Manic episodes     Yes    No                  Depression     Yes     No             Psychotropic medications Yes    No
  Severe anxiety     Yes    No                  Psychosis      Yes     No             Violence towards others Yes    No
  Suicide attempts/gestures Yes        No

  Are you currently having any mental health issues? Yes No If yes, explain problem and date problem began __________
  ___________________________________________________________________________________________________________




Last Name:                                                                First Name:


A#:                                                                       Country of Origin:


Date of Arrival:                                                          DOB:

Facility:                                                                 Sex:
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                                    Physical Examination/Health Appraisal (con’t)
  Social History

  Drug Use History:
  +DYH\RXXVHGGUXJVRWKHUWKDQWKRVHIRUPHGLFDOUHDVRQVLQWKHSDVWPRQWKV"Ƒ1RƑ<HV ,I\HVZKDW"
  3&3Ƒ1RƑ<HV            .HWDPLQHƑ1RƑ<HV         0DULMXDQDƑ1RƑ<HV        3UHVFULSWLRQ2SLDWHVƑ1RƑ<HV
  /6'Ƒ1RƑ<HV            (FVWDV\Ƒ1RƑ<HV          0HWKDPSKHWDPLQHƑ1RƑ<HV
  Heroin Ƒ1RƑ<HV         Route: InMHFWHGƑ1RƑ<HV            ,QWUDQDVDOƑ1RƑ<HV      6PRNHGƑ1RƑ<HV
  &RFDLQHƑ1RƑ<HV        Route: ,QMHFWHGƑ1RƑ<HV            ,QWUDQDVDOƑ1RƑ<HV      6PRNHGƑ1RƑ<HV

  When did you last use? _________________            $UH\RXKDYLQJDQ\ZLWKGUDZDOV\PSWRPV"Ƒ1RƑYes If yes, which apply?
  Ƒ1DXVHDƑ9RPLWLQJƑDiarrhea ƑChills ƑSweating ƑInsomnia Ƒ$FKHV SDLQVƑAnxiety
  +DYH\RXHYHUJRQHWKURXJKZLWKGUDZDOIURPGUXJV"Ƒ1RƑ<HV,I\HVZKHQ"BBBBBBBBBBBBBB_____
  $UH\RXFXUUHQWO\LQDGUXJWUHDWPHQWSURJUDP"Ƒ1RƑ<HV,I\HV1DPHRISURJUDP"BBBBBBBBBBBBBBBBBBBBBBBBBBBB
  7\SHRI3URJUDP Ƒ'HWR[ Ƒ0HWKDGRQHƑ5HVLGHQWLDO7UHDWPHQWƑ2XWSDWLHQWƑ6WHSƑ2WKHU



  Alcohol Use History:
  Do you drink alcohol?      Ƒ1RƑYes II\HVW\SH"Ƒ%HHU      Ƒ0DOWOLTXRU    Ƒ:LQH Ƒ/LTXRU
  How often do you drink? ƑDaily Ƒ:HHNO\ Ƒ0RQWKO\ƑRarely
  How much do you drink when you drink? _____________________________________
  Do you notice over time that you need to drink more for the same HIIHFW"Ƒ1RƑ<HV
  When was your last drink? ____________________________________
  $UH\RXKDYLQJDQ\ZLWKGUDZDOV\PSWRPV"Ƒ1RƑ<HV,I\HVZKLFKDSSO\" Ƒ+HDGDFKH Ƒ)HYHU Ƒ1DXVHD
  Ƒ9RPLWLQJƑ,QVRPQLDƑTremor Ƒ+DOOXFLQDWLRQVƑConvulsions
                                                                                          , I nc.
                                                                                   ivic 022
  Have you ever gone thURXJKDOFRKROZLWKGUDZDOLQWKHSDVW"Ƒ1RƑ<HV +RZORQJDJR"BBBBBBBBBBBBBBBBBBBBB

                                                                           r e  C
  +DYH\RXHYHUEHHQLQWUHDWPHQWIRUDOFRKROXVH"Ƒ1RƑYes If yes, when? ___________________________
  :KDWW\SHRISURJUDP"Ƒ2XWSDWLHQW Ƒ,QSDWLHQW
                                                            o   v . Co er 14, 2
                                                  O  w   in            e  m    b
  Have you ever been FRQYLFWHGIRUGULYLQJXQGHUWKHLQIOXHQFHRIDOFRKRO" Ƒ1RƑ<HVIf yes, when? _______________

                                              n                     c
                                   c ited i 5221, De
  Tobacco History:
                                        . 2 1 -5,I\HVSOHDVHDQVZHUWKHIROORZLQJTXHVWLRQV
                                  No
  +DYH\RXHYHUXVHGWREDFFRSURGXFWV" Ƒ1RƑ<HV
  'R\RXFXUUHQWO\XVHWREDFFRSURGXFWV"Ƒ1RƑ<HV ,I\HVZKDWW\SHRISURGXFWV"Ƒ&LJDUHWWHVƑ&LJDUƑ3LSHƑChewing tobacco
  How long have you used tobacco products? ____________        How frequently did/do you use tobacco?___________
  When did you last use tobacco products?_________________
  Are you having any withdrawal symptoms from not using WREDFFR"Ƒ1RƑ<HV ,I\HVZKDWV\PSWRPVDUH\RXH[SHULHQFLQJ"
  Ƒ&UDYLQJVƑ,UULWDWLRQƑ$QJHUƑ,QFUHDVHG$SSHWLWHƑ:HLJKW*DLQƑConcentration Problems Ƒ5HVWOHVVQHVVƑ,QVRPQLD
  Ƒ$Q[LHW\


  Preventative Medicine/Screening History
  Have you had screening for cancer? Yes        No   When? (mm/yyyy) ______________________
          What type screening & results if known? ______________________________________________________________________
  Have you had a mammogram? Yes            No When? (mm/yyyy)____________________________ Results, if known_______________
  Have you had a pap smear? Yes        No When? (mm/yyyy)____________________________ Results, if known_________________



Last Name:                                                           First Name:


A#:                                                                  Country of Origin:


Date of Arrival:                                                     DOB:

Facility:                                                            Sex:
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                                     Physical Examination/Health Appraisal (con’t)
  OBJECTIVE:
  Vital Signs

  T_________ P_________ R__________ BP______________ HT____________ WT_____________
  Visual Acuity (Snellen): Left____________________ Right__________________ Both___________________
  Hearing: Ƒ*URVVO\LQWDFWƑ2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

  General Physical Examination
                     R = Refused     NE = Not Evaluated
  General            R       NE      Findings:
  ENT                R       NE      Findings:
  Dental             R       NE      Findings:
  Neurological       R       NE      Findings:
  Cardiac            R       NE      Findings:
  Pulmonary          R       NE      Findings:
  Gastrointestinal   R       NE      Findings:
  Genitourinary      R       NE      Findings:
  Extremities        R       NE      Findings:
  Skin               R       NE      Findings:
  Comments/Other Findings:

                                                                                             ,  In c.
  Mental Status Examination

                                                                              r e  C  ivic Time 0Ƒ1RƑ<HV
                                                                                                      22
  Orientation
                             Perceptual disturbances? Ƒ1RƑ<HV v. C
                                                                           o
                             Alert Ƒ1RƑ<HV Oriented to person Ƒ1RƑ<HV Place   Ƒ1RƑ<HV
                                                                                            4  ,  2
  Perceptions/
                                                                  o hallucinations
                             ,I\HVƑAuditory hallucinations inƑ9LVXDl        b  e  r 1Ƒ'HOXVLRQV
  Thought Content
                                                    n       w          e  cem ƑOther
                                                        O groomed;DƑDisheveled;
                                              d   i               ,
                                       cite ƑSlouched;
  Appearance                 ƑASSURSULDWHO\GUHVVHGƑwell

                                                        5   2   1
                                                              2ƑOther
  Posture                    ƑErect; ƑStooped;
                                                      5
                                                    - ƑOther
                                              21ƑLimp;
  Gait/Walk
  Movement
                                         o  .
                             ƑSteady; ƑShuffle;
                                      N ƑTics; ƑRepetitive; ƑRigid; ƑAgitated; ƑSlow; ƑOther
                             ƑAppropriate;
  Mood                      ƑAppropriate; ƑLabile; ƑRelaxed; ƑHappy; ƑCalm; ƑDistressed; ƑAngry; ƑAgitated; ƑSad/Depressed;
                            ƑFearful/Anxious; ƑIrritable, ƑOther
  Attitude                  ƑCooperative; ƑUncooperative; ƑThreatening; ƑEvasive
  Speech                     ƑCoherent; ƑIncoherent; ƑPressured; ƑAverage speed; ƑRapid; ƑSlow; ƑSlurred; ƑMumbled; ƑTalkative;
                             ƑLoud; ƑSoft; ƑOther
  Intelligence               ƑAppears normal; ƑAppears developmentally delayed
  Insight                    ƑGood; ƑImpaired
  Comments:


Last Name:                                                            First Name:


A#:                                                                   Country of Origin:


Date of Arrival:                                                      DOB:

Facility:                                                             Sex:
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                                     Physical Examination/Health Appraisal (con’t)
  Assessment:



  ___Physical exam/health appraisal shows no significant medical, mental health or dental issues currently.
  ___Physical exam/health appraisal shows the following significant issues:




  Plan:

  Treatment including medications: __________________________
  ________________________________________________________________________________________________________________
  ________________________________________________________________________________________________________________
  _____________________________________________________________________________
  Immunizations, Injections, Imaging, Labs:

  Referrals:




                                                                          c.
  Other

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                                                              re Civic 022
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                                                 Owin       e m b
                                              in        e c
                                    cited 55221, D
                                       o . 2 1-
                                   N
  Preventative Medicine/Patient Education:
  __Given the Staying Healthy brochure in the __________________ language.
  __Verbally given instruction on dental hygiene.
  __Provided with instruction appropriate to patient’s health needs.
  __Patient verbalized understanding of teaching or instructions provided.
  __Patient was asked if he/she had any additional questions, and any questions were addressed.
  __Patient was instructed to return to medical clinic as needed.
  __Patient was instructed to return to clinic for appointment.
  __Health Assessment was rescheduled until [_______] to provide sign language interpreter for health assessment.
  __Health Assessment was rescheduled until [_______] to provide foreign language interpreter for health assessment.
  __Other:________________________________________________________________________________________________




Last Name:                                                             First Name:


A#:                                                                     Country of Origin:


Date of Arrival:                                                       DOB:

Facility:                                                               Sex:
        Case 3:17-cv-01112-JLS-SBC Document 249 Filed 12/20/22 PageID.9613 Page 343 of 498

                                                  MEDICAL TRANSFER SUMMARY
 Last Name:                                                                  First Name:

 A#:                                                                         Country of Origin:

 Date of Arrival at Sending Facility:                                        DOB:

 Sending Facility:                                                           Sex:

1. General Information:
   &OHDUHGIRU7UDYHOE\*URXQG7UDQVSRUWDWLRQ Ƒ<HVƑ1R Date of Departure: ______________________________________
   Cleared for Travel by Air Transportation:      Ƒ<HVƑ1R           Final Destination, if known: ________________________________
   ReaVRQIRU7UDQVIHUƑ&XVWRG\Ƒ0HGLFDO        0HGLFDO(VFRUWUHTXLUHGƑ<HVƑ1R            ,I\HVW\SHƑ0HGLFDOƑ3V\FKLDWULF

2. Current Medical, Dental, and/or Mental Health Diagnoses/Problems:                                                                    URGENT




                                                                                        ,  In c.
3. Allergies:
                                                                          r e  C  ivic 022
                                                               v .  Co             r 1 4  ,2
                                                      w
4. Current Prescribed Medications: List All (Name, Dosage,  o
                                                         in Directions   m   in e
                                                                              blayman's   terms)
                                                 n  O         De    c e
                                         ted i Route        ,
   Check off Medication Required for Care en Route
                            Dose c#iSent
                                                     52 2 1
       Medication
                                             2 1 - 5       Instructions for use (include proper time for administration)                            Stop Date

                                    No.



5. TB Clearance Status for Transfer or Transportation
   Screening Modality (Check all that apply and document below):        CXR         TST       IGRA          Symptom Screen


CXR: Date:
             TB Screening:       Negative, not consistent w/TB      Positive, consistent w/TB


TST: Administered Date:                        TST Read Date:                             Results:           mm induration
IGRA: Collection Date:                           Results:    Positive        Negative         Indeterminate
Symptom Screening Date:                          Results:    Positive        Negative

Is the patient being treated for TB?        No        Yes, select options:            Cleared for general detention population
                                                                                      Not cleared for general detention population
                                                                                      Being treated for TB, see attached TB Case Management
                                                                                      documentation
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                                                Medical Transfer Summary (con't)

 6. Healthcare Follow-Up:
    Recent (within 6 months) Test Results: _____________________________________
    Recent (within 6 months) Hospitalizations/Surgeries: _____________________________________________________
    Recommended Future Lab Work: ___________________________________________________________
    Pending Specialty Appointment (s):___________________________________________________
    Recommended Specialty Appointment (s):___________________________________________________
    Requires Immediate Follow Up: _________________________________________________________________________


 7. Special Needs Affecting Transportation: -- Use Standard Infection Control Precautions for all patients --
    Are there any medical, dental, or mental health condition that restricts the length of time the patient can be on travel statXV"Ƒ<HVƑ1R
    Reason(s) and maximum length of travel time:
    'RHVWKHSDWLHQWKDYHDQ\VSHFLDOQHHGVWKDWHVFRUWLQJVWDIIVKRXOGEHDZDUHRI"Ƒ<HVƑ1R
    If so, what? _______________________________________________________________________________________________________
    (TXLSPHQWSURYLGHGE\ Ƒ0HGLFDO$XWKRULW\Ƒ2WKHUBBBBBBBBBBBBBBB(TXLSPHQWRZQHGE\ Ƒ0HGLFDO$XWKRULW\Ƒ2WKHUBBBBBBBBBB_____
    3DWLHQWZLOONHHSHTXLSPHQWXSRQDUULYDODWGHVWLQDWLRQ" Ƒ<HVƑ1R


                                                                                             c.
    Is there any medical equipment required to accompany the patient during travel?        Yes        No

                                                                                       ,  In
                                                                                  ivic 022
    If so, what?

                                                                            re C
                                                                      . Co er 14, 2
   $UHDQ\VSHFLDOSUHFDXWLRQVUHTXLUHGGXULQJWUDQVSRUW" Ƒ<HVƑ1R

                                                              in o   v
   Precautions needed for the patient: ____________________________________________________________________________________
                                                                              b
                                                       O   w            c e m
                                                   in              De Attach additional pages or medical records as
    Precautions needed for the escorting staff: _______________________________________________________________________

                                       c itedif no comments  2 1 ,
                                                      552
 8. Additional Comments (Mark through                          are made):
    needed
                                                2 1 -
                                     No.


 9. Release from custody: Attach ƑInstructions for Requesting Complete Medical Records
                                 Ƒ&RPPXQLW\5HVRXUFH,QIRUPDWLRQLIDSSOLFDEOe
 Sending Facility Point of Contact: __________________________________

 Sending Facility Contact Number: __________________________________

____________________________________ _________________ ______________ __________________________
Completed by Provider Printed Name     Date               Time         Provider Signature

 Last Name:                                                               First Name:

 A#:                                                                      Country of Origin:

 Date of Arrival at Sending Facility:                                     DOB:

 Sending Facility:                                                        Sex:
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  4.4 Medical Care (Women)                                       2. As part of every detainee’s intake health
                                                                    assessment, female detainees shall also receive
                                                                    age-appropriate assessments and preventive
  I. Purpose and Scope                                              women’s health services, as medically
  This detention standard ensures that female detainees             appropriate.
  in U.S. Immigration Customs and Enforcement (ICE)              3. A pregnant detainee in custody shall have access
  custody have access to appropriate and necessary                  to pregnancy services including routine or
  medical and mental health care.                                   specialized prenatal care, pregnancy testing,
  This detention standard applies to the following                  comprehensive counseling and assistance,
  types of facilities housing ICE/ERO detainees:                    postpartum follow up, lactation services and
                                                                    abortion services.
    x   Service Processing Centers (SPCs);
                                                                 4. At no time shall a pregnant detainee be restrained,
    x   Contract Detention Facilities (CDFs); and                   absent truly extraordinary circumstances that
                                                                    render restraints absolutely necessary.
    x   State or local government facilities used by
        ERO through Intergovernmental Service                    5. The facility shall provide communication
        Agreements (IGSAs) to hold detainees for more               assistance to detainees with disabilities and
        than 72 hours.                                              detainees who are limited in their English
                                                                    proficiency (LEP). The facility will provide
  Procedures in italics are specifically required for
                                                                          Inc.
                                                                    detainees with disabilities with effective
                                                                        ,
                                                                   ivic 022
  SPCs, CDFs, and Dedicated IGSA facilities. Non-
  dedicated IGSA facilities must conform to these              re C communication, which may include the
  procedures or adopt, adapt or establish alternatives, v. C
                                                             o
                                                                    r 1 4 ,2
                                                                    provision of auxiliary aids, such as readers,
                                                  w in o       m be materials in Braille, audio recordings, telephone
                                              O
  provided they meet or exceed the intent represented
                                           in            e c e
                                  cited 55221, D
                                                                    handset amplifiers, telephones compatible with
  by these procedures.
                                                                    hearing aids, telecommunications devices for deaf
                                      .
  For all types of facilities, procedures
                                    o     1- appear in
                                        2that                       persons (TTYs), interpreters, and note-takers, as
  italics with a marked (**) on  Nthe page indicate                 needed. The facility will also provide detainees
  optimum levels of compliance for this standard.                   who are LEP with language assistance, including
  Various terms used in this standard may be defined                bilingual staff or professional interpretation and
  in standard “7.5 Definitions.”                                    translation services, to provide them with
                                                                    meaningful access to its programs and activities.
  II. Expected Outcomes                                             All written materials provided to detainees shall
  The expected outcomes of this detention standard                  generally be translated into Spanish. Where
  are as follows (specific requirements are defined in              practicable, provisions for written translation shall
  “V. Expected Practices”).                                         be made for other significant segments of the
                                                                    population with limited English proficiency.
  1. Female detainees shall receive routine, age
     appropriate gynecological and obstetrical health               Oral interpretation or assistance shall be provided
     care, consistent with recognized community                     to any detainee who speaks another language in
     guidelines for women’s health services.                        which written material has not been translated or
                                                                    who is illiterate.
     **The facility’s provision of gynecological and
     obstetrical health care shall be in compliance with         6. Medical and mental health interviews,
     standards set by the National Commission on                    screenings, appraisals, examinations, procedures,
     Correctional Health Care (NCCHC).                              and administration of medication shall be
4.4 | Medical Care (Women)                                 322                                      PBNDS 2011
                                                                                          (Revised December 2016)
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   conducted in settings that respect detainees’               2. counseling and assistance for pregnant women in
   privacy in accordance with safe and/orderly                    keeping with their express desires in planning for
   operations of the facility.                                    their pregnancy, whether they desire abortion,
                                                                  adoptive services or to keep the child; and
7. A detainee’s request to see a health care provider
   of the same gender should be considered; when               3. routine, age-appropriate, gynecological health
   not feasible, a same-gender chaperone shall be                 care services, including offering women’s specific
   provided. When care is provided by a health care               preventive care.
   provider of the opposite gender, a detainee shall           B. Initial Health Intake Screening and
   be provided a same-gender chaperone upon the
                                                               Health Assessment
   detainee’s request.
                                                               1. Initial Screening
III. Standards Affected
                                                               Within 12 hours of arrival, during their initial
Not applicable.                                                medical screening, all female detainees shall receive
                                                               information on services related to women’s health
IV. References                                                 care as provided for in this standard and standard
American College of Obstetrics and Gynecology,                 “4.3 Medical Care.”
Guidelines for Women’s Health Care (3rd                        2. Initial Health Assessment
edition, 2007).
                                                                    , Inc.
                                                           re Civic 022
                                                               If the initial medical intake screening indicates that a
National Commission on Correctional Health Care,
Standards for Health Services in Jails (2014) o v. C
                                                         o
                                                                r 1 4 ,2
                                                               detainee has experienced prior sexual victimization

                                         O  w in         e m beor perpetrated sexual abuse, staff shall, as
                                     n
National Commission on Correctional iHealth
                                                    De c       appropriate, ensure that the detainee is immediately
                          citedHealth
                                            Care:
                                             2 1  ,            referred to a qualified medical or mental health
Position Statement on Women’s
Correctional Settings (2005) . 21-5
                                         52
                                          Care in
                                                               practitioner for medical and/or mental health
                         No
“Standards to Prevent, Detect, and Respond to Sexual
                                                               follow-up as appropriate. Consistent with Standard
                                                               “4.3 Medical Care,” when a referral for medical
Abuse and Assault in Confinement Facilities,” 79               follow-up is initiated, the detainee shall receive a
Fed. Reg. 13100 (Mar. 7, 2014).                                health evaluation no later than two working days
                                                               from the date of assessment, and when a referral for
V. Expected Practices                                          mental health follow-up is initiated, the detainee
A. Overview                                                    shall receive a mental health evaluation no later than
                                                               72 hours after the referral.
In addition to the medical, mental health and dental
services provided to every detainee as required by             If the initial medical intake screening indicates the
standard “4.3 Medical Care,” every facility shall              possibility of pregnancy, referral shall be initiated
directly or contractually provide its female detainees         and the detainee shall receive a health assessment as
with access to:                                                soon as appropriate or within two working days.

1. pregnancy services, including pregnancy testing,            If the initial medical intake screening indicates any
   routine or specialized prenatal care, postpartum            history of domestic abuse or violence, the detainee
   follow up, lactation services and abortion services         shall be referred for and receive a mental health
   as outlined herein;                                         evaluation by a qualified mental health provider
                                                               within 72 hours, or sooner if appropriate, consistent

  4.4 | Medical Care (Women)                             323                                            PBNDS 2011
                                                                                              (Revised December 2016)
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with Standard “4.3 Medical Care.”                                medical encounter involves a physical examination
All initial health assessments of female detainees shall         of sensitive body parts, to include breast, genital, or
be conducted by a trained and qualified health                   rectal examinations, by a provider of the opposite
provider. In addition to the criteria listed on the              gender. Only medical personnel may serve as
health assessment form, the evaluation shall inquire             chaperones during medical encounters and
about the following:                                             examinations.

a. pregnancy testing for detainees aged 18-56 and                D. Preventive Services
   documented results;                                           Preventative services specific to women shall be
b. if the detainee is currently nursing                          offered for routine age appropriate screenings, to
   (breastfeeding);                                              include breast examinations, pap smear, STD testing
                                                                 and mammograms. These services shall not interfere
c. use of contraception;
                                                                 with detainee’s deportation or release from custody
d. reproductive history (number of pregnancies,                  date.
   number of live births, number of                              1. Contraception
   spontaneous/elective abortions, pregnancy
   complications, etc.);                                         Upon request, appropriately trained medical
                                                                 personnel within their scope of practice shall provide
e. menstrual cycle;
                                                                        ,  In  c.
                                                                 detainees with non-directive (impartial) advice and
f. history of breast and gynecological problems;
                                                            re C  ivic 022
                                                                 consultation about family planning and

                                                      . Co er 14, 2
g. family history of breast and gynecological                    contraception, and where medically appropriate,
   problems; and                                in o v        b  prescribe and dispense medical contraception.
                                          O   w         c e m
                                t     in
                                 edvictimization 1 , De E. Pregnancy
                             c i
h. any history of physical or sexual
                                               2 and
   when the incident occurred.
                                   2 1 - 552             Upon confirmation by medical personnel that a
A pelvic and breast examination,
                                 .
                            No pap test, baseline        female detainee is pregnant, she shall be given close
mammography and sexually transmitted disease                     medical supervision. Pregnant detainees shall have
(STD) testing shall be offered and provided as                   access to prenatal and specialized care, and
deemed appropriate or necessary by the medical                   comprehensive counseling inclusive of, but not
provider.                                                        limited to: nutrition, exercise, complications of
                                                                 pregnancy, prenatal vitamins, labor and delivery,
C. Same-Gender Providers or Chaperones                           postpartum care, lactation, family planning, abortion
Consistent with the provisions in Standard 4.3                   services and parental skills education.
“Medical Care,” a detainee’s request to see a health             The facility administrator shall ensure that the FOD is
care provider of the same gender should be                       notified as soon as practicable of any female detainee
considered; when not feasible, a same-gender                     determined to be pregnant, but no later than 72
chaperone shall be provided.                                     hours after such determination, consistent with the
When care is provided by a health care provider of               notification requirements in Standard “4.3 Medical
the opposite gender, a detainee shall be provided a              Care.”
same-gender chaperone upon the detainee’s request.               The medical provider will identify any special needs
A same-gender chaperone shall be provided, even in               (e.g. diet, housing, or other accommodations such
the absence of a request by the detainee, when a                 as the provision of additional pillows) and inform all

   4.4 | Medical Care (Women)                              324                                            PBNDS 2011
                                                                                                (Revised December 2016)
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necessary custody staff and facility authorities. If a          least restrictive restraints necessary shall be used.
pregnant detainee has been identified as high risk,
                                                                Even in the extraordinary circumstance when
the detainee shall be referred, as appropriate, to a
                                                                restraints are deemed necessary, no detainee known
physician specializing in high risk pregnancies.
                                                                to be pregnant shall be restrained in a face-down
All chemically dependent pregnant detainees                     position with four-point restraints, on her back, or
(psychological dependence includes alcohol,                     in a restraint belt that constricts the area of the
sedatives/hypnotics, anxiolytics and opioids) are               pregnancy. All attempts shall be made to ensure that
considered high risk and referred to an obstetrician            the detainee is placed on her left side if she is
or another provider capable of addressing their                 immobilized.
needs immediately.
                                                                The use of restraints requires documented approval
Pregnancy management and outcomes shall be                      and guidance from the on-site medical authority.
monitored, quarterly, through a continuous quality              Record-keeping and reporting requirements
improvement process.                                            regarding the medical approval to use restraints shall
1. Non-Use of Restraints                                        be consistent with other provisions within these
                                                                standards, including documentation in the detainee’s
Restraints on Pregnant Women: A pregnant woman                  A-file, detention and medical files.
or women in post-delivery recuperation shall not be
                                                                2. Abortion Access
restrained absent truly extraordinary circumstances
                                                             , Inc.
                                                         ivic 022
that render restraints absolutely necessary as                  In the event continued detention is necessary and
documented by a supervisor or directed by the on-
                                                     re C       appropriate, and consistent with the practice of our
                                              v. Co er 14, 2
site medical authority. This general prohibition on
                                            o                   federal partners, if the life of the mother would be
                                        Owin
restraints applies to all pregnant women in the    e m b        endangered by carrying a fetus to term, or in the
                                     in        e c
                             cited 55221, D
custody of ICE, whether during transport, in a                  case of rape or incest, ICE will assume the costs

                                   21-
detention facility, or at an outside medical facility.          associated with a female detainee’s decision to
                             N o .
Restraints are never permitted on women who are in              terminate a pregnancy.
active labor or delivery.
                                                                a. In this instance, or in a situation where a female
Restraints shall not be considered as an option,                   detainee opts to fund the termination of her
unless one or more of the following applies:                       pregnancy, ICE shall arrange for transportation at
a. a medical officer has directed the use of restraints            no cost to the detainee for the medical
   for medical reasons;                                            appointment and, if requested by the detainee,
                                                                   for access to religious counseling, and non-
b. credible, reasonable grounds exist to believe the               directive (impartial) medical resources and social
   detainee presents an immediate and serious threat               counseling, to include outside social services or
   of hurting herself, staff or others; or                         women’s community resources groups.
c. reasonable grounds exist to believe the detainee             b. If a detainee requests to terminate her pregnancy,
   presents an immediate and credible risk of escape               ICE will document the request in the detainee’s
   that cannot be reasonably minimized through any                 medical records. The detainee’s statement should
   other method.                                                   be signed personally by the detainee and include
In the rare event that one of the above situations                 clear language of the detainee’s intent.
applies, medical staff shall determine the safest               F. Mental Health Services
method and duration for the use of restraints and the

   4.4 | Medical Care (Women)                             325                                             PBNDS 2011
                                                                                                (Revised December 2016)
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In addition to mental health services offered to all
detainees, mental health assessments shall be offered
to any detainee who has given birth, miscarried or
terminated a pregnancy in the past 45 days.




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                           cited 55221, D
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  4.4 | Medical Care (Women)                            326                  PBNDS 2011
                                                                    (Revised December 2016)
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4.5 Personal Hygiene                                       2. Each detainee shall have suitable, clean bedding,
                                                              linens, blankets and towels;
I. Purpose and Scope                                       3. Each detainee shall have sufficient clean clothing
                                                              that is properly fitted; climatically suitable,
This detention standard ensures that each detainee is         durable and presentable;
able to maintain acceptable personal hygiene
practices through the provision of adequate bathing        4. Detainees shall be held accountable for clothing,
facilities and the issuance and exchange of clean             bedding, linens and towels assigned to them; and
clothing, bedding, linens, towels and personal             5. Detainees, including those with disabilities and
hygiene items.                                                special needs, shall be able to maintain acceptable
This detention standard applies to the following              personal hygiene practices.
types of facilities housing ICE/ERO detainees:             6. The facility shall provide communication
  x   Service Processing Centers (SPCs);                      assistance to detainees with disabilities and
                                                              detainees who are limited in their English
  x   Contract Detention Facilities (CDFs); and               proficiency (LEP). The facility will provide
                                                              detainees with disabilities with effective
  x   State or local government facilities used by
                                                              communication, which may include the
      ERO through Intergovernmental Service
                                                              provision of auxiliary aids, such as readers,
      Agreements (IGSAs) to hold detainees for more
                                                                       , Inc.
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                                                              materials in Braille, audio recordings, telephone
      than 72 hours.
                                                               re C
                                                              handset amplifiers, telephones compatible with
Procedures in italics are specifically required for
                                                      o v. Co er 14, 2
                                                              hearing aids, telecommunications devices for deaf
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                             O   w  in       e m b
                                                              persons (TTYs), interpreters, and note-takers, as
                                      d into these21, De   c
                              c  i e
dedicated IGSA facilities must conform
                                  t                           needed. The facility will also provide detainees
                                          - 5 52
procedures or adopt, adapt or establish alternatives,
                                        1                     who are LEP with language assistance, including
                                      2
by these procedures.
                             N the. intent represented
provided they meet or exceed o                                bilingual staff or professional interpretation and
                                                              translation services, to provide them with
For all types of facilities, procedures that appear in        meaningful access to its programs and activities.
italics with a marked (**) on the page indicate                All written materials provided to detainees shall
optimum levels of compliance for this standard.                generally be translated into Spanish. Where
Various terms used in this standard may be defined             practicable, provisions for written translation shall
in standard “7.5 Definitions.”                                 be made for other significant segments of the
                                                               population with limited English proficiency.
II. Expected Outcomes                                          Oral interpretation or assistance shall be provided
The expected outcomes of this detention standard               to any detainee who speaks another language in
are as follows (specific requirements are defined in           which written material has not been translated or
“V. Expected Practices”).                                      who is illiterate

1. Each facility shall maintain an inventory of            III. Standards Affected
   clothing, bedding, linens, towels and personal
   hygiene items that is sufficient to meet the needs      This detention standard replaces the standard on
   of detainees;                                           “Personal Hygiene” dated 12/2/2008.




4.5 | Personal Hygiene                                   327                                        PBNDS 2011
                                                                                          (Revised December 2016)
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IV. References                                               shirts and two pairs of uniform pants or two jumpsuits;
                                                             two pairs of socks; two pairs of underwear; two
American Correctional Association, Performance-              brassieres, as appropriate; and one pair of facility-issued
based Standards for Adult Local Detention                    footwear. Additional clothing shall be issued as
Facilities, 4th Edition: 4-ALDF-4B-01 through 4B-            necessary for changing weather conditions or as
09, 6A-08, 6B-05 through 6B-08.                              seasonally appropriate. Footwear that is worn out or
“Standards to Prevent, Detect, and Respond to Sexual         damaged shall be replaced at no cost to the detainee.
Abuse and Assault in Confinement Facilities,” 79             For both males and females, personal items of
Fed. Reg. 13100 (Mar. 7, 2014).                              clothing, including undergarments, are not
                                                             permitted.
V. Expected Practices
                                                             Clothing issued at release shall be in accordance with
A. Supply of Clothing, Bedding, Linen,                       standard “2.1 Admission and Release.”
   Towel and Personal Hygiene Items                          C. Special Uniforms and Protective
Each detention facility shall have written policy and           Equipment
procedures for the regular issuance and exchange of
                                                             Each detainee assigned to a special work area shall be
clothing, bedding, linens, towels and personal
                                                             clothed in accordance with the requirements of the
hygiene items. The supply of these items shall
exceed the minimum required for the number of                                ,  I  c.
                                                             job and, when appropriate, provided protective
                                                                                 n
detainees to prevent delay in replacing the items.
                                                               r e     ivic 022
                                                             clothing and equipment in accordance with safety
                                                                   C
To be prepared for unforeseen circumstances, it is ao v.
                                                          Co           r  1 4  ,2
                                                             and security considerations.

                                             O  wiann      D.
                                                            e m   be Hygiene Items
                                                               Personal
good practice for a detention facility ton
                                        i  maintain       c
                                                        De Staff shall directly supervise the issuance of personal
                                  at d
                             cisite               2 1 ,
                                            552
excess clothing inventory that       least 200 percent
                                     2 1
of the maximum funded detainee capacity.
                                  .       -                hygiene items to male and female detainees
                            N  o
Each SPC and CDF shall have available, at all times,       appropriate for their gender and shall replenish
more clothing, bedding, linen and towels than                supplies as needed. Distribution of hygiene items
needed to supply the maximum funded detainee                 shall not be used as reward or punishment.
capacity. This excess will allow for the immediate           Each detainee shall receive, at a minimum, the
replacement of items that are lost, destroyed, or            following items:
worn out.
                                                             1. one bar of bath soap, or equivalent;
Clothing or shoes that are lost, unserviceable,
                                                             2. one comb;
indelibly stained, or bear offensive or otherwise
unauthorized markings shall be discarded and                 3. one tube of toothpaste;
replaced as soon as practicable.                             4. one toothbrush;
B. Issuance of Clothing                                      5. one bottle of shampoo, or equivalent; and
At no cost to the detainee, all new detainees shall be       6. one container of skin lotion.
issued clean, laundered, indoor/outdoor
                                                             The facility administrator may modify this list as
temperature-appropriate, size appropriate,
                                                             needed (e.g., to accommodate the use of bulk liquid
presentable clothing during intake.
                                                             soap and shampoo dispensers).
The standard issue of clothing is at least two uniform


4.5 | Personal Hygiene                                   328                                            PBNDS 2011
                                                                                              (Revised December 2016)
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The distribution of razors must be strictly controlled.         washbasin for every 12 detainees.
Disposable razors shall be provided to detainees on a
                                                            3. operable showers that are thermostatically
daily basis. Razors shall be issued and collected daily
                                                               controlled to temperatures between 100 and 120
by staff. Detainees shall not be permitted to share
                                                               F degrees, to ensure safety and promote hygienic
razors.
                                                               practices.
Female detainees shall be issued and may retain
                                                                ACA Expected Practice 4-ALDF-4B-09 requires a
sufficient feminine hygiene items, including sanitary
                                                                minimum ratio of one shower for every 12
pads or tampons, for use during the menstrual cycle,
                                                                detainees.
and may be permitted unbreakable brushes with
soft, synthetic bristles to replace combs. Cosmetics        Inspections of housing units shall periodically
are prohibited, as are electric rollers, curling irons,     measure and document water temperature in the
hair dryers and similar appliances.                         daily log.
The responsible housing unit officer shall replenish        Detainees shall be provided with a reasonably private
personal hygiene items on an as-needed basis, in            environment in accordance with safety and security
accordance with written facility procedures. The            needs. Detainees shall be able to shower, perform
facility administrator may establish an empty               bodily functions, and change clothing without being
container exchange system.                                  viewed by staff of the opposite gender, except in
                                                            exigent circumstances or when such viewing is
If the facility has no detainee commissary, personal
                                                                      , Inc.
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                                                            incidental to routine cell checks or is otherwise
hygiene items from sources other than the issuing
                                                              re C
                                                            appropriate in connection with a medical
officer(s) may be permitted into the housing units
only with the approval of the health services staffino v
                                                        . Co er 14, 2
                                                            examination or monitored bowel movement. Staff
                                           O   w            e m b
                                                            of the opposite gender shall announce their presence
and the Chief of Security.             in             De  c
                            c ited 5221,                    when entering an area where detainees are likely to
E. Bathing and Toilet Facilities1-5                         be showering, performing bodily functions, or

Detainees shall be provided:N
                              o. 2                          changing clothing.
                                                            When operationally feasible, transgender and
1. an adequate number of toilets, 24 hours per day,         intersex detainees shall be given the opportunity to
   which can be used without staff assistance when
                                                            shower separately from other detainees.
   detainees are confined to their cells or sleeping
   areas.                                                   Detainees with disabilities shall be provided the
                                                            facilities and support needed for self-care and
   ACA Expected Practice 4-ALDF-4B-08 requires
                                                            personal hygiene in a reasonably private environment
   that toilets be provided at a minimum ratio of one
                                                            in which the individual can maintain dignity. When
   for every 12 male detainees or one for every 8
                                                            necessary, assistance to detainees with disabilities
   female detainees. For males, urinals may be
                                                            who cannot perform basic life functions shall be
   substituted for up to one-half of the toilets. All
                                                            provided by individuals who are trained and
   housing units with three or more detainees must
                                                            qualified to assist persons with physical and/or
   have at least two toilets.
                                                            mental impairments. Such training may be provided
2. an adequate number of washbasins with                    by the health services authority and may involve the
   temperature controlled hot and cold running              expertise of relevant community organizations and
   water 24 hours per day.                                  government agencies. Discrimination on the basis of
   ACA Expected Practice 4-ALDF-4B-08 requires one          disability is prohibited.



4.5 | Personal Hygiene                                    329                                       PBNDS 2011
                                                                                          (Revised December 2016)
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F. Hair Care                                                   or sanitation reasons;

Detainees are allowed freedom in personal grooming         2. at least twice weekly exchange of outer garments
unless a valid safety, security, or medical concern           (with a maximum of 72 hours between changes)
requires an exception that is fully justified and             at a minimum;
documented.                                                3. weekly exchange of sheets, towels and
Detainees shall be provided hair care services in a           pillowcases at a minimum; and
manner and environment that promotes sanitation            4. an additional exchange of bedding, linens, towels
and safety, in accordance with the requirements for           or outer garments shall be made available to
“Barber Operations” in standard “1.2 Environmental            detainees if necessary for health or sanitation
Health and Safety” and requirements in standard               reasons, and more frequent exchanges of outer
“5.5 Religious Practices.”                                    garments may be appropriate, especially in hot
G. Issuance of Bedding, Linen and Towels                      and humid climates.
                                                           Volunteer detainee workers may require exchanges
All detainees shall be issued clean bedding, linens
                                                           of outer garments more frequently than every 72
and a towel and be held accountable for those items.
                                                           hours; and
The standard issues shall be, at a minimum:
                                                           Volunteer food service workers shall exchange outer
1. bedding: one mattress, one blanket and one              garments daily.
                                                                       ,  In c.
   pillow (additional blankets shall be issued, based
                                                          re C
                                                      Clothing   ivic shall
                                                                 exchanges
                                                                              0 2 2
                                                                                 generally  be on a one-for-
   on local indoor-outdoor temperatures);
                                                  v. C  o
                                                      one  basis to
                                                                     1 4 ,
                                                                    prevent 2hoarding and  to ensure an
2. linens: two sheets and one pillowcase; and ino                 r
                                                            besupply.
                                          O  w       c e m
                                                      adequate
                                      in           e
3. towel: one towel.
                            cited 55221, D Detainees              are not permitted to wash clothing,
H. Exchange Requirements        .  2 1 -              bedding, linens, tennis shoes, or other items in the
                           No
Detainees shall be provided with clean clothing,
                                                      living units, unless proper washing and drying
                                                           equipment is available and the facility has written
linen and towels on the following basis:                   policy and procedures for their use. Any washing
1. a daily change of socks and undergarments; an           and drying policies and procedures shall be posted in
   additional exchange of undergarments shall be           the washing area and shall be included in the
   made available to detainees if necessary for health     detainee handbook.




4.5 | Personal Hygiene                                   330                                     PBNDS 2011
                                                                                        (Revised December 2016)
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4.6 Significant Self-harm                                     comprehensive training initially during
                                                              orientation and repeated at least annually, on
    and Suicide                                               effective methods for identifying significant self-
                                                              harm, as well as suicide prevention and
    Prevention and                                            intervention with detainees.
    Intervention                                           2. Staff shall act to prevent significant self-harm and
                                                              suicides with appropriate sensitivity, supervision,
I. Purpose and Scope                                          medical and mental health referrals and
                                                              emergency medical procedures.
This detention standard protects the health and well-
being of ICE detainees through a comprehensive             3. Any clinically suicidal detainee or detainee at risk
Significant Self-Harm and Suicide Prevention and              for significant self-harm shall receive preventive
Intervention Program that minimizes risk.                     supervision, treatment and therapeutic follow-up,
                                                              in accordance with ICE policies and detention
This detention standard applies to the following
                                                              standards.
types of facilities housing ICE/ERO detainees:
                                                         **The facility shall be in compliance with
  x   Service Processing Centers (SPCs);                 standards set by the National Commission on
  x Contract Detention Facilities (CDFs); and            Correctional Health Care (NCCHC) in its provision
                                                                         In c. treatment, and
                                                         of preventive supervision,
                                                                      ,
  x State or local government facilities used by
                                                         r e C  ivicfollow-up
                                                         therapeutic
                                                                             0 2  2
                                                                                for clinically suicidal
    ERO through Intergovernmental Service
                                                    v. Codetainees
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                                                                   or4
                                                                   1    , 2 at risk for significant self-
                                                                      detainees
                                                in
    Agreements (IGSAs) to hold detainees for more o         be
                                               Ow Decem
                                                         harm.
      than 72 hours.                      in
                              citedrequired     2 2 1 , 4. The facility shall provide communication
Procedures in italics are specifically
                                   .  2 1   -55 for        assistance to detainees with disabilities and
                             No
SPCs, CDFs, and Dedicated IGSA     facilities.
dedicated IGSA facilities must conform to these
                                               Non-        detainees who are limited in their English
                                                              proficiency (LEP). The facility will provide
procedures or adopt, adapt or establish alternatives,         detainees with disabilities with effective
provided they meet or exceed the intent represented           communication, which may include the
by these procedures.                                          provision of auxiliary aids, such as readers,
For all types of facilities, procedures that appear in        materials in Braille, audio recordings, telephone
italics with a marked (**) on the page indicate               handset amplifiers, telephones compatible with
optimum levels of compliance for this standard.               hearing aids, telecommunications devices for deaf
                                                              persons (TTYs), interpreters, and note-takers, as
Various terms used in this standard may be defined
                                                              needed. The facility will also provide detainees
in standard “7.5 Definitions.”
                                                              who are LEP with language assistance, including
II. Expected Outcomes                                         bilingual staff or professional interpretation and
                                                              translation services, to provide them with
The expected outcomes of this detention standard              meaningful access to its programs and activities.
are as follows (specific requirements are defined in
                                                           All written materials provided to detainees shall
“V. Expected Practices”).
                                                           generally be translated into Spanish. Provisions for
1. All facility staff members who interact with            written translation shall be made for other significant
   and/or are responsible for detainees shall receive      segments of the population with limited English


4.6 | Significant Self-harm and Suicide Prevention 331                                             PBNDS 2011
      and Intervention                                                                    (Revised December 2016)
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proficiency.                                             suicide prevention and intervention program,
Oral interpretation or assistance shall be provided to   including suicide prevention policies and staff
any detainee who speaks another language in which        training. The committee shall convene following
written material has not been translated or who is       any suicide attempt to review and, if necessary, assist
illiterate.                                              in the implementation of corrective actions.
                                                         At a minimum, the suicide prevention and
III. Standards Affected                                  intervention program shall include procedures to
This detention standard replaces “Suicide Prevention     address suicidal detainees. Key components of this
and Intervention” dated 12/2/2008.                       program must include the following:
                                                         1. staff training;
IV. References
                                                         2. identification;
American Correctional Association, Performance-
                                                         3. referral;
based Standards for Adult Local Detention
Facilities, 4th Edition: 4-ALDF-4C-32, 4C-33, 2A-        4. evaluation;
52.                                                      5. treatment;
American Correctional Association, Performance-          6. housing;
based Standards for Correctional Health Care for
Adult Correctional Institutions: 1-HC-1A-27, 1-          7. monitoring;
                                                                       , In c.
HC-1A-30.
                                                          r e C  ivic 022
                                                       8. communication;
                                                      Co
National Commission on Correctional Health Care, o v. 9. intervention;
                                                                 r  1  4 ,2
                                         O  win ecembe
Standards for Health Services in Jails.n(2014).
                             ted i Detention
                          ciNational         2  1 , D 10. notification and reporting;
ICE/ERO Performance-based
                                2  1 -  552            11. review; and
                         No   .
Standards 2011: “4.3 Medical Care.”
                                                       12. debriefing.
ICE Notification and Reporting of Detainee Deaths
Directive, No 7-9.0.                                     A. Staff Training
V. Expected Practices                                    All facility staff members who interact with and/or
                                                         are responsible for detainees shall receive
Each detention facility shall have a written suicide     comprehensive suicide prevention training, during
prevention and intervention program, including a         orientation and at least annually.
multidisciplinary suicide prevention committee, that
                                                         Initial suicide prevention training for all staff
shall be reviewed and approved by the clinical
                                                         responsible for supervising detainees should consist
medical authority (CMA), approved and signed by
                                                         of a minimum of eight hours of instruction.
the health services administrator (HSA) and facility
                                                         Subsequent annual suicide prevention training
administrator, and reviewed annually.
                                                         should consist of a minimum of two hours of
The multidisciplinary suicide prevention committee       refresher instruction.
shall, at a minimum, comprise representatives from
                                                         All of the following interests should be incorporated
custody, mental health, and medical staff. The
                                                         into the required suicide prevention training:
committee shall meet on at least a quarterly basis to
provide input regarding all aspects of the facility’s    1. Environmental concerns: why the environments



4.6 | Significant Self-harm and Suicide Prevention 332                                           PBNDS 2011
      and Intervention                                                                 (Revised December 2016)
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   of detention facilities are conducive to suicidal       qualified health care professional or health-trained
   behavior.                                               correctional officer who has been specially trained,
2. First Aid training: standard first aid training,        as required by “J. Medical and Mental Health
   cardiopulmonary resuscitation (CPR) training and        Screening of New Arrivals” in Standard 4.3 “Medical
   training in the use of emergency equipment (that        Care”. The results of the screening shall be
   may be located in each housing area of the              documented on the approved intake screening form,
   detention facility).                                    which contains observation and interview questions
                                                           related to the potential for significant self-
3. Liability: liability issues associated with detainee    harm/suicide.
   suicide.
                                                           At the time of screening, staff should also assess
4. Recognizing verbal and behavioral cues that             relevant available documentation as to whether the
   indicate potential suicide.                             detainee has been a suicide risk in the past, including
5. Demographic, cultural and precipitating factors of      during any prior periods of detention or
   suicidal behavior.                                      incarceration.
6. Responding to suicidal and depressed detainees.         2. Ongoing Identification

7. Effective communication between correctional            Detainees also may be identified as being at risk for
   and health care personnel.                              significant self-harm/suicide at any time while in
                                                                    Inc.
                                                           ICE custody. Staff must therefore remain vigilant in
                                                                  ,
8. Necessary referral procedures.
                                                          r  Civic 022
                                                           recognizing and appropriately reporting when a risk
                                                           e
9. Constant observation and suicide-watch
                                                o  v. Co er 14, 2
                                                           is identified. This identification may result from a
   procedures.
                                         O w in         e m b
                                                           self-referral or through daily observation and/or
                                                      c
                                 ed inwho have     De      interaction with medical staff, contract security staff
                            c  it
10. Follow-up monitoring of detainees
                                            2  1 ,
    already attempted suicide.
                                  2 1 - 552                or an ICE officer. Qualified, on-call clinical medical

                           No.
                                                           staff shall be available 24 hours per day for
11. Reporting and written documentation                    immediate consultation.
    procedures.
                                                           3. Significant Self-Harm/Suicidal Detainee
Requesting that a detainee promise not to engage in
suicidal behavior, also known as “contracting for          If medical staff determines that a detainee is at
safety,” is not recognized or supported by experts,        imminent risk of bodily injury or death, medical
and is an ineffective method of suicide prevention.        staff may make a recommendation to hospitalize the
“Contracting for safety” provides no guarantee that        detainee for purposes of his/her evaluation and/or
the patient shall not attempt suicide, and may give        treatment. If the detainee is mentally incompetent,
                                                           or is mentally competent and refuses, it may be
staff a false sense of security. This practice is not to
be relied on by staff.                                     necessary to petition the appropriate federal court to
                                                           intervene against the detainee’s refusal for purposes
B. Identification                                          of his/her hospitalization and treatment. In such
                                                           cases, the local ICE Office of Chief Counsel shall be
Detainees may be identified as being at risk for self-
                                                           consulted regarding appropriate further action.
harm or suicide at any time.
1. Initial Screening                                       C. Referral
All detainees shall receive an initial mental health       Detainees who are identified as being “at risk” for
screening within 12 hours of admission by a                significant self-harm or suicide shall immediately be


4.6 | Significant Self-harm and Suicide Prevention 333                                             PBNDS 2011
      and Intervention                                                                    (Revised December 2016)
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referred to the mental health provider for an               mental health provider or other appropriately trained
evaluation, which shall take place within 24 hours of       medical personnel shall develop a treatment plan.
the identification. Until this evaluation takes place,      This plan must be documented and placed in the
security staff shall place the detainee in a secure         detainee’s medical record. The treatment plan shall
environment on a constant one-to-one visual                 address the environmental, historical and
observation.                                                psychological factors that contribute to the detainee’s
                                                            suicidal ideation. The treatment plan shall include:
D. Evaluation
                                                            1. strategies and interventions to be followed by the
This evaluation shall be conducted by a qualified mental
                                                               staff and detainee if suicidal ideation reoccurs;
health professional which will determine the level of
suicide risk, level of supervision needed, and need for     2. strategies for the detainee’s improved
transfer to an inpatient mental health facility. This          functioning; and
evaluation shall be documented in the medical
                                                            3. regular follow-up appointments based on the
record and must include the following information:
                                                               level of acuity.
1. relevant history;
                                                            F. Housing and Monitoring
2. environmental factors;
                                                            A suicidal detainee requires close supervision in a
3. lethality of suicide plan;                               setting that minimizes opportunities for self-
4. psychological factors;                                                      In c.
                                                            harm. If a staff member identifies someone who is
                                                                            ,
                                                                   C  ivic 022
                                                            at risk of significant self-harm or suicide, the
                                                               r e
                                                         . Co er 14, 2
5. diagnoses;
                                                            detainee must be placed on suicide precautions and
6. a determination of seriousness of suicide risk;ino v           b
                                             O  w          c
                                                            immediately referred to a qualified mental health
                                                             e m
7. level of supervision needed; ed in                 , De  professional.
                              cit             52 2  1
                                     2
8. referral/transfer for inpatient care1(if-5
                                            needed);        The qualified mental health professional may place
                             No.
9. instructions to medical staff for care; and
                                                            the detainee in a special isolation room designed for
                                                            evaluation and treatment with continuous
10. a treatment plan, including reassessment time           monitoring that must be documented every 15
    frames.                                                 minutes or more frequently if necessary. All suicidal
                                                            detainees placed in an isolated confinement setting
Detainees placed on suicide watch shall be re-
                                                            will receive continuous one-to-one monitoring,
evaluated by appropriately trained and qualified
                                                            welfare checks at least every 8 hours conducted by
medical staff on a daily basis. The re-evaluation
                                                            clinical staff, and daily mental health treatment by a
must be documented in the detainee’s medical
                                                            qualified clinician. The isolation room must be
record.
                                                            suicide resistant, which requires that it be free of
Only the mental health professional, CMA, or                objects and structural elements that could facilitate a
designee may terminate a suicide watch after a              suicide attempt. Security staff shall ensure that the
current suicide risk assessment is completed. A             room is inspected prior to the detainee’s placement
detainee may not be returned to the general                 so that there are no objects that pose a threat to the
population until this assessment has been completed.        detainee’s safety.
E. Treatment                                                If the qualified mental health professional
                                                            determines that the detainee requires a special
Based on the evaluation, as stipulated above, a
                                                            isolation room but there is either no space in the


4.6 | Significant Self-harm and Suicide Prevention 334                                              PBNDS 2011
      and Intervention                                                                    (Revised December 2016)
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medical housing unit or a medical housing unit does     intentions are unpleasant or understood to result in
not exist, the detainee may, as a last resort, be       punitive treatment or punishment. Placing suicidal
temporarily placed in an administrative segregation     detainees in conditions of confinement that are
cell in a Special Management Unit, provided space       worse than those experienced by the general
has been approved for this purpose by the medical       population detainees can result in the detainee not
staff and such space allows for constant and            discussing his or her suicidal intentions and falsely
unobstructed observation. The facility administrator    showing an appearance of a swift recovery.
shall immediately notify ICE of such placement and      2. Clothing, Hygiene, and Privacy
indicate what level of monitoring the facility is
providing. The facility administrator shall also work   The qualified mental health professional shall assess
with ICE and the medical authority to identify          the detainee to determine whether a suicide smock is
alternative placements, including transfer of the       necessary. The facility may allow suicidal detainees
detainee to a facility that can provide appropriate     under constant one-to-one monitoring to wear the
housing.                                                standard issue clothing, minus any shoe laces, belts,
                                                        or other accessories that could be used by a detainee
Suicidal detainees who are temporarily placed in a
                                                        to commit suicide or self-harm. Detainees should be
Special Management Unit shall have access to all
                                                        provided suicide smocks to wear only when
programs and services, including recreation,
                                                        clinically indicated. Such special clothing must
visitation, telephones, counsel, and other services
available to the general population, to the maximum
                                                               , I  c.
                                                        provide the detainee with sufficient warmth and
                                                                  n
extent possible. The facility shall ensure that the
                                                   r eC  ivic 022
                                                        modesty. A decision whether to provide underwear

                                             . Co er 14, 2
                                                        to detainees in suicide smocks shall be made by the
decision to place a suicidal detainee in an
                                        ino v        b
                                                        clinical medical authority. Under no circumstance
                                      Ow
administrative segregation cell in Special
                                               c e m
                                   in        e          shall detainees be held without clothing.
                           cited 55221, D Suicidal detainees shall be allowed to shower,
Management Unit is not punitive in nature, and, as
required by “A. Placement in Administrative
                             o . 21-            perform bodily functions, and change clothing with
Segregation” in Standard 2.12 “Special Management
                           N                    as much privacy as possible under the continuous
Units”, detainees in administrative segregation shall
not be commingled with detainees in disciplinary        observation of staff, and without nonmedical staff of
segregation.                                            the opposite gender viewing their breasts, buttocks,
                                                        or genitalia, except in exigent circumstances.
Detainees on suicide precautions who have not been
                                                        Although staff of the opposite gender can be
placed in an isolated confinement setting by the
                                                        assigned to suicide watch, including constant
qualified mental health professional will receive
                                                        observation, the facility must have procedures in
documented close observation at staggered intervals
                                                        place that enable a detainee on suicide watch to
not to exceed 15 minutes (e.g. 5, 10, 7 minutes),
                                                        avoid exposing himself or herself to nonmedical staff
checks at least every 8 hours by clinical staff, and
                                                        of the opposite gender. This may be accomplished,
daily mental health treatment by a qualified
                                                        for example, by substituting medical staff or same
clinician.
                                                        gender security staff to observe the periods of time
1. No Excessive Deprivations                            when a detainee is showering, performing bodily
                                                        functions, or changing clothes. It may also be
Deprivations and restrictions placed on suicidal
                                                        accomplished by providing a shower with a partial
detainees must be kept at a minimum. Suicidal
                                                        curtain or other privacy shields. The privacy
detainees may be discouraged from expressing their
                                                        standards apply whether the viewing occurs in a cell
intentions if the consequences of reporting those
                                                        or elsewhere.


4.6 | Significant Self-harm and Suicide Prevention 335                                          PBNDS 2011
      and Intervention                                                                (Revised December 2016)
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However, any privacy accommodations must be                Such communication shall include the following:
implemented in a way that does not pose a safety
                                                           a. intake forms;
risk for the individual on suicide watch. Safety is
paramount when conducting a suicide watch, and if          b. daily briefings;
an immediate safety concern or detainee conduct            c. shift change briefings;
makes it impractical to provide same gender
coverage during a period in which the inmate is            d. medical progress notes;
undressed, the detainee should continue to be              e. special needs forms;
observed, and any such incident should be
                                                           f. medical/psychiatric alerts; and
documented.
                                                           g. transfer summaries.
3. Transfer to an Outside Facility
                                                           H. Intervention
Any detainee who is believed to be in need of
seclusion, and/or restraint due to self-harming or         Following a suicide attempt, security staff shall
suicidal behavior should be transferred to a               initiate and continue appropriate life-saving
psychiatric facility, if deemed medically necessary to     measures until relieved by arriving medical
appropriately treat the needs of the detainee.             personnel. Arriving medical personnel shall perform
4. Post-Discharge from Suicide Watch                       appropriate medical evaluation and intervention. The

                                                                 ,  In  c.
                                                           CMA or designee shall be notified when a detainee

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All detainees discharged from suicide observation          requires transfer to a local hospital or emergency
should be re-assessed within 72 hours and then       re C
                                             v. CI.oNotification
periodically at intervals prescribed by the treatment
                                                           room.
                                                            r 1  4 ,2
                                        wino        m  be           and Reporting
                                       O        c
plan and consistent with the level of acuity by an
                                    in        e   e
                            cited 55221, D InandtheICEevent
appropriately trained and qualified medical staff             of a suicide attempt, all appropriate ICE
member.
                               . 2 1 -                    Health Service Corps (IHSC) officials shall be
G. Communication            No                   notified through the chain of command. The
                                                           detainee’s family, if known, and appropriate outside
1. Transfer of Detainee to ICE/ERO Custody                 authorities shall also be immediately notified.
Upon change of custody to ICE/ERO from federal,            In the event that a detainee dies as a result of a
state or local custody, ICE/ERO staff or designee          suicide, the Notification and Reporting of Detainee
shall inquire into any known prior suicidal behaviors      Deaths Directive shall be followed.
or actions, and, if behaviors or actions are identified,
                                                           In both cases, medical staff shall complete an
shall ensure detainee safety pending evaluation by a
                                                           Incident Report Form within 24 hours, and all staff
medical provider. The patient’s “medical summary
                                                           who came into contact with the detainee before the
report” shall be transferred in accordance with
                                                           suicide attempt or death shall submit a statement
standard “7.4 Detainee Transfers.”
                                                           describing their knowledge of the detainee and the
2. Continuity of Communication Regarding                   incident.
   Detainees in ICE/ERO Custody
                                                           J. Review
Consistent communication shall be maintained
between medical, mental health and correctional            Every death that results from a suicide shall be
staff through a variety of mechanisms, in order to         subject to a mortality review process and the
mitigate the risk for significant self-harm/suicide.       Notification and Reporting of Detainee Deaths


4.6 | Significant Self-harm and Suicide Prevention 336                                             PBNDS 2011
      and Intervention                                                                   (Revised December 2016)
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Directive shall be followed. ICE shall make           procedures).
arrangements to complete a psychological
                                                      K. Debriefing
reconstruction of the suicide. The mortality review
process shall include review of: circumstances        A critical incident debriefing following a suicide or
surrounding the incident, facility procedures         serious suicide attempt shall be offered to all affected
relevant to the incident, training of staff,          staff and detainees within 24 to 72 hours after the
medical/mental health reports, identification of      critical incident.
possible precipitating factors, recommendations for
                                                      L. Detainee Mental Health Follow-up
changes in response to the incident (e.g. policy,
training or re-training, counseling, reprimand or     Following a suicide or serious suicide attempt, the
discipline of staff identified as failing to follow   facility should offer appropriate mental health
suicide prevention procedures, physical plant,        services to other detainees who may have been
medical or mental health services and operational     affected.




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4.6 | Significant Self-harm and Suicide Prevention 337                                          PBNDS 2011
      and Intervention                                                                (Revised December 2016)
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4.7 Terminal Illness,                                             standards set by the National Commission on
                                                                  Correctional Health Care (NCCHC) in its
    Advance Directives                                            provision of medical care to terminally ill
                                                                  detainees.
    and Death                                                  3. In the event of a detainee’s death, or a detainee
I. Purpose and Scope                                              becomes gravely ill, specified officials as listed
                                                                  herein and required by ICE policies and the
This detention standard ensures that each facility’s              detainee’s designated next of kin shall be notified
continuum of health care services addresses terminal              immediately;
illness and advance directives, and provides specific
                                                               4. In the event of a detainee’s death, required
guidance in the event of a detainee’s death.
                                                                  notifications shall be made to authorities outside
This detention standard applies to the following                  of ICE/ERO (e.g., the local coroner or medical
types of facilities housing ICE/ERO detainees:                    examiner), and required procedures shall be
                                                                  followed regarding such matters as autopsies,
 x   Service Processing Centers (SPCs);
                                                                  death certificates, burials and the disposition of
 x   Contract Detention Facilities (CDFs); and                    decedent’s property. Established guidelines and
                                                                  applicable laws shall be observed in regard to
 x   State or local government facilities used by
     ERO through Intergovernmental Service
                                                                                 ,  I  c.
                                                                  notification of a detainee death while in custody;
                                                                                     n
     Agreements (IGSAs) to hold detainees for more
                                                                    r e C  ivicservices0administrator
                                                                 5. The health
                                                                                          2 2          (HSA) at the
                                                                            where ,the2detainee was housed at the time
     than 72 hours.
                                                         o  v . Cofacility
                                                                         e  r   4 shall ensure the decedent’s
                                                                              1death
                                                   w  in            of b
                                                                       his/her
Procedures in italics are specifically required
                                      d    in   Ofor        D e cem medical record is reviewed for completeness and
                                 ite                    1 ,
                                                 522
SPCs, CDFs, and Dedicated IGSA      facilities.
                              c                  Non-
                                             to5these
                                                                    closed out; and
dedicated IGSA facilities must conform   1   -
                                   . 2 alternatives,
procedures or adopt, adapt N or oestablish                       6. In the event of a detainee death, all property of
provided they meet or exceed the intent represented               the detainee shall be returned within two weeks
by these procedures.                                              to the detainee’s next of kin, unless property of
                                                                  the decedent is being held as part of an
Various terms used in this standard may be defined
                                                                  investigation into the circumstances of death;
in standard “7.5 Definitions.”
                                                               7. The facility shall provide communication
II. Expected Outcomes                                             assistance to detainees with disabilities and
                                                                  detainees who are limited in their English
The expected outcomes of this detention standard
                                                                  proficiency (LEP). The facility will provide
are as follows (specific requirements are defined in
                                                                  detainees with disabilities with effective
“V. Expected Practices”).
                                                                  communication, which may include the
1. The continuum of health care services provided to              provision of auxiliary aids, such as readers,
   detainees shall address terminal illness and                   materials in Braille, audio recordings, telephone
   advance directives. Appropriate to the                         handset amplifiers, telephones compatible with
   circumstances, each detainee shall be provided                 hearing aids, telecommunications devices for deaf
   with an option to complete an advance medical                  persons (TTYs), interpreters, and note-takers, as
   directive;                                                     needed. The facility will also provide detainees
2. **The facility shall be in compliance with                     who are LEP with language assistance, including



4.7 | Terminal Illness, Advance Directives and            338                                          PBNDS 2011
      Death                                                                                  (Revised December 2016)
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   bilingual staff or professional interpretation and        The facility administrator, or designee, shall
   translation services, to provide them with                immediately notify ICE/ERO and IHSC.
   meaningful access to its programs and activities.
                                                             A detainee in a community hospital remains
   All written materials provided to detainees shall         detained under ICE/ERO authority, such that
   generally be translated into Spanish. Where               ICE/ERO retains the authority to make
   practicable, provisions for written translation shall     administrative, non-medical decisions affecting the
   be made for other significant segments of the             detainee (visitors, movement, authorization of care
   population with limited English proficiency.              services, etc.). However, upon physical transfer of
   Oral interpretation or assistance shall be provided       the patient to the community hospital’s care, the
   to any detainee who speaks another language in            hospital assumes:
   which written material has not been translated or         1. medical decision-making authority consistent
   who is illiterate.                                           with the contract (drug regimen, lab tests, x-rays,
                                                                treatments, etc.); and
III. Standards Affected
                                                             2. authority over the detainee’s treatment, which is
This detention standard replaces “Terminal Illness,             exercised by the hospital’s medical staff once
Advance Directives and Death” dated 12/2/2008.                  IHSC is notified of admission. However, IHSC
                                                                managed care and the facility’s HSA shall follow
IV. References                                                               c.
                                                                           In
                                                                up on a daily basis to receive information about
                                                                        ,
National Commission on Correctional Health Care,
                                                           r e C  ivic 022
                                                                major developments.
Standards for Health Care in Jails (2014).          v. CToothat end,
                                                                  r  1    , 2 internal rules and
                                                                     the4hospital’s
                                             w in o        m  be concerning seriously ill, injured and
                                          O            c e
                                                        procedures
                                 ed in 221, De dying patients shall apply to detainees. The Field
ICE/ERO Performance-based National       Detention
Standards 2011: “4.3 Medical citCare.”   55 of
                                   2 1 -                Office Director or designee shall immediately notify
                            No.
ICE Directive on “Notification and Reporting            (or make reasonable efforts to notify) the detainee’s
Detainee Deaths,” Directive 7.9-0, October 1, 2009           next-of-kin of the medical condition and status, the
                                                             detainee’s location, and the visiting hours and rules
V. Expected Practices                                        at that location, in a language or manner which they
A. Terminal Illness                                          can understand.

When a detainee’s medical condition becomes life-            ICE/ERO, in conjunction with the medical provider,
threatening, the facility’s clinical medical authority       shall provide family members and any others as
(CMA), or HSA, shall:                                        much opportunity for visitation as possible, in
                                                             keeping with the safety, security and good order of
1. Arrange the transfer of the detainee to an                the facility. Facility staff shall be reminded to observe
   appropriate off-site medical or community facility        and maintain safety and security measures while
   if appropriate and medically necessary; and               finding ways to respectfully accommodate the family
2. Immediately notify the facility administrator             and detainee needs at this sensitive time.
   and/or ICE/ERO Field Office Director both                 B. Living Wills and Advance Directives
   verbally and in writing of the detainee’s
   condition. The memorandum shall describe the              Once a detainee is diagnosed as having a terminal
   detainee’s illness and prognosis.                         illness or remaining life expectancy of less than one
                                                             year, the medical staff shall offer the detainee access



4.7 | Terminal Illness, Advance Directives and             339                                        PBNDS 2011
      Death                                                                                 (Revised December 2016)
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to forms or other related materials on Advance                  1. a DNR written by a staff physician requires the
Directives or Living Wills, including the appropriate              CMA’s approval;
translation services when needed. Likewise, when
                                                                2. the policy shall protect basic patient rights and
the detainee is held at an off-site facility, staff at that
                                                                   otherwise comply with state requirements and
facility may assist the detainee in completing an
                                                                   jurisdiction in which the facility is located;
Advance Directive and/or Living Will.
                                                                3. a decision to withhold resuscitative services shall
All facilities shall use the State Advance Directive
                                                                   be considered only under specified conditions:
form, appropriate to the state in which the facility is
located, for implementing Living Wills and Advance                  a. the detainee is diagnosed as having a terminal
Directives, the guidelines for which include                           illness;
instructions for detainees who wish to:                             b. the detainee has requested and signed the
1. have a living will other than the generic form                      order (if the detainee is unconscious,
   made available by medical staff; or                                 incompetent, or otherwise unable to
                                                                       participate in the decision, staff shall attempt
2. appoint another individual to make advance
                                                                       to obtain the written concurrence of an
   decisions for him/her.
                                                                       immediate family member, and the attending
At any time, a detainee may request forms or other                     physician shall document these efforts in the
related materials on Advance Directives or Living                      medical record); and
                                                                      , In c.
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Wills. These may be prepared by the detainee’s
                                                                    c. the decision is consistent with sound medical
attorney at the detainee’s expense.
                                                         r e C
When the terms of the Advance Directive must beno v.
                                                     Co         r  1 4  ,2
                                                                       practice, and is not in any way associated with
                                                              e
                                           Owi Decemb
                                                                       assisting suicide, euthanasia or other such
implemented, the medical professionalin overseeing                     measures to hasten death; and
the detainee’s care shall contact edappropriate
                              citthe         2 2 1 ,
ICE/ERO representative.             2 1 - 55          4. the detainee’s medical file shall include

                             No.
ICE/ERO may seek judicial or administrative review
                                                         documentation validating the DNR order:
                                                                    a. a standard stipulation at the front of the in-
of a detainee’s Advance Directive as appropriate.
                                                                       patient record, and explicit directions: “do not
C. Do Not Resuscitate (DNR) Orders                                     resuscitate” or “DNR”; and

Each facility holding detainees shall establish written             b. forms and memoranda recording:
policy and procedures governing DNR orders. Local                      1) diagnosis and prognosis;
procedures and guidelines must be in accordance
                                                                       2) express wishes of the detainee (e.g., living
with the laws of the state in which the facility is
                                                                          will, advance directive, or other signed
located.
                                                                          document);
Health care shall continue to be provided consistent
                                                                       3) immediate family’s wishes, if immediate
with the DNR order. If the DNR order is not
                                                                          family has been identified;
physically present or there is any question about the
validity of the document, appropriate resuscitative                    4) consensual decisions and recommendations
aid shall be rendered until the existence of an active,                   of medical professionals, identified by
properly executed DNR is verified.                                        name and title;
Each facility’s DNR policy shall comply with the                       5) mental competency (psychiatric)
following stipulations:                                                   evaluation, if detainee concurred in, but did


4.7 | Terminal Illness, Advance Directives and                340                                        PBNDS 2011
      Death                                                                                    (Revised December 2016)
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         not initiate, the DNR decision; and                 5. IHSC medical staff shall assist in the preliminary
      6) informed consent evidenced, among other                medical evaluation, contingent on the availability
         things, by the legibility of the DNR order,            of resources; and
         signed by the ordering physician, and               6. the facility shall coordinate arrangements for the
         CMA; and                                               donation.
5. a detainee with a DNR order may receive all               E. Death of a Detainee in ICE/ERO
   therapeutic efforts short of resuscitation;               Custody
6. the facility shall follow written procedures for
                                                             Each facility shall have written policy and procedures
   notifying attending medical staff of the DNR
                                                             to be followed to notify ICE/ERO officials, next-of-
   order; and
                                                             kin and consulate officials of a detainee’s death, in
7. as soon as practicable, the CD or HSA shall notify        accordance with ICE Directive on Notification and
   the IHSC medical director and the respective ICE          Reporting of Detainee Deaths, Directive 7.9-0,
   Office of Chief Counsel of the basic circumstances        October 1, 2009.
   of any detainee for whom a DNR order has been
   filed in the medical record.
                                                             F. Disposition of Property
                                                             Facilities shall turn over the property of the decedent
D. Organ Donation by Detainees
                                                             to ICE/ERO within one week for processing and
                                                                      , In c.
                                                                 ivic 022
If a detainee wants to donate an organ:                      disposition. Unless property of a decedent is being
                                                            re C
                                                             held as part of an investigation into the
                                                      . Co er 14, 2
1. the organ recipient must be a member of the
   donor’s immediate family;
                                                 ino v       circumstances of death, that property should be
                                                              b
                                            O  w        c e mreturned to the decedent’s next of kin, if known,

                              c  ite
2. the detainee may not donate bloodd iorn blood21, De       within two weeks.
   products;
                                    2 1 - 552            G. Disposition of Remains
                                   . donation (e.g.,
                             Noorgan
3. all costs associated with the
   hospitalization, fees) shall be at the expense of the     Within seven calendar days of the date of
   detainee, involving no Government funds;                  notification, either in writing or in person, the
                                                             family shall have the opportunity to claim the
4. the detainee shall sign a statement that documents
                                                             remains. If the family chooses to claim the body, the
   his/her:
                                                             family shall assume responsibility for making the
   a. decision to donate the organ to the specified          necessary arrangements and paying all associated
      family member;                                         costs (e.g., transportation of body, burial).
   b. understanding and acceptance of the risks              If the family wishes to claim the remains, but cannot
      associated with the operation;                         afford the transportation costs, ICE/ERO may assist
   c. that the decision was undertaken of his/her            the family by transporting the remains to a location
      own free will and without coercion or duress;          in the United States. As a rule, the family alone is
      and                                                    responsible for researching and complying with
                                                             airline rules and federal regulations on transporting
   d. understanding that the Government shall not            the body; however, ICE/ERO may coordinate the
      be held responsible for any resulting medical          logistical details involved in returning the remains.
      complications or financial obligations
      incurred;                                              If family members cannot be located or decline orally



4.7 | Terminal Illness, Advance Directives and             341                                       PBNDS 2011
      Death                                                                                (Revised December 2016)
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or in writing to claim the remains, ICE/ERO shall              respective ICE Office of Chief Counsel shall be
notify the consulate, in writing, after which the              consulted; and
consulate shall have seven calendar days to claim the
                                                           3. a copy of the written procedures shall be
remains and be responsible for making the necessary
                                                              forwarded to the ICE Office of Chief Counsel.
arrangements and paying all costs incurred (e.g.,
moving the body, burial).                                  The written procedures shall address, at a minimum,
                                                           the following;
If neither the family nor the consulate claims the
remains, ICE/ERO shall schedule an indigent’s              1. contacting the local coroner or medical examiner,
burial, consistent with local procedures. However, if         in accordance with established guidelines and
the detainee’s record indicates U.S. military service,        applicable laws;
before proceeding with the indigent burial                 2. scheduling the autopsy;
arrangements, ICE/ERO shall contact the Department
of Veterans Affairs to determine whether the               3. identifying the person who shall perform the
decedent is eligible for burial benefits.                     autopsy;

The Chaplain may advise the facility administrator         4. obtaining the official death certificate; and
and others involved about religious considerations         5. transporting the body to the coroner or medical
that could influence the decision about the                   examiner’s office.
disposition of remains.
                                                                    Inc.
                                                               a. Who May Order an Autopsy
                                                                  ,
Under no circumstances shall ICE/ERO authorize
                                                          re Civic 022
                                                                  The FBI, local coroner, medical examiner, ICE
cremation or donation of the remains for medical
                                                 o v. Co er 14, 2 personnel or clinical medical/administrative
research.
                                            Owin        e m b     health authority may order an autopsy and
                                         in         e c
                             cited 55221, D
                                                                  related scientific or medical tests to be
H. Death Certificate
                                                                  performed in a homicide, suicide, fatal
                                  .
The facility administrator shall specify  - and
                                    21policy                      accident or other detainee’s death, in
                            N   o
procedures regarding responsibility for proper                    accordance with established guidelines and
distribution of the death certificate, as follows:                applicable laws.
1. send the original to the person who claimed the                The FBI, local coroner, medical examiner, ICE
   body, with a certified copy in the A-file on the               personnel or clinical medical/administrative
   decedent; or                                                   health authority may order an autopsy or post-
                                                                  mortem operation for other cases, with the
2. if the decedent received an indigent’s burial,
                                                                  written consent of a person authorized under
   place the original death certificate in the A-file.
                                                                  state law to give such consent (e.g., the local
I. Autopsies                                                      coroner or medical examiner, or next-of-kin),
                                                                  or authorize a tissue transfer authorized in
Each facility shall have written policy and procedures
                                                                  advance by the decedent.
to implement the provisions detailed below in this
section.                                                       b. Making Arrangements for an Autopsy
                                                                  Medical staff shall arrange for the approved
1. the facility chaplain shall be involved in
                                                                  autopsy to be performed by the local coroner
   formulation of the facility’s procedures;
                                                                  or medical examiner, in accordance with
2. because state laws vary greatly, including when to             established guidelines and applicable laws:
   contact the coroner or medical examiner, the



4.7 | Terminal Illness, Advance Directives and           342                                        PBNDS 2011
      Death                                                                               (Revised December 2016)
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     1) while a decision on an autopsy is pending,
        no action shall be taken that shall affect the
        validity of the autopsy results; and
     2) local law may also require an autopsy for
        death occurring when the decedent was
        otherwise unattended by a physician.
     3) Religious Considerations
        It is critical that the Field Office Director, or
        designee, verify the detainee’s religious
        preference prior to final authorizations for
        autopsies or embalming, and accommodate
        religious-specific requirements.




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4.7 | Terminal Illness, Advance Directives and              343               PBNDS 2011
      Death                                                          (Revised December 2016)
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4.8 Disability                                                 II. Expected Outcomes
Identification,                                                The expected outcomes of this detention standard
                                                               are as follows (specific requirements are defined in
Assessment, and                                                “V. Expected Practices”). For purposes of this
                                                               standard, reasonable accommodations, disability-
Accommodation                                                  related modifications, and auxiliary aids and services
                                                               are collectively referred to as “accommodations” or
I. Purpose and Scope                                           “reasonable accommodations.”
                                                               1. In addition to the requirements in this detention
This detention standard requires that facilities                   standard, the facility shall comply with Section
housing ICE/ERO detainees act affirmatively to                     504 of the Rehabilitation Act of 1973 (Section
prevent disability discrimination. It outlines the                 504), Title II of the Americans with Disabilities
necessary processes to ensure that detainees with a                Act of 1990, as amended (ADA), if applicable,
disability will have an equal opportunity to                       and any other applicable federal, state or local
participate in, access, and enjoy the benefits of the              laws or regulations related to nondiscrimination
facility’s programs, services, and activities. Such                and accommodation for individuals with
participation will be accomplished in the least                    disabilities.
restrictive and most integrated setting possible,
                                                                       , In c.
through the provision of reasonable
                                                            r e Civic 022
                                                               2. The facility will provide reasonable

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accommodations, modifications, and/or auxiliary                   accommodations to provide detainees with

                                                 ino v
aids and services, as necessary, and in a facility that is
                                                               b  disabilities an equal opportunity to access,
                                            O w         c e m
                                    d in 21, De
physically accessible.                                            participate in, or benefit from the facility’s
                              cite                                programs, services, and activities.
                                   2  1 - 552
This detention standard applies to the following

                             N .
types of facilities housing EROodetainees:               3. When considering what reasonable
                                                            accommodations to provide, the facility will
    x   Service Processing Centers (SPCs);                         engage in an interactive and individualized
    x   Contract Detention Facilities (CDFs); and                  process that considers the detainee’s needs and
                                                                   gives primary consideration to the preferences of
    x   State or local government facilities used by               the detainee with a disability, as outlined in this
        ERO through Intergovernmental Service                      standard.
        Agreements (IGSAs) to hold detainees for
                                                               4. The facility shall develop policies or procedures to
        more than 72 hours.
                                                                  allow for effective communication with detainees
Procedures in italics are specifically required for               with disabilities – which may include the
SPCs, CDFs, and Dedicated IGSA facilities. Non-                   provision of auxiliary aids and services – during
dedicated IGSA facilities must conform to these                   the interactive process as well as within the
procedures or adopt, adapt or establish alternatives,             facility generally.
provided they meet or exceed the intent represented
                                                               5. Each facility shall designate at least one staff
by these procedures.
                                                                  member to serve as the facility’s Disability
Various terms used in this standard may be defined                Compliance Manager. This individual will assist
in standard “7.5 Definitions.”                                    in ensuring compliance with this standard and all
                                                                  applicable federal, state and local laws related to



4.8 | Disability Identification, Assessment, and             344                                        PBNDS 2011
      Accommodation                                                                           (Revised December 2016)
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   accommodations for detainees with disabilities.             documented where practicable, as stated in this
6. The facility orientation program and the detainee           standard.
   handbook shall notify and inform detainees about        11. The facility administrator shall convene a
   the facility’s disability accommodations policy,            multidisciplinary team to assess the cases of
   including their right to request reasonable                 detainees with communication and mobility
   accommodations and how to make such a                       impairments, detainees whose initial requests for
   request.                                                    accommodations have been denied, and complex
7. Facility staff shall receive training on reasonable         cases. The multidisciplinary team will determine
   accommodations policies and procedures, to                  whether the detainee has a disability, whether
   include the actions they must take upon                     the detainee requires an accommodation to
   identifying a detainee with a disability who may            access the facility’s programs and activities, and
   require an accommodation, modification, and/or              whether to grant or recommend denying the
   auxiliary aid or service.                                   requested accommodation. Any denial by the
                                                               multidisciplinary team of a request for
8. The facility shall provide detainees with                   accommodation related to a disability must be
   disabilities who are limited in their English               approved by the facility administrator or assistant
   proficiency (LEP) with meaningful access to its             facility administrator.
   programs and activities through language
   assistance, including bilingual staff or
                                                                     ,  I   c.
                                                           12. The local ICE/ERO Field Office shall be notified
                                                                          n
   professional interpretation and translation
                                                         re C   ivic 022
                                                               no later than 72 hours after the completed

                                                   . Co er 14, 2
   services. Meaningful access to facility programs            review and assessment of any detainee with a
   and activities includes the effective      ino v        b
                                                               communication or mobility impairment.
                                           O w       c e m
                                        in         e           Facilities shall also notify the Field Office within
                              cited 55221, D
   communication of the applicable content and
   procedures in this standard.                                72 hours of any denial of a detainee’s request for

                                o .    1- to
                                    2access                    a disability-related accommodation.
                             N
9. The facility shall provide physical
   programs and activities in the least restrictive   13. Detainees shall be permitted to raise concerns
   setting possible, and in the most integrated                about disability-related accommodations and/or
   setting appropriate to the needs of the detainee            the accommodations process through the
   with a disability. Detainees with disabilities              grievance system, as outlined in standard 6.2
   requiring an assistive device, such as a crutch or          “Grievance System.” Facilities shall ensure that
   wheelchair, shall normally be permitted to keep             detainees with disabilities have equal
   those items with them at all times. Removal of              opportunity to access and participate in the
   any such devices because of concerns related to             grievance system, including by allowing for
   safety and security must be based on                        effective communication, which can include the
   individualized review and the justification                 provision of auxiliary aids and services,
   documented. A detainee’s disability or need for             throughout the process.
   assistive devices or equipment may not provide          III. Standards Affected
   the sole basis for the facility’s decision to place
   the detainee apart from the general population.         Not applicable.
10. Compliance with the reasonable                         IV. References
    accommodations policies and procedures
    articulated in this standard shall be consistently     ICE/ERO Performance-Based National Detention



4.8 | Disability Identification, Assessment, and         345                                        PBNDS 2011
      Accommodation                                                                       (Revised December 2016)
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Standards 2011:                                         V. Expected Practices
 x   “1.3 Transportation (by Land)”;
                                                        A. Definitions
 x   “2.1 Admission and Release”;
                                                        1. Disability
 x   “2.2 Custody Classification System”;
                                                        For purposes of these detention standards, the term
 x   “2.6 Hold Rooms in Detention Facilities”;          “disability” means either of the below:
 x   “2.11 Sexual Abuse and Assault Prevention and      a. a physical or mental impairment that substantially
     Intervention”;                                        limits one or more of an individual’s major life
                                                           activities; or
 x   “2.13 Staff-Detainee Communication”;
                                                        b. a record of such a physical or mental impairment.
 x   “3.1 Disciplinary System”;
                                                        “Major life activities” are basic activities that a
 x   “4.3 Medical Care”;
                                                        detainee without a disability in the general
 x   “4.5 Personal Hygiene”;                            population can perform with little or no difficulty,
                                                        including, but not limited to, caring for oneself,
 x   “5.2 Trips for Non-Medical Emergencies”;
                                                        performing manual tasks, seeing, hearing, eating,
 x   “5.4 Recreation”;                                  sleeping, walking, standing, lifting, bending,
 x   “5.5 Religious Practices”;
                                                          , Inc.
                                                        speaking, breathing, learning, reading,

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                                                        concentrating, thinking, communicating, and
                                            . Co er 14, 2
 x “5.6 Telephone Access”;                              working. A major life activity can also include the
                                       ino v        b   operation of major bodily functions, like the
 x “5.8 Voluntary Work Program”;
                                  n  Ow       c e m
                            ted i 5221, De
                                                        immune, endocrine, and neurological systems;
                         ciand
 x “6.2 Grievance System”;                              normal cell growth; digestion, respiration, and
                             . 2 1 -5                   circulation; and the operations of the bowel,
 x “7.3 Staff Training.”
                         No                             bladder, and brain.
Title II of the Americans with Disabilities Act of
1990, as amended, and its implementing regulation       2. Communication Impairments
at 28 C.F.R. Part 35.                                   Detainees with “communication impairments”
The Architectural Barriers Act of 1968, as amended.     include detainees with physical, hearing, vision, and
                                                        speech impairments (e.g., detainees who have
Section 504 of the Rehabilitation Act of 1973, and
                                                        hearing loss or are deaf; blind; have visual
DHS implementing regulation at 6 C.F.R. Part 15.
                                                        impairments; or nonverbal).
DHS Directive 065-01, “Nondiscrimination for
                                                        3. Mobility Impairments
Individuals with Disabilities in DHS-conducted
Programs and Activities (Non-Employment)” (Sept.        Detainees with “mobility impairments” include
25, 2013).                                              detainees with physical impairments who require a
                                                        wheelchair, crutches, prosthesis, cane, or other
ICE Directive “Assessment and Accommodations for
                                                        mobility device, or other assistance.
Detainees with Disabilities” (December 15, 2016).
                                                        4. Programs, Services, or Activities
ICE Policy No. 11065.1, “Review of the Use of
Segregation for ICE Detainees” (Sept. 4, 2013).         For purposes of these standards, the “programs,”
                                                        “services,” “benefits,” and/or “activities” of a



4.8 | Disability Identification, Assessment, and      346                                      PBNDS 2011
      Accommodation                                                                   (Revised December 2016)
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detention facility include all aspects of the facility’s      shower chairs, hearing aids, or canes; and assistance
operations that involve detainees. These include, but         with toileting and hygiene.
are not limited to, housing placements, medical care,
                                                              When considering requests for reasonable
safety and security protocols, food services,
                                                              accommodations or modifications, the facility shall
correspondence, visitation, grievance systems,
                                                              engage in an interactive and individualized process
transfers, and detainee programming and scheduled
                                                              as outlined in section F below.
activities such as law and leisure libraries, religious
services, educational or vocational classes, work             For the purposes of this standard, and particularly
programs, and recreation.                                     section F below, reasonable accommodations,
                                                              disability-related modifications, and auxiliary aids
5. Auxiliary Aids or Services
                                                              and services are collectively referred to as
“Auxiliary aids or services” are services or devices          “accommodations” or “reasonable
that allow for effective communication by affording           accommodations.”
individuals with impaired vision, hearing, speaking,
                                                              B. Written Policy and Procedures, and
sensory, and manual skills an equal opportunity to
participate in, and enjoy the benefits of, programs           Compliance Manager
and activities. Such aids or services include                 1. Reasonable Accommodation Policy
interpreters, written materials, note-takers, video
                                                              The facility shall develop written policy and
remote interpreting services, or other effective
                                                             , Inc.
                                                              procedures, including reasonable timelines, for
methods of making aurally delivered materials
                                                     re Civic 022
                                                              reviewing detainees’ requests for accommodations
                                               . Co er 14, 2
available to detainees with hearing impairments;
                                            o v
readers, taped texts, materials or displays in Braille,
                                          in           b
                                                              related to a disability and for providing
                                        Ow       c e m        accommodations (including interim
                                     in
secondary auditory programs, or other effective
                                               e
                             cited 55221, D
methods of making visually delivered materials                accommodations), modifications, and reassessments.

                                   21-
available to detainees with visual impairments;               These policies and procedures shall be consistent
                             N o .
acquisition or modification of equipment or devices;          with the processes outlined in this standard.
and other similar services and actions.                       2. Disability Compliance Manager
6. Reasonable Accommodations                                  The facility shall designate a Disability Compliance
For purposes of these standards, “reasonable                  Manager to assist facility personnel in ensuring
accommodation” means any change or adjustment                 compliance with this standard and all applicable
in detention facility operations, any modification to         federal, state, and local laws related to
detention facility policy, practice, or procedure, or         accommodation of detainees with disabilities. The
any provision of an aid or service that permits a             Disability Compliance Manager may be the Health
detainee with a disability to participate in the              Services Administrator, a member of the medical
facility’s programs, services, activities, or                 staff, or anyone with relevant knowledge, education,
requirements, or to enjoy the benefits and privileges         and/or experience.
of detention programs equal to those enjoyed by               C. Identification
detainees without disabilities. Examples of
“reasonable accommodations” include, but are not              A detainee may identify him- or herself as having a
limited to, proper medication and medical                     disability and/or request a reasonable
treatment; accessible housing, toilet, and shower             accommodation at any point during detention.
facilities; devices like bed transfer, accessible beds or     Detainees may submit a formal or informal (i.e.,
                                                              verbal or written) request for accommodations or


4.8 | Disability Identification, Assessment, and            347                                       PBNDS 2011
      Accommodation                                                                         (Revised December 2016)
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assistance. Requests should be reviewed in context,          conditions. Detainees with disabilities should be
and do not need to include the words “disability” or         provided access to the facility’s programs and
“accommodation” to be considered a request for               services in the least restrictive setting possible and
accommodations. The facility shall also consider             the most integrated setting appropriate to the needs
information submitted by a third party, such as an           of the detainee with a disability.
attorney, family member, or other detainee
                                                             Detainees with disabilities shall generally be
identifying a detainee with a disability or a
                                                             permitted to keep assistive devices (including such
detainee’s need for an accommodation.
                                                             aids as canes and crutches) with them at all times,
Further, it is incumbent upon facility staff to identify     including in general population. Placement apart
detainees with impairments that are open, obvious,           from the general population due to security concerns
and apparent. Identification of detainees with               related to the use of any such item must be based on
potential disabilities (i.e., impairments that are open,     individualized review, and the justification for the
obvious, and apparent) may occur through medical             placement must be documented, whether the
or intake screenings, or through direct observation.         detainee is placed in an SMU, medical clinic, or
Staff should be particularly vigilant for impairments        elsewhere. The justification shall set forth the
that affect a detainee’s mobility or ability to              individualized assessment of the safety or security
communicate. Upon identifying a detainee with a              concern created by the assistive device that could not
potential disability, the facility shall review the need     be eliminated or mitigated by modification of
for any necessary accommodations pursuant to
                                                                            ,  In  c.
                                                             policies or procedures.
                                                                   C     ic
                                                                       ivdisability     2 for accommodations
Section F below.
                                                          C o  r e
                                                           A detainee’s
                                                                            4 ,  2 0or2need
The processes described in this standard apply to any
                                                  in o  v. may notb e  r 1 the sole basis for a decision to place
                                                                      provide
                                         n
detainee who has requested an accommodation    w
                                            O or Decthe    emdetainee in an SMU. An individualized
                                  e
auxiliary aid or service, or whoithasd  i           1 ,
                              c       otherwise
                                              2  2
                                                been       assessment   must be made in each case, and the

                                  . 2  1  -55
identified as potentially needing an accommodation.        justification for the placement documented.
                             No
D. Physical Accessibility and Most                           E. Effective Communication
Integrated Setting Possible                                  Throughout the facility’s programs and activities,
1. Physical Accessibility                                    including at all stages of the reasonable
                                                             accommodation process, the facility must take
The facility shall comply with all applicable federal,       appropriate steps to allow for effective
state, and local laws and regulations related to the         communication with detainees with disabilities to
accessibility of safe and appropriate housing for            afford them an equal opportunity to participate in,
detainees with disabilities.                                 and enjoy the benefits of, the facility’s programs and
The facility will ensure that detainees with                 activities. Steps to ensure effective communication
disabilities are able to physically access its programs,     may include the provision and use of auxiliary aids
services, and activities. This includes, for example,        or services for detainees with vision, hearing,
ensuring detainees with disabilities can access              sensory, speech, and manual impairments, as
telephones, as well as toileting and bathing facilities.     needed. The type of auxiliary aid or service
2. Most Integrated Setting
                                                             necessary to ensure effective communication will
                                                             vary in accordance with the method of
Every detainee with a disability will be housed in a         communication used by the individual detainee, the
space that affords him or her safe, appropriate living       nature, length, and complexity of the



4.8 | Disability Identification, Assessment, and           348                                       PBNDS 2011
      Accommodation                                                                        (Revised December 2016)
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communication involved, and the context in which             afford the detainee access to its programs and
the communication is taking place. In determining            activities pending ICE authorization (for example,
what types of auxiliary aids or services are necessary,      providing a wheelchair as an interim
the facility shall give primary consideration to the         accommodation to allow for mobility while a
request of the detainee with a disability.                   prosthesis is repaired), and shall provide to the
Use of other detainees to interpret or facilitate            detainee any such interim accommodations it
communication with a detainee with a disability              identifies.
may only occur in emergencies.                               3. Detainees with Cognitive, Intellectual, or
                                                             Developmental Disabilities
F. Reasonable Accommodations Process
                                                             Referral to the multidisciplinary team may be
The facility’s process to appropriately accommodate          appropriate for detainees who are identified as
a detainee with a disability will differ depending on        having a cognitive, intellectual, or developmental
the nature of the impairment or disability being             disability, including a traumatic brain injury. Such
addressed. However, in certain cases, the facility           detainees may face difficulties navigating the
administrator or his or her designee shall                   detention environment, including disciplinary,
automatically convene a multidisciplinary team, as           grievance, and other processes. Additionally, such
described in section 4 below.                                detainees may not understand the process for
1. Immediate Accommodations
                                                                        , Inc.
                                                             requesting an accommodation or be aware of
The facility shall provide detainees with disabilities
                                                                re  ivic 022
                                                             limitations on their access to facility
                                                                   C
                                                          . Co er 14, 2
                                                             programs. Facility staff should not require the
with necessary accommodations in an expeditious
                                                   in  o v   detainee’s participation in the assessment process,
                                                                  b
                                            O  w
manner. In many situations, the facility will be able
                                                            c e m
                                        in                e  and should be sensitive to the fact that some
                              citedfor 55221, D
to immediately grant a detainee’s request  for an
                                                             detainees in this category may not perceive
accommodation. Where a request
                                  .
accommodation is immediately granted
                                o   21-and                   themselves as having a disability. However, facility
                             N
provided, and the accommodation fully addresses
                                                             staff should provide appropriate assistance to a
                                                             detainee with a cognitive, intellectual, or
the detainee’s ability to access the facility’s programs
                                                             developmental disability, even if not explicitly
and activities, the facility’s response will not
                                                             requested (for example, reading and explaining a
ordinarily involve referral to a multidisciplinary
                                                             form to a detainee with limited cognitive abilities).
team.
                                                             Pursuant to Standard 4.3 “Medical Care,” the facility
2. Medical and Mental Health Treatment                       is also required to report the identification of
Many detainees with disabilities will receive medical        detainees with certain cognitive, intellectual, or
and/or mental health treatment from the facility’s           developmental disabilities to the ICE/ERO Field
clinical medical authority. Where a detainee with a          Office.
disability is fully able to access the facility’s            4. Multidisciplinary Team
programs and activities through the provision of
                                                             Requests or referrals that require an evaluation by a
appropriate medical or mental health treatment,
                                                             multidisciplinary team include (1) detainees with
further interactive process may not be necessary.
                                                             mobility impairments; (2) detainees with
However, where the provision of accommodations
                                                             communication impairments; (3) detainees whose
depends on medical expenditures requiring ICE
                                                             initial requests for accommodations or assistance
authorization, the facility shall consider whether
                                                             have been denied; (4) detainees who have filed
there are any interim accommodations that would



4.8 | Disability Identification, Assessment, and           349                                       PBNDS 2011
      Accommodation                                                                        (Revised December 2016)
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grievances about the accommodation of their                     to interview with the multidisciplinary team. If a
disabilities or impairments; (5) detainees whose                detainee declines such an invitation, the
requests are complex or best addressed by staff from            multidisciplinary team will document this
more than one discipline (e.g., security,                       declination.
programming, medical, or mental health, etc.); and
                                                            b. Multidisciplinary Team Determinations
(6) detainees whose cases are otherwise determined
by facility staff to be appropriate for referral to the         The multidisciplinary team will determine
team.                                                           whether the detainee has a disability, whether the
                                                                detainee requires an accommodation to
The multidisciplinary team will include a healthcare
                                                                meaningfully access the facility’s programs and
professional and any additional facility staff with
                                                                activities, and whether to grant or recommend
requisite knowledge of and/or responsibility for
                                                                denying the requested accommodation (if any) or
compliance with disability policies and procedures.
                                                                propose an alternate, equally effective
The team may consist of two or more staff and may
                                                                accommodation. The multidisciplinary team will
have different members at different times,
                                                                issue a written decision, including the
depending on the detainee or request for
                                                                documentation outlined below, within 5 working
accommodations under review. When appropriate,
                                                                days of the request or referral.
the multidisciplinary team shall consult with
ICE/ERO to obtain guidance, information, and/or                 If there is a delay in determining whether to
resources for providing accommodations.                                  Inc.
                                                                approve an accommodation request or in
                                                                       ,
                                                              re Civic 022
                                                                providing the detainee with an approved
The team is encouraged to consult with local and
community resources that may have subject matter o v. C
                                                            o
                                                                   r 1 4 ,2
                                                                accommodation, the multidisciplinary team shall

                                           O  w   in        e m be
                                                                consider whether there are any interim
                                   d in may
expertise on the provision of accommodations,
                                                       De c     accommodations that would afford the detainee
                             c iteconsultation
modifications, and services. This
                                                2  1 ,
include training, information on the 1
                                   2   - 552 of
                                     availability
                                                                access to its programs and activities pending the

                           Noand
accommodations and services,     . best practices.              final disposition of the request or the provision of
                                                                approved accommodations. The facility shall
However, all external communications regarding
                                                                provide to the detainee any such interim
individual detainees are subject to applicable privacy
                                                                accommodations it identifies.
limitations and protections and must be conducted
in a manner consistent with the Privacy Act.                    Where the multidisciplinary team approves a
                                                                request for an accommodation, but the
a. Interaction with the Detainee
                                                                recommended accommodation requires approval
   Given the importance of considering information              from ICE (i.e., expenditures on medical
   from the detainee, the multidisciplinary team                treatment, medication, and durable medical
   shall make a good faith attempt to interview the             equipment that require IHSC authorization), the
   detainee and determine the nature of the                     team will inform the detainee of the decision and
   detainee’s disability, any difficulties the detainee         the status of the request with ICE and shall
   experiences in accessing the facility or its                 consider whether to provide an interim
   programs or services, and the detainee’s specific            accommodation. The facility shall provide to the
   requests or needs for accommodation, if any.                 detainee any such interim accommodations it
   The multidisciplinary team will respect any                  identifies.
   detainee’s decision to decline to participate in the         Where the multidisciplinary team approves a
   accommodation process, including the invitation              request for accommodations, and can



4.8 | Disability Identification, Assessment, and          350                                        PBNDS 2011
      Accommodation                                                                        (Revised December 2016)
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   immediately provide the necessary                           Where an accommodation is granted, facility
   accommodation, that decision will be the final              policy or procedures will ensure that all relevant
   facility determination, and the team will follow            facility staff, including facility security staff,
   the notification procedures outlined below and              receive timely notification and, as needed,
   implement the approved accommodations as                    instructions for successful implementation of the
   quickly as possible.                                        accommodation. These procedures will also
                                                               account for any applicable privacy and
c. Final Review of Any Denial by Facility
                                                               confidentiality considerations.
   Administrator or Assistant Facility Administrator
                                                           f. Initial and Periodic Reassessments
   Any denial by the multidisciplinary team of a
   request for accommodation related to a disability           An initial re-assessment of approved
   must be approved by the facility administrator or           accommodations must be completed within 30
   assistant facility administrator. Such denials              days of the original assessment by the
   include all cases in which the multidisciplinary            multidisciplinary team. All reassessments shall
   team determines that accommodations, including              include a good faith attempt to interview the
   all requested accommodations, should be denied;             detainee regarding the current accommodations
   or that alternate unrequested accommodation(s)              provided and the need, if any, for changes to the
   should be provided. The facility administrator              detainee’s accommodation plan.
   shall complete his or her review of the
                                                                         Inc.
                                                               Subsequent periodic reassessments of approved
                                                                       ,
   multidisciplinary team’s decision within 3
                                                                  Civic 022
                                                               accommodations shall take place at a minimum
                                                               re
                                                         . Co er 14, 2
   working days of the team decision.                          every 90 days thereafter, unless requested sooner
d. Detainee Notification                           ino  v        b
                                                               by the detainee. Such reassessments should
                                             O  w          c e m
                                   ed inwith2written  , De     evaluate the efficacy of the accommodation(s)
                                i t
   The facility will provide the detainee
                              c                  2  1
                                         - 5or5 her
   notification of the final decision on his
                                     2 1
                                                               provided, the continued need for accommodation

                             N .
                                                               and whether alternate accommodation(s) would
   request for accommodation,oregardless     of
                                                               be more effective or appropriate. Initial and
   whether an accommodation was granted or
                                                               periodic reassessments shall be documented in
   denied, and regardless of whether the
                                                               the detainee’s medical and/or facility file.
   accommodation requires further approval by ICE.
   Notification that an approved accommodation             g. Documentation
   request has been granted or submitted to ICE will           After the facility has completed its review of a
   be provided at the conclusion of the                        detainee with a disability or of a request for an
   multidisciplinary team review. Notification of a            accommodation, facility staff shall place written
   denied accommodation, or provision of an                    documentation of the following in the detainee’s
   alternate, unrequested accommodation, will be               medical and/or detention file, as appropriate:
   provided only after review and concurrence by
   the facility administrator or assistant facility            1) date of the initial assessment interview with
   administrator, and will include a justification for            the detainee with a potential disability, along
   the denial. Notification shall be provided in a                with the name(s) and title(s) of any/all facility
   language or manner the detainee can understand.                staff in attendance;

e. Staff Notification                                          2) summary of the detainee’s request, if any,
                                                                  including any specific accommodations
                                                                  requested, and any information or



4.8 | Disability Identification, Assessment, and         351                                        PBNDS 2011
      Accommodation                                                                       (Revised December 2016)
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      observations related to the detainee’s               alteration, the facility must take any other action that
      disability;                                          would not result in such an undue burden or
   3) finding on whether the detainee has a                fundamental alteration but would nevertheless
      disability and how the disability or                 ensure that, to the maximum extent possible,
      impairment limits the detainee’s ability to          detainees with a disability receive the benefits and
      access programs or activities within the             services of the program or activity. Similarly,
      detention setting;                                   determinations that individuals pose a “direct threat”
                                                           are generally very rare, and require a careful,
   4) the facility’s final decision on any requested       individualized assessment as described below.
      accommodations;
                                                           1. Fundamental Alteration
   5) provision of any aids or services to the
      detainee, including the specific type(s) of          A “fundamental alteration” to a facility’s programs,
      accommodation provided and/or steps taken            services, or activities is a change that is so significant
      by the facility, and the implementation              that it alters the essential nature of the program,
      date(s);                                             service, or activity offered. Whether a change
                                                           constitutes a fundamental alteration is a
   6) a copy of any written notification provided to       determination that must be made on a case-by-case
      the detainee, including the justification in the     basis, and that must consider the unique
      case of a denial; and
                                                                        , I n c.
                                                           characteristics of each facility and each detainee with
   7) the results and date(s) of any reassessment(s),
                                                           r e C ivic 022
                                                           a disability.
      if applicable, including reasons for any
                                                  o v             r 1   4, 2and Administrative Burden
                                                     . C2.oUndueeFinancial
      decisions made.
                                             O win       e
                                                        An m  b financial and administrative burden” is a
                                                            “undue
                                         in            c
                                                     e significant difficulty or expense related to a facility’s
                             cited 55221, D operations, programs, or activities. In evaluating
G. Denial of an Accommodation
                                     to 1
Permissible reasons for the facility 2
                                  .       - an
                                        deny
accommodation to a detainee    o
                            Nwho has been               whether a particular accommodation would result in
                                                           an undue burden, the facility must consider all
determined to have a disability include: (1) the
                                                           resources available for use in the funding and
detainee is not denied access to the facility’s
                                                           operation of the conducted program or activity as a
programs or activities because of a disability; (2)
there is not a nexus between the disability and the
                                                           whole.
requested accommodation; (3) the requested                 3. Direct Threat
accommodation would fundamentally alter the                The facility may justify the denial of an
nature of the program, service, or activity; (4) the       accommodation to a detainee with a disability on the
requested accommodation would result in an undue           basis of the detainee posing a direct threat to staff or
financial and administrative burden; or (5) the            other detainees only if providing the
detainee poses a direct threat to staff or other           accommodation would unavoidably exacerbate the
detainees.                                                 threat. The determination that a detainee with a
Both “fundamental alteration” and “undue financial         disability poses such a direct threat to staff or other
and administrative burden” are generally high              detainees must be reached through an individualized
standards that are difficult to meet. Further, if a        assessment by a multidisciplinary team. The
particular accommodation would result in an undue          assessment must rely on reasonable judgment and
financial and administrative burden or fundamental         current medical evidence, or the best available



4.8 | Disability Identification, Assessment, and         352                                         PBNDS 2011
      Accommodation                                                                        (Revised December 2016)
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objective evidence, to determine the nature,                review, and shall cooperate with ICE on any
duration, and severity of the risk, and whether any         additional steps that may be necessary.
modifications of policies, practices, or procedures
                                                            I. Staff Training
can mitigate or eliminate the risk. Detainees who are
found to pose a direct threat are nevertheless entitled     Training on the facility’s Disability and Reasonable
to auxiliary aids or services to allow for effective        Accommodations procedures shall be provided to
communication.                                              employees, volunteers, and contract personnel, and
                                                            shall also be included in annual refresher training
H. External Notifications
                                                            thereafter. New facility staff, including contractors
1. Notification of a Detainee with a                        and volunteers, shall receive this training as part of
   Communication or Mobility Impairment                     the Initial Orientation training required by Standard
                                                            7.3. The level and type of training for volunteers
The facility shall notify the Field Office Director as
                                                            and contractors will be based on the services they
soon as practicable, but no later than 72 hours, after
                                                            provide and their level of contact with detainees;
the multidisciplinary team has completed its review
                                                            however, all volunteers and contractors who have
of the needs of any detainee with a communication
                                                            any contact with detainees must be notified of the
or mobility impairment. This notification must
                                                            facility’s disability accommodations policy.
include, at a minimum,
                                                            “Appendix 4.8.A: Resources” following this standard
a. the nature of the detainee’s disability or
                                                                           , In  c.
                                                            lists resources available from the U.S. Department of
   impairment;
                                                              e  C   ivic 022
                                                            Justice and organizations that may be useful in
                                                             r
b. the accommodation requested by the detainee;
                                                   o  v. Co er 14, 2
                                                            developing a training program, and/or for direct use
   and
                                           O  w  in        e m  b
                                                            in training.
                                       in                c
                                                      De J. Detainee Orientation
                              cited the5detainee.
c. the facility’s plan to accommodate
                                           52 of2 1 ,
                                    2 1
2. Notification of Facility Denials and -
                                        Provision
   Alternative Accommodations No.                         The facility orientation program required by
                                                            standard 2.1, “Admission and Release,” and the
The facility shall notify the Field Office Director in      detainee handbook required by standard 6.1,
writing within 72 hours of any final denial by the          “Detainee Handbook,” shall notify and inform
facility administrator or assistant facility                detainees about the facility’s disability
administrator of any accommodations request                 accommodations policy, including their right to
reviewed by the multidisciplinary team. This                request reasonable accommodations and how to
notification must include, at a minimum,                    make such a request. The facility will post other
a. the nature of the detainee’s disability;                 documents for detainee awareness in detainee living
                                                            areas and in the medical unit, as requested by the
b. the accommodation requested by the detainee;             local ICE/ERO Field Office.
c. the reason for denial; and
d. any steps the facility has taken to address the
   detainee’s needs.
ICE may review the facility’s denial of a request for
an accommodation. The facility shall provide
additional information as needed to further ICE’s



4.8 | Disability Identification, Assessment, and          353                                       PBNDS 2011
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Appendix 4.8.A: Resources                                      Federal funds, or leased by a Federal agency,
                                                               comply with Federal standards for physical
Note: This appendix is not, and should not be                  accessibility. ABA requirements are limited to
interpreted as, legal advice. This appendix is                 architectural standards in new and altered
intended only as a reference. The materials                    buildings and in newly leased facilities. They do
referenced herein are non-exhaustive, and facilities           not address the activities conducted in those
are responsible for determining whether and how                buildings and facilities.
any additional laws apply.
                                                           x   Implementing Regulations: 41 CFR Subpart
Applicable Federal Laws and Regulations                        101-19.6
Section 504 of the Rehabilitation Act of 1973, as          x   Link to the ABA: https://www.access-
amended, 29 U.S.C. § 794 (Section 504)                         board.gov/guidelines-and-standards/buildings-
                                                               and-sites/about-the-aba-standards
x   Section 504 prohibits discrimination on the basis
    of disability in programs conducted by Federal         U.S. Department of Homeland Security
    agencies, in programs receiving Federal financial      (DHS) Resources
    assistance, in Federal employment, and in the
    employment practices of Federal contractors.           Directive No. 065-01: Nondiscrimination for
    Section 504 requires that no individual with a         Individuals with Disabilities in DHS-Conducted
    disability may be denied the opportunity to                        In c.
                                                           Programs and Activities (Non-Employment)
                                                                    ,
    participate in a program, service, or activity     e
                                                   xorThis
                                                            ivic establishes
                                                         CDirective        022 the DHS policy and
                                                  C                4  ,  2
                                           o v. mimplementation
                                                             r 1 mechanisms for ensuring
    solely by reason of a disability. The facility is
                                        win             b e
                                d  i   O      D e ce nondiscrimination for individuals with
    required to provide reasonable modifications to
                                    n
                           cite 55221       ,
    provide individuals with disabilities with an     disabilities served by DHS-conducted programs

                              . 2    -
    equal opportunity to access, participate in, or
                                  1                   and activities under Section 504.
                           No
    benefit from the facility’s programs, services,
    and activities. When considering what reasonable           https://www.dhs.gov/sites/default/files/public
    modifications to provide, the facility will engage         ations/dhs-management-directive-disability-
    in an interactive and individualized process that          access_0_1.pdf
    considers the individual’s needs and gives             Directive 065-01-001: Instruction on
    primary consideration to the preferences of the        Nondiscrimination for Individuals with a Disability
    individual with a disability.                          in DHS-Conducted Programs and Activities (Non-
                                                           Employment)
x   DHS’ Section 504 implementing regulations: 6
    C.F.R. Part 15                                         x   This Instruction implements the DHS Directive
x   Link to DHS’ Section 504 regulations:                      065-01, Nondiscrimination for Individuals with
    https://www.gpo.gov/fdsys/pkg/CFR-2004-                    Disabilities in DHS-Conducted Programs and
    title6-vol1/pdf/CFR-2004-title6-vol1-part15.pdf            Activities (Non-Employment).
                                                               https://www.dhs.gov/sites/default/files/public
Architectural Barriers Act of 1968, 42 U.S.C. §§
                                                               ations/dhs-instruction-nondiscrimination-
4151 et seq. (ABA)
                                                               individuals-disabilities_03-07-15.pdf
x   The ABA requires that buildings and facilities         A Guide to Interacting with People who Have
    that are designed, constructed, or altered with        Disabilities:



4.8 | Disability Identification, Assessment, and         354                                      PBNDS 2011
      Accommodation                                                                     (Revised December 2016)
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x   The DHS Office for Civil Rights and Civil                   added to Disability.gov’s 10 main subject areas:
    Liberties developed this Guide to assist DHS                Benefits, Civil Rights, Community Life,
    personnel, contractors, and grantees in their               Education, Emergency Preparedness,
    interactions with people who have disabilities.             Employment, Health, Housing, Technology and
    Under Section 504, DHS has a legal obligation to            Transportation.
    ensure nondiscrimination in the employment of           U.S. Department of Justice, Disability Rights Section:
    people with disabilities as well as by providing        www.ada.gov
    program access, physical access, effective
    communication, and reasonable accommodation             x   ADA.gov is a website operated by the Disability
    to people with disabilities encountered and                 Rights Section in the Civil Rights Division of the
    served by DHS programs and activities.                      U.S. Department of Justice (DOJ) to continuously
    Examples of these interactions include detainees            provide new and updated information and
    with disabilities who are in ICE custody awaiting           guidance on the Americans with Disabilities Act
    a hearing or removal; this also includes                    (ADA) and its requirements. DOJ also operates a
    individuals with disabilities who are members of            toll-free information line for those seeking to
    the public, a family member, friend and/or                  comply with the ADA: (800) 514-0301 for
    attorney of a detainee who seek to access ICE               voice calls; or (800) 514-0383 for TTY. [Note:
    programs, services and activities. Ensuring                 The ADA does not apply to ICE’s detention
    nondiscrimination often begins by practicing
                                                                   , I  c.
                                                                programs and activities. However, ada.gov
                                                                      n
    effective methods for interaction, such as treating
                                                    r e C  ivic 022
                                                                provides helpful disability-related technical
    individuals with respect and using appropriate
                                             v    o
                                              . CThe        r  1  4  ,2
                                                                assistance materials on various subjects.]
                                         ino
    language. This Guide offers a summary of
                                        w           m  beAccess Board: www.access-board.gov
                                                      U.S.
                                    in O      e c e
                            cited 55221, D x The
    disability myths and facts, guidance on
    appropriate language, and tips for successfully       U.S. Access Board is an independent federal

                               . 2 1 -
    interacting with people who have disabilities. Itagency   that promotes equality for people with
                            No
    is intended as a general overview of the topic   disabilities through leadership in accessible
    and does not supplant any specific policies and             design and the development of accessibility
    procedures used by the DHS Components.                      guidelines and standards for the built
                                                                environment, transportation, communication,
    https://www.dhs.gov/sites/default/files/public              medical diagnostic equipment, and information
    ations/guide-interacting-with-people-who-have-              technology. The Board develops and maintains
    disabilties_09-26-13.pdf                                    design criteria for the built environment, transit
Other Federal Government Resources                              vehicles, telecommunications equipment,
                                                                medical diagnostic equipment, and information
Disability.gov: www.disability.gov                              technology. The Board also provides technical
x   Disability.gov is the U.S. federal government               assistance and training on these requirements
    website for comprehensive information about                 and on accessible design and continues to
    disability-related programs, services, policies,            enforce accessibility standards that cover
    laws and regulations nationwide. The site links             federally funded facilities. The Board’s Section
    to thousands of resources from many different               508 Standards apply to electronic and
    federal government agencies, as well as state and           information technology procured by the federal
    local governments and nonprofit organizations               government, including computer hardware and
    across the country. New resources are frequently            software, websites, phone systems, and



4.8 | Disability Identification, Assessment, and          355                                       PBNDS 2011
      Accommodation                                                                       (Revised December 2016)
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   copiers. They were issued under section 508 of           developed, procured, maintained, or used by
   the Rehabilitation Act which requires access for         federal agencies. The Board operates a toll-free-
   both members of the public and federal                   line: (800) 872-2253 or TTY (800) 993-2822.
   employees to such technologies when




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                                  in        e c
                          cited 55221, D
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                          N




4.8 | Disability Identification, Assessment, and      356                                      PBNDS 2011
      Accommodation                                                                   (Revised December 2016)
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                                                                each detainee upon admittance.
5.1 Correspondence and                                      3. The amount and content of correspondence
    Other Mail                                                 detainees send at their own expense shall not be
                                                               limited, except to protect public safety or facility
I. Purpose and Scope                                           security and order.
                                                            4. Indigent detainees shall receive a specified postage
This detention standard ensures that detainees shall
                                                               allowance to maintain community ties and
be able to correspond with their families, the
                                                               necessary postage for privileged correspondence.
community, legal representatives, government
offices and consular officials consistent with the safe     5. Detainees shall have access to general interest
and orderly operation of the facility.                         publications.
This detention standard applies to the following            6. Incoming and outgoing mail, with the exception
types of facilities housing ICE/ERO detainees:                 of special correspondence or legal mail, shall be
                                                               opened to inspect for contraband and to intercept
  x   Service Processing Centers (SPCs);                       cash, checks and money orders.
  x   Contract Detention Facilities (CDFs); and             7. General correspondence shall be read or rejected
                                                               only to protect the safe, secure and orderly
  x   State or local government facilities used by
      ERO through Intergovernmental Service
                                                                            , I   c.
                                                               operation of the facility, and detainees shall be
                                                                               n
      Agreements (IGSAs) to hold detainees for more
                                                                r e    ivic 022
                                                               notified in writing when correspondence is
                                                                    C
                                                          . Co er 14, 2
                                                               withheld in part or in full.
      than 72 hours.
                                                     ino v         b shall be permitted to send special
Procedures in italics are specifically requiredO  w
                                                 for        c
                                                             8. m
                                                              e Detainees
SPCs, CDFs, and Dedicated IGSA
                              c  ite  d in Non-21, De correspondence or legal mail to a specified class
                                   facilities.
dedicated IGSA facilities must conform  1  -   52
                                           to5these             of persons and organizations, and incoming mail
procedures or adopt, adapt N or o
                                      2
                                   . alternatives,
                                 establish
                                                                from these persons shall be opened only in the
                                                                presence of the detainees (unless waived) to
provided they meet or exceed the intent represented
                                                                check for contraband (except when
by these procedures.
                                                                contamination is suspected).
Various terms used in this standard may be defined
                                                            9. Incoming and outgoing letters shall be held for
in standard “7.5 Definitions.”
                                                               no more than 24 hours and packages no more
II. Expected Outcomes                                          than 48 hours before distribution, excluding
                                                               weekends, holidays or exceptional circumstances.
The expected outcomes of this detention standard
are as follows (specific requirements are defined in        10. Detainees in Special Management Units (SMU)
“V. Expected Practices”).                                       shall have the same correspondence privileges as
                                                                detainees in the general population.
1. Detainees shall be able to correspond with their
   families, the community, legal representatives,          11. The facility shall provide communication
   government offices and consular officials.                   assistance to detainees with disabilities and
                                                                detainees who are limited in their English
2. Detainees shall be notified of the facility’s rules          proficiency (LEP). The facility will provide
   on correspondence and other mail through the                 detainees with disabilities with effective
   detainee handbook, or supplement, provided to                communication, which may include the



5.1 | Correspondence and Other Mail                       357                                        PBNDS 2011
                                                                                           (Revised December 2016)
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   provision of auxiliary aids, such as readers,           of the facility, non-correspondence mail, such as
   materials in Braille, audio recordings, telephone       packages and publications, shall be subject to certain
   handset amplifiers, telephones compatible with          restrictions.
   hearing aids, telecommunications devices for
                                                           B. Indigent Detainees
   deaf persons (TTYs), interpreters, and note-
   takers, as needed. The facility will also provide       Ordinarily, a detainee is considered “indigent” if
   detainees who are LEP with language assistance,         he/she has less than $15.00 in his/her account.
   including bilingual staff or professional               Facilities shall make a timely determination as to
   interpretation and translation services, to provide     whether a detainee is indigent.
   them with meaningful access to its programs and
                                                           Each facility shall have written procedures that
   activities.
                                                           explain how indigent detainees can request postage
   All written materials provided to detainees shall       at government expense. Such procedures shall also
   generally be translated into Spanish. Where             be posted in a common area where all detainees can
   practicable, provisions for written translation         view them.
   shall be made for other significant segments of
                                                           At government expense, as determined by ICE/ERO,
   the population with limited English proficiency.
                                                           indigent detainees shall be permitted to post a
   Oral interpretation or assistance shall be provided     reasonable amount of mail each calendar week (see
   to any detainee who speaks another language in
                                                                        ,  In c.
                                                           “J. Postage Costs”) below, including the following:
   which written material has not been translated or
                                                           r e C  ivic amount
                                                        1. an unlimited
                                                                               0 2 2
                                                                                  of special correspondence
   who is illiterate.
                                                       C o              4 ,  2
                                                o v. 2. m
                                                           or legal mail, within reason;
III. Standards Affected                       in              b    r 1 of general correspondence; and/or
                                                                epieces
                                      n  O w         e ce  three
                                   d i           , D
                            cite“Correspondence
This detention standard replaces
                                       5 5 2 21         3. packages as deemed necessary by ICE/ERO.
and Other Mail” dated 12/2/2008.
                              o  . 21-                  C. Detainee Notification
                           N
VI. References                                             The facility shall notify detainees of its rules on
                                                           correspondence and other mail through the detainee
American Correctional Association 4th Edition,
                                                           handbook, or supplement, provided to each detainee
Standards for Adult Detention Facilities: 4-ALDF-
                                                           upon admittance. At a minimum, the notification
5B-05, 5B-06, 5B-07, 5B-08, 5B-09, 5B-10, 2A-27,
                                                           shall specify:
2A-60, 6A-09.
                                                           1. That a detainee may receive mail, the mailing
V. Expected Practices                                         address of the facility, and instructions on how
                                                              envelopes shall be addressed;
A. General
                                                           2. That a detainee may send mail, the procedure for
Each facility shall have written policy and procedures        sending mail, and instructions on how outgoing
concerning detainee correspondence and other mail.            mail must be addressed;
The quantity of correspondence a detainee may              3. That general correspondence and other mail
receive or send at his/her own expense shall not be           addressed to detainees shall be opened and
limited. Facilities shall not limit detainees to              inspected in the detainee’s presence, unless the
postcards and shall allow envelope mailings. For              facility administrator authorizes inspection
reasons of safety, security and the orderly operation         without the detainee’s presence for security



5.1 | Correspondence and Other Mail                      358                                       PBNDS 2011
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   reasons;                                                  detainees in languages spoken by any significant
                                                             portion of the facility’s detainee population. Oral
4. The definition of special correspondence or legal
                                                             interpretation or assistance shall be provided to any
   mail, including instructions on the proper
                                                             detainee who speaks another language in which
   labeling as “special correspondence” or “legal
                                                             written material has not been translated or who is
   mail” to ensure that it is treated as privileged
                                                             illiterate.
   mail; the notification shall clearly state that it is
   the detainee’s responsibility to inform senders of        D. Processing
   the labeling requirement;
                                                             Detainee correspondence and other mail shall be
5. That incoming special correspondence or legal             delivered to the detainee and to the postal service on
   mail may only be opened in the detainee’s                 regular schedules.
   presence, and may be inspected for contraband,
   but not read, and that outgoing special                   1. Incoming correspondence shall be distributed to
   correspondence or legal mail shall not be opened,            detainees within 24 hours (one business day) of
   inspected or read;                                           receipt by the facility.

6. That packages may neither be sent nor received            2. Outgoing correspondence shall be delivered to
   without advance arrangements approved by the                 the postal service no later than the day after it is
   facility administrator, as well as information               received by facility staff or placed by the detainee
   regarding how to obtain such approval;
                                                                             ,  I   c.
                                                                in a designated mail depository, excluding
                                                                                  n
7. A description of mail which may be rejected by the
                                                                r e    ivic 022
                                                                weekends and holidays.
                                                                    C
   facility and which the detainee shall not be          v. C3.oother  r  1 4  , 2 be made for correspondence or
                                                                An exception may
   permitted to keep in his/her possession; win
                                                       o        m  be mail that  requires special handling for
                                               O             e
                                           in birth1, Dec security purposes. For example, in exceptional
8. That identity documents, c      iteasdpassports,
                                 such
                                                52are2          circumstances, special correspondence may be
                                          1 - 5
   contraband and may be used  Noby  . 2ICE/ERO as
   certificates, etc., in a detainee’s possession               held for 48 hours, to verify the status of the
                                                                 addressee or sender.
   evidence against the detainee or for other
   purposes authorized by law (however, upon                 As a routine matter, incoming mail shall be
   request, the detainee shall be provided a copy of         distributed to detainees on the day received by the
   each document, certified by an ICE/ERO officer to         facility. Incoming priority, overnight, certified mail
   be a true and correct copy; the facility shall            and deliveries from a private package delivery
   consult ICE/ERO with any and all requests for             service, etc., shall be recorded with detainee
   identity documents);                                      signatures in a logbook maintained by the facility.

9. The procedure to obtain writing implements,               E. Packages
   paper and envelopes; and                                  Each facility shall implement policies and procedures
10.     The procedure for purchasing postage (if             concerning detainee packages.
   any), and the rules for providing indigent and            Detainees shall not be allowed to receive or send
   certain other detainees free postage.                     packages without advance arrangements approved by
The rules notification shall be posted in each               the facility administrator. The detainee shall pay
housing area.                                                postage for packages and oversized or overweight
                                                             mail.
The facility shall provide key information to



5.1 | Correspondence and Other Mail                        359                                       PBNDS 2011
                                                                                            (Revised December 2016)
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F. Inspection of Incoming Correspondence                         U.S. Immigration and Customs Enforcement, ICE
and Other Mail                                                   Health Services Corps, the Office of Enforcement
                                                                 and Removal Operations, the DHS Office for Civil
1. General Correspondence and Other Mail                         Rights and Civil Liberties, and the DHS Office of
All facilities shall implement procedures for the                the Inspector General);
inspection of all incoming general correspondence            i. outside health care professionals;
and other mail (including packages and
                                                             j. administrators of grievance systems; and
publications) for contraband.
                                                             k. representatives of the news media.
Staff shall open and inspect incoming general
correspondence and other mail (including packages            Correspondence shall only be treated as special
and publications) in the presence of the detainee            correspondence or legal mail if the title and office of
unless otherwise authorized by the facility                  the sender (for incoming correspondence) or
administrator. Incoming general correspondence may           addressee (for outgoing correspondence) are
be read to the extent necessary to maintain security, as     unambiguously identified on the envelope, and the
authorized by the facility administrator.                    envelope is labeled “special correspondence” or
                                                             “legal mail.”
Inspection is generally for the purpose of detecting
contraband. Reading of mail, which requires                  All facilities shall implement procedures for
approval of the facility administrator, may be
                                                                  ,  In c.
                                                             inspecting for contraband, in the presence of the
conducted at random. Mail may also be read when a
                                                     r e C   ivic 022
                                                             detainee, all special correspondence or legal mail.

                                              . Co er 14, 2
specific security concern arises with respect to an          Detainees shall sign a logbook upon receipt of
                                         ino v
individual detainee, including, but not limited to,
                                                        b    special correspondence and/or legal mail to verify
                                       Ow       c e m
                                    in        e
for obtaining information such as escape plots, plans        that the special correspondence or legal mail was
                            cited 55221, D
to commit illegal acts and plans to violate institution      opened in their presence.
rules.
                              o . 21-            Staff shall neither read nor copy special
                            N
2. Special Correspondence or Legal Mail                      correspondence or legal mail. The inspection shall be
                                                             limited to the purposes of detecting physical
“Special correspondence” or “legal mail” shall be
                                                             contraband and confirming that any enclosures
defined as the term for detainees’ written
                                                             qualify as special correspondence or legal mail.
communications to or from any of the following:
a. private attorneys and other legal representatives;        G. Inspection of Outgoing Correspondence
                                                                 and Other Mail
b. government attorneys;
                                                             1. General Correspondence and Other Mail
c. judges and courts;
d. embassies and consulates;                                 Outgoing general correspondence and other mail
                                                             may be inspected or read if:
e. the president and vice president of the United
   States;                                                   a. the addressee is another detainee; or

f. members of Congress;                                      b. there is evidence the item might present a threat
                                                                to the facility’s secure or orderly operation,
g. the Department of Justice (including the DOJ                 endanger the recipient or the public or facilitate
   Office of the Inspector General);                            criminal activity.
h. the Department of Homeland Security (including            The detainee must be present when the



5.1 | Correspondence and Other Mail                        360                                       PBNDS 2011
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correspondence or other mail, including packages, is            defense or survival, weaponry, armaments,
inspected, unless otherwise authorized by the facility          explosives or incendiary devices); however, note
administrator.                                                  that newspaper articles that depict or describe
2. Special Correspondence or Legal Mail                         violence in a detainee’s country of origin may be
                                                                relevant to a detainee’s legal case and should not
Staff shall neither read nor copy outgoing special              automatically be considered contraband;
correspondence or legal mail. The inspection shall be
limited to the purposes of detecting physical               2. Information regarding escape plots, or plans to
contraband and confirming that any enclosures                  commit illegal activities, or to violate ICE/ERO
qualify as special correspondence or legal mail.               rules or facility guidelines;

Staff shall treat outgoing correspondence as special        3. Information regarding the production of drugs or
correspondence or legal mail only if the name, title           alcohol;
and office of the recipient are clearly identified on       4. Sexually explicit material that is obscene or
the envelope and the envelope is labeled “special              prurient in nature;
correspondence” or “legal mail.”                            5. Threats, extortion, obscenity or gratuitous
H. Rejection of Incoming and Outgoing                          profanity;
   Mail                                                     6. Cryptographic or other surreptitious code that
All facilities shall implement policies and procedures
                                                                 ,  I  c.
                                                               may be used as a form of communication; or
                                                                     n
addressing acceptable and non-acceptable mail.
                                                     e C
                                                7. Other
                                                   r       ivic (any
                                                          contraband
                                                                        0 2 2package received without
Detainees may receive as correspondence any
                                             v.C o the
                                                              1
                                                       facility  4 ,  2
                                                                administrator’s prior authorization is
                                        in o               r
                                                      be contraband).
                                       w
material reasonably necessary for the detainee to
                                      O        c e m
                                                   considered
                                   in         e Both sender and addressee shall be provided written
                         cited 55221, D notice,
present his/her legal claim, in accordance with this
standard.
                              . 2 1 -                   signed by the facility administrator, with
                        Nocorrespondence and
Incoming and outgoing general                   explanation, when the facility rejects incoming or
other mail may be rejected to protect the security,         outgoing mail. Rejected mail shall be considered
good order or discipline of the institution; to protect     contraband and handled as detailed in the next
the public; or to deter criminal activity.                  section of this standard.
When incoming or outgoing mail is confiscated or            A detainee may appeal rejection of correspondence
withheld (in whole or in part), the detainee shall be       through the Detainee Grievance System.
notified and given a receipt.
                                                            I. Contraband Recording and Handling
The facility administrator shall ordinarily consult a
                                                            When an officer finds an item that must be removed
religious authority before confiscation of a religious
                                                            from a detainee’s mail, he/she shall make a written
item that constitutes “soft” contraband.
                                                            record that includes:
Correspondence and publications that may be
                                                            1. the detainee’s name and A-number;
rejected include, but are not limited to, the
following.                                                  2. the name of the sender and recipient;
1. Material depicting activities that present a             3. a description of the mail in question;
   significant risk of physical violence or group           4. a description of the action taken and the reason
   disruption (e.g., material with subjects of self-           for it;



5.1 | Correspondence and Other Mail                       361                                       PBNDS 2011
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5. the disposition of the item and the date of                4. Detainees who qualify for a postage allowance as
   disposition; and                                              defined above shall be permitted to mail, at
6. the officer’s signature.                                      government expense, the following:

Prohibited items discovered in the mail shall be                  a. a reasonable amount of mail each week,
handled as follows:                                                  including at least three pieces of general
                                                                     correspondence;
1. A receipt shall be issued to the detainee for all
   cash, which shall be safeguarded and credited to               b. an unlimited amount of correspondence
   the detainee’s account in accordance with                         related to a legal matter, within reason,
   standard “2.5 Funds and Personal Property.”                       including correspondence to a legal
                                                                     representative, free legal service provider, any
2. Identity documents (e.g., passports, birth                        court, opposing counsel or to a consulate,
   certificates) shall be placed in the detainee’s A-file            potential legal representative and any court, as
   and, upon request, the detainee shall be provided                 determined by the facility administrator; and
   with a copy of the document, certified by an
   ICE/ERO officer to be a true and correct copy.                 c. packages containing personal property, when
                                                                     the facility administrator determines that
3. Other prohibited items found in the mail shall be                 storage space is limited and that mailing the
   handled in accordance with standard “2.3                          property is in the government’s best interest.
   Contraband”; however, at the discretion of the
                                                                                   In c.
                                                                     See standard “2.5 Funds and Personal
                                                                                ,
   facility administrator, soft contraband may be
                                                                  re  C   ivic 022
                                                                     Property” for detailed information.
   returned to the sender.
                                                          v . CK.oWriting r  1 4  ,2
                                                                             Implements,       Paper and
4. The facility administrator shall ensure that w   in  o            b e
                                                              cem
                                                 facility
                                        in   Oof          D e     Envelopes
                                  e  d
   records of the discovery and disposition
                             citcurrent.           21   ,
   contraband are accurate and
                                          - 5 5 2              The facility shall provide writing paper, writing
                                     2 1
J. Postage Costs            No.                                implements and standard sized envelopes at no cost
                                                              to detainees. Special sized envelopes may be
1. The facility shall not limit the amount of                 provided to detainees at their cost.
   correspondence detainees may send at their own
                                                              L. Detainees in Special Management
   expense, except to protect public safety or facility
   security and order.                                           Units (SMU)
2. The facility shall provide a postage allowance at          All facilities shall have written policy and procedures
   government expense under two circumstances:                regarding mail privileges for detainees housed in an
                                                              SMU.
   a. to indigent detainees only; or
                                                              Detainees in administrative or disciplinary
   b. to all detainees, if the facility does not have a
                                                              segregation shall have the same correspondence
      system for detainees to purchase stamps.
                                                              privileges as detainees in the general population.
3. Free postage is generally limited to letters
   weighing one ounce or less, with exceptions
                                                              M. Correspondence with Representative
   allowed for special correspondence; however, in              of the News Media
   compelling circumstances, the facility may also            A detainee may use special correspondence to
   provide free postage for general correspondence            communicate with representatives of news media.
   and other mail.



5.1 | Correspondence and Other Mail                         362                                        PBNDS 2011
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A detainee may not receive compensation or                certain services in connection with a legal matter,
anything of value for correspondence with news            such as notary public or certified mail, and has no
media, including, but not limited to, publishing          family member, friend or community organization
under a byline. A detainee may not act as a reporter.     to provide assistance, the facility shall consult with
Representatives of news media may initiate                ICE/ERO to provide the necessary services and shall
correspondence with a detainee; however, such             assist the detainee in a timely manner.
correspondence shall be treated as special                If it is unclear whether the requested service is
correspondence only if the envelope is properly           necessary in pursuit of a legal matter, the respective
addressed with the name, title and office of the          ICE Office of Chief Counsel shall be consulted.
media representative and is clearly labeled “special
                                                          O. Facsimile Communication
correspondence.”
                                                          When timely communication through the mail is
N. Notaries, Certified Mail and
                                                          not possible, the facility administrator may in
   Miscellaneous Needs Associated With                    his/her discretion allow for a reasonable amount of
   Legal Matters                                          communication by means of facsimile device
                                                          between the detainee and his/her designated legal
If a detainee without legal representation requests
                                                          representatives.


                                                            , Inc.
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                                    in        e c
                            cited 55221, D
                              o . 21-
                            N




5.1 | Correspondence and Other Mail                     363                                       PBNDS 2011
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5.2 Trips for Non-medical                                           considerations in planning, approving and
                                                                    escorting a detainee out of a facility for a non-
    Emergencies                                                     medical emergency.

I. Purpose and Scope                                            III. Standards Affected
This detention standard permits detainees to                    This detention standard replaces “Escorted Trips for
maintain ties with their families through emergency             Non-medical Emergencies” dated 12/2/2008.
staff-escorted trips into the community to visit                IV. References
critically ill members of the immediate family or to
attend their funerals.                                          American Correctional Association, Performance-
This detention standard applies to the following                based Standards for Adult Local Detention
types of facilities housing ICE/ERO detainees:                  Facilities, 4th Edition: 4-ALDF-1B-06.
                                                                ICE/ERO Performance-based National Detention
  x   Service Processing Centers (SPCs);
                                                                Standards 2011:
  x   Contract Detention Facilities (CDFs); and
                                                                    x    “1.3 Transportation (by Land)”;
  x   State or local government facilities used by
                                                                    x    “2.10 Searches of Detainees”; and
      ERO through Intergovernmental Service
                                                                    x        ,  In c.
                                                                         “2.15 Use of Force and Restraints.”
      Agreements (IGSAs) to hold detainees for more
                                                                     C     ic
                                                                        ivUse          2 (7/7/2004), as
      than 72 hours.
                                                             C o
                                                              ICE re
                                                                  Interim
                                                                             4    2 02Policy
                                                                              of Force
                                                                               ,
Procedures in italics are specifically required for ino v. amended  b e or 1
                                                                        r updated.
                                          n  O   w         e  emExpected Practices
                                                             cV.
                                      d  i
SPCs, CDFs, and Dedicated IGSA facilities.    Non-
                                                       , D
                                 ite to these
dedicated IGSA facilities mustcconform
                                              5 2 21
                                           5
                                      21-alternatives,
provided they meet or exceed    o  .
procedures or adopt, adapt or establish
                             N the intent represented         A. Non-Medical Emergency Trip Requests
                                                                        and Approvals
by these procedures.
Various terms used in this standard may be defined              On a case-by-case basis, and with approval of the
in standard “7.5 Definitions.”                                  respective Field Office Director, the facility
                                                                administrator may allow a detainee, under ICE/ERO
II. Expected Outcomes                                           staff escort, to visit a critically ill member of his/her
                                                                immediate family, attend an immediate family
The expected outcomes of this detention standard                member’s funeral and/or wake or attend a family-
are as follows (specific requirements are defined in            related state court proceeding.
“V. Expected Practices”).
                                                                “Immediate family member” refers to a parent
1. Within the constraints of safety and security,               (including stepparent or foster parent), brother,
   selected detainees shall be able to visit critically ill     sister, biological or adopted child and spouse
   members of the immediate family, attend their                (including common-law spouse).
   funerals or attend family-related state court
   proceedings, while under constant staff                      The Field Office Director is the approving official for
   supervision.                                                 non-medical emergency escorted trips from SPCs,
                                                                CDFs and IGSAs, and may delegate this authority to
2. Safety and security shall be primary                         the Assistant Field Office Director-level for any


5.2 | Trips for Non-medical Emergencies                       364                                          PBNDS 2011
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detainee who does not require a high degree of               name.
control and supervision.
                                                             As needed, ICE/ERO shall provide overnight housing
The facility administrator shall designate staff to help     in an SPC, CDF or IGSA facility.
detainees prepare requests for non-medical
                                                             ICE/ERO shall pay the travel costs incurred by the
emergency trip requests, according to the following
                                                             transporting officers.
stipulations.
                                                             C. Selection of Escorts
1. That staff member shall forward the completed
   request to the detainee’s deportation officer.            No less than two escorts are required for each trip.
2. The deportation officer shall review the merits of        The Field Office Director or his/her designee shall
   the request, to include consultations with                select and assign the roles of the transporting officers
   immigration enforcement agents, medical staff,            (escorts) and delegate to one the decision-making
   the detainee’s family and other persons in                authority for the trip. Ordinarily, probationary
   positions to provide relevant information.                officers may not be assigned, and in no case may
                                                             more than one probationary officer be on an escort
3. On the basis of the information collected, the            team.
   deportation officer shall report to the facility
   administrator on the appropriateness of the               D. Supervision and Restraint
   detainee’s request and the amount of supervision             Requirements
                                                                      , Inc.
                                                                  ivic 022
   the travel plan may entail.
                                                             Except when the detainee is housed in a detention
                                                              re C
B. Types of Trips and Travel Arrangements
                                                     o v. Co er 14, 2
                                                             facility, transporting officers shall maintain constant
1. Local Trip
                                           O   w in         e m b
                                                             and immediate visual supervision of any detainee
                                       in a 10-1, De      c  who is under escort and shall follow the policy and
A “local” trip constitutes up c  tedincluding
                              toiand
                                            522 the          procedures in the standards on “Transportation (By
                                      1 - 5
                                  . 2pay for his/her
hour absence from the facility. ICE/ERO
                             Nomust
costs, except that the detainee
                                          assumes            Land)” and “Use of Force and Restraints.”

own commercial carrier transportation (e.g., plane,
                                                             E. Training
train), if needed for the trip.                              Escort officers and others, as appropriate, shall
2. Extended Trip                                             receive training on:

An “extended” trip involves more than a 10-hour              1. standard “5.2 Trips for Non-medical
absence and may include an overnight stay. The cost             Emergencies”; and
of the detainee’s roundtrip transportation on a              2. standards “1.3 Transportation (By Land)” and
commercial carrier must be prepaid by the detainee,             “2.15 Use of Force and Restraints.”
the detainee’s family or another source approved by
the Field Office Director.
                                                             F. Escort Instructions
3. Travel Arrangements                                       1. Escorts shall follow the applicable policies,
                                                                standards and procedures listed above in this
ICE/ERO shall make all travel arrangements;                     standard.
however, travel involving a commercial carrier may
not commence until the detainee or person acting on          2. Routes, meals and lodgings (if necessary) shall be
his/her behalf has submitted an open paid-in-full               arranged prior to departure.
ticket or electronic-ticket voucher in the detainee’s        3. Escorts shall follow the schedule included in the


5.2 | Trips for Non-medical Emergencies                    365                                        PBNDS 2011
                                                                                            (Revised December 2016)
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   trip authorization, arriving at and departing from               be made for other significant segments of the
   the place(s) and event(s) listed at the specified                population with limited English proficiency.
   times.                                                           Oral interpretation or assistance shall be provided
4. For security reasons, the trip route and schedule                to any detainee who speaks another language in
   shall be confidential.                                           which written material has not been translated or
                                                                    who is illiterate.
5. The responsible transporting officer shall report
   unexpected developments to the Control Center at             9. Among other things, the escorted detainee may
   the originating facility. Control Center staff shall            not:
   relay the information to the highest-ranking                     a. bring discredit to ICE/ERO;
   supervisor on duty, who shall issue instructions
   for completion of the trip.                                      b. violate any federal, state or local law;

6. Escorts shall deny the detainee access to any                    c. make unauthorized phone call(s); or
   intoxicant, narcotic, drug paraphernalia or drug                 d. arrange any visit(s) without the express
   not prescribed for his/her use by the medical                       permission of the facility administrator.
   staff.
                                                                10. If the detainee breaches any of these rules, the
7. If necessary, the transporting officers may                      responsible officer may decide to terminate the
   increase the minimum restraints placed on the
                                                                         ,  In c.
                                                                    trip and immediately return to the facility.
   detainee at the outset of the trip, but at no time
                                                               C
                                                       11. Officers   ic also remind
                                                                  ivshall         2 2   the detainee that,
   may reduce the minimum restraints. Since escorts
                                                          r e                  0
                                                                              2 upon return to the facility,
                                                  v
   may exercise no discretion in this matter and are
                                               o    . Co during    r  1 4  , and
                                                                    the trip

                                         O w in
   prohibited from removing the restraints, the        e m   be
                                                           he/she   is subject to searches in accordance with

                                ted  in         , D ec standard “2.10 Searches of Detainees,” as well as
                              ci          522 1
   detainee shall visit a critically ill relative, attend a
                                                           tests for alcohol or drug use.
                                      - 5
   funeral or attend a family-related state court
                                  2 1
   proceeding in restraints.
                              No.                      12. Officers may not accept gifts or gratuities from
                                                                    the detainee or any other person in appreciation
8. Escorts shall advise the detainee of the rules in
                                                                    for performing escort duties or for any other
   effect during the trip, in a language or manner
                                                                    reason.
   the detainee can understand.
                                                                13. Escorts shall ensure that detainees with physical
   All written materials provided to detainees shall
                                                                    or mental disabilities are provided reasonable
   generally be translated into Spanish. Where
                                                                    accommodations in accordance with security and
   practicable, provisions for written translation shall
                                                                    safety concerns.




5.2 | Trips for Non-medical Emergencies                       366                                         PBNDS 2011
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5.3 Marriage Requests                                         3. Ordinarily, a detainee’s request for permission to
                                                                 marry shall be granted.
I. Purpose and Scope                                          4. The facility shall provide communication
                                                                 assistance to detainees with disabilities and
This detention standard ensures that each marriage               detainees who are limited in their English
request from an ICE/ERO detainee receives a case-                proficiency (LEP). The facility will provide
by-case review, based on internal guidelines for                 detainees with disabilities with effective
approval of such requests.                                       communication, which may include the
The guidelines provided in this Detention Standard are           provision of auxiliary aids, such as readers,
internal and shall not be construed as creating rights           materials in Braille, audio recordings, telephone
for detainees or other persons or preventing the facility        handset amplifiers, telephones compatible with
administrator from exercising discretion in conducting           hearing aids, telecommunications devices for deaf
the required case-by-case review.                                persons (TTYs), interpreters, and note-takers, as
This detention standard applies to the following                 needed. The facility will also provide detainees
types of facilities housing ERO detainees:                       who are LEP with language assistance, including
                                                                 bilingual staff or professional interpretation and
  x   Service Processing Centers (SPCs);                         translation services, to provide them with
  x                                                              meaningful access to its programs and activities.
      Contract Detention Facilities (CDFs); and
                                                                         , I n c.
  x State or local government facilities used by
                                                            r e C  ivic 022
                                                                  All written materials provided to detainees shall
      ERO through Intergovernmental Service
                                                     v. Co         r  1    ,2
                                                                  generally be translated into Spanish. Where
                                                                        4
                                                win
      Agreements (IGSAs) to hold detainees for moreo        m  be
                                                                  practicable, provisions for written translation shall
                                          n  O          c e       be made for other significant segments of the
                                  ted i 5221, De
      than 72 hours.
                              c  i                                population with limited English proficiency.

                                   .  2 1 -5 for
Procedures in italics are specifically required
                                                            Oral interpretation or assistance shall be provided
                             No facilities. Non-
SPCs, CDFs, and Dedicated IGSA
                                                            to any detainee who speaks another language in
dedicated IGSA facilities must conform to these
                                                                  which written material has not been translated or
procedures or adopt, adapt or establish alternatives,
                                                                  who is illiterate.
provided they meet or exceed the intent represented
by these procedures.                                          III. Standards Affected
Various terms used in this standard may be defined
                                                              This detention standard replaces “Marriage
in standard “7.5 Definitions.”
                                                              Requests” dated 12/2/2008.
II. Expected Outcomes                                         IV. References
The expected outcomes of this detention standard
                                                              None
are as follows (specific requirements are defined in
“V. Expected Practices”).                                     V. Expected Practices
1. Each marriage request from an ICE/ERO detainee
                                                              A. Written Policy and Procedures
   shall be reviewed on a case-by-case basis.
                                                                 Required
2. Consistency in decisions to approve or deny a
   marriage request shall be achieved by the                  All facilities shall have in place written policy and
   application of guidelines.                                 procedures to enable eligible ICE/ERO detainees to



5.3 | Marriage Requests                                     367                                        PBNDS 2011
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marry.                                                    3. IGSAs

B. Detainee Notification                                  The facility administrator shall notify and consult the
                                                          respective Assistant Field Office Director, who shall
The National Detainee Handbook and local facility         use the guidelines below to approve or deny the
supplement, provided each detainee upon                   request. Approval or denial of all marriage requests
admittance, shall advise detainees of the facility’s      should be reviewed by the FOD (or designee).
marriage request procedures.
                                                          a. The FOD (or designee), after whatever
C. Detainee Request to Marry                                 consultations he or she believes are advisable,
A detainee, or his/her legal representative, may             may uphold or reverse the facility administrator’s
submit to the facility administrator or Field Office         denial.
Director (FOD) a written request for permission to        b. If the request is approved, the marriage
marry.                                                       ceremony shall take place at the facility. If
The request must:                                            necessary under some extraordinary
                                                             circumstances, ICE/ERO may assume temporary
1. specifically express that the detainee is legally         custody of the detainee for the marriage
   eligible to be married in the state where the             ceremony.
   detainee is being held; and
                                                          If the request is denied, ICE/ERO shall notify the
2. be accompanied by the intended spouse’s written
                                                                     ,  In  c.
                                                                ivic 022
                                                          detainee, in writing, of the reasons for the denial
   affirmation of his/her intent to marry the
                                                         re C
                                                          within 30 days from the date of the request.
   detainee.
                                                  v    o
                                                   . CDetainees r 1 4  , 2legal assistance throughout the
D. Consideration and Approval Owin
                                                o        m beapplication process.
                                                                may seek
                                     in            e c e
                                                      marriage
1. SPCs and CDFs             cited 55221, D E. Guidelines
                               o . 21-or deny a
                            N
The facility administrator may approve
marriage request, using the guidelines that follow.
                                                      When a detainee requests permission to marry:

Approval or denial of all marriage requests should be     1. The facility administrator or Field Office Director
reviewed by the FOD or designee.                             shall consider each marriage request on a case-by-
                                                             case basis.
a. Any facility administrator’s decision to deny a
   marriage request shall be forwarded to the             2. A detainee’s request for permission to marry shall
   respective FOD for review.                                be denied if:

b. The Field Office Director (or designee), after             a. the detainee is not legally eligible to be
   whatever consultations he or she believes are                 married;
   advisable, may uphold or reverse the facility              b. the detainee is not mentally competent, as
   administrator’s denial.                                       determined by a qualified medical practitioner;
If the request is denied, ICE/ERO shall notify the            c. the intended spouse has not affirmed, in
detainee, in writing, of the reasons for the denial              writing, his/her intent to marry the detainee;
within 30 days from the date of the request.
                                                              d. the marriage would present a threat to the
Detainees may seek legal assistance throughout the               security or orderly operation of the facility; or
marriage application process.
                                                              e. there are compelling government interests for



5.3 | Marriage Requests                                 368                                         PBNDS 2011
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      denying the request.                                      persons acting on his/her behalf shall be
                                                                accommodated, consistent with the security and
   If the request is denied, the detainee may file an
                                                                orderly operation of the facility, according to the
   appeal to the Field Office Director.
                                                                following stipulations:
3. When a request is approved, the detainee, legal
                                                                a. the ceremony shall take place inside the
   representative or other individual(s) acting on
                                                                   facility; the detainee may not leave the facility
   his/her behalf must make all the marriage
                                                                   to make arrangements;
   arrangements, including, but not limited to:
                                                                b. all expenses relating to the marriage shall be
   a. blood tests;
                                                                   borne by the detainee or person(s) acting on
   b. obtaining the marriage license; and                          his/her behalf; and
   c. retaining an official to perform the marriage             c. the ceremony shall be private with no media
      ceremony.                                                    publicity. Only individuals essential for the
      ICE/ERO personnel shall not participate in                   marriage ceremony, such as required witnesses
      making marriage arrangements nor serve as                    may attend.
      witnesses in the ceremony.                                The facility administrator or FOD reserves the
4. The facility administrator or designated Field               right of final approval concerning the time, place
                                                                and manner of all arrangements.
   Office staff shall notify the detainee in a timely
                                                                             ,  In c.
   manner of a time and place for the ceremony.
                                                                 re C  ivic of Approval
                                                             F. Revocation
                                                                                       22
                                                                                    0approval
   The marriage may not interrupt regular or
                                                          . C o           1  4 ,  2
   scheduled processing or action in a detainee’s ino v                 r
                                                             The  FOD  may  revoke            of a marriage request
                                                                   b e
                                         i n  Ow nor Decfor  e m good cause in writing to the detainee. In such
                                   ted facility
   legal case. Specifically, it may neither interrupt
   stay any hearing, transfer c toianother       2 2  1 ,    instances, the detainee may file an appeal.
                                           -55
                                                   or
   removal from the United States.
                                  o . 2 1                    G. Documentation in Detention File
                               N
   Transfers shall not occur solely to prevent a             Once the marriage has taken place, the facility
   marriage.                                                 administrator shall forward original copies of all
5. Ordinarily, arrangements made by the detainee or          documentation to the detainee’s A-file and maintain
                                                             copies in the facility’s detention file.




5.3 | Marriage Requests                                  369                                          PBNDS 2011
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5.4 Recreation                                                    physical exercise outside the living area, and
                                                                  outdoors when practicable. Facilities lacking
I. Purpose and Scope                                              formal outdoor recreation areas are encouraged to
                                                                  explore other, secure outdoor areas on facility
This detention standard ensures that each detainee                grounds for recreational use. Daily indoor
has access to recreational and exercise programs and              recreation shall also be available. During
activities, within the constraints of safety, security            inclement weather, detainees shall have access to
and good order.                                                   indoor recreational opportunities, preferably with
                                                                  access to natural light.
This detention standard applies to the following
types of facilities housing ICE/ERO detainees:                **Detainees shall have at least four hours a day
                                                              access, seven days a week, to outdoor recreation,
    x   Service Processing Centers (SPCs);
                                                              weather and scheduling permitted. Outdoor
    x   Contract Detention Facilities (CDFs); and             recreation shall support leisure activities, outdoor
                                                              sports and exercise as referenced and defined by the
    x   State or local government facilities used by          National Commission on Correctional Health Care
        ERO through Intergovernmental Service                 Standards, provided outside the confines of the
        Agreements (IGSAs) to hold detainees for              housing structure and/or other solid enclosures.
        more than 72 hours.
Procedures in italics are specifically required for
                                                                           , I   c.
                                                              3. Any detainee housed in a facility that does not
                                                                              n
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                                               r e    ivic 022
                                                                 meet minimum standards for indoor and outdoor
                                                                   C
                                                         . Co er 14, 2
                                                                 recreation shall be considered for voluntary
dedicated IGSA facilities must conform to these
                                                  in  o v        transfer to a facility that does meet minimum
                                                                 b
                                             O w
procedures or adopt, adapt or establish alternatives,
                                                           c e m
                                      d inrepresented
                                                                 standards for indoor and outdoor recreation.
                                c ite
provided they meet or exceed the intent
                                                2  1  , De 4. Each detainee in a Special Management Unit
by these procedures.
                                      2 1 - 552
                               No. that appear in
                                                               (SMU) shall receive (or be offered) access to
For all types of facilities, procedures                        exercise opportunities and equipment outside the
italics with a marked (**) on the page indicate                   living area and outdoors, when practicable, unless
optimum levels of compliance for this standard.                   documented security, safety or medical
Various terms used in this standard may be defined                considerations dictate otherwise. Detainees in the
in standard “7.5 Definitions.”                                    SMU for administrative reasons shall receive at
                                                                  least one (1) hour a day, seven (7) times a week,
II. Expected Outcomes                                             detainees in the SMU for disciplinary reasons shall
                                                                  receive at least one (1) hour a day, five (5) times
The expected outcomes of this detention standard
                                                                  per week.
are as follows (specific requirements are defined in
“V. Expected Practices”).                                     5. Each recreation volunteer who provides or
                                                                 participates in facility recreational programs shall
1. Detainees shall have daily opportunities at a
                                                                 complete an appropriate, documented orientation
   reasonable time of day to participate in leisure-
                                                                 program and sign an acknowledgement of
   time activities outside their respective living areas.
                                                                 his/her understanding of the applicable rules and
2. Detainees shall have access to exercise                       procedures and agreement to comply with them.
   opportunities and equipment at a reasonable time
                                                              6. The facility shall provide communication
   of day, including at least one hour daily of
                                                                 assistance to detainees with disabilities and


5.4 | Recreation                                            370                                       PBNDS 2011
                                                                                            (Revised December 2016)
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   detainees who are limited in their English                    outdoor recreation. However, in exceptional
   proficiency (LEP). The facility will provide                  circumstances, a facility lacking outdoor
   detainees with disabilities with effective                    recreation opportunities or any recreation area
   communication, which may include the                          may be used to provide short-term housing.
   provision of auxiliary aids, such as readers,
                                                              2. If a facility does not have an outdoor area, a large
   materials in Braille, audio recordings, telephone
                                                                 recreation room with exercise equipment and
   handset amplifiers, telephones compatible with
                                                                 access to sunlight shall be provided.
   hearing aids, telecommunications devices for deaf
   persons (TTYs), interpreters, and note-takers, as          3. If a detainee is housed for more than 10 days in a
   needed. The facility will also provide detainees              facility that provides neither indoor nor outdoor
   who are LEP with language assistance, including               recreation, he/she may be eligible for a voluntary
   bilingual staff or professional interpretation and            transfer to a facility that does provide recreation.
   translation services, to provide them with                 4. If a detainee is housed for more than three
   meaningful access to its programs and activities.             months in a facility that provides only indoor
   All written materials provided to English speaking            recreation, he/she may be eligible for a voluntary
   detainees shall generally be translated into                  transfer to a facility that provides outdoor
   Spanish. Where practicable, provisions for written            recreation.
   translation shall be made for other significant            B. Recreation Schedule
   segments of the population with limited English
                                                                             ,  In c.
                                                            If outdooriv
                                                                     C    ic is available
                                                                        recreation
                                                                                      2 2      at the facility, each
   proficiency.
                                                                r e
                                                              o in general          0
                                                                               , 2population shall have access for
   Oral interpretation or assistance shall be providedo v. C                4
                                                            detainee
                                                   iinn            be  r  1
                                             O  w           at
                                                            e
                                                               least
                                                               m     one hour,  seven days a week, at a reasonable

                                 t
   which written material has inote     intranslated1or, Dectime of day, weather permitting.
   to any detainee who speaks another language
                                    d
                              c              522
                                    been
   who is illiterate.
                                    2 1  - 5                Detainees shall have access to clothing appropriate

III. Standards Affected     No.                             for weather conditions.
                                                              If only indoor recreation is available, detainees in
This detention standard replaces “Recreation” dated           general population shall have access for no less than
12/2/2008.                                                    one hour, seven days a week and shall have access to
                                                              natural light.
IV. References                                                **Detainees in the general population shall have
American Correctional Association, Performance-               access at least four hours a day, seven days a week to
based Standards for Adult Local Detention                     outdoor recreation, weather and scheduling
Facilities, 4th Edition: 4-ALDF-5C-01, 5C-02, 5C-             permitted. Daily indoor recreation shall also be
03, 5C-04, 2A-66, 5A-01, 6B-04, 7B-03, 7C-02, 7F-             available. During inclement weather, detainees shall
05.                                                           have access to indoor recreational opportunities with
                                                              access to natural light.
V. Expected Practices                                         Recreation schedules shall be provided to the
A. Indoor and Outdoor Recreation                              detainees or posted in the facility.

1. It is expected that every ICE/ERO detainee shall           Under no circumstances shall the facility require
   be placed in a facility that provides indoor and           detainees to forgo basic law library privileges for
                                                              recreation privileges. (See standard “6.3 Law

5.4 | Recreation                                          371                                         PBNDS 2011
                                                                                             (Revised December 2016)
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Libraries and Legal Material.”)                                    shall also issue all portable equipment items, and
                                                                   check each item for damage and general
C. Recreation Specialist
                                                                   condition upon its return.
The facility administrator shall designate an                   7. Programs and activities are subject to the facility’s
individual responsible for the development and                     security and operational guidelines and may be
oversight of the recreation program. Every facility                restricted at the facility administrator’s discretion.
with a rated capacity of 350 or more ICE detainees
shall employ a fulltime recreation specialist with              8. Recreation areas shall be under continuous
special training in implementing and overseeing a                  supervision by staff equipped with radios or other
recreation program. The recreation specialist shall                communication devices to maintain contact with
assess the needs and interests of the detainees.                   the Control Center.

D. General Requirements                                         9. Contraband searches of detainees who are moving
                                                                   from locked cells or housing units to recreation
1. All facilities shall provide recreational                       areas shall be conducted in accordance with
   opportunities for detainees with disabilities.                  standard “2.10 Searches of Detainees.”
2. Exercise areas shall offer a variety of equipment.           10. Detainees may engage in independent recreation
   Weight training, if offered, must be limited to                  activities, such as board games and small-group
   fixed equipment. Free weights are prohibited.                    activities, consistent with the safety, security and
                                                                                 ,   In c.
                                                                          ivicadministrator
3. Cardiovascular exercise shall be available to                    orderly operation of the facility.
   detainees for whom outdoor recreation is
                                                               C o
                                                                11. re
                                                                    TheCfacility
                                                                                4  ,   2 022 shall establish facility
   unavailable.
                                                 w  i n  o v. mpolicy b      1
                                                                        erconcerning      television viewing in
4. Recreational activities shall be basedin   O            D e c e  dayrooms.    All television  viewing schedules shall
                                 ite d    on the
   facility’s size and location.cRecreational      21    ,
                                           5
                                          - as5 2
                                              activities            be subject to the facility administrator’s approval.

                                 o . 21such
   may include limited-contact sports,                              **Detainees shall be provided FM wireless
                              N
   soccer, basketball, volleyball and table games, and              headsets for television viewing, with access to
   may extend to intramural competitions among                      appropriate language stations or choices.
   units.
                                                                E. Recreation for a Special Management
   Dayrooms in general population housing units
                                                                   Unit (SMU)
   shall offer board games, television and other
   sedentary activities.                                        Recreation for detainees housed in the SMU shall
   Detention personnel shall supervise dayroom                  occur separately from recreation for the general
   activities, distributing games and other recreation          population.
   materials daily.                                             Facilities are encouraged to maximize opportunities
5. All detainees participating in outdoor recreation            for group participation in recreation and other
   shall have access to drinking water and toilet               activities, consistent with safety and security
   facilities.                                                  considerations. Recreation for certain individuals
                                                                shall occur separate from all other detainees when
6. Detention or recreation staff shall search                   necessary or advisable to prevent assaults and reduce
   recreation areas before and after use to detect              management problems. The facility administrator
   altered or damaged equipment, hidden                         shall develop and implement procedures to ensure
   contraband and potential security breaches. They             that detainees who must be kept apart never


5.4 | Recreation                                           372                                           PBNDS 2011
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participate in activities in the same location at the           supervisor, and shall document the reasons in the
same time.                                                      unit logbook(s). The supervisor may also require
Unless documented security, safety or medical                   additional written documentation for the facility
considerations dictate otherwise:                               administrator. When a detainee in an SMU is
                                                                deprived of recreation (or any usual authorized
Each detainee in a Special Management Unit (SMU)                items or activity), a written report of the action
shall receive (or be offered) access to exercise                shall be forwarded to the facility administrator.
opportunities and equipment outside the living area             Denial of recreation must be evaluated daily by a
and outdoors, unless documented security, safety or             shift supervisor.
medical considerations dictate otherwise.
                                                            2. A detainee in disciplinary segregation may
Detainees in the SMU for administrative reasons shall          temporarily lose recreation privileges upon a
be offered at least one hour of exercise opportunities         disciplinary panel’s written determination that
per day, seven days a week, outside their cells, and           he/she poses an unreasonable risk to the facility,
outdoors when practicable, and scheduled at a                  himself/herself or others.
reasonable time.
                                                            3. When recreation privileges are suspended, the
**Facilities operating at the optimal level shall offer        disciplinary panel or facility administrator shall
detainees at least two hours of recreation or exercise         provide the detainee written notification, as well
opportunities per day, seven days a week.
                                                                           , Inc.
                                                               as documentation of the reason for the
Detainees in the SMU for disciplinary reasons shall
                                                             r e C  ivic 022
                                                               suspension, any conditions that must be met

                                                       . Co er 14, 2
be offered at least one hour of exercise opportunities         before restoration of privileges, and the duration

                                                in  o
per day, five days per week, outside their cells, and v        of the suspension provided the requisite
                                                                b
                                           O w           c e m
                                       in
outdoors when practicable, and scheduled at a          e       conditions are met for its restoration.
reasonable time.              cited 55221, D 4. The case of a detainee denied recreation privileges
                                o .
**Facilities operating at the optimal 1- shall offer
                                    2level                   shall be reviewed at least once each week as part
                             N
detainees at least one hour of recreation or exercise        of the reviews required for all detainees in SMU
opportunities per day, seven days a week.                       status.

Where cover is not provided to mitigate inclement           5. In accordance with SMU procedures, and using
weather, detainees shall be provided weather-                  the forms required in standard “2.12 Special
appropriate equipment and attire.                              Management Units,” the reviewer(s) shall state, in
                                                               writing, whether the detainee continues to pose a
The recreation privilege shall be denied or                    threat to self, others, or facility security and, if so,
suspended only if the detainee’s recreational activity         why.
may unreasonably endanger safety or security:
                                                            6. Denial of recreation privileges for more than
1. A detainee may be denied recreation privileges              seven days requires the concurrence of the facility
   only with the facility administrator’s written              administrator and a health care professional. It is
   authorization, documenting why the detainee                 expected that such denials shall rarely occur and
   poses an unreasonable risk even when recreating             only in extreme circumstances.
   alone; however, when necessary to control an
   immediate situation for reasons of safety and            7. The facility shall notify the ICE/ERO Field Office
   security, SMU staff may deny an instance of                 Director in writing when a detainee is denied
   recreation, upon verbal approval from the shift             recreation privileges in excess of seven days.


5.4 | Recreation                                          373                                          PBNDS 2011
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F. Other Programs and Activities                             3. other organized activities or recreational
                                                                programs.
Facilities shall offer access to leisure reading
materials, through libraries with regular hours, book        G. Volunteer Program Involvement
carts or other means. Reading materials in English,
                                                             A volunteer group may provide a special recreational
Spanish and, if practicable, other languages, should
                                                             or educational program, consistent with security
be made available.
                                                             considerations, availability of detention personnel to
** Facilities shall offer other programmatic activities,     supervise participating detainees, and sufficient
such as:                                                     advance notification to the facility administrator.
1. educational classes or speakers;                          Standard “5.7 Visitation” details requirements that
                                                             must be met for a volunteer to be approved to visit
2. sobriety programs such as alcoholics anonymous;
                                                             with or provide religious activities for detainees.
   and




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5.4 | Recreation                                           374                                       PBNDS 2011
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5.5 Religious Practices                                     2. All religions represented in a detainee population
                                                               shall have equal status without discrimination
I. Purpose and Scope                                           based on any detainee’s race, ethnicity, religion,
                                                               national origin, gender, sexual orientation or
This detention standard ensures that detainees of              disability;
different religious beliefs are provided reasonable         3. Each facility’s religious program shall be planned,
and equitable opportunities to participate in the              administered and coordinated in an organized
practices of their respective faiths, constrained only         and orderly manner;
by concerns about safety, security and the orderly
operation of the facility.                                  4. Adequate space, equipment and staff (including
                                                               security and clerical) shall be provided for in
This detention standard applies to the following               order to conduct and administer religious
types of facilities housing ICE/ERO detainees:                 programs;
  x   Service Processing Centers (SPCs);                    5. The chaplain or religious services coordinator will
  x   Contract Detention Facilities (CDFs); and                make documented efforts to recruit external
                                                               clergy or religious service providers to provide
  x   State or local government facilities used by             services to adherents of faith traditions not
      ERO through Intergovernmental Service                    directly represented by chaplaincy or religious
      Agreements (IGSAs) to hold detainees for more
                                                                                In  c.
                                                               services provider staff. Detainees are encouraged
                                                                             ,
      than 72 hours.
                                                                   C  ivic 022
                                                               to provide information about local religious
                                                               r e
Procedures in italics are specifically required for
                                                      o v. Co er 14, 2
                                                               providers;
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                             O   w  in       e
                                                            6. m  b facility’s religious program shall be
                                                               Each
                                                           c
                                      d into these21, De augmented and enhanced by community clergy,
                              c  ite
dedicated IGSA facilities must conform
                                          - 5 52
procedures or adopt, adapt or establish alternatives,
                                        1                      contractors, volunteers and groups who provide
                                      2
by these procedures.
                             N the. intent represented
provided they meet or exceed o                                 individual and group assembly religious services
                                                               and counseling;
For all types of facilities, procedures that appear in      7. Detainees in Special Management Units (SMUs)
italics with a marked (**) on the page indicate                and hospital units shall have access to religious
optimum levels of compliance for this standard.                activities and practices to the extent compatible
Various terms used in this standard may be defined             with security and medical requirements;
in standard “7.5 Definitions.”                              8. Special diets shall be provided for detainees
                                                               whose religious beliefs require adherence to
II. Expected Outcomes                                          religious dietary laws; and
The expected outcomes of this detention standard            9. Detainees shall be provided information about
are as follows (specific requirements are defined in           religious programs at the facility, including how
“V. Expected Practices”):                                      to contact the chaplain or religious services
1. Detainees shall have regular opportunities to               coordinator, how to request visits or services by
   participate in practices of their religious faiths,         other religious services providers, how to request
   limited only by a documented threat to the safety           religious diets and how to access religious
   of persons involved in such activity itself or              property and headwear as part of the facility’s
   disruption of order in the facility;                        admission and orientation program in a language


5.5 | Religious Practices                                375                                       PBNDS 2011
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   or manner the detainee can understand.                        x   “4.1 Food Service”; and
10. The facility shall provide communication                     x   “5.7 Visitation.”
    assistance to detainees with disabilities and
                                                             The Religious Freedom Restoration Act of 1993
    detainees who are limited in their English
                                                             (RFRA), 42 U.S.C. § 2000bb et seq.
    proficiency (LEP). The facility will provide
    detainees with disabilities with effective               Religious Land Use and Institutionalized Persons Act
    communication, which may include the                     of 2000 (RLUIPA), 42 U.S.C. § 2000cc et seq.
    provision of auxiliary aids, such as readers,
    materials in Braille, audio recordings, telephone        V. Expected Practices
    handset amplifiers, telephones compatible with           A. Religious Opportunities and Limitations
    hearing aids, telecommunications devices for
    deaf persons (TTYs), interpreters, and note-             1. Detainees shall have opportunities to engage in
    takers, as needed. The facility will also provide           practices of their religious faith consistent with
    detainees who are LEP with language assistance,             safety, security and the orderly operation of the
    including bilingual staff or professional                   facility. Religious practices to be accommodated
    interpretation and translation services, to provide         are not limited to practices that are compulsory,
    them with meaningful access to its programs and             central or essential to a particular faith tradition,
    activities.                                                 but cover all sincerely held religious beliefs.
                                                                               Inc.
                                                                Attendance at all religious activities is voluntary.
                                                                            ,
   All written materials provided to detainees shall
                                                               e C     vicbe made2to2allow for religious
                                                                     ishall
                                                             r                , 20 that does not adversely affect
                                                             Efforts
                                                         Copracticerin1a4manner
   generally be translated into Spanish. Where
                                                      v.
                                                 ino            be not participating in the practice.
   practicable, provisions for written translation shall
                                           O   w         c e m
                                                             detainees
                                        in
   be made for other significant segments of the
                                                       e Detainees cannot be required to participate in or
                              cited 55221, D
   population with limited English proficiency.

                                  .
   Oral interpretation or assistance2 1  -be provided
                                     shall
                                                             attend a religious activity in order to receive a
                            Noanother language in
   to any detainee who speaks
                                                             service of the facility or participate in other, non-
                                                                 religious activities. Chaplains, religious services
   which written material has not been translated or
                                                                 coordinators and volunteers shall not provide
   who is illiterate.
                                                                 unsolicited religious services or counseling to
III. Standards Affected                                          detainees.
                                                             2. Religious activities shall be open to the entire
This detention standard replaces “Religious
                                                                detainee population, without discrimination
Practices” dated 12/2/2008.
                                                                based on a detainee’s race, ethnicity, religion,
IV. References                                                  national origin, gender, sexual orientation or
                                                                disability.
American Correctional Association, Performance-
                                                                 Language services shall be provided to detainees
based Standards for Adult Local Detention
                                                                 who have limited English proficiency to provide
Facilities, 4th Edition: 4-ALDF-5C-17, 5C-18, 5C-
                                                                 them with meaningful access to religious
19, 5C-20, 5C-21, 5C-22, 5C-23, 5C-24, 2A-66,
                                                                 activities. As needed, accommodations will be
4A-10, 6B-02, 6B-05, 7B-03, 7F-04.
                                                                 provided to detainees with disabilities to provide
ICE/ERO Performance-based National Detention                     them with equal access to religious services.
Standards 2011:
                                                             3. When necessary for the security or the orderly


5.5 | Religious Practices                                  376                                         PBNDS 2011
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   operation of the facility, the facility administrator      and any subsequent changes in the detainee’s
   may discontinue a religious activity or practice or        religious designation. Detainees whose files show
   limit participation to a reasonable number of              “No Preference” may be restricted from
   detainees or to members of a particular religious          participation in those activities deemed appropriate
   group after consulting with the chaplain or                for members only.
   religious services coordinator. Facility records
                                                              C. Chaplains or Other Religious Services
   shall reflect the limitation or discontinuance of a
   religious practice, as well as the reason for such            Coordinators
   limitation or discontinuance.                              The facility administrator shall designate a staff
4. Ordinarily, when the nature of the activity or             member, contractor or volunteer to manage and
   practice (e.g., fasts, ceremonial meals, headwear          coordinate religious activities for detainees.
   requirements, work proscriptions) indicates a              Ordinarily, that person shall be the facility chaplain,
   need for such a limitation, only those detainees           who shall, in cooperation with the facility
   whose files reflect the pertinent religious                administrator and staff, plan, direct and supervise all
   preference shall be included.                              aspects of the religious program, including approval
                                                              and training of both lay and clergy volunteers from
5. When a detainee submits a request concerning
                                                              faiths represented in the detainee population. The
   the reason for denial of access to religious
                                                              facility administrator shall provide non-detainee
   activities, facilities or meals, a copy of the request
                                                                                 In c.
                                                              clerical staff support for confidential materials.
                                                                              ,
   and response to the request shall be placed in the
                                                                  e  C  iviorc other0religious
                                                             Therchaplain              22 services coordinator,
   detention file.
                                                         v. C o             1 4 ,  2
B. Religious Preferences                           in o      regardless
                                                                    b e rof his/her specific religious affiliation,

                                       in   Ow Decshall      emhave basic knowledge of different religions and
                             c
Each detainee shall designate any  d
                               itereligious      2   1 ,     shall ensure equal status and protection for all
                                              2
                                         -55Staff,
                                      1
preference, or none, during in processing.
                                 . 2
                                                             religions.
                            Nonot disparage the
contractors and volunteers may                               The chaplain or other religious services coordinator
religious beliefs of a detainee, nor coerce or harass a       shall have physical access to all areas of the facility to
detainee to change religious affiliation.                     serve detainees.
A detainee may request to change his/her religious            A chaplain shall have a minimum qualification of
preference designation at any time by notifying the           clinical pastoral education or specialized training,
chaplain, religious services coordinator or other             and endorsement by the appropriate religious-
designated individual in writing, and the change              certifying body. In lieu of these, the facility
shall be effected in a timely fashion.                        administrator may accept adequate documentation of
In the interest of maintaining the security and               recognized religious or ministerial position in the
orderly running of the facility and to prevent abuse          faith community.
or disrespect by detainees of religious practice or           The chaplain shall be available to provide pastoral
observance, the chaplain or religious services                care and counseling to detainees who request it, both
coordinator shall monitor patterns of changes in              through group programs and individual services.
declarations of religious preference.                         Detainees who belong to a religious faith different
In determining whether to allow a detainee to                 from that of the chaplain or religious services
participate in specific religious activities, staff may       provider staff may, if they prefer, have access to
refer to the initial religious preference information         pastoral care and counseling from external clergy and


5.5 | Religious Practices                                   377                                         PBNDS 2011
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religious service providers. The chaplain may, for the       If outdoor recreation is available at the facility,
purpose of informed decision-making, ask a detainee          detainees shall have opportunities for outside
to explain special or unfamiliar requests.                   worship, prayer and meditation, which shall be
If the facility has a religious services coordinator         provided in a manner that does not conflict with
rather than a chaplain, the coordinator shall have the       meal times.
necessary training to connect detainees with a broad         E. Contractors and Volunteers
range of religious services and be prepared to
arrange religious services for multiple faith traditions     All facilities shall have procedures so that clergy,
and connect incoming detainees with resources and            contractors, volunteers and community groups may
services specific to the detainee’s particular faith.        provide individual and group assembly religious
                                                             services and counseling that augment and enhance
The term “individual services” includes counseling           the religious program. When recruiting citizen
services provided to individual detainees or members         volunteers, the chaplain or religious services
of their families in personal crisis and family              coordinator and other staff shall be cognizant of the
emergency situations.                                        need for representation from all cultural and
D. Schedules and Facilities                                  socioeconomic parts of the community. Each facility
                                                             shall provide security, including staff escorts, to
All facilities shall designate adequate space for            allow such individuals and groups facility access for
religious activities.
                                                                             ,  In  c.
                                                             sanctioned religious activities.
This designated space must be sufficient to
                                                               r e  C  iviorc religious
                                                            The chaplain
                                                                                    0 2  2 coordinator may
                                                                                        services
accommodate the needs of all religious groups in the
                                                          .C o            1  4 ,  2
detainee population fairly and equitably and the ino v
                                                            contract  with representatives  of faith groups in the
                                                                       r
                                                                  be to provide specific religious services that
                                              O   w        c e m
                                                            community
                                     d iinnreligious
general area shall include office space for
                              citeused
                                             the
                                                   2 1 , De he/she cannot personally deliver, and may secure
chaplain, storage space for items
                                    2  1  - 552for          the assistance and services of volunteers.

                            No.
programs, and proximity to lavatory    facilities
                                                            “Representatives of faith groups” includes both
staff and volunteers.
                                                             clergy and spiritual advisors. All contractual
Religious service areas shall be maintained in a             representatives of detainee faith groups shall be
neutral fashion suitable for use by various faith            afforded the same status and treatment to assist
groups.                                                      detainees in observing their religious beliefs, unless
The chaplain or religious services coordinator shall         the security and orderly operation of the facility
schedule and direct the facility’s religious activities,     warrant otherwise.
and current program schedules shall be posted on all         Standard “5.7 Visitation” details requirements that
unit and detainee bulletin boards in languages               must be met for a volunteer to be approved to visit
understood by a majority of detainees.                       with and/or provide religious activities for
When scheduling approved religious activities,               detainees, including advance notice, identification, a
chaplains or religious services coordinator must             background check, an orientation to the facility and
consider both the availability of staff supervision and      a written agreement to comply with applicable rules
the need to allot time and space equitably among             and procedures. Visits from religious personnel shall
different groups. The chaplain or religious services         not count against a detainee’s visitor quota.
coordinator shall not ordinarily schedule religious          Provided they meet established security requirements
services to conflict with meal times.                        for entrance into the facility, religious services
                                                             providers’ interpreters shall be allowed to


5.5 | Religious Practices                                  378                                       PBNDS 2011
                                                                                           (Revised December 2016)
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accompany the religious services provider within the          religious service coordinator. Requests shall be
facility.                                                     accommodated consistent with the terms of the
The facility administrator or designee (ordinarily the        representative’s contract and the security and orderly
chaplain) may require a recognized representative of          operation of the facility.
a faith group to verify the religious credentials of          If the representative of the faith group is a volunteer,
contractors or volunteers prior to approving their            he/she shall at all times be escorted in an SMU.
entry into the facility.
                                                              H. Introduction of New or Unfamiliar
Detainees who are members of faiths not represented              Religious Components
by clergy may conduct their own services, provided
these do not interfere with facility operations.              If a detainee requests the introduction of a new or
                                                              unfamiliar religious practice, the chaplain or
F. Pastoral Visits                                            religious services coordinator may ask the detainee
If requested by a detainee, the chaplain or religious         to provide additional information to use in deciding
services coordinator or designee shall facilitate             whether to include the practice.
arrangements for pastoral visits by a clergyperson or         Detainees may make a request for the introduction of
representative of the detainee’s faith.                       a new component to the Religious Services program
The chaplain or religious services coordinator may            (e.g., schedule, meeting time and space, religious
request documentation of the person’s religious
                                                                             ,  I   c.
                                                              items and attire) to the chaplain or religious services
                                                                                 n
credentials, as well as a criminal background check.
                                                                 re    ivic 022
                                                              coordinator. The chaplain or religious services
                                                                    C
Pastoral visits shall ordinarily take place in a private v. Co
                                                                       r  1 4  ,2
                                                              coordinator may ask the detainee to provide
visiting room during regular visiting hours.Owin
                                                        o          be
                                                              additional information to use in deciding whether to
                                                                 m
                                          in visitation   De c e
                                                              include the practice. Ordinarily, the process shall
Accommodation may be made in
                                c it  d legal
                                    ethe            2 1 ,
                                             552
                                                              require up to 30 business days for completion.
area when available.
                                      2  1 -
G. Detainees in Special           o.
                              NManagement                     The chaplain or religious services coordinator shall
                                                              research the request and make recommendations to
   (SMU) and Hospital Units                                   the facility administrator, who shall add his/her own
                                                              recommendations and forward them to the
Detainees in an SMU (e.g., administrative,
                                                              respective Field Office Director for approval. Such
disciplinary or protective custody) or hospital unit
                                                              decisions are subject to the facility’s requirement to
shall be permitted to participate in religious
                                                              maintain a safe, secure and orderly facility, and the
practices, consistent with the safety, security and
                                                              availability of staff for supervision. The Field Office
orderly operation of the facility.
                                                              Director shall forward the final decision to the
Detainees in an SMU or hospital unit shall have               facility administrator, and the chaplain or religious
regular access to the chaplain or other religious             services coordinator shall communicate the decision
services provider staff. The chaplain or other                to the detainee.
religious services provider staff shall provide pastoral
care in SMUs and hospital units weekly at minimum.            I. Religious Holy Days
Detainees of any faith tradition may ordinarily have          Each facility shall have in place written policy and
access to official representatives of their faith groups      procedures to facilitate detainee observance of
while housed in SMUs or hospital units, by                    important holy days, consistent with the safety,
requesting such visits through the chaplain or other          security and orderly operation of the facility, and the



5.5 | Religious Practices                                  379                                         PBNDS 2011
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chaplain or religious services coordinator shall work       1. prayer shawls and robes;
with detainees to accommodate proper observances.
                                                            2. kurda or ribbon shirts;
The facility administrator shall facilitate the
                                                            3. medals and pendants;
observance of important religious holy days that
involve special fasts, dietary regulations, worship or      4. beads; and
work proscription. When the facility administrator,         5. various types of headwear.
chaplain or religious services provider is unfamiliar
with the requested observance, the facility                 “Appendix 5.5.A: Religious Headwear, Garments
administrator may direct the chaplain or religious          and Other Religious Property” provides examples of
services coordinator to consult with community              acceptable religious headwear, garments and other
representatives of the detainee’s faith group and other     religious property. There may be circumstances in
appropriate sources.                                        which it is not advisable to permit the use of these
                                                            items in a facility. Nothing in these guidelines is
J. Religious Property and Personal Care                     intended to prevent facilities from making
                                                            individualized decisions based on the need to
Each facility administrator shall allow detainees to
                                                            maintain good order and the safety of detainees and
have access to personal religious property, consistent
                                                            staff. Any denial and the reason for it shall be
with the safety, security and orderly operation of the
                                                            documented and placed in the alien’s detention file.
facility. If necessary, the religious significance of
such items shall be verified by the chaplain prior to
                                                            , Inc.
                                                            Religious headwear, notably kufis, yarmulkes,
facility administrator approval. The facility
                                                    re Civic 022
                                                            turbans, crowns and headbands, as well as scarves
administrator may also direct the chaplain or
                                           o v. Co er 14, 2 and head wraps for Orthodox Christian, Muslim and
                                        win
religious services coordinator to obtain information
                                       O          e m b     Jewish women are permitted in all areas of the
                                    in        e c
                            cited 55221, D
and advice from representatives of the detainee’s           facility, subject to the normal considerations of the
faith group or other appropriate sources, about the         safety, security and orderly operation of the facility,
                              o . 21-
religious significance of the items.                        including inspection by staff. Religious headwear
                            N                               and other religious property shall be handled with
Detainee religious property includes, but is not
                                                            respect at all times, including during the in-take
limited to, holy books, rosaries and prayer beads,
                                                            process.
oils, prayer rugs, prayer rocks, phylacteries,
medicine pouches and religious medallions. Such             Consistent with safety, security and the orderly
items are part of a detainee’s personal property and        operation of the facility, the facility shall not cut or
are subject to normal considerations of safety,             shave religiously significant hair.
security and orderly operation of the facility.             A detainee who wishes to have religious books,
As is consistent with the safety, security and orderly      magazines or periodicals must comply with the
operation of the facility, the facility administrator       facility’s general rules for ordering, purchasing,
shall ordinarily allow a detainee to wear or use            retaining and accumulating personal property.
personal religious items during religious services,         Religious literature is permitted in accordance with
ceremonies and meetings in the chapel, and may,             the procedures governing incoming publications.
upon request of a detainee, allow a detainee to wear        Distribution to detainees of religious literature
or use certain religious items throughout the facility.     purchased by or donated to ICE/ERO is contingent
                                                            upon approval from the chaplain or religious
Items of religious wearing apparel include, but are
                                                            services coordinator.
not limited to:



5.5 | Religious Practices                                 380                                         PBNDS 2011
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K. Dietary Requirements                                       by law or custom for all the faith adherents (e.g.,
                                                              Ramadan, Lent, Yom Kippur), the facility shall
When a detainee’s religion requires special food              provide a meal nutritionally equivalent to the meal(s)
services, daily or during certain holy days or periods        missed. Public fasts usually begin and end at specific
that involve fasting, restricted diets, etc., staff shall     times.
make all reasonable efforts to accommodate those
requirements (e.g., by modifying the detainee’s               When a detainee fasts for personal religious reasons,
menus to exclude certain foods or food                        no special accommodations need to be made for the
combinations or providing the detainee’s meals at             meal(s) missed. Requests for meals after a personal
unusual hours).                                               fast shall be determined by the facility administrator
                                                              on a case-by case basis.
A detainee who wants to participate in the religious
diet (“common fare”) program may initiate the                 M. Work Assignments
“Authorization for Common Fare Participation”
                                                              Detainees who have voluntary work assignments
form that is attached to standard “4.1 Food Service.”
                                                              shall not be compelled to work on their religious
That standard also details the circumstances under
                                                              holy days.
which a detainee may be removed from a special
religious diet because he/she has failed to observe           N. Religious Use of Wine
those dietary restrictions.
                                                              Religious use of wine by clergy members is
“Common fare” refers to a no-flesh protein option
                                                                 , In c.
                                                              generally permitted when mandated by the
provided whenever an entrée containing flesh is
                                                     r e  C  ivic 022
                                                              particular faith and pursuant to strict controls and
                                              v. Co er 14, 2
offered as part of a meal. Likewise, a “common fare”
                                            o
                                                              supervision, to include the following provisions:
                                         win
meal offers vegetables, starches and other foods that
                                        O          e m  b a small amount of wine for clergy members
                                     in          c
                                               e and that which is necessary to perform religious
                                                  1. Only
                             cited 55221, D
are not seasoned with flesh. The diet is designed as
the foundation from which modifications can be
                                . 2 1 -              ceremonies or services shall be permitted in the
                             No
made to accommodate the religious diets of various
faiths. Modifications to the standard common fare
                                                     facility.
menu may be made to meet the requirements of                  2. All wine brought into the facility shall be secured
various faith groups (e.g. for the inclusion of kosher           in an appropriate area by staff prior to the
and/or halal flesh-food options).                                religious ceremony or service for which the wine
                                                                 is needed.
When there is any question about whether a
requested diet is nutritious or may pose a threat to          3. Following the religious ceremony or service,
health, the chaplain or religious services coordinator           unused portions of wine shall be immediately
shall consult with the medical department.                       discarded, stored in a secure area, or removed
                                                                 from the facility.
L. Religious Fasts
                                                              O. Death or Serious Illness of Family
The chaplain or religious services coordinator shall
                                                                Members
develop the religious fast schedule for the calendar
year and shall provide it to the facility administrator       The facility administrator will establish procedures to
or designee. There are generally two different types of       involve the chaplain or religious services coordinator
fasts: a public fast and a private or personal fast.          in notifying detainees of serious illness or death of
When detainees observe a public fast that is mandated         their family members.



5.5 | Religious Practices                                   381                                       PBNDS 2011
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                            cited 55221, D
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5.5 | Religious Practices                     382                             PBNDS 2011
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Appendix 5.5.A: Religious                                     B. Religious Garments
Headwear, Garments and Other                                  Examples of religious attire and garments include
                                                              but are not limited to:
Religious Property
                                                                  x   Scarves and headwraps (hijabs) (Jewish,
The following are examples of generally acceptable                    Muslim, Rastafarian, Orthodox Christian; worn
religious headwear, garments and other religious                      by women). These may be black, white or off-
property/articles of faith. There may be                              white.
circumstances in which it is not advisable to permit
                                                                  x   Jumper dresses may be worn by women who
the use of these items in a facility. Nothing in these
                                                                      wear loose-fitting clothing for the sake of
guidelines is intended to prevent facilities from
                                                                      modesty as consistent with their religious
making individualized decisions based on the need
                                                                      beliefs.
to maintain good order and the safety of detainees
and staff. Any denial of accommodation and the                    x   Kachhehra (soldier’s shorts) (Sikh men)
reason for it shall be documented and placed in the
                                                                  x   Prayer shawls and robes
alien’s detention file.
                                                                  x   Kurda or ribbon shirts during ceremonial use
A. Religious Headwear
                                                              C. Religious Property and Articles of Faith
Examples of religious headwear include:
                                                             ,  In c.
  x yarmulke (Jewish)                            re  C ivic 022
                                                              Examples of religious property and articles of faith

                                           . Co er 14, 2
                                                              include but are not limited to:
  x kufi (Muslim)                     ino v        b books: Examples include but are not
                                    Ow       c exmHoly
                                in         e
                         cited 55221, D
  x hijab (Muslim; worn by women)                  limited to: the Bible (Christian); the Koran
                                                   (Muslim); and the Torah (Jewish). Holy
  x crown (Rastafarian)      2 1  -
  x   turban (Sikh)     No.                        books are permitted in accordance with the
                                                                      facility’s general rules relating to retention of
                                                                      personal property and incoming publications,
Facilities may restrict the color, size or other features
                                                                      such as types of binding permitted.
of religious headwear, as necessary to maintain the
safety, security and the orderly operation of the                 x   Kara (steel bracelet) (Sikh) may be permitted
facility. Where facilities restrict the color, size, or               during meal times and under other limited
other features of religious headwear, and the                         circumstances depending on the size, weight
detainee’s personal religious headwear does not                       and appearance of the Kara and in light of
conform to the standard, the facility must ensure that                security considerations. For example, a plain,
detainees are provided conforming religious                           light-weight and non-decorative Kara is
headwear for free or at a de minimums cost. The                       generally appropriate for low and medium
chaplain or religious services coordinator, in                        security detainees.
consultation with community representatives of the
                                                                  x   Rosaries and prayer beads.
detainee’s faith group and other appropriate sources,
when necessary, shall ensure that the facility                    x   Oils.
restrictions on color, size, or other features of
                                                                  x   Prayer rugs.
religious headwear are appropriate and meet the
needs of the respective faith traditions.                         x   Prayer rocks.


5.5 | Religious Practices                                   383                                          PBNDS 2011
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 x   Phylacteries.                                  x   Religious medallions and pendants.




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                                    in        e c
                            cited 55221, D
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                            N




5.5 | Religious Practices                     384                                      PBNDS 2011
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5.6 Telephone Access                                        3. Detainees in Special Management Units (SMU)
                                                               shall have access to telephones, commensurate
I. Purpose and Scope                                           with facility security and good order.
                                                            4. Detainees and their legal counsel shall be able to
This detention standard ensures that detainees may             communicate effectively with each other.
maintain ties with their families and others in the
community, legal representatives, consulates, courts        5. Privacy for detainee telephone calls regarding
and government agencies by providing them                      legal matters shall be ensured.
reasonable and equitable access to telephone services.      6. Telephone access procedures shall foster legal
This detention standard applies to the following               access and confidential communications with
types of facilities housing ICE/ERO detainees:                 attorneys.

  x   Service Processing Centers (SPCs);                    7. Detainees shall be able to make free calls to the
                                                               ICE/ERO-provided list of free legal service
  x   Contract Detention Facilities (CDFs); and                providers for the purpose of obtaining initial legal
                                                               representation, to consular officials, to the
  x   State or local government facilities used by
                                                               Department of Homeland Security (DHS) Office
      ERO through Intergovernmental Service
                                                               of the Inspector General (OIG), and to the ICE
      Agreements (IGSAs) to hold detainees for more
                                                               Office of Professional Responsibility (OPR) Joint
      than 72 hours.
                                                                             , In  c.
                                                                       ivic 022
                                                               Intake Center (JIC). Indigent detainees, who are
Procedures in italics are specifically required for
                                                                 re  C
                                                               representing themselves pro se, shall be permitted
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                                        o v. Co er 14, 2
                                                               free calls on an as-needed basis to family or other
dedicated IGSA facilities must conform to these
                                              O  w  in         e m b
                                                               individuals assisting with the detainee’s
                                      d inalternatives,   De c
                              c  i e
procedures or adopt, adapt or establish
                                  t               2  1  ,      immigration proceedings.
provided they meet or exceed the intent 5
                                        1 -   52
                                            represented
by these procedures.            o  .  2                       8. Telephones shall be maintained in proper
                             N                                   working order.
For all types of facilities, procedures that appear in
                                                            9. Facilities shall strive to reduce telephone costs,
italics with a marked (**) on the page indicate
                                                               including through the use of emerging
optimum levels of compliance for this standard.
                                                               telecommunications, voiceover and Internet
Various terms used in this standard may be defined             protocol technologies.
in standard “7.5 Definitions.”
                                                            10. The facility shall provide communication
II. Expected Outcomes                                           assistance to detainees with disabilities and
                                                                detainees who are limited in their English
The expected outcomes of this detention standard                proficiency (LEP). The facility will provide
are as follows (specific requirements are defined in            detainees with disabilities with effective
“V. Expected Practices”).                                       communication, which may include the
1. Detainees shall have reasonable and equitable                provision of auxiliary aids, such as readers,
   access to reasonably priced telephone services.              materials in Braille, audio recordings, telephone
                                                                handset amplifiers, telephones compatible with
2. Detainees with hearing or speech disabilities shall          hearing aids, telecommunications devices for
   be granted reasonable accommodations to allow                deaf persons (TTYs), interpreters, and note-
   for equal access to telephone services.                      takers, as needed. The facility will also provide


5.6 | Telephone Access                                   385                                         PBNDS 2011
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    detainees who are LEP with language assistance,          Generally, detainees or the persons they call shall be
    including bilingual staff or professional                responsible for the costs of telephone calls; required
    interpretation and translation services, to provide      exceptions are listed below.
    them with meaningful access to its programs and          Each facility shall provide detainees with access to
    activities.                                              reasonably priced telephone services. Contracts for
   All written materials provided to detainees shall         such services shall comply with all applicable state
   generally be translated into Spanish. Where               and federal regulations and be based on rates and
   practicable, provisions for written translation shall     surcharges comparable to those charged to the
   be made for other significant segments of the             general public. Any variations shall reflect actual costs
   population with limited English proficiency.              associated with the provision of services in a
                                                             detention setting. Contracts shall also provide the
   Oral interpretation or assistance shall be provided
                                                             broadest range of calling options including, but not
   to any detainee who speaks another language in
                                                             limited to, international calling, calling cards and
   which written material has not been translated or
                                                             collect telephone calls, determined by the facility
   who is illiterate.
                                                             administrator to be consistent with the requirements
III. Standards Affected                                      of sound detention facility management. Facilities
                                                             shall post a list of card and calling rates in each
This detention standard replaces “Telephone Access”          housing unit. Facility administrators are encouraged
dated 12/2/2008.
                                                                          ,  Inc.
                                                             to explore the use of new technologies which can
IV. References                                              re  C   ivic 022
                                                             facilitate the provision of cost effective means for

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                                                             enhancing detainees’ ability to communicate by
                                             w
American Correctional Association, Performance-
                                          O     in        e m  b
                                                             telephone, such as, and not limited to, wireless
                                      in
                                   dDetention        De c
based Standards for Adult Local
                             c ite             2 1 ,         and/or internet communications.

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Facilities, 4th Edition: 4-ALDF-2A-65, -2A-66,           3. Maintenance
11, 5B-12, 6a-02, 6A-09.
                            No   .                       Each facility shall maintain detainee telephones in
ICE/ERO Performance-based National Detention                 proper working order. Designated facility staff shall
Standards 2011: “2.13 Staff-Detainee                         inspect the telephones daily, promptly report out-of-
Communication,” in regard to monitoring and                  order telephones to the repair service so that
documenting telephone serviceability.                        required repairs are completed quickly. This
                                                             information shall be logged and maintained by each
V. Expected Practices                                        Field Office. Facility staff shall notify detainees and
A. Telephones and Telephone Services                         the ICE/ERO free legal service providers of
                                                             procedures for reporting problems with telephones.
1. Number
                                                             ICE/ERO headquarters shall maintain and provide
To ensure sufficient access, each facility shall provide     Field Offices a list of telephone numbers for current
at least one operable telephone for every 25                 free legal service providers, consulates and the
detainees.                                                   Department of Homeland Security’s (DHS) Office of
**Facilities shall be operating at the optimal level         the Inspector General (OIG), as determined by ICE.
when at least one telephone is provided for every ten        All Field Offices are responsible for ensuring facilities
(10) detainees.                                              which house ICE detainees under their jurisdiction are
                                                             provided with current pro bono legal service
2. Cost


5.6 | Telephone Access                                     386                                        PBNDS 2011
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information.                                                 representation, may not be electronically monitored
4. Monitoring Detainee Telephone Services                    without a court order.

a. Facility Staff Requirements                               C. Detainee Notification
   Facility staff members are responsible for                Each facility shall provide telephone access rules in
   ensuring on a daily basis that telephone systems          writing to each detainee upon admission, and also
   are operational and that the free telephone               shall post these rules where detainees may easily see
   number list is posted. After ensuring that each           them. ICE/ERO and the facility shall coordinate in
   phone has a dial tone, when testing equipment             posting these rules where practicable in Spanish and
   the officers must be able to demonstrate that an          in the language of significant segments of the
   individual has the ability to make calls using the        population with limited English proficiency.
   free call platform. Any identified problems must
   immediately be logged and reported to the                 Telephone access hours shall also be posted. Updated
   appropriate facility and ICE/ERO staff. ICE/ERO           telephone and consulate lists shall be posted in
   staff shall review and follow up on problems              detainee housing units. Translation and
   reported by detainees and others.                         interpretation services shall be provided as needed.

B. Monitoring of Detainee Telephone Calls                    D. Detainee Access
                                                             Each facility administrator shall establish and oversee
Each facility shall have a written policy on the
                                                                      , Inc.
                                                             rules and procedures that provide detainees
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monitoring of detainee telephone calls. If telephone
                                                               e C
                                                             reasonable and equitable access to telephones during
                                                              r
                                                        . Co er 14, 2
calls are monitored, the facility shall:
1. include a recorded message on its phone system  ino v     established facility “waking hours” (excluding the
                                                                b
                                             O   w        c e m
                                                             hours between lights-out and the morning
                                          in            e
                              cited 55221, D
   stating that all telephone calls are subject to           resumption of scheduled activities). Telephones shall
   monitoring;
                                         1- or
                                                             be located in parts of the facility that are accessible to
                                o  .  2handbook,             detainees. Telephone access hours shall be posted
                             N
2. notify detainees in the detainee
   equivalent, provided upon admission; and                  near the telephones.
3. at each monitored telephone, place a notice that          Each facility shall provide detainees access to
   states the following:                                     international telephone service.
   a. that detainee calls are subject to monitoring;         Ordinarily, a facility may restrict the number and
      and                                                    duration of general telephone calls only for the
                                                             following reasons.
   b. the procedure for obtaining an unmonitored
      call to a court, a legal representative or for the     1. Availability
      purposes of obtaining legal representation.            When required by the volume of detainee telephone
ICE/ERO and the facility shall coordinate in posting         demand, rules and procedures may include, but are
the notice in Spanish and in the language of                 not limited to, reasonable limitations on the duration
significant segments of the population with limited          and the number of calls per detainee, the use of
English proficiency, where practicable.                      predetermined time-blocks and institution of an
                                                             advanced sign-up system.
A detainee’s call to a court, a legal representative,
DHS OIG, DHS Civil Rights and Civil Liberties                2. Orderly Facility Operations
(CRCL) or for the purposes of obtaining legal                Calls may be restricted or limited if necessary to


5.6 | Telephone Access                                     387                                         PBNDS 2011
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prevent interference with counts, meals, scheduled                  ability to contact pro bono legal representatives
detainee movements, court schedules, or other                       shall not be restricted);
events constituting the orderly operation of the
                                                                x   legal service providers or organizations listed
facility.
                                                                    on the ICE/ERO free legal service provider list;
3. Emergencies
                                                                x   United Nations High Commissioner for
Telephone access and use may be limited in the                      Refugees (UNHCR), from asylum-seekers and
event of escapes, escape attempts, disturbances, fires,             stateless individuals;
power outages, etc. Telephone privileges may be
suspended entirely during an emergency, but only                x   federal, state or local government offices to
                                                                    obtain documents relevant to his/her
with the authorization of the facility administrator or
                                                                    immigration case;
designee and only for the briefest period necessary
under the circumstances. If suspension of telephone             x   immediate family or others for detainees in
access exceeds 12 hours, ICE/ERO should be                          personal or family emergencies or who
notified.                                                           otherwise demonstrate a compelling need (to
                                                                    be interpreted liberally); or
E. Direct or Free Calls
                                                                x   ICE/OPR Joint Intake Center (JIC).
Even if telephone service is generally limited to
                                                            1. Request Forms
collect calls, each facility shall permit detainees to
                                                            , Inc.
make direct or free calls to the offices and
                                                    re Civic 022
                                                            Free and direct calls shall be easily accessible. If

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individuals listed below. The Field Office Director         detainees are required to complete request forms to
                                         ino v
shall ensure that all information is kept current and
                                                      b     make direct or free calls, facility staff must assist
                                       Ow       c e m
                                    in
is provided to each facility. Updated lists need to be
                                              e             them as needed, especially illiterate or non-English
                            cited 55221, D
posted in the detainee housing units. A facility may        speaking detainees. The detainees should also be

                              o . 21-
place reasonable restrictions on the hours, frequency       permitted to seek assistance from their legal
                            N
and duration of such direct and/or free calls, but          representatives, family, or other detainees.
may not limit a detainee’s attempt to obtain legal
representation. Full telephone access shall be granted      2. Time Requirements
in order for a detainee to contact the following:           Staff shall allow detainees to make such calls as soon
                                                            as possible after submission of requests, factoring in
 x   the Executive Office for Immigration Review
     or local immigration court;                            the urgency stated by the detainee. Access shall be
                                                            granted within 24 hours of the request, and
 x   the Board of Immigration Appeals;                      ordinarily within eight facility-established “waking
 x   federal and state courts where the detainee is or      hours.” Staff must document and report to ICE/ERO
     may become involved in a legal proceeding;             any incident of delay beyond eight “waking hours.”
                                                            3. Indigent Detainees
 x   consular officials;
                                                            Ordinarily, a detainee is considered “indigent” if
 x   DHS/OIG;
                                                            he/she has less than $15.00 in his/her account for
 x   legal representatives, to obtain legal                 ten (10) days. A facility shall make a timely effort to
     representation, or for consultation when               determine indigence.
     subject to expedited removal (when a detainee
                                                            Indigent detainees are afforded the same telephone
     is under an expedited removal order, his/her
                                                            access and privileges as other detainees. Each facility


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shall enable all detainees to make calls to the               matters.
ICE/ERO-provided list of free legal service providers
                                                              The facility shall inform detainees to contact an
and consulates at no charge to the detainee or the
                                                              officer if they have difficulty making a confidential
receiving party. The indigent detainee may request a
                                                              call relating to a legal proceeding. If notified of such
call to immediate family or others in personal or
                                                              a difficulty, the officer shall take measures to ensure
family emergencies or on an as-needed basis.
                                                              that the call can be made confidentially.
4. Phone System Limitations
                                                              Privacy may be provided in a number of ways,
If the limitations of an existing phone system                including:
preclude meeting these requirements, the facility
                                                              a. telephones with privacy panels (side partitions)
administrator must notify ICE/ERO so that a means
                                                                 that extend at least 18 inches to prevent
of telephone access may be provided.
                                                                 conversations from being overheard;
SPCs, CDFs, and dedicated IGSAs shall require its
                                                              b. telephones placed where conversations may not
telephone service providers to program and keep
                                                                 be readily overheard by others; or
current, the telephone system to permit detainees
free calls to numbers on the official pro bono legal          c. office telephones on which detainees may be
representation list and to consulates. Other facilities          permitted to make such calls; and
shall adopt equivalent procedures.                            d. detainees shall be supervised within eyeshot, but
F. Legal Calls                                                   out of earshot
                                                                               ,  In c.
                                                                 re  C   ivic Access  022for Detainees with
1. Restrictions                                              C o
                                                              G. Telephone
                                                                              4  ,  2
                                                w   in   o v. m       er 1
                                                                 Disabilities
                                                                    b
A facility may neither restrict the number of
                                        in   O nor DecThe
                                               calls  a       e
                                     d
                              cibyerule or5automatic
detainee places to his/her legal trepresentatives,
                                                   2  1  ,        facility shall provide a TTY device or Accessible
limit the duration of such calls          - 5   2
                                   . 2 1                      Telephone (telephones equipped with volume
                             No
cut-off, unless necessary for security purposes  or
maintain orderly and fair access to telephones. If
                                                      to      control and telephones that are hearing-aid
                                                              compatible for detainees who are deaf or hard of
time limits are necessary for such calls, they shall be       hearing). Detainees who are deaf or hard of hearing
no shorter than 20 minutes, and the detainee shall be         shall be provided access to the TTY on the same
allowed to continue the call at the first available           terms as hearing detainees are provided access to
opportunity, if desired.                                      telephones. Except to the extent that there are time
A facility may place reasonable restrictions on the           limitations, detainees using the TTY shall be granted
hours, frequency and duration of such direct and/or           additional time, consistent with safety and security
free calls but may not otherwise limit a detainee’s           concerns..
attempt to obtain legal representation.                       If an Accessible Telephone or TTY is not available in
2. Privacy                                                    the same location as telephones used by other
                                                              detainees, detainees shall be allotted additional time
For detainee telephone calls regarding legal matters,         to walk to and from the Accessible Telephone or TTY
each facility shall ensure privacy by providing a             location. Consistent with the order and safety of the
reasonable number of telephones on which detainees            facility, the facility shall ensure that the privacy of
can make such calls without being overheard by staff          telephone calls by detainees using Accessible
or other detainees. Absent a court order, staff may           Telephones or TTY is the same as other detainees
not monitor phone calls made in reference to legal            using telephones.


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** The facility shall maintain other equipment, such        should receive the same privileges available to
as video relay service and video phones, for                detainees in the general population, subject to any
detainees who are deaf or hard of hearing.                  existing safety and security considerations. This
                                                            requirement applies to a detainee in Administrative
Accommodations shall also be made for detainees             Segregation pending a hearing because he/she has
with speech disabilities.                                   been charged with a rule violation, as well as a
Consistent with Standard 4.8 “Disability                    detainee in Administrative Segregation for other than
Identification, Assessment, and Accommodation,”             disciplinary reasons, such as protective custody or
the facility shall engage in an interactive and             suicide risk.
individualized process that considers whether a             2. Disciplinary Segregation
detainee with a disability needs any additional
accommodation to access facility telephones.                Detainees in Disciplinary Segregation may be
                                                            restricted from using telephones to make general
H. Telephone Privileges in Special                          calls as part of the disciplinary process. Even in
   Management Units (SMU)                                   Disciplinary Segregation, however, detainees shall
                                                            have some access for special purposes. Ordinarily,
While there are differences in telephone access in
                                                            staff shall permit detainees in Disciplinary
SMU, depending on whether a detainee is in
                                                            Segregation to make direct and/or free and legal calls
Administrative Segregation or Disciplinary
Segregation, in general a detainee in either status
                                                                         , I   c.
                                                            as previously described in above in sections V.E and
                                                                            n
may be reasonably restricted from using or having
                                                             r e     ivic 022
                                                            V.F, except in the event of compelling and
                                                                 C
                                                       . Co er 14, 2
                                                            documented reasons of threats to the safety, security
access to a phone for the following reasons.
                                                iorno v     and good order of the facility.
                                                                b
                                          O  w
 x If that access is used for criminal purposes          c e m
                                      in that 1, De I. Inter-facility Telephone Calls
                                tedincluding
   would endanger any person,
                            c  i           522
   detainee.
                                   2 1 - 5                Upon a detainee’s request, facility staff shall make
                           Nthe  .
                              o equipment                 special arrangements to permit the detainee to speak
 x If the detainee damages
     provided.                                              by telephone with an immediate family member
                                                            detained in another facility. Immediate family
 x   For the safety, security and good order of the         members include spouses, common-law spouses,
     facility.                                              parents, stepparents, foster parents, brothers, sisters,
In such instances, staff must clearly document why          natural or adopted children and stepchildren.
such restrictions are necessary to preserve the safety,     Reasonable limitations may be placed on the
security and good order of the facility in the              frequency and duration of such calls. Facility staff
appropriate SMU log. Detainees and their legal              shall liberally grant such requests to discuss legal
counsel shall nevertheless be accommodated in order         matters and shall afford the detainee privacy to the
for them to be able to communicate effectively with         extent practicable, while maintaining adequate
each other. Telephone access for legal calls, courts,       security.
government offices (including the DHS OIG and the
DHS JIC) and embassies or consulates shall not be           J. Incoming Calls
denied.                                                     The facility shall take and deliver telephone messages
1. Administrative Segregation                               to detainees as promptly as possible.
Generally, detainees in administrative segregation          When facility staff receives an emergency telephone



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call for a detainee, the caller’s name and telephone     within the constraints of security and safety. The
number shall be obtained and promptly given to the       facility shall enable indigent detainees to make a free
detainee. The detainee shall be permitted to             return emergency call.
promptly return an emergency call at their own cost




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5.7 Visitation                                                  maintain ties to their family and friends in the
                                                                community. Detainees shall be able to receive
I. Purpose and Scope                                            visits from legal representatives, consular officials
                                                                and others in the community.
This detention standard ensures that detainees shall         2. Visits between legal representatives and assistants
be able to maintain morale and ties through                     and an individual detainee are confidential and
visitation with their families, the community, legal            shall not be subject to auditory supervision.
representatives and consular officials, within the              Private consultation rooms shall be available for
constraints of the safety, security and good order of           such meetings.
the facility.
                                                             3. Detainees shall be advised of their right to contact
This detention standard applies to the following                their consular representatives and receive visits
types of facilities housing ICE/ERO detainees:                  from their consulate officers.
  x   Service Processing Centers (SPCs);                     4. Facilities are encouraged to provide opportunities
  x   Contract Detention Facilities (CDFs); and                 for both contact and non-contact visitation with
                                                                approved visitors during both day and evening
  x   State or local government facilities used by              hours.
      ERO through Intergovernmental Service
                                                             5. Information about visiting policies and
      Agreements (IGSAs) to hold detainees for more
                                                                             ,  In c.
                                                                      ivic 022a detainee may receive
                                                                procedures shall be readily available to the public.
      than 72 hours.
                                                                r e C
Procedures in italics are specifically required for
                                                         v
                                                             6.oThe
                                                          . C and the  r  1 4  ,of2visits shall be limited only by
                                                                    number of visitors
SPCs, CDFs, and Dedicated IGSA facilities. Non-   w in o        m  be constraints of space, scheduling, staff
                                                                        length
                                               O            c e
                                       d into these21, De availability, safety, security and good order.
                                                                reasonable
                              c  it e
dedicated IGSA facilities must conform
                                           - 5 52
procedures or adopt, adapt or establish alternatives,
                                         1
provided they meet or exceed o         2
                                 the. intent represented
                                                                Generally visits should be for the maximum
by these procedures.
                             N                                  period practicable but not less than one hour with
                                                                special consideration given to family
For all types of facilities, procedures that appear in          circumstances and individuals who have traveled
italics with a marked (**) on the page indicate                 long distances.
optimum levels of compliance for this standard.
                                                             7. Visitors shall be screened and approved upon
Various terms used in this standard may be defined              arrival and shall be required to adequately
in standard “7.5 Definitions.”                                  identify themselves and register to be admitted
News media interviews and tours are outlined in                 into a facility, so that safety, security and good
standard “7.2 Interviews and Tours.”                            order can be maintained.

Conjugal visits for ICE/ERO detainees are prohibited.        8. A background check shall be conducted on all
                                                                new volunteers prior to their being approved to
II. Expected Outcomes                                           provide services to detainees.

The expected outcomes of this detention standard             9. Each new volunteer shall complete an
are as follows (specific requirements are defined in            appropriate, documented orientation program
“V. Expected Practices”).                                       and sign an acknowledgement of his or her
                                                                understanding of the applicable rules and
1. Facilities are encouraged to allow detainees to              procedures and agreement to comply with them.


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10. The facility shall provide communication                     x   “3.1 Disciplinary System”; and
    assistance to detainees with disabilities and
                                                                 x   “7.2 Interviews and Tours.”
    detainees who are limited in their English
    proficiency (LEP). The facility will provide              V. Expected Practices
    detainees with disabilities with effective
    communication, which may include the                      A. Overview
    provision of auxiliary aids, such as readers,
                                                              Facilities that house ICE/ERO detainees shall provide
    materials in Braille, audio recordings, telephone
                                                              visiting procedures for detainees to maintain
    handset amplifiers, telephones compatible with
                                                              communication with persons in the community.
    hearing aids, telecommunications devices for
                                                              Safety, security and good order are always primary
    deaf persons (TTYs), interpreters, and note-
                                                              considerations in a detention facility, and visitors
    takers, as needed. The facility will also provide
                                                              must be properly identified and attired and are
    detainees who are LEP with language assistance,
                                                              subject to search upon entering the facility and at any
    including bilingual staff or professional
                                                              other time. Except as otherwise permitted herein,
    interpretation and translation services, to provide
                                                              visitors may not give anything directly to a detainee,
    them with meaningful access to its programs and
                                                              although it may be permissible for visitors to leave
    activities.
                                                              certain items and funds for a detainee with a staff
   All written materials provided to detainees shall          member, at the discretion of the facility
   generally be translated into Spanish. Where
                                                                            ,  In  c.
                                                              administrator. An itemized receipt that lists funds and
   practicable, provisions for written translation shall
                                                                 e  C  ivic 022
                                                              property brought for the detainee shall be provided
                                                               r
   be made for other significant segments of the
                                                      o v. Co er 14, 2
                                                              to the visitor.
   population with limited English proficiency.
                                             O  w  in        e m  b
                                       in                  c
                                                        De may result in disciplinary action against the detainee
                                                            Any  violation of the visitation rules, by the detainee,
                              c itedshall be5provided
   Oral interpretation or assistance
                                                  2 1 ,
   to any detainee who speaks another
                                    2 1 -  5 2 in
                                         language           and introduction of contraband or other criminal
                            N
   which written material has   o .
                                not been  translated or     violations may lead to criminal prosecution of a
   who is illiterate.                                         visitor, detainee or both.

III. Standards Affected                                       Differences in the various conditions of each visit,
                                                              including who may visit, when they may visit, how
This detention standard replaces “Visitation” dated           they may be approved to visit and where in the
12/2/2008.                                                    facility they may visit, are detailed later in this
                                                              standard and are dependent on the type of visitation,
IV. References                                                according to the following designations:
American Correctional Association, Performance-               1. social visitation: family, relatives, friends and
based Standards for Adult Local Detention                        associates; minors may be subject to special
Facilities, 4th Edition: 4-ALDF: 5B-01, 5B-02, 5B-               restrictions (see “I. Visits by Family and Friends”
03, 5B-04, 2A-21, 2A-27, 2A-61, 6A-06, 7B-03,                    in this standard);
7C-02, 7F-05, 7F-06.
                                                              2. legal visitation: attorneys, other legal
ICE/ERO Performance-based National Detention                     representatives, legal assistants (see “J. Visits by
Standards 2011:                                                  Legal Representatives and Legal Assistants” in this
 x   “2.10 Searches of Detainees”;                               standard);



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3. consultation visitation: for detainees subject to             and post those rules and hours where detainees
   expedited removal (see “K. Consultation Visits for            can easily see them. Such information shall be
   Detainees Subject to Expedited Removal” in this               posted in each housing unit.
   standard);
                                                             2. Make the schedule and procedures available to the
4. consular visitation: similar to legal visitation but         public, both in written form and telephonically. A
   with consular officials who have state department            live voice or recording shall provide telephone
   issued identification (see “L. Consular Visitation”          callers the rules and hours for all categories of
   in this standard);                                           visitation.
5. community service organization visitation:                3. Post schedule, procedures and notification of
   representatives of civic, religious, cultural groups,        visitation rules and hours in the visitor waiting
   etc. (see “M. Visits from Representatives of                 area in English, Spanish and, where practicable,
   Community Service Organizations” in this                     provisions for written translation shall be made
   standard); and                                               for other significant segments of the population
6. other special visitation (see “N. Other Special              with limited English proficiency.
   Visits” in this standard; for non-governmental            D. Visitor Logs
   organizations (NGO) please see standard “7.2
   Interviews and Tours.”)                                   Each facility shall maintain a log of all general

B. General                                                             , I   c.
                                                             visitors, and a separate log of legal visitors. If the
                                                                           n
                                                            re C ivic 022
                                                             stated purpose of the visit is for Expedited Removal

                                                      . Co er 14, 2
                                                             consultation, the visit shall be logged in the Legal
Each facility shall establish written visiting
procedures, including a schedule and hours of ino v
                                                             Visitation Log. Staff shall record in the general
                                               O w        e m b
                                                        c
                                    ed in 221, De 1. the name and alien-registration number (A-
                                                             visitors’ log:
visitation and make them available to the     public.
                               c it
                                           - 55 to
Each facility administrator shall decide whether
                                      2 1
                              No. for the facility’s
                                                            number) of the detainee visited;
permit contact visits, as appropriate
physical plant and detainee population. Exceptions to        2. the visitor’s name and address;
this standard can be made by the facility                    3. the visitor’s relationship to the detainee; and
administrator on a case-by-case basis when
warranted by compelling circumstances or                     4. the date, arrival time and departure time.
individual needs or conduct.                                 E. Incoming Property and Funds for
A facility administrator may temporarily restrict               Detainees
visiting when necessary to ensure the security and
good order of the facility. Each restriction or denial       In accordance with standard “2.5 Funds and Personal
of visits, including the duration of and reasons for         Property,” each facility shall have written procedures
the restriction, shall be documented in writing.             regarding incoming property and money for
                                                             detainees.
C. Notification of Visiting Rules and Hours
                                                             The facility administrator may permit a visitor to
Each facility shall:                                         leave cash or a money order with a designated staff
1. Provide written notification of visitation rules and      member for deposit in a detainee’s account; the staff
   hours in the detainee handbook or local                   member must provide the visitor a receipt for all
   supplement given each detainee upon admission,            money or property left at the facility. Under no
                                                             circumstances may visitors give property or money


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directly to a detainee.                                      safety, security or good order of the facility. Each
The shift supervisor must approve all items brought          incident shall be documented, and the restriction or
for detainees. The visiting room officer may not             suspension shall be limited to the time required to
accept articles or gifts of any kind for a detainee,         investigate and complete the disciplinary process.
unless the facility administrator and/or shift               Legal visitation shall be suspended only if necessary
supervisor has approved these items in advance.              to maintain the safety or security of the facility.

Due to the relatively short length of stay and the fact      A visitor’s failure to abide by visiting rules may
that ICE/ERO provides all necessities, detainees may         result in immediate cancellation or termination of a
receive only minimal amounts of personal property,           visit and/or suspension of future visitation
including:                                                   privileges.

1. small religious items;                                    Introduction of contraband or other criminal
                                                             violations may lead to criminal prosecution of a
2. religious and secular reading material (soft              visitor, a detainee or both.
   cover);
                                                             G. Dress Codes for Visitors
3. legal documents and papers;
                                                             If the facility establishes and maintains a dress code
4. pictures: 10 maximum, measuring 5” x 7” or
                                                             for visitors, it shall be made available to the public,
   smaller each;
                                                                    ,  In c.
                                                             e.g., posted on the facility’s website, telephone
5. prescription glasses;
                                                    r e  C   ivic 022
                                                             message and included in the detainee handbook.
6. dentures;
                                             v. CH.oVisiting r   1 4
                                                                 Room , 2Conditions
                                        wino        m   be visiting areas shall be appropriately
7. personal address book or pages;
                                    in O      e c e
                                                 The  facility’s
8. correspondence;         cited 55221, D furnished          and arranged, and made as comfortable

                               . 2 1 -           and  pleasant   as practicable. Also, as practicable, space
9. wedding rings;
                          No                     shall be provided outside of the immediate visiting
10. telephone calling cards; and                             areas for the secure storage of visitors’ coats,
11. other items approved by the facility                     handbags and other personal items.
    administrator.                                           The facility administrator shall provide adequate
                                                             supervision of all visiting areas, and the visiting area
F. Sanctions for Violation of Visitation and
                                                             officer shall ensure that all visits are conducted in an
   Contraband Rules                                          orderly and dignified manner.
Any violation of the visitation rules by the detainee        I. Visits by Family and Friends
may result in disciplinary action against the detainee,
including loss of visitation privileges, excluding legal     1. Hours and Time Limits
and consular visits. Visiting privileges may be              Each facility shall establish a visiting schedule based
revoked only through the formal detainee                     on the detainee population and the demand for
disciplinary process. However, the facility                  visits. Visits shall be permitted during set hours on
administrator has the authority to restrict or suspend       Saturdays, Sundays and holidays, and to the extent
a detainee’s ordinary visiting privileges temporarily        practicable, facilities shall also establish visiting
when there is reasonable suspicion that the detainee         hours on weekdays and during evening hours. The
has acted in a manner constituting a threat to the           facility shall accommodate the scheduling needs of



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visitors for whom scheduled visiting hours pose a             b. Minors: Facilities should have provisions to allow
hardship, for example, authorizing special visits for            for contact or non-contact visitation with minor
family visitors.                                                 children, stepchildren and foster children.
To accommodate the volume of visitors within the                 Facilities that allow visitations by minor children,
limits of space and staff resources, and to ensure               stepchildren and foster children should try to
adequate security, the facility administrator may                facilitate contact visitation when possible.
restrict visits (e.g., some or all detainees and visitors        Facilities should allow detainees to see their
may be limited to visiting on Saturday or on Sunday,             minor children as soon as possible after
but not both days). ICE/ERO does not require a                   admission. Generous time allotments for
facility to permit every visitor to visit on both days of        visitation with minor children are recommended.
a weekend, nor to permit every detainee to have                   At facilities where there is no provision for visits
visits on both days of a weekend. However, to the                 by minors, upon request, ICE/ERO shall arrange
extent practicable, ICE/ERO encourages the facility               for a visit by children, stepchildren and foster
administrator to establish visiting hours for each                children within the first 30 days. After that time,
detainee on both days of the weekend, and to try to               upon request, ICE/ERO shall consider a request
accommodate visitors who can only visit on a specific             for transfer, when possible, to a facility that shall
weekend day.                                                      allow such visitation. Upon request, ICE/ERO
                                                                  shall continue monthly visits, if transfer is not
The facility’s written rules shall specify time limits
                                                                            , In c.
                                                                  approved, or until an approved transfer can be
for visits, no less than one hour, under normal
                                                               r e C  ivic 022
                                                                  effected.
                                                                           4, 2 discretion, a minor without
                                                         . CoAt theesupervisor’s
conditions.
ICE/ERO encourages more generous limits whenino v                      r 1
                                                                  b identification may be admitted if the
                                            O   w          c e m
                                       in                      positive
                                                        De accompanying adult visitor vouches for his/her
                              citedcircumstances,
possible, especially for family members  traveling
                                                  2 1 ,
significant distances. In unforeseen
                                      1 -   52
                                          5visiting            identity. Minors must remain under the direct
                                  . 2
such as the number of visitors exceeding
                             No
room capacity, the facility administrator may modify           supervision of an adult visitor so as not to disturb
visiting periods.                                                 other visitors, and excessively disruptive conduct
                                                                  by minors may result in termination of the visit.
2. Persons Allowed to Visit
                                                              c. Others may include grandparents, uncles, aunts,
Individuals from the following categories shall be               in-laws, cousins, nieces, nephews, non-relatives
permitted to visit, unless they pose a threat to the             and friends.
security and good order of the facility:
                                                              3. Visitor Identification and Search Procedures
a. Immediate Family: Immediate family may include
   mothers, fathers, stepparents, foster parents,             Staff shall verify each adult visitor’s identity before
   brothers, sisters, stepbrothers, stepsisters,              admitting him/her to the facility. No adult visitor
   biological and adopted children, stepchildren,             may be admitted without government-issued photo
   foster children and spouses, including common-             identification. All visitors shall be subject to
   law spouses.                                               identification and personal search in accordance with
                                                              standard “2.4 Facility Security and Control.”
   Immediate family members detained at the same
   facility may visit with each other during normal           The facility administrator may establish a procedure
   visiting hours, regardless of gender, when                 for random criminal background and warrant checks
   practicable.                                               for the purpose of ensuring facility safety, security



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and good order. Visitors shall not be precluded from         4. Contact Visits
visiting a detainee solely because of a past                 Written procedures shall detail the limits and
conviction. Facilities can exclude visitors based on an      conditions of contact visits in facilities that permit
examination of the underlying conduct of the                 them. Ordinarily, within the bounds of propriety,
conviction.                                                  handshaking, embracing and kissing are permitted
Staff shall escort visitors to the visiting room only        only at the beginning and end of the visit; however,
after completing identification and inspection as            staff may limit physical contact to minimize
provided in the facility’s written procedures. All           opportunities for contraband introduction and to
visitors are subject to a personal search, which may         otherwise maintain the orderly operation of the
include a pat (“pat-down”) search as well as a visual        visiting area.
inspection of purses, briefcases, packages and other         Detainees receiving contact visits shall be given a
containers. Written procedures shall be publicly             thorough pat-down search prior to entering the
available to inform visitors that they are subject to        visiting room. Upon exiting, searches of detainees
search procedures. Any person who refuses to be
                                                             shall be conducted in accordance with facility policy
searched is prohibited from visiting a detainee.             and procedures, which should be reflective of such
In each facility, written procedures shall provide for       factors as:
the prevention, cancellation or termination of any           a. the nature of the facility;
visit that appears to pose a threat to safety, security
                                                                        ,  In c.
                                                                  ivic 022
or good order. Visiting area officers or other staff,        b. whether the facility houses detainees pending trial
                                                          r e  Cfor violent or drug-related crimes;
who believe a situation poses such a threat, shall
                                                   v. Cc.othe availability
                                                                  r 1  4  ,of2appropriate screening devices;
alert the shift supervisor or equivalent; the
                                           w in o         m  be technology; and/or
                                    in    O
supervisor may then prevent, cancel or terminate the
                                                    e c e monitoring
visit.
                           cited 55221, D d. concern for contraband entering the facility.
                               .
The inspecting officer may ask the
                             o     1- to open a
                                 2visitor
purse, briefcase, package, N
                           and other container for     A facility may only adopt a policy permitting strip
visual inspection of its contents. If warranted, the         searches after contact visits in the absence of
officer may ask the visitor to remove the contents and       reasonable suspicion if detainees have the right to
place them on a table; however, the officer may not          choose non-contact visitation instead. Detainees
place his or her hands inside the container. Facilities      must be fully informed of that option and the policy
shall provide and promote visitors' use of lockers or a      generally in a language or manner they understand.
secure area provided for safekeeping of personal             The facility must document all strip searches that are
belongings during visits.                                    performed based on such policy.
Only an officer with the rank of supervisor or above         5. Visits for Administrative and Disciplinary
may deny or cancel a visit. In those cases, the officer         Segregation Detainees
shall document his or her action in a memorandum
                                                             While in administrative or disciplinary segregation
sent through official channels to the facility
                                                             status, a detainee ordinarily retains visiting
administrator. The visiting room officer, with
concurrence from the shift supervisor, may terminate         privileges.
visits involving inappropriate behavior.                     Segregated detainees may ordinarily use the visiting
Facilities shall not require approved visitor lists from     room during normal visiting hours. However, the
ICE/ERO detainees.                                           facility may restrict or disallow visits for a detainee
                                                             who violates visiting rules or whose behavior


5.7 | Visitation                                           397                                         PBNDS 2011
                                                                                              (Revised December 2016)
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indicates that he/she may be a threat to the security        requests from legal representatives for extended
or good order of the visiting room.                          visits or visits outside normal facility visiting hours.
Under no circumstances may detainees be permitted            3. Persons Allowed to Visit
to participate in visitation while in restraints. If the
                                                             Subject to the restrictions stated below, individuals
detainee’s behavior warrants restraints, the visit may
                                                             in the following categories may visit detainees to
not be granted under general population visiting
                                                             discuss legal matters:
conditions. Any restriction or denial of visits shall be
documented in writing.                                       a. Attorneys and Other Legal Representatives: An
                                                                attorney is any person who is a member in good
Detainees in protective custody, and violent and/or
                                                                standing of the bar of the highest court of any
disruptive detainees, shall not use the visitation
                                                                state, possession, territory, commonwealth or the
room during normal visitation hours. In cases in
                                                                District of Columbia, and is not under an order of
which a visit may present an unreasonable security
                                                                any court suspending, enjoining, restraining,
risk, visits may be disallowed for a particular
                                                                disbarring or otherwise restricting him/her in the
detainee.
                                                                practice of law.
J. Visits by Legal Representatives and                           A legal representative is an attorney or other
   Legal Assistants                                              person representing another in a matter of law,
                                                                 including: law students or law graduates not yet
1. General
                                                                           ,  In c.
                                                                     ivic 022
                                                                 admitted to the bar under certain conditions;
In visits referred to as “legal visitation,” each
                                                              re  C
                                                                 accredited representatives; and accredited officials
detainee may meet privately with current or
                                                     o v. Co er 14, 2
                                                                 and attorneys licensed outside the United States.
prospective legal representatives and their legal
                                               O  win       e m bSee 8 C.F.R. § 292.1 for more detailed definitions
                                       d in for21, De     c
                                c i  e
assistants. Legal visits may not be terminated
                                   t                             of these terms.
routine official counts.
                                       2 1 - 552           b. Legal Assistants: Upon presentation of a letter of
2. Hours                      N   o .                         authorization from the legal representative under
Each facility shall permit legal visitation seven days a         whose supervision he/she is working, an
week, including holidays, for a minimum of eight                 unaccompanied legal assistant may meet with a
hours per day on regular business days (Monday                   detainee during legal visitation hours. The letter
through Friday), and a minimum of four hours per                 shall state that the named legal assistant is
day on weekends and holidays.                                    working on behalf of the supervising legal
                                                                 representative for purposes of meeting with the
The facility shall provide notification of the rules and         ICE/ERO detainee(s).
hours for legal visitation as specified above. This
information shall be prominently posted in the               c. Translators and Interpreters: The facility shall
waiting areas and visiting areas and in the housing             permit translators and interpreters to accompany
units.                                                          legal representatives and legal assistants on legal
                                                                visits, subject to “Visitor Identification and Search
On regular business days, legal visitations may                 Procedures” detailed above.
proceed through a scheduled meal period, and the
detainee shall receive a tray or sack meal after the         d. Messengers: The facility shall permit messengers
visit.                                                          (who are not legal representatives or legal
                                                                assistants) to deliver documents to and from the
In emergency circumstances, facilities may consider             facility, but not to visit detainees.


5.7 | Visitation                                           398                                         PBNDS 2011
                                                                                             (Revised December 2016)
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4. Identification of Legal Representatives and               The facility shall document such “prerepresentation
   Legal Assistants                                          meetings” in the logbook for legal visitation.
Prior to each visit, all legal representatives and           To meet with a detainee, a legal service provider’s
assistants shall be required to provide appropriate          representative need not complete a Form G-28
identification, such as a bar card from any state, a         (stating that he/she is legal representatives of the
document demonstrating partial or full accreditation         detainee) at the “pre-representation” stage.
from the U.S. Department of Justice (DOJ) Executive          8. Form G-28 and Attorney/Client Meetings
Office for Immigration Review (EOIR), or a letter of
authorization from the legal representative or               Attorneys representing detainees on legal matters
attorney under whose supervision the individual is           unrelated to immigration are not required to
working as detailed above.                                   complete a Form G-28.
Legal representatives and legal assistants shall not be      Once an attorney-client relationship has been
asked to state the legal subject matter of the meeting.      established, or if an attorney-client relationship
                                                             already exists, the legal representative shall complete
Legal representatives and legal assistants are subject
                                                             and submit a Form G-28, available in the legal
to a non-intrusive search—such as a pat-down
                                                             visitation reception area. Staff shall collect completed
search of the person or a search of the person’s
                                                             forms and forward them to ICE/ERO.
belongings—at any time for the purpose of
ascertaining the absence of contraband.
                                                                       ,  I  c.
                                                             9. Private Meeting Room and Interruption for Head
                                                                           n
5. Identification of Detainee to Be Visited
                                                          r e  C ivic 022
                                                                Counts
                                                        o between14legal
                                                      CVisits
While identification by A-number is preferable, ano v. and an individual
                                                                 r       , 2representatives or legal assistants
                                            O   w i     e m   be          detainee are confidential and shall
                                                      c
                                  ed in as2a 21, De not
facility may not require legal representatives and         be subject to auditory supervision. Private
                              citA-number
assistants to submit a detainee’s
                                          55           consultation rooms shall be available for such
                                    2
condition of visiting. Where the legal
                                  .   1 -
                                       representative
                             Noinformation
or assistant provides alternative
                                                       meetings.
sufficient to reasonably identify the specific detainee,     Officers may terminate legal visits at the end of the
the facility shall make a good-faith effort to locate a      allotted time or to maintain security, but not for
detainee                                                     routine official counts.
6. Call-Ahead Inquiries                                      Staff shall not be present in the confidential area
                                                             during the meeting unless the legal representative or
Each facility shall establish a written procedure to         legal assistant requests the presence of an officer;
allow legal representatives and assistants to telephone      however, as long as staff cannot overhear the
the facility in advance of a visit to determine              conversation, staff may observe such meetings
whether a particular individual is detained there. The       visually through a window or camera, to the extent
request must be made to the on-site ICE/ERO staff            necessary to maintain security.
or, where there is no resident staff, to the ICE/ERO
office with jurisdiction over the facility.                  When a situation arises in which private conference
                                                             rooms are in use and the attorney wishes to meet in
7. Pre-Representation Meetings
                                                             a regular or alternate visiting room, the request shall
During the regular hours for legal visitation, the           be accommodated to the extent practicable. Such
facility shall permit detainees to meet with                 meetings shall be afforded the greatest possible
prospective legal representatives or legal assistants.       degree of privacy under the circumstances.



5.7 | Visitation                                           399                                        PBNDS 2011
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10. Materials Provided to Detainees by Legal                     Providers and Detainee Sign-Up
    Representatives
                                                             ICE/ERO shall provide each facility the official list of
The facility’s written legal visitation procedures must      local free legal service providers, updated quarterly
provide for the exchange of documents between a              by the local DOJ Executive Office for Immigration
detainee and the legal representative or assistant,          Review. The facility shall promptly and prominently
even when contact visitation rooms are unavailable.          post the current list in detainee housing units and
                                                             other appropriate areas.
Documents or other written material provided to a
detainee during a visit with a legal representative          Any legal organization or individual on the current
shall be inspected but not read. Detainees are entitled      list may write the facility administrator to request
to retain legal material received for their personal         the posting and/or general circulation of a sign-up
use. Quantities of blank forms or self-help legal            sheet.
material in excess of those required for personal use        The facility administrator shall then notify detainees
may be held for the detainee with his/her property.          of the availability of the sign-up sheet and according
The detainee shall be permitted access to these              to established procedures, ensure coordination with
documents utilizing the established avenues of               the pro bono organization.
communication.
                                                             14. Legal Visitation Log
11. Administrative and Disciplinary Segregation

                                                               ,  In c.
                                                             Staff shall maintain a separate log to record all legal
                                                        ivic 022
Detainees in administrative or disciplinary                  visitors, including those denied access to the
                                                  r e
segregation shall be allowed legal visitation. If the C
                                            . Co er 14, 2
                                                             detainee. The log shall include the reason(s) for
                                       in  v
facility administrator considers special security
                                         o           b       denying access.
                                     Ow         e
measures necessary, he/she shall notify the legal
                                              c   m
                                  in        e Log entries shall include the following information:
                         cited 55221, D a. date;
service provider of the security concerns prior to the
meeting.
                           o . 2 1-
12. Group Legal Meetings N                     b. time of arrival;
Upon request of a legal representative or assistant,         c. visitor’s name;
the facility administrator may permit a confidential
meeting (with no officer present) involving the
                                                             d. visitor’s address;
requester and two or more detainees. This may occur          e. supervising attorney’s name (if applicable);
for various purposes (e.g., pre-representational,            f. detainee’s name and A-number;
representational, removal-related). The facility shall
grant such requests to the greatest extent practicable,      g. whether the detainee currently has a G-28 on file;
if it has the physical capacity and if the meeting shall     h. time visit began; and
not interfere with the safety, security and good order
of the facility. Each facility administrator shall limit     i. time visit ended.
detainee attendance according to the practical               Staff shall also record any important comments about
concerns of the facility, or the security concerns           the visit.
associated with the meeting in question.                     15. Availability of Legal Visitation Policy
See also standard “6.4 Legal Rights Group
                                                             The facility’s written legal visitation policy shall be
Presentations.”
                                                             available upon request. The site-specific policy shall
13. ICE/ERO-Provided List of Free Legal Service              specify visitation hours, procedures and standards


5.7 | Visitation                                           400                                        PBNDS 2011
                                                                                            (Revised December 2016)
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and address, at a minimum, the following:                  government expense nor unduly delay the removal
a. telephone inquiries;                                    process.
                                                           2. Method of Consultation
b. dress code;
c. legal assistants working under the supervision of       Because expedited removal procedures occur within
   an attorney;                                            short time frames, each facility shall develop procedures
                                                           that liberally allow for consultation visitation, to ensure
d. pre-representational meetings;                          compliance with statutory and regulatory requirements
e. Form G-28 requirements;                                 and to prevent delay in the expedited removal process.
                                                           Given the time constraints, consultation by mail is
f. identification and search of legal representatives;
                                                           highly discouraged.
g. identification of visitors;
                                                           Facility staff shall ensure that consultation, whether
h. materials provided to detainees by legal                in person, by telephone or by electronic means,
   representatives;                                        proceed without hindrance. Staff shall be sensitive to
i. confidential group legal meetings; and                  individual circumstances when resolving
                                                           consultation-related issues.
j. detainee sign-up.
                                                           Consultation visitation shall be allowed during legal
K. Consultation Visits for Detainees                       visitation hours and during general visitation hours.
   Subject to Expedited Removal                                           ,  In  c.
                                                                    ivic 022
                                                           If necessary to meet demand, the facility
                                                              re  C
                                                           administrator shall increase consultation visiting
1. General
                                                     o v. Co er 14, 2
                                                           hours.
                                            O  w  in        e m b Allowed to Visit for Consultation
Detainees who are subject to expedited removal    and
                                                          c
                                        in are 1, De Purposes
                                                           3. Persons
                                ited officer
who have been referred to an asylum
                              c               22
                                       1 - 5
entitled by statute and regulation to consult5with
                                    2
                            No. both prior to the
persons of the detainee’s choosing,
interview and while the asylum officer’s decision is
                                                           Detainees subject to expedited removal may consult
                                                           whomever they choose, in person, by phone or by
under review. Such consultation visitation is for the      other electronic needs, at any time during the first
general purpose of discussing immigration matters,         48 hours of detention. Consultants might include,
not for purely social visits covered earlier.              but are not limited to, attorneys and other legal
                                                           representatives, prospective legal representatives,
a. The consultation visitation period begins before        legal assistants, members of non-governmental
   any interview with an asylum officer and                organizations (NGOs) and friends and family.
   continues while the asylum officer’s
   determination is under review by the supervisory        Consultants are subject to the same identification and
   asylum officer or immigration judge.                    security screening procedures as general visitors. If
                                                           documented security concerns preclude an in-person
b. The consultation visitation period ends with the        visit with a particular individual, the facility
   issuance of a Notice to Appear and once the             administrator shall arrange for consultation by
   detainee is placed in removal proceedings before        telephone or other electronic means. If security
   an immigration judge; however, the detainee             reasons also preclude consultation by telephone or
   retains legal and other visitation privileges in        other electronic means, the facility administrator,
   accordance with this standard.                          through the Field Office Director, shall consult the
“Consultation visitation” may neither incur                respective ICE Office of Chief Counsel.


5.7 | Visitation                                         401                                          PBNDS 2011
                                                                                           (Revised December 2016)
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4. Privacy                                                  L. Consular Visitation
Consultation visits, whether in person, by telephone        According to international agreements and under
or other electronic means, shall receive the same           regulation 8 C.F.R. § 236.1, detainees must be
privacy as communications between legal                     advised of their right to consular access and ICE/ERO
representatives and detainees.                              shall facilitate the detainee’s access to consular
5. Admittance for Asylum Officer Interview                  officers. ICE/ERO policy and practice stipulate that
                                                            all detained individuals be provided with notice,
Detainees subject to expedited removal may bring
                                                            through the facility administrator, of their right to
and consult advisors during the asylum officer
                                                            contact their consular representative(s) and receive
interview. The presence of persons to consult is also
                                                            visits from their consulate officer(s).
allowed during the Immigration Judge’s review of a
negative credible fear determination, at the judge’s        The facility administrator shall ensure that all
discretion.                                                 detainees are notified of and afforded the right to
                                                            contact and receive visits from their consular officers.
6. Log
                                                            The same hours, privacy and conditions that govern
Staff shall record consultation visits in the legal         legal visitation apply to consular visitation. Consular
visitation log.                                             visits may be permitted at additional times outside
7. Form G-28 for Consultation Visits                        normal visitation hours, with the facility

                                                                       ,  In c.
                                                            administrator’s prior authorization.
Visitors are not required to file a Form G-28 to
                                                              C      ic visits, consular
                                                                  ivsuch        2 2 officers must
participate in a consultation visit or provide
                                                        o r e
                                                       To conduct
                                                                         ,  2 0
                                                 o v.C present
                                                                     1 4
                                                               Department
                                                                  r         of State-issued identification.
                                                             be from Representatives of
consultation during an asylum officer interview or
                                        O  w   in       e m
                                   in
Immigration Judge’s review of a negative credible fear
                                                    e cM.  Visits
                           cited 55221, D
determination. This stipulation applies even if the        Community Service Organizations
                                  1  -
visitor is an attorney or legal representative.
8. Other Considerations forN
                             o. 2
                           Consultation Visits
                                                       The facility administrator may approve visits to one
                                                            or more detainees by individuals or groups
The above procedures for “Visits by Legal                   representing community service organizations,
Representatives and Legal Assistants” apply to other        including civic, religious, cultural, therapeutic and
considerations in regard to consultation visits such as     other groups. Volunteers may provide a special
the following:                                              religious, educational, therapeutic or recreational
a. group consultations;                                     activity.

b. call-ahead inquiries;                                    The facility administrator’s approval shall take into
                                                            account such factors as:
c. searches;
                                                            1. safety and security considerations;
d. detainee identification;
                                                            2. availability of detention personnel to supervise
e. materials provided to detainees by the visitor;             the activity; and
f. consultation visits for detainees in administrative      3. sufficient advance notification to the facility
   and disciplinary segregation;                               administrator.
g. pro-bono list and detainee sign-up; and                  Detainees’ immediate family and other relatives,
h. availability of consultation visitation policy.          friends and associates, as detailed above under


5.7 | Visitation                                          402                                        PBNDS 2011
                                                                                           (Revised December 2016)
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“Persons Allowed to Visit,” may not serve as                          conflict of interest; and
volunteers.                                                        3) accepting any gift from or engaging in
To inform the facility administrator’s decision,                      personal business transactions with a
facility staff (such as chaplains and recreation                      detainee or a detainee’s immediate family.
specialists) shall verify the organization’s bona fide
                                                                All volunteers shall be held accountable for
interests and qualifications for this kind of service.
                                                                compliance with the rules and procedures.
Groups and/or individuals from those groups must:           4. Read and sign a waiver of liability that releases
1. Provide the facility with advance notification of           ICE/ERO of all responsibility in case of injury
   the names, dates of birth and social security               during the visit before being admitted to any
   numbers or unexpired passport number of the                 secure portion of the facility or location where
   group members who shall be visiting;                        detainees are present.
   All volunteers, regardless of title or position, are     N. Other Special Visits
   subject to a background check that includes, but
                                                            1. Independent Medical Service Providers and
   is not limited to, a criminal history check,
                                                            Experts
   verification of identity and occupation and
   verification of credentials for the type of activity     A detainee or his/her legal representative may seek
   involved;                                                an independent medical or mental health
                                                                        , Inc.
                                                                    ivic 022
2. Provide identification for individual members of         examination to develop information useful in
                                                                re C
                                                            administrative proceedings, in accordance with “EE.
                                                          . Co er 14, 2
   the group upon arrival at the facility.
                                                    ino  v  Examinations by Independent Medical Service
                                                                  b
   Standard “2.4 Facility Security and Control”
                                              O   w           e m
                                                            Providers and Experts” found in standard 4.3
                                                            c
   details procedures for checking d
                                  te      in
                                      a visitor’s
                                                     1 , De
                              c  i                 2        “Medical Care.” Once the Field Office Director has

                                      2  1   552 for
   identity, issuing visitor passes and accounting
                                           -                approved the request for an independent
                             No.
   visitors while they are in the  facility;                examination, the facility shall provide a location for
                                                            the examination but no medical equipment or
3. Comply with visitation rules: each approved
   volunteer shall receive an appropriate orientation       supplies and the examination must be arranged and
   to the facility, and shall acknowledge his/her           conducted in a manner consistent with maintaining
   understanding of rules and procedures by signing         the security and good order of the facility.
   an agreement to comply with them, particularly           2. Law Enforcement Officials’ Visits
   in regard to permissible behavior and
   relationships with detainees. The orientation and        Facility visitation procedures shall cover law
   signed agreement shall include at a minimum, the         enforcement officials requesting interviews with
   following functions:                                     detainees. Facilities shall notify and seek approval
                                                            from ICE/ERO of any proposed law enforcement
   a. specify lines of authority, responsibility and        officer visit with a detainee.
      accountability for volunteers; and
                                                            3. Visitation by Former Detainees or Aliens in
   b. prohibit volunteers from:                             Proceedings
      1) using their official positions to secure           Former ICE/ERO detainees, individuals with
         privileges for themselves or others;               criminal records and individuals in deportation
      2) engaging in activities that constitute a           proceedings shall not be automatically excluded
                                                            from visitation. Individuals in any of these categories


5.7 | Visitation                                          403                                        PBNDS 2011
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must so notify the facility administrator before            business, the facility administrator may permit a
registering for visitation privileges. The facility         special visit.
administrator shall weigh the nature and extent of an
                                                            ICE/ERO does not recognize or sanction any work-
individual’s criminal record and/or prior conduct
                                                            release program.
against the benefits of visitation in determining
visitation privileges. A potential visitor’s failure to     5. Visiting Rules Regarding Animals
disclose such matters may preclude visitation               Each facility shall establish and disseminate a policy
privileges.                                                 and implementing procedures governing whether
4. Business Visitors                                        and, if so, under what circumstances animals may
                                                            accompany human visitors onto or into facility
A detainee may not actively engage in business or           property.
professional interests or activities; however, in the
event that a detainee must make a decision that shall       However, service animals shall be permitted to
substantially affect the assets or prospects of a           accompany all persons with disabilities.




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                                    in        e c
                            cited 55221, D
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                            N




5.7 | Visitation                                          404                                       PBNDS 2011
                                                                                           (Revised December 2016)
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5.8 Voluntary Work                                            good order of the facility.
                                                          2. Detainees shall be able to volunteer for work
    Program                                                  assignments but otherwise shall not be required
                                                             to work, except to do personal housekeeping.
I. Purpose and Scope
                                                          3. Essential operations and services shall be
This detention standard provides detainees                   enhanced through detainee productivity.
opportunities to work and earn money while
                                                          4. The negative impact of confinement shall be
confined, subject to the number of work
                                                             reduced through decreased idleness, improved
opportunities available and within the constraints of
                                                             morale and fewer disciplinary incidents.
the safety, security and good order of the facility.
                                                          5. Detainee working conditions shall comply with
While not legally required to do so, ICE/ ERO
                                                             all applicable federal, state and local work safety
affords working detainees basic Occupational Safety
                                                             laws and regulations.
and Health Administration (OSHA) protections.
                                                          6. There shall be no discrimination regarding
This detention standard applies to the following
                                                             voluntary work program access based on any
types of facilities housing ICE/ERO detainees:
                                                             detainee’s race, religion, national origin, gender,
 x   Service Processing Centers (SPCs);                      sexual orientation or disability.
 x   Contract Detention Facilities (CDFs); and                        , Inc.
                                                          7. The facility shall provide communication
                                                               e Civic 022
                                                             assistance to detainees with disabilities and
                                                              r
  x State or local government facilities used by
     ERO through Intergovernmental Service ino v
                                                        . Co er 14, 2
                                                             detainees who are limited in their English

                                             O  w           e m b
                                                             proficiency (LEP). The facility will provide
                                         in             e c
                              cited 55221, D
     Agreements (IGSAs) to hold detainees      for more      detainees with disabilities with effective
     than 72 hours.                                          communication, which may include the
                                o  .
Procedures in italics are specifically  1- for
                                      2required              provision of auxiliary aids, such as readers,
                             N
SPCs, CDFs, and Dedicated IGSA facilities. Non-              materials in Braille, audio recordings, telephone
dedicated IGSA facilities must conform to these              handset amplifiers, telephones compatible with
procedures or adopt, adapt or establish alternatives,        hearing aids, telecommunications devices for deaf
provided they meet or exceed the intent represented          persons (TTYs), interpreters, and note-takers, as
by these procedures.                                         needed. The facility will also provide detainees
                                                             who are LEP with language assistance, including
Various terms used in this standard may be defined
                                                             bilingual staff or professional interpretation and
in standard “7.5 Definitions.”
                                                             translation services, to provide them with
II. Expected Outcomes                                        meaningful access to its programs and activities.
                                                              All written materials provided to detainees shall
The expected outcomes of this detention standard
                                                              generally be translated into Spanish. Where
are as follows (specific requirements are defined in
                                                              practicable, provisions for written translation shall
“V. Expected Practices”).
                                                              be made for other significant segments of the
1. Detainees may have opportunities to work and               population with limited English proficiency.
   earn money while confined, subject to the
                                                              Oral interpretation or assistance shall be provided
   number of work opportunities available and
                                                              to any detainee who speaks another language in
   within the constraints of the safety, security and
                                                              which written material has not been translated or


5.8 | Voluntary Work Program                            405                                          PBNDS 2011
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   who is illiterate.                                        perimeter of non-dedicated IGSA facilities.

III. Standards Affected                                      In SPCs, CDFs, and dedicated IGSAs, low custody
                                                             detainees may work outside the secure perimeter on
This detention standard replaces “Voluntary Work             facility grounds. They must be directly supervised at
Program” dated 12/2/2008.                                    a ratio of no less than one staff member to four
This detention standard incorporates the                     detainees. The detainees shall be within sight and
requirements regarding detainees’ assigned to work           sound of that staff member at all times.
outside of a facility’s secure perimeter originally          C. Personal Housekeeping Required
communicated via a memorandum to all Field Office
Directors from the Acting Director of U.S.                   Work assignments are voluntary; however, all
Immigration and Customs Enforcement (ICE)                    detainees are responsible for personal housekeeping.
Enforcement and Removal Operations (ERO)                     Detainees are required to maintain their immediate
(11/2/2004).                                                 living areas in a neat and orderly manner by:
IV. References                                               1. making their bunk beds daily;
                                                             2. stacking loose papers;
American Correctional Association, Performance-
based Standards for Adult Local Detention                    3. keeping the floor free of debris and dividers free
Facilities, 4th Edition: 4-ALDF-5C-06, 5C-08, 5C-               of clutter; and
                                                                             , In c.
11(M), 6B-02.
                                                        C      c hanging/draping
                                                           ivifrom          2
                                                 4. refraining
                                                  o r e           , 2  0 2             clothing,
ICE/ERO Performance-based National Detention v. C   pictures, 1 4
                                                              keepsakes, or other objects from beds,
                                            o               r
                                                       be lighting fixtures or other furniture.
Standards 2011:
                                  n   win
                                      O           emoverhead
                                                    ce
                               d i            , D
                         citeand Safety”;
  x “1.2 Environmental Health
                                    5 5 2  21
                                          and        D. Detainee Selection
  x “4.1 Food Service.”   o  . 21-                   The facility administrator shall develop site-specific
                        N                                    rules for selecting work detail volunteers. These site-
V. Expected Practices                                        specific rules shall be recorded in a facility procedure
                                                             that shall include a voluntary work program
A. Voluntary Work Program
                                                             agreement. The voluntary work program agreement
Detainees shall be provided the opportunity to               shall document the facility’s program and shall be in
participate in a voluntary work program. The                 compliance with this detention standard.
detainee’s classification level shall determine the type
                                                             The primary factors in hiring a detainee as a worker
of work assignment for which he/she is eligible.
                                                             shall be his/her classification level and the specific
Generally, high custody detainees shall not be given
                                                             requirements of the job.
work opportunities outside their housing
units/living areas. Non-dedicated IGSAs will have            1. Staff shall present the detainee’s name to the shift
discretion on whether or not they will allow                    supervisor or the requesting department head.
detainees to participate in the voluntary work               2. The shift supervisor or department head shall
program.                                                        review the detainee’s classification and other
B. Work Outside the Secure Perimeter                            relevant documents in the detainee’s detention
                                                                file.
ICE detainees may not work outside the secure
                                                             3. The shift supervisor or department head shall


5.8 | Voluntary Work Program                               406                                       PBNDS 2011
                                                                                            (Revised December 2016)
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   assess the detainee’s language skills because these       H. Hours of Work
   skills affect the detainee’s ability to perform the
   specific requirements of the job under                    Detainees who participate in the volunteer work
   supervision. To the extent possible, work                 program are required to work according to a
   opportunities shall be provided to detainees who          schedule.
   are able to communicate with supervising staff            The normal scheduled workday for a detainee
   effectively and in a manner that does not                 employed full time is a maximum of 8 hours.
   compromise safety and security.                           Detainees shall not be permitted to work in excess of
4. Inquiries to staff about the detainee’s attitude and      8 hours daily, 40 hours weekly.
   behavior may be used as a factor in the                   Unexcused absences from work or unsatisfactory
   supervisor’s selection.                                   work performance may result in removal from the
Staff shall explain the rules and regulations as well as     voluntary work program.
privileges relating to the detainee worker’s status.         I. Number of Details in One Day
The detainee shall be required to sign a voluntary
work program agreement before commencing each                The facility administrator may restrict the number of
new assignment. Completed agreements shall be                work details permitted a detainee during one day.
filed in the detainee’s detention file.                      In SPCs, CDFs, and dedicated IGSAs a detainee may
                                                             participate in only one .work detail per day.
E. Special Details
                                                                v ic, Detainee Inc
                                                          re C i
                                                       J. Establishing
                                                                        0 2 2  Classification
                                                   v. CoLevel 14, 2
Detainees may volunteer for temporary work details

                                      w  ino
that occasionally arise. The work, which generally
                                                     m   b er
                                in  O             e
                                                ecIf the facility cannot establish the classification level
lasts from several hours to several days, may involve
                                              D
labor-intensive work.
                        c ite d         2 1 ,
                                  5 5 2           in which the detainee belongs, the detainee shall be
F. Discrimination in Hiring
                         o  . 21-
                             Prohibited           ineligible for the voluntary work program.
                      N                           K. Compensation
Detainees shall not be denied voluntary work
opportunities on the basis of such factors as a              Detainees shall receive monetary compensation for
detainee’s race, religion, national origin, gender,          work completed in accordance with the facility’s
sexual orientation or disability.                            standard policy.
G. Detainees with Disabilities                               The compensation is at least $1.00 (USD) per day.
The facility shall allow, where possible, detainees          The facility shall have an established system that
with disabilities to participate in the voluntary work       ensures detainees receive the pay owed them before
program in appropriate work assignments.                     being transferred or released.
Consistent with the procedures outlined in Standard          L. Removal of Detainee from Work Detail
4.8 “Disability Identification, Assessment, and
Accommodation,” the facility shall provide                   A detainee may be removed from a work detail for
reasonable accommodations and modifications to its           such causes as:
policies, practices, and/or procedures to ensure that        1. unsatisfactory performance;
detainees with disabilities have an equal opportunity
                                                             2. disruptive behavior, threats to security, etc.;
to access, participate in, and benefit from the
voluntary work programs.                                     3. physical inability to perform the essential


5.8 | Voluntary Work Program                               407                                        PBNDS 2011
                                                                                            (Revised December 2016)
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   elements of the job due to a medical condition or       standards.
   lack of strength;
                                                           The facility administrator shall ensure that all
4. prevention of injuries to the detainee; and/or          department heads, in collaboration with the facility’s
5. a removal sanction imposed by the Institution           safety/training officer, develop and institute
   Disciplinary Panel for an infraction of a facility      appropriate training for all detainee workers.
   rule, regulation or policy.                             1. The voluntary work program shall operate in
When a detainee is removed from a work detail, the            compliance with the following codes and
facility administrator shall place written                    regulations:
documentation of the circumstances and reasons in              a. Occupational Safety and Health Administration
the detainee detention file.                                      (OSHA) regulations;
Detainees may file a grievance to the local Field              b. National Fire Protection Association 101 Life
Office Director or facility administrator if they                 Safety Code; and
believe they were unfairly removed from work, in
                                                               c. International Council Codes (ICC).
accordance with standard “6.2 Grievance System.”
                                                               Each facility administrator’s designee is
M. Detainee Responsibility                                     responsible for providing access to complete and
The facility administrator shall establish procedures          current versions of the documents listed above.
                                                                           , In c.
                                                                     ivic 022
for informing detainee volunteers about on-the-job             The facility administrator shall ensure that the
responsibilities and reporting procedures.
                                                              r e C
The detainee is expected to be ready to report forno v.
                                                          Co         r 1  4  ,2
                                                               facility operates in compliance with all applicable

                                                                 be
                                                               standards.
work at the required time and may notin    Oan
                                        leave wi        e c e m
                               ite d              1 , D    2. Upon  a detainee’s assignment to a job or detail,
                             c
assignment without permission.
                                     1 - 5 522                the supervisor shall provide thorough instructions
                                   2
                           N all.assigned tasks
1. The detainee shall perform o                               regarding safe work methods and, if relevant,
   diligently and conscientiously.                            hazardous materials, including:

2. The detainee may not evade attendance and                   a. safety features and practices demonstrated by
   performance standards in assigned activities nor               the supervisor; and
   encourage others to do so.                                  b. recognition of hazards in the workplace,
3. The detainee shall exercise care in performing                 including the purpose for protective devices
   assigned work, using safety equipment and taking               and clothing provided, reporting deficiencies
   other precautions in accordance with the work                  to their supervisors (staff and detainees who
   supervisor’s instructions.                                     do not read nor understand English shall not
                                                                  be authorized to work with hazardous
4. In the event of a work-related injury, the detainee            materials).
   shall notify the work supervisor, who shall
   immediately implement injury-response                          A detainee shall not undertake any assignment
   procedures.                                                    before signing a voluntary work program
                                                                  agreement that, among other things, confirms
N. Detainee Training and Safety                                   that the detainee has received and understood
All detention facilities shall comply with all                    training from the supervisor about the work
applicable health and safety regulations and                      assignment.



5.8 | Voluntary Work Program                             408                                        PBNDS 2011
                                                                                          (Revised December 2016)
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      The voluntary work program agreement,                procedures for immediately and appropriately
      which each detainee is required to sign prior        responding to on-the-job injuries, including
      to commencing each new assignment, shall be          immediate notification of ICE/ERO.
      placed in the detainee’s detention file.
                                                           If a detainee is injured while performing his/her
3. For a food service assignment, medical staff, in        work assignment:
   conjunction with the U.S. Public Health Service,
                                                           1. The work supervisor shall immediately notify
   shall ensure that detainees are medically screened
                                                              facility medical staff. In the event the accident
   and certified before undertaking the assignment.
                                                              occurs in a facility that does not provide 24-hour
4. The facility shall provide detainees with safety           medical care, the supervisor shall contact the on-
   equipment that meets OSHA and other standards              call medical officer for instructions.
   associated with the task performed.
                                                           2. First aid shall be administered as necessary.
5. The facility administrator shall ensure that the
                                                           3. Medical staff shall determine what treatment is
   facility operates in compliance with all applicable
                                                              necessary and where that treatment shall take
   standards.
                                                              place.
O. Detainee Injury and Reporting                           4. The work supervisor shall complete a detainee
   Procedures                                                 accident report and submit it to the facility
The facility administrator shall implement
                                                            , I c.
                                                              administrator for review and processing and file it
                                                               n
                                                    re Civic 022
                                                              in the detainee’s detention file and A-file.

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                                    in        e c
                            cited 55221, D
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                            N




5.8 | Voluntary Work Program                             409                                       PBNDS 2011
                                                                                         (Revised December 2016)
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                                                               ICE National Detainee Handbook (ICE Handbook)
6.1 Detainee Handbook                                          and a local detainee handbook supplement. The
                                                               facility shall develop the local detainee handbook
I. Purpose and Scope                                           supplement, which shall describe such matters as:
This detention standard requires that, upon                    a. the grievance system;
admission, every detainee be provided comprehensive
                                                               b. services and programs;
written orientation materials that describe such
matters as the facility’s rules and sanctions,                 c. medical care;
disciplinary system, mail and visiting procedures,             d. access to legal counsel;
grievance system, services, programs and medical
care, in English, Spanish and other languages and that         e. law libraries and legal material;
detainees acknowledge receipt of those materials.              f. correspondence and other material;
This detention standard applies to the following               g. staff-detainee communication;
types of facilities housing ICE/ERO detainees:
                                                               h. the classification system;
  x   Service Processing Centers (SPCs);                       i. visitation; and
  x   Contract Detention Facilities (CDFs); and                j. the disciplinary system.
  x   State or local government facilities used by
                                                                            , In c.
                                                            2. Each detainee shall verify, by signature and date,
      ERO through Intergovernmental Service
                                                                 e C  ivic 022
                                                               receipt of those orientation materials, and that
                                                               r
      Agreements (IGSAs) to hold detainees for more
                                                      o v. Co er 14, 2
                                                               acknowledgement shall be maintained in the
      than 72 hours.
                                             O  w   in       e m  b
                                                               detainee’s detention file.
                                                           c
                                         in for 1, De 3. The ICE Handbook will be provided to the facility
                              c  itedrequired52
Procedures in italics are specifically
                                                   2
                                        1
SPCs, CDFs, and Dedicated IGSA facilities.
                                      2   - 5 Non-             in English, Spanish and other languages made
dedicated IGSA facilities must  o  .
                             Nconform     to these             available by ICE. The facility administrator shall
procedures or adopt, adapt or establish alternatives,          ensure that the facility has sufficient quantities of
provided they meet or exceed the intent represented            the English and all translated versions of the ICE
by these procedures.                                           Handbook, and shall request additional copies of
For all types of facilities, procedures that appear in         the ICE Handbook from the Field Office Director
italics with a marked (**) on the page indicate                as needed.
optimum levels of compliance for this standard.             4. The local handbook supplement provided to
Various terms used in this standard may be defined             detainees shall generally be translated into
in standard “7.5 Definitions.”                                 Spanish. Where practicable, provisions for written
                                                               translation shall be made for other significant
II. Expected Outcomes                                          segments of the population with limited English
                                                               proficiency.
The expected outcomes of this detention standard
are as follows (specific requirements are defined in           Oral interpretation or assistance shall be provided
“V. Expected Practices”).                                      to any detainee who speaks another language in
                                                               which written material has not been translated or
1. Upon admission to a facility, each detainee shall           who is illiterate. Materials may be provided via
   be provided the comprehensive written                       audio or video recordings.
   orientation materials, which shall consist of the


6.1 | Detainee Handbook                                  410                                          PBNDS 2011
                                                                                             (Revised December 2016)
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   The facility shall provide communication               A. Distribution
   assistance to detainees with disabilities and
   detainees who are limited in their English             The facility administrator shall distribute the ICE
   proficiency (LEP). The facility will provide           Handbook, and shall develop and distribute a local
   detainees with disabilities with effective             written supplement to the handbook.
   communication, which may include the                   For consistency among detention facilities, the ICE
   provision of auxiliary aids, such as readers,          Handbook shall be used as a comprehensive
   materials in Braille, audio recordings, telephone      orientation resource. In each facility, the local
   handset amplifiers, telephones compatible with         supplement contents shall be customized and
   hearing aids, telecommunications devices for deaf      adapted for that specific facility.
   persons (TTYs), interpreters, and note-takers, as
                                                          B. Contents of Local Supplement
   needed. The facility will also provide detainees
   who are LEP with language assistance, including        Upon admission to a facility, prior to placement in
   bilingual staff or professional interpretation and     general population, each detainee shall be provided a
   translation services, to provide them with             copy of the handbook and that facility’s local
   meaningful access to its programs and activities.      supplement to the handbook.

III. Standards Affected                                   Staff shall require each detainee to verify, by
                                                          signature, receipt of the handbook, and shall
This detention standard replaces “Detainee
                                                                        ,  In c.
                                                          maintain that signed acknowledgement in the
Handbook” dated 12/2/2008.
                                                            e C  ivic 022
                                                          detainee’s detention file.
                                                          r
IV. References                                     v    o all applicable
                                                    . CWhile      r  1 4  , 2topics from the handbook must
                                           w  ino         m  be it is especially important that each
                                     in   O           c e
                                                   De local supplement notify each detainee of:
                                                       be addressed,
                               itedPerformance-
American Correctional Association,
                             c               2 1 ,
                                    1  -
based Standards for Adult Local Detention
                                  2      552
                            No. 2A-28, 2A-
                                                       1. the rules, regulations, policies and procedures
Facilities, 4th Edition: 4-ALDF-2A-27,
                                                              with which every detainee must comply;
29.
                                                          2. detainee rights and responsibilities;
ICE/ERO Performance-based National Detention
Standards 2011:                                           3. procedures for requesting interpretive services for
                                                             effective communication;
 x    “2.2 Custody Classification System”;
                                                          4. Procedures for requesting reasonable
 x    “2.13 Staff-Detainee Communication”;                   accommodations
 x    “3.1 Disciplinary System”;                          5. the facility’s zero tolerance policy for all forms of
 x    “4.3 Medical Care”;                                    sexual abuse and assault;

 x    “5.1 Correspondence and Other Mail”;                6. the facility’s rules of conduct and prohibited acts,
                                                             the disciplinary severity scale, the sanctions
 x    “5.7 Visitation”;                                      imposed for violations of the rules, the
 x    “6.2 Grievance System”; and                            disciplinary process, the procedure for appealing
                                                             disciplinary findings, and detainees’ rights in the
 x    “6.3 Law Libraries and Legal Material.”
                                                             disciplinary system, as required by standard “3.1
V. Expected Practices                                        Disciplinary System,” at Section B of Expected
                                                             Practices;


6.1 | Detainee Handbook                                 411                                          PBNDS 2011
                                                                                         (Revised December 2016)
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7. information about the facility’s grievance system        The facility administrator shall ensure that the facility
   including medical grievances, as required by             has sufficient quantities of the English and all
   standard “6.2 Grievance System,” at Section B of         translated versions of the ICE Handbook and shall
   Expected Practices;                                      request additional copies of the ICE Handbook from
8. the facility’s policies on telephone access and on       the Field Office Director as needed. The local
   the monitoring of telephone calls, if telephone          handbook supplement provided to detainees shall
   calls are monitored;                                     generally be translated into Spanish. Where
                                                            practicable, provisions for written translation shall be
9. the facility’s visitation rules and hours;               made for other significant segments of the
10.     rules and procedures governing access to the        population with limited English proficiency.
   law library as required by standard “6.3 Law             If a detainee cannot read or does not understand the
   Libraries and Legal Material,” at Sections E(2) and      language of the handbook, the facility administrator
   N of Expected Practices;                                 shall provide the material using audio or video tapes
11. content and procedures of the facility’s rules on       in a language the detainee does understand, arrange
    legal rights group presentations, and the               for the orientation materials to be read to the
    availability of legal orientation programs;             detainee, or provide a translator or interpreter within
                                                            a reasonable amount of time.
12. the facility’s rules on correspondence and other
    mail, including information on correspondence                            . Staff
                                                            D. Detention Support
                                                                              Inc
                                                                         ic,
                                                                   Civadministrator
    procedures as required by standard “5.1
                                                             o  r e
                                                            The facility
                                                                                2 0  2 2 provide a copy of the
                                                                                       shall
    Correspondence and Other Mail,” at Section C of
                                                         v.CICE  Handbook
                                                                       r 1 4 ,
                                                                           and  the local supplement to every
    Expected Practices;
                                                w  in  o       m
                                                            staff be who has contact with detainees, and
                                                                  member
                                             O             c e
                               c ite d inrelated2to1, De shall address their contents in initial and annual staff
13. the facility’s policies and procedures

                                     2  1 - 552
    personal property, as required by standard    “2.5      training.

    Expected Practices;       No.
    Funds and Personal Property,”    at Section C of
                                                            E. Updates
14. the facility’s marriage request procedures;             The ICE Handbook will be updated as necessary by
                                                            ICE/ERO. The facility administrator shall appoint a
15. contact information for the ICE/ERO Field Office        committee to review the local supplement annually
    and the scheduled hours and days that ICE/ERO           and recommend changes. While the handbook does
    staff is available to be contacted by detainees at      not have to be immediately revised and reprinted to
    the facility; and                                       incorporate every change, the facility administrator
16. procedures to submit written questions,                 shall establish procedures for immediately
    requests, or concerns to ICE/ERO staff, as well as      communicating such changes to staff and detainees
    the availability of assistance to prepare such          through methods including but not limited to the
    requests.                                               following:

C. Translations and Access for Limited                      1. posting changes on bulletin boards in housing
                                                               units and other prominent areas;
   English Proficient Detainees
                                                            2. notifying staff by memos and other means; and
The ICE Handbook shall be provided in English,
Spanish and other predominant languages as                  3. informing new arrivals during orientation.
determined necessary by the Field Office Director.          On occasion, ICE/ERO may require a specific and


6.1 | Detainee Handbook                                  412                                         PBNDS 2011
                                                                                           (Revised December 2016)
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immediate change to the handbook.                detainees shall report allegations of abuse and civil
                                                 rights violations, along with violations of officer
F. Reporting Allegations
                                                 misconduct, directly to ICE/ERO headquarters or the
The ICE Handbook will explicitly address how     DHS Office of Inspector General.




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6.1 | Detainee Handbook                        413                                      PBNDS 2011
                                                                              (Revised December 2016)
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6.2 Grievance System                                               including medical grievances, and shall receive
                                                                   written responses, including the basis for the
I. Purpose and Scope                                               decision, in a timely manner.
                                                               4. Detainees shall be able to file emergency
This detention standard protects a detainee’s rights              grievances for incidents that involve an
and ensures that all detainees are treated fairly by              immediate threat to health, safety, or welfare, and
providing a procedure for them to file both informal              shall receive written responses, including the
and formal grievances, which shall receive timely                 basis for the decision, in a timely manner.
responses relating to any aspect of their detention,
including medical care.                                        5. Detainees shall be able to appeal initial decisions
                                                                  on grievances to at least one higher level of
This detention standard applies to the following                  review.
types of facilities housing ICE/ERO detainees:
                                                               6. Facilities shall allow any ICE/ERO detainee
  x   Service Processing Centers (SPCs);                          dissatisfied with the facility’s response to a
  x   Contract Detention Facilities (CDFs); and                   grievance or those fearing retaliation to be able to
                                                                  appeal or communicate directly with ICE/ERO.
  x   State or local government facilities used by
                                                               7. Accurate records shall be maintained for filed
      ERO through Intergovernmental Service
                                                                  grievances and their resolution in a grievance log
      Agreements (IGSAs) to hold detainees for more
                                                                               ,  In c.
                                                                      Civicshall2be02
                                                                  and the detainee’s detention file.
      than 72 hours.
                                                                  r
                                                               8.oNoe                      2 disciplined,
                                                              C      detainee
                                                                              4  ,       harassed,
                                                       o v. m          er 1or otherwise retaliated against for filing
Procedures in italics are specifically required for
SPCs, CDFs, and Dedicated IGSA facilities. Non-  w   in              b
                                                                  punished

                                      d  in   O           D e ce a complaint or grievance.
                                 ite alternatives,
dedicated IGSA facilities must conform
procedures or adopt, adapt orcestablish
                                           to these
                                                 2  21  ,
                                        1  - 5 5               9. The facility shall assist detainees with disabilities
                                      2
by these procedures.
                             N the. intent represented
provided they meet or exceed o                                     and other special needs in preparing and
                                                                   pursuing a grievance, including those with
                                                                   serious mental illness, known intellectual or
Various terms used in this standard may be defined
                                                                   developmental disabilities, or who are blind or
in standard “7.5 Definitions.”
                                                                   have low vision.
II. Expected Outcomes                                          10. The facility shall provide communication
                                                                  assistance to detainees with disabilities and
The expected outcomes of this detention standard
                                                                  detainees who are limited in their English
are as follows (specific requirements are defined in
                                                                  proficiency (LEP). The facility will provide
“V. Expected Practices”):
                                                                  detainees with disabilities with effective
1. Detainees shall be informed about the facility’s               communication, which may include the
   informal and formal grievance system in a                      provision of auxiliary aids, such as readers,
   language or manner they understand.                            materials in Braille, audio recordings, telephone
2. In their daily interaction, staff and detainees shall          handset amplifiers, telephones compatible with
   mutually resolve most complaints and grievances                hearing aids, telecommunications devices for
   orally and informally.                                         deaf persons (TTYs), interpreters, and note-
                                                                  takers, as needed. The facility will also provide
3. Detainees shall be able to file formal grievances,             detainees who are LEP with language assistance,


6.2 | Grievance System                                     414                                          PBNDS 2011
                                                                                              (Revised December 2016)
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     including bilingual staff or professional                   populations;
     interpretation and translation services, to provide
                                                             3. establish reasonable time limits for:
     them with meaningful access to its programs and
     activities.                                                 a. processing, investigating and responding to
                                                                    grievances;
   All written materials provided to detainees shall
   generally be translated into Spanish. Where                   b. convening a grievance committee (or actions
   practicable, provisions for written translation shall            of a single designated grievance officer) to
   be made for other significant segments of the                    review formal complaints; and
   population with limited English proficiency.                  c. providing written responses to detainees who
Oral interpretation or assistance shall be provided to              filed formal grievances, including the basis for
any detainee who speaks another language in which                   the decision;
written material has not been translated or who is           4. ensure a procedure in which all medical
illiterate. III. Standards Affected                             grievances are received by the administrative
                                                                health authority within 24 hours or the next
This detention standard replaces “Detainee Grievance            business day, with a response from medical staff
Procedures” dated 12/2/2008.                                    within five working days, where practicable;
IV. References                                               5. establish a special procedure for time-sensitive,
                                                                        ,  In c.
                                                                emergency grievances, including having a
American Correctional Association, Performance-
                                                           r e C ivic 022
                                                                mechanism by which emergency medical
based Standards for Adult Local Detention
                                                  o v. Co er 14, 2
                                                                grievances are screened as soon as practicable by

                                          O    in
Facilities, 4th Edition: 4-ALDF-2A-27, 6A-07, 6B-
                                            w            e m  b appropriate personnel;
01.                                                    c
                                   d in 21, De 6. ensure each grievance receives appropriate
                             c ite
ICE/ERO Performance-based National5
                                     1 -  52
                                         Detention         review;
                                 . 2
Standards 2011:
                            No                          7. provide at least one level of independent appeal
 x     “2.13 Staff-Detainee Communication”                       that excludes individuals previously involved in
 x    “5.1 Correspondence and Other Mail.”                       the decision making process for the same
                                                                 grievance;
“Standards to Prevent, Detect, and Respond to Sexual
Abuse and Assault in Confinement Facilities,” 79             8. include guarantees against reprisal; and
Fed. Reg. 13100 (Mar. 7, 2014).                              9. ensure information, advice and directions are
                                                                provided to detainees in a language or manner
V. Expected Practices                                           they can understand, or that
A. Written Procedures Required                                  interpretation/translation services are utilized.

Each facility shall have written policy and procedures       B. Informing Detainees about Grievance
for a detainee grievance system that:                           Procedures
1. establish a procedure for any detainee to file an         The facility shall provide each detainee, upon
   informal or formal grievance;                             admittance, a copy of the detainee handbook and
2. establish a procedure to track or log all ICE             local supplement (see also standard “6.1 Detainee
   detainee grievances separately from other facility        Handbook”), in which the grievance section
                                                             provides notice of the following:


6.2 | Grievance System                                     415                                          PBNDS 2011
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1. The expectation that, to the greatest extent             opportunity to expediently resolve his/her cause for
   possible, complaints and grievances shall be             complaint before resorting to the more time-
   handled orally and informally by staff in their          consuming written formal procedure. Staff at every
   daily interaction with detainees (at all times, the      facility shall make every effort to resolve a detainee’s
   detainee shall be granted the right to file a formal     complaint or grievance at the lowest level possible,
   grievance and pursue the formal grievance                in an orderly and timely manner.
   process);
                                                            The facility administrator, or designee, shall establish
2. The right to file a grievance, including medical         written procedures for detainees to orally and
   grievances, both informal and formal;                    informally present the issue of concern (as addressed
3. The process for filing emergency grievances;             in standard “2.13 Staff-Detainee Communication”).
                                                            Upon request, additional assistance will be provided
4. The procedures for filing and resolving a                for detainees with impairments or disabilities,
   grievance, including the availability of assistance      interpretation/translation services for detainees who
   in preparing a grievance (assistance for detainees       are LEP, and assistance for detainees with limited
   with impairments or disabilities,                        literacy. Detention facility staff is encouraged to
   interpretation/translation services for detainees        provide assistance if a detainee cannot properly
   with limited English proficiency (LEP) and               communicate their concern.
   assistance for detainees with limited literacy);

                                                                        , In c.
                                                            A detainee is free to bypass or terminate the informal

                                                                  ivic 022
5. The procedures for filing and resolving an appeal,       grievance process at any point and proceed directly
   including the right to appeal to specified higher
                                                           re  C
   levels if the detainee disagrees with the lowerv . CIfoan informal
                                                                  r 1     ,2
                                                            to the formal grievance stage.
                                                                       4
                                           w in o         m   be      grievance is resolved, the employee
   decisions;
                                         O
                                     in to appeal D    e
                                                    ecneed not provide the detainee written confirmation
                              ite d           1 ,
                           c
6. The procedures for contacting ICE/ERO
                                    1 - 5 522          of the outcome, but shall document the result for the
   a decision;                    2
                          No.
                                                       record in the detainee’s detention file and in any
7. The policy prohibiting staff from harassing,        logs or data systems the facility has established to
   disciplining, punishing or otherwise retaliating         track such actions.
   against any detainee for filing a grievance or           Staff members who receive a detainee’s informal
   contacting the Office of the Inspector General           complaint or grievance shall:
   (OIG); and
                                                            a. attempt to resolve the issue informally, if the
8. The opportunity at any point to file a complaint            issue is within his/her scope of responsibility; or
   directly to the Department of Homeland Security
   (DHS) OIG about staff misconduct, physical or            b. notify the appropriate supervisor of the grievance
   sexual abuse or civil rights violations; complaints         as soon as practical.
   may be filed by calling the DHS OIG Hotline at           The supervisor may try to resolve the matter or advise
   800-323-8603 or by writing to: Department of             the detainee to initiate a written grievance.
   Homeland Security Attn: Office of the Inspector
                                                            If the grievance is resolved at this informal level, the
   General Washington, DC 20528
                                                            individual who resolved the issue shall document the
C. Grievance Procedures                                     circumstances and resolution in the detainee’s
                                                            detention file and in the facility’s grievance log.
1. Informal Grievances
                                                            2. Emergency Grievances
Informal grievance resolution offers a detainee the


6.2 | Grievance System                                    416                                        PBNDS 2011
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Each facility shall implement written procedures for         In preparing and pursuing a grievance, the facility
identifying and handling a time-sensitive emergency          administrator, or designee, shall ensure procedures
grievance that involves an immediate threat to               are in place to provide the assistance to detainees
health, safety or welfare. Written procedures shall          with impairments or disabilities,
also cover urgent access to legal counsel and the law        interpretation/translation services for detainees who
library. All staff shall be trained to respond               are LEP, and assistance for detainees with limited
appropriately and in an expeditious manner to                literacy.
emergency grievances. Once the receiving employee
                                                             Facility grievance procedures shall be communicated
determines that the detainee is raising an issue
                                                             to a detainee in a language or manner the detainee
requiring urgent attention, emergency grievance
                                                             can understand. All written materials provided to
procedures shall apply. Translation and
                                                             detainees shall be translated into Spanish. Where
interpretation services shall be made available to
                                                             practicable, provisions for written translation shall be
those who need it.
                                                             made for other significant segments of the
Emergency grievances may be brought by a detainee            population with limited English proficiency.
to a designated grievance officer (GO) or directly to
                                                             Staff shall provide the number of forms and
the facility administrator or their designee. If these
                                                             envelopes requested by the detainee. Within reason,
personnel are not available, a shift supervisor may be
                                                             detainees are not limited in the number of forms and
informed of the complaint.
                                                                             ,  In c.
                                                             envelopes they may request.
A report of the grievance, including the nature of the
                                                                   C
                                                            Each facility ic establish
                                                                       ivshall       2  2
                                                                                        three levels of formal
complaint, the name of the detainee and the action
                                                             o r e                 0
                                                                                  2 reviews shall consist of: 1)
                                                                       review.,These
                                                     o v . Cgrievance  r  1  4
                                                                  be
taken to resolve the issue, shall be prepared in
                                            O   w in        GO
                                                            e m review;   2) grievance appeals board (GAB)

                                  te d  in
written form and forwarded to the facility
                                                     , D ecreview; and 3) appellate review. ICE will issue
administrator, or designee.
                               c i           5  22 1        guidance on the designation of representatives and
                                      1  - 5
grievance is not an emergency,
                                   . 2 that
If the facility administrator determines
                              Nostandard
                                              the
                                           grievance
                                                            additional guidelines for conducting hearings.
                                                             a. Grievance Procedure Guidelines
procedures shall apply.
                                                                 1) To prepare a grievance, a detainee may obtain
All emergency grievance reports, to include the
                                                                    assistance from another detainee, the housing
circumstances of the grievance and the resolution,
                                                                    officer or other facility staff, family members
shall be placed in the detainee’s detention file and
                                                                    or legal representatives. Staff shall take
documented in the facility’s grievance log.
                                                                    reasonable steps to expedite requests for
Medical emergencies shall be brought to the                         assistance from these other parties.
immediate attention of proper medical personnel for
                                                                 2) Another detainee, facility staff, family
further assessment. If it is determined that it is not a
                                                                    member, legal representative or non-
medical emergency, standard grievance procedures
                                                                    governmental organization may assist in the
shall apply.
                                                                    preparation of a grievance with a detainee’s
3. Formal Written Grievances                                        consent.
The detainee may file a formal grievance at any time                a) If the detainee claims that the issue is
during, after, or in lieu of lodging an informal                       sensitive or that his/her safety or well-
complaint. The facility may not impose a time limit                    being may be jeopardized if others in the
on when a detainee may submit a formal grievance.                      facility learn of the grievance, the detainee


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        must:                                                      appeal. The GAB shall not include any
                                                                   individuals named in the grievance.
        x describe in the grievance the reason for
          circumventing standard procedures; and                c) The GAB shall issue a written decision to
                                                                   the detainee in all cases.
        x be given the right to seal the grievance
          in an envelope clearly marked                         d) The GAB shall note the grievance log with
          “sensitive” or “medically sensitive,” and                the following information:
          submit it directly to the facility
                                                                   x date appeal filed;
          administrator, administrative health
          authority or designee.                                   x name of detainee that filed grievance;
     b) Each grievance form shall be delivered by                  x nature of the grievance;
        authorized facility personnel (not                         x name of the GO that conducted the
        detainees) without being read, altered or                    initial adjudication;
        delayed.
                                                                   x date decision provided to detainee; and
b. Grievance Process
                                                                   x outcome of the adjudication.
  1) GO review
                                                                e) Officials previously involved in
     a) Designated GO shall conduct the initial
        adjudication of a formal or informal
                                                                         ,  I  c.
                                                                   adjudicating the grievance shall not
                                                                             n
        grievance.
                                                              re C ivic 022
                                                                   participate on the GAB.

                                                       v. Co f)eleast
                                                                  If the 4
                                                                   r  1    , 2 involves a medical issue, at
                                                                         grievance
                                              w  inof
     b) Detainee shall be provided with a written or o        m b one member of the GAB shall be a
        oral response within five days of O
                                     in    receipt
                                                        e c e
                            cited 55221, D
                                                                  medical professional.
        the grievance.

                                . 2 1  -grievance log           g) If the outcome of the appeal is
                           No
     c) GO or designee shall note  the
                                                                  unfavorable to the detainee, the GAB shall
        with the following information:
                                                                   forward the grievance and all supporting
        x date grievance filed;                                    documentation to the facility administrator
                                                                   within 24 hours of issuing a decision.
        x name of detainee that filed grievance;
                                                              3) Appellate Review
        x nature of the grievance;
                                                                a) The detainee shall have the option to file an
        x date decision provided to detainee; and                  appeal if the detainee is dissatisfied with a
        x outcome of the adjudication.                             GAB decision, and shall be informed of that
                                                                   option.
  2) GAB review
                                                                b) The facility administrator, in some cases in
     a) The detainee shall have the option to file an
                                                                   conjunction with the Field Office Director,
        appeal if the detainee is dissatisfied with a
                                                                   shall review the grievance appeal and issue
        GO decision, and shall be informed of that
                                                                   a decision within five days of receipt of the
        option.
                                                                   appeal. A written decision shall be issued to
     b) The designated members of the GAB shall                    the detainee in all cases and forwarded to
        review and provide a decision on the                       the Field Office Director.
        grievance within five days of receipt of the
                                                                c) The appellate reviewer shall note the


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         grievance log with the following                        x   nature of the grievance;
         information:
                                                                 x   date decision provided to detainee; and
         x date appeal received;
                                                                 x   outcome of the adjudication.
         x name of detainee that filed grievance;            Medical grievances shall be maintained in the
         x nature of the grievance;                          detainee’s medical file.
         x basis of the GAB decision;                        Facility staff shall assign each grievance a log
                                                             number, enter it in the space provided on the
         x date decision provided to detainee; and
                                                             detainee grievance form, and record it in the
         x outcome of the adjudication.                      detainee grievance log in chronological order,
      d) Facilities shall allow any ICE/ERO detainee         according to the following stipulations:
         dissatisfied with the facility’s response to a      1. the log entry number and the detainee grievance
         grievance or those fearing retaliation to be           number must match;
         able to appeal or communicate directly
                                                             2. the log shall include the receipt date and the
         with ICE/ERO.
                                                                disposition date; and
4. Medical Grievances
                                                             3. nuisance or petty grievances and grievances
Formal written grievances regarding medical care
                                                                  , In  c.
                                                                rejected or denied must also be logged with the
shall follow the same procedures per section “3.
                                                      re C  ivic 022
                                                                appropriate notation and justification (for

                                                . Co er 14, 2
Formal Written Grievances” above, and shall be                  example, “petty”).
                                           ino v
submitted directly to medical personnel designated
                                                        bof the grievance disposition shall be placed in
                                         Ow       c e m
                                                   A copy
                                      in        e the detainee’s detention file and provided to the
to receive and respond to medical grievances at the
                              cited 55221, D detainee within five days.
facility. Medical grievances may be submitted in a

                                o . 21-
sealed envelope clearly marked “medically
sensitive.”                   N                    ICE may audit grievance logs and individual cases as
                                                             often as necessary to ensure compliance with the
Designated medical staff shall act on the grievance
                                                             established grievance procedures and to assess the
within five working days of receipt and provide the
                                                             implementation of decisions within the facility. The
detainee a written response of the decision and the
                                                             ICE Office of Professional Responsibility may
rationale. This record shall be maintained per the
                                                             conduct trend analysis to determine the nature of
following section “D. Record-Keeping and File
                                                             grievances being filed across ICE facilities, resources
Maintenance.”
                                                             expended on their resolution and outcomes.
D. Record-Keeping and File Maintenance                       E. Established Pattern of Abuse of the
Each facility shall maintain a detainee grievance log           Grievance System
that shall be subject to regular inspection by the Field
Office Director and ICE headquarters staff.                  If a detainee establishes a pattern of filing nuisance
Documentation shall include the following                    complaints or otherwise abusing the grievance
information:                                                 system, the facility administrator may identify that
                                                             person, in writing, as one for whom not all
  x   date grievance filed;                                  subsequent complaints must be fully processed.
  x   name of detainee that filed grievance;                 However, feedback shall be provided to the detainee,
                                                             and records shall be maintained of grievances


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“rejected.”                                                  command. While such grievances are to be processed
For a detainee so identified by the facility                 through the facility’s established grievance system,
administrator:                                               CDFs and IGSA facilities must also forward a copy of
                                                             any grievances alleging staff misconduct to ICE/ERO
1. staff shall continue to attempt to resolve all            in a timely manner with a copy going to ICE’s Office
   informal oral grievances at the lowest level              of Professional Responsibility (OPR) Joint Intake
   possible, as described above;                             Center and/or local OPR office for appropriate action.
2. if designated staff at the facility’s first grievance     Facilities shall send all grievances related to sexual
   system level make the initial determination that          abuse and assault and the facility’s decisions with
   the grievance is one that should not be fully             respect to such grievances to the appropriate Field
   processed due to its frivolous nature, they shall         Office Director at the end of the grievance process.
   forward the grievance to the next grievance level;
                                                             G. Retaliation Prohibited
3. if staff at that level concurs that the grievance is
   frivolous, the grievance shall be logged in the           Staff shall not harass, discipline, punish or otherwise
   detainee grievance log showing the disposition            retaliate against a detainee who files a complaint or
   (e.g., “rejected”), and a copy of the grievance           grievance or who contacts the DHS Office of the
   shall be placed in the detainee’s detention file;         Inspector General.
4. the facility’s written policy and procedures may
                                                                            , In  c.
                                                             Actions are considered retaliatory if they are in
   also require that each rejected grievance be
                                                              re  C  ivic 022
                                                             response to an informal or formal grievance that has

                                                       . Co er 14, 2
   forwarded to the facility administrator for review        been filed and the action has an adverse effect on the
   or concurrence; and
                                                  ino v      resident’s life in the facility.
                                                                b
                                          O   w          c e m
                                te d
5. the designated final authority may in to 1, De
                                      decide              Immediately    following any indication or allegation
                               i
                             c level for   5full22        of retaliation, the facility and ICE/ERO shall conduct
   return the grievance to a lower
                                   2 1 - 5
                            No.
   processing.                                            an investigation of alleged acts of retaliation in a
                                                             timely manner, and take all steps necessary to
If the GO designated to receive grievances believes
                                                             remedy any retaliation determined to have occurred.
the grievance is one that should not be fully
processed, he or she shall document that                     H. Review of Detainee Grievances
determination and refer the grievance to the GAB for
                                                             The ICE Office of Detention Oversight may review on
second-level review. If the GAB concurs, the
                                                             a periodic basis a statistical sampling of grievances at
grievance shall be logged in the detainee grievance
                                                             a facility to evaluate compliance with this grievance
log with “rejected” as the disposition, and a copy of
                                                             standard and the associated grievance procedures; to
the grievance shall be placed in the detainee’s
                                                             assess the reasonableness of final decisions; and to
detention file.
                                                             generate data showing trends in the types of
F. Allegations of Staff Misconduct                           grievances, time frames for resolution and outcomes
                                                             at various facilities. Detainee grievances will also be
Upon receipt, facility staff must forward all detainee
                                                             reviewed during ICE/ERO-initiated facility
grievances containing allegations of staff misconduct
                                                             inspections.
to a supervisor or higher-level official in the chain of




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6.3 Law Libraries and                                           materials and equipment.
                                                             3. **When requested and where resources
    Legal Material                                              permit, facilities shall provide detainees
                                                                meaningful access to law libraries, legal
I. Purpose and Scope                                            materials and related materials on a regular
This detention standard protects detainees’ rights by           schedule and no less than 15 hours per week.
ensuring their access to courts, counsel and                 4. Special scheduling consideration shall be
comprehensive legal materials.                                  given to detainees facing deadlines or time
This detention standard applies to the following                constraints.
types of facilities housing ICE/ERO detainees:               5. Detainees shall not be required to forgo
                                                                recreation time to use the law library. Requests
  x   Service Processing Centers (SPCs);
                                                                for additional time to use the law library shall be
  x   Contract Detention Facilities (CDFs); and                 accommodated to the extent possible, including
                                                                accommodating work schedules when
  x   State or local government facilities used by
                                                                practicable, consistent with the orderly and secure
      ERO through Intergovernmental Service
                                                                operation of the facility.
      Agreements (IGSAs) to hold detainees for more
      than 72 hours.                                         6. Detainees shall have access to courts and counsel.
                                                                              , In  c.
Procedures in italics are specifically required for
                                                                r e C   ivic 022
                                                             7. Detainees shall be able to have confidential

                                                          . Co er 14, 2
SPCs, CDFs, and Dedicated IGSA facilities. Non-                 contact with attorneys and their authorized
dedicated IGSA facilities must conform to these ino v
                                             Ow Decemb
                                                                representatives in person, on the telephone and
procedures or adopt, adapt or establishin alternatives,         through correspondence.
provided they meet or exceedcthe
                                      d represented
                                 iteintent        2  1  ,
                                          - 55  2            8. Detainees shall receive assistance where needed
                                      2 1
                             No.
by these procedures.                                            (e.g., orientation to written or electronic media
For all types of facilities, procedures that appear in          and materials; assistance in accessing related
italics with a marked (**) on the page indicate                 programs, forms and materials); in addition,
optimum levels of compliance for this standard.                 detainees who are illiterate, limited-English
                                                                proficient or have disabilities shall receive
Various terms used in this standard may be defined
                                                                appropriate special assistance.
in standard “7.5 Definitions.”
                                                             9. Detainees in the Special Management Unit (SMU)
II. Expected Outcomes                                           shall have access to legal resources and materials
                                                                on the same basis as the general population.
The expected outcomes of this detention standard
are as follows (specific requirements are defined in         10. Detainees shall be notified of the facility’s rules
“V. Expected Practices”).                                        on law libraries and legal material through the
                                                                 detainee handbook.
1. Detainees shall have access to a properly equipped
   law library, legal materials and equipment                11. The facility shall provide communication
   (including photocopying resources) to facilitate              assistance to detainees with disabilities and
   the preparation of documents.                                 detainees who are limited in their English
                                                                 proficiency (LEP). The facility will provide
2. Detainees shall have meaningful access (no less
                                                                 detainees with disabilities with effective
   than five hours per week) to law libraries, legal


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     communication, which may include the                        x   “5.7 Visitation,” in regard to visits from
     provision of auxiliary aids, such as readers,                   attorneys, other legal representatives and legal
     materials in Braille, audio recordings, telephone               assistants.
     handset amplifiers, telephones compatible with
     hearing aids, telecommunications devices for            V. Expected Practices
     deaf persons (TTYs), interpreters, and note-
                                                             A. Law Library
     takers, as needed. The facility will also provide
     detainees who are LEP with language assistance,         Each facility shall provide a properly equipped law
     including bilingual staff or professional               library in a designated, well-lit room that is
     interpretation and translation services, to provide     reasonably isolated from noisy areas and large
     them with meaningful access to its programs and         enough to provide reasonable access to all detainees
     activities.                                             who request its use. It shall be furnished with a
  All written materials provided to detainees shall          sufficient number of tables and chairs to
  generally be translated into Spanish. Where                accommodate detainees’ legal research and writing
  practicable, provisions for written translation shall      needs.
  be made for other significant segments of the              B. Supervision
  population with limited English proficiency.
                                                             The facility shall develop procedures that effectively
  Oral interpretation or assistance shall be provided
                                                                      , In c.
                                                             prevent detainees from damaging, destroying or
  to any detainee who speaks another language in
                                                         r e  C  ivic 022
                                                             removing equipment, materials or supplies from the

                                                   . Co er 14, 2
  which written material has not been translated or          law library.
  who is illiterate.
                                              ino v          b are encouraged to monitor detainee use of
                                          O w        c e m
                                                      Facilities
                                       in          e legal materials to prevent vandalism.
                            cited 55221, D Supervision shall not be used to intimidate or
III. Standards Affected
                                   21- to Legal
This detention standard replaces .“Access
                              o
Material” dated 12/2/2008.N                           otherwise impede detainees’ lawful use of the law
                                                             library.
IV. References                                               C. Hours of Access
American Correctional Association, Performance-              Each facility administrator shall devise a flexible
based Standards for Adult Local Detention                    schedule that:
Facilities, 4th Edition: 4-ALDF-6A-01, 6A-02, 6A-
03, 6A-09, 2A-62.                                            1. permits all detainees, regardless of housing or
                                                                classification, to use the law library on a regular
ICE/ERO Performance-based National Detention                    basis;
Standards 2011:
                                                             2. enables maximum possible use without
 x    “5.1 Correspondence and Other Mail,” in                   interfering with the orderly operation of the
      regard to correspondence with attorneys and               facility (law library hours of operation shall
      other legal representatives, judges, courts,              generally be scheduled between official counts,
      embassies and consulates;                                 meals and other official detention functions);
 x    “5.6 Telephone Access,” in regard to phone             3. determines the number of detainees permitted to
      calls to legal representatives or to obtain legal         use the law library at any given time; and
      representation; and


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4. takes into consideration any rules and regulations        products.
   that prohibit or regulate the intermingling of
                                                             Each facility administrator shall designate an
   differently classified detainees.
                                                             employee to inspect equipment daily, at a
Each detainee shall be permitted to use the law              minimum, to ensure it is in good working order,
library for a minimum of five hours per week.                and to stock sufficient supplies.
Detainees may not be forced to forego their
                                                             E. Maintaining Up-to-Date Legal Materials
minimum recreation time in order to use the law
library (see standard “5.4 Recreation”). Staff shall         1. Materials for Law Libraries
accommodate detainee requests for additional law
                                                             Each law library shall contain the materials listed in
library time to the extent possible, and requests for
                                                             “Appendix 6.3.A: List of Legal Reference Materials
the accommodation of work schedules to the extent
                                                             for Detention Facilities” (unless any are found to be
practicable, consistent with the orderly and secure
                                                             out of print) and may also include the optional legal
operation of the facility, and with special priority
                                                             reference materials in “Appendix 6.3.B: Optional
given to such requests from detainees facing a court
                                                             Legal Reference Materials.” Each law library shall
deadline.
                                                             also contain any materials provided to the facility by
D. Equipment                                                 ICE/ERO, including electronic media for legal
                                                             research systems (e.g. CD-ROMs or External Hard
The law library shall have an adequate number of
computers and printers to support the detainee
                                                                 ,  I   c.
                                                             Drives) and any accompanying written training or
                                                                     n
population. Sufficient writing implements, paper,
                                                    r e C ivic 022
                                                             reference materials.

                                             v
photocopiers and related office supplies shall be
                                           o                     4, 2
                                              . Ca.oFormeofr Materials
                                                              1
                                        win
provided to detainees to prepare documents for legal
                                       O          e m1)bPaper Publications
                                    in        e c
                            cited 55221, D
proceedings, special correspondence or legal mail.
                                                        Facilities are encouraged to make available
The law library shall also provide access to two-hole
                              o . 21-
punches, folders, and, where appropriate, computer
                                                        paper versions of the materials listed in
                            N
disk containers. A sign-in sheet shall be maintained    “Appendix 6.3.A: List of Legal Reference
to establish fair and orderly use, based on demand.                  Materials for Detention Facilities,” by
                                                                     ordering copies from the publisher. (See
Typewriters, with replacement ribbons, carbon                        “Appendix 6.3.C: Publishers’ Addresses and
paper and correction tape may be temporarily                         Phone Numbers.” Ordering information can
substituted for computers and printers only until                    also be obtained from the ICE Office of the
such time as the facility can provide computers and                  Principal Legal Advisor law librarian, at
printers, and if approved by ICE/ERO. However,                       (202) 732-5000.)
typewriters are not an adequate substitute if any
library materials listed in “Appendix 6.3.A: List of             2) Electronic legal research media
Legal Reference Materials for Detention Facilities”                 Regardless of whether paper versions are
are unavailable in hard copy and only available                     provided, facilities must make available in the
through electronic access on a computer.                            law library any electronic media provided by
Consistent with the safety and security of the facility,            ICE/ERO, containing the required publications
detainees shall be provided with a means of saving                  or other supporting legal research platforms
any legal work in a secure and private electronic                   for detainees. This may include CD-ROMs or
format, password protected, so they may return at a                 External Hard Drives developed by legal
later date to access previously saved legal work                    research services vendors utilized by ICE.


6.3 | Law Libraries and Legal Material                     423                                        PBNDS 2011
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      The facility administrator must certify to the              directly from the publishers. The facility
      respective Field Office Director, with                      administrator (or designee) may also seek
      verification from the Field Office Director, that           assistance from the DSCU coordinator. Procedures
      the facility provides detainees sufficient access           for Replacement of Materials
      to:
                                                                  When a facility receives replacement supplements
      a) operable computers capable of running the                or other materials, the law librarian or other
         electronic legal research media;                         designated individual shall dispose of the
      b) operable printers;                                       outdated ones.

      c) supplies for both; and                                   Damaged or stolen materials shall be replaced
                                                                  promptly. In addition to conducting regular
      d) instructions on basic use of the system.                 inspections, the facility shall encourage detainees
The facility shall provide technical assistance to                to report missing or damaged materials. The
detainees as needed in using electronic materials, as             facility may obtain replacements by contacting
well as any usage guides or other supporting                      the DSCU coordinator.
materials supplied by ICE/ERO.                                    If materials from outside organizations need to be
2. Updating and Replacing Legal Materials                         replaced, the facility shall contact ICE/ERO to
                                                                  obtain replacements from the submitting
Each facility administrator shall designate a facility
                                                                          In c.
                                                                  organization.
                                                                       ,
law library coordinator to be responsible for
                                                         re  C
                                                     F. Materialsivicfrom0Outside
                                                                                22 Persons or
inspecting legal materials weekly, updating them,
                                                    C o                4 ,  2
                                          wino v. m
maintaining them in good condition and replacing
                                                            b er 1
                                                        Organizations
                                      n  O
them promptly as needed. The detainee handbook
                                     i          D e  e persons and organizations may submit
                                                    cOutside
                                  d
                              cite 55221
shall also provide detainees with information ,
                                    1  -
regarding the procedure for notifying a designated
                                  2
                                                     published or unpublished legal material for inclusion
                              No.
employee that library material is missing, out of    in a facility’s law library. If the material is in a
                                                              language other than English, an English translation
date, or damaged.
                                                              must be provided.
a. ICE/ERO Headquarters Coordinator
                                                              1. Published Material
   At ICE/ERO headquarters, the Detention
   Standards Compliance Unit (DSCU) in the                    If a facility receives published material, the facility
   Detention Management Division is designated as             administrator shall accept or decline this material
   the coordinator to assist facilities and Field Offices     based on considerations of usefulness and space
   in maintaining up-to-date law library materials.           limitations. If published materials related to
                                                              immigration law or procedures are declined, the
   Facilities must take care to ensure that the most          facility administrator shall notify the submitter and
   updated statutes, regulations, and other required          the Field Office Director in writing of the reason(s).
   legal materials are in the library at all times.
                                                              2. Unpublished Material
   ICE/ERO shall arrange a subscription to the
   updating service, if available, for each publication       If the facility receives any unpublished legal material,
   on the list.                                               the facility administrator shall forward this material
                                                              as soon as possible to the Field Office Director for
b. List of Publishers                                         review and approval. Unpublished immigration-
   Information regarding updating can be obtained             related material can include intake questionnaires


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from non-governmental legal service provider               grievances and letters regarding conditions of
organizations.                                             confinement. Detainees shall not be prohibited from
Unpublished material must have a cover page that:          photocopying sick call requests, disciplinary
                                                           decisions, special needs forms, photographs,
a. identifies the submitter and preparer of the            newspaper articles or other documents that are
   material;                                               relevant to the presentation of any type of
b. clearly states that ICE/ERO did not prepare and is      immigration proceeding.
   not responsible for the contents; and                   The number of copies of documents to be filed with
c. provides the date of preparation.                       a particular court, combined with the number
                                                           required for ICE/ERO records and the number
If unpublished materials related to immigration law
                                                           required for the detainee’s personal use shall
or procedures are declined, ICE/ERO will notify the
                                                           determine the number of photocopies required.
facility administrator and the submitter in writing of
the reason(s). Within 30 days of receipt of the            Requests for photocopies of legal material may be
decision to deny the use of submitted material, the        denied only if:
submitter may appeal the ICE/ERO decision to the           1. the document(s) might pose a risk to the security
DSCU. ICE headquarters will respond to the appeal in          and orderly operation of the facility;
writing within 30 days.
                                                           2. copying would constitute a violation of any law
G. Requests for Additional Legal Material                                     ,  In c.
                                                                    Civicis clearly
                                                              or regulation;
                                                               r e
                                                            3.othe                 2      2 or excessive; or
                                                                                     02abusive
Detainees who require legal material not available in
                                                           C
the law library may make a written request to theno v. 4. theree
                                                                    request
                                                                             4  ,
                                                                           1 legitimate security reasons.
                                                                        r other
                                                  w  i
                                              O the Decem          b  are
                                     d  in
facility law library coordinator, who shall   inform
                                                         ,
                                iteas possible.
Field Office of the request ascsoon
                                                  2 2  1    Facility staff shall inspect documents offered for

                                  .  2 1  -5five5           photocopying to ensure that they comply with these
                             No
ICE/ERO will answer all requests    within
business days of receipt. Requests from detainees
                                                            rules. However, staff may not read a document that
                                                           on its face is clearly a legal document involving that
facing imminent deadlines for ER proceedings will          detainee.
be responded to within two (2) business days of
receipt. Requests for copies of court decisions will       I. Assistance to Detainees with
normally be answered within three business days.           Disabilities, Detainees with Limited-
If the request is not approved, ICE/ERO shall inform       English Proficiency (LEP), and Illiterate
the submitter in writing of the reason for the denial.     Detainees
H. Photocopying Legal Documents                            1. Assistance from Facility Staff
The facility shall ensure that detainees can obtain at         Facility staff shall provide assistance to detainees
no cost to the detainee photocopies of legal material          in accessing legal materials where needed (e.g.
and special correspondence when such copies are                orientation to written or electronic media and
reasonable and necessary for a legal proceeding                materials; assistance in accessing related
involving the detainee. This may be accomplished by            programs, forms and materials).
providing detainees access to a copier, or by making
                                                           2. Assistance from Other Detainees
copies for detainees.
                                                               The facility shall permit detainees to assist other
Detainees shall also be permitted to photocopy


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   detainees in researching and preparing legal                the ICE/ERO Field Office to determine appropriate
   documents upon request, except when such                    further action.
   assistance poses a security risk. Such assistance is
                                                               J. Personal Legal Materials
   voluntary, and no detainee shall be allowed to
   charge a fee or accept anything of value for                The facility shall permit a detainee to retain all
   assistance.                                                 personal legal material upon admittance to the
   Facilities are encouraged to allow outside                  general population or to Administrative Segregation
   volunteers and programs who train detainees to              or Disciplinary Segregation units, unless retention of
   help other detainees to access legal materials.             materials creates a safety, security or sanitation
                                                               hazard.
   The facility administrator may not provide
   compensation to a detainee for researching or               For a detainee with a large amount of personal legal
   preparing legal documents.                                  material, the facility shall make the following
                                                               provisions.
3. Assistance to Illiterate, Limited-English Proficient,
   and Disabled Detainees                                      1. A portion of the materials may be placed in a
                                                                  personal property storage area, with access
   Detainees with disabilities, LEP detainees and                 permitted during designated hours.
   illiterate detainees who wish to pursue a legal
   claim related to their immigration proceedings or           2. The facility shall provide an explanation to the
                                                                                Inc.
                                                                  detainee as to why the material presents a safety,
                                                                             ,
                                                                      ivic 022
   detention, and who request assistance or
   otherwise indicate difficulty with the legal
                                                               r e C
                                                                  security or sanitation hazard.
   materials, must be provided assistance beyond        v. C3.oRequestsr 1
                                                                         for4  , 2 shall be granted as soon as
                                                                             access
                                                 w in o        m  be but no later than 24 hours after receipt
                                        in   O
   access to a set of English-language law books.
                                                           c e feasible,
                                                        De of the request, unless documented security
                              citetodassist5detainees
   The facility shall make efforts
                                              52in2 1 ,
   who are illiterate, LEP and have 2  1 -
                                     disabilities              concerns preclude action within that timeframe.
                             No. shall establish
   using the law library. Facilities                        4. Detainees who have a documented, scheduled
   procedures to meet this requirement, such as:                   immigration hearing within 72 hours shall be
   a. having the facility’s law librarian assist the               provided access to their personal legal materials to
      detainee’s legal research;                                   the extent practicable.

   b. permitting the detainee to receive assistance            K. Law Library Access for Detainees in
      from other detainees in using the law library;             Special Management Units (SMUs)
   c. assisting in contacting pro bono legal-                  Detainees housed in Administrative Segregation or
      assistance organizations from the ICE/ERO-               Disciplinary Segregation units shall have the same
      provided list; and                                       law library access as the general population, unless
                                                               compelling security concerns require limitations.
   d. in the case of detainees with disabilities,
      providing reasonable accommodations and or               Facilities may supervise library use by a detainee
      auxiliary aids and services identified through           housed in an SMU, as warranted by the individual’s
      the facility’s reasonable accommodation                  conduct. Violent or uncooperative detainees may be
      process.                                                 temporarily denied access to the law library, as
                                                               necessary to maintain security and until such time as
If such attempts are unsuccessful in providing the
                                                               their behavior warrants resumed access. Detainees
detainee sufficient assistance, the facility shall contact


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who are temporarily denied access to the law library         provided to indigent detainees for delivery of mail to
under such circumstances shall be provided legal             consulates in the United States.
materials upon request.
                                                             M. Notaries, Certified Mail and
Detainees segregated for protection must be                     Miscellaneous Needs Associated With
provided access to legal materials. Such detainees
may be required to use the law library separately or,
                                                                Legal Matters
if that is not feasible, legal materials and a computer      The facility shall provide assistance in a timely
must be brought to them upon request and they                manner to any unrepresented detainee who requests
must be provided with assistance and have access to          a notary public, certified mail, or other such services
the list of the law library’s holdings.                      to pursue a legal matter, if the detainee is unable do
Denial of access to the law library must be:                 so through a family member, friend or community
                                                             organization.
1. supported by compelling security concerns;
                                                             If it is unclear whether the requested service is
2. limited to the shortest duration required for the         necessary, the respective ICE Office of Chief Counsel
   safety, security and orderly operation of the             shall be consulted. A reply shall be received in a
   facility;                                                 timely manner; pressing legal matters with a
3. fully documented in the SMU housing logbook;              deadline shall be prioritized.
   and
                                                                               I n c.
                                                             Telephone access for indigent unrepresented
                                                                             ,
4. documented, with reasons listed, in the detention
                                                                r e C  ivic 022
                                                             detainees requesting legal materials shall be in
   file.
                                                      o  v. Co er 14, 2
                                                             compliance with standard “5.6 Telephone Access.”

                                             O   w  in        e
                                                             N. m  b to Detainees
                                                                Notice
                                     d iofn the proper
The facility shall notify the Field Office every time       c
                                                         De The detainee handbook or supplement shall provide
access is denied, and shall senditae
                               c    copy
                                                   2 1 ,
documentation.
                                     2  1 - 552
                              No.
                                                             detainees the rules and procedures governing access
L. Envelopes and Stamps for Indigent                         to legal materials, including the following
   Detainees                                                 information:

Ordinarily, a detainee is considered “indigent” if           1. that a law library is available for detainee use;
he/she has less than $15.00 in his/her account.              2. the scheduled hours of access to the law library;
Facilities shall make a determination without
                                                             3. the procedure for requesting access to the law
unreasonable delay as to whether a detainee is
                                                                library;
indigent.
                                                             4. the procedure for requesting additional time in
The facility shall provide indigent detainees with free
                                                                the law library (beyond the five-hours-per-week
envelopes and stamps for domestic mail related to a
                                                                minimum);
legal matter, including correspondence to a legal
representative, a potential legal representative, or any     5. the procedure for requesting legal reference
court. Requests to send international mail may also be          materials not maintained in the law library; and
honored.                                                     6. the procedure for notifying a designated
Indigent detainees may receive assistance from local            employee that library material is missing or
consular officials with international mail. As noted            damaged;
above in this standard, envelopes and stamps are             7. the status of required access to computers,


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   printers and other supplies; and                           1. the legality of his/her confinement;
8. if applicable, that LexisNexis is used at the facility     2. the conditions of confinement or treatment while
   and that instructions for its use are available.              in detention;
These policies and procedures shall also be posted in         3. any issue relating to his/her immigration
the law library, along with a list of the law library’s          proceedings;
holdings. The list of the law library’s holdings shall
                                                              4. any allegation that the Government is denying
be kept up to date, and shall include the date and
                                                                 rights protected by law; or
content of the most recent updates of all legal
materials available to detainees in print and                 5. any investigation conducted by the DHS Office
electronic media.                                                for Civil Rights and Civil Liberties or the DHS
                                                                 Office of the Inspector General.
O. Retaliation Prohibited
                                                              A detainee may be denied access to the law library or
Staff shall not permit a detainee to be subjected to          to legal material only in the event that the safety or
reprisals, retaliation or penalties because of a              security of the facility or detainee is a concern.
decision to seek judicial or administrative relief or
                                                              A detainee shall not be denied access to law libraries
investigation of any matter, including but not
                                                              and legal materials as a disciplinary measure,
limited to the following:
                                                              reprisal, retaliation or penalty.
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Appendix 6.3.A: List of Legal                              Bookstore at:
                                                           https://bookstore.gpo.gov/catalog/laws-
Reference Materials for                                    regulations/united-states-code.
Detention Facilities
Revised December 2016                                      4. Code of Federal Regulations, Title 8,
                                                           Aliens and Nationality
The information in “Appendix 6.3.A: List of Legal          A collection of general and permanent rules initially
Reference Materials for Detention Facilities,” and         published in the Federal Register. Order from the
Appendix 6.3.B: “Optional Legal Reference                  U.S. Government Printing Office (GPO) at
Materials” was updated as of December 2016.                https://bookstore.gpo.gov.
Further information may be obtained directly from          Also available at:
the publishers.                                            https://www.uscis.gov/ilink/docView/SLB/HTML/
                                                           SLB/8cfr.html.

1. Constitution of the United States of
America: Analysis and Interpretation                       5. Bender’s Immigration and Nationality Act
Legal analysis and interpretation of the United States     Set
                                                                        , In c.
Constitution, based primarily on Supreme Court case        is C
                                                      This e
                                                         r       ivic service0that
                                                              a private         2 2compiles the
law.                                                   o
                                                 v. CImmigration            2
                                                                    1and4,Nationality Act and updates it
                                            in o            b  e r
Order from U.S. Government Bookstore at:Ow           c e m to reflect new amendments and other
                                                      quarterly
http://bookstore.gpo.gov/. cited
                                   in           ,D e
                                         2 2  1       changes.

                              . 2 1  -55              Order from LexisNexis Matthew Bender (Publication
Also available at:
                         N  o
https://www.congress.gov/constitution-
                                                      Number 132) at:
                                                           http://www.lexisnexis.com/store/catalog/booktem
annotated/.
                                                           plate/productdetail.jsp?pageName=relatedProducts&
                                                           skuId=SKU10725&catId=cat10920003&prodId=10
2. United States Code, Title 18, Crimes and                725.
Criminal Procedure
Federal criminal code and procedure. Order from            6. Bender’s Immigration Regulations Service
GPO U.S. Government Bookstore at:
                                                           This is a private service that compiles immigration-
https://bookstore.gpo.gov/catalog/laws-
                                                           related regulations from the federal government and
regulations/united-states-code.                            updates them monthly to reflect any changes.
                                                           Order from LexisNexis Matthew Bender (Publication
3. United States Code, Title 8, Aliens and                 Number 695) at:
Nationality                                                http://www.lexisnexis.com/store/catalog/booktem
                                                           plate/productdetail.jsp?pageName=relatedProducts&
Outlines the role of aliens and nationality in the         prodId=10521.
United States Code. Order from the U.S. Government



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7. Administrative Decisions Under                                 immigration proceedings, grounds of
Immigration and Nationality Laws                                  inadmissibility and deportability, pleadings,
                                                                  and common forms of relief.
Board of Immigration Appeals (BIA) decisions
consisting of bound volumes and loose-leaf                    e. The U Visa: Obtaining Status for Immigrant
decisions. Published, precedential decisions from                 Victims of Crime: A step-by-step guide
Volume 8 forward are available at:                                through the process of handling an
https://www.justice.gov/eoir/ag-bia-decisions.                    immigration case for a U visa applicant.
                                                              f. The VAWA Manual: Immigration Relief for
                                                                 Abused Immigrants: A comprehensive guide
8. National Immigration Project of the                           for immigrant survivors of domestic
National Lawyers’ Guild Publications                             violence.
The following are available for order at:
https://www.nationalimmigrationproject.org/publi           10. American Immigration Lawyers
cations.html.
                                                           Association Publications
   a. Immigration Law and Defense: A procedural
      handbook for immigration proceedings, with           The following are available for order at:
                                                           http://agora.aila.org/.
                                                                             c.
      extensive references to judicial decisions and
                                                                       ,  In
                                                                 ivic 022
      regulations and many official forms.                    a. Asylum Primer: A comprehensive guide to
                                                            re C
                                                                         ,2
                                                       . Co b. Representing
   b. Immigration Law and Crimes: Strategies,                    U.S. asylum law and procedure.
                                                  o  v            r 1 4
                                         O  w  in
      advice, and analysis for deportation defense.
                                                          e m be             Clients in Immigration Court

                               te d  in            , D ec      (4th Edition): Strategies, advice, and analysis
                            c i           5 22  1              for deportation defense
                                    1 - 5
                                  2Center
                          No.
9. Immigrant Legal Resource
Publications
                                                           11. Tooby’s Guide to Criminal Immigration
The following are available for order at:
https://www.ilrc.org/publications.
                                                           Law
   a. A Guide for Immigration Advocates: A two-            A summary of criminal and immigration law and the
      volume manual covering the basics of                 connections between the two evolving areas of law.
      immigration law and research.                        Available for order at:
   b. Inadmissibility & Deportability: A manual            https://nortontooby.com/node/657.
      introducing all common grounds of
      inadmissibility and deportability, as well as
      waivers.
                                                           12. Country Reports on Human Rights
                                                           Practices
   c. Essentials of Asylum Law: A comprehensive
      survey of the basic elements of asylum law,          Department of State annual reports to Congress on
      including an overview of asylum procedure.           human rights practices in individual countries.
                                                           Available for order from the U.S. Government
   d. Removal Defense: A quick reference to key            Bookstore: http://bookstore.gpo.gov/.
      issues in removal defense, with overviews of
                                                           Also available at: www.state.gov/g/drl/rls/hrrpt/.


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                                                          The Refugee, Asylum and International Operations
                                                          (RAIO) Combined Training Lesson Plans are used to
13. Human Rights Watch: World Report                      train all RAIO Officers.
The annual World Report summarizes key human              Available at: https://www.uscis.gov/about-
rights issues in more than 90 countries and               us/directorates-and-program-offices/refugee-
territories worldwide.                                    asylum-and-international-operations-
Available for order or online from Human Rights           directorate/raio-training-materials.
Watch at http://www.hrw.org.

                                                          16. Immigration Court Practice Manual
14. UNHCR Handbook on Procedures and                      This is a publicly-accessible practice manual for
Criteria for Determining Refugee Status                   immigration court proceedings from the U.S.
A guide for government officials, judges,                 Department of Justice (DOJ) Executive Office for
practitioners, and United Nations High                    Immigration Review (EOIR).
Commissioner for Refugees (UNHCR) staff in                Available at: https://www.justice.gov/eoir/office-
applying the refugee definition.                          chief-immigration-judge-0.
Available at: http://www.unhcr.org/en-
us/publications/legal/3d58e13b4/handbook-
                                                                            , In c.
procedures-criteria-determining-refugee-status-            17. Board
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under-1951-convention.html.                            v    o
                                                        . CManual     r 1   4 ,2
                                                  ino            be
The latest versions of the “Guidelines on Ow              c e m
                                    d in and           De appellate immigration court proceedings from DOJ
                                                           This is a publicly-accessible practice manual for
                             c itecomplement     2 1 ,
                                          55at 2
International Protection,” which
                                    2 1 -
update the Handbook, are available online
                                 .
                                                           EOIR.
http://www.unhcr.org/. No                                 Available at: https://www.justice.gov/eoir/office-
                                                          chief-immigration-judge-0.
15. USCIS RAIO and Asylum Division Lessons
Plans                                                     18. Directory of Nonprofit Agencies that
The Asylum Officer Basic Training Course lesson           Assist Persons in Immigration Matters
modules are used to train Asylum Officers and to
                                                          Immigration legal services providers by state,
articulate and communicate Asylum Division
                                                          county, or detention facility. Only nonprofit
guidance on the substantive adjudication of asylum
                                                          organizations that provide free or low-cost
cases.
                                                          immigration legal services are included in this
Available at:                                             directory. State by state lists are available at:
https://www.uscis.gov/humanitarian/refugees-              https://www.immigrationadvocates.org/nonprofit/
asylum/asylum/asylum-division-training-programs.          legaldirectory.


                                                          19. Rights of Prisoners (3rd Edition), by
                                                          Michael B. Mushlin

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Order from Thompson Reuters at:                           C. Rules of Criminal Procedure
http://legalsolutions.thomsonreuters.com/law-             D. Rules of Evidence
products/Treatises/Rights-of-Prisoners-
4th/p/100008943.                                          E. Rules Governing Section 2254 (Habeas
                                                             Corpus) and Section 2255 (Vacatur)
                                                             Proceedings
20. Federal Habeas Corpus, Practice &                 Published when updated by the U.S. Courts, and
Procedure (5th Edition)                               available at:
Order from LexisNexis at:                             http://www.uscourts.gov/rules-policies/current-
http://www.lexisnexis.com/store/catalog/booktem       rules-practice-procedure
plate/productdetail.jsp?pageName=relatedProducts&
prodId=7228.
                                                      25. Federal Civil Judicial Procedure and Rules
                                                      Order from Thomson West at:
21. Criminal Procedure (Hornbook) by
                                                      http://legalsolutions.thomsonreuters.com/law-
LaFave, Israel and King                               products/Statutes/Federal-Civil-Judicial-Procedure-
Order from Thomson Reuters at:                        and-Rules-2016-Revised-ed/p/103257254.
http://legalsolutions.thomsonreuters.com/law-
                                                                 ,  In c.
products/Treatises/Criminal-Procedure-4th-Wests-
                                                      r e C ivic Handbook
                                                                        022
Criminal-Practice-Series/p/101763705.              C o
                                                    26. ICE Detainee
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                                       w  ino v. Tombebprovided
                                                           er 1 by ICE.
                              d  in O          D e ce
                         cite (9th
22. Legal Research in a Nutshell       2 21  ,
                                   5 5
Edition), by Cohen and Olson
                          o . 21-
                        N
Order from Thomson West at:
                                                      27. Legal Orientation Program (LOP) Self-
http://store.westacademic.com/s.nl/it.A/id.78526/
.f.
                                                      Help Materials
                                                      These are materials from the EOIR LOP program that
                                                      educates detainees about their rights and the
23. Legal Research, Writing and Analysis by           immigration court process. To be provided by ICE.
Murray and DeSanctis
Order from Thomson West at:
                                                      28. Legal Dictionaries
http://store.westacademic.com/s.nl/it.A/id.15966/
.f.                                                       A. Black’s Law Dictionary (8th Edition)
                                                             Order from Thomson Reuters at:
                                                             http://legalsolutions.thomsonreuters.com/la
24. Federal Rules of Practice and Procedure                  w-products/law-books/blacks-law-
   A. Rules of Appellate Procedure                           dictionary.
   B. Rules of Civil Procedure                            B. English-Spanish Legal Dictionary



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       The specific dictionary may be selected by
       the facility administrator or law librarian.
       Examples include the following:
       i.   McGraw-Hill’s Spanish-English Legal
            Dictionary
      ii.   Butterworth’s Spanish/English Legal
            Dictionary
     iii.   English-Spanish Legal Dictionary, Kaplan,
            (4th Edition)


29. Other Translation Dictionaries
To be selected in accordance with the most common
languages spoken by the respective detainee
population.



                                                           , Inc.
                                                   re Civic 022
                                          o v. Co er 14, 2
                                      Owin       e m b
                                   in        e c
                           cited 55221, D
                             o . 21-
                           N




6.3 | Law Libraries and Legal Material                  433                  PBNDS 2011
                                                                    (Revised December 2016)
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Appendix 6.3.B: Optional Legal
Reference Materials
                                                      2. Kurzban’s Immigration Law Sourcebook
Revised December 2016
                                                      Reference on U.S. immigration law with
                                                      comprehensive concise analysis.
1. Bender’s Immigration Case Reporter                 Available for order from AILA at:
Decisions from Federal Court, BIA, AAU and BALCA      https://agora.aila.org/product/detail/2521.
from 1984 forward
Order from LexisNexis Matthew Bender at:
http://www.lexisnexis.com/store/catalog/booktem
plate/productdetail.jsp?pageName=relatedProducts&
prodId=10436.




                                                         , Inc.
                                                 re Civic 022
                                        o v. Co er 14, 2
                                    Owin       e m b
                                 in        e c
                         cited 55221, D
                           o . 21-
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6.3 | Law Libraries and Legal Material              434                                    PBNDS 2011
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6.4 Legal Rights Group                                          and all other relevant issues related to the
                                                                immigration court, appeals and removal
    Presentations                                               processes, including a detainee’s legal rights.
                                                            2. Persons and organizations requesting to make
I. Purpose and Scope                                           such group presentations shall be able to obtain
This detention standard protects detainees’ rights by          clear information about how to become
providing all detainees access to information                  authorized to provide legal rights group
presented by authorized persons and organizations              presentations, including regularly scheduled
for the purpose of informing them of U.S.                      presentations.
immigration law and procedures.                             3. Facility safety, security and good order shall be
Consistent with the security and orderly operation of          maintained.
each facility, ICE/ERO encourages such                      4. Detainees shall not be subject to reprisals,
presentations. All facilities are required to cooperate        retaliation or penalties for attending legal rights
fully with authorized persons seeking to make such             group presentations.
presentations.
                                                            5. Detainees shall be able to communicate and
This detention standard applies to the following               correspond with representatives from the legal
types of facilities housing ERO detainees:                     groups that make presentations at the facilities.
                                                                        ,  In c.
  x   Service Processing Centers (SPCs);
                                                            re  C  ivic 022
                                                            6. Detainees shall have access to information and

                                                      . Co er 14, 2
                                                               materials provided by legal groups. Organizations
  x Contract Detention Facilities (CDFs); and
                                                ino  v        bshall be permitted to distribute information in
                                          O   w         c e m
                                      in
  x State or local government facilities used by
                                                     De        response to specific legal inquiries.
                          cited Service
    ERO through Intergovernmental            2
                                         55for 2 1 ,     7. Detainees shall have access to group presentations
                                  2 1  -
                          No.
    Agreements (IGSAs) to hold detainees        more        by diplomatic representatives.
    than 72 hours.
                                                            8. The facility shall provide communication
Procedures in italics are specifically required for            assistance to detainees with disabilities and
SPCs, CDFs, and Dedicated IGSA facilities. Non-                detainees who are limited in their English
dedicated IGSA facilities must conform to these                proficiency (LEP). The facility will provide
procedures or adopt, adapt or establish alternatives,          detainees with disabilities with effective
provided they meet or exceed the intent represented            communication, which may include the
by these procedures.                                           provision of auxiliary aids, such as readers,
Various terms used in this standard may be defined             materials in Braille, audio recordings, telephone
in standard “7.5 Definitions.”                                 handset amplifiers, telephones compatible with
                                                               hearing aids, telecommunications devices for deaf
II. Expected Outcomes                                          persons (TTYs), interpreters, and note-takers, as
                                                               needed. The facility will also provide detainees
The expected outcomes of this detention standard
                                                               who are LEP with language assistance, including
are as follows (specific requirements are defined in
                                                               bilingual staff or professional interpretation and
“V. Expected Practices”).
                                                               translation services, to provide them with
1. Detainees shall have access to group presentations          meaningful access to its programs and activities.
   on United States immigration law and procedures
                                                            9. Detainees shall be notified of all scheduled


6.4 | Legal Rights Group Presentations                    435                                        PBNDS 2011
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   presentations at least 48 hours in advance.               advance of the scheduled presentation, or within one
   All written materials provided to detainees shall         week of the request having been made, whichever
   generally be translated into Spanish. Where               date is earlier.
   practicable, provisions for written translation shall     The written request must contain the following
   be made for other significant segments of the             information:
   population with limited English proficiency.
                                                             1. a general description of the intended audience;
   Oral interpretation or assistance shall be provided
                                                             2. a syllabus or outline of the presentation;
   to any detainee who speaks another language in
   which written material has not been translated or         3. a list of any published or unpublished materials
   who is illiterate.                                           proposed for distribution in accordance with “I.
                                                                Written Materials” in this standard;
III. Standards Affected                                      4. an informational poster as described in “E.
This detention standard replaces “Group                         Detainee Notification and Attendance” of this
Presentations on Legal Rights” dated 12/2/2008.                 standard;
                                                             5. a statement of the languages in which the
IV. References                                                  presentation will be conducted;
American Correctional Association, Performance-
based Standards for Adult Local Detention                      ,  I  c.
                                                             6. the name, date of birth, social security number
                                                                   n
Facilities, 4th Edition: 4-ALDF-6A-04, 6A-06.
                                                 r e C   ivic 022
                                                                (or passport number if social security number is

                                          v. Co          r  1 4  ,2
                                                                not available), profession and specific function of
V. Expected Practices             w  ino         m  be
                                                                each person requesting permission to enter the
                             in  O           c e                facility (including interpreters);
                                          De 7. certification that each person making the
                     citedPresentations
A. Requests to Make Group
                                552 2 1 ,
on Legal Rights           2 1 -
                    No.
                                                 presentation is an attorney, legal representative,
                                                 legal assistant or interpreter;
Attorneys or legal representatives interested in
making a group presentation on legal rights must             8. a proposed date (or range of dates) for the
submit a written request to the ICE/ERO Field Office            presentation; and
Director. ICE/ERO shall accommodate, to the                  9. a telephone number and contact person.
greatest extent possible, the presenters’ need to
amend the information contained in the written               10. if a party contains more than four persons
request to reflect the changes that may have occurred            (including legal assistants and interpreters), a
since the initial request was made, including, but not           special request must be made as described in “F.
limited to, distribution materials, informational                Who May Present” of this standard.
posters, languages and participants.                         In order for a legal assistant or law student to help
Requests must be submitted to ICE/ERO at least ten           with the presentation, the supervising attorney must
(10) days in advance of the proposed presentation.           submit a letter in advance of the presentation, as
The ICE/ERO Field Office Director may allow a                described in “F. Who May Present” of this standard.
presentation to take place on shorter notice at his or       In order to distribute written materials, a presenter
her discretion, or when circumstances arise that             must apply for approval as described in “I. Written
compel presentations on shorter notice. ICE/ERO              Materials” of this standard.
will notify the approved presenter ten days in


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B. Request Granted                                            Facilities are not required to arrange presentations if
                                                              attorneys or other legal representatives make no
If the request is granted, the Field Office Director          requests, or if ICE/ERO does not approve any
shall notify the facility administrator, who shall            requests.
telephone the listed contact person to arrange a
mutually acceptable date and time for the                     D. Legal Orientation Programs (LOPs)
presentation. Upon request, five days prior to a
                                                              Though similar to legal rights group presentations,
scheduled legal rights group presentation, ICE/ERO
                                                              legal orientation programs (LOPs), as carried out by
staff shall notify the legal representative contact of
                                                              the Department of Justice Executive Office for
the following characteristics of the detainee
                                                              Immigration Review (EOIR), are distinct,
population:
                                                              government-sponsored programs and are authorized
1. number of immigration detainees in custody at              by congressional appropriation. The specific
   the facility and the number of residential areas (or       requirements and procedures outlined in this
   “pods”) in which they are housed;                          standard may not apply to LOPs. EOIR carries out
2. countries of origin of those detainees; and                LOPs through contracts with non-governmental
                                                              organizations (NGOs), and in consultation with
3. gender breakdown of immigration detainees.                 ICE/ERO. As such, EOIR and ICE/ERO may establish
When presentations are scheduled on short notice,             separate program operation plans for an LOP at each
such as in response to an enforcement action, the             detention site.
                                                                              ,  In c.
information above shall be provided in full or partial
                                                                     C     ic in a 2
                                                                        ivoperate         2 number of ICE/ERO
                                                             o  r e
                                                            EOIR LOPs
                                                                                ,  2 0 limited
form as available.
                                                      o  v.Cfacilities and,
                                                                        r  1 4
                                                                            subject to  available funding, shall be
ICE shall accept updated lists of presenters O  lessin
                                             no w            e m   be and implemented in other facilities as
                                                            developed
                                        in                 c
                                                         De designated by both EOIR and ICE/ERO.
                              cited date.
than five days prior to the presentation
                                           552    2  1 ,
C. Scheduling Presentations       .  2 1 -                  E. Detainee Notification and Attendance
                             N  o
Presentations must be scheduled during normal                 The requestor must provide a one-page poster (no
visiting hours, excluding weekends and holidays. If           larger than 8.5 by 11 inches) to inform detainees of
feasible, presentations may be conducted daily,               the general nature and contents of the presentation,
immediately before detainees’ first immigration               the intended audience and the language(s) in which
court appearances and/or under other                          the presentation shall be conducted. For poster text
circumstances, such as after an influx of detainees           in languages other than English, an English
subsequent to an ICE enforcement action or a                  translation must be provided. The poster shall
transfer of detainees from one facility to another.           instruct detainees to contact the housing officer if
Legal rights group presentations shall be                     they wish to attend.
accommodated to the greatest extent possible absent           Once approved by an ICE representative, designated
significant logistical or security-related concerns.          facility staff shall prominently display the
To request ICE/ERO permission to conduct                      informational posters provided by the presenter in
additional presentations or for access to a facility on       housing units at least 48 hours before the scheduled
a continuing basis, the requester may include in its          presentation, and each housing unit officer shall
initial letter to the Field Office Director the request       provide a sign-up sheet at least 48 hours in advance
to make recurring presentations for a set range of            of a presentation for detainees who plan to attend;
dates or an indefinite period.                                however, detainees that fail to sign up shall not be


6.4 | Legal Rights Group Presentations                    437                                         PBNDS 2011
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deprived of the opportunity to attend a presentation             supervisory relationship directly relates to the
for that reason.                                                 presentation.
. Detainees with disabilities, detainees who are LEP,        The facility shall admit properly identified
and illiterate detainees shall be notified in a language     interpreters to assist the presenters in accordance
and manner they understand about such                        with the standards on “2.4 Facility Security and
presentations.                                               Control” and “5.7 Visitation.” ICE/ERO is not
The facility administrator may limit the number of           responsible for providing interpreters for presenters.
detainees attending a single session based on the            As a general rule, presentation parties may not
number of interested detainees or the need to                exceed four persons, including legal assistants,
separate groups of detainees for safety and security.        supervised law students and interpreters; however, a
Therefore, the presenter must be prepared to                 facility may waive this rule upon advance receipt of a
conduct several presentations, and shall be advised to       written request.
contact the facility administrator the day before the
                                                             G. Entering the Facility
presentation to determine the number of sessions
that shall be required.                                      Facility staff shall require each person seeking entry
Presentations shall be open to all detainees,                to present an official form of picture identification
regardless of the presenter’s intended audience,             (e.g., driver’s license or state identification card).
except when a particular detainee’s attendance may
                                                            , I c.
                                                             Attorneys must also present state-issued bar cards or,
                                                               n
pose a security risk. ICE/ERO and /or facility staff
                                                    re Civic 022
                                                             in states where these are not available, other proof of

                                              . Co er 14, 2
shall notify detainees in segregation in advance of          bar membership. If such documentation is not

                                         ino v
legal rights group presentations and provide these    b      readily available to attorneys licensed in a particular
                                       Ow       c e m
                                    in        e              state, they must indicate where they are licensed as
                            cited 55221, D
detainees an opportunity to attend. If the attendance
of a detainee in segregation would pose a security           attorneys and how that may be verified prior to their

                                . 21-
risk, staff shall make arrangements with the
                              o
                                                             approval for admittance. Provided the presenter has
                            N
presenters to offer a separate presentation and              made a special request, the facility may admit
individual consultation to the detainee. Prior to the        interpreters, supervised law students and legal
visit of the presenters, ICE/ERO and/or facility staff       assistants to assist attorneys and other legal
shall notify presenters of any detainees in                  representatives.
segregation who request an individual presentation           The facility may require presenters to arrive at least
and consultation.                                            30 minutes before the scheduled start of the
                                                             presentation. A presentation should not be cancelled
F. Who May Present
                                                             because presenters arrive late, if the late arrival does
One or more legal assistants may assist with a               not present an issue with maintaining the good
presentation if the supervising attorney and/or legal        order of the facility or security or safety concerns.
representative:                                              After check-in, facility staff shall escort the presenters
1. submits a letter identifying his/her legal assistants     to the presentation site and shall escort the detainees
   and affirms that the legal assistant presence is          to that location.
   directly related to the presentation; and
                                                             H. Presentation Guidelines
2. attends any presentation in which any such
   assistant participates or prepares a letter               The facility shall select and provide a private
   identifying the presenter(s) and affirming that the       environment that is conducive to the presentation



6.4 | Legal Rights Group Presentations                     438                                         PBNDS 2011
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and is consistent with the security and good order of        privileges.
the facility. Once detainees have been assembled,
                                                             The volume of materials to be distributed must be
presenters shall ordinarily be granted a minimum of
                                                             kept to a minimum. If the facility administrator
one hour for the presentation and additional time for
                                                             determines they are too voluminous for distribution
a question-and-answer session. The facility
                                                             at the presentation, they may be made available to
administrator may extend that time period on a case-
                                                             detainees in the facility’s law library.
by-case basis.
                                                             Presenters shall distribute materials at the
The facility shall require presenters to abide by all
                                                             presentation to detainees and ICE/ERO and/or
rules and regulations applicable to visitors to the
                                                             facility staff simultaneously. At the request of the
facility. Presentations must be conducted in a
                                                             presenter and with the requisite approval in
manner consistent with the security and orderly
                                                             accordance with standard “6.3 Law Libraries and
operation of the facility. Presenters may neither
                                                             Legal Material,” copies of presentation materials may
charge any fee nor solicit business for remuneration
                                                             be included in the law library.
during any presentation.
                                                             J. Individual Counseling Following a Group
At their discretion, ICE/ERO and/or facility staff may
observe and monitor presentations, assisted by                  Presentation
interpreters as necessary. ICE/ERO and facility              Following a group presentation, the facility shall
personnel shall not interrupt a presentation, except
                                                                         , In c.
                                                             permit presenters to meet with small groups of
to maintain safety and security, or if the allotted time
                                                            r e C   ivic 022
                                                             detainees to discuss their cases as long as meetings
has expired.
                                                     v. Co          r 1 4  ,2
                                                             do not interfere with facility security and orderly
I. Written Materials                          w ino         m  be
                                                             operations.
                                        in  O           c e
                                                     De ICE/ERO and facility staff may not be present during
                             c  itedpresenters
If approved in advance by ICE/ERO,
                                               2 1
                                               may ,
distribute brief written materials that1
                                     2   - 552
                                       inform            these meetings. Standard “5.7 Visitation” sets forth
                            Nolaw. and procedure.
detainees of U.S. immigration                            the rules and procedures for “Visits by Legal
                                                             Representatives and Legal Assistants.”
The request for approval of a presentation must list
any published or unpublished materials proposed for          K. Suspension or Termination
distribution, and the requestor must provide a copy
of any unpublished material, with a cover page that:         The facility may discontinue or temporarily suspend
                                                             group presentations by any or all presenters, if:
1. identifies the submitter and the preparer of the
   material;                                                 1. the presentation or presenters pose an
                                                                unreasonable security risk;
2. includes the date of preparation; and
                                                             2. the presentation or presenters interfere with the
3. states clearly that ICE/ERO did not prepare, and is          facility’s orderly operation;
   not responsible for, the contents of the material.
                                                             3. the presentation deviates materially from
If any material is in a language other than English, an         approved presentation materials or procedures; or
English translation must be provided.
                                                             4. the facility is operating under emergency
Distribution of other than ICE-approved material or             conditions.
material that poses a threat, real or suspected, to the
security and good order of the facility, constitutes         The facility administrator shall notify the affected
grounds for discontinuation of presentation                  presenters in writing of the reasons for termination



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or suspension, and shall send a copy to the respective     c. any part is inconsistent with this detention
ICE/ERO Field Office Director.                                standard.
A presenter may appeal a suspension or termination         2. Detainee Viewing of Approved Electronic
in writing to the Field Office Director. The Field            Presentations
Office Director shall promptly consider the appeal
                                                           The facility shall provide regularly scheduled and
and consult with the respective ICE Office of Chief
                                                           announced opportunities for detainees to view or
Counsel and the facility administrator to determine
                                                           listen to electronic presentation(s). At a minimum,
means of addressing the concerns causing the
                                                           the presentation shall be made available to the
suspension/termination.
                                                           general population once a week. The facility shall
Within 30 days of receiving the appeal, the Field          also provide detainees in administrative or
Office Director shall inform the presenter in writing      disciplinary segregation for more than one week at
of the decision made on any appeal request, and            least one opportunity to view pre-approved
shall explain the rationale behind the decision and        presentation(s) during their placement in
the means, if any, to rectify the situation.               segregation, unless precluded by security concerns
                                                           regarding a particular detainee.
L. Electronic Presentations
                                                           The facility may also make such electronic
ICE/ERO encourages qualified individuals and               presentations available in the law library, if
organizations to submit electronically formatted
                                                                    In c.
                                                           accessible through computer (e.g. DVD format), for
                                                                 ,
presentations (e.g., videotape, DVD) on legal rights.
                                                     re C   ivic 022
                                                           detainee viewing.
ICE/ERO must review and approve these
                                             v    o facility shall
                                              . CEach         1 4     2 only ICE/ERO-approved
                                                                   ,present
                                           o
presentation(s) prior to dissemination. If ICE/ERO
                                         in                 r
                                                       be presentations on detainee legal rights. If it
                                       Ow       c e m
                                                 electronic
                                    in
approves an electronic presentation(s), the
                                              e is not technically feasible to show such pre-approved
                            cited 55221, D electronic presentations, the facility shall contact
originators may provide that presentation to

                              o . 21-
individual detention facilities for viewing by
detainees.                  N                    ICE/ERO for equipment options.
1. Requesting ICE/ERO Approval                             The facility shall maintain electronically-formatted
                                                           presentations and equipment in good condition.
The requestor must submit the electronic                   However, in the event that electronic copies of the
presentation(s), along with a transcript in English        presentation(s) are stolen, destroyed or otherwise
and in the language(s) used in the presentation(s),        become unusable, the facility shall promptly request
to both the Field Office Director and the respective       that ICE/ERO obtain replacement copies of the
ICE Office of Chief Counsel. ICE/ERO may object to         presentation(s) from the originator. The facility shall
all or part of the electronic presentation(s) if:          check the operability of the presentation once a week
a. the material may present a threat to the facility’s     at minimum.
   safety, security or good order;                         An electronic presentation shall not be considered a
b. the presentation contains misleading or inaccurate      replacement or substitute for an in-person or live
   statements of ICE/ERO policy, immigration               presentation, when available.
   procedure or law; or




6.4 | Legal Rights Group Presentations                   440                                       PBNDS 2011
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                                                            4. Staff shall have access to detention files as needed
7.1 Detention Files                                            for official purposes only.

I. Purpose and Scope                                        5. Information from a detention file shall be released
                                                               to an outside third party only with the detainee’s
This detention standard contributes to efficient and           signed release-of-information consent form,
responsible facility management by maintaining, for            consistent with the resources and security of the
each detainee booked into a facility for more than 24          facility. Any release of information shall be in
hours, a file of all significant information about that        accordance with applicable federal and state
detainee. This standard also addresses security for            regulations.
electronic files.
                                                            6. Electronic record-keeping systems and data shall
This detention standard applies to the following               be protected from unauthorized access.
types of facilities housing ICE/ERO detainees:
                                                            7. Field Offices shall maintain detention files for a
 x   Service Processing Centers (SPCs);                        minimum of 18 months after release of the
                                                               detainee, for auditing purposes.
 x   Contract Detention Facilities (CDFs); and
                                                            8. Closed detention files shall be properly archived.
 x   State or local government facilities used by
     ERO through Intergovernmental Service                  III. Standards Affected
     Agreements (IGSAs) to hold detainees for more
                                                                            ,  Inc.
     than 72 hours.
                                                                 re    ivic 022
                                                            This detention standard replaces “Detention Files”
                                                                    C
Procedures in italics are specifically required for o v. C
                                                               o
                                                            dated 12/2/2008.
                                                                       r 1 4  ,2
SPCs, CDFs, and Dedicated IGSA facilities. O     w  in        IV.
                                                               e m be
                                                                   References
                                         in   Non-
                                                          De c
                              c  ited to these
dedicated IGSA facilities must conform
                                              52  2  1  ,     American Correctional Association, Performance-
procedures or adopt, adapt or establish
                                      2 1 - 5
                                          alternatives,
                             Nothe. intent represented
                                                              based Standards for Adult Local Detention
provided they meet or exceed
                                                            Facilities, 4th Edition: 4-ALDF-7D-19, 7D-20, 7D-
by these procedures.
                                                            21. 7D-22.
Various terms used in this standard may be defined
                                                            Privacy Policy Guidance Memorandum Number
in standard “7.5 Definitions.”
                                                            2007-1 “DHS Privacy Policy Regarding Collection,
II. Expected Outcomes                                       Use, Retention and Dissemination of Information on
                                                            Non-U.S. Persons” from the DHS chief privacy
The expected outcomes of this detention standard            officer (1/19/2007).
are as follows (specific requirements are defined in
                                                            ICE/ERO Performance-based National Detention
“V. Expected Practices”).
                                                            Standards 2011: “2.5 Funds and Personal Property.”
1. A detention file shall be maintained on each
   detainee admitted to a detention facility for more       V. Expected Practices
   than 24 hours.
                                                            A. Creation of a Detainee Detention File
2. Each detention file shall include all documents,
   forms and other information specified herein.            When a detainee is admitted to a facility, staff shall
                                                            create a detainee detention file as part of admissions
3. The security and confidentiality of each detention       processing.
   file and its contents shall be maintained.


7.1 | Detention Files                                     441                                       PBNDS 2011
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1. For every new arrival whose stay shall exceed 24             e. G-589, Property Receipt or facility equivalent;
   hours, a designated officer shall create a detainee             and
   detention file.
                                                                f. I-77, Baggage Check(s).
2. The officer completing the admissions portion of
                                                                The file shall also contain the following original
   the detention file shall note that the file has been
                                                                documents, if used in the facility:
   activated. The note may take the form of a generic
   statement in the acknowledgment form described               g. acknowledgment form, documenting receipt
   below in this standard.                                         of handbook, orientation, locker key, etc.;
3. The facility administrator shall develop                     h. work assignment sheet;
   procedures to ensure the admissions processing               i. identifying marks form; and
   unit always has on hand all necessary supplies and
   that equipment is maintained in good working                 j. original detainee summary form.
   order, including photocopier(s) and paper. The           2. The detainee’s detention file shall also contain
   equipment shall have the capacity to handle the             documents generated during the detainee’s time
   volume of work generated.                                   in the facility.
4. The facility shall always have on hand a paper           C. Additions to File
   shredder where defective and/or extra
   photocopies not placed in the detainee’s
                                                         ,  I  c.
                                                            During the course of the detainee’s stay at the
                                                             n
   detention file should be shredded, or a locked
                                              re C  ivic 022facility, staff shall add documents associated with

                                        . Co er 14, 2
   paper bin in which such defective and/or extra           normal operations to the detainee’s detention file.

                                   ino v        b
   photocopies that are not placed in the detention         Such documentation may include, but is not limited
                                 Ow       c e m
                              in        e                   to, the following:
                      cited 55221, D 1. special requests;
   file should be placed to be shredded or otherwise
   destroyed.
                     of o
B. Required Contents N    . 21-
                        File               2. any G-589s or facility equivalent, or I-77s closed-
                                                                out during the detainee’s stay;
1. The detainee detention file shall contain either
   originals or copies of all forms and other               3. disciplinary forms;
   documents generated during the admissions                4. grievances, except medical grievances which are
   process. Defective or extra copies shall be                 maintained in the medical file, complaints and
   disposed of properly. If necessary, the detention           their disposition;
   file may include copies of material contained in
                                                            5. all forms associated with disciplinary or
   the detainee’s A-File.
                                                               administrative segregation;
   The file shall, at a minimum, contain the
   following documentation:                                 6. strip search forms;

   a. I-385, Alien Booking Record, with one or              7. other documents, as needed, e.g., staff reports
      more original photograph(s) attached;                    about the detainee’s behavior, attitude,
                                                               commendations; and
   b. Classification Work Sheet;
                                                            8. any privacy waivers, including release-of-
   c. Personal Property Inventory Sheet;                       information consent forms.
   d. Housing Identification Card;                          D. Location of Files


7.1 | Detention Files                                     442                                        PBNDS 2011
                                                                                           (Revised December 2016)
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Detainee detention files shall be located and                    with the detainee to another facility. However,
maintained in a secured area.                                    staff may forward copies of file documents at the
1. Active detainee detention files shall be maintained           request of supervisory personnel at the receiving
   in the admissions processing area, unless the                 facility or office. When forwarding requested
   facility administrator designates another area;               documents, staff at the sending office shall update
                                                                 the archived file, noting the document request
2. The cabinet containing the files does not need to             and the name and title of the requester.
   be securable if located in a controlled access area;
   however, if the cabinet is located in a congested          4. The archival and disposal of files must be done in
   work area or in a high traffic area, it must be               accordance with agency policies and regulations.
   locked;                                                    F. Access to File
3. The Chief of Security or equivalent shall                  1. Detention file contents are subject to the same
   determine the key distribution for file cabinets              Privacy Act regulations as A-file contents. Unless
   that lock; and                                                release of information is required by statute or
4. Archived files shall be placed in storage boxes,              regulation, a detainee must sign a release-of-
   with the dates covered clearly marked (e.g., from             information consent form prior to the release of
   [mm/dd/yy] to [mm/dd/yy]). The facility                       any information, and a copy of the form shall be
   administrator shall designate a restricted access             maintained in the detainee’s detention file. This
                                                                                 , In c.
                                                                 information contained in the form shall be
                                                                           ivic 022
   storage space.
                                                                     e  C
                                                                 explained to the detainee in a language or manner
                                                                    r
E. Archiving Files
                                                          o  v. Co er 14, 2
                                                                 which he/she understands.
Each detention file shall remain active during   O  wthein        e ThebPrivacy Act of 1974 provides statutory
                                                                    m
                                                                c
                                c i  edbeinclosed2and
detainee’s stay at a facility, and tshall
                                                       2 1 , De privacy rights to U.S. citizens and Legal
                                       2  1  -
archived upon the detainee’s transfer, release 55 or                Permanent Residents (LPRs), but the law does not
removal. When requested, IGSA
                               No    .
                                     facilities shall make          cover aliens who are not legal permanent
inactive detention files available to ICE/ERO                    residents. As a matter of policy, however, DHS
personnel.                                                       treats any personally identifiable information
1. Upon the detainee’s release from the facility, staff          (PII) that is collected, used, maintained or
   shall add final documents to the file before                  disseminated in a DHS records system as being
   closing and archiving the file and after inserting            subject to the Privacy Act regardless of whether
   the following:                                                the information pertains to a U.S. citizen, LPR or
                                                                 alien. Treating such records systems as covered by
   a. copies of completed release documents;                     the Privacy Act establishes efficient and uniform
   b. the original closed-out receipts for property              business practices for handling PII without
      and valuables; and                                         necessitating maintenance of two parallel records
                                                                 systems.
   c. the original I-385 and other documentation.
                                                              2. Appropriate staff or other law enforcement
2. The officer closing the detention file shall make a
                                                                 agencies with ICE approval may have access to the
   notation (on the acknowledgement form, if
                                                                 detention file for official purposes.
   applicable) that the file is complete and ready for
   archiving.                                                 3. Staff shall accommodate all requests for detainee
                                                                 detention files from other departments that
3. The closed detention file shall not be transferred


7.1 | Detention Files                                     443                                        PBNDS 2011
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   require the material for official purposes, such as     Privacy Act regulations as the contents of traditional
   disciplinary hearings. A representative of the          paper detention files and A-files.
   department requesting the file is responsible for
                                                           Unless release of information is required by statute
   obtaining the file, logging it out and ensuring its
                                                           or regulation, a detainee must sign a release-of-
   return. Unless the Chief of Security or equivalent
                                                           information consent form prior to the release of any
   determines otherwise, each borrowed file must
                                                           information, and a copy of the form shall be
   be returned by the end of the administrative
                                                           maintained in the detainee’s detention file.
   workday.
                                                           H. Field Office Responsibilities
   At a minimum, a logbook entry recording the
   file’s removal from the cabinet shall include the       Field Offices shall maintain files as needed to carry
   following information:                                  out their responsibilities, and shall retain all inactive
   a. the detainee’s name and A-File number;               files for a minimum of 18 months for auditing
                                                           purposes. Generally, such records contain
   b. date and time removed;                               information about more than one detainee, and are
   c. reason for removal;                                  most easily retrieved by process or subject, rather
                                                           than by individual detainee.
   d. signature of person removing the file,
      including title and department;                      For some purposes, records are most easily retrieved
   e. date and time returned; and
                                                                           , I  c.
                                                           by the detainee’s name. While some such material
                                                                              n
                                                              re C  ivic 022
                                                           may duplicate materials maintained in the facility

                                                       . Co er 14, 2
   f. signature of person returning the file.              detention files, there is no intention to create a
                                                    o v    duplicate file for IGSA contract facilities.
                                           Owin DecSome   embdetention standards require that copies of
4. Upon request by the detainee, the detention file
   shall be provided to the detainee orin
                             cited 55221,
                                        his/her
   designated attorney of record.                         certain documents on individual detainees be sent to
                                   2 1  -
                            No.
                                                          Field Offices. Especially where approval of the Field
G. Electronic Files
                                                           Office Director or designee is required, records of
Electronic record-keeping systems and data shall be        correspondence and approvals or denials are to be
protected from unauthorized access. All electronic         maintained in the A-file.
data on individual detainees is subject to the same




7.1 | Detention Files                                    444                                         PBNDS 2011
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7.2 Interviews and Tours                                     detention standard on “Visitation” dated
                                                             12/2/2008.
I. Purpose and Scope                                         IV. References
This detention standard ensures that the public and          American Correctional Association, Performance-
the media are informed of events within the facility’s        based Standards for Adult Local Detention
areas of responsibility through interviews and tours.         Facilities, 4th Edition: 4-ADLF-7D-21, 7F-01.
This detention standard applies to the following
types of facilities housing ICE/ERO detainees:               V. Expected Practices
  x   Service Processing Centers (SPCs);                     A. News Media Interviews and Tours
  x   Contract Detention Facilities (CDFs); and              1. General

  x   State or local government facilities used by           ICE/ERO supports the provision of public access to
      ERO through Intergovernmental Service                  non-classified, non-sensitive and non-confidential
      Agreements (IGSAs) to hold detainees for more          information about its operations in the interest of
      than 72 hours.                                         transparency. Access will not be denied based on the
                                                             political or editorial viewpoint of the requestor.
Procedures in italics are specifically required for
SPCs, CDFs, and Dedicated IGSA facilities. Non-
                                                                            ,  In  c.
                                                             ICE/ERO also has a responsibility to protect the
dedicated IGSA facilities must conform to these
                                                                r e    ivic 022
                                                             privacy and other rights of detainees, including the
                                                                    C
procedures or adopt, adapt or establish alternatives,
                                                      o v. Co er 14, 2
                                                             right of a detainee to not be photographed or
                                              w   in
provided they meet or exceed the intent represented
                                           O                 e m   b
                                                             recorded.
                                      in                   c
                                                         e regulating interviews in the detention setting, the
by these procedures.
                             c ited 5221, D By
                                   2 1
Various terms used in this standard may- 5be defined        facility administrator ensures the secure, orderly and
                            No.
in standard “7.5 Definitions.”                              safe operation of the facility. Interviews by reporters,
                                                             other news media representatives, non-governmental
II. Expected Outcomes                                        organizations, academics and parties not included in
                                                             other visitation categories in standard “5.7
The expected outcomes of this detention standard             Visitation” shall be permitted access to facilities only
are as follows (specific requirements are defined in         by special arrangement and with prior approval of
“V. Expected Practices”).                                    the respective ICE/ERO Field Office Director. ICE
1. The public and the media shall be informed of             may designate Public Affairs Officers (PAO) to serve
   operations and events within the facility’s areas of      in Field Offices as liaisons with media representatives
   responsibility.                                           for some or all requests and communications
                                                             covered by this standard.
2. The privacy of detainees and staff, including the
   right of a detainee to not be photographed or             2. Media Representatives
   recorded, shall be protected.                             The term “media representative” is intended to refer
III. Standards Affected                                      to persons whose principal employment is to gather,
                                                             document or report news for any of the following
This detention standard replaces provisions on media         entities:
visits and tours that were removed from the                  a. a newspaper that circulates among the general




7.2 | Interviews and Tours                                445                                        PBNDS 2011
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   public and publishes news of a general interest           photographs in or of any facility. Detainees have the
   (e.g., political, religious, commercial or social         right not to be photographed (still, movie or video),
   affairs):                                                 and not to have their voices recorded by the media.
b. a news magazine with a national circulation sold          Thus, the facility administrator shall advise both
   to the general public by newsstands and mail              visitors and detainees that use of any detainee’s
   subscriptions;                                            name, identifiable photo or recorded voice requires
                                                             that individual’s prior permission. Such permission
c. a national or international news service;                 will be recorded by the visitor’s completion of a
d. a radio or television news program of a station           signed release from the detainee before
   licensed by the Federal Communications                    photographing or recording the detainee’s voice.
   Commission (FCC); or                                      The original form shall be filed in the detainee’s A-
                                                             file with a copy placed in the facility’s detention file.
e. other representatives or entities that gather
   information in accordance with the definition of          If the presence of video, film or audio equipment or
   “representative of the news media” contained in           related personnel poses a threat to the safety or
   the Freedom of Information Act (5 U.S.C. §                security of the facility, its staff or its detainees, the
   552(a)(4)(A)(ii)) as amended by section 3 of              Field Office Director may limit or prohibit such
   P.L.110-175.                                              access. Prior to the tour, the Field Office Director
                                                             shall explain the terms and guidelines of the tour to
In addition to those persons listed above, such
                                                             the visitors.
                                                                           ,  In c.
representatives may include, but are not limited to,                    ic an emergency,
                                                                     ivafter
individuals reporting for certain electronic media
                                                        C   o r
                                                         During e Cand
                                                                           4 ,  2 022 or when indications
                                              in o v. exist
outlets, online media publications and other media
                                           w                     b e r 1 security measures may be needed due
                                                                that extra
freelance journalists or bloggers.   in  O          D e  em
                                                        ctoOffice
                                                             a possible disturbance in the facility, the Field
                               e  d               ,
3. Media Visits and Tours cit                2  1                 Director may suspend visits for an appropriate
                                       -55 2
                               .  2 1                    period.
                          No advance
Media representatives may request                        4. Personal Interviews
appointments to tour those facilities, according to
the following stipulations.                                  A media representative or member of the public,
                                                             including non-governmental organizations and
a. To tour an SPC or CDF, visitors will contact the
                                                             academics, planning to conduct a personal interview
   Field Office Director or the Assistant Field Office
                                                             at a facility shall submit a written request to the
   Director assigned to the facility. The Chief of
                                                             responsible Field Office Director, preferably 48
   Security shall be responsible for implementing
                                                             hours prior to, and no less than 24 hours prior to,
   the necessary security procedures.                        the time slot requested. The Field Office Director
b. To tour an IGSA facility, visitors will contact the       may waive the 24-hour rule if convinced of the need
   Field Office Director responsible for that area of        for urgency.
   responsibility, who will in turn notify the facility.
                                                             Through facility staff, the Field Office Director shall
   Local facilities’ policies and procedures shall
                                                             inform the detainee of the interview request. Before
   govern.
                                                             the Field Office Director considers the interview
Visitors will abide by the policies and procedures of        request, the detainee must then indicate his/her
the facility being visited or toured. Visitors must          willingness to be interviewed by signing a consent
obtain advance permission from the facility                  form. The original written consent shall be filed in the
administrator and Field Office Director before taking        detainee’s A-file, and a copy shall be placed in the



7.2 | Interviews and Tours                                 446                                         PBNDS 2011
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facility’s detention file.                                  if interviews are imposing a serious strain on staff or
                                                            facility resources, the Field Office Director may
“Appendix 7.2.A: Detainee Interview Release Form”
                                                            restrict the time allotted for interviews.
provides a sample news interview authorization
form that may be used. The original of the form             For facility safety and security, ICE/ERO reserves the
shall be filed in the detainee’s A-file with a copy in      right to monitor, but not participate in, detainee
the facility’s detention file. Detainees should not be      interviews.
pressured or coerced out of granting the interview          A media representative interested in touring the
request, nor should the facility in any way retaliate       facility and photographing or recording any other
against a detainee for lawful communication with a          detainees in conjunction with an individual
member of the media or a member of the public.              interview must follow all applicable requirements
ICE/ERO shall normally act in writing within 48             and procedures, and shall indicate this interest at the
hours of the written request. Possible reasons for          time of his/her request for an interview.
disapproval may include, but are not limited to, the        5. Press Pools
following situations.
                                                            A press pool may be established when the PAO, Field
a. The news media representative or news
                                                            Office Director and facility administrator determine
   organization he/she represents or the visitor does
                                                            that the volume of interview requests warrants such
   not agree to the conditions established by this
                                                            action.
   policy or has previously failed to abide by them.
                                                                     , Inc.
b. The Field Office Director finds it probable that
                                                            re  ivic 022
                                                            In such an event, the Field Office Director shall
                                                               C
   the proposed interview may endanger the health v. Co
                                                                 r 1 4 ,2
                                                            notify all media representatives with pending or

                                                w in  o       be
                                                            requested interviews, tours or visits that, effective
                                                            m
                                            O
   or safety of the interviewer, cause serious unrest
                                        in and 1, De    c e immediately and until further notice, all media
                                 itedorderly
   within the facility or disturb the
                               c
   secure operation of the facility.
                                       1 - 5 522            representatives must comply with the press pool

c. The detainee is involvedN  in o
                                   .2
                                 a pending court action
                                                            guidelines established by the Field Office Director.
                                                            All material generated from such a press pool must
   and the court with jurisdiction over the matter
                                                            be made available to all news media, without right
   has issued a gag rule or the Field Office Director,
                                                            of first publication or broadcast.
   after consultation with the respective ICE Office
   of Chief Counsel, thinks the proposed interview          The press pool shall comprise one member each
   could affect the outcome of the court case.              from the following groups:
If the requesting party believes the request was            a. a television outlet (for video);
unfairly or erroneously denied, the requesting party        b. a radio network outlet;
may contact ICE/ERO headquarters.
                                                            c. a print outlet; and
Interviews shall take place during normal business
hours in a location determined by the facility              d. a still photographer.
administrator. The facility administrator shall             Each group shall choose its representative for the
provide a location conducive to the interviewing            press pool. The Field Office Director shall, upon
activity, consistent with the safety, security and good     request, provide the media information about a
order of the facility. The Field Office Director may        detainee, provided such information is a matter of
limit the number of interviews with a particular            public record and not protected by privacy laws,
detainee to a reasonable number per month. Further,         Department of Homeland Security policy, or



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ICE/ERO policy. Security and safety concerns for             State, Local and Tribal Coordination (OSLTC). Tour
staff and detainees require that specific removal-           requests should not be directed to the facility.
related data remain confidential.
                                                             All requests shall be forwarded to the Field Office for
6. Special Conditions for Media Representatives              review. When deciding whether to approve or deny
To be approved to interview or visit a detainee or           the request, the Field Office Director, or his or her
tour an ICE facility, the media representative must          designee, will take into consideration safety and
certify that he/she is familiar with and accepts the         security, and the availability of personnel to staff the
rules and regulations governing media conduct.               tour, visitation, or tour with visitation. All tour or
He/she must at all times comply with those rules             visit participants will be expected to submit personal
and regulations.                                             information required by applicable ICE policies, so
                                                             the Field Office can perform background checks as
Media representatives shall collect information only         necessary.
from a primary source(s), and shall neither solicit
nor use personal information from one detainee               When requesting visitation or a tour with visitation,
                                                             stakeholders may pre-identify any detainee with
about another who is unwilling to be interviewed.
                                                             whom they may wish to speak by providing ICE
A media request may not delay or otherwise                   with a list of specific detainees in advance.
interfere with the admission, in-processing, or              Stakeholders are not required to pre-identify a
departure of any detainee. Routine processing of ICE
                                                                  ,  In  c.
                                                             detainee(s) with whom they may wish to meet

                                                            ivic 022
detainees shall take precedence over media                   during their tour and/or visit. In order to meet with
interviews.
                                                      r e C
                                               . Co er 14, 2
                                                             detainees who have not been pre-identified,
B. Non-Governmental Organization (NGO) in  o v           b
                                                             stakeholders shall provide to ICE a sign-up sheet.
                                   O w           c e m
   and Other Agency Stakeholder
                           te d in Facility
                                         1 , D e  All stakeholders shall provide ICE a completed
                          i
                         c with5522
   Tours, Visitation, or Tours                    tour/visitation notification flyer and a signed ICE
                             2 1 -
                        No.
                                                  Stakeholder Visitor Code of Conduct.
   Visitation
                                                             If the tour/visit is approved, the facility shall post
ICE detention facilities will maintain an open and           both the ICE sign-up sheet and the ICE stakeholder
transparent approach to immigration detention                tour/visit notification flyer at least 48 hours in
through managed access of stakeholders participating         advance of the tour or visitation in appropriate
in approved tours, visits, or tours with visitation. All     locations (e.g., message boards, housing areas). The
tours and visits requests shall be governed by this          facility staff may also make appropriate oral
standard and other applicable ICE policies or                announcements to detainees about the upcoming
procedures on NGO and/or stakeholder access to               tour/visit (e.g., announcement during meal times).
detention facilities.                                        The facility staff is not required to inform a
All requests by NGOs and other stakeholders (which           detainee’s attorney that a stakeholder will tour/visit
include, but are not limited to, community service           the facility or for overseeing the content of the
organizations, intergovernmental entities, faith-            consent form or ensuring that the detainee and the
based organizations, members of academia, and legal          stakeholder have completed it.
groups (e.g., pro bono legal service provider                On the day of the visitation, the facility staff shall
groups)) for tours, visits, or tours with visits must        give the NGO or stakeholder access to pre-identified
be submitted in writing to the local ICE/ERO Field           detainees and/or to detainees who have signed up in
Office supervising the facility or the ICE Office of         advance to speak with the stakeholder. The facility



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staff shall arrange for the visitation to occur in a pre-     This Standard does not apply to (1) Legal
determined common area or space.                              Orientation Program or Know Your Rights
                                                              presentation providers; (2) law firms, organizations,
The facility staff may maintain a physical presence in
                                                              or sole attorney practitioner providing or seeking to
the meeting room to maintain safety and security.
                                                              provide legal representation; and (3) health care
To ensure security and avoid any disruptions in daily         practitioners with a request from a detainee’s
operations, all NGOs and other stakeholders touring           counsel to conduct an examination relevant to the
and/or conducting visitation with detainees shall             detainee’s case.
maintain proper and appropriate decorum, adhere to
applicable ICE and facility standards, and may be
asked to sign a code of conduct form.




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                                     in        e c
                             cited 55221, D
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                             N




7.2 | Interviews and Tours                                  449                                      PBNDS 2011
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   x Appendix 7.2.A: Detainee Interview Release Form (English)

   x Appendix 7.2.B: Detainee Interview Release Form (Spanish)




                                                             , Inc.
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                                            o v. Co er 14, 2
                                        Owin       e m b
                                     in        e c
                             cited 55221, D
                               o . 21-
                             N




7.2 | Interviews and Tours                     450                           PBNDS 2011
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                                          DEPARTMENT OF HOMELAND SECURITY
                                   U.S. Immigration and Customs Enforcement
                                    DETAINEE INTERVIEW RELEASE FORM
                    Use this form to document news media interview requests of aliens in ICE custody
 Part 1. Alien & News Media Information

 Date:
 Detainee's name and A-number:
 Name of facility where alien is detained:
 Name of news media representative:
 Name of media organization represented:
 Address of media organization represented:

 Instruction: Fill out either Part 2 or 3. Not both.

  Complete Part 2a and 2b if     I, the ICE detainee named above, do hereby freely give permission to the news
  providing consent to be        media representative named above to interview me on or about (date)                      .
  interviewed.
                                 Detainee's signature:
  Part 2.a. Consent to be        Witness signature:
  interviewed
                                                                            ,  Inc.
                                                                     ivic 022
                                 Title:

                                                               re C
                                                      .  Co (check one):14, 2
  Part 2.b. Consent or
                                              in o  v
                          I, the ICE detainee named above,
                                                                 b  erfor the news media
  Refusal of Photographs
                               give     O  w
                                    permission             e  m
                                                      etocmake recordings of my voice during this interview and
                                                   refuse  permission
  and Audio Recordings
                            t e d   in named1above
                                                 , D
  (check only one and     i              522of me (still or video).
                         cto take photographs
                          representative
  complete)
                                   1 - 5
                         No   .2
                          Detainee's signature:
                                 Witness signature:
                                 Title:

  Complete Part 3 only if        I, the ICE detainee named above, refuse to grant permission for the news media
  refusing to provide            representative named above to interview me.
  consent to be interviewed.
                                 Detainee's signature:
  Part 3. Refusal of             Witness signature:
  Interview
                                 Title:

 Part 4. Notice and Disclaimer

 The use and dissemination of a detainee name, image, statements, or voice recordings by a news media organization
 requires written permission. Media representatives must obtain a signed release from the detainee before interviewing,
 photographing, or recording him or her. This document only addresses whether a detainee will permit a media
 representative to enter an ICE facility to conduct an interview. This form does not provide authorization for a news
 media representative to further use and/or disseminate any information obtained during an interview. ICE does not
 control the content or use of any interview statements, images, or recordings obtained by a news media representative.
 Any agreement regarding use and dissemination of statements or records derived from an interview falls solely within
 the purview of the detainee and the respective news media representative.


ICE Form 71-050 (1/16)                                                                                           Page 1 of 1
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                                       DEPARTMENT OF HOMELAND SECURITY
                                      DEPARTAMENTO DE SEGURIDAD NACIONAL
                                 U.S. Immigration and Customs Enforcement
                           Servicio de Inmigración y Control de Aduanas de EE.UU.
              FORMULARIO DE AUTORIZACIÓN PARA ENTREVISTAR A UN DETENIDO
                   Utilice este formulario para documentar las solicitudes de los medios de comunicación
                                    para entrevistar a los extranjeros en custodia del ICE

 Parte 1. Información del extranjero y del medio de comunicación

 Fecha:
 Nombre del detenido y número de extranjero (A-number):
 Nombre del centro donde está detenido el extranjero:
 Nombre del representante del medio de comunicación:
 Nombre del medio de comunicación representado:
 Dirección del medio de comunicación representado:

 Instrucciones: Llene la Parte 2 o la Parte 3, no ambas.

 Complete las Partes 2a y         Yo, el detenido en el ICE nombrado arriba, por la presente doy todo mi
 2b si usted da su                consentimiento al representante del medio de comunicación nombrado arriba para
 consentimiento para ser          que me entreviste en o alrededor del (fecha)                   .
 entrevistado.
                                  Firma del detenido:

                                                                                    , I n c.
                                                                             ivic 022
 Parte 2.a. Consentimiento        Firma del testigo:
 para ser entrevistado
                                                                     r e  C
                                                              . Co er 14, 2
                                Cargo:

                                                   elin o   v           b (marque una casilla):
 Parte 2.b. Consentir o
                                              O  w
                                Yo, el detenido en    ICE nombradom
                                                                c e  arriba,
 negarse a ser                           in
                                     d permiso,          noD
                                                         ,    epermiso,
 fotografiado o grabado         itedoy
                               cpara           52  2  1     doy

                                        1 el5
                                          -
 en audio (marque solo
                                  .  2
                                     que     representante  del medio de comunicación nombrado arriba grabe mi voz
 una casilla y complete)
                               No
                                durante  esta entrevista y me tome fotografías (fijas o en video).
                                  Firma del detenido:
                                  Firma del testigo:
                                  Cargo:

 Complete la Parte 3 sólo si      Yo, el detenido en el ICE nombrado arriba, no doy permiso para que el representante
 usted se niega a dar su          del medio de comunicación nombrado arriba me entreviste.
 consentimiento para ser
 entrevistado.                    Firma del detenido:
                                  Firma del testigo:
 Parte 3. Negación de
 la entrevista                    Cargo:

 Parte 4. Aviso y descargo de responsabilidad
 El uso y difusión del nombre, imagen, declaraciones o grabaciones de la voz de un detenido por parte de un medio de
 comunicación, requiere de un permiso por escrito. Los representantes de los medios de comunicación deben obtener
 una autorización firmada por el detenido antes de entrevistarle, fotografiarle o grabarle. Este documento solamente
 indica si un detenido permitirá que un representante de un medio de comunicación entre a las instalaciones del ICE
 para realizar una entrevista. Este formulario no proporciona una autorización para que un representante de un medio
 de comunicación utilice y/o difunda posteriormente cualquier información obtenida durante la entrevista. El ICE no
 controla el contenido o uso de ninguna declaración, imágenes o grabaciones obtenidas por un representante de un
 medio de comunicación durante la entrevista. Cualquier convenio sobre el uso y la difusión de las declaraciones o
 grabaciones obtenidas en una entrevista recae únicamente dentro del ámbito del detenido y del representante del
 medio de comunicación respectivo.

ICE Form 71-050 (7/16) (Spanish/Español)                                                                     Página 1 de 1
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7.3 Staff Training                                             contract personnel working more than twenty
                                                               hours per week shall receive training appropriate
I. Purpose and Scope                                           to their position and commensurate with their
                                                               full-time colleagues.
This detention standard ensures that facility staff,        3. Training for staff, contractors, and volunteers will
contractors and volunteers are competent in their              be provided by instructors who are qualified to
assigned duties by requiring that they receive initial         conduct such training.
and ongoing training.
                                                            4. Staff and contractors who have minimal detainee
Other detention standards may include additional               contact (such as clerical and other support staff)
training requirements specific to each standard.               will receive initial and annual training
This detention standard applies to the following               commensurate with their responsibilities.
types of facilities housing ICE/ERO detainees:              5. Professional, support, and health care staff and
 x   Service Processing Centers (SPCs);                        contractors who have regular or daily contact
                                                               with detainees, or who have significant
 x   Contract Detention Facilities (CDFs); and                 responsibility involving detainees, will receive
 x   State or local government facilities used by              initial and annual training commensurate with
     ERO through Intergovernmental Service                     their position.
     Agreements (IGSAs) to hold detainees for more
                                                                             , Inc.
                                                                        ivic 022
                                                            6. Security staff and contractors will receive initial
     than 72 hours.
                                                                re  C
                                                               and annual training commensurate with their
Procedures in italics are specifically required for o v. C
                                                              oposition.
                                                                         r 1 4 ,2
SPCs, CDFs, and Dedicated IGSA facilities. O     w  in        e m be management and supervisory staff and
                                         in   Non-          c
                                                          De contractors will receive initial and annual training
                                                             7. Facility
                              c  ited to these
dedicated IGSA facilities must conform            2  1  ,
                                      2
procedures or adopt, adapt or establish 1 - 552
                                          alternatives,         commensurate with their position.
provided they meet or exceed N  o  .
                                 the intent represented
                                                            8. Personnel and contractors assigned to any type of
by these procedures.
                                                               emergency response unit or team will receive
Various terms used in this standard may be defined             initial and annual training commensurate with
in standard “7.5 Definitions.”                                 these responsibilities including annual refresher
                                                               courses or emergency procedures and protocols.
II. Expected Outcomes
                                                            9. Personnel and contractors authorized to use
The expected outcomes of this detention standard               firearms will receive appropriate training before
are as follows (specific requirements are defined in           being assigned to a post involving their use and
“V. Expected Practices”).                                      will demonstrate competency in firearms use at
1. Before assuming duties, each new employee,                  least annually.
   contractor, or volunteer will be provided an             10. Personnel and contractors authorized to use
   orientation to the facility and the ICE/ERO                  chemical agents and electronic control devices
   detention standards.                                         will receive thorough training in their use and in
2. All part-time staff and contract personnel shall             the treatment of individuals exposed to a
   receive formal orientation training appropriate to           chemical agent.
   their assignments. Any part-time, volunteer, or          11. Security staff and contractors will be trained in



7.3 | Staff Training                                     453                                         PBNDS 2011
                                                                                           (Revised December 2016)
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    self-defense and use-of-force procedures to               position, to coordinate and oversee the staff
    include confrontation avoidance and emergency             development and training program. At minimum,
    protocols.                                                training personnel shall complete a 40-hour
12. New staff, contractors, and volunteers will               training-for-trainers course.
    acknowledge in writing that they have reviewed            The training coordinator shall develop and
    facility work rules, ethics, regulations, conditions      document a facility training plan that is reviewed
    of employment, and related documents, and a               and approved annually by the facility administrator
    copy of the signed acknowledgement will be                and reviewable by ICE/ERO. The facility
    maintained in each person’s personnel file.               administrator shall ensure that:

III. Standards Affected                                       1. training is conducted by trainers certified in the
                                                                 subject matter—this is particularly important in
This detention standard replaces “Staff Training”                life-safety subject areas such as firearms, chemical
dated 12/2/2008.                                                 agents, self-defense, force and restraints,
                                                                 emergency response, first aid and CPR;
IV. References
                                                              2. each trainee shall be required to pass a written or
American Correctional Association, Performance-                  practical examination to ensure the subject matter
based Standards for Adult Local Detention                        has been mastered—this is particularly important
Facilities, 4th Edition: 4-ALDF-7B-05 through 7B-
                                                                    In c.
                                                                 in life-safety subject areas such as firearms,
                                                                  ,
17, 7C-01, 7C-03.
                                                     r e C  ivic 022
                                                                 chemical agents, self-defense, force and restraints,
ICE/ERO Performance-based National Detention v. Co
                                                             r 1 4  ,2
                                                                 emergency response, first aid and CPR, and in
Standards 2011: “7.2 Interviews and Tours.”wino      m  be       areas of ethical conduct;
                                   in  O         c e
                                                e 3. the formal training received by each trainee shall
V. Expected Practices     cited 55221, D
                                2 1 -                be fully documented in permanent training
A. Overview of Training  No.                         records; and
                                                              4. formal certificates of completion shall be issued
The facility administrator shall ensure that the facility
                                                                 and kept in the appropriate facility files.
conducts appropriate orientation, initial training and
annual training for all staff, contractors and                B. Initial Orientation
volunteers, consistent with this standard and with
                                                              Each new employee, contractor, and volunteer shall
appropriate assessment measures.
                                                              be provided training prior to assuming duties. While
The facility administrator shall contact the local            tailored specifically for staff, contractors, and
ICE/ERO Field Offices for access to relevant DHS              volunteers, the orientation programs shall include, at
training resources, such as DHS Office for Civil              a minimum:
Rights and Civil Liberties training modules.
                                                              1. ICE/ERO detention standards
The amount and content of training shall be
                                                              2. cultural and language issues, including
consistent with the duties and function of each
                                                                 requirements related to limited English proficient
individual and the degree of direct supervision that
                                                                 detainees
individual shall receive.
                                                              3. requirements related to detainees with disabilities
The facility administrator shall assign at least one
                                                                 and special needs detainees
qualified individual, with specialized training for the


7.3 | Staff Training                                        454                                       PBNDS 2011
                                                                                            (Revised December 2016)
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4. code of ethics                                             i. health- related emergencies
5. drug-free workplace                                        j. emergency plans and procedures
6. emergency plans and procedures                             k. sexual abuse and sexual misconduct awareness
7. signs of suicide risk, suicide precautions,                l. hostage situations and staff conduct if taken
   prevention, and intervention                                  hostage
8. use of force                                           2. Professional and support employees, including
9. key and lock control                                      contractors, who have regular or daily detainee
                                                             contact:
10. tour of the facility
                                                              a. ICE/ERO detention standards
11. staff rules and regulations
                                                              b. cultural and language issues including
12. sexual abuse/sexual misconduct awareness and                 requirements related to limited English
    reporting                                                    proficient detainees
13. hostage situations and staff conduct if taken             c. requirements related to detainees with
    hostage                                                      disabilities and special needs detainees
C. Initial and Annual Training                                d. security procedures and regulations

                                                                     ,  In c.
                                                               ivic 022
Each new employee, contractor, and volunteer shall            e. sexual harassment and sexual misconduct
be provided initial and annual training appropriate
                                                         r e C   awareness (including the contents of standard
                                                  v. Co er 14, 2
to their assignments. While tailored specifically for
                                                o                “2.11 Sexual Abuse and Assault Prevention and
                                          O w in
staff, contractors, and volunteers, the training       e m  b    Intervention”)
                                       in            c
                                                   e f. appropriate conduct with detainees
                            cited 55221, D
programs shall include, at a minimum:
1. Employees and contractors who2
                              o .    1- minimal
                                    have                 g. code of ethics
   detainee contact and no N
                           significant
   responsibilities involving detainees:                      h. health-related emergencies

   a. ICE/ERO detention standards update                      i. drug-free workplace

   b. cultural and language issues including                  j. supervision of detainees
      requirements related to limited English                 k. signs of hunger strike
      proficient detainees
                                                              l. signs of suicide risk, suicide precautions,
   c. requirements related to detainees with                     prevention, and intervention
      disabilities and special needs detainees
                                                              m. use-of-force regulations
   d. code of ethics
                                                              n. hostage situations and staff conduct if taken
   e. staff rules and regulations                                hostage
   f. key and lock control                                    o. report writing
   g. signs of suicide risk, suicide precautions,             p. detainee rules and regulations
      prevention, and intervention
                                                              q. key and lock control
   h. drug-free workplace
                                                              r. rights and responsibilities of detainees


7.3 | Staff Training                                    455                                        PBNDS 2011
                                                                                          (Revised December 2016)
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  s. safety procedures                                         a. Searches of detainees, housing units, and work
  t. emergency plan and procedures                                areas

  u. interpersonal relations                                   b. Self-defense techniques

  v. communication skills                                      c. Use-of-force regulations and tactics

  w. cardiopulmonary resuscitation (CPR)/First aid         5. Situation Response Teams (SRTs)

  x. counseling techniques                                     Members of SRTs shall receive specialized training
                                                               before undertaking their assignments.
3. Full-time health care employees and contractors
                                                           6. Personnel authorized to use firearms
  In addition to the training areas above, the health-
  care employee training program shall include                 Personnel authorized to use firearms will receive
  instruction in the following:                                training covering use, safety, and care of firearms
                                                               and constraints on their use before being assigned
  a. medical grievance procedures and protocols                to a post involving their possible use.
  b. emergency medical procedures                              All personnel authorized to use firearms must
  c. occupational exposure                                     demonstrate competency in their use at least
                                                               annually.
  d. personal protective equipment
                                                                          nc. and Professional
                                                           D. Continued Education
                                                                       , I
  e. bio-hazardous waste disposal                                    ic
                                                         or    eCiv
                                                           Development
                                                       CEmployees      , 20  22
  f. overview of the detention operations
                                                    v.             1 4
                                                               ershould be encouraged to continue their
4. Security personnel
                                            Ow  ino     e m b
                                       in            eceducation and professional development.
                                itedabove, 5221, D
   In addition to the trainingcareas
                                    2
   instruction for security personnel
                                  .   1 -5include:
                                      shall
                             No




7.3 | Staff Training                                     456                                         PBNDS 2011
                                                                                            (Revised December 2016)
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7.4 Detainee Transfers                                           complete records for each transferred detainee.
                                                             5. Transfers of detainees shall be accomplished
I. Purpose and Scope                                            safely and securely.

This detention standard is written to ensure that            6. Detainees shall be transferred with appropriate
transfers of detainees from one facility to another are         medication(s) and medical and referral
accomplished in a manner that ensures the safety and            information to ensure continuity of care with the
security of the staff, detainees, and the public; and           receiving facility’s medical services.
that the process relating to transfers of detainees is       7. Transferred detainee funds, valuables and other
carried out professionally and responsibly with                 personal property shall be safeguarded and
respect to notifications, detainee records, and the             transported in compliance with standards “1.3
protection of detainee funds and property.                      Transportation (by Land),” “2.1 Admission and
Various terms used in this standard may be defined              Release” and “2.5 Funds and Personal Property.”
in standard “7.5 Definitions.”                               8. The facility shall provide communication
                                                                assistance to detainees with disabilities and
II. Expected Outcomes                                           detainees who are limited in their English
The expected outcomes of this detention standard                proficiency (LEP). The facility will provide
                                                                detainees with disabilities with effective
are as follows (specific requirements are defined in
                                                                     , Inc.
                                                                 ivic 022
“V. Expected Practices”).                                       communication, which may include the
                                                             re C
                                                                provision of auxiliary aids, such as readers,
1. Decisions to transfer detainees are made by the
                                                    o v. Co er 14, 2
                                                                materials in Braille, audio recordings, telephone
                                            O    in
   Field Office Director or his/her designee on the
                                              w            e m bhandset amplifiers, telephones compatible with
                                     d n Detainee
   basis of complete and accurate caseiinformation
                                                      De c
                                iteICE/ERO
   and principles set forth incthe            2 2 1 ,           hearing aids, telecommunications devices for deaf

                                    2 1  -55ICE/ERO
   Transfers Directive and other .applicable
                                                                persons (TTYs), interpreters, and note-takers, as
                             No and transfer
   policies. All detainee transfers
                                                                needed. The facility will also provide detainees
                                                                who are LEP with language assistance, including
   determinations shall be based on a thorough and              bilingual staff or professional interpretation and
   systematic review of the most current                        translation services, to provide them with
   information available by ICE/ERO.                            meaningful access to its programs and activities.
2. The legal representative-of-record shall be notified
                                                                 All written materials provided to detainees shall
   as soon as practicable, but no later than 24 hours
                                                                 generally be translated into Spanish. Where
   after the detainee is transferred, in accordance with         practicable, provisions for written translation shall
   sound security practices. Contacting the legal                be made for other significant segments of the
   representative-of-record will be the responsibility           population with limited English proficiency.
   of ICE/ERO.
                                                                 Oral interpretation or assistance shall be provided
3. The detainee shall be informed of the transfer                to any detainee who speaks another language in
   orally and in writing in a language or manner that            which written material has not been translated or
   he/she can understand, immediately prior to
                                                                 who is illiterate.
   transport.
4. Transportation staff, as well as sending and              III. Standards Affected
   receiving facility staff, shall have accurate and         This detention standard replaces “Transfer of


7.4 | Detainee Transfers                                   457                                        PBNDS 2011
                                                                                            (Revised December 2016)
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Detainees” dated 12-2-2008                                   B. Responsibilities of the Sending Facility
IV. References                                                 – Notifications
                                                             1. Communications with ICE
American Correctional Association 4th Edition,
Standards for Adult Detention Facilities: 4-ALDF-2A-             A detainee may not be transferred from any
23, 1B-06, 4C-05, 4C-40, 4D-27, 6A-07, 7D-19,                    facility without the appropriate I-203 (Notice to
7D-20.                                                           Detain or Release) or I-216 (Record of Person and
                                                                 Property Transfer) that authorizes the detail. If
National Commission on Correctional Health Care,
                                                                 the facility administrator or his or her designee
Standards for Health Services in Jails (2014)
                                                                 believes that a scheduled transfer of a detainee
ICE/ERO Performance-based National Detention                     should not take place, the facility administrator
Standards 2011:                                                  shall notify ICE/ERO prior to the transfer.
  x “1.3 Transportation (by Land)”;                          2. Detainee Notification
  x “2.1 Admission and Release”;                                 Immediately prior to transfer, the sending facility
                                                                 shall ensure that the detainee is informed, in a
  x “2.5 Funds and Personal Property”;
                                                                 language or manner he or she can understand,
  x “4.3 Medical Care”; and                                      that he or she is being transferred to another
  x “4.4 Medical Care (Women).”                                      ,  I  c.
                                                                 facility and is not being removed (if applicable).
                                                                         n
                                                          e C
                                                        a. The  vic facility22shall ensure that specific
                                                               isending
ICE/ERO Detainee Transfers Directive                    r
                                                    Co plansr and   4      0
                                                                       , 2schedules
                                               o v.          e    1   time            are not discussed
V. Expected Practices                    Ow  in       e m  b
                                                           with  detainees and that following  notification,
                                      in          e c
                              cited 55221, D
                                                           the detainee:
A. Responsibilities of ICE/ERO
                                 . 2 1 -                   1) is not permitted to make or receive any
                            No are made by the
1. Decisions to transfer detainees                            telephone calls until the detainee reaches
   Field Office Director or his or her designee on the                 the destination facility; and
   basis of complete and accurate case information
                                                                    2) does not have contact with any detainee in
   and principles set forth in the ICE/ERO Detainee
                                                                       the general population until the detainee
   Transfers Directive and other applicable ICE/ERO                    reaches the destination facility.
   policies.
                                                                 b. At the time of the transfer, the sending facility
2. Attorney notifications relative to detainee transfers
                                                                    shall provide the detainee, in writing, the
   are the responsibility of ICE/ERO, which will
                                                                    name, address, and telephone number of the
   make attorney notifications in accordance with the
                                                                    facility to which he or she is being transferred,
   ICE Detainee Transfers Directive and other
                                                                    using the attached Detainee Transfer
   applicable ICE/ERO policies. The legal
                                                                    Notification Form.
   representative-of-record shall be notified as soon
   as practicable, but no later than 24 hours after the          c. The sending facility shall ensure that the
   detainee is transferred, in accordance with sound                detainee acknowledges, in writing, that:
   security practices. Contacting the legal                         1) he or she has received the transfer
   representative-of-record will be the responsibility                 destination information;
   of ICE/ERO.
                                                                    2) it is his or her responsibility to notify


7.4 | Detainee Transfers                                   458                                         PBNDS 2011
                                                                                             (Revised December 2016)
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         family members if so desired, upon                       with the detention standard on transportation by
         admission into the receiving facility; and               land. The sending facility is responsible for the
                                                                  preparation and delivery of proper meals prior to
      3) he or she may place a domestic phone call,
                                                                  departure.
         at no expense to the detainee, upon
         admission into the receiving facility.               C. Responsibilities of the Health Care
   d. The sending facility will place a copy of the              Provider at the Sending Facility
      Detainee Transfer Notification Form in the
                                                              1. Transfer of the Detainee’s Medical Information
      detainee’s detention file.
                                                                     When a detainee is transferred to another
3. Notification to the Health Care Provider
                                                                     detention facility, the sending facility shall
   Upon receipt of an authorization to transfer a                    ensure that a Medical Transfer Summary
   detainee from ICE/ERO, the sending facility staff                 accompanies the detainee.
   shall notify the facility health care provider so that
                                                              2. Medical Transfer Summary
   the health care provider can prepare a medical
   transfer summary sheet and the detainee’s full                 a. The sending facility’s medical staff shall
   medical records to accompany the transfer. The                    prepare a Medical Transfer Summary that must
   facility health care provider shall be notified                   accompany the detainee. The Medical Transfer
   sufficiently in advance of the transfer that medical              Summary shall include, at a minimum, the
                                                                            ,   In c.
                                                                     following items:
                                                                      ivic identification;
   staff may determine and provide for any
   associated medical needs.
                                                            C o re C
                                                                  1) patient
                                                                           4   ,  2 022
                                               w  in o v. mb2)etuberculosis
4. Preparation for Transfer, Notification to Escorting                r1            (TB) screening results
   Officers                            in   O           D e c e
                               i te d
                             c ensure that55a 22    1 ,              (including   results date) and current TB
                                                                     status if TB disease is suspected or
   a. The sending facility shall
                                    2 1 -
                            N or. I-216 accompanies
      properly executed I-203o                                       confirmed;
      the transfer.                                                  3) current mental, dental, and physical health
   b. The sending facility shall ensure that escorting                  status, including all significant health
      officers are advised of any security                              issues, and highlighting any potential
      considerations relative to detainees to be                        unstable issues or conditions which require
      transported so that escorting officers can take                   urgent follow-up;
      necessary precautions.                                         4) current medications, with instructions for
  In SPCs, CDFs, and IGSAs with a sufficient                            dose, frequency, etc., with specific
  ICE/ERO onsite presence, the authorized ICE                           instructions for medications that must be
  official shall check records and ascertain if the                     administered en route;
  detainee has a criminal history, is dangerous or                   5) any past hospitalizations or major surgical
  has an escape record. Any information of an                           procedures;
  adverse nature shall be clearly indicated on the G-
  391 and the escorting officers shall be warned to                  6) recent test results, as appropriate;
  take the necessary precautions.                                    7) known allergies;
5. Food and Water during Transfer                                    8) any pending medical or mental health
   Food and water shall be provided in accordance                       evaluations, tests, procedures, or treatments



7.4 | Detainee Transfers                                    459                                         PBNDS 2011
                                                                                              (Revised December 2016)
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         for a serious medical condition scheduled             The CMA or designee must inform the facility
         for the detainee at the sending facility. In          administrator in writing if the detainee’s medical
         the case of patients with communicable                or psychiatric condition requires a medical escort
         disease and/or other serious medical needs,           during transfer.
         detainees being released from ICE custody         6. Medications
         are given a list of community resources, at a
         minimum;                                              a. Prior to transfer, medical staff shall provide the
                                                                  transporting officers instructions and, if
      9) copies of any relevant documents as                      applicable, medication(s) for the detainee’s
         appropriate; and                                         care in transit.
      10)the name and contact information of the               b. Medical staff shall ensure that the detainee is
         transferring medical official.                           transferred with, at a minimum, seven (7)
The IHSC Form 849 or equivalent, or the Medical                   days’ worth of prescription medications (for
Transfer Summary attached as Appendix 4.3.C,                      TB medications, up to 15 days’ supply, and for
which mirrors IHSC Form 849, may be used by                       HIV/AIDS medication a 30 day supply) to
facilities to ensure compliance with these standards.             guarantee the continuity of care throughout
                                                                  the transfer and subsequent intake process.
3. Notification of Medical/Psychiatric Alerts or
   Holds                                                       c. Medication shall be:
                                                              ,  In c.
   Upon receiving notification that a detainee is to
                                                   re C  ivic 022 1) placed in a property envelope labeled with

                                             . Co er 14, 2
   be transferred, appropriate medical staff at the                  the detainee’s name and A-number and
                                        ino v
   sending facility shall notify the facility
                                                     b               appropriate administration instructions;
                                      Ow       c e m
                                   in        e
   administrator of any medical/psychiatric alerts or
                           cited 55221, D
                                                     2) accompany the transfer; and
   holds that have been assigned to the detainee, as
                                2 1 -
   reflected in the detainee’s medical records. The
                              .
                                                     3) if unused, turned over to the receiving
                           No
   facility administrator shall be responsible for      medical personnel.
   providing notice to ICE/ERO of any                      D. Responsibilities of the Sending Facility
   medical/psychiatric alerts or holds placed on a
                                                              Relative to Detainees’ Property Prior to
   detainee that is to be transferred.
                                                              Transport
4. Medical Holds
                                                           Before transferring a detainee, the sending facility’s
   If a detainee has been placed in a medical hold
                                                           processing staff shall ensure that all funds and small
   status, the detainee must be evaluated and cleared
                                                           valuables are properly documented on the G-589
   by a licensed independent practitioner (LIP) prior
                                                           and I-77 or equivalent.
   to transfer. If the evaluation indicates that
   transfer is medically appropriate but that health       1. Funds and Small Valuables
   concerns associated with the transfer remain,               Before transfer, the sending facility shall return all
   medical staff at the sending facility shall notify          funds and small valuables to the detainee and
   ICE and shall provide ICE requested information             close out all Forms G-589 (or local IGSA funds
   and other assistance, to the extent practicable, to         and valuables receipts) in accordance with the
   enable ICE to make appropriate transfer                     Detention Standard on Funds and Personal
   determinations.                                             Property.
5. Medical Escort


7.4 | Detainee Transfers                                 460                                         PBNDS 2011
                                                                                           (Revised December 2016)
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  During transport, a detainee shall ordinarily have           If the receiving facility does not accept excess,
  the following items in his or her possession;                oversized or bulky belongings (including, but not
  however, items that might present a security risk            limited to, suitcases, cartons, televisions, etc.),
  or are particularly bulky may be transported                 the sending facility shall:
  separately in the vehicles’ storage area. Personal           a. Arrange to store the property elsewhere; or
  items include:                                                   process the excess property in accordance with
                                                                   ERO standard operating procedures.
   x   Cash
                                                               b. If the detainee refuses to provide an
   x   All legal material                                          appropriate mailing address, or is financially
                                                                   able but unwilling to pay for shipping, notify
   x   Small valuables such as jewelry
                                                                   ICE/ERO. ICE/ERO may dispose of the
   x   Address books, phone lists, correspondence                  property after providing the detainee written
   x   Dentures, prescription glasses                              notice in accordance with the ICE/ERO
                                                                   standard operating procedures.
   x   Small religious items                                   c. If the detainee cannot provide an appropriate
   x   Photos                                                      address because one does not exist, the
                                                                   detainee shall keep the property receipts for
   x   Similar small personal property items.                      the stored items, and the facility shall store the
   The receiving facility shall create a new G-589
                                                                  , Inc.
                                                                   property and notify the receiving facility in
   (or local IGSA funds and valuables receipt)
                                                         re C ivic 022
                                                                   writing that the transferring facility requires

                                                   . Co er 14, 2
   during admissions in-processing in accordance                   notice, before the detainee’s release or further
   with the Detention Standard on Funds and
                                              ino v        b       transfer, to ensure the detainee receives the
                                         O  w        c e m
                                  d in 21, De E. Responsibilities of the Transporting
   Personal Property.                                              stored property.
                            c ite
2. Large Valuables, Excess Luggage, and 5
                                    1 -   52Bulky
                                        Other
                                  2
                           No.
   Items                                                 Officer
  Detainee access to large items of personal               1. The transporting officer may not transport a
  property during transport is prohibited; however,           detainee without the required documents,
  ordinarily, all items stored at the sending facility        including:
  shall accompany the transferee to the receiving              a. the Medical Transfer Summary; and
  SPC, CDF or, in most cases, the receiving IGSA
  facility.                                                    b. a properly executed Form I-203 or I-216, or
                                                                  equivalent form.
  If the property accompanies the detainee, in
  accordance with the Detention Standard on
  “Funds and Personal Property”:                           2. The transporting officer shall review the
  a. The sending facility shall close out all Forms           information for completeness and to make sure
     G-589 (or local IGSA property receipt forms),            that he or she has the supplies required to provide
     and                                                      any in-transit care that is indicated.
  b. The receiving facility shall create a new G-589       3. Any transportation officer who reviews the
     and I-77 (or local IGSA property receipt                 Medical Transfer Summary shall protect the
     forms) during admissions in-processing.                  privacy of the detainee’s medical information to
                                                              the greatest extent possible, and may not share


7.4 | Detainee Transfers                                 461                                         PBNDS 2011
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   medical information unless necessary to safely           1. After admission into the receiving facility or Field
   fulfill transportation responsibilities.                    Office, all detainees must be offered the
                                                               opportunity to make one domestic three-minute
4. The Transporting Officer is responsible for
                                                               phone call at no cost to the detainee.
   delivering the Medical Transfer Summary to
   personnel at the receiving facility and shall advise     2. The responsible processing supervisor or his/her
   them of any medications provided to the detainee            designee shall ensure that the detainee is
   in transit.                                                 informed promptly that he or she may notify
                                                               interested persons of the transfer. The offer to
5. The receiving facility must report any exceptions
                                                               make a domestic call, as referenced above, will be
   to the ICE/ERO Field Office and the Deputy
                                                               documented and signed by processing staff and
   Assistant Director, Detention Management
                                                               by the detainee. A copy of the documentation
   Division.
                                                               verifying that a detainee was offered a three-
F. Post Transfer Activities                                    minute phone call will be filed in the detainee’s
                                                               detention folder.




                                                            , Inc.
                                                    re Civic 022
                                           o v. Co er 14, 2
                                       Owin       e m b
                                    in        e c
                            cited 55221, D
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                            N




7.4 | Detainee Transfers                                  462                                       PBNDS 2011
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                                 DEPARTMENT OF HOMELAND SECURITY
                          U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                                       DETAINEE TRANSFER NOTIFICATION

DETAINEE NAME ______________________________A# ______________

NATIONALITY __________________________________________________

                                             TRANSFER DESTINATION

NAME OF NEW FACILITY ________________________________________

ADDRESS ______________________________________________________________

______________________________________________________________

______________________________________________________________

TELEPHONE NUMBER ______________________________

                                                                              , In  c.
                                                                 r e C  ivic 022
                                                       v  . Co information.
I hereby acknowledge that I have received the transfer destination
                                                                         r  1 4 ,2I have also been notified that it is
my responsibility to notify family members, ifwI iso o
                                                   ndesire, andethat
                                                                m      e be provided with one free phone call
                                                                    bI will
                                     in  O                e c
                             cited 55221, D
when I arrive at my destination.

                              o  . 21-
                            N
DETAINEE SIGNATURE ____________________ A#________ DATE ____________

OFFICER SIGNATURE ________________________________ DATE ____________
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7.5 Definitions                                            valuables and other personal property is completed
                                                           during this process.
A-File, Alien File                                         Ambulatory Restraints
The legal file maintained by DHS for each detainee.        “Soft” or “hard” equipment used to restrict a
Contents include but are not limited to the detainee’s     detainee’s movement but leaving him or her able to
identification documents (passport, driver’s license,      eat, drink or attend to basic bodily functions without
other identification cards, etc.), photographs,            staff intervention.
immigration history, prior criminal record if any,
                                                           Ammunition Control Officer (ACO)
and all documents and transactions relating to the
detainee’s immigration case.                               An individual who has been designated in writing as
                                                           the officer responsible for the physical and
ACA
                                                           administrative control of ammunition in the
American Correctional Association.                         authorizing official’s area of accountability.
Administrative Health Authority                            Auxiliary Aids and Services
The administrative authority is responsible for all        Services or devices that allow for effective
access to care, personnel, equipment and fiscal            communication by affording individuals with
resources to support the delivery of health care           impaired vision, hearing, speaking, sensory, and
services.
                                                                          Inc.
                                                           manual skills an equal opportunity to participate in,
                                                                        ,
Administrative Segregation
                                                               re Civic 022
                                                           and enjoy the benefits of, programs and activities.

A non-punitive form of separation from the generalo v.
                                                           Co           4 ,2
                                                           Such aids or services include interpreters, written
                                                                    r 1
                                             O  w  in        e m be
                                                           materials, note-takers, video remote interpreting
population used for administrative
                                        in              De c
                              citedis available
                                                           services, or other effective methods of making
                                                  2 1 ,
                                           55the2
reasons. Administrative segregation               only     aurally delivered materials available to detainees with
                                    2 1  -
to ensure the safety of detainees or others,
                                  . or good order
                             No
                                                           hearing impairments; readers, taped texts, materials
protection of property, or the security                    or displays in Braille, secondary auditory programs,
of the facility, as determined by a facility               or other effective methods of making visually
administrator or supervisor. Administrative                delivered materials available to detainees with visual
segregation may be available, among other reasons,         impairments; acquisition or modification of
for detainees awaiting investigations or hearings for      equipment or devices; and other similar services and
violations of facility rules, detainees scheduled for      actions.
release, removal, or transfer within 24 hours, and,
under more limited circumstances, detainees who            Body-cavity Search
require protective custody or separation from the          The visual inspection or physical probing of body
general population for medical reasons.                    openings (anus, vagina, ears, nose, mouth, etc)
Admission/Admissions Process                               where weapons, drugs, or other contraband could be
                                                           secreted. This is the most intrusive means of
In-processing of newly arrived detainees, which            searching an individual, reserved for instances where
includes an orientation to the policies, programs,         other search techniques have been considered but
rules and procedures of the facility. Classification,      rejected as ineffective under the particular
assignment of living quarters, various inspections,        circumstances of the case. Body-cavity search
medical screening and safeguarding of funds,               procedures govern physical probes, but not visual
                                                           inspections.


7.5 | Definitions                                        464                                       PBNDS 2011
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For example, the procedures would not be                      Chronic disease
appropriate for a visual inspection of the inside of          An illness or condition that affects an individual’s
the mouth, nose, or ears, unless contraband is found          well being for an extended interval, usually at least
during the course of that inspection. Body-cavity             six months, and generally is not curable but can be
procedures apply whenever contraband is found,                managed to provide optimum functioning within
because retrieving/seizing the item will involve              any limitations the condition imposes on the
physical entry into or probing within the cavity (in          individual.
this example, the mouth, nose, or ear).
                                                              Chronic disease program (care clinic)
Caustic
                                                              Incorporates a treatment plan and regular clinic
Capable of burning, corroding, eroding or                     visits. The clinician monitors the patient’s progress
destroying by chemical action.                                during clinic visits and, when necessary changes the
Census Check                                                  treatment. The program also includes patient
                                                              education for symptom management.
See Informal Count.
                                                              Class R (Restricted) Tools
Chain of Command
                                                              Devices to which detainees are forbidden access
Order of authority (rank); executive, senior
                                                              except in the presence and constant supervision of
management, senior staff, etc. The position titles
may vary according to the type of facility (SPC, CDF,
                                                             , I c.
                                                              staff for reasons of safety or security. Class R includes
                                                                n
or IGSA) and local facility titles. The on-site order of
                                                     re Civic 022
                                                              devices that can be used to manufacture or serve as

                                               . Co er 14, 2
                                                              weapons capable of doing serious bodily harm or
authority at a detention facility descends from the
                                          ino v        b      structural damage to the facility. All portable power
                                        Ow       c e m
facility administrator to assistant or associate facility
                                     in        e              tools and accessories are in this category. Class R also
                             cited 55221, D
administrators to department heads to shift
                                                              includes ladders and other such items that are not
supervisors and other supervisors. Similarly, the
                               o . 21-
ICE/ERO chain-of-command at a detention facility              inherently dangerous but could prove useful in
                             N
descends from the officer–in-charge (OIC) to the              unauthorized activities, such as escape attempts.
associate OIC to the chief detention enforcement              Classification
officer/Chief of Security, detention operations               A process used to make housing and program
supervisor, etc.                                              assignments by assessing detainees on the basis of
Chemical                                                      objective information about past behavior, criminal
                                                              records, special needs, etc.
A substance with a distinct molecular composition
produced by or used in a chemical process.
Chief of Security
A generic term for the department head in charge of           Clinical Director (CD)
a detention facility’s security employees and                 A designated individual licensed to practice medicine
operations. The position titles may vary according to         and provide health services with final responsibility
the type of facility (SPC, CDF, or IGSA) and local            for decisions related to medical judgments. A CD
facility titles. Ordinarily, a Chief of Security (chief       and CMA are equivalent positions.
detention enforcement agent, captain, etc.) is
organizationally directly under an assistant or               Clinical Medical Authority (CMA)
associate facility administrator.


7.5 | Definitions                                           465                                        PBNDS 2011
                                                                                             (Revised December 2016)
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The medical authority is responsible for the delivery       Count Slip
of all health care services to the detainee population.     Documentation of the number of detainees
These services include, but are not limited to,             confirmed present during a population count in a
medical, nursing, dental, mental health and                 specific area, signed by the officers involved in the
nutritional services. A CD and CMA are equivalent           count.
positions.
                                                            Correspondence
Combustible Liquid
                                                            Letters, postcards and other forms of written material
A substance with a flash point at or above 100°             not classified as packages or publications. Large
Fahrenheit.                                                 envelopes containing papers qualify as
Commissary                                                  correspondence, but boxes, sacks and other shipping
                                                            cartons do not. Books, magazines, newspapers and
An area or system where detainees may purchase
                                                            other incoming printed matter are not
approved items.
                                                            “correspondence.”
Contact Visit
                                                            Criminal Alien
A meeting between detainee and another person
                                                            A foreign national convicted of one or more crimes.
authorized to take place in an area free of obstacles
or barriers that prevent physical contact.                  Dedicated IGSA Facility (Dedicated IGSA)

                                                                              , I n c.
                                                                       ivic 022
Container                                                   An IGSA facility that solely houses ICE
                                                                re  C
                                                            detainees. Also see “IGSA FACILITY” and
                                                         . Co er 14, 2
Any bag, barrel, bottle, box, can, cylinder, drum,
                                                   in
reaction vessel, storage tank, or other vessel holdingo v   “INTERGOVERNMENTAL SERVICE AGREEMENT.”
                                                                  b Handbook
a hazardous chemical; does not includein    Ow
                                          pipes or       e c e m
                                                            Detainee
piping systems.               cited 55221, D The policies and procedures governing detainee life
Contraband                      o .  21-                    in the facility: daily operations, rules of conduct,
                             N                              sanctions for rule violations, recreation and other
Any unauthorized item in the facility: illegal,
                                                            programs, services, etc.; defined in writing and
prohibited by facility rules, or otherwise posing a
                                                            provided to each detainee upon admission to the
threat to the security or orderly operation of the
                                                            facility.
facility. This includes unauthorized funds.
                                                            Detention File
Contract Detention Facility (CDF)
                                                            Contents include receipts for funds, valuables and
A facility that provides detention services under a
                                                            other personal property; documentation of
competitively bid contract awarded by the ICE.
                                                            disciplinary action; reports on detainee behavior;
Contractor                                                  detainee’s written requests, complaints and other
A person who or entity that provides services on a          communications; official responses to detainee
recurring basis pursuant to a contractual agreement         communications; records from Special Management
with the agency or facility.                                Unit, etc.
Control Office                                              Dietician

An officer who directs security activities from the         A professional trained in foods and the management
Control Center.                                             of diets (dietetics) who is credentialed by the
                                                            Commission on Dietetic Registration of the


7.5 | Definitions                                         466                                       PBNDS 2011
                                                                                          (Revised December 2016)
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American Dietetic Association, or who has the               Disciplinary Segregation
documented equivalent in education, training, or            A punitive form of separation from the general
experience, with evidence of relevant continuing            population used for disciplinary
education.                                                  reasons. Disciplinary segregation is available only
Disability                                                  after a finding by a disciplinary hearing panel that
                                                            the detainee is guilty of a serious prohibited act or
An individual with a disability is an individual who
                                                            rule violation.
has a physical or mental impairment that
substantially limits one or more major life activities,     Dry Cell
or an individual who has a history or record of such        A cell or room without running water where a
an impairment. “Major life activities” are basic            detainee can be closely observed by staff until the
activities that a detainee without a disability in the      detainee has voided or passed contraband or until
general population can perform with little or no            sufficient time has elapsed to preclude the possibility
difficulty, including, but not limited to, caring for       that the detainee is concealing contraband. Dry cells
oneself, performing manual tasks, seeing, hearing,          may be used when there is reasonable suspicion that
eating, sleeping, walking, standing, lifting, bending,      a detainee has ingested contraband or concealed
speaking, breathing, learning, reading,                     contraband in a body cavity.
concentrating, thinking, communicating, and
                                                            Emergency Changes
working. A major life activity can also include the
                                                                     , In  c.
                                                                ivic 022
operation of major bodily functions, like the               Measures immediately necessary to maintain security
                                                         r e C
                                                   . Co er 14, 2
immune, endocrine, and neurological systems;                or to protect the health and safety of staff and
                                            ino
normal cell growth; digestion, respiration, and  v          detainees.
                                                            b
                                        O w
circulation; and the operations of the bowel,        c e m
                              te d  in       1 , D e  Exigent Circumstances
bladder, and brain.
                            ci           522
                                 2 1 - 5              Any set of temporary and unforeseen circumstances
                            No .                      that require immediate action in order to combat a
Disciplinary Hearing                                        threat to the security or institutional order of a
Non-judicial administrative procedure to determine          facility or a threat to the safety or security of any
whether substantial evidence supports finding a             person.
detainee guilty of a rule violation.                        Exposure/Exposed
Disciplinary Committee                                      Subjected or potentially subjected to a hazardous
One or more impartial staff members who conduct             substance by any means (inhalation, ingestion, skin
and/or oversee a disciplinary hearing. A lower-level        contact, absorption, etc.)
committee (Unit Disciplinary Committee)                     Face-to-photo Count
investigates a formal Incident Report and may
                                                            A process that verifies identity of each detainee by
impose minor sanctions or refer the matter to a
                                                            comparing every person present with the
higher-level disciplinary committee. A higher-level
                                                            photographic likeness on his/her housing card.
committee (Institution Disciplinary Panel) conducts
formal hearings on Incident Reports referred from           Facility Administrator
the lower level committee and may impose higher             A generic term for the chief executive officer of a
level sanctions for higher level prohibited acts. Also      detention facility. The formal title may vary
see Institution Disciplinary Panel.



7.5 | Definitions                                         467                                         PBNDS 2011
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(warden, Officer In Charge, sheriff, jail                  Cash, checks, money orders and other negotiable
administrator, etc.).                                      instruments.
Field Office Directory (FOD)                               Gender nonconforming
Individual with chief responsibility for facilities in     Having an appearance or manner that does not
his assigned geographic area.                              conform to traditional societal gender expectations.
Firearms Control Officer (FCO)                             General Correspondence
Individual designated responsible for the physical         All correspondence other than “special
and administrative control of all firearms under the       correspondence.”
jurisdiction of the authorizing official.                  General Population
Flammability Hazard                                        Detainees whose housing and activities are not
Has a flash point below 200 degrees Fahrenheit,            specially restricted. The term is ordinarily used to
closed cup, or is subject to spontaneous heating.          differentiate detainees in the “general population”
Flammable Liquid                                           from those in Special Housing Units.

A substance with a flash point below 100 degrees
Fahrenheit (37.8 Centigrade).
                                                           Grievance
                                                                       ,  In c.
                                                                      c on a circumstance
                                                                ivibased
                                                     C o  re C
                                                      A complaint
                                                                       4 ,  2 022              or incident
Flash Point
                                            w  ino v. perceived
                                                            b e  ras 1
                                                                     unjust.

                                    in                emContraband
                                         O of a DecHard
                            ite
The minimum temperature at whichd  the  vapor
                                              21  ,
combustible liquid can formc             5 2
                           an ignitable5mixture
                                2  1  -               Any item that poses a serious threat to the life, safety
with air.
                          No.                         or security of the facility detainees or staff.
Food Service Administrator (FSA)                           Health Assessment
The official responsible for planning, controlling,        The process whereby an individual’s health status is
directing and evaluating Food Service Department           evaluated. This process will address the patient’s
operations.                                                physical, dental and mental health appropriate to the
Formal Count                                               patient’s condition and will include, as determined
                                                           by the health care provider, questioning the patient
When the detainee population is assembled at               about symptoms, a physical examination appropriate
specific times for attendance check, conducted in          to the complaint and, as appropriate, review of
accordance with written procedures.                        screening information, collection of additional
Four/Five-point Restraint                                  information relating to mental, dental and medical
                                                           health issues, immunization histories, laboratory and
A restraint system that confines an individual to a
                                                           diagnostic tests, other examinations, review of
bed or bunk in either a supine or prone position.
                                                           results, initiation of therapy and development of a
Ordered by the facility administrator when a
                                                           treatment plan.
detainee’s unacceptable behavior appears likely to
continue risking injury to self or others.                 Health Authority
Funds


7.5 | Definitions                                        468                                        PBNDS 2011
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The health services administrator (HSA), clinical            have eaten for 72 hours for medical evaluation and
director (CD), or agency responsible for the                 monitoring.
provision of health care services at a facility or           IGSA Facility (IGSA)
system of facilities. The responsible physician may
be the health authority. Health authority may also be        A state or local government facility used by ERO
referred to as the medical department.                       through an Intergovernmental Service
                                                             Agreement. Also see “INTERGOVERNMENTAL
Health Care Practitioner
                                                             SERVICE AGREEMENT.”
Defined as an individual who is licensed, certified,         Illegal Contraband
or credentialed by a state, territory or other
appropriate body to provide health care services             Any item prohibited by law, the possession of which
within the scope and skills of the respective health         constitutes grounds for felony or misdemeanor
care profession.                                             charges.

Health Hazard
Includes carcinogens, toxic agents, reproductive             Indigent
toxins, irritants, corrosives, sanitizers, hepatotoxins,     Without funds, or with only nominal funds.
nephrotoxins, neurotoxins and other agents that act          Ordinarily, a detainee is considered “indigent” if he
on the hemopoietic system or damage the lungs,               or she has less than $15.00 in his or her account.
skin, eyes, or mucous membranes.
                                                                              ,  In  c.
                                                                 re  C  ivic 022
                                                             Informal grievance
Health Screening
                                                         v. CAno oral complaint
                                                                        r  1 4  , or2concern received from a
                                                w
A system for preliminary screening of the physical in o         m  beInformal grievances may be handled at the
                                                             detainee.
                                         in  O              c e
                                                         De lowest level in the organization possible to
                                   edhealth
and mental condition of individual detainees
                               citby
                                                upon
                                                  2  1 ,
arrival at the facility; conducted
                                       1     52 The
                                            care
                                          -5officer.         effectively resolve the complaint with no written
                                     2
personnel or by a specially health. trained
                              No
combination of structured inquiry and observation is
                                                             response.
                                                             Informal Count
designed to obtain immediate treatment for new
arrivals who are in need of emergency health care,           Population count conducted according to no fixed
identify and meet ongoing current health needs, and          schedule, when detainees are working, engaged in
isolate those with communicable diseases.                    other programs, or involved in recreational activities.
                                                             Unless a detainee is missing, these counts are not
Hold Room
                                                             reported; also called “census check” or “irregular
A secure area used for temporary confinement of              count.”
detainees before in-processing, institutional
                                                             Informal Resolution
appointments (court, medical), release, transfer to
another facility, or deportation-related                     Brings closure to a complaint or issue of concern to a
transportation.                                              detainee, satisfactory to the detainee and staff
                                                             member involved; does not require filing of a
Hunger Strike
                                                             written grievance.
A voluntary fast undertaken as a means of protest or
                                                             Informed Consent
manipulation. Whether or not a detainee actually
declares that he or she is on a hunger strike, staff are     An agreement by a patient to a treatment,
required to refer any detainee who is observed to not        examination, or procedure after the patient receives



7.5 | Definitions                                          469                                       PBNDS 2011
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the material facts about the nature, consequences,           See Informal Count.
and risks of the proposed treatment, examination or          Juvenile
procedure; the alternatives to it; and the prognosis if
the proposed action is not undertaken.                       Any person under the age of 18.

In-processing                                                Least Intrusive

Administrative processing of a detainee arriving at a        In the context of a search, terminology used to refer
detention facility (See “Admissions”).                       to alternative means of finding contraband, such as
                                                             questions, metal detectors, pat down searches and
Institution Disciplinary Panel (IDP)
                                                             boss chairs, prior to conducting a strip search.
Review board responsible for conducting                      Legal Assistant
disciplinary hearings and imposing sanctions for
cases of detainee misconduct referred for disposition        An individual (other than an interpreter) who,
following the hearing. The IDP usually comprises a           working under the direction and supervision of an
hearing officer and representatives of different             attorney or other legal representative, assists with
departments in the facility.                                 group presentations and in representing individual
                                                             detainees. Legal assistants may interview detainees,
Intergovernmental Service Agreement
                                                             assist detainees in completing forms and deliver
A cooperative agreement between ICE and any state,           papers to detainees without the supervisory attorney
territory or political subdivision for the construction,
                                                                     Inc.
                                                             being present.
                                                                  ,
renovation or acquisition of equipment, supplies or
                                                  Legale
                                                      r  C  ivic 022
                                                        Correspondence
                                                   o
                                               . CSee
materials required to establish acceptable conditions
                                              v             r  1 4  ,2
                                         wino
of confinement and detention services. ICE may
                                                     m  be
                                                      “special correspondence.”
                                     in O        c e
                                               e Legal File
                             cited 55221, D See A-File.
enter into an IGSA with any such unit of government
guaranteeing to provide bed space for ICE detainees,
                               o . 21-
and to provide the clothing, medical care, food and
                             N                    Legal Representative
drink, security and other services specified in the
ICE/ERO detention standards; facilities providing            An attorney or other person representing another in
such services are referred to as “IGSA facilities.”          a matter of law, including law students, law
Intersex                                                     graduates not yet admitted to the bar; “reputable
                                                             individuals”; accredited representatives; accredited
Having sexual or reproductive anatomy or
                                                             officials and attorneys outside the United States (see
chromosomal pattern that does not seem to fit
                                                             8 CFR § 292.1, “Representation and Appearances”).
typical definitions of male or female. Intersex
medical conditions are sometimes referred to as              Leisure-time Activities
disorders of sex development.                                Activities which are designed to provide detainees
Investigating Officer                                        with recreational opportunities both inside and
                                                             outside the living area, e.g., soccer, basketball, chess,
An individual of supervisory or higher rank who
                                                             checkers, television.
conducts an investigation of alleged misconduct and
was not involved in the incident; usually a                  Life-sustaining Procedure (Life Support)
supervisory detention enforcement officer or shift           A medical intervention or procedure that uses
supervisor.                                                  artificial means to sustain a vital function.
Irregular Count


7.5 | Definitions                                          470                                          PBNDS 2011
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Limited English Proficiency (LEP)                             period or that be pending; and continuity of care
A person who does not speak English as his or her             plan.
primary language and who has a limited ability to
read, speak, write, or understand English. LEP                Medical Personnel
individuals may be competent in English for certain
types of communication (e.g. speaking or                      Includes all qualified health care professionals as well
understanding), but still be LEP for other purposes           as administrative and support staff (e.g. health record
(e.g. reading or writing).                                    administrators, laboratory technicians, nursing and
                                                              medical assistants, clerical workers).
Mail Inspection
                                                              Mental Health Provider
Examination of incoming and outgoing letters,
packages, etc., for contraband, including cash,               Psychiatrist, clinical or counseling psychologist,
checks and money orders.                                      physician, psychiatric nurse, clinical social worker or
                                                              any other mental health professional who by virtue
Master Count
                                                              of their education, credentials, and experience are
Total number of detainees housed at a facility.               permitted by law to evaluate and care for the mental
Material Safety Data Sheet (MSDS)                             health needs of patients. .

Basic information about a hazardous chemical,                 Messenger

                                                              , Inc.
                                                          ivic 022
prepared and issued by the manufacturer, in                   A person (neither a legal representative nor a legal
accordance with Occupational Safety and Health        re C    assistant) whose purpose is to deliver or convey
                                               v. Co er 14, 2
Administration regulations (see 29 CFR 1910.1200;
                                             o                documents, forms, etc., to and from the detainee;
                                         Owin       e m b
see also OSHA Form 174); among other things,
                                      in        e c           not afforded the visitation privileges of legal
                             cited 55221, D
specifies precautions for normal use, handling,               representatives and legal assistants.
storage, disposal and spill cleanup.
                               o . 2 1-            Minor
Medical Classification SystemN
                                                              A juvenile; a person under the age of 18.
A system by which a detainee’s medical and mental
                                                              Mogul keys
health conditions and needs are assessed to allow for
appropriate placement in a facility with the resources        Key and knob operated deadlocking latch/ deadbolt
necessary to provide appropriate level of care to             for use in detention institutions as well as
meet those needs.                                             commercial, government and industrial buildings for
                                                              utmost physical security. The large-scale design
Medical Discharge Plan
                                                              accommodates an oversized latch and deadbolt plus
The discharge plan includes: admission diagnosis;             mogul key cylinder. These institutional grade
discharge diagnosis; brief medical history including          construction features and tamper resistant fittings
the chief complaint and any essential physical                afford exceptional structural strength to impede
findings discovered; all diagnostic test (e.g., x-rays,       forced and surreptitious entry.
lab results, ECG’s, etc) results; list of any medications
                                                              National Commission on Correctional Health Care
prescribed; a brief summary of care provided, the             (NCCHC)
detainee’s response to treatment, medical
complications encountered, any outside health care            Establishes the standards for health service in
referrals that may have interrupted the infirmary             correctional facilities on which accreditation is
                                                              based.


7.5 | Definitions                                           471                                       PBNDS 2011
                                                                                             (Revised December 2016)
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National Fire Protection Association                         Keys designed to open a paracentric lock. It is
Principal source of fire protection standards and            distinguishable by the contorted shape of its blade,
codes.                                                       which protrudes past the center vertical line of the
                                                             key barrel. Instead of the wards on the outer face of
NCCHC                                                        the lock simply protruding into the shape of the key
National Commission on Correctional Health care.             along the spine, the wards protrude into the shape of
                                                             the key along the entire width of the key, including
Non-Contact Visit
                                                             along the length of the teeth.
Visitation with a barrier preventing physical contact
                                                             Pat-down Search
between the detainee and his or her visitors.
                                                             A sliding or patting of the hands over the clothed
Non-dedicated IGSA Facility (Non-dedicated IGSA)
                                                             body of a detainee by staff to determine whether the
An IGSA facility that houses ICE detainees as well as        individual possesses contraband.
other inmate populations in a shared use
                                                             Physical Examination
facility. Also see “IGSA FACILITY” and
“INTERGOVERNMENTAL SERVICE AGREEMENT.”                       A thorough evaluation of an individual’s physical
                                                             condition and medical history conducted by or
Non-Medical Emergency Escorted Trip
                                                             under the supervision of a licensed medical
Authorized detainee visit to a critically ill member of      professional acting within the scope of his or her
his/her immediate family, or to attend the funeral of        practice.
                                                                          , In c.
a member of his/her immediate family. “Immediate
                                                            r e  C ivic 022
family” member refers to a parent (including
                                                    v     o
                                                         Plan of Action
                                                      . CDescribes  r 1  4  ,2
                                             w ino
stepparent and foster parent), child, spouse, sister, or    m  besteps the facility will take to convert a
                                       in  O        D e c e
brother of the detainee.
                               ite d            1 ,      condition  that has caused a determination of
Non-merit Factor
                              c
                                     1  - 5 522          noncompliance with a standard.

Any characteristic or factor N o. 2 to a detainee’s
                             immaterial
                                                         Post Orders
mental or physical ability to perform a given                Written orders that specify the duties of each
assignment.                                                  position, hour-by-hour, and the procedures the post
                                                             officer will follow in carrying out those duties.
Non-security Key
                                                             Progressive Restraints
A key which if duplicated by unauthorized persons
and/or lost, would not constitute an emergency               Control the detainee in the least restrictive manner
requiring urgent action; not critical to facility safety     required, until and unless the detainee’s behavior
and security.                                                warrants stronger and more secure means of
                                                             inhibiting movement.
Out Count
                                                             Protective Custody (PC)
Detainees temporarily away from the facility, but
accounted for by the facility and included in the            Administrative segregation for the detainee’s own
master count.                                                safety.


                                                             Qualified health care professionals
Paracentric Keys



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Include physicians, physicians assistants, nurses,            doors, of which one cannot open until the other has
nurse practitioners, dentists, mental health                  closed, to prevent a breach in the perimeter security;
professionals and others who by virtue of their               handles pedestrian and/or vehicular traffic.
education, credentials and experience are permitted           Sanitation
by law and within their scope of practice to evaluate
and care for patients.                                        The creation and maintenance of hygienic
                                                              conditions; in the context of food, involves
Reasonable Accommodations
                                                              handling, preparing, and storing items in a clean
Any change or adjustment in detention facility                environment, eliminating sources of contamination.
operations, any modification to detention facility            Satellite Feeding
policy, practice, or procedure, or any provision of an
aid or service that permits a detainee with a disability      Food served and consumed in a location other than
to participate in the facility’s programs, services,          where prepared.
activities, or requirements, or to enjoy the benefits         Security Key
and privileges of detention programs equal to those
                                                              A key which if duplicated by unauthorized persons
enjoyed by detainees without disabilities. Examples
                                                              and/or lost, would jeopardize life, safety, property
of “reasonable accommodations” include, but are not
                                                              or security, or would facilitate escape.
limited to, proper medication and medical treatment;
                                                              Segregation
accessible housing, toilet, and shower facilities;
                                                                  , In  c.
                                                            ivic 022
devices like bed transfer, accessible beds or shower          Confinement in an individual cell isolated from the
                                                     re  C
                                               . Co er 14, 2
chairs, hearing aids, or canes; and assistance with           general population; for administrative, disciplinary,
                                          ino v
toileting and hygiene. In these standards, reasonable
                                                       b      or protective reasons.
                                        Ow
accommodations, disability-related modifications,c e m
                                     in        e Service Processing Center (SPC)
                             cited 55221, D A detention facility the primary operator and
and auxiliary aids and services are collectively referred

                               o . 21-
to as “accommodations” or “reasonable
accommodations.”             N                    controlling party of which is ICE.
Reasonable Suspicion                                          Shift Supervisor
Not intuition, but specific, articulable facts that would     A generic term for the detention security supervisor
cause a reasonable law enforcement officer to suspect         in charge of operations during a shift. The position
that a particular person is concealing a weapon,              titles may vary according to the type of facility (SPC,
contraband, or evidence of a crime.                           CDF, or IGSA) and local facility titles. Ordinarily, a
Religious Practices                                           shift supervisor (detention operations supervisor,
                                                              lieutenant, etc.) is, organizationally, directly under
Worship, observances, services, meetings,                     the Chief of Security (chief detention enforcement
ceremonies, etc., associated with a particular faith;         agent, captain, etc.).
access to religious publications, religious symbolic
items, religious counseling and religious study
classes; and adherence to dietary rules and                   Soft Contraband
restrictions.                                                 Any unauthorized item that does not constitute hard
Sally Port                                                    contraband, i.e., does not pose a serious threat to
An enclosure situated in the perimeter wall or fence          human safety or facility security; includes that
surrounding the facility, containing double gates or


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quantity of an item possessed in an amount                  Detainees with special vulnerabilities include those
exceeding the established limit.                            who are elderly, pregnant, or nursing; those with
Special Correspondence or Legal Mail                        serious physical or mental illness, or other disability;
                                                            those who would be susceptible to harm in general
Detainees’ written communications to or from any            population due in part to their sexual orientation or
of the following:                                           gender identity; and those who have been victims of
a. private attorneys and other legal representatives;       sexual assault, torture, trafficking, or abuse.
b. government attorneys;                                    Strip Search

c. judges and courts;                                       A search that requires a person to remove or arrange
                                                            some or all clothing so as to permit a visual
d. embassies and consulates;
                                                            inspection of the person’s breasts, buttocks, or
e. the president and vice president of the United           genitalia.
   States;                                                  Terminally Ill Detainee
f. members of Congress;                                     A detainee whose physical condition has deteriorated
g. the Department of Justice (including the DOJ             to the point where the prognosis is less than a year
   Office of the Inspector General);                        to live.
h. the Department of Homeland Security (including           TJC
                                                                    , In c.
   U.S. Immigration and Customs Enforcement, ICE
                                                         e C    vic
                                                    The Joint iCommission      2
                                                                            [formerly
                                                                             2        the Joint
   Health Services Corps, the Office of Enforcement  o r              ,2  0
                                              o v. CCommission r 1on4Accreditation of Health care

                                          O in
   and Removal Operations, the DHS Office for Civil
                                           w         e m be (JCAHO)]
                                                    Organizations
                                       in          c
                                                 e independent, not-for-profit organization that
   Rights and Civil Liberties, and the DHS Office of
   the Inspector General);   cited 55221, D An
                                 . 2  1 -           evaluates and accredits more than 15,000 health care
                            No
i. outside health care professionals;               organizations and programs in the United States. TJC
j. administrators of grievance systems; and                 is the Nation’s predominant standards-setting and
                                                            accrediting body in health care.
k. representatives of the news media.
                                                            Toxic
Special Management Unit (SMU)
                                                            Poisonous; capable of causing injury or death.
A housing unit for detainees in administrative or
disciplinary segregation.
Special Needs Detainee
A detainee whose mental and/or physical condition           Trained Investigators
requires different accommodations or arrangements           A person who has been trained in investigative
than a detainee who does not have special needs             techniques to include interview techniques for
would receive. Special needs detainees include, but         victims and proper procedures for collecting and
are not limited to, those detainees who are                 storing evidence.
chronically ill or infirm, those with disabilities, and
                                                            Training
those who are addicted to or in withdrawal from
drug or alcohol.                                            An organized, planned and evaluated activity
Special Vulnerabilities                                     designed to achieve specific learning objectives and



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enhance personnel performance. Training may occur             Negotiable instruments (checks, money orders, etc.)
on site, at an academy or training center, an                 or cash in a detainee’s possession exceeding the
institution of higher learning, professional meetings,        facility-established limit.
or through contract service or closely supervised on-         Unauthorized Property
the-job training. Training programs usually include
requirements for completion, attendance records and           Not inherently illegal, but against the facility’s
certification of completion. Meetings of professional         written rules.
associations are considered training where there is           Unit Disciplinary Committee
clear evidence of the direct bearing on job
                                                              See Disciplinary Committee.
performance. In all cases, the activity must be part of
an overall training program.                                  Volunteer
Training Coordinator                                          An individual who donates time and effort on a
                                                              recurring basis to enhance the activities and
A person responsible for ensuring all training
                                                              programs of the agency or facility.
requirements are met and documented. This person
will often develop and conduct training.
Transgender                                                   Volunteer Group
A person whose gender identity (i.e., internal sense          Individuals who collectively donate time and effort
of feeling male or female) is different from the                               In  c.
                                                              to enhance the activities and programs offered to
                                                                            ,
person’s assigned sex at birth.                                 e  C ivic 022
                                                              detainees; selected on basis of personal qualities and
                                                               r
                                                     o  v. Co er 14, 2
                                                              skills (recreation, counseling, education, religion,
Unencumbered Space
                                           O  w   in         e m b
                                                              etc.).
                                        n
Open, usable space measuring at least iseven               c
                                                        De Work Assignment
                               ited fixtures,
                                             feet in at
least one dimension, free of c                  2  1 ,
                             plumbing
                                   2 1  - 552    desk,
                               o .
locker, bed and other furniture and
                           N
                                    fixtures                Carpentry, plumbing, food service and other
                                                            operational activities included in the facility’s
(measured in operational position).
                                                              Voluntary Work Program, for which a detainee may
Unauthorized Funds
                                                              volunteer.




7.5 | Definitions                                         475                                          PBNDS 2011
                                                                                             (Revised December 2016)
